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 Fill in this information to identify your case:

 Debtor 1                  Liza Hazan
                           First Name                           Middle Name                         Last Name

 Debtor 2
 (Spouse if, filing)       First Name                           Middle Name                         Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $         12,000,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             327,500.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $         12,327,500.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          7,479,019.78

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             398,964.24

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             918,255.05


                                                                                                                                  Your total liabilities $               8,796,239.07


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              27,000.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                6,145.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                       page 1 of 2
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 Debtor 1      Liza Hazan                                                                 Case number (if known) 16-10389

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                 25,000.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            398,964.24

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $           398,964.24




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Liza Hazan
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389                                                                                                                               Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply
        6913 Valencia Drive                                                        Single-family home                          Do not deduct secured claims or exemptions. Put the
        Street address, if available, or other description                                                                     amount of any secured claims on Schedule D:
                                                                                   Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative

                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Miami Beach                       FL        33109-0000                     Land                                        entire property?           portion you own?
                                                                                                                                     $12,000,000.
        City                              State          ZIP Code                  Investment property                                        00              $12,000,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                       (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                               Fee simple
        Miami-Dade                                                                 Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                                   At least one of the debtors and another          (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                $12,000,000.00
 Part 2:       Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes




Official Form 106A/B                                                              Schedule A/B: Property                                                                   page 1
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 Debtor 1           Liza Hazan                                                                                    Case number (if known)        16-10389
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1      Make:                                               Who has an interest in the property? Check one
                                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                                                    Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
           Year:                                                     Debtor 2 only                                         Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                            entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
                                                                     Check if this is community property                            Unknown                     Unknown
           Golf Cart                                                 (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                     $0.00

 Part 3:     Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....
                                    Household Furniture                                                                                                       $150,000.00

                                    Household Dishes/China                                                                                                       $5,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....
                                    Household Electronics                                                                                                        $7,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
      No
        Yes. Describe.....
                                    1 Piano                                                                                                                      Unknown


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....
Official Form 106A/B                                                       Schedule A/B: Property                                                                     page 2
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 Debtor 1        Liza Hazan                                                                                                  Case number (if known)   16-10389

                                          Women's Clothing, Shoes, and Accessories.                                                                                $115,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....
                                          Women's Jewelry                                                                                                            $20,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....
                                          Household Artwork                                                                                                            $5,000.00

                                          Household Fixtures                                                                                                         $25,000.00

                                          Household Health Aids                                                                                                        Unknown



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                           $327,500.00


 Part 4:   Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:

                                                                                              Bank of America
                                            17.1.       Checking                              Account ending in 9220                                                         $0.00


                                                                                              TD Canada Trust Bank
                                            17.2.       Checking                              Account ending in 0079                                                         $0.00


                                                                                              TD Canada Trust Bank
                                            17.3.       Checking                              Account ending in 4686                                                         $0.00


                                                                                              TD Cananda Trust Bank
                                            17.4.       Checking                              Account ending in 7132                                                         $0.00




Official Form 106A/B                                                                   Schedule A/B: Property                                                               page 3
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 Debtor 1       Liza Hazan                                                                                     Case number (if known)    16-10389
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
     No
        Yes. Give specific information about them...................
                                  Name of entity:                                                               % of ownership:
                                           Interest in Holding Trust Management Group,
                                           LLC. LLC's only asset is a 2007 Mercedes Benz
                                           S550 with 75,000 miles. The car is valued at
                                           approximately $19,000.00 and is encumbered by
                                           a lien of $24,970.70.                                                     100          %                            $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                               Type of account:                              Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                                            Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.



Official Form 106A/B                                                  Schedule A/B: Property                                                                  page 4
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 Debtor 1        Liza Hazan                                                                                                      Case number (if known)        16-10389
28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                       Beneficiary:                                 Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........
                                                          Various causes of action.                                                                                            Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                    $0.00

 Part 5:   Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.

                                                                                                                                                                 Current value of the
Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 5
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 Debtor 1        Liza Hazan                                                                                                           Case number (if known)      16-10389
                                                                                                                                                                    portion you own?
                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                    claims or exemptions.


 Part 7:   Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:   List the Totals of Each Part of this Form


 55.   Part 1: Total real estate, line 2 ......................................................................................................................          $12,000,000.00
 56.   Part 2: Total vehicles, line 5                                                                            $0.00
 57.   Part 3: Total personal and household items, line 15                                           $327,500.00
 58.   Part 4: Total financial assets, line 36                                                                   $0.00
 59.   Part 5: Total business-related property, line 45
                                                                                                                     $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                       $0.00
 61. Part 7: Total other property not listed, line 54                                           +                    $0.00

 62. Total personal property. Add lines 56 through 61...                                                  $327,500.00               Copy personal property total              $327,500.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $12,327,500.00




Official Form 106A/B                                                             Schedule A/B: Property                                                                                page 6
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 Fill in this information to identify your case:

 Debtor 1                    Liza Hazan
                             First Name                     Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      6913 Valencia Drive Miami Beach, FL                       $12,000,000.00                                        100%     Fla. Const. art. X, § 4(a)(1);
      33109 Miami-Dade County                                                                                                  Fla. Stat. Ann. §§ 222.01 &
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to    222.02
                                                                                           any applicable statutory limit

      Women's Clothing, Shoes, and                                   $115,000.00                                 $1,000.00     Fla. Const. art. X, § 4(a)(2)
      Accessories.
      Line from Schedule A/B: 11.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Liza Hazan
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389
 (if known)                                                                                                                                          Check if this is an
                                                                                                                                                     amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral     Unsecured
 as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this      portion
                                                                                                               value of collateral.   claim                   If any
 2.1     6913 Valencia, LLC                       Describe the property that secures the claim:                $2,000,000.00          $12,000,000.00                     $0.00
         Creditor's Name                          6913 Valencia Drive Miami Beach,
         3839 NW Boca Raton                       FL 33109 Miami-Dade County
         Boulevard
                                                  As of the date you file, the claim is: Check all that
         West Palm Beach, FL                      apply.
         33413                                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)   Mortgage
     community debt

 Date debt was incurred                                    Last 4 digits of account number        na

 2.2     Chase Bank, NA                           Describe the property that secures the claim:                $5,200,000.00          $12,000,000.00                     $0.00
         Creditor's Name                          6913 Valencia Drive Miami Beach,
         c/o Jennifer Kopf, Esq.                  FL 33109 Miami-Dade County
         Shapiro, Fishman &
         Gashe, LLP                               As of the date you file, the claim is: Check all that
                                                  apply.
         2424 N. Federal Highway,
                                                      Contingent
         Suite 360
         Boca Raton, FL 33431
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)   First Mortgage
     community debt



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 3
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 Debtor 1 Liza Hazan                                                                                        Case number (if know)    16-10389
             First Name                  Middle Name                       Last Name


 Date debt was incurred        2007                        Last 4 digits of account number         3314

       Fisher Island Community
 2.3                                              Describe the property that secures the claim:                  $148,943.34        $12,000,000.00             $0.00
       Ass'n, Inc.
       Creditor's Name                            6913 Valencia Drive Miami Beach,
                                                  FL 33109 Miami-Dade County
                                                  As of the date you file, the claim is: Check all that
       One Fisher Island Drive                    apply.
       Miami Beach, FL 33109                           Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)   Homeowners' Association Fee Lien
    community debt

 Date debt was incurred                                    Last 4 digits of account number         na

       Miami Dade Water &
 2.4                                              Describe the property that secures the claim:                     $1,399.30       $12,000,000.00             $0.00
       Sewer Department
       Creditor's Name                            6913 Valencia Drive Miami Beach,
                                                  FL 33109 Miami-Dade County
                                                  As of the date you file, the claim is: Check all that
       PO Box 026055                              apply.
       Miami, FL 33102-6055                            Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        2015                        Last 4 digits of account number         na

       Select Advisors Group,
 2.5                                              Describe the property that secures the claim:                          $0.00      $12,000,000.00             $0.00
       LLC
       Creditor's Name                            6913 Valencia Drive Miami Beach,
       6499 Powerline Road,                       FL 33109 Miami-Dade County
       Suite 304                                  As of the date you file, the claim is: Check all that
       Fort Lauderdale, FL                        apply.
       33309-2043                                      Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
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 Debtor 1 Liza Hazan                                                                                        Case number (if know)    16-10389
             First Name                  Middle Name                       Last Name


    Check if this claim relates to a                   Other (including a right to offset)     Judgment Satisfied by Court Order in Miami-Dade Case
    community debt                                                                             No. 14-10475 CA (10)

 Date debt was incurred        2007                        Last 4 digits of account number         na

       Valencia Estates
 2.6                                              Describe the property that secures the claim:                  $128,677.14        $12,000,000.00                   $0.00
       Community Ass'n, Inc.
       Creditor's Name                            6913 Valencia Drive Miami Beach,
       c/o David Haber, Esq.                      FL 33109 Miami-Dade County
       201 South Biscayne                         As of the date you file, the claim is: Check all that
       Boulevard, Suite 1205                      apply.
       Miami, FL 33131                                 Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)     Homeowner's Association Fee Lien
    community debt

 Date debt was incurred                                    Last 4 digits of account number         na


   Add the dollar value of your entries in Column A on this page. Write that number here:                              $7,479,019.78
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                             $7,479,019.78

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.
        Name Address
        NLG, LLC                                                                             On which line in Part 1 did you enter the creditor?
                                                                                                                                                            2.5
        c/o Juan Ramirez, Esq.
        Diaz, Reus & Targ LLP                                                                Last 4 digits of account number
        100 SE 2nd Street, Suite 3400
        Miami, FL 33131

        Name Address
        Valencia Estates Homeowners' Ass'n, Inc.                                             On which line in Part 1 did you enter the creditor?
                                                                                                                                                            2.6
        42205 Fisher Island Drive
        Miami Beach, FL 33109                                                                Last 4 digits of account number




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                     Liza Hazan
                              First Name                     Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)          First Name                     Middle Name                       Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim        Priority               Nonpriority
                                                                                                                                           amount                 amount
                                                                                                                            $374,526.2
 2.1          Internal Revenue Service                               Last 4 digits of account number       na                        4         $374,526.24                      $0.00
              Priority Creditor's Name
              P.O. Box 7317                                          When was the debt incurred?           2003-2010
              Philadelphia, PA 19101
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Domestic support obligations
              Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes
                                                                                         Federal Income Taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 10
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 2.2        Internal Revenue Service                                 Last 4 digits of account number      na                $24,438.00            $24,438.00                  $0.00
            Priority Creditor's Name
            PO Box 7346                                              When was the debt incurred?          2014
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Federal Income Taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
       claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
       creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                           Total claim

 4.1        900 North Michigan, LLC                                    Last 4 digits of account number         na                                                  $432,000.00
            Nonpriority Creditor's Name
            c/o W. Allen Woolley, Esq.                                 When was the debt incurred?             n/a
            Wildman Harrold Allens Dixon, LLP
            225 West Wacker Drive, Suite 3000
            Chicago, IL 60606
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                           Contingent
                 Debtor 1 only
                                                                           Unliquidated
                 Debtor 2 only
                                                                           Disputed
                 Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
                 At least one of the debtors and another                   Student loans
                 Check if this claim is for a community debt              Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Judgment


 4.2        Allied Collection Service                                  Last 4 digits of account number         na                                                        $318.00
            Nonpriority Creditor's Name
            1607 Central Ave                                           When was the debt incurred?             n/a
            Columbus, IN 47201
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                           Contingent
                 Debtor 1 only
                                                                           Unliquidated
                 Debtor 2 only
                                                                           Disputed
                 Debtor 1 and Debtor 2 only
                                                                       Type of NONPRIORITY unsecured claim:
                 At least one of the debtors and another
                                                                           Student loans
                 Check if this claim is for a community debt
                                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
                 No                                                        Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                       Other. Specify   Hotel Bill


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 4.3      ATT Mobility                                               Last 4 digits of account number       na                                               $3,910.00
          Nonpriority Creditor's Name
          PO Box 536216                                              When was the debt incurred?           n/a
          Atlanta, GA 30353
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Telephone Bill


 4.4      Bank of America                                            Last 4 digits of account number       na                                               $3,301.00
          Nonpriority Creditor's Name
          19645 Biscayne Boulevard                                   When was the debt incurred?           2008 - present
          Miami, FL 33180
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Safety Deposit Box Fee


 4.5      Direct TV                                                  Last 4 digits of account number       na                                                 $461.00
          Nonpriority Creditor's Name
          PO Box 6550                                                When was the debt incurred?           n/a
          Englewood, CO 80155-6550
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Cable Bill




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 4.6      Enhanced Recovery Company                                  Last 4 digits of account number       na                                                 $123.00
          Nonpriority Creditor's Name
          8014 Bayberry Rd                                           When was the debt incurred?           n/a
          Jacksonville, FL 32256
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Telephone Bill


          First National Collection Bureau,
 4.7      Inc.                                                       Last 4 digits of account number       4558                                               $246.08
          Nonpriority Creditor's Name
          610 Waltham Way                                            When was the debt incurred?           n/a
          Sparks, NV 89434
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Bank Fees


 4.8      Florida Power & Light                                      Last 4 digits of account number       na                                               $2,906.00
          Nonpriority Creditor's Name
          General Mail Facility                                      When was the debt incurred?           2015
          Miami, FL 33188
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities




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 4.9      Focus Management                                           Last 4 digits of account number       na                                                 $772.00
          Nonpriority Creditor's Name
          10284 NW 47th St                                           When was the debt incurred?           n/a
          Fort Lauderdale, FL 33351
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Cable Bill


 4.10     HSBC Bank USA, NA                                          Last 4 digits of account number       na                                               $1,070.66
          Nonpriority Creditor's Name
          PO Box 2013                                                When was the debt incurred?           2008 - present
          Buffalo, NY 14240
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Safe Deposit Box Fee


 4.11     Marzec Law Firm                                            Last 4 digits of account number       na                                                     $0.00
          Nonpriority Creditor's Name
          225 Broadway, Suite 3000                                   When was the debt incurred?           2008 - Present
          New York, NY 10007
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal Fees




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 4.12     Mount Sinai Medical Center                                 Last 4 digits of account number       0065                                           $31,414.15
          Nonpriority Creditor's Name
          PO Box 403429                                              When was the debt incurred?           2015
          Miami Beach, FL 33140
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Medical Bill


 4.13     Mount Sinai Medical Center                                 Last 4 digits of account number       3615                                             $3,240.00
          Nonpriority Creditor's Name
          PO Box 403429                                              When was the debt incurred?           11/2015
          Miami Beach, FL 33140
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill


 4.14     Mount Sinai Medical Center                                 Last 4 digits of account number       0491                                               $295.91
          Nonpriority Creditor's Name
          PO Box 403429                                              When was the debt incurred?           11/2015
          Miami Beach, FL 33140
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill




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 Debtor 1 Liza Hazan                                                                                      Case number (if know)             16-10389

 4.15     Ray Garcia P.A.                                            Last 4 digits of account number       na                                               $7,026.15
          Nonpriority Creditor's Name
          14850 SW 26th Street, Suite 204                            When was the debt incurred?           2015
          Miami, FL 33185
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Legal Bills


 4.16     Real Time Solutions                                        Last 4 digits of account number       na                                            $300,000.00
          Nonpriority Creditor's Name
          PO Box 36655                                               When was the debt incurred?           12/2005
          Dallas, TX 75235-1655
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Potential Personal Mortgage Liability


 4.17     Simon & Sigalos                                            Last 4 digits of account number       na                                                     $0.00
          Nonpriority Creditor's Name
          c/o Michael Simon, Esq.                                    When was the debt incurred?           n/a
          3839 NW Boca Raton Boulevard,
          Suite 100
          Boca Raton, FL 33431
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal Fees




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 10
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 4.18     Southeast Financial, LLC                                   Last 4 digits of account number       na                                             $24,970.70
          Nonpriority Creditor's Name
          4000 N. Federal Highway, Suite 200                         When was the debt incurred?           6/2012
          Boca Raton, FL 33431
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Potential Guaranty Liability on Vehicle
              Yes                                                       Other. Specify   Loan.

 4.19     Spencer Condominium                                        Last 4 digits of account number       na                                            $100,000.00
          Nonpriority Creditor's Name
          d/b/a Halstead Management Co.,                             When was the debt incurred?           n/a
          LLC
          c/o David A. Tane, Esq.
          120 Broadway, Suite 948
          New York, NY 10271
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Condominium Association Fees


          Sterling Emergency Serv. of Miami
 4.20     Beach                                                      Last 4 digits of account number       1086                                             $2,445.30
          Nonpriority Creditor's Name
          PO Box 975213                                              When was the debt incurred?           11/2015
          Dallas, TX 75397-5213
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill




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           Sterling Emergency Serv. of Miami
 4.21      Beach                                                     Last 4 digits of account number        1086                                                   $1,997.10
           Nonpriority Creditor's Name
           PO Box 975213                                             When was the debt incurred?            2015
           Dallas, TX 75397-5213
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify    Medical Bills


 4.22      US Bank, NA                                               Last 4 digits of account number        7569                                                         $0.00
           Nonpriority Creditor's Name
           c/o Select Portfolio Servicing, Inc.                      When was the debt incurred?            12/2005
           ATTN: Bankruptcy Department
           PO Box 65250
           Salt Lake City, UT 84165
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Potential Personal Liability on Mortgage
              Yes                                                       Other. Specify    Loan

 4.23      Verizon                                                   Last 4 digits of account number        na                                                     $1,758.00
           Nonpriority Creditor's Name
           PO Box 1100                                               When was the debt incurred?            n/a
           Albany, NY 12250-0001
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community debt
                                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify    Telephone Bill

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Scott Paul Mackoff, Esq.                                      Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 9 of 10
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 Mitofsky, Shapiro, Neville & Hazen                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 LLP
 152 Madison Avenue, 3rd Floor
 New York, NY 10016
                                                                Last 4 digits of account number                    na

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Tracy Peterson, Esq.                                           Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Braverman Greenspun, PC                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 110 East 42nd Street, 17th Floor
 New York, NY 10017
                                                                Last 4 digits of account number                    na

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                            Total claim
                        6a.   Domestic support obligations                                                   6a.        $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                           6b.        $                 398,964.24
                        6c.   Claims for death or personal injury while you were intoxicated                 6c.        $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.        6d.        $                       0.00

                        6e.   Total. Add lines 6a through 6d.                                                6e.        $                 398,964.24

                                                                                                                        Total Claim
                        6f.   Student loans                                                                  6f.         $                          0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                              6g.        $                       0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts              6h.        $                       0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.            $                 918,255.05

                        6j.   Total. Add lines 6f through 6i.                                                6j.        $                 918,255.05




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 10 of 10
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 Fill in this information to identify your case:

 Debtor 1                  Liza Hazan
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


        Person or company with whom you have the contract or lease                       State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Liza Hazan
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.

                Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                     Check all schedules that apply:


    3.1         Real Estate Holdings Group, LDC                                                     Schedule D, line
                60 Market Square                                                                    Schedule E/F, line     4.16
                PO Box 364
                                                                                                    Schedule G
                Belize City, Belize
                                                                                                  Real Time Solutions




    3.2         Real Estate Holdings Group, LDC                                                     Schedule D, line
                60 Market Square                                                                    Schedule E/F, line 4.19
                PO Box 364
                                                                                                    Schedule G
                Belize City, Belize
                                                                                                  Spencer Condominium




    3.3         Real Estate Holdings Group, LDC                                                     Schedule D, line
                60 Market Square                                                                    Schedule E/F, line     4.22
                PO Box 364
                                                                                                    Schedule G
                Belize City, Belize
                                                                                                  US Bank, NA




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Liza Hazan

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number               16-10389                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            Self Employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?         20 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $       25,000.00         $            N/A

3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$           N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $    25,000.00                $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Liza Hazan                                                                            Case number (if known)   16-10389


                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $       25,000.00       $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $              0.00     $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.     $              0.00     $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.     $              0.00     $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.     $              0.00     $               N/A
      5e.   Insurance                                                                      5e.     $              0.00     $               N/A
      5f.   Domestic support obligations                                                   5f.     $              0.00     $               N/A
      5g.   Union dues                                                                     5g.     $              0.00     $               N/A
      5h.   Other deductions. Specify:                                                     5h.+    $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $        25,000.00       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.     $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.     $              0.00     $               N/A
      8e. Social Security                                                                  8e.     $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                  N/A
      8g. Pension or retirement income                                                     8g. $                 0.00   $                  N/A
      8h. Other monthly income. Specify: Family/Friend Gifts                               8h.+ $            2,000.00 + $                  N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,000.00      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           27,000.00 + $            N/A = $      27,000.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $     27,000.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                 Liza Hazan                                                                         Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                               MM / DD / YYYY

Case number           16-10389
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                0.00




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Debtor 1     Liza Hazan                                                                                 Case number (if known)       16-10389

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                   800.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                   150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                   500.00
      6d. Other. Specify:                                                                   6d. $                                                     0.00
7.    Food and housekeeping supplies                                                          7. $                                                3,000.00
8.    Childcare and children’s education costs                                                8. $                                                    0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                    0.00
10.   Personal care products and services                                                   10. $                                                     0.00
11.   Medical and dental expenses                                                           11. $                                                    25.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                   400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                 1,000.00
14.   Charitable contributions and religious donations                                      14. $                                                     0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    270.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       6,145.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       6,145.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                              27,000.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              6,145.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                              20,855.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                    page 2
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 Fill in this information to identify your case:

 Debtor 1                 Liza Hazan
                          First Name                        Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name             Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389
 (if known)                                                                                                                          Check if this is an
                                                                                                                                     amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer’s Notice, Declaration,
                                                                                                and Signature (Official Form 119).


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Liza Hazan                                                            X
              Liza Hazan                                                                Signature of Debtor 2
              Signature of Debtor 1

              Date     February 10, 2016                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                 Liza Hazan
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10389
 (if known)                                                                                                                                   Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income              Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                    exclusions)                                                   and exclusions)

 From January 1 of current year until                 Wages, commissions,                              $0.00          Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                            Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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 Debtor 1      Liza Hazan                                                                                   Case number (if known)   16-10389


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                              Wages, commissions,                       $15,000.00            Wages, commissions,
 (January 1 to December 31, 2015 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                            Operating a business


 For the calendar year before that:                   Wages, commissions,                      $392,018.00            Wages, commissions,
 (January 1 to December 31, 2014 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                            Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Describe below..                 (before deductions and         Describe below.               (before deductions
                                                                                    exclusions)                                                  and exclusions)
 For the calendar year before that:                Rental Income (9                             $29,000.00
 (January 1 to December 31, 2014 )                 days)


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                   an attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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 Debtor 1      Liza Hazan                                                                                   Case number (if known)   16-10389


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       JP Morgan Chase Bank, NA v.                              Residential                 Circuit Court of Miami-Dade                 Pending
       Hazan                                                    Foreclosure                 County                                      On appeal
       2013-025902-CA01                                                                     73 West Flagler Street
                                                                                                                                        Concluded
                                                                                            Miami, FL 33130

       NLG (LLC) v. Hazan                                       Residential                 Miami-Dade County Circuit                   Pending
       2011-042770-CA-01                                        Foreclosure                 Court                                       On appeal
                                                                                            73 West Flagler Street
                                                                                                                                        Concluded
                                                                                            Miami, FL 33130

       Valencia Estates Homowners                               Unpaid                      Miami-Dade County Circuit                   Pending
       Ass'n, Inc. v. Hazan                                     Condominium                 Court                                       On appeal
       2010-056030-CA-01                                        Association Fees            73 West Flagler Street
                                                                                                                                        Concluded
                                                                                            Miami, FL 33130

       NLG (LLC) v. Hazan                                       Contract &                  Miami-Dade County Circuit                   Pending
       2007-019532-CA-01                                        Indebtedness                Court                                       On appeal
                                                                                            73 West Flagler Street
                                                                                                                                        Concluded
                                                                                            Miami, FL 33130

       Board of Managers of the Spencer                         Unpaid                      Supreme Court of New York                   Pending
       Condominium v. Hazan, et al.                             Condominium                 County                                      On appeal
       154149-2012                                              Association Fees            60 Centre Street
                                                                                                                                        Concluded
                                                                                            New York, NY 10007
                                                                                                                                     Settled and Stayed




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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Real Estate Holdings Group, LLC                          Breach of                   Supreme Court of New York                   Pending
       v. Spencer Condominium                                   Contract                    County                                      On appeal
       159254-2013                                                                          60 Centre Street
                                                                                                                                        Concluded
                                                                                            New York, NY 10007
                                                                                                                                     Settled and Stayed

       US Bank, NA v. Hazan, et al.                             Residential                 Supreme Court of New York                   Pending
       850240-2014                                              Foreclosure                 County                                      On appeal
                                                                                            60 Centre Street
                                                                                                                                        Concluded
                                                                                            New York, NY 10007

       Newman Ferrara LLP v. Hazan, et                          Contract &                  Supreme Court of New York                   Pending
       al.                                                      Indebtedness                County                                      On appeal
       028100-2014                                                                          60 Centre Street
                                                                                                                                        Concluded
                                                                                            New York, NY 10007

       S&S Collections, Inc. v. Hazan                           Contract &                  Palm Beach County Circuit                   Pending
       2015-CA-008231                                           Indebtedness                Court                                       On appeal
                                                                                            205 N. Dixie Highway
                                                                                                                                        Concluded
                                                                                            West Palm Beach, FL 33401

       Spencer Condominium v. Hazan                             Unpaid                      Supreme Court of New York                   Pending
       111644-2009                                              Condominium                 County                                      On appeal
                                                                Fees                        60 Centre Street
                                                                                                                                        Concluded
                                                                                            New York, NY 10007
                                                                                                                                     Settled and Stayed

       Fisher Island Homeowners Assoc.                          Unpaid                      Miami-Dade County Circuit                   Pending
       v. Hazan                                                 Homeowners                  Court                                       On appeal
       2008-004519-CA-01                                        Association Fees            73 West Flagler Street
                                                                                                                                        Concluded
                                                                                            Miami, FL 33132
                                                                                                                                     Settled and Stayed


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       Presidential Auto Leasing & Sales                        2007 Aston Martin                                             6/2015                      $57,000.00
       3201 South Federal Highway
       Delray Beach, FL 33483                                        Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken


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12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List                  loss                           lost
                                                            pending insurance claims on line 33 of Schedule A/B:
                                                            Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Aaronson Schantz Beiley P.A.                                  $5,000.00 in cash and prepetition                        1/11/2015              $20,000.00
       100 SE 2nd Street, 27th Floor                                 assignment of $15,000.00 account
       Miami, FL 33131                                               receivable.
       www.aspalaw.com
       Portefolio Onesource Advisor, LLC




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 Debtor 1      Liza Hazan                                                                                   Case number (if known)   16-10389


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred
       Chase Bank                                               XXXX-8162                     Checking                  November 10.                      $100.56
       270 Park Avenue                                                                        Savings                   2015
       (Corporate Mailing Address)
                                                                                              Money Market
       New York, NY 10017
                                                                                              Brokerage
                                                                                              Other

       HSBC Bank                                                XXXX-4471                     Checking                  January 7, 2016                       $0.00
       301 West 41st Street                                                                   Savings
       Miami Beach, FL 33140
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Wells Fargo Bank                                         XXXX-9019                     Checking                  Account closed                  Unknown
       1901 Alton Road                                                                        Savings                   by bank within
       Miami Beach, FL 33139                                                                                            last year.
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




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       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       Chase Bank                                               XXXX-6730                     Checking                  March 3, 2015                     $513.33
       270 Park Avenue                                                                        Savings
       (Corporate Mailing Address)
                                                                                              Money Market
       New York, NY 10017
                                                                                              Brokerage
                                                                                              Other

       Wells Fargo Bank                                         XXXX-7960                     Checking                  Account closed                 Unknown
       1901 Alton Road                                                                        Savings                   by bank with last
       Miami Beach, FL 33139                                                                                            year.
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Wells Fargo Bank                                         XXXX-9254                     Checking                  Account closed                 Unknown
       1901 A;tpm Road                                                                        Savings                   by bank within
       Miami Beach, FL 33139                                                                                            last year.
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Wells Fargo Bank                                         XXXX-4108                     Checking                  Account closed                 Unknown
       1901 Alton Road                                                                        Savings                   by bank within
       Miami Beach, FL 33139                                                                                            last year.
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)

       Bank of America                                               Elizabeth Hazan                        Safe Deposit Box Numbers:               No
       19645 Biscayne Boulevard                                      6913 Valencia Drive                    001022027640;                           Yes
       Miami, FL 33180                                               Miami Beach, Florida                   001022053199;
                                                                     33109                                  001022053201; 001022002816

                                                                                                            The Debtor is unaware of the
                                                                                                            contents of the safe deposit
                                                                                                            box as she has not had
                                                                                                            access for several years.

       HSBC                                                          Elizabeth Hazan                        Safe Deposit Box Number                 No
       452 Fifth Avenue                                              6913 Fisher Island Drive               1-0610-0000451-9                        Yes
       New York, NY 10018                                            Miami Beah, Florida
                                                                     33109                                  The Debtor is unaware of the
                                                                                                            contents of the safe deposit
                                                                                                            box as she has not had
                                                                                                            access for several years.

       BB&T Bank                                                     Elizabeth Hazan                        Unknown. Contents of safety             No
       1691 Michigan Avenue, Suite 100                               6913 Fisher Island Drive               deposit box were escheated              Yes
       Miami Beach, FL 33139                                         Miami Beach, Florida                   to State of Florida in 2015.
                                                                     33109

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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                         have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Manhattan Mini-Storage                                        Elizabeth Hazan                            Clothes, shoes, documents,             No
       420 E. 62 Street                                              6913 Fisher Island Drive                   and other personal items.              Yes
       New York, NY 10065                                            Miami Beach, Florida                       Contents of storage unit were
                                                                     33109                                      removed and shipped back to
                                                                                                                Debtor in August 2015. All
                                                                     Sean Meehan                                contents are listed on
                                                                     6913 Fisher Island Drive                   Debtor's Schedule B.
                                                                     Miami Beach, Florida
                                                                     33109


 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)


 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                       Nature of the case                   Status of the
       Case Number                                                    Name                                                                       case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business              Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Holding Trust Management Group,                          Holding Company                                  EIN:         XX-XXXXXXX
       LLC
       3839 NW Boca Raton Boulevard                             n/a                                              From-To 2012 - Present
       Boca Raton, FL 33431

       Crystal Holdings Group, LLC                              Nightclub Developer                              EIN:         n/a
       311 West Third Street
       Carson City, NV 89703                                    n/a                                              From-To 2013 - present


       Amercian Hospitality Group, Inc.                         Hospitality - Debtor's relationship              EIN:         900817890
       1 East 62nd Street, Apt. 1a                              with business ended in 2013
       New York, NY 10065                                                                                        From-To 2013 - present
                                                                n/a

       American Hospitality Holdings,                           Hospitality Holding Company -                    EIN:         5213770
       LLC                                                      Debtor's relationship with
       800 Delaware Avenue, 10th Floor                          business ended in 2013                           From-To 2012 - present
       PO Box 8702
       Wilmington, DE 19899                                     n/a

       American Hospitality Holdings                            Hospitality - Debtor's relationship              EIN:         900817890
       Group, LLC                                               with business ended in 2013
       1 East 62nd Street, APT 1a                                                                                From-To 2013 - present
       New York, NY 10065                                       n/a


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




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 Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Liza Hazan
 Liza Hazan                                                             Signature of Debtor 2
 Signature of Debtor 1

 Date     February 10, 2016                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 10

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:        Liquidation
 This notice is for you if:
                                                                                                  $245   filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335   total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property, you
 You must file Chapter 7 Statement of Your Current                                        must list it on Schedule C: The Property You Claim as
 Monthly Income (Official Form 122A–1) if you are an                                      Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                       $1,167   filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                       $1,717   total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file. Only
             an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
             what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
             and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that many
             people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
             inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan to
 Chapter 12: Repayment plan for family                                                    repay your creditors all or part of the money that you
             farmers or fishermen                                                         owe them, usually using your future earnings. If the
                                                                                          court approves your plan, the court will allow you to
                                                                                          repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235 filing fee                                                               debts for fraud or defalcation while acting in a
 +                  $75 administrative fee                                                       fiduciary capacity,
                   $310 total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge some                                        bankruptcy papers,
 debts that are not paid. You are eligible for chapter 13
 only if your debts are not more than certain dollar                                             certain debts for acts that caused death or
 amounts set forth in 11 U.S.C. § 109.                                                           personal injury, and

                                                                                                 certain long-term secured debts.



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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint case,
 s.html#procedure.                                                                        both spouses must receive the briefing. With limited
                                                                                          exceptions, you must receive it within the 180 days
                                                                                          before you file your bankruptcy petition. This briefing is
 Bankruptcy crimes have serious consequences                                              usually conducted by telephone or on the Internet.

        If you knowingly and fraudulently conceal assets                                  In addition, after filing a bankruptcy case, you generally
        or make a false oath or statement under penalty of                                must complete a financial management instructional
        perjury—either orally or in writing—in connection                                 course before you can receive a discharge. If you are
        with a bankruptcy case, you may be fined,                                         filing a joint case, both spouses must complete the
        imprisoned, or both.                                                              course.

        All information you supply in connection with a                                   You can obtain the list of agencies approved to provide
        bankruptcy case is subject to examination by the                                  both the briefing and the instructional course from:
        Attorney General acting through the Office of the                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
        U.S. Trustee, the Office of the U.S. Attorney, and
        other offices and employees of the U.S.                                           In Alabama and North Carolina, go to:
        Department of Justice.                                                            http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 Make sure the court has your mailing address                                             AndDebtCounselors.aspx.

 The bankruptcy court sends notices to the mailing                                        If you do not have access to a computer, the clerk of
 address you list on Voluntary Petition for Individuals                                   the bankruptcy court may be able to help you obtain the
 Filing for Bankruptcy (Official Form 101). To ensure                                     list.
 that you receive information about your case,
 Bankruptcy Rule 4002 requires that you notify the court
 of any changes in your address.




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                                                              United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Liza Hazan                                                                              Case No.   16-10389
                                                                                  Debtor(s)         Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: February 10, 2016                                               /s/ Liza Hazan
                                                                       Liza Hazan
                                                                       Signature of Debtor




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 Fill in this information to identify your case:

 Debtor 1            Liza Hazan

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Southern District of Florida

 Case number         16-10389                                                                            Check if this is an amended filing
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                          12/15

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


           Not married. Fill out Column A, lines 2-11.

           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only.
    If you have nothing to report for any line, write $0 in the space.
                                                                                                     Column A                Column B
                                                                                                     Debtor 1                Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                        $       25,000.00       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                          $             0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                          0.00      $
  5. Net   income   from  operating a
     business, profession, or farm       Debtor 1             Debtor 2
     Gross receipts (before all deductions)                   $    0.00
       Ordinary and necessary operating expenses                         -$        0.00
       Net monthly income from a business, profession, or farm $                   0.00 Copy here -> $             0.00      $
  6. Net income from rental and
     other real property                          Debtor 1                Debtor 2
       Gross receipts (before all deductions)                             $        0.00
       Ordinary and necessary operating expenses                         -$        0.00
       Net monthly income from rental or other real property             $         0.00 Copy here -> $             0.00      $




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 Debtor 1     Liza Hazan                                                                            Case number (if known)   16-10389

                                                                                                Column A                     Column B
                                                                                                Debtor 1                     Debtor 2

                                                                                                $                  0.00      $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                  $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $                 0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                     $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                                                                                                $                            $
                                                                                                $                  0.00      $
                  Total amounts from separate pages, if any.                                 + $                   0.00      $

  11. Calculate your total current monthly income.
      Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                        $   25,000.00           +$                     =$   25,000.00




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                         page 2
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 Debtor 1    Liza Hazan                                                                          Case number (if known)   16-10389




 Part 2:       Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X /s/ Liza Hazan
                Liza Hazan
                Signature of Debtor 1

        Date February 17, 2016
             MM / DD / YYYY




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                                   UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION


    IN RE:                                                                 CASE NO.: 16-10389-AJC
    LIZA HAZAN
    aka ELIZABETH HAZAN                                                    CHAPTER: 11

             DEBTOR.


                            NOTICE OF FILING AND SUPPLEMENTAL RESPONSE
                          TO NLG’S MOTION FOR RELIEF FROM AUTOMATIC STAY

             LIZA HAZAN a/k/a ELIZABETH HAZAN, Debtor (“Hazan”), by and through her

    undersigned counsel, by way of Supplemental Response to Motion for Relief from Stay filed by

    NLG, LLC (“NLG”), hereby files certain documents, and respectfully states:

                                                              APPRAISAL

             1.        Attached as Exhibit “A” is Debtor’s appraisal of the property.

                                                            TRANSCRIPT

             2.        Attached as Exhibit “B” is the full transcript of hearing on November 10, 2015,

    before the Miami-Dade Circuit Court, Case No. 14-10475 CA (01) (10), Judge Peter Lopez, on

    “Defendant, NLG, LLC’s Motion to Reconsider or Rescind Non-Final Order Granting Plaintiff’s

    Motion for Proceedings Supplementary and for Order Impleading Third Party” wherein, AFTER

    the issuance of the 3rd DCA Decision and Mandate, NLG asserted the very same arguments it

    now asserts in this Court to no avail. Judge Lopez reasserted that the NLG claim had been

    judicially assigned and that Selective had stepped into the shoes of NLG in respect to the appeal.

                       THE COURT: That judgment that I assigned to them or that
                       interest in that judgment was up on appeal. I didn't affect the
                       validity of what's up on appeal. I just said, if you win or lose,
                       whatever happens, now these people own it instead of you. The
                       Third came back and said, too bad, you get to foreclose, they

                                                                       1

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                       [Selective] now own that judgment or note if that's what merged
                       into it, they [Selective] get to go and foreclose. I had nothing to do
                       –
                       MR. RAMIREZ: It's the same people, Judge.

                       THE COURT: It doesn't matter to me who they were, what they
                       were. That's not my fight…

                       Pg. 26 of Transcript, Exh “B.”


                                      SUPPLEMENTAL RESPONSE TO REPLY

             3.        NLG asserts that it is in first position on the property. Aside from the fact that

    NLG has NO position, as it was judicially assigned to Selective, the Selective position is subject

    to the first mortgage rights of JPMorgan Chase Bank N.A. and the rights of Valencia Estates

    Homeowners’ Association, Inc. and Fisher Island Community Association, Inc.

             4.        There clearly is equity in the property. Selective has satisfied the former NLG

    mortgage (assigned to Selective). The Debtor’s appraisal would indicate at least $3.5 Million

    dollars in equity in the property.

             5.        Not only would a Plan be feasible by the sale or refinance of the house, but the

    Debtor has demonstrated an ability to earn well over $400,000 a year in consulting income,

    funds sufficient to maintain and carry the property pending a sale or refinance. A plan is clearly

    feasible in this case.

             WHEREFORE, the NLG Motion for Stay Relief should be denied, and the Court should

    enter any other and further relief it deems appropriate under these circumstances.

             //
             //
             //
             //
             //
             //
             //
             //
                                                                       2

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                                                                        Respectfully submitted,

                                                                        Aaronson Schantz Beiley P.A.

                                                                        /s/ Geoffrey S Aaronson
                                                                        Geoffrey S Aaronson, Esq.
                                                                        Florida Bar No. 349623
                                                                        Miami Tower
                                                                        100 S.E. 2nd Street, Floor 27
                                                                        Miami, Florida 33131
                                                                        Tel. 786.594.3000
                                                                        Fax 305.424.9336
                                                                        Email gaaronson@aspalaw.com
                                                                        Attorney for Debtor




                                                                       3

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                                                 APPRAISAL 1 Inc.
                                        8233 NW 200 terrace Hialeah Fl. 33015




                                   APPRAISAL OF REAL PROPERTY



                                                    LOCATED AT:
                                                     6913 Valencia Dr
                                                  See attached addenda.
                                                  Miami Beach, FL 33109




                                                           FOR:
                                                             N/A




                                                         AS OF:
                                                         04/20/2016




                                                            BY:
                                          Negasi S. Abraha, Cert Res RD 4731




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RESIDENTIAL APPRAISAL REPORT                                                                                                                                                      File No.: 1605-002
                                  Property Address: 6913 Valencia Dr                                                          City: Miami Beach                                State: FL         Zip Code: 33109
                                  County: Miami-Dade                                               Legal Description: See attached addenda.
SUBJECT




                                                                                                                                          Assessor's Parcel #:        30-4209-016-0070
                                  Tax Year: 2015              R.E. Taxes: $ 57,649            Special Assessments: $ 0                    Borrower (if applicable):     N/A
                                  Current Owner of Record:         Elizabeth Hazan                                              Occupant:          Owner            Tenant          Vacant            Manufactured Housing
                                  Project Type:             PUD          Condominium            Cooperative         Other (describe)                                    HOA: $ 0                     per year        per month
                                  Market Area Name: Lindisfarne                                                                    Map Reference: 33124                                Census Tract: 0045.00
                                  The purpose of this appraisal is to develop an opinion of:            Market Value (as defined), or       other type of value (describe)
                                  This report reflects the following value (if not Current, see comments):            Current (the Inspection Date is the Effective Date)             Retrospective           Prospective
ASSIGNMENT




                                  Approaches developed for this appraisal:            Sales Comparison Approach           Cost Approach          Income Approach (See Reconciliation Comments and Scope of Work)
                                  Property Rights Appraised:            Fee Simple           Leasehold         Leased Fee          Other (describe)
                                  Intended Use: The Intended Use is to evaluate the property that is the subject of this appraisal to accertain market value only, subject to the
                                   stated Scope of Work, purpose of the appraisal, reporting requirements of this appraisal report form, and Definition of Market Value.
                                  Intended User(s) (by name or type): Owner
                                  Client:    N/A                                                                Address: N/A
                                  Appraiser:      Negasi S. Abraha, Cert Res RD 4731                            Address: 8233 NW 200 terrace, Hialeah , FL 33015
                                  Location:               Urban                Suburban          Rural             Predominant           One-Unit Housing             Present Land Use              Change in Land Use
                                  Built up:               Over 75%             25-75%            Under 25%          Occupancy           PRICE              AGE      One-Unit           80 %        Not Likely
                                                                                                                                        $(000)             (yrs) 2-4 Unit
MARKET AREA DESCRIPTION




                                  Growth rate:            Rapid                Stable            Slow                Owner 90                                                           5%         Likely *        In Process *
                                  Property values:        Increasing           Stable            Declining           Tenant 10           3mil Low 05                Multi-Unit          5 % * To:
                                  Demand/supply:          Shortage             In Balance        Over Supply         Vacant (0-5%) 15 mil High 65                   Comm'l             10 %
                                  Marketing time:         Under 3 Mos.         3-6 Mos.          Over 6 Mos.         Vacant (>5%) 8 mill Pred 40                                           %
                                  Market Area Boundaries, Description, and Market Conditions (including support for the above characteristics and trends):                 See attached addenda. The Subject
                                   property is bounded by MacArthur Causeway to the North, Fishermans Channel to the West, South Pointe Park to the East, and Norris Cut St
                                   to the South.




                                  Dimensions: (Not Available)                                                                                           Site Area: 12,393 sf
                                  Zoning Classification: RU-4A                                                                                          Description: Single Family Residential
                                                                                                          Zoning Compliance:       Legal                    Legal nonconforming (grandfathered)      Illegal                         No zoning
                                  Are CC&Rs applicable?        Yes         No       Unknown           Have the documents been reviewed?                    Yes      No Ground Rent (if applicable) $                                /
                                  Highest & Best Use as improved:          Present use, or            Other use (explain)

                                  Actual Use as of Effective Date: Single Family Residential                                            Use as appraised in this report:         Residential
                                  Summary of Highest & Best Use:     (See addendum)
SITE DESCRIPTION




                                  Utilities       Public Other     Provider/Description Off-site Improvements Type                Public Private Topography Typical
                                  Electricity                   Public                  Street        Asphalt                                     Size      12,393 sf
                                  Gas                           Natural Gas             Curb/Gutter Concrete                                      Shape     Rectangular
                                  Water                         Public                  Sidewalk      None                                        Drainage  Adequate
                                  Sanitary Sewer                Public                  Street Lights Electric                                    View      B;Glfvw;
                                  Storm Sewer                   Public                  Alley         None
                                  Other site elements:      Inside Lot       Corner Lot    Cul de Sac      Underground Utilities Other (describe)
                                  FEMA Spec'l Flood Hazard Area        Yes      No FEMA Flood Zone AE                FEMA Map # 12086C0319L                  FEMA Map Date 09/11/2009
                                  Site Comments: There were no apparent adverse easements or encroachments observed at the time of inspection. There are no known special
                                  assessments or zoning issues (Subject to survey and title report). The current use is considered the highest and best use of the subject
                                  property.

                                  General Description                          Exterior Description                         Foundation                  Basement           None         Heating FWA
                                  # of Units       1                Acc.Unit Foundation             Concrete/Avg            Slab        Yes             Area Sq. Ft.                0 Type       Central
                                  # of Stories 2                               Exterior Walls       CBS Avg.                Crawl Space None            % Finished                  0 Fuel       Ntl. Gas
                                  Type       Det.      Att.                    Roof Surface         Barrel/Avg              Basement None               Ceiling
                                  Design (Style) Traditional                   Gutters & Dwnspts. Alumin/avg                Sump Pump                   Walls                           Cooling CA
                                      Existing      Proposed      Und.Cons. Window Type             Single hung/Avg Dampness                            Floor                           Central X
                                  Actual Age (Yrs.) 13                         Storm/Screens        Yes/Yes                 Settlement None             Outside Entry                   Other
DESCRIPTION OF THE IMPROVEMENTS




                                  Effective Age (Yrs.) 06                                                                   Infestation None
                                  Interior Description                           Appliances           Attic      None Amenities                                                  Car Storage             None
                                  Floors           Marble/Avg                    Refrigerator         Stairs           Fireplace(s) #      1        Woodstove(s) #      0        Garage # of cars ( 4 Tot.)
                                  Walls            Drywall/Avg.                  Range/Oven           Drop Stair       Patio      Patio                                            Attach.     2
                                  Trim/Finish      Wood/Avg                      Disposal             Scuttle          Deck       None                                             Detach.
                                  Bath Floor       Tile Avg                      Dishwasher           Doorway          Porch None                                                  Blt.-In
                                  Bath Wainscot Tile/Avg                         Fan/Hood             Floor            Fence None                                                Carport
                                  Doors            Wood./Avg                     Microwave            Heated           Pool       Pool                                           Driveway 2
                                                                                 Washer/Dryer         Finished                                                                     Surface        Concrete
                                  Finished area above grade contains:                6 Rooms                   3 Bedrooms               3.1 Bath(s)           3,893 Square Feet of Gross Living Area Above Grade
                                  Additional features:      Any notable additional features not elsewhere addressed in the body of this report are discussed in the supplemental
                                   addendum section under the heading "Additional Features."
                                  Describe the condition of the property (including physical, functional and external obsolescence):     C4; updates in the last 10 years;Physical depreciation is the
                                   result of normal wear and tear. No functional floor plan inadequacies were considered to exist in the subject's floor plan. No external
                                   obsolescence was considered to exist within the subject's neighborhood. Appraiser was retained to estimate market value. No warranties are
                                   implied to structural or mechanical componets on property.




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RESIDENTIAL APPRAISAL REPORT                                                                                                                                                   File No.: 1605-002
                            My research         did       did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                            Data Source(s): Fares/Public Record
TRANSFER HISTORY




                                    1st Prior Subject Sale/Transfer           Analysis of sale/transfer history and/or any current agreement of sale/listing:        All Sales of the Subject and Comparable
                            Date:                                             within the last 3 years are noted in the above Appraisal Grid.
                            Price:
                            Source(s): MLS,Public Rec
                                    2nd Prior Subject Sale/Transfer
                            Date:
                            Price:
                            Source(s):
                            SALES COMPARISON APPROACH TO VALUE (if developed)                                The Sales Comparison Approach was not developed for this appraisal.
                                      FEATURE                    SUBJECT                      COMPARABLE SALE # 1                           COMPARABLE SALE # 2                            COMPARABLE SALE # 3
                            Address 6913 Valencia Dr                                 295 N Coconut Ln                               1600 w 25 st                                   429 N Hibiscus Dr
                                       Miami Beach, FL 33109                         Miami Beach, FL 33139                          Miami Beach, FL 33139                          Miami Beach, FL 33139
                            Proximity to Subject                                     1.80 miles NW                                  2.60 miles N                                   1.88 miles NW
                            Sale Price                  $           15,000,000                                $     5,580,000                                $     8,200,000                             $    6,450,000
                            Sale Price/GLA              $       3,853.07 /sq.ft. $ 1,230.43 /sq.ft.                                $ 2,260.20 /sq.ft.                              $ 1,532.07 /sq.ft.
                            Data Source(s)               Inspection                  SEF/MLS#A2208115;DOM 42                        SEF/MLS#A2012619;DOM 248 SEF/MLS#;DOM
                            Verification Source(s)       Assessor/Realto             Assessor/Realtor                               Assessor/Realtor                               Assessor/Realtor
                             VALUE ADJUSTMENTS                 DESCRIPTION                DESCRIPTION            +(-) $ Adjust.          DESCRIPTION            +(-) $ Adjust.          DESCRIPTION         +(-) $ Adjust.
                            Sales or Financing                                       Arms Length                                    Arms Length                                    ArmLth
                            Concessions                  0                           Cash;0                                         Conv;0                                         Cash;0
                            Date of Sale/Time            Unknown                     s01/16;c01/16                   +153,000 s08/15;c06/15                         +601,000 s06/15;Unk                       +591,000
                            Rights Appraised             Fee Simple                  Fee Simple                                     Fee Simple                                     Fee Simple
                            Location                     N;Res;                      N;Res;                                         N;Res;                                         N;Res;
                            Site                         12,393 sf                   8,828 sf                          +20,000 24,080 sf                               -70,000 13,781 sf                                 0
                            View                         B;Glfvw;                    B;Wtr;                                         B;Wtr;                                         B;Wtr;
                            Design (Style)               Traditional                 Traditional                                    Traditional                                    Ranch
                            Quality of Construction      Q4                          Q4                                             Q4                                             Q4
                            Age                          13                          62                              +490,000 65                                    +520,000 22                                 +90,000
                            Condition                    C4                          C4                                             C4                                             C4
                            Above Grade                   Total Bdrms Baths          Total Bdrms Baths                              Total Bdrms Baths                              Total Bdrms Baths
                            Room Count                     6       3       3.1         7       4       4.1             -10,000 7             4         4                -5,000 8            5       4              -5,000
                            Gross Living Area                        3,893 sq.ft.                4,535 sq.ft.          -80,200                 3,628 sq.ft.           +33,100                  4,210 sq.ft.      -39,600
                            Basement & Finished          0sf                         0sf                                            0sf                                            0sf
                            Rooms Below Grade
                            Functional Utility           Average                     Average                                        Average                                        Average
                            Heating/Cooling              FWA/ CA                     FWA/ CA                                        FWA/ CA                                        FWA/ CA
                            Energy Efficient Items       Typical Items               Typical Items                                  Typical Items                                  Typical Items
SALES COMPARISON APPROACH




                            Garage/Carport               2 Car Garage                None                              +20,000 None                                   +20,000 2 Car Garage
                            Porch/Patio/Deck             Patio                       Patio                                          Patio                                          Patio
                            Kitchen Equipment            Standard                    Standard                                       Standard                                       Standard
                            Pool                         Pool                        Pool                                           Pool                                           Pool
                            DOM                          152                         42                                             42                                                                                   0


                            Net Adjustment (Total)                           +      - $        592,800         +      - $       1,099,100          +     - $       636,400
                            Adjusted Sale Price
                            of Comparables                                               $   6,172,800                    $     9,299,100                    $   7,086,400
                            Summary of Sales Comparison Approach  The market data show a range in value from $6,172,800 to $15,272,000 All these sales are similar to the
                            Subject and given equal consideration, give a very accurate estimate of the Subject Property.
                            Market data obtained from the MLS is assumed to be correct. In the event square footage is not available on the MLS, county assessor
                            records are used. Site adjustments, if any, are made according to site value and not necessarily to site size. Specific comments concerning
                            the appraiser's approach to market value including specific comments concerning this property are located in the supplemental addenda.




                            Indicated Value by Sales Comparison Approach $                   9,500,000
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RESIDENTIAL APPRAISAL REPORT                                                                                                                                                File No.: 1605-002
                  COST APPROACH TO VALUE (if developed)                         The Cost Approach was not developed for this appraisal.
                  Provide adequate information for replication of the following cost figures and calculations.
                  Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value):                       N/A




                  ESTIMATED          REPRODUCTION OR        REPLACEMENT COST NEW                                        OPINION OF SITE VALUE                                                           =$
COST APPROACH




                  Source of cost data:                                                                                  DWELLING                                Sq.Ft. @ $                              =$
                  Quality rating from cost service:          Effective date of cost data:                                                                     0 Sq.Ft. @ $                              =$
                  Comments on Cost Approach (gross living area calculations, depreciation, etc.):                                                               Sq.Ft. @ $                              =$
                                                                                                                                                                Sq.Ft. @ $                              =$
                                                                                                                                                                Sq.Ft. @ $                              =$
                                                                                                                                                                                                        =$
                                                                                                                        Garage/Carport                     Sq.Ft. @ $                                   =$
                                                                                                                        Total Estimate of Cost-New                                                      =$
                                                                                                                        Less               Physical      Functional   External
                                                                                                                        Depreciation                                                                    =$(                     )
                                                                                                                        Depreciated Cost of Improvements                                                =$
                                                                                                                        ''As-is'' Value of Site Improvements                                            =$
                                                                                                                                                                                                        =$
                                                                                                                                                                                                        =$
                  Estimated Remaining Economic Life (if required):                              54 Years INDICATED VALUE BY COST APPROACH                                                               =$                     0
                  INCOME APPROACH TO VALUE (if developed)                The Income Approach was not developed for this appraisal.
INCOME APPROACH




                  Estimated Monthly Market Rent $         0             X Gross Rent Multiplier                        =$                                                           Indicated Value by Income Approach
                  Summary of Income Approach (including support for market rent and GRM):




                  PROJECT INFORMATION FOR PUDs (if applicable)                         The Subject is part of a Planned Unit Development.
                  Legal Name of Project: Lindisfarne
                  Describe common elements and recreational facilities:
PUD




                  Indicated Value by: Sales Comparison Approach $ 9,500,000         Cost Approach (if developed) $ 0       Income Approach (if developed) $
                  Final Reconciliation It is the opinion of the appraiser that the Sales Comparison Approach to Value, supported by the Cost Approach, gives the
                  most accurate estimate of the Subject's current Market Value. This area is primarily owner occupied and there is little or no rental data to
                  substantiate the use of the Income Approach.
RECONCILIATION




                  This appraisal is made       ''as is'',     subject to completion per plans and specifications on the basis of a Hypothetical Condition that the improvements have been
                  completed,        subject to the following repairs or alterations on the basis of a Hypothetical Condition that the repairs or alterations have been completed, subject to
                  the following required inspection based on the Extraordinary Assumption that the condition or deficiency does not require alteration or repair: Personal property is
                   not considered in this report. No liability is assumed for property structural or mechanical elements. It is assumed that the mechanical and
                   electrical systems on the property are in working order.
                      This report is also subject to other Hypothetical Conditions and/or Extraordinary Assumptions as specified in the attached addenda.
                  Based on the degree of inspection of the subject property, as indicated below, defined Scope of Work, Statement of Assumptions and Limiting Conditions,
                  and Appraiser’s Certifications, my (our) Opinion of the Market Value (or other specified value type), as defined herein, of the real property that is the subject
                  of this report is: $             9,500,000                , as of:                 04/20/2016                    , which is the effective date of this appraisal.
                  If indicated above, this Opinion of Value is subject to Hypothetical Conditions and/or Extraordinary Assumptions included in this report. See attached addenda.
                  A true and complete copy of this report contains             pages, including exhibits which are considered an integral part of the report. This appraisal report may not be
ATTACHMENTS




                  properly understood without reference to the information contained in the complete report.
                  Attached Exhibits:
                         Scope of Work                    Limiting Cond./Certifications        Narrative Addendum               Photograph Addenda                  Sketch Addendum
                         Map Addenda                      Additional Sales                     Cost Addendum                    Flood Addendum                      Manuf. House Addendum
                         Hypothetical Conditions          Extraordinary Assumptions
                  Client Contact: Elizabeth Hazan                                                     Client Name:   N/A
                  E-Mail: Sean Meehan <seannmeehan@gmail.com>                                 Address: N/A
                  APPRAISER                                                                                           SUPERVISORY APPRAISER (if required)
                                                                                                                      or CO-APPRAISER (if applicable)
SIGNATURES




                                                                                                                      Supervisory or
                  Appraiser Name: Negasi S. Abraha, Cert Res RD 4731                                                  Co-Appraiser Name:
                  Company: Appraisal 1 Inc.                                                                           Company:
                  Phone: 786-234-8393                               Fax: 855-450-1192                                 Phone:                                            Fax:
                  E-Mail: appraisal1inc@yahoo.com                                                                     E-Mail:
                  Date of Report (Signature): May 25, 2016                                                            Date of Report (Signature):
                  License or Certification #: RD 4731                                      State: FL                  License or Certification #:                                                            State:
                  Designation:                                                                                        Designation:
                  Expiration Date of License or Certification:     11/30/2016                                         Expiration Date of License or Certification:
                  Inspection of Subject:            Interior & Exterior       Exterior Only        None               Inspection of Subject:            Interior & Exterior                   Exterior Only             None
                  Date of Inspection:                                04/20/2016                                       Date of Inspection:
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ADDITIONAL COMPARABLE SALES                                                                                                                                       File No.: 1605-002
                                      FEATURE               SUBJECT                 COMPARABLE SALE # 4                                 COMPARABLE SALE # 5                  COMPARABLE SALE # 6
                            Address 6913 Valencia Dr                        350 S Hibiscus Dr                                   6919 Valencia Dr                     1620 W 21st St
                                       Miami Beach, FL 33109                Miami Beach, FL 33139                               Miami Beach, FL 33109                Miami Beach, FL 33140
                            Proximity to Subject                            1.72 miles NW                                       0.03 miles S                         2.31 miles N
                            Sale Price              $         15,000,000                        $    7,050,000                                     $ 15,500,000                         $ 13,900,000
                            Sale Price/GLA          $      3,853.07 /sq.ft. $ 1,658.43 /sq.ft.                                  $ 2,718.82 /sq.ft.                   $ 2,392.43 /sq.ft.
                            Data Source(s)          Inspection              SEF/MLS#A2041873;DOM 154                            SEF/MLS#AXXXXXXXX;DOM 30 SEF/MLS#A2166858;DOM 267
                            Verification Source(s)  Assessor/Realto         Assessor/Realtor                                    Assessor/Realtor                     Assessor/Realtor
                             VALUE ADJUSTMENTS            DESCRIPTION            DESCRIPTION       +(-) $ Adjust.                    DESCRIPTION     +(-) $ Adjust.       DESCRIPTION     +(-) $ Adjust.
                            Sales or Financing                              ArmLth                                              Listing                              Listing
                            Concessions             0                       Cash;0                                              Active;0                             Active;0
                            Date of Sale/Time       Unknown                 s05/15;c05/15            +710,000                   Active                               Active
                            Rights Appraised        Fee Simple              Fee Simple                                          Fee Simple                           Fee Simple
                            Location                N;Res;                  N;Res;                                              N;Res;                               N;Res;
                            Site                    12,393 sf               15,750 sf                   -15,000                 11,628 sf                         0 8,700 sf                   +20,000
                            View                    B;Glfvw;                B;Wtr;                                              B;Glfvw;                             B;Wtr;
                            Design (Style)          Traditional             Split Level                                         Traditional                          Traditional
                            Quality of Construction Q4                      Q4                                                  Q4                                   Q4
                            Age                     13                      40                       +270,000                   14                                   26                      +130,000
                            Condition               C4                      C4                                                  C4                                   C4
                            Above Grade              Total Bdrms Baths      Total Bdrms Baths                                    Total Bdrms        Baths                           Total Bdrms         Baths
                            Room Count                6      3      3.1      10     7      6            -25,000                    8       5       5.1                 -2,000 9                6       6.1               -30,000
                            Gross Living Area                  3,893 sq.ft.           4,251 sq.ft.      -44,800                                5,701 sq.ft.          -226,000                      5,810 sq.ft.         -239,600
                            Basement & Finished     0sf                     0sf                                                  0sf                                          0sf
                            Rooms Below Grade
                            Functional Utility      Average                 Average                                              Average                                            Average
                            Heating/Cooling         FWA/ CA                 FWA/ CA                                              FWA/ CA                                            FWA/ CA
                            Energy Efficient Items  Typical Items           Typical Items                                        Typical Items                                      Typical Items
                            Garage/Carport          2 Car Garage            2 Car Carport              +15,000                   2 Car Garage                                       None                                  +20,000
                            Porch/Patio/Deck        Patio                   Patio                                                Patio/Deck                                         Patio/Deck
                            Kitchen Equipment       Standard                Standard                                             Standard                                           Standard
                            Pool                    Pool                    Pool                                                 Pool                                               Pool
                            DOM                     152                     154                                 0                30                                                 267
SALES COMPARISON APPROACH




                            Net Adjustment (Total)                                     +           -     $         910,200                 +          -     $        -228,000                 +           -     $         -99,600
                            Adjusted Sale Price
                            of Comparables                                                               $      7,960,200                                   $     15,272,000                                    $    13,800,400
                            Summary of Sales Comparison Approach




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                                                                                                                                                      Loan #
                                                                USPAP Compliance Addendum                                                              File #   1605-002
Borrower/Client          N/A
Property Address         6913 Valencia Dr
City                     Miami Beach                                                County   Miami-Dade                                       State   FL         Zip Code   33109
Lender                   N/A

APPRAISAL AND REPORT IDENTIFICATION
This Appraisal Report is one of the following types:

       Appraisal Report               This report was prepared in accordance with the requirements of the Appraisal Report option of USPAP Standards Rule 2-2(a).
       Restricted Appraisal Report    This report was prepared in accordance with the requirements of the Restricted Appraisal Report option of USPAP Standards Rule 2-2(b). The
                                      intended user of this report is limited to the identified client. This is a Restricted Appraisal Report and the rationale for how the appraiser arrived
                                      at the opinions and conclusions set forth in the report may not be understood properly without the additional information in the appraiser's workfile.




ADDITIONAL CERTIFICATIONS
I certify that, to the best of my knowledge and belief:
       The statements of fact contained in this report are true and correct.

       The report analyses, opinions, and conclusions are limited only by the reported assumptions and are my personal, impartial, and unbiased professional analyses,
       opinions, and conclusions.

       I have no (or the specified) present or prospective interest in the property that is the subject of this report and no (or specified) personal interest with respect to the
       parties involved.

       I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.

       My engagement in this assignment was not contingent upon developing or reporting predetermined results.

       My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause
       of the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of
       this appraisal.

       My analyses, opinions, and conclusions were developed and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice.

       This appraisal report was prepared in accordance with the requirements of Title XI of FIRREA and any implementing regulations.



PRIOR SERVICES
       I have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the three-year period
       immediately preceding acceptance of this assignment.
       I HAVE performed services, as an appraiser or in another capacity, regarding the property that is the subject of this report within the three-year period immediately
       preceding acceptance of this assignment. Those services are described in the comments below.
PROPERTY INSPECTION
       I have NOT made a personal inspection of the property that is the subject of this report.
       I HAVE made a personal inspection of the property that is the subject of this report.
APPRAISAL ASSISTANCE
Unless otherwise noted, no one provided significant real property appraisal assistance to the person signing this certification. If anyone did provide significant assistance, they
are hereby identified along with a summary of the extent of the assistance provided in the report.




ADDITIONAL COMMENTS
Additional USPAP related issues requiring disclosure and/or any state mandated requirements:




MARKETING TIME AND EXPOSURE TIME FOR THE SUBJECT PROPERTY
   A reasonable marketing time for the subject property is 30 day(s) utilizing market conditions pertinent to the appraisal assignment.
   A reasonable exposure time for the subject property is  30 day(s).
APPRAISER                                                                  SUPERVISORY APPRAISER (ONLY IF REQUIRED)



  Signature                                                                                           Signature
  Name          Negasi S. Abraha, Cert Res RD 4731                                                    Name
  Date of Signature     May 25, 2016                                                                  Date of Signature
  State Certification # RD 4731                                                                       State Certification #
  or State License #                                                                                  or State License #
  State     FL                                                                                        State
  Expiration Date of Certification or License    11/30/2016                                           Expiration Date of Certification or License
                                                                                                      Supervisory Appraiser Inspection of Subject Property
  Effective Date of Appraisal     04/20/2016                                                              Did Not             Exterior-only from Street          Interior and Exterior
USPAP Compliance Addendum 2014                                                                                                                                                           Page 1 of 1


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                                                Supplemental Addendum                                                  File No. 1605-002
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                  County Miami-Dade                           State FL         Zip Code 33109
Lender             N/A
  HIGHEST AND BEST USE AND ZONING:
  The highest and best use analysis employed herein is based on the following:
  Highest and best can be defined as the reasonably probable and legal use of vacant land or an improved property, that is
  physically possible, legally permissible, financially feasible, and that results in the highest value.
  The present use is deemed to meet that test as of the effective date of the appraisal report.

  The specific zoning classification and description provided, shows the use of the property. Typically this is also the zoning
  classification. This however does not mean that this is the zoning classification. The Appraiser states that every effort was made
  to find the specific zoning classification and that the provided Zoning is believed to be accurate.

  • GP Residential : Neighborhood - Description
  The employment stability and general economy of the market area in which the subject is located, is considered to be stable to
  moderately increasing. Schools, places of worship,recreational areas,downtown business district and other amenities are all
  within one mile of the subject property. Access to employment centers,a shopping mall,community college, regional airport,
  hospitals, state parks, and interstate highway systems gives the area good appeal.

  • GP Residential : Neighborhood - Market Conditions
  Marketing time is considered to be 90-120 days in most sub markets,based on information obtained from the MLS,which is
  assumed to be correct. Supply and demand are in balance, however the market appears to have been stable over the last 12
  months. Mortgage money is available at competitive interest rates to qualified buyers.The financing for the subject property is
  consistent with financing in the local market area. Loan discounts, interest buy downs and concessions are not prevalent in the
  subject's sub market.

   ADVERSE ENVIORNMENTAL CONDITIONS:
  No environmental hazards or potential problems were noted by the appraiser at the time of inspection. The appraiser, however,
  is not an expert in the field of environmental hazards or toxic wastes, and makes no claims to possess such knowledge. It is the
  responsibility of the appraiser only to make note of and point out any obvious hazards or conditions. If the client has any
  questions, concerns or suspicions about the possible existence of any potentially hazardous conditions, then an expert in the
  field should be obtained to render a qualified opinion. Furthermore, the appraiser is not a qualified engineer or land surveyor
  and makes no claims to be. Any determination of flood zone location should be made by a qualified professional. If there are
  any questions regarding the exact location of any flood zone or zones, a qualified land surveyor should be retained for such an
  establishment.

  CONDITIONS OF APPRAISAL:
  This is a Complete Appraisal Report written in a Summary Format which is intended to comply with the reporting requirements
  set forth under Standards Rule 2 - 2(b) of the Uniform Standards of Professional Appraisal Practice for a Summary Appraisal
  Report. As such, it represents only summary discussions of the data, reasoning and analyses that were used in the appraisal
  process to develop the appraiser's opinion of value. Supporting documentation that is not provided within the report concerning
  the data, reasoning and analyses is retained in the appraiser's file. The depth of the discussion contained in this report is specific
  to the needs of the client and for the intended use stated in the report. The appraiser is not responsible for unauthorized use of
  this report.

  This appraisal report may contain an electronic signature(s). Electronic signatures were implemented for the convenience of this
  firm and at our clients' requests. Electronic signatures are individually password protected.

  This appraisal report may contain Multiple Listing Service photographs. In the event that MLS photos have been utilized, the
  appraiser certifies that he/she has driven by the property and that the comparable photos used are accurate representations of the
  comparable sale as of the date of sale of the comparable property.
  The Date of the Report is the date the report was signed.

   SUBJECT SECTION:
  The subject's appraised value includes only the tax parcel with the residence and does not include any vacant or adjoining sites.
  It is the responsibility of the lender that prior to the completion of this report to indicate if any additional land is to be given
  contributory value.

  THE APPRAISER IS NOT A HOME INSPECTOR:
  This report should not be relied upon to disclose any conditions present in the subject property. The appraisal report does not
  guarantee that the property is free of defects. A professional home inspection is recommended.


  NOTE TO HOME MEASUREMENTS:
  This Appraiser personally inspected and measured the subject property. The gross living area is derived from exterior
  measurements of the subject's review. Since this Appraiser personally measured the subject, this Appraiser's measurements in
  calculating gross living area will be used.

  FLOOD INFORMATION:
  The flood map information was determined by an outside vendor.




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                                            Supplemental Addendum                                                  File No. 1605-002
Borrower/Client N/A
Property Address 6913 Valencia Dr
City             Miami Beach                                County Miami-Dade                           State FL         Zip Code 33109
Lender           N/A
   GP Residential: Appraiser Signature

   Appraisal 1 employs the use of digital signatures and the electronically transmitted report meets USPAP reporting
  requirements. The appraiser took reasonable steps to protect the data integrity of the transmitted report. The software program
  provided a signature security feature for all the appraisers signing the report. The electronic signature carries the same level of
  authenticity and responsibility as an ink signature on a paper copy report.

  Supplemental Addendum:
    These supplements to the appraisal have been added in accordance with Standards Rule 2-2 of thm Standards of
  Professional Appraisal Practice (USPAP) and therefore supported by certification #3 of the `attached Appraiser's Certification.
     The appraiser's inspection of the property consisted of viewing all readily accessible interior spaces, the exterior of the
  property, the roof viewed from ground level, the site, as well as the adjoining street under the allowable weather condition.
  Although the appraiser has observed these areas and reported any visible physical deficiencies, these features will be analyzed
  to extract the appraised value only. This is an appraisal assignment and should not be used for, or in replacement of a home
  inspection. The scope of work involved in this assignment is used to determine market value only.



  Home Valuation Code of Conduct:
  The Appraiser has prepared in compliance with the Home Valuation Code of Conduct and has not
  performed, participated in, or been Associated with any activity in violation of the code.
  Additional Certification:

  I have performed no other services, as an appraiser or in any other capacity, regarding the property that is
  the subject of the work under review within the three-year period immediately preceding acceptance of this
  assignment.
  Intended user:
  THE INTENDED USER OF THIS APPRAISAL IS THE OWNER , THE INTENDED USE IS TO EVALUATE THE
  PROPERTY THAT IS THE SUBJECT OF THIS APPRAISAL FOR A PERSONAL USE, SUBJECT TO THE
  STATED SCOPE OF WORK, PURPOSE OF THE APPRAISAL, REPORTING REQUIREMENTS OF THIS
  APPRAISAL REPORT FORM, AND DEFINITION OF MARKET VALUE. NO ADDITIONAL INTENDED USERS
  ARE IDENTIFIED BY THE APPRAISER.

  Subject Neighborhood:
  The Subject property is located in Fisher Island, which is one of the most beautifull and exclusive
  neighborhood in the World and the highest per capital income of any place in the United States.
  It is located about three miles off shore of mainland South Florida, It is only accessible by Boat or
  Helicopter, there is no road that connects the Island with mainland.
  The Island is strageticaly located close by to the world famouse South Beach, Bayside, and the port of
  Miami.
  There are only 8 Single Family homes, and several luxurious Condos in Fisher Island.
  The subject's area consist of a wide range of properties types, varying in size, quality,
  condition and price.The range of property values is typical of the area and marketability on all
  the value ranges is Good.

   It was determined that the subject property is not an over or under improvement for the subject's market
  area.
  - The subject property is currently being sold as an "Arm's Length Transaction".
  - The subject property is a single family home containing 3 bedrooms and 3.1 baths measuring
  3,893 square feet.
  Real Estate Data for Miami:

  According to the Miami Herald, The Miami market trends indicate an increase of 9% in median home sales
  over the past year.
  Trulia reported that "Fisher Island " market trends indicate an increase of $425,000 (11%) in median home
  sales over the past year.


  The appraiser has made an extensive search of the subject neighborhood and nearby
  neighborhoods in order to select the best comparable sales available. Due to the limited
  market activity of comparable properties in Fisher Island, the Appraiser expanded to the nearby
  neighborhoods of Star Island, Hibiscus Island and McArthur Island.

  Reconciliation of Sales Approach to Value
  Most emphasis was given to Closed Comparable sales. The other sales provided are being used as
  supporters when arriving at the subject's final market value estimate. All the comparable sales were
  arranged in the market grid in order of relevance taking into consideration proximity and date
  of sale.




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                                                              Subject Photo Page
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                    County Miami-Dade                            State FL       Zip Code 33109
Lender             N/A




                                                                                                                          Subject Front
                                                                                                         6913 Valencia Dr
                                                                                                         Sales Price       15,000,000
                                                                                                         Gross Living Area 3,893
                                                                                                         Total Rooms       6
                                                                                                         Total Bedrooms    3
                                                                                                         Total Bathrooms   3.1
                                                                                                         Location          N;Res;
                                                                                                         View              B;Glfvw;
                                                                                                         Site              12,393 sf
                                                                                                         Quality           Q4
                                                                                                         Age               13




                                                                                                                          Subject Rear




                                                                                                                          Subject Street




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                                                              Subject Photo Page
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                    County Miami-Dade                            State FL     Zip Code 33109
Lender             N/A




                                                                                                                     Subject Rear View
                                                                                                         6913 Valencia Dr
                                                                                                         Sales Price       15,000,000
                                                                                                         Gross Living Area 3,893
                                                                                                         Total Rooms       6
                                                                                                         Total Bedrooms    3
                                                                                                         Total Bathrooms   3.1
                                                                                                         Location          N;Res;
                                                                                                         View              B;Glfvw;
                                                                                                         Site              12,393 sf
                                                                                                         Quality           Q4
                                                                                                         Age               13




                                                                                                                     Subject Rear View




                                                                                                                     Subject Rear View




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                                                                Interior Photos
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                  County Miami-Dade                            State FL   Zip Code 33109
Lender             N/A




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                                                                Interior Photos
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                  County Miami-Dade                            State FL   Zip Code 33109
Lender             N/A




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                                                          Comparable Photo Page
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                    County Miami-Dade                            State FL        Zip Code 33109
Lender             N/A




                                                                                                                       Comparable 1
                                                                                                         295 N Coconut Ln
                                                                                                         Prox. to Subject  1.80 miles NW
                                                                                                         Sales Price       5,580,000
                                                                                                         Gross Living Area 4,535
                                                                                                         Total Rooms       7
                                                                                                         Total Bedrooms    4
                                                                                                         Total Bathrooms   4.1
                                                                                                         Location          N;Res;
                                                                                                         View              B;Wtr;
                                                                                                         Site              8,828 sf
                                                                                                         Quality           Q4
                                                                                                         Age               62




                                                                                                                       Comparable 2
                                                                                                         1600 w 25 st
                                                                                                         Prox. to Subject    2.60 miles N
                                                                                                         Sales Price         8,200,000
                                                                                                         Gross Living Area   3,628
                                                                                                         Total Rooms         7
                                                                                                         Total Bedrooms      4
                                                                                                         Total Bathrooms     4
                                                                                                         Location            N;Res;
                                                                                                         View                B;Wtr;
                                                                                                         Site                24,080 sf
                                                                                                         Quality             Q4
                                                                                                         Age                 65




                                                                                                                       Comparable 3
                                                                                                         429 N Hibiscus Dr
                                                                                                         Prox. to Subject  1.88 miles NW
                                                                                                         Sales Price       6,450,000
                                                                                                         Gross Living Area 4,210
                                                                                                         Total Rooms       8
                                                                                                         Total Bedrooms    5
                                                                                                         Total Bathrooms   4
                                                                                                         Location          N;Res;
                                                                                                         View              B;Wtr;
                                                                                                         Site              13,781 sf
                                                                                                         Quality           Q4
                                                                                                         Age               22




                                      Form PICPIX.CR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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                                                          Comparable Photo Page
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                    County Miami-Dade                            State FL        Zip Code 33109
Lender             N/A




                                                                                                                      Comparable 4
                                                                                                         350 S Hibiscus Dr
                                                                                                         Prox. to Subject  1.72 miles NW
                                                                                                         Sales Price       7,050,000
                                                                                                         Gross Living Area 4,251
                                                                                                         Total Rooms       10
                                                                                                         Total Bedrooms    7
                                                                                                         Total Bathrooms   6
                                                                                                         Location          N;Res;
                                                                                                         View              B;Wtr;
                                                                                                         Site              15,750 sf
                                                                                                         Quality           Q4
                                                                                                         Age               40




                                                                                                                      Comparable 5
                                                                                                         6919 Valencia Dr
                                                                                                         Prox. to Subject  0.03 miles S
                                                                                                         Sales Price       15,500,000
                                                                                                         Gross Living Area 5,701
                                                                                                         Total Rooms       8
                                                                                                         Total Bedrooms    5
                                                                                                         Total Bathrooms   5.1
                                                                                                         Location          N;Res;
                                                                                                         View              B;Glfvw;
                                                                                                         Site              11,628 sf
                                                                                                         Quality           Q4
                                                                                                         Age               14




                                                                                                                      Comparable 6
                                                                                                         1620 W 21st St
                                                                                                         Prox. to Subject    2.31 miles N
                                                                                                         Sales Price         13,900,000
                                                                                                         Gross Living Area   5,810
                                                                                                         Total Rooms         9
                                                                                                         Total Bedrooms      6
                                                                                                         Total Bathrooms     6.1
                                                                                                         Location            N;Res;
                                                                                                         View                B;Wtr;
                                                                                                         Site                8,700 sf
                                                                                                         Quality             Q4
                                                                                                         Age                 26




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                                                                   Building Sketch
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                       County Miami-Dade                         State FL       Zip Code 33109
Lender             N/A




                                                                                               6 6'
                                                                                            5.




                                                                                                                       21'
                                                                                                                  2.

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                                                                                                                      83
                                                                                           40'




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                                                                                                                       ' 3'
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                                                                                                                14'
                                       69'




                                                                                                                       24'
                                                                                           4'
                                                                                4'




                                                                                                   9'
                                                                          14'




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                                                 5.




                                                                       '
                                                                     66
                                                   66




                                                                   5.
                                                     '




                                                                                                                       32'
                                                                                     24'




                                      Form SKT.BldSkI — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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                                                                  Building Sketch
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                     County Miami-Dade                           State FL    Zip Code 33109
Lender             N/A




                                      Form SKT.BldSkI — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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                                                                  Location Map
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                   County Miami-Dade                           State FL   Zip Code 33109
Lender             N/A




                                      Form MAP.LOC — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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  FROM:
                                                                                                                    INVOICE
   Appraisal 1 Inc.
                                                                                                                       INVOICE NUMBER
   8233 NW 200 Terrace
   6913 Valencia Dr                                                                                                          DATE
   Miami Beach                                                                                                             5/23/2016
   Telephone Number: Miami-Dade                  Fax Number:
                                                                                                                           REFERENCE
  TO:                                                                                              Internal Order #:       1605-002
   Elizabeth Hazan                                                                                 Lender Case #:
   N/A
                                                                                                   Client File #:          1605-002
                                                                                                   Main File # on form:    1605-002
   ,
                                                                                                   Other File # on form:

   Telephone Number:                             Fax Number:                                       Federal Tax ID:         XX-XXXXXXX
   Alternate Number:                             E-Mail:                                           Employer ID:




  DESCRIPTION
              Lender:    N/A                                                   Client: N/A
  Purchaser/Borrower:    N/A
    Property Address:    6913 Valencia Dr
                 City:   Miami Beach
              County:    Miami-Dade                                            State: FL                               Zip: 33109
    Legal Description:   See attached addenda.



  FEES                                                                                                                                  AMOUNT




  All invoices are net 30 days:
  All past due invoices subject to 1.5% services charge per month




                                                                                                                     SUBTOTAL

  PAYMENTS                                                                                                                              AMOUNT
  Check #:                  Date:                 Description:
  Check #:                  Date:                 Description:
  Check #:                  Date:                 Description:



                                                                                                                     SUBTOTAL

                                                                                                                    TOTAL DUE       $            0




                                    Form NIV5 — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                             Appraisal 1 (786) 234-8393
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                                              IN THE CIRCUIT COURT OF THE
                                              11th JUDICIAL CIRCUIT IN AND
                                              FOR MIAMI-DADE COUNTY, FLORIDA
                                              CASE NO. 14-10475 CA (01) (10)
         SELECTIVE ADVISORS GROUP,          )
         LLC, AS ASSIGNEE OF 9197-5904      )
         QUEBEC, INC.,                      )
                                            )
                   Plaintiff,               )
                                            )
         vs.                                )
                                            )
         NLG, LLC, a Delaware limited       )
         liability company,                 )
                                            )
                   Defendant.               )
         ___________________________________)



                 DATE TAKEN:                      November 10th, 2015
                 TIME:                            2:01 p.m. to 2:27 p.m.
                 PLACE:                           73 West Flagler Street
                                                  Miami, Florida
                 BEFORE:                          JUDGE LOPEZ


              This cause came on to be heard at the time and
         place aforesaid, when and where the following
         proceedings were reported by:
                       Dawn Jobe, Court Reporter
            Taylor, Jonovic, White, Gendron, Kircher-Echarte
                2455 East Sunrise Boulevard, Suite 1200
                     Fort Lauderdale, Florida 33304
                             (954) 759-4560




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                                                                                                 2

         APPEARANCES:
                 On behalf of the Plaintiff:
                      By: MARK D. COHEN, ESQUIRE
                      MARK D. COHEN, P.A.
                      4000 Hollywood Boulevard
                      Suite 435 South
                      Hollywood, Florida 33021
                      (954) 962-1166
                 On behalf of the Defendant:
                      By: JUAN RAMIREZ, ESQUIRE
                      DIAZ, REUS, & TARG
                      100 Southeast 2nd Street
                      Suite 3400
                      Miami, Florida 33131
                      (305) 375-9220
         ALSO PRESENT
              CHRIS KOSACHUK




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    1             (Thereupon the following proceedings were
    2     had:)
    3             THE COURT:          We're back again, Select
    4     Advisors/NLG.
    5             MR. COHEN:          Your Honor, you closed the
    6     case.
    7             THE COURT:          Well, I know; but he filed a
    8     motion to reconsider.                  I wanted to have him air
    9     it out.         I'm not sure where we're supposed to
   10     go.
   11             MR. RAMIREZ:            You want our appearances?
   12     Juan Ramirez on behalf of NLG.
   13             MR. COHEN:          Mark Cohen on behalf of the
   14     plaintiff.
   15             THE COURT:          Okay.
   16             MR. RAMIREZ:            Judge, basically we're
   17     seeking you to reconsider a nonfinal order that
   18     you issued back in August 20th, 2014.                                In their
   19     response, they never really challenged all the
   20     history of it.            It's obvious, if you look at
   21     all the stuff I submitted, that basically they
   22     got you to domesticate a judgment that was
   23     fraudulently obtained.
   24             MR. COHEN:          I'm going to object.
   25             THE COURT:          He can make his record.

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    1             MR. RAMIREZ:             I gave you case law on it.
    2     You can go behind the obtaining of a judgment
    3     when the defendant never got due process, never
    4     got notice, an opportunity to be heard.                                    What
    5     they did was they bought a judgment that had
    6     been obtained by Ms. Lorette.                          I call that the
    7     Lorette judgment.                And they went from New York,
    8     where the judgment was issued, to Pennsylvania
    9     and they domesticated the judgment in
   10     Pennsylvania.            Somehow they got the
   11     Pennsylvania court to accept that as being
   12     against NLG.
   13             The judgment was not against NLG, just
   14     against Chris Kosachuk individually, and they
   15     got a charging order against NLG.                             Then they
   16     turned around, went back to New York, where
   17     they got a consent judgment where they -- same
   18     guy, Ramon Hoo, acted for the plaintiff and the
   19     defendant.            This is all documented, and every
   20     court that's looked at this has came out with
   21     the same conclusion that this was fraudulent.
   22             He went to a bankruptcy judge in
   23     Philadelphia, who, nunc pro tunc, eliminated
   24     that Lorette judgment and they went through --
   25     they even tried to do an end run within New

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    1     York to go to Suffolk County, and I just moved
    2     to take judicial notice of this new development
    3     because the judge in Suffolk County says, well,
    4     wait a minute, this is all wrong.                            I'm not
    5     going to declare that this judgment is valid.
    6     They got no due process.
    7             And now -- the argument that I don't think
    8     was ever made in front of you when you issued
    9     that order on August 20th, 2014, this matter
   10     was under appeal in the Third District.                                   So you
   11     had no jurisdiction basically because by
   12     allowing this judgment to be assigned, you
   13     deprived the Third District of jurisdiction,
   14     that was the crux of the foreclosure.                                They
   15     found a foreclosure by using that judgment.
   16             THE COURT:          That wasn't before me.                        The
   17     foreclosure was in another --
   18             MR. RAMIREZ:            The foreclosure was in
   19     another division.               But they --
   20             THE COURT:          So how did my assignment or
   21     order granting an assignment --
   22             MR. RAMIREZ:            Because that was under
   23     appeal, we had a trial with NLG against Hazan,
   24     it went two days with Judge Eig.
   25             THE COURT:          Right, right.

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    1             MR. RAMIREZ:            Part of the -- the count was
    2     we have this judgment, Judge, now we want to
    3     foreclose on the mortgage.                      They were using
    4     that judgment to foreclose.                       Judge Eig ruled
    5     for the defendant.                So he basically took away
    6     our rights under that judgment to foreclose.
    7             THE COURT:          Which was reversed.
    8             MR. RAMIREZ:            But while it's on appeal --
    9     while the matter is pending in the Third
   10     District, they come to you and try to get you
   11     to assign that very same judgment that was
   12     under appeal in the Third District.
   13             THE COURT:          No, I don't think so.                         But go
   14     ahead.        That's okay.           I don't see how I had
   15     anything -- I don't understand how my
   16     assignment had anything to do with what was on
   17     appeal.
   18             MR. RAMIREZ:            Because once you assigned
   19     that judgment, it makes the appeal moot.
   20             THE COURT:          No.
   21             MR. RAMIREZ:            Because that was the entire
   22     matter under appeal.
   23             THE COURT:          No, they proceeded on a
   24     foreclosure with Judge Eig, if I remember
   25     correctly; it had nothing to do with me at the

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    1     time.
    2             MR. RAMIREZ:            But --
    3             THE COURT:          When I read all of this,
    4     that's why I was curious why you said I had no
    5     jurisdiction to do what I did.
    6             MR. RAMIREZ:            Because if you look at the
    7     foreclosure petition --
    8             THE COURT:          Let me finish my train of
    9     thought for a moment.                  I granted an assignment
   10     of whatever rights I granted in a judgment,
   11     that has no effect on what Judge Eig may or may
   12     not do with it, what the legalities of the
   13     parties may or may not do with it.
   14             The fact that it's up on appeal, even more
   15     so, they can't do anything with that assignment
   16     until the appeal is resolved.                         If the appeal
   17     was affirmed, they're stuck with an assignment
   18     with nothing to do.                If the appeal got
   19     reversed, they now have a claim that says I
   20     have a judgment to go against you.
   21             I didn't deprive or have anything to do
   22     with the appellate jurisdiction.                           I was
   23     interested in hearing why I lacked jurisdiction
   24     to do what I did.               Because that can be raised
   25     at any time.

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    1             MR. RAMIREZ:             That's our argument, Judge.
    2             THE COURT:           Okay.
    3             MR. RAMIREZ:             Because that was the crux of
    4     the matter under appeal, you basically said to
    5     NLG, NLG, you no longer own this judgment even
    6     though that same -- very same judgment is the
    7     crux of the appeal.                 The first ruling by the
    8     appellate court was to say that that judgment
    9     was valid.            I forget what the words are, but
   10     the first issue that they resolved was the
   11     assignment of that --
   12             THE COURT:           Not my assignment.
   13             MR. RAMIREZ:             Rule on the validity of that
   14     judgment.
   15             THE COURT:           It was a note and a mortgage
   16     or something --
   17             MR. COHEN:           Yes.
   18             THE COURT:           -- and Judge Eig didn't let
   19     them foreclose --
   20             MR. COHEN:           It was bifurcated basically.
   21             THE COURT:           Whatever -- I just read the
   22     appellate opinion.
   23             MR. RAMIREZ:             Yeah, the opinion --
   24             THE COURT:           I didn't even know what was
   25     going on until some other issue.

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    1             MR. RAMIREZ:            The appellate opinion talks
    2     about -- the first thing they talk about when
    3     they start talking about the law is that
    4     judgment.
    5             THE COURT:          Yeah, that he should have
    6     allowed them to foreclose.
    7             MR. COHEN:          Correct.
    8             THE COURT:          But he didn't.                I thought
    9     that's what they came down with.
   10             MR. COHEN:          That's exactly it.
   11             THE COURT:          He allowed the judgment on the
   12     note, that they would --
   13             MR. RAMIREZ:            I don't --
   14             THE COURT:          Wasn't it?
   15             MR. COHEN:          Alternative remedy.                    The
   16     question was whether or not you had to pick
   17     your remedies at the time --
   18             MR. RAMIREZ:            And they --
   19             MR. COHEN:          -- or you didn't, and that was
   20     the only issue that the appellate court
   21     decided.
   22             MR. RAMIREZ:            How can you assign a
   23     judgment that's being decided on the issue of
   24     election of remedies?
   25             THE COURT:          But I didn't assign that

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    1     judgment.
    2             MR. COHEN:          Correct.
    3             THE COURT:          I assigned --
    4             MR. RAMIREZ:            You assigned the judgment
    5     that was the crux of the foreclosure that had
    6     become an issue under appeal whether they
    7     elected their remedy or not.
    8             THE COURT:          I thought they sued on a note.
    9             MR. RAMIREZ:            They sued on that judgment.
   10             THE COURT:          To execute against the
   11     property in Fisher Island.
   12             MR. RAMIREZ:            They used the judgment --
   13             THE COURT:          That wasn't what the issue
   14     was.      I thought it was a promissory note.
   15             MR. COHEN:          Right.
   16             MR. RAMIREZ:            It was also a promissory
   17     note.
   18             THE COURT:          They foreclosed on a note and
   19     Judge Eig said you can't do the foreclosure.
   20             MR. RAMIREZ:            Well, I mean, wouldn't have
   21     done it the way they did it.                        The fact is they
   22     did sue on that judgment.                     They said we have
   23     this judgment and we want to execute on that
   24     judgment against the note.                      We also have this
   25     mortgage -- so it was alternative remedy and

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    1     they said, wait a minute, you can't do both,
    2     you have to elect your remedy.                            Either sue
    3     under the judgment or sue under --
    4             THE COURT:          No, that's not how I read the
    5     Third District's opinion.
    6             MR. COHEN:          No.
    7             THE COURT:          I thought they sued on a note
    8     that was given by the owner, they went to
    9     foreclose as well, and for some reason Judge
   10     Eig said, no.           It had nothing to do with the
   11     judgment in New York.                  All I did --
   12             MR. RAMIREZ:            It had to do with the
   13     judgment they obtained.
   14             THE COURT:          Where?
   15             MR. RAMIREZ:            Judgment by --
   16             THE COURT:          Where's the opinion?                     Where's
   17     the NLG opinion?
   18             MR. RAMIREZ:            The default judgment that
   19     you assigned.
   20             THE COURT:          In New York.
   21             MR. RAMIREZ:            No, that you assigned.                    The
   22     default judgment here --
   23             THE COURT:          Right.
   24             MR. RAMIREZ:            That NLG obtained against
   25     Hazan.

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    1             THE COURT:            Whatever was before me, I
    2     assigned that interest to somebody else.
    3             MR. RAMIREZ:              Yes.
    4             THE COURT:            That was the extent of my
    5     work.
    6             MR. RAMIREZ:              NLG had sued on that default
    7     judgment.             They had said, no, you can't sue
    8     under that, you have to elect your remedy, you
    9     either sue on the promissory note --
   10             THE COURT:            Do you have the case here, the
   11     NLG appellate opinion?                     Is it here?
   12             MR. RAMIREZ:              Yes.
   13             THE COURT:            Let me look at the facts of
   14     that case.             When you mentioned jurisdiction,
   15     obviously, that can be raised at any time, so
   16     I'm curious.             That's not my recollection of
   17     what happened.
   18             MR. COHEN:            It's not, Your Honor.
   19             THE COURT:            Give him a chance.                   I love
   20     seeing you guys.
   21             MR. COHEN:            Your Honor --
   22             THE COURT:            Hold on.
   23             MR. COHEN:            If I may, the case is closed.
   24     You can't sue --
   25             THE COURT:            Did he file this within --

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    1             MR. COHEN:          No.
    2             THE COURT:          -- 30 days of me closing the
    3     case?
    4             MR. COHEN:          It's 15 days.
    5             MR. RAMIREZ:            No, he filed a motion for
    6     rehearing and withdrew it this morning.                                   I
    7     don't know --
    8             THE COURT:          You filed a motion for
    9     rehearing?
   10             MR. COHEN:          The only reason is because he
   11     kept on saying the word "dismissed"; you used
   12     the word "dismissed" or "closed."
   13             THE COURT:          If he filed it within 30 days,
   14     I technically have jurisdiction.
   15             MR. COHEN:          Fifteen.
   16             THE COURT:          Fifteen is for rehearing.                         I
   17     have jurisdiction on my cases for 30 days
   18     technically.          A rehearing --
   19             MR. COHEN:          I don't even think he --
   20             THE COURT:          There's a 15-day window to
   21     appeal.
   22             MR. COHEN:          He didn't file it --
   23             THE COURT:          Let me get to the merits of
   24     it.
   25             MR. COHEN:          I may be wrong.

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    1             THE COURT:          Technically, I still have
    2     jurisdiction to reconsider what I've done,
    3     because, I mean, it's -- his appellate time has
    4     run.      This isn't an authorized --
    5             MR. RAMIREZ:            It's a nonfinal order,
    6     Judge.
    7             THE COURT:          You're talking about the
    8     jurisdictional order before.                        My case is
    9     closed.         How do I revisit what I did in a
   10     closed case?
   11             MR. RAMIREZ:            Because they're trying to
   12     enforce --
   13             THE COURT:          Procedurally, how do I go back
   14     now to a case which I have ended my
   15     jurisdiction and undo something I did back
   16     then?
   17             MR. RAMIREZ:            Because they filed a motion
   18     for rehearing, that would be one way.
   19             THE COURT:          But that's off the table.                     His
   20     motion doesn't piggyback to you.                           He's asking
   21     me to take a look at something overlooked.
   22             MR. COHEN:          I withdrew it.
   23             THE COURT:          Now, he withdrew it.
   24             MR. RAMIREZ:            You want me to file a dec
   25     action?

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    1             THE COURT:          You do what you have to do.
    2             MR. RAMIREZ:            I'm saying --
    3             THE COURT:          Explain to me --
    4             MR. RAMIREZ:            We have an order that was
    5     entered as you say -- if you had no
    6     jurisdiction --
    7             THE COURT:          I didn't say that, you said
    8     that.
    9             MR. RAMIREZ:            I'm saying that.
   10             THE COURT:          I think I had jurisdiction.                    I
   11     don't think what I did affected the appeal.
   12             MR. RAMIREZ:            But if --
   13             THE COURT:          I didn't even know it was
   14     ongoing to begin with.
   15             MR. RAMIREZ:            Well, I --
   16             THE COURT:          Forget that part.
   17             MR. RAMIREZ:            -- wasn't the lawyer.
   18             THE COURT:          Nobody brought it to my
   19     attention, I'm sure you might have brought that
   20     argument up at that point in time.                             Show me
   21     where the appellate opinion -- show me what
   22     went on before Judge Eig that had to do with
   23     the foreclosing of my judgment, which is what
   24     you're telling me.
   25             You can tell me what's on your own mind.

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    1     If you're going to whisper in his ear -- just
    2     help me out.
    3             MR. KOSACHUK:            NLG obtained judgment
    4     against Ms. Hazan for not paying in '07.                                  What
    5     was filed in '07 under the case number 19532.
    6             THE COURT:          Right.
    7             MR. KOSACHUK:            That judgment was for
    8     breach of the promissory note.
    9             THE COURT:          Okay.        They had a judgment on
   10     a note.
   11             MR. KOSACHUK:            NLG had a judgment against
   12     Ms. Hazan, his other client.
   13             THE COURT:          On a note.
   14             MR. KOSACHUK:            On a promissory note,
   15     correct.
   16             THE COURT:          Which then they went to try to
   17     foreclose.
   18             MR. KOSACHUK:            We used that judgment as
   19     a -- which also had a mortgage attached to it
   20     because there was a settlement agreement before
   21     that said the note, the judgment and the
   22     mortgage, all three instruments are in full
   23     force and effect until paid or satisfied.
   24             THE COURT:          Correct.
   25             MR. KOSACHUK:            Then we moved to -- in 2011

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    1     to foreclose out the judgment and the mortgage.
    2             THE COURT:          You foreclosed the mortgage,
    3     not judgment.
    4             MR. COHEN:          Correct.
    5             MR. KOSACHUK:             We foreclosed the
    6     mortgage --
    7             THE COURT:          Judge Eig said no.
    8             MR. KOSACHUK:             Correct.          Then what we did
    9     was we appealed.
   10             THE COURT:          Correct.
   11             MR. KOSACHUK:             And the central issue on
   12     appeal was the enforceability of that judgment
   13     that you had assigned on August 20th, 2014.
   14             THE COURT:          No.
   15             MR. COHEN:          No.
   16             THE COURT:          Go ahead.
   17             MR. KOSACHUK:             The central --
   18             THE COURT:          Where is the appellate
   19     opinion?         That will clarify it for me.
   20             MR. KOSACHUK:             I know also in the -- in
   21     the actual foreclosure itself, we attached this
   22     judgment and we said that this judgment is the
   23     basis for our foreclosure because it is secured
   24     by a mortgage on this property.
   25             THE COURT:          A judgment isn't secured by a

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    1     mortgage.
    2             MR. KOSACHUK:            In this particular
    3     instance, it was, because of the agreement that
    4     had occurred.
    5             THE COURT:          Again, find me the appellate
    6     opinion.
    7             MR. RAMIREZ:            I guess I just cited it.
    8             THE COURT:          Do you have the cite?                         I'll
    9     look it up.
   10             MR. KOSACHUK:            It's a 2013 case and the
   11     Case Number is 0684.
   12             THE COURT:          You talking about the
   13     appellate case?
   14             MR. KOSACHUK:            Appellate opinion, yes.
   15             THE COURT:          I need the appellate case
   16     number.         Hold on a second.
   17             MR. COHEN:          151 So.3d, Your Honor, 455.
   18             MR. KOSACHUK:            No.       That was the first
   19     appeal of the judgment itself.                            We're now on
   20     the appeal of the mortgage foreclosure.
   21             THE COURT:          Give me Judge Eig's opinion.
   22             MR. KOSACHUK:            2013 case, appellate case
   23     number 0684.
   24             THE COURT:          Hold on.
   25             MR. KOSACHUK:            Opinion issued on September

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    1     3rd, 2014, appellate mandate on November 25th,
    2     2014.
    3             MR. RAMIREZ:            151 So.3d --
    4             MR. COHEN:          That's what I just said and I
    5     got blasted for it.
    6             MR. KOSACHUK:            That's not --
    7             MR. COHEN:          That's the one --
    8             MR. KOSACHUK:            That's the first one.
    9             MR. RAMIREZ:            Yeah, that's the one, 151.
   10             MR. KOSACHUK:            No.
   11             MR. COHEN:          455.
   12             THE COURT:          Is that the one from Judge
   13     Eig's case?
   14             MR. COHEN:          Yes.
   15             MR. RAMIREZ:            Yes.
   16             THE COURT:          Hold on.          Let me figure it
   17     out.
   18             MR. COHEN:          It basically says it was not
   19     an election of remedies precluding the later
   20     enforcement of the mortgage.                        That's it.            The
   21     only issue was the mortgage.
   22             THE COURT:          151 So.3d.
   23             MR. RAMIREZ:            455.
   24             THE COURT:          NLG versus Hazan.
   25             MR. RAMIREZ:            Right.

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    1             MR. COHEN:          Your Honor --
    2             THE COURT:          Hold on.
    3             MR. COHEN:          Not to be difficult, but it's
    4     a corporation and, therefore, I don't believe
    5     he can really talk in the matter.
    6             THE COURT:          He's not, I just wanted to
    7     hear the factual issues.                     I'm trying to find
    8     out what happened as to whether there was a
    9     note or not.
   10             MR. COHEN:          No.
   11             THE COURT:          I agree with you.
   12             MR. COHEN:          In their paragraph 29, they
   13     specifically say it.
   14             THE COURT:          All right.
   15             MR. RAMIREZ:            Exhibit M is complaint for
   16     foreclosure.
   17             THE COURT:          I'll make copies if I have to.
   18     I got NLG versus Hazan 151 So.3d 455.                                What I
   19     get from the facts, NLG sold the home to
   20     Ms. Hazan for 5,100,000, took back a note and
   21     mortgage for 1.275, required an installment
   22     payment and it was supposed to mature, they
   23     weren't forthcoming, NLG filed a lawsuit for
   24     collection of the note.                    Settlement agreement
   25     was entered into, they were not made.                                April of

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    1     '08, in accordance with the settlement, a
    2     default judgment on the note was entered
    3     against Ms. Hazan in favor of NLG in the amount
    4     of 1.618, which would have been the mortgage
    5     amount.
    6             MR. RAMIREZ:              That's the default --
    7             THE COURT:            That's the default judgment
    8     for the note and mortgage amount, because the
    9     note was 1.275.
   10             MR. RAMIREZ:              Right.
   11             THE COURT:            That was recorded, then they
   12     got new counsel and they attempted to execute
   13     on the judgment against the Fisher Island home
   14     by a writ, right?                 That was vacated because she
   15     claimed it was homestead.
   16             MR. RAMIREZ:              Right.
   17             THE COURT:            So that was done.                  Then they
   18     filed suit to foreclose on the mortgage based
   19     on the judgment?
   20             MR. RAMIREZ:              Right.
   21             THE COURT:            And the note for 1.2, which
   22     had merged, right?                 Let's call it a merged
   23     judgment and note.                 So they were foreclosing on
   24     the note.             Judge Eig said no, you elected your
   25     remedy.         Then the appellate court, Third

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    1     District, reverses and said no, they can go
    2     forward and foreclose.
    3             Where does that take into account the $5.1
    4     million judgment or whatever judgment I had in
    5     my division?
    6             MR. RAMIREZ:            Because --
    7             THE COURT:          How does that reflect on this?
    8             MR. RAMIREZ:            Because this judgment, that
    9     was the basis and it's an integral part of the
   10     foreclosure, that judgment was assigned by you.
   11             THE COURT:          What judgment, the 1.2 --
   12             MR. RAMIREZ:            The default --
   13             THE COURT:          The 1.6.
   14             MR. RAMIREZ:            The 1.6.
   15             THE COURT:          I assigned the New York
   16     judgment.
   17             MR. RAMIREZ:            You assigned this judgment.
   18             THE COURT:          Which one did I assign?
   19             MR. COHEN:          We filed a domestication.
   20             THE COURT:          For some number up in New
   21     York --
   22             MR. COHEN:          $5 million.
   23             THE COURT:          After that, you said, I want
   24     to take over this judgment.
   25             MR. COHEN:          Correct.          That's it.             We

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    1     executed on it.
    2             THE COURT:            Hold on.
    3             MR. RAMIREZ:              So this is a judgment --
    4             THE COURT:            They took -- I assigned that
    5     over to them, they took over that judgment
    6     subject to whatever would happen in Judge Eig's
    7     division.             How does that affect what's up on
    8     appeal?
    9             MR. RAMIREZ:              Because that was the central
   10     issue on appeal.                Did we elect the remedies,
   11     did we have a right to collect on this note.
   12     How can -- if they have an issue with that
   13     judgment, the proper place to answer that would
   14     be in the foreclosure division, not in your
   15     division.
   16             THE COURT:            They didn't challenge the
   17     judgment, the debt was affirmed.                             The note that
   18     led to the 1.2 or 1.6 judgment, which is what
   19     they foreclosed upon, was affirmed previously
   20     by the Third District.                     The issue in this case
   21     was whether they could foreclose on that note
   22     and mortgage.
   23             MR. RAMIREZ:              Exactly.          While that's
   24     pending, you basically took the rug out from
   25     under our feet by saying you no longer own that

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    1     judgment, now it's Quebec that owns that
    2     judgment.
    3             THE COURT:          Okay, so I assigned your
    4     interest in it to them, which had nothing to do
    5     with what's going up on appeal.
    6             MR. COHEN:          Correct.
    7             MR. RAMIREZ:            How can you say that, Judge?
    8             THE COURT:          I just did.
    9             MR. RAMIREZ:            I know you just did.                      The
   10     whole thing is, did we elect a remedy --
   11             THE COURT:          That has nothing to do with
   12     me.     My case was who -- Selective against NLG.
   13     Selective sued, right, saying we bought this
   14     judgment, right?              We want to domesticate a New
   15     York judgment.            They filed here, they wanted to
   16     domesticate it against NLG, which was the
   17     judgment debtor up in New York.
   18             MR. RAMIREZ:            Right.
   19             MR. KOSACHUK:            No, NLG was never a
   20     judgment debtor.
   21             MR. RAMIREZ:            It was a judgment debtor by
   22     fraud.
   23             THE COURT:          I don't care by fraud, that's
   24     for New York to decide.
   25             MR. RAMIREZ:            No, Judge, you had --

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    1             THE COURT:          Had you posted a bond, I would
    2     have dealt with it.
    3             MR. RAMIREZ:            You have the right to look
    4     at whether they got due process or not.                                   Be
    5     that as it may, the jurisdictional issue is the
    6     one I'm pursuing.
    7             THE COURT:          Let's go back and trace this
    8     again.        Selective Advisors domesticated a
    9     judgment, they say we took over from Quebec who
   10     had a judgment up in New York against NLG.
   11             MR. RAMIREZ:            Right.
   12             THE COURT:          For some millions of dollars.
   13     NLG came in and it's fraud, it's this, it's
   14     that; I said, you know what, you have every
   15     right to do that, put up a bond; they chose not
   16     to.     Correct?
   17             MR. RAMIREZ:            Five-million-dollar bond.
   18             THE COURT:          I'm not saying it's easy.                           I
   19     don't have $5 million, I understand that.                                      Then
   20     we turn around and they went in and enforced
   21     the judgment.           I assigned whatever interest NLG
   22     had in the judgment apparently now and took
   23     over the 1.7 and gave them full credit for the
   24     1.7 off the 5 million in New York.                             I think
   25     that's what I did, something like that, right?

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    1             MR. COHEN:          Yes.
    2             MR. RAMIREZ:            Right.
    3             THE COURT:          That judgment that I assigned
    4     to them or that interest in that judgment was
    5     up on appeal.           I didn't affect the validity of
    6     what's up on appeal.                 I just said, if you win
    7     or lose, whatever happens, now these people own
    8     it instead of you.               The Third came back and
    9     said, too bad, you get to foreclose, they now
   10     own that judgment or note if that's what merged
   11     into it, they get to go and foreclose.                                    I had
   12     nothing to do --
   13             MR. RAMIREZ:            It's the same people, Judge.
   14             THE COURT:          It doesn't matter to me who
   15     they were, what they were.                      That's not my
   16     fight.        Now, it's been paid off.                     How do I undo
   17     something that's been paid off?
   18             MR. RAMIREZ:            It was all fraud.
   19             THE COURT:          It may have been.                  How do I
   20     undo --
   21             MR. RAMIREZ:            How can you condone a fraud
   22     by judicial --
   23             THE COURT:          Very simply, I did not deal
   24     with the fraud issue until they posted a bond
   25     and they kept promising me New York is going to

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    1     vacate this, New York is going --
    2             MR. RAMIREZ:             We've been trying to do that
    3     and they keep delaying.
    4             THE COURT:           They delayed and delayed and
    5     then somebody paid it off.
    6             MR. RAMIREZ:             They used that judgment to
    7     say that they paid it off.
    8             THE COURT:           It's been satisfied.
    9             MR. RAMIREZ:             By defrauding us.                  Judge --
   10             THE COURT:           My judgment was satisfied.
   11             MR. RAMIREZ:             They never were entitled to
   12     penny one.            The Lorette judgment that started
   13     this whole thing has been vacated nunc pro
   14     tunc.       In fact, he got damages of --
   15             THE COURT:           Hold on.          How was my judgment
   16     satisfied?
   17             MR. COHEN:           It was satisfied --
   18             THE COURT:           They paid it or just because
   19     of the assignment transfer of interest?
   20             MR. COHEN:           No, they've resolved it
   21     somehow up there between Select --
   22             THE COURT:           Somebody up in New York issued
   23     a satisfaction of judgment?
   24             MR. COHEN:           Correct.
   25             MR. RAMIREZ:             Select is her husband, is

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    1     Hazan's husband.
    2             THE COURT:            I don't care who it is.
    3             MR. RAMIREZ:              It is.        It's important
    4     because they've done all this to prevent us
    5     from foreclosing on the mortgage in front of
    6     Judge --
    7             THE COURT:            Your Honor, the judgment in
    8     New York was satisfied of record, correct?
    9     They worked it out, somebody issued a
   10     satisfaction of judgment?
   11             MR. RAMIREZ:              Right.        And now --
   12             THE COURT:            As far as I'm concerned,
   13     whatever's happening here is done, it's been
   14     paid off.             There's nothing I can do.
   15             MR. COHEN:            Can we get an order just --
   16             THE COURT:            We're done.             My order --
   17             MR. KOSACHUK:              The domestication of this
   18     New York $5 million judgment is now gone,
   19     correct?
   20             THE COURT:            No, it's been satisfied.
   21     There's a difference.                    It's satisfied in the
   22     public records in Florida, it shows it was
   23     sought to be domesticated, an action was taken
   24     by me, my case is closed and now you record a
   25     satisfaction of judgment in Florida.                                 That

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    1     should take care of any interest in my matter.
    2     You paid it off.
    3             MR. KOSACHUK:            So they no longer have the
    4     right to go forward and try to collect on that
    5     judgment.
    6             THE COURT:          If it's been paid off, that's
    7     up to you guys.             I don't know why it was
    8     satisfied.
    9             MR. COHEN:          Your Honor --
   10             THE COURT:          That's all.             He can tell you
   11     better than I, he's been through this many
   12     times before.
   13             MR. COHEN:          The motion is denied?                         Your
   14     Honor, just for curiosity, you say the Court
   15     retains jurisdiction for 30 days; under 1.540,
   16     I only see 15 days.
   17             THE COURT:          Fifteen days is a rehearing.
   18             MR. COHEN:          You show me 1.540 --
   19             THE COURT:          Go ahead, take a look at it.
   20     I keep jurisdiction --
   21             MR. RAMIREZ:            Fifteen is rehearing.                       It's
   22     moot, you denied the motion.
   23             THE COURT:          Nobody is appealing my case.
   24             MR. COHEN:          I just want to know --
   25             THE COURT:          Yes, the motion is denied for

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   1     everything we discussed here.
   2             MR. COHEN:          For my own knowledge --
   3             THE COURT:          Because the 15 is your
   4     appellate time.
   5             MR. COHEN:          No, 30 is appellate.
   6             THE COURT:          How much time do you have to
   7     file a notice of appeal usually?
   8             MR. COHEN:          Thirty days from the date of
   9     denial of the motion for rehearing.
  10             THE COURT:          No, 30 days -- if you don't
  11     file a motion for rehearing, how much time do
  12     you have to file an appeal?
  13             MR. COHEN:          Thirty days.
  14             THE COURT:          Thank you.
  15             MR. COHEN:          But you only have 15 days --
  16             THE COURT:          Counsel, please, if you don't
  17     file the rehearing, it doesn't suspend the
  18     appellate time.             My case lingers for 30 days.
  19     That's my jurisdiction.
  20             MR. COHEN:          I was just more curious than
  21     anything.
  22             (Thereupon, the proceeding concluded at
  23     2:27 p.m.)
  24
  25


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   1                           CERTIFICATE OF REPORTER
   2
   3     STATE OF FLORIDA)
         COUNTY OF BROWARD)
   4
   5
   6             I, DAWN JOBE, Florida Professional Reporter, do
   7     hereby certify that I was authorized to and did
   8     stenographically report the foregoing proceedings,
   9     and that the foregoing transcript, pages 1 through
  10     31, is a true and correct record of my stenographic
  11     notes.
  12
  13             DATED this 15th day of November, 2015 at Fort
  14     Lauderdale, Broward County, Florida.
  15
  16
  17
  18
  19
                         __________________________________
  20                         DAWN JOBE, Court Reporter
  21
  22
  23
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                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION


  IN RE:                                                                 CASE NO.: 16-10389-AJC
  LIZA HAZAN
  aka ELIZABETH HAZAN                                                    CHAPTER: 11

           DEBTOR.


                          NOTICE OF FILING AND SUPPLEMENTAL RESPONSE
                        TO NLG’S MOTION FOR RELIEF FROM AUTOMATIC STAY

           LIZA HAZAN a/k/a ELIZABETH HAZAN, Debtor (“Hazan”), by and through her

  undersigned counsel, by way of Supplemental Response to Motion for Relief from Stay filed by

  NLG, LLC (“NLG”), hereby files certain documents, and respectfully states:

                                                            APPRAISAL

           1.        Attached as Exhibit “A” is Debtor’s appraisal of the property.

                                                          TRANSCRIPT

           2.        Attached as Exhibit “B” is the full transcript of hearing on November 10, 2015,

  before the Miami-Dade Circuit Court, Case No. 14-10475 CA (01) (10), Judge Peter Lopez, on

  “Defendant, NLG, LLC’s Motion to Reconsider or Rescind Non-Final Order Granting Plaintiff’s

  Motion for Proceedings Supplementary and for Order Impleading Third Party” wherein, AFTER

  the issuance of the 3rd DCA Decision and Mandate, NLG asserted the very same arguments it

  now asserts in this Court to no avail. Judge Lopez reasserted that the NLG claim had been

  judicially assigned and that Selective had stepped into the shoes of NLG in respect to the appeal.

                     THE COURT: That judgment that I assigned to them or that
                     interest in that judgment was up on appeal. I didn't affect the
                     validity of what's up on appeal. I just said, if you win or lose,
                     whatever happens, now these people own it instead of you. The
                     Third came back and said, too bad, you get to foreclose, they

                                                                     1

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                     [Selective] now own that judgment or note if that's what merged
                     into it, they [Selective] get to go and foreclose. I had nothing to do
                     –
                     MR. RAMIREZ: It's the same people, Judge.

                     THE COURT: It doesn't matter to me who they were, what they
                     were. That's not my fight…

                     Pg. 26 of Transcript, Exh “B.”


                                    SUPPLEMENTAL RESPONSE TO REPLY

           3.        NLG asserts that it is in first position on the property. Aside from the fact that

  NLG has NO position, as it was judicially assigned to Selective, the Selective position is subject

  to the first mortgage rights of JPMorgan Chase Bank N.A. and the rights of Valencia Estates

  Homeowners’ Association, Inc. and Fisher Island Community Association, Inc.

           4.        There clearly is equity in the property. Selective has satisfied the former NLG

  mortgage (assigned to Selective). The Debtor’s appraisal would indicate at least $3.5 Million

  dollars in equity in the property.

           5.        Not only would a Plan be feasible by the sale or refinance of the house, but the

  Debtor has demonstrated an ability to earn well over $400,000 a year in consulting income,

  funds sufficient to maintain and carry the property pending a sale or refinance. A plan is clearly

  feasible in this case.

           WHEREFORE, the NLG Motion for Stay Relief should be denied, and the Court should

  enter any other and further relief it deems appropriate under these circumstances.

           //
           //
           //
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                                                                      Respectfully submitted,

                                                                      Aaronson Schantz Beiley P.A.

                                                                      /s/ Geoffrey S Aaronson
                                                                      Geoffrey S Aaronson, Esq.
                                                                      Florida Bar No. 349623
                                                                      Miami Tower
                                                                      100 S.E. 2nd Street, Floor 27
                                                                      Miami, Florida 33131
                                                                      Tel. 786.594.3000
                                                                      Fax 305.424.9336
                                                                      Email gaaronson@aspalaw.com
                                                                      Attorney for Debtor




                                                                     3

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                                                APPRAISAL 1 Inc.
                                       8233 NW 200 terrace Hialeah Fl. 33015




                                  APPRAISAL OF REAL PROPERTY



                                                   LOCATED AT:
                                                    6913 Valencia Dr
                                                 See attached addenda.
                                                 Miami Beach, FL 33109




                                                          FOR:
                                                            N/A




                                                        AS OF:
                                                        04/20/2016




                                                           BY:
                                         Negasi S. Abraha, Cert Res RD 4731




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RESIDENTIAL APPRAISAL REPORT                                                                                                                                                      File No.: 1605-002
                                  Property Address: 6913 Valencia Dr                                                          City: Miami Beach                                State: FL         Zip Code: 33109
                                  County: Miami-Dade                                               Legal Description: See attached addenda.
SUBJECT




                                                                                                                                          Assessor's Parcel #:        30-4209-016-0070
                                  Tax Year: 2015              R.E. Taxes: $ 57,649            Special Assessments: $ 0                    Borrower (if applicable):     N/A
                                  Current Owner of Record:         Elizabeth Hazan                                              Occupant:          Owner            Tenant          Vacant            Manufactured Housing
                                  Project Type:             PUD          Condominium            Cooperative         Other (describe)                                    HOA: $ 0                     per year        per month
                                  Market Area Name: Lindisfarne                                                                    Map Reference: 33124                                Census Tract: 0045.00
                                  The purpose of this appraisal is to develop an opinion of:            Market Value (as defined), or       other type of value (describe)
                                  This report reflects the following value (if not Current, see comments):            Current (the Inspection Date is the Effective Date)             Retrospective           Prospective
ASSIGNMENT




                                  Approaches developed for this appraisal:            Sales Comparison Approach           Cost Approach          Income Approach (See Reconciliation Comments and Scope of Work)
                                  Property Rights Appraised:            Fee Simple           Leasehold         Leased Fee          Other (describe)
                                  Intended Use: The Intended Use is to evaluate the property that is the subject of this appraisal to accertain market value only, subject to the
                                   stated Scope of Work, purpose of the appraisal, reporting requirements of this appraisal report form, and Definition of Market Value.
                                  Intended User(s) (by name or type): Owner
                                  Client:    N/A                                                                Address: N/A
                                  Appraiser:      Negasi S. Abraha, Cert Res RD 4731                            Address: 8233 NW 200 terrace, Hialeah , FL 33015
                                  Location:               Urban                Suburban          Rural             Predominant           One-Unit Housing             Present Land Use              Change in Land Use
                                  Built up:               Over 75%             25-75%            Under 25%          Occupancy           PRICE              AGE      One-Unit           80 %        Not Likely
                                                                                                                                        $(000)             (yrs) 2-4 Unit
MARKET AREA DESCRIPTION




                                  Growth rate:            Rapid                Stable            Slow                Owner 90                                                           5%         Likely *        In Process *
                                  Property values:        Increasing           Stable            Declining           Tenant 10           3mil Low 05                Multi-Unit          5 % * To:
                                  Demand/supply:          Shortage             In Balance        Over Supply         Vacant (0-5%) 15 mil High 65                   Comm'l             10 %
                                  Marketing time:         Under 3 Mos.         3-6 Mos.          Over 6 Mos.         Vacant (>5%) 8 mill Pred 40                                           %
                                  Market Area Boundaries, Description, and Market Conditions (including support for the above characteristics and trends):                 See attached addenda. The Subject
                                   property is bounded by MacArthur Causeway to the North, Fishermans Channel to the West, South Pointe Park to the East, and Norris Cut St
                                   to the South.




                                  Dimensions: (Not Available)                                                                                           Site Area: 12,393 sf
                                  Zoning Classification: RU-4A                                                                                          Description: Single Family Residential
                                                                                                          Zoning Compliance:       Legal                    Legal nonconforming (grandfathered)      Illegal                         No zoning
                                  Are CC&Rs applicable?        Yes         No       Unknown           Have the documents been reviewed?                    Yes      No Ground Rent (if applicable) $                                /
                                  Highest & Best Use as improved:          Present use, or            Other use (explain)

                                  Actual Use as of Effective Date: Single Family Residential                                            Use as appraised in this report:         Residential
                                  Summary of Highest & Best Use:     (See addendum)
SITE DESCRIPTION




                                  Utilities       Public Other     Provider/Description Off-site Improvements Type                Public Private Topography Typical
                                  Electricity                   Public                  Street        Asphalt                                     Size      12,393 sf
                                  Gas                           Natural Gas             Curb/Gutter Concrete                                      Shape     Rectangular
                                  Water                         Public                  Sidewalk      None                                        Drainage  Adequate
                                  Sanitary Sewer                Public                  Street Lights Electric                                    View      B;Glfvw;
                                  Storm Sewer                   Public                  Alley         None
                                  Other site elements:      Inside Lot       Corner Lot    Cul de Sac      Underground Utilities Other (describe)
                                  FEMA Spec'l Flood Hazard Area        Yes      No FEMA Flood Zone AE                FEMA Map # 12086C0319L                  FEMA Map Date 09/11/2009
                                  Site Comments: There were no apparent adverse easements or encroachments observed at the time of inspection. There are no known special
                                  assessments or zoning issues (Subject to survey and title report). The current use is considered the highest and best use of the subject
                                  property.

                                  General Description                          Exterior Description                         Foundation                  Basement           None         Heating FWA
                                  # of Units       1                Acc.Unit Foundation             Concrete/Avg            Slab        Yes             Area Sq. Ft.                0 Type       Central
                                  # of Stories 2                               Exterior Walls       CBS Avg.                Crawl Space None            % Finished                  0 Fuel       Ntl. Gas
                                  Type       Det.      Att.                    Roof Surface         Barrel/Avg              Basement None               Ceiling
                                  Design (Style) Traditional                   Gutters & Dwnspts. Alumin/avg                Sump Pump                   Walls                           Cooling CA
                                      Existing      Proposed      Und.Cons. Window Type             Single hung/Avg Dampness                            Floor                           Central X
                                  Actual Age (Yrs.) 13                         Storm/Screens        Yes/Yes                 Settlement None             Outside Entry                   Other
DESCRIPTION OF THE IMPROVEMENTS




                                  Effective Age (Yrs.) 06                                                                   Infestation None
                                  Interior Description                           Appliances           Attic      None Amenities                                                  Car Storage             None
                                  Floors           Marble/Avg                    Refrigerator         Stairs           Fireplace(s) #      1        Woodstove(s) #      0        Garage # of cars ( 4 Tot.)
                                  Walls            Drywall/Avg.                  Range/Oven           Drop Stair       Patio      Patio                                            Attach.     2
                                  Trim/Finish      Wood/Avg                      Disposal             Scuttle          Deck       None                                             Detach.
                                  Bath Floor       Tile Avg                      Dishwasher           Doorway          Porch None                                                  Blt.-In
                                  Bath Wainscot Tile/Avg                         Fan/Hood             Floor            Fence None                                                Carport
                                  Doors            Wood./Avg                     Microwave            Heated           Pool       Pool                                           Driveway 2
                                                                                 Washer/Dryer         Finished                                                                     Surface        Concrete
                                  Finished area above grade contains:                6 Rooms                   3 Bedrooms               3.1 Bath(s)           3,893 Square Feet of Gross Living Area Above Grade
                                  Additional features:      Any notable additional features not elsewhere addressed in the body of this report are discussed in the supplemental
                                   addendum section under the heading "Additional Features."
                                  Describe the condition of the property (including physical, functional and external obsolescence):     C4; updates in the last 10 years;Physical depreciation is the
                                   result of normal wear and tear. No functional floor plan inadequacies were considered to exist in the subject's floor plan. No external
                                   obsolescence was considered to exist within the subject's neighborhood. Appraiser was retained to estimate market value. No warranties are
                                   implied to structural or mechanical componets on property.




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RESIDENTIAL APPRAISAL REPORT                                                                                                                                                   File No.: 1605-002
                            My research         did       did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                            Data Source(s): Fares/Public Record
TRANSFER HISTORY




                                    1st Prior Subject Sale/Transfer           Analysis of sale/transfer history and/or any current agreement of sale/listing:        All Sales of the Subject and Comparable
                            Date:                                             within the last 3 years are noted in the above Appraisal Grid.
                            Price:
                            Source(s): MLS,Public Rec
                                    2nd Prior Subject Sale/Transfer
                            Date:
                            Price:
                            Source(s):
                            SALES COMPARISON APPROACH TO VALUE (if developed)                                The Sales Comparison Approach was not developed for this appraisal.
                                      FEATURE                    SUBJECT                      COMPARABLE SALE # 1                           COMPARABLE SALE # 2                            COMPARABLE SALE # 3
                            Address 6913 Valencia Dr                                 295 N Coconut Ln                               1600 w 25 st                                   429 N Hibiscus Dr
                                       Miami Beach, FL 33109                         Miami Beach, FL 33139                          Miami Beach, FL 33139                          Miami Beach, FL 33139
                            Proximity to Subject                                     1.80 miles NW                                  2.60 miles N                                   1.88 miles NW
                            Sale Price                  $           15,000,000                                $     5,580,000                                $     8,200,000                             $    6,450,000
                            Sale Price/GLA              $       3,853.07 /sq.ft. $ 1,230.43 /sq.ft.                                $ 2,260.20 /sq.ft.                              $ 1,532.07 /sq.ft.
                            Data Source(s)               Inspection                  SEF/MLS#A2208115;DOM 42                        SEF/MLS#A2012619;DOM 248 SEF/MLS#;DOM
                            Verification Source(s)       Assessor/Realto             Assessor/Realtor                               Assessor/Realtor                               Assessor/Realtor
                             VALUE ADJUSTMENTS                 DESCRIPTION                DESCRIPTION            +(-) $ Adjust.          DESCRIPTION            +(-) $ Adjust.          DESCRIPTION         +(-) $ Adjust.
                            Sales or Financing                                       Arms Length                                    Arms Length                                    ArmLth
                            Concessions                  0                           Cash;0                                         Conv;0                                         Cash;0
                            Date of Sale/Time            Unknown                     s01/16;c01/16                   +153,000 s08/15;c06/15                         +601,000 s06/15;Unk                       +591,000
                            Rights Appraised             Fee Simple                  Fee Simple                                     Fee Simple                                     Fee Simple
                            Location                     N;Res;                      N;Res;                                         N;Res;                                         N;Res;
                            Site                         12,393 sf                   8,828 sf                          +20,000 24,080 sf                               -70,000 13,781 sf                                 0
                            View                         B;Glfvw;                    B;Wtr;                                         B;Wtr;                                         B;Wtr;
                            Design (Style)               Traditional                 Traditional                                    Traditional                                    Ranch
                            Quality of Construction      Q4                          Q4                                             Q4                                             Q4
                            Age                          13                          62                              +490,000 65                                    +520,000 22                                 +90,000
                            Condition                    C4                          C4                                             C4                                             C4
                            Above Grade                   Total Bdrms Baths          Total Bdrms Baths                              Total Bdrms Baths                              Total Bdrms Baths
                            Room Count                     6       3       3.1         7       4       4.1             -10,000 7             4         4                -5,000 8            5       4              -5,000
                            Gross Living Area                        3,893 sq.ft.                4,535 sq.ft.          -80,200                 3,628 sq.ft.           +33,100                  4,210 sq.ft.      -39,600
                            Basement & Finished          0sf                         0sf                                            0sf                                            0sf
                            Rooms Below Grade
                            Functional Utility           Average                     Average                                        Average                                        Average
                            Heating/Cooling              FWA/ CA                     FWA/ CA                                        FWA/ CA                                        FWA/ CA
                            Energy Efficient Items       Typical Items               Typical Items                                  Typical Items                                  Typical Items
SALES COMPARISON APPROACH




                            Garage/Carport               2 Car Garage                None                              +20,000 None                                   +20,000 2 Car Garage
                            Porch/Patio/Deck             Patio                       Patio                                          Patio                                          Patio
                            Kitchen Equipment            Standard                    Standard                                       Standard                                       Standard
                            Pool                         Pool                        Pool                                           Pool                                           Pool
                            DOM                          152                         42                                             42                                                                                   0


                            Net Adjustment (Total)                           +      - $        592,800         +      - $       1,099,100          +     - $       636,400
                            Adjusted Sale Price
                            of Comparables                                               $   6,172,800                    $     9,299,100                    $   7,086,400
                            Summary of Sales Comparison Approach  The market data show a range in value from $6,172,800 to $15,272,000 All these sales are similar to the
                            Subject and given equal consideration, give a very accurate estimate of the Subject Property.
                            Market data obtained from the MLS is assumed to be correct. In the event square footage is not available on the MLS, county assessor
                            records are used. Site adjustments, if any, are made according to site value and not necessarily to site size. Specific comments concerning
                            the appraiser's approach to market value including specific comments concerning this property are located in the supplemental addenda.




                            Indicated Value by Sales Comparison Approach $                   9,500,000
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RESIDENTIAL APPRAISAL REPORT                                                                                                                                                File No.: 1605-002
                  COST APPROACH TO VALUE (if developed)                         The Cost Approach was not developed for this appraisal.
                  Provide adequate information for replication of the following cost figures and calculations.
                  Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value):                       N/A




                  ESTIMATED          REPRODUCTION OR        REPLACEMENT COST NEW                                        OPINION OF SITE VALUE                                                           =$
COST APPROACH




                  Source of cost data:                                                                                  DWELLING                                Sq.Ft. @ $                              =$
                  Quality rating from cost service:          Effective date of cost data:                                                                     0 Sq.Ft. @ $                              =$
                  Comments on Cost Approach (gross living area calculations, depreciation, etc.):                                                               Sq.Ft. @ $                              =$
                                                                                                                                                                Sq.Ft. @ $                              =$
                                                                                                                                                                Sq.Ft. @ $                              =$
                                                                                                                                                                                                        =$
                                                                                                                        Garage/Carport                     Sq.Ft. @ $                                   =$
                                                                                                                        Total Estimate of Cost-New                                                      =$
                                                                                                                        Less               Physical      Functional   External
                                                                                                                        Depreciation                                                                    =$(                     )
                                                                                                                        Depreciated Cost of Improvements                                                =$
                                                                                                                        ''As-is'' Value of Site Improvements                                            =$
                                                                                                                                                                                                        =$
                                                                                                                                                                                                        =$
                  Estimated Remaining Economic Life (if required):                              54 Years INDICATED VALUE BY COST APPROACH                                                               =$                     0
                  INCOME APPROACH TO VALUE (if developed)                The Income Approach was not developed for this appraisal.
INCOME APPROACH




                  Estimated Monthly Market Rent $         0             X Gross Rent Multiplier                        =$                                                           Indicated Value by Income Approach
                  Summary of Income Approach (including support for market rent and GRM):




                  PROJECT INFORMATION FOR PUDs (if applicable)                         The Subject is part of a Planned Unit Development.
                  Legal Name of Project: Lindisfarne
                  Describe common elements and recreational facilities:
PUD




                  Indicated Value by: Sales Comparison Approach $ 9,500,000         Cost Approach (if developed) $ 0       Income Approach (if developed) $
                  Final Reconciliation It is the opinion of the appraiser that the Sales Comparison Approach to Value, supported by the Cost Approach, gives the
                  most accurate estimate of the Subject's current Market Value. This area is primarily owner occupied and there is little or no rental data to
                  substantiate the use of the Income Approach.
RECONCILIATION




                  This appraisal is made       ''as is'',     subject to completion per plans and specifications on the basis of a Hypothetical Condition that the improvements have been
                  completed,        subject to the following repairs or alterations on the basis of a Hypothetical Condition that the repairs or alterations have been completed, subject to
                  the following required inspection based on the Extraordinary Assumption that the condition or deficiency does not require alteration or repair: Personal property is
                   not considered in this report. No liability is assumed for property structural or mechanical elements. It is assumed that the mechanical and
                   electrical systems on the property are in working order.
                      This report is also subject to other Hypothetical Conditions and/or Extraordinary Assumptions as specified in the attached addenda.
                  Based on the degree of inspection of the subject property, as indicated below, defined Scope of Work, Statement of Assumptions and Limiting Conditions,
                  and Appraiser’s Certifications, my (our) Opinion of the Market Value (or other specified value type), as defined herein, of the real property that is the subject
                  of this report is: $             9,500,000                , as of:                 04/20/2016                    , which is the effective date of this appraisal.
                  If indicated above, this Opinion of Value is subject to Hypothetical Conditions and/or Extraordinary Assumptions included in this report. See attached addenda.
                  A true and complete copy of this report contains             pages, including exhibits which are considered an integral part of the report. This appraisal report may not be
ATTACHMENTS




                  properly understood without reference to the information contained in the complete report.
                  Attached Exhibits:
                         Scope of Work                    Limiting Cond./Certifications        Narrative Addendum               Photograph Addenda                  Sketch Addendum
                         Map Addenda                      Additional Sales                     Cost Addendum                    Flood Addendum                      Manuf. House Addendum
                         Hypothetical Conditions          Extraordinary Assumptions
                  Client Contact: Elizabeth Hazan                                                     Client Name:   N/A
                  E-Mail: Sean Meehan <seannmeehan@gmail.com>                                 Address: N/A
                  APPRAISER                                                                                           SUPERVISORY APPRAISER (if required)
                                                                                                                      or CO-APPRAISER (if applicable)
SIGNATURES




                                                                                                                      Supervisory or
                  Appraiser Name: Negasi S. Abraha, Cert Res RD 4731                                                  Co-Appraiser Name:
                  Company: Appraisal 1 Inc.                                                                           Company:
                  Phone: 786-234-8393                               Fax: 855-450-1192                                 Phone:                                            Fax:
                  E-Mail: appraisal1inc@yahoo.com                                                                     E-Mail:
                  Date of Report (Signature): May 25, 2016                                                            Date of Report (Signature):
                  License or Certification #: RD 4731                                      State: FL                  License or Certification #:                                                            State:
                  Designation:                                                                                        Designation:
                  Expiration Date of License or Certification:     11/30/2016                                         Expiration Date of License or Certification:
                  Inspection of Subject:            Interior & Exterior       Exterior Only        None               Inspection of Subject:            Interior & Exterior                   Exterior Only             None
                  Date of Inspection:                                04/20/2016                                       Date of Inspection:
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ADDITIONAL COMPARABLE SALES                                                                                                                                       File No.: 1605-002
                                      FEATURE               SUBJECT                 COMPARABLE SALE # 4                                 COMPARABLE SALE # 5                  COMPARABLE SALE # 6
                            Address 6913 Valencia Dr                        350 S Hibiscus Dr                                   6919 Valencia Dr                     1620 W 21st St
                                       Miami Beach, FL 33109                Miami Beach, FL 33139                               Miami Beach, FL 33109                Miami Beach, FL 33140
                            Proximity to Subject                            1.72 miles NW                                       0.03 miles S                         2.31 miles N
                            Sale Price              $         15,000,000                        $    7,050,000                                     $ 15,500,000                         $ 13,900,000
                            Sale Price/GLA          $      3,853.07 /sq.ft. $ 1,658.43 /sq.ft.                                  $ 2,718.82 /sq.ft.                   $ 2,392.43 /sq.ft.
                            Data Source(s)          Inspection              SEF/MLS#A2041873;DOM 154                            SEF/MLS#AXXXXXXXX;DOM 30 SEF/MLS#A2166858;DOM 267
                            Verification Source(s)  Assessor/Realto         Assessor/Realtor                                    Assessor/Realtor                     Assessor/Realtor
                             VALUE ADJUSTMENTS            DESCRIPTION            DESCRIPTION       +(-) $ Adjust.                    DESCRIPTION     +(-) $ Adjust.       DESCRIPTION     +(-) $ Adjust.
                            Sales or Financing                              ArmLth                                              Listing                              Listing
                            Concessions             0                       Cash;0                                              Active;0                             Active;0
                            Date of Sale/Time       Unknown                 s05/15;c05/15            +710,000                   Active                               Active
                            Rights Appraised        Fee Simple              Fee Simple                                          Fee Simple                           Fee Simple
                            Location                N;Res;                  N;Res;                                              N;Res;                               N;Res;
                            Site                    12,393 sf               15,750 sf                   -15,000                 11,628 sf                         0 8,700 sf                   +20,000
                            View                    B;Glfvw;                B;Wtr;                                              B;Glfvw;                             B;Wtr;
                            Design (Style)          Traditional             Split Level                                         Traditional                          Traditional
                            Quality of Construction Q4                      Q4                                                  Q4                                   Q4
                            Age                     13                      40                       +270,000                   14                                   26                      +130,000
                            Condition               C4                      C4                                                  C4                                   C4
                            Above Grade              Total Bdrms Baths      Total Bdrms Baths                                    Total Bdrms        Baths                           Total Bdrms         Baths
                            Room Count                6      3      3.1      10     7      6            -25,000                    8       5       5.1                 -2,000 9                6       6.1               -30,000
                            Gross Living Area                  3,893 sq.ft.           4,251 sq.ft.      -44,800                                5,701 sq.ft.          -226,000                      5,810 sq.ft.         -239,600
                            Basement & Finished     0sf                     0sf                                                  0sf                                          0sf
                            Rooms Below Grade
                            Functional Utility      Average                 Average                                              Average                                            Average
                            Heating/Cooling         FWA/ CA                 FWA/ CA                                              FWA/ CA                                            FWA/ CA
                            Energy Efficient Items  Typical Items           Typical Items                                        Typical Items                                      Typical Items
                            Garage/Carport          2 Car Garage            2 Car Carport              +15,000                   2 Car Garage                                       None                                  +20,000
                            Porch/Patio/Deck        Patio                   Patio                                                Patio/Deck                                         Patio/Deck
                            Kitchen Equipment       Standard                Standard                                             Standard                                           Standard
                            Pool                    Pool                    Pool                                                 Pool                                               Pool
                            DOM                     152                     154                                 0                30                                                 267
SALES COMPARISON APPROACH




                            Net Adjustment (Total)                                     +           -     $         910,200                 +          -     $        -228,000                 +           -     $         -99,600
                            Adjusted Sale Price
                            of Comparables                                                               $      7,960,200                                   $     15,272,000                                    $    13,800,400
                            Summary of Sales Comparison Approach




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                                                                USPAP Compliance Addendum                                                             File #   1605-002
Borrower/Client          N/A
Property Address         6913 Valencia Dr
City                     Miami Beach                                                County   Miami-Dade                                       State   FL        Zip Code   33109
Lender                   N/A

APPRAISAL AND REPORT IDENTIFICATION
This Appraisal Report is one of the following types:

       Appraisal Report               This report was prepared in accordance with the requirements of the Appraisal Report option of USPAP Standards Rule 2-2(a).
       Restricted Appraisal Report    This report was prepared in accordance with the requirements of the Restricted Appraisal Report option of USPAP Standards Rule 2-2(b). The
                                      intended user of this report is limited to the identified client. This is a Restricted Appraisal Report and the rationale for how the appraiser arrived
                                      at the opinions and conclusions set forth in the report may not be understood properly without the additional information in the appraiser's workfile.




ADDITIONAL CERTIFICATIONS
I certify that, to the best of my knowledge and belief:
       The statements of fact contained in this report are true and correct.

       The report analyses, opinions, and conclusions are limited only by the reported assumptions and are my personal, impartial, and unbiased professional analyses,
       opinions, and conclusions.

       I have no (or the specified) present or prospective interest in the property that is the subject of this report and no (or specified) personal interest with respect to the
       parties involved.

       I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.

       My engagement in this assignment was not contingent upon developing or reporting predetermined results.

       My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause
       of the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of
       this appraisal.

       My analyses, opinions, and conclusions were developed and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice.

       This appraisal report was prepared in accordance with the requirements of Title XI of FIRREA and any implementing regulations.



PRIOR SERVICES
       I have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the three-year period
       immediately preceding acceptance of this assignment.
       I HAVE performed services, as an appraiser or in another capacity, regarding the property that is the subject of this report within the three-year period immediately
       preceding acceptance of this assignment. Those services are described in the comments below.
PROPERTY INSPECTION
       I have NOT made a personal inspection of the property that is the subject of this report.
       I HAVE made a personal inspection of the property that is the subject of this report.
APPRAISAL ASSISTANCE
Unless otherwise noted, no one provided significant real property appraisal assistance to the person signing this certification. If anyone did provide significant assistance, they
are hereby identified along with a summary of the extent of the assistance provided in the report.




ADDITIONAL COMMENTS
Additional USPAP related issues requiring disclosure and/or any state mandated requirements:




MARKETING TIME AND EXPOSURE TIME FOR THE SUBJECT PROPERTY
   A reasonable marketing time for the subject property is 30 day(s) utilizing market conditions pertinent to the appraisal assignment.
   A reasonable exposure time for the subject property is  30 day(s).
APPRAISER                                                                  SUPERVISORY APPRAISER (ONLY IF REQUIRED)



  Signature                                                                                           Signature
  Name          Negasi S. Abraha, Cert Res RD 4731                                                    Name
  Date of Signature     May 25, 2016                                                                  Date of Signature
  State Certification # RD 4731                                                                       State Certification #
  or State License #                                                                                  or State License #
  State     FL                                                                                        State
  Expiration Date of Certification or License    11/30/2016                                           Expiration Date of Certification or License
                                                                                                      Supervisory Appraiser Inspection of Subject Property
  Effective Date of Appraisal     04/20/2016                                                              Did Not             Exterior-only from Street         Interior and Exterior
USPAP Compliance Addendum 2014                                                                                                                                                          Page 1 of 1


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Property Address   6913 Valencia Dr
City               Miami Beach                                  County Miami-Dade                           State FL   Zip Code 33109
Lender             N/A
  HIGHEST AND BEST USE AND ZONING:
  The highest and best use analysis employed herein is based on the following:
  Highest and best can be defined as the reasonably probable and legal use of vacant land or an improved property, that is
  physically possible, legally permissible, financially feasible, and that results in the highest value.
  The present use is deemed to meet that test as of the effective date of the appraisal report.

  The specific zoning classification and description provided, shows the use of the property. Typically this is also the zoning
  classification. This however does not mean that this is the zoning classification. The Appraiser states that every effort was made
  to find the specific zoning classification and that the provided Zoning is believed to be accurate.

  • GP Residential : Neighborhood - Description
  The employment stability and general economy of the market area in which the subject is located, is considered to be stable to
  moderately increasing. Schools, places of worship,recreational areas,downtown business district and other amenities are all
  within one mile of the subject property. Access to employment centers,a shopping mall,community college, regional airport,
  hospitals, state parks, and interstate highway systems gives the area good appeal.

  • GP Residential : Neighborhood - Market Conditions
  Marketing time is considered to be 90-120 days in most sub markets,based on information obtained from the MLS,which is
  assumed to be correct. Supply and demand are in balance, however the market appears to have been stable over the last 12
  months. Mortgage money is available at competitive interest rates to qualified buyers.The financing for the subject property is
  consistent with financing in the local market area. Loan discounts, interest buy downs and concessions are not prevalent in the
  subject's sub market.

   ADVERSE ENVIORNMENTAL CONDITIONS:
  No environmental hazards or potential problems were noted by the appraiser at the time of inspection. The appraiser, however,
  is not an expert in the field of environmental hazards or toxic wastes, and makes no claims to possess such knowledge. It is the
  responsibility of the appraiser only to make note of and point out any obvious hazards or conditions. If the client has any
  questions, concerns or suspicions about the possible existence of any potentially hazardous conditions, then an expert in the
  field should be obtained to render a qualified opinion. Furthermore, the appraiser is not a qualified engineer or land surveyor
  and makes no claims to be. Any determination of flood zone location should be made by a qualified professional. If there are
  any questions regarding the exact location of any flood zone or zones, a qualified land surveyor should be retained for such an
  establishment.

  CONDITIONS OF APPRAISAL:
  This is a Complete Appraisal Report written in a Summary Format which is intended to comply with the reporting requirements
  set forth under Standards Rule 2 - 2(b) of the Uniform Standards of Professional Appraisal Practice for a Summary Appraisal
  Report. As such, it represents only summary discussions of the data, reasoning and analyses that were used in the appraisal
  process to develop the appraiser's opinion of value. Supporting documentation that is not provided within the report concerning
  the data, reasoning and analyses is retained in the appraiser's file. The depth of the discussion contained in this report is specific
  to the needs of the client and for the intended use stated in the report. The appraiser is not responsible for unauthorized use of
  this report.

  This appraisal report may contain an electronic signature(s). Electronic signatures were implemented for the convenience of this
  firm and at our clients' requests. Electronic signatures are individually password protected.

  This appraisal report may contain Multiple Listing Service photographs. In the event that MLS photos have been utilized, the
  appraiser certifies that he/she has driven by the property and that the comparable photos used are accurate representations of the
  comparable sale as of the date of sale of the comparable property.
  The Date of the Report is the date the report was signed.

   SUBJECT SECTION:
  The subject's appraised value includes only the tax parcel with the residence and does not include any vacant or adjoining sites.
  It is the responsibility of the lender that prior to the completion of this report to indicate if any additional land is to be given
  contributory value.

  THE APPRAISER IS NOT A HOME INSPECTOR:
  This report should not be relied upon to disclose any conditions present in the subject property. The appraisal report does not
  guarantee that the property is free of defects. A professional home inspection is recommended.


  NOTE TO HOME MEASUREMENTS:
  This Appraiser personally inspected and measured the subject property. The gross living area is derived from exterior
  measurements of the subject's review. Since this Appraiser personally measured the subject, this Appraiser's measurements in
  calculating gross living area will be used.

  FLOOD INFORMATION:
  The flood map information was determined by an outside vendor.




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Borrower/Client N/A
Property Address 6913 Valencia Dr
City             Miami Beach                                County Miami-Dade                           State FL   Zip Code 33109
Lender           N/A
   GP Residential: Appraiser Signature

   Appraisal 1 employs the use of digital signatures and the electronically transmitted report meets USPAP reporting
  requirements. The appraiser took reasonable steps to protect the data integrity of the transmitted report. The software program
  provided a signature security feature for all the appraisers signing the report. The electronic signature carries the same level of
  authenticity and responsibility as an ink signature on a paper copy report.

  Supplemental Addendum:
    These supplements to the appraisal have been added in accordance with Standards Rule 2-2 of thm Standards of
  Professional Appraisal Practice (USPAP) and therefore supported by certification #3 of the `attached Appraiser's Certification.
     The appraiser's inspection of the property consisted of viewing all readily accessible interior spaces, the exterior of the
  property, the roof viewed from ground level, the site, as well as the adjoining street under the allowable weather condition.
  Although the appraiser has observed these areas and reported any visible physical deficiencies, these features will be analyzed
  to extract the appraised value only. This is an appraisal assignment and should not be used for, or in replacement of a home
  inspection. The scope of work involved in this assignment is used to determine market value only.



  Home Valuation Code of Conduct:
  The Appraiser has prepared in compliance with the Home Valuation Code of Conduct and has not
  performed, participated in, or been Associated with any activity in violation of the code.
  Additional Certification:

  I have performed no other services, as an appraiser or in any other capacity, regarding the property that is
  the subject of the work under review within the three-year period immediately preceding acceptance of this
  assignment.
  Intended user:
  THE INTENDED USER OF THIS APPRAISAL IS THE OWNER , THE INTENDED USE IS TO EVALUATE THE
  PROPERTY THAT IS THE SUBJECT OF THIS APPRAISAL FOR A PERSONAL USE, SUBJECT TO THE
  STATED SCOPE OF WORK, PURPOSE OF THE APPRAISAL, REPORTING REQUIREMENTS OF THIS
  APPRAISAL REPORT FORM, AND DEFINITION OF MARKET VALUE. NO ADDITIONAL INTENDED USERS
  ARE IDENTIFIED BY THE APPRAISER.

  Subject Neighborhood:
  The Subject property is located in Fisher Island, which is one of the most beautifull and exclusive
  neighborhood in the World and the highest per capital income of any place in the United States.
  It is located about three miles off shore of mainland South Florida, It is only accessible by Boat or
  Helicopter, there is no road that connects the Island with mainland.
  The Island is strageticaly located close by to the world famouse South Beach, Bayside, and the port of
  Miami.
  There are only 8 Single Family homes, and several luxurious Condos in Fisher Island.
  The subject's area consist of a wide range of properties types, varying in size, quality,
  condition and price.The range of property values is typical of the area and marketability on all
  the value ranges is Good.

   It was determined that the subject property is not an over or under improvement for the subject's market
  area.
  - The subject property is currently being sold as an "Arm's Length Transaction".
  - The subject property is a single family home containing 3 bedrooms and 3.1 baths measuring
  3,893 square feet.
  Real Estate Data for Miami:

  According to the Miami Herald, The Miami market trends indicate an increase of 9% in median home sales
  over the past year.
  Trulia reported that "Fisher Island " market trends indicate an increase of $425,000 (11%) in median home
  sales over the past year.


  The appraiser has made an extensive search of the subject neighborhood and nearby
  neighborhoods in order to select the best comparable sales available. Due to the limited
  market activity of comparable properties in Fisher Island, the Appraiser expanded to the nearby
  neighborhoods of Star Island, Hibiscus Island and McArthur Island.

  Reconciliation of Sales Approach to Value
  Most emphasis was given to Closed Comparable sales. The other sales provided are being used as
  supporters when arriving at the subject's final market value estimate. All the comparable sales were
  arranged in the market grid in order of relevance taking into consideration proximity and date
  of sale.




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Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                    County Miami-Dade                            State FL       Zip Code 33109
Lender             N/A




                                                                                                                          Subject Front
                                                                                                         6913 Valencia Dr
                                                                                                         Sales Price       15,000,000
                                                                                                         Gross Living Area 3,893
                                                                                                         Total Rooms       6
                                                                                                         Total Bedrooms    3
                                                                                                         Total Bathrooms   3.1
                                                                                                         Location          N;Res;
                                                                                                         View              B;Glfvw;
                                                                                                         Site              12,393 sf
                                                                                                         Quality           Q4
                                                                                                         Age               13




                                                                                                                          Subject Rear




                                                                                                                          Subject Street




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Property Address   6913 Valencia Dr
City               Miami Beach                                    County Miami-Dade                            State FL     Zip Code 33109
Lender             N/A




                                                                                                                     Subject Rear View
                                                                                                         6913 Valencia Dr
                                                                                                         Sales Price       15,000,000
                                                                                                         Gross Living Area 3,893
                                                                                                         Total Rooms       6
                                                                                                         Total Bedrooms    3
                                                                                                         Total Bathrooms   3.1
                                                                                                         Location          N;Res;
                                                                                                         View              B;Glfvw;
                                                                                                         Site              12,393 sf
                                                                                                         Quality           Q4
                                                                                                         Age               13




                                                                                                                     Subject Rear View




                                                                                                                     Subject Rear View




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                                      Interior Photos
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                  County Miami-Dade                            State FL   Zip Code 33109
Lender             N/A




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                                      Interior Photos
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                  County Miami-Dade                            State FL   Zip Code 33109
Lender             N/A




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                                  Comparable Photo Page
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                    County Miami-Dade                            State FL        Zip Code 33109
Lender             N/A




                                                                                                                       Comparable 1
                                                                                                         295 N Coconut Ln
                                                                                                         Prox. to Subject  1.80 miles NW
                                                                                                         Sales Price       5,580,000
                                                                                                         Gross Living Area 4,535
                                                                                                         Total Rooms       7
                                                                                                         Total Bedrooms    4
                                                                                                         Total Bathrooms   4.1
                                                                                                         Location          N;Res;
                                                                                                         View              B;Wtr;
                                                                                                         Site              8,828 sf
                                                                                                         Quality           Q4
                                                                                                         Age               62




                                                                                                                       Comparable 2
                                                                                                         1600 w 25 st
                                                                                                         Prox. to Subject    2.60 miles N
                                                                                                         Sales Price         8,200,000
                                                                                                         Gross Living Area   3,628
                                                                                                         Total Rooms         7
                                                                                                         Total Bedrooms      4
                                                                                                         Total Bathrooms     4
                                                                                                         Location            N;Res;
                                                                                                         View                B;Wtr;
                                                                                                         Site                24,080 sf
                                                                                                         Quality             Q4
                                                                                                         Age                 65




                                                                                                                       Comparable 3
                                                                                                         429 N Hibiscus Dr
                                                                                                         Prox. to Subject  1.88 miles NW
                                                                                                         Sales Price       6,450,000
                                                                                                         Gross Living Area 4,210
                                                                                                         Total Rooms       8
                                                                                                         Total Bedrooms    5
                                                                                                         Total Bathrooms   4
                                                                                                         Location          N;Res;
                                                                                                         View              B;Wtr;
                                                                                                         Site              13,781 sf
                                                                                                         Quality           Q4
                                                                                                         Age               22




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                                  Comparable Photo Page
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                    County Miami-Dade                            State FL        Zip Code 33109
Lender             N/A




                                                                                                                      Comparable 4
                                                                                                         350 S Hibiscus Dr
                                                                                                         Prox. to Subject  1.72 miles NW
                                                                                                         Sales Price       7,050,000
                                                                                                         Gross Living Area 4,251
                                                                                                         Total Rooms       10
                                                                                                         Total Bedrooms    7
                                                                                                         Total Bathrooms   6
                                                                                                         Location          N;Res;
                                                                                                         View              B;Wtr;
                                                                                                         Site              15,750 sf
                                                                                                         Quality           Q4
                                                                                                         Age               40




                                                                                                                      Comparable 5
                                                                                                         6919 Valencia Dr
                                                                                                         Prox. to Subject  0.03 miles S
                                                                                                         Sales Price       15,500,000
                                                                                                         Gross Living Area 5,701
                                                                                                         Total Rooms       8
                                                                                                         Total Bedrooms    5
                                                                                                         Total Bathrooms   5.1
                                                                                                         Location          N;Res;
                                                                                                         View              B;Glfvw;
                                                                                                         Site              11,628 sf
                                                                                                         Quality           Q4
                                                                                                         Age               14




                                                                                                                      Comparable 6
                                                                                                         1620 W 21st St
                                                                                                         Prox. to Subject    2.31 miles N
                                                                                                         Sales Price         13,900,000
                                                                                                         Gross Living Area   5,810
                                                                                                         Total Rooms         9
                                                                                                         Total Bedrooms      6
                                                                                                         Total Bathrooms     6.1
                                                                                                         Location            N;Res;
                                                                                                         View                B;Wtr;
                                                                                                         Site                8,700 sf
                                                                                                         Quality             Q4
                                                                                                         Age                 26




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                                     Building Sketch
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                       County Miami-Dade                         State FL       Zip Code 33109
Lender             N/A




                                                                                               6 6'
                                                                                            5.




                                                                                                                       21'
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                                                                                                                      83
                                                                                           40'




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                                                                                                                       ' 3'
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                                                                                                 12'
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                                                                .7
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                                                                 3'
                                                            .7
                                                              3'




                                                                                                                       33'
                                                                                                                14'
                                       69'




                                                                                                                       24'
                                                                                           4'
                                                                                4'




                                                                                                   9'
                                                                          14'




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                                                                   5.
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                                                                                                                       32'
                                                                                     24'




                                      Form SKT.BldSkI — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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                                     Building Sketch
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                     County Miami-Dade                           State FL    Zip Code 33109
Lender             N/A




                                      Form SKT.BldSkI — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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                                       Location Map
Borrower/Client    N/A
Property Address   6913 Valencia Dr
City               Miami Beach                                   County Miami-Dade                           State FL   Zip Code 33109
Lender             N/A




                                      Form MAP.LOC — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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FROM:
                                                                                                                   INVOICE
  Appraisal 1 Inc.
                                                                                                                      INVOICE NUMBER
  8233 NW 200 Terrace
  6913 Valencia Dr                                                                                                          DATE
  Miami Beach                                                                                                             5/23/2016
 Telephone Number: Miami-Dade                   Fax Number:
                                                                                                                          REFERENCE
TO:                                                                                               Internal Order #:       1605-002
  Elizabeth Hazan                                                                                 Lender Case #:
  N/A
                                                                                                  Client File #:          1605-002
                                                                                                  Main File # on form:    1605-002
  ,
                                                                                                  Other File # on form:

 Telephone Number:                              Fax Number:                                       Federal Tax ID:         XX-XXXXXXX
 Alternate Number:                              E-Mail:                                           Employer ID:




DESCRIPTION
             Lender:    N/A                                                   Client: N/A
 Purchaser/Borrower:    N/A
   Property Address:    6913 Valencia Dr
                City:   Miami Beach
             County:    Miami-Dade                                            State: FL                               Zip: 33109
   Legal Description:   See attached addenda.



FEES                                                                                                                                   AMOUNT




All invoices are net 30 days:
All past due invoices subject to 1.5% services charge per month




                                                                                                                    SUBTOTAL

PAYMENTS                                                                                                                               AMOUNT
Check #:                   Date:                 Description:
Check #:                   Date:                 Description:
Check #:                   Date:                 Description:



                                                                                                                    SUBTOTAL

                                                                                                                   TOTAL DUE       $            0




                                   Form NIV5 — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                            Appraisal 1 (786) 234-8393
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                                              Selective vs. NLG                   November 10, 2015




                                             IN THE CIRCUIT COURT OF THE
                                             11th JUDICIAL CIRCUIT IN AND
                                             FOR MIAMI-DADE COUNTY, FLORIDA
                                             CASE NO. 14-10475 CA (01) (10)
        SELECTIVE ADVISORS GROUP,          )
        LLC, AS ASSIGNEE OF 9197-5904      )
        QUEBEC, INC.,                      )
                                           )
                  Plaintiff,               )
                                           )
        vs.                                )
                                           )
        NLG, LLC, a Delaware limited       )
        liability company,                 )
                                           )
                  Defendant.               )
        ___________________________________)



                DATE TAKEN:                      November 10th, 2015
                TIME:                            2:01 p.m. to 2:27 p.m.
                PLACE:                           73 West Flagler Street
                                                 Miami, Florida
                BEFORE:                          JUDGE LOPEZ


             This cause came on to be heard at the time and
        place aforesaid, when and where the following
        proceedings were reported by:
                      Dawn Jobe, Court Reporter
           Taylor, Jonovic, White, Gendron, Kircher-Echarte
               2455 East Sunrise Boulevard, Suite 1200
                    Fort Lauderdale, Florida 33304
                            (954) 759-4560




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                                                                                                2

        APPEARANCES:
                On behalf of the Plaintiff:
                     By: MARK D. COHEN, ESQUIRE
                     MARK D. COHEN, P.A.
                     4000 Hollywood Boulevard
                     Suite 435 South
                     Hollywood, Florida 33021
                     (954) 962-1166
                On behalf of the Defendant:
                     By: JUAN RAMIREZ, ESQUIRE
                     DIAZ, REUS, & TARG
                     100 Southeast 2nd Street
                     Suite 3400
                     Miami, Florida 33131
                     (305) 375-9220
        ALSO PRESENT
             CHRIS KOSACHUK




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   1             (Thereupon the following proceedings were
   2     had:)
   3             THE COURT:          We're back again, Select
   4     Advisors/NLG.
   5             MR. COHEN:          Your Honor, you closed the
   6     case.
   7             THE COURT:          Well, I know; but he filed a
   8     motion to reconsider.                  I wanted to have him air
   9     it out.         I'm not sure where we're supposed to
  10     go.
  11             MR. RAMIREZ:            You want our appearances?
  12     Juan Ramirez on behalf of NLG.
  13             MR. COHEN:          Mark Cohen on behalf of the
  14     plaintiff.
  15             THE COURT:          Okay.
  16             MR. RAMIREZ:            Judge, basically we're
  17     seeking you to reconsider a nonfinal order that
  18     you issued back in August 20th, 2014.                                In their
  19     response, they never really challenged all the
  20     history of it.            It's obvious, if you look at
  21     all the stuff I submitted, that basically they
  22     got you to domesticate a judgment that was
  23     fraudulently obtained.
  24             MR. COHEN:          I'm going to object.
  25             THE COURT:          He can make his record.

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   1             MR. RAMIREZ:             I gave you case law on it.
   2     You can go behind the obtaining of a judgment
   3     when the defendant never got due process, never
   4     got notice, an opportunity to be heard.                                    What
   5     they did was they bought a judgment that had
   6     been obtained by Ms. Lorette.                          I call that the
   7     Lorette judgment.                And they went from New York,
   8     where the judgment was issued, to Pennsylvania
   9     and they domesticated the judgment in
  10     Pennsylvania.            Somehow they got the
  11     Pennsylvania court to accept that as being
  12     against NLG.
  13             The judgment was not against NLG, just
  14     against Chris Kosachuk individually, and they
  15     got a charging order against NLG.                             Then they
  16     turned around, went back to New York, where
  17     they got a consent judgment where they -- same
  18     guy, Ramon Hoo, acted for the plaintiff and the
  19     defendant.            This is all documented, and every
  20     court that's looked at this has came out with
  21     the same conclusion that this was fraudulent.
  22             He went to a bankruptcy judge in
  23     Philadelphia, who, nunc pro tunc, eliminated
  24     that Lorette judgment and they went through --
  25     they even tried to do an end run within New

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   1     York to go to Suffolk County, and I just moved
   2     to take judicial notice of this new development
   3     because the judge in Suffolk County says, well,
   4     wait a minute, this is all wrong.                            I'm not
   5     going to declare that this judgment is valid.
   6     They got no due process.
   7             And now -- the argument that I don't think
   8     was ever made in front of you when you issued
   9     that order on August 20th, 2014, this matter
  10     was under appeal in the Third District.                                   So you
  11     had no jurisdiction basically because by
  12     allowing this judgment to be assigned, you
  13     deprived the Third District of jurisdiction,
  14     that was the crux of the foreclosure.                                They
  15     found a foreclosure by using that judgment.
  16             THE COURT:          That wasn't before me.                        The
  17     foreclosure was in another --
  18             MR. RAMIREZ:            The foreclosure was in
  19     another division.               But they --
  20             THE COURT:          So how did my assignment or
  21     order granting an assignment --
  22             MR. RAMIREZ:            Because that was under
  23     appeal, we had a trial with NLG against Hazan,
  24     it went two days with Judge Eig.
  25             THE COURT:          Right, right.

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   1             MR. RAMIREZ:            Part of the -- the count was
   2     we have this judgment, Judge, now we want to
   3     foreclose on the mortgage.                      They were using
   4     that judgment to foreclose.                       Judge Eig ruled
   5     for the defendant.                So he basically took away
   6     our rights under that judgment to foreclose.
   7             THE COURT:          Which was reversed.
   8             MR. RAMIREZ:            But while it's on appeal --
   9     while the matter is pending in the Third
  10     District, they come to you and try to get you
  11     to assign that very same judgment that was
  12     under appeal in the Third District.
  13             THE COURT:          No, I don't think so.                         But go
  14     ahead.        That's okay.           I don't see how I had
  15     anything -- I don't understand how my
  16     assignment had anything to do with what was on
  17     appeal.
  18             MR. RAMIREZ:            Because once you assigned
  19     that judgment, it makes the appeal moot.
  20             THE COURT:          No.
  21             MR. RAMIREZ:            Because that was the entire
  22     matter under appeal.
  23             THE COURT:          No, they proceeded on a
  24     foreclosure with Judge Eig, if I remember
  25     correctly; it had nothing to do with me at the

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   1     time.
   2             MR. RAMIREZ:            But --
   3             THE COURT:          When I read all of this,
   4     that's why I was curious why you said I had no
   5     jurisdiction to do what I did.
   6             MR. RAMIREZ:            Because if you look at the
   7     foreclosure petition --
   8             THE COURT:          Let me finish my train of
   9     thought for a moment.                  I granted an assignment
  10     of whatever rights I granted in a judgment,
  11     that has no effect on what Judge Eig may or may
  12     not do with it, what the legalities of the
  13     parties may or may not do with it.
  14             The fact that it's up on appeal, even more
  15     so, they can't do anything with that assignment
  16     until the appeal is resolved.                         If the appeal
  17     was affirmed, they're stuck with an assignment
  18     with nothing to do.                If the appeal got
  19     reversed, they now have a claim that says I
  20     have a judgment to go against you.
  21             I didn't deprive or have anything to do
  22     with the appellate jurisdiction.                           I was
  23     interested in hearing why I lacked jurisdiction
  24     to do what I did.               Because that can be raised
  25     at any time.

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   1             MR. RAMIREZ:             That's our argument, Judge.
   2             THE COURT:           Okay.
   3             MR. RAMIREZ:             Because that was the crux of
   4     the matter under appeal, you basically said to
   5     NLG, NLG, you no longer own this judgment even
   6     though that same -- very same judgment is the
   7     crux of the appeal.                 The first ruling by the
   8     appellate court was to say that that judgment
   9     was valid.            I forget what the words are, but
  10     the first issue that they resolved was the
  11     assignment of that --
  12             THE COURT:           Not my assignment.
  13             MR. RAMIREZ:             Rule on the validity of that
  14     judgment.
  15             THE COURT:           It was a note and a mortgage
  16     or something --
  17             MR. COHEN:           Yes.
  18             THE COURT:           -- and Judge Eig didn't let
  19     them foreclose --
  20             MR. COHEN:           It was bifurcated basically.
  21             THE COURT:           Whatever -- I just read the
  22     appellate opinion.
  23             MR. RAMIREZ:             Yeah, the opinion --
  24             THE COURT:           I didn't even know what was
  25     going on until some other issue.

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   1             MR. RAMIREZ:            The appellate opinion talks
   2     about -- the first thing they talk about when
   3     they start talking about the law is that
   4     judgment.
   5             THE COURT:          Yeah, that he should have
   6     allowed them to foreclose.
   7             MR. COHEN:          Correct.
   8             THE COURT:          But he didn't.                I thought
   9     that's what they came down with.
  10             MR. COHEN:          That's exactly it.
  11             THE COURT:          He allowed the judgment on the
  12     note, that they would --
  13             MR. RAMIREZ:            I don't --
  14             THE COURT:          Wasn't it?
  15             MR. COHEN:          Alternative remedy.                    The
  16     question was whether or not you had to pick
  17     your remedies at the time --
  18             MR. RAMIREZ:            And they --
  19             MR. COHEN:          -- or you didn't, and that was
  20     the only issue that the appellate court
  21     decided.
  22             MR. RAMIREZ:            How can you assign a
  23     judgment that's being decided on the issue of
  24     election of remedies?
  25             THE COURT:          But I didn't assign that

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   1     judgment.
   2             MR. COHEN:          Correct.
   3             THE COURT:          I assigned --
   4             MR. RAMIREZ:            You assigned the judgment
   5     that was the crux of the foreclosure that had
   6     become an issue under appeal whether they
   7     elected their remedy or not.
   8             THE COURT:          I thought they sued on a note.
   9             MR. RAMIREZ:            They sued on that judgment.
  10             THE COURT:          To execute against the
  11     property in Fisher Island.
  12             MR. RAMIREZ:            They used the judgment --
  13             THE COURT:          That wasn't what the issue
  14     was.      I thought it was a promissory note.
  15             MR. COHEN:          Right.
  16             MR. RAMIREZ:            It was also a promissory
  17     note.
  18             THE COURT:          They foreclosed on a note and
  19     Judge Eig said you can't do the foreclosure.
  20             MR. RAMIREZ:            Well, I mean, wouldn't have
  21     done it the way they did it.                        The fact is they
  22     did sue on that judgment.                     They said we have
  23     this judgment and we want to execute on that
  24     judgment against the note.                      We also have this
  25     mortgage -- so it was alternative remedy and

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   1     they said, wait a minute, you can't do both,
   2     you have to elect your remedy.                            Either sue
   3     under the judgment or sue under --
   4             THE COURT:          No, that's not how I read the
   5     Third District's opinion.
   6             MR. COHEN:          No.
   7             THE COURT:          I thought they sued on a note
   8     that was given by the owner, they went to
   9     foreclose as well, and for some reason Judge
  10     Eig said, no.           It had nothing to do with the
  11     judgment in New York.                  All I did --
  12             MR. RAMIREZ:            It had to do with the
  13     judgment they obtained.
  14             THE COURT:          Where?
  15             MR. RAMIREZ:            Judgment by --
  16             THE COURT:          Where's the opinion?                     Where's
  17     the NLG opinion?
  18             MR. RAMIREZ:            The default judgment that
  19     you assigned.
  20             THE COURT:          In New York.
  21             MR. RAMIREZ:            No, that you assigned.                    The
  22     default judgment here --
  23             THE COURT:          Right.
  24             MR. RAMIREZ:            That NLG obtained against
  25     Hazan.

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   1             THE COURT:            Whatever was before me, I
   2     assigned that interest to somebody else.
   3             MR. RAMIREZ:              Yes.
   4             THE COURT:            That was the extent of my
   5     work.
   6             MR. RAMIREZ:              NLG had sued on that default
   7     judgment.             They had said, no, you can't sue
   8     under that, you have to elect your remedy, you
   9     either sue on the promissory note --
  10             THE COURT:            Do you have the case here, the
  11     NLG appellate opinion?                     Is it here?
  12             MR. RAMIREZ:              Yes.
  13             THE COURT:            Let me look at the facts of
  14     that case.             When you mentioned jurisdiction,
  15     obviously, that can be raised at any time, so
  16     I'm curious.             That's not my recollection of
  17     what happened.
  18             MR. COHEN:            It's not, Your Honor.
  19             THE COURT:            Give him a chance.                   I love
  20     seeing you guys.
  21             MR. COHEN:            Your Honor --
  22             THE COURT:            Hold on.
  23             MR. COHEN:            If I may, the case is closed.
  24     You can't sue --
  25             THE COURT:            Did he file this within --

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   1             MR. COHEN:          No.
   2             THE COURT:          -- 30 days of me closing the
   3     case?
   4             MR. COHEN:          It's 15 days.
   5             MR. RAMIREZ:            No, he filed a motion for
   6     rehearing and withdrew it this morning.                                   I
   7     don't know --
   8             THE COURT:          You filed a motion for
   9     rehearing?
  10             MR. COHEN:          The only reason is because he
  11     kept on saying the word "dismissed"; you used
  12     the word "dismissed" or "closed."
  13             THE COURT:          If he filed it within 30 days,
  14     I technically have jurisdiction.
  15             MR. COHEN:          Fifteen.
  16             THE COURT:          Fifteen is for rehearing.                         I
  17     have jurisdiction on my cases for 30 days
  18     technically.          A rehearing --
  19             MR. COHEN:          I don't even think he --
  20             THE COURT:          There's a 15-day window to
  21     appeal.
  22             MR. COHEN:          He didn't file it --
  23             THE COURT:          Let me get to the merits of
  24     it.
  25             MR. COHEN:          I may be wrong.

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   1             THE COURT:          Technically, I still have
   2     jurisdiction to reconsider what I've done,
   3     because, I mean, it's -- his appellate time has
   4     run.      This isn't an authorized --
   5             MR. RAMIREZ:            It's a nonfinal order,
   6     Judge.
   7             THE COURT:          You're talking about the
   8     jurisdictional order before.                        My case is
   9     closed.         How do I revisit what I did in a
  10     closed case?
  11             MR. RAMIREZ:            Because they're trying to
  12     enforce --
  13             THE COURT:          Procedurally, how do I go back
  14     now to a case which I have ended my
  15     jurisdiction and undo something I did back
  16     then?
  17             MR. RAMIREZ:            Because they filed a motion
  18     for rehearing, that would be one way.
  19             THE COURT:          But that's off the table.                     His
  20     motion doesn't piggyback to you.                           He's asking
  21     me to take a look at something overlooked.
  22             MR. COHEN:          I withdrew it.
  23             THE COURT:          Now, he withdrew it.
  24             MR. RAMIREZ:            You want me to file a dec
  25     action?

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   1             THE COURT:          You do what you have to do.
   2             MR. RAMIREZ:            I'm saying --
   3             THE COURT:          Explain to me --
   4             MR. RAMIREZ:            We have an order that was
   5     entered as you say -- if you had no
   6     jurisdiction --
   7             THE COURT:          I didn't say that, you said
   8     that.
   9             MR. RAMIREZ:            I'm saying that.
  10             THE COURT:          I think I had jurisdiction.                    I
  11     don't think what I did affected the appeal.
  12             MR. RAMIREZ:            But if --
  13             THE COURT:          I didn't even know it was
  14     ongoing to begin with.
  15             MR. RAMIREZ:            Well, I --
  16             THE COURT:          Forget that part.
  17             MR. RAMIREZ:            -- wasn't the lawyer.
  18             THE COURT:          Nobody brought it to my
  19     attention, I'm sure you might have brought that
  20     argument up at that point in time.                             Show me
  21     where the appellate opinion -- show me what
  22     went on before Judge Eig that had to do with
  23     the foreclosing of my judgment, which is what
  24     you're telling me.
  25             You can tell me what's on your own mind.

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   1     If you're going to whisper in his ear -- just
   2     help me out.
   3             MR. KOSACHUK:            NLG obtained judgment
   4     against Ms. Hazan for not paying in '07.                                  What
   5     was filed in '07 under the case number 19532.
   6             THE COURT:          Right.
   7             MR. KOSACHUK:            That judgment was for
   8     breach of the promissory note.
   9             THE COURT:          Okay.        They had a judgment on
  10     a note.
  11             MR. KOSACHUK:            NLG had a judgment against
  12     Ms. Hazan, his other client.
  13             THE COURT:          On a note.
  14             MR. KOSACHUK:            On a promissory note,
  15     correct.
  16             THE COURT:          Which then they went to try to
  17     foreclose.
  18             MR. KOSACHUK:            We used that judgment as
  19     a -- which also had a mortgage attached to it
  20     because there was a settlement agreement before
  21     that said the note, the judgment and the
  22     mortgage, all three instruments are in full
  23     force and effect until paid or satisfied.
  24             THE COURT:          Correct.
  25             MR. KOSACHUK:            Then we moved to -- in 2011

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   1     to foreclose out the judgment and the mortgage.
   2             THE COURT:          You foreclosed the mortgage,
   3     not judgment.
   4             MR. COHEN:          Correct.
   5             MR. KOSACHUK:             We foreclosed the
   6     mortgage --
   7             THE COURT:          Judge Eig said no.
   8             MR. KOSACHUK:             Correct.          Then what we did
   9     was we appealed.
  10             THE COURT:          Correct.
  11             MR. KOSACHUK:             And the central issue on
  12     appeal was the enforceability of that judgment
  13     that you had assigned on August 20th, 2014.
  14             THE COURT:          No.
  15             MR. COHEN:          No.
  16             THE COURT:          Go ahead.
  17             MR. KOSACHUK:             The central --
  18             THE COURT:          Where is the appellate
  19     opinion?         That will clarify it for me.
  20             MR. KOSACHUK:             I know also in the -- in
  21     the actual foreclosure itself, we attached this
  22     judgment and we said that this judgment is the
  23     basis for our foreclosure because it is secured
  24     by a mortgage on this property.
  25             THE COURT:          A judgment isn't secured by a

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   1     mortgage.
   2             MR. KOSACHUK:            In this particular
   3     instance, it was, because of the agreement that
   4     had occurred.
   5             THE COURT:          Again, find me the appellate
   6     opinion.
   7             MR. RAMIREZ:            I guess I just cited it.
   8             THE COURT:          Do you have the cite?                         I'll
   9     look it up.
  10             MR. KOSACHUK:            It's a 2013 case and the
  11     Case Number is 0684.
  12             THE COURT:          You talking about the
  13     appellate case?
  14             MR. KOSACHUK:            Appellate opinion, yes.
  15             THE COURT:          I need the appellate case
  16     number.         Hold on a second.
  17             MR. COHEN:          151 So.3d, Your Honor, 455.
  18             MR. KOSACHUK:            No.       That was the first
  19     appeal of the judgment itself.                            We're now on
  20     the appeal of the mortgage foreclosure.
  21             THE COURT:          Give me Judge Eig's opinion.
  22             MR. KOSACHUK:            2013 case, appellate case
  23     number 0684.
  24             THE COURT:          Hold on.
  25             MR. KOSACHUK:            Opinion issued on September

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   1     3rd, 2014, appellate mandate on November 25th,
   2     2014.
   3             MR. RAMIREZ:            151 So.3d --
   4             MR. COHEN:          That's what I just said and I
   5     got blasted for it.
   6             MR. KOSACHUK:            That's not --
   7             MR. COHEN:          That's the one --
   8             MR. KOSACHUK:            That's the first one.
   9             MR. RAMIREZ:            Yeah, that's the one, 151.
  10             MR. KOSACHUK:            No.
  11             MR. COHEN:          455.
  12             THE COURT:          Is that the one from Judge
  13     Eig's case?
  14             MR. COHEN:          Yes.
  15             MR. RAMIREZ:            Yes.
  16             THE COURT:          Hold on.          Let me figure it
  17     out.
  18             MR. COHEN:          It basically says it was not
  19     an election of remedies precluding the later
  20     enforcement of the mortgage.                        That's it.            The
  21     only issue was the mortgage.
  22             THE COURT:          151 So.3d.
  23             MR. RAMIREZ:            455.
  24             THE COURT:          NLG versus Hazan.
  25             MR. RAMIREZ:            Right.

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   1             MR. COHEN:          Your Honor --
   2             THE COURT:          Hold on.
   3             MR. COHEN:          Not to be difficult, but it's
   4     a corporation and, therefore, I don't believe
   5     he can really talk in the matter.
   6             THE COURT:          He's not, I just wanted to
   7     hear the factual issues.                     I'm trying to find
   8     out what happened as to whether there was a
   9     note or not.
  10             MR. COHEN:          No.
  11             THE COURT:          I agree with you.
  12             MR. COHEN:          In their paragraph 29, they
  13     specifically say it.
  14             THE COURT:          All right.
  15             MR. RAMIREZ:            Exhibit M is complaint for
  16     foreclosure.
  17             THE COURT:          I'll make copies if I have to.
  18     I got NLG versus Hazan 151 So.3d 455.                                What I
  19     get from the facts, NLG sold the home to
  20     Ms. Hazan for 5,100,000, took back a note and
  21     mortgage for 1.275, required an installment
  22     payment and it was supposed to mature, they
  23     weren't forthcoming, NLG filed a lawsuit for
  24     collection of the note.                    Settlement agreement
  25     was entered into, they were not made.                                April of

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   1     '08, in accordance with the settlement, a
   2     default judgment on the note was entered
   3     against Ms. Hazan in favor of NLG in the amount
   4     of 1.618, which would have been the mortgage
   5     amount.
   6             MR. RAMIREZ:              That's the default --
   7             THE COURT:            That's the default judgment
   8     for the note and mortgage amount, because the
   9     note was 1.275.
  10             MR. RAMIREZ:              Right.
  11             THE COURT:            That was recorded, then they
  12     got new counsel and they attempted to execute
  13     on the judgment against the Fisher Island home
  14     by a writ, right?                 That was vacated because she
  15     claimed it was homestead.
  16             MR. RAMIREZ:              Right.
  17             THE COURT:            So that was done.                  Then they
  18     filed suit to foreclose on the mortgage based
  19     on the judgment?
  20             MR. RAMIREZ:              Right.
  21             THE COURT:            And the note for 1.2, which
  22     had merged, right?                 Let's call it a merged
  23     judgment and note.                 So they were foreclosing on
  24     the note.             Judge Eig said no, you elected your
  25     remedy.         Then the appellate court, Third

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   1     District, reverses and said no, they can go
   2     forward and foreclose.
   3             Where does that take into account the $5.1
   4     million judgment or whatever judgment I had in
   5     my division?
   6             MR. RAMIREZ:            Because --
   7             THE COURT:          How does that reflect on this?
   8             MR. RAMIREZ:            Because this judgment, that
   9     was the basis and it's an integral part of the
  10     foreclosure, that judgment was assigned by you.
  11             THE COURT:          What judgment, the 1.2 --
  12             MR. RAMIREZ:            The default --
  13             THE COURT:          The 1.6.
  14             MR. RAMIREZ:            The 1.6.
  15             THE COURT:          I assigned the New York
  16     judgment.
  17             MR. RAMIREZ:            You assigned this judgment.
  18             THE COURT:          Which one did I assign?
  19             MR. COHEN:          We filed a domestication.
  20             THE COURT:          For some number up in New
  21     York --
  22             MR. COHEN:          $5 million.
  23             THE COURT:          After that, you said, I want
  24     to take over this judgment.
  25             MR. COHEN:          Correct.          That's it.             We

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   1     executed on it.
   2             THE COURT:            Hold on.
   3             MR. RAMIREZ:              So this is a judgment --
   4             THE COURT:            They took -- I assigned that
   5     over to them, they took over that judgment
   6     subject to whatever would happen in Judge Eig's
   7     division.             How does that affect what's up on
   8     appeal?
   9             MR. RAMIREZ:              Because that was the central
  10     issue on appeal.                Did we elect the remedies,
  11     did we have a right to collect on this note.
  12     How can -- if they have an issue with that
  13     judgment, the proper place to answer that would
  14     be in the foreclosure division, not in your
  15     division.
  16             THE COURT:            They didn't challenge the
  17     judgment, the debt was affirmed.                             The note that
  18     led to the 1.2 or 1.6 judgment, which is what
  19     they foreclosed upon, was affirmed previously
  20     by the Third District.                     The issue in this case
  21     was whether they could foreclose on that note
  22     and mortgage.
  23             MR. RAMIREZ:              Exactly.          While that's
  24     pending, you basically took the rug out from
  25     under our feet by saying you no longer own that

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   1     judgment, now it's Quebec that owns that
   2     judgment.
   3             THE COURT:          Okay, so I assigned your
   4     interest in it to them, which had nothing to do
   5     with what's going up on appeal.
   6             MR. COHEN:          Correct.
   7             MR. RAMIREZ:            How can you say that, Judge?
   8             THE COURT:          I just did.
   9             MR. RAMIREZ:            I know you just did.                      The
  10     whole thing is, did we elect a remedy --
  11             THE COURT:          That has nothing to do with
  12     me.     My case was who -- Selective against NLG.
  13     Selective sued, right, saying we bought this
  14     judgment, right?              We want to domesticate a New
  15     York judgment.            They filed here, they wanted to
  16     domesticate it against NLG, which was the
  17     judgment debtor up in New York.
  18             MR. RAMIREZ:            Right.
  19             MR. KOSACHUK:            No, NLG was never a
  20     judgment debtor.
  21             MR. RAMIREZ:            It was a judgment debtor by
  22     fraud.
  23             THE COURT:          I don't care by fraud, that's
  24     for New York to decide.
  25             MR. RAMIREZ:            No, Judge, you had --

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   1             THE COURT:          Had you posted a bond, I would
   2     have dealt with it.
   3             MR. RAMIREZ:            You have the right to look
   4     at whether they got due process or not.                                   Be
   5     that as it may, the jurisdictional issue is the
   6     one I'm pursuing.
   7             THE COURT:          Let's go back and trace this
   8     again.        Selective Advisors domesticated a
   9     judgment, they say we took over from Quebec who
  10     had a judgment up in New York against NLG.
  11             MR. RAMIREZ:            Right.
  12             THE COURT:          For some millions of dollars.
  13     NLG came in and it's fraud, it's this, it's
  14     that; I said, you know what, you have every
  15     right to do that, put up a bond; they chose not
  16     to.     Correct?
  17             MR. RAMIREZ:            Five-million-dollar bond.
  18             THE COURT:          I'm not saying it's easy.                           I
  19     don't have $5 million, I understand that.                                      Then
  20     we turn around and they went in and enforced
  21     the judgment.           I assigned whatever interest NLG
  22     had in the judgment apparently now and took
  23     over the 1.7 and gave them full credit for the
  24     1.7 off the 5 million in New York.                             I think
  25     that's what I did, something like that, right?

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   1             MR. COHEN:          Yes.
   2             MR. RAMIREZ:            Right.
   3             THE COURT:          That judgment that I assigned
   4     to them or that interest in that judgment was
   5     up on appeal.           I didn't affect the validity of
   6     what's up on appeal.                 I just said, if you win
   7     or lose, whatever happens, now these people own
   8     it instead of you.               The Third came back and
   9     said, too bad, you get to foreclose, they now
  10     own that judgment or note if that's what merged
  11     into it, they get to go and foreclose.                                    I had
  12     nothing to do --
  13             MR. RAMIREZ:            It's the same people, Judge.
  14             THE COURT:          It doesn't matter to me who
  15     they were, what they were.                      That's not my
  16     fight.        Now, it's been paid off.                     How do I undo
  17     something that's been paid off?
  18             MR. RAMIREZ:            It was all fraud.
  19             THE COURT:          It may have been.                  How do I
  20     undo --
  21             MR. RAMIREZ:            How can you condone a fraud
  22     by judicial --
  23             THE COURT:          Very simply, I did not deal
  24     with the fraud issue until they posted a bond
  25     and they kept promising me New York is going to

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   1     vacate this, New York is going --
   2             MR. RAMIREZ:             We've been trying to do that
   3     and they keep delaying.
   4             THE COURT:           They delayed and delayed and
   5     then somebody paid it off.
   6             MR. RAMIREZ:             They used that judgment to
   7     say that they paid it off.
   8             THE COURT:           It's been satisfied.
   9             MR. RAMIREZ:             By defrauding us.                  Judge --
  10             THE COURT:           My judgment was satisfied.
  11             MR. RAMIREZ:             They never were entitled to
  12     penny one.            The Lorette judgment that started
  13     this whole thing has been vacated nunc pro
  14     tunc.       In fact, he got damages of --
  15             THE COURT:           Hold on.          How was my judgment
  16     satisfied?
  17             MR. COHEN:           It was satisfied --
  18             THE COURT:           They paid it or just because
  19     of the assignment transfer of interest?
  20             MR. COHEN:           No, they've resolved it
  21     somehow up there between Select --
  22             THE COURT:           Somebody up in New York issued
  23     a satisfaction of judgment?
  24             MR. COHEN:           Correct.
  25             MR. RAMIREZ:             Select is her husband, is

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   1     Hazan's husband.
   2             THE COURT:            I don't care who it is.
   3             MR. RAMIREZ:              It is.        It's important
   4     because they've done all this to prevent us
   5     from foreclosing on the mortgage in front of
   6     Judge --
   7             THE COURT:            Your Honor, the judgment in
   8     New York was satisfied of record, correct?
   9     They worked it out, somebody issued a
  10     satisfaction of judgment?
  11             MR. RAMIREZ:              Right.        And now --
  12             THE COURT:            As far as I'm concerned,
  13     whatever's happening here is done, it's been
  14     paid off.             There's nothing I can do.
  15             MR. COHEN:            Can we get an order just --
  16             THE COURT:            We're done.             My order --
  17             MR. KOSACHUK:              The domestication of this
  18     New York $5 million judgment is now gone,
  19     correct?
  20             THE COURT:            No, it's been satisfied.
  21     There's a difference.                    It's satisfied in the
  22     public records in Florida, it shows it was
  23     sought to be domesticated, an action was taken
  24     by me, my case is closed and now you record a
  25     satisfaction of judgment in Florida.                                 That

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   1     should take care of any interest in my matter.
   2     You paid it off.
   3             MR. KOSACHUK:            So they no longer have the
   4     right to go forward and try to collect on that
   5     judgment.
   6             THE COURT:          If it's been paid off, that's
   7     up to you guys.             I don't know why it was
   8     satisfied.
   9             MR. COHEN:          Your Honor --
  10             THE COURT:          That's all.             He can tell you
  11     better than I, he's been through this many
  12     times before.
  13             MR. COHEN:          The motion is denied?                         Your
  14     Honor, just for curiosity, you say the Court
  15     retains jurisdiction for 30 days; under 1.540,
  16     I only see 15 days.
  17             THE COURT:          Fifteen days is a rehearing.
  18             MR. COHEN:          You show me 1.540 --
  19             THE COURT:          Go ahead, take a look at it.
  20     I keep jurisdiction --
  21             MR. RAMIREZ:            Fifteen is rehearing.                       It's
  22     moot, you denied the motion.
  23             THE COURT:          Nobody is appealing my case.
  24             MR. COHEN:          I just want to know --
  25             THE COURT:          Yes, the motion is denied for

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   1     everything we discussed here.
   2             MR. COHEN:          For my own knowledge --
   3             THE COURT:          Because the 15 is your
   4     appellate time.
   5             MR. COHEN:          No, 30 is appellate.
   6             THE COURT:          How much time do you have to
   7     file a notice of appeal usually?
   8             MR. COHEN:          Thirty days from the date of
   9     denial of the motion for rehearing.
  10             THE COURT:          No, 30 days -- if you don't
  11     file a motion for rehearing, how much time do
  12     you have to file an appeal?
  13             MR. COHEN:          Thirty days.
  14             THE COURT:          Thank you.
  15             MR. COHEN:          But you only have 15 days --
  16             THE COURT:          Counsel, please, if you don't
  17     file the rehearing, it doesn't suspend the
  18     appellate time.             My case lingers for 30 days.
  19     That's my jurisdiction.
  20             MR. COHEN:          I was just more curious than
  21     anything.
  22             (Thereupon, the proceeding concluded at
  23     2:27 p.m.)
  24
  25


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   1                           CERTIFICATE OF REPORTER
   2
   3     STATE OF FLORIDA)
         COUNTY OF BROWARD)
   4
   5
   6             I, DAWN JOBE, Florida Professional Reporter, do
   7     hereby certify that I was authorized to and did
   8     stenographically report the foregoing proceedings,
   9     and that the foregoing transcript, pages 1 through
  10     31, is a true and correct record of my stenographic
  11     notes.
  12
  13             DATED this 15th day of November, 2015 at Fort
  14     Lauderdale, Broward County, Florida.
  15
  16
  17
  18
  19
                         __________________________________
  20                         DAWN JOBE, Court Reporter
  21
  22
  23
  24
  25


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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                                        Case No. 16-10389-AJC
                                                                        Chapter 11
  IN RE:

  Liza Hazan
  a/k/a Elizabeth Hazan,

        Debtor.
  _____________________/

                  NOTICE OF FILING AFFIDAVIT IN SUPPORT OF NLG’S
                  MOTION FOR RELIEF FROM AUTOMATIC STAY [DE 66]

           COMES NOW Secured Creditor NLG, LLC (hereinafter “NLG”), by and through its

  undersigned counsel, and gives notice that it is this day filing the attached Affidavit in Support of

  NLG’s Motion for Relief from Automatic Stay executed by Juan Ramirez, Jr., Esq.



                  CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

           I hereby certify that I am admitted to the Bar of the United States District Court for the

  Southern District of Florida and I am in compliance with the additional qualifications to practice

  in this court set forth in Local Rules 2090-1(A).




    LAW OFFICE OF ALEXIS GONZALEZ, P.A. * 3162 COMMODORE PLAZA * SUITE 3E * COCONUT GROVE, FL 33133
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with

  the Clerk of Court using the CM/ECF system on this 20th day of June, 2016. I also certify that

  the foregoing was served on this day by either U.S. Mail or Electronic mail via the CM/ECF

  system to the parties on the attached service list.



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                                             BY: /s/ Alberto H. Orizondo
                                                     Alberto H. Orizondo, Esq.
                                                     Fla. Bar. No. 70176
                                                     aorizondo@aglawpa.com




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  U.S. Trustee


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                                          IN THE DISTRICT COURT OF APPEAL

                                          OF FLORIDA

                                          THIRD DISTRICT

                                          APRIL 05, 2016


   ELIZABETH HAZAN,                             CASE NO.: 3D16-0315
   Appellant(s)/Petitioner(s),
   vs.                                          L.T. NO.:   11-42770
   NLG, LLC, etc.,
   Appellee(s)/Respondent(s),

                ORDERED that appellant’s notice of voluntary dismissal is

   recognized by the Court, and this appeal from the Circuit Court for Miami-Dade

   County, Florida is hereby dismissed.




   cc: Robert P. Lithman           Juan Ramirez, Jr.
       Miami-Dade Clerk            Hon. Monica Gordo

   ns
Case 1:22-cv-21485-RNS
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                                          IN THE DISTRICT COURT OF APPEAL

                                          OF FLORIDA

                                          THIRD DISTRICT

                                          APRIL 26, 2016


   ELIZABETH HAZAN,                               CASE NO.: 3D16-0315
   Appellant(s)/Petitioner(s),
   vs.                                            L.T. NO.:    11-42770
   NLG, LLC, etc.,
   Appellee(s)/Respondent(s),

                Upon consideration of the motion for attorney's fees pursuant to

   section 57.105, Florida Statutes and Rule 9.410 Fla. R. App. P. filed by appellee, it

   is ordered that said motion is granted and remanded to the trial court to fix amount.

                SUAREZ, C.J., and SHEPHERD and SALTER, JJ., concur.




   cc:       Robert P. Lithman           Juan Ramirez, Jr.          Hon. Monica Gordo
             Miami-Dade Clerk

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            ORDERED in the Southern District of Florida on July 6, 2016.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________
                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION


         IN RE:                                          CASE NO.: 16-10389-AJC

         LIZA HAZAN                                      CHAPTER: 11
         a/k/a ELIZABETH HAZAN,

                DEBTOR.



                          ORDER GRANTING DEBTOR’S FIRST MOTION TO EXTEND
                           EXCLUSIVITY PERIOD PURSUANT TO 11 U.S.C. §1121(d)

                THIS CAUSE came before the Court on May 26, 2016 on the Motion for Extension of

         Exclusivity Period [ECF 63] (“Motion”) filed by Debtor Liza Hazan a/k/a Elizabeth Hazan

         (“Debtor”) pursuant to 11 U.S.C. §1121(d), and the Court, having reviewed the Motion and having

         heard argument of counsel, there being no opposition to the Motion, and being otherwise fully

         advised, and good cause having been shown, orders that:

                1.     The Debtor’s Motion is GRANTED.
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          2.       The Debtor’s exclusive period under 11 U.S.C. §1121(d) within which to file its Plan

 of Reorganization and Disclosure Statement is extended by sixty (60) days, to and including July

 11, 2016; and

          3.       The Debtor’s exclusive period under 11 U.S.C. §1121(d) within which to obtain

 acceptances to the Plan also is extended by sixty (60) days, to and including September 8, 2016.

                                                           * * *

 Submitted by:

 Geoffrey S. Aaronson, Esq.
 Florida Bar No. 349623
 Miami Tower, 27th Floor
 100 S.E. 2nd Street
 Miami, Florida 33131
 Tel. 786.594.3000
 Fax 305.424.9336
 gaaronson@aspalaw.com
 Attorney for Debtor


 Attorney Aaronson is directed to serve all parties with a copy of this executed Order and to file a Certificate of Service.
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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                        www.flsb.uscourts.gov

            In re:                                                        Case No: 16-10389 AJC
                                                                          Chapter 11
Liza Hazan
Debtor.                     /

                                       PLAN OF REORGANIZATION

                                                   ARTICLE I
                                                   SUMMARY

        This Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy Code (the “Code”)
proposes to pay creditors of Debtor (the “Debtor”) from sources of payment, such as equity in properties and
future income.

        Debtor has an exclusive period during only debtor may propose a plan. The exclusive period was
extended through July 11, 2016 by motion filed 5/10/16 at DE 63 and granted at hearing 5/26/16 without
objection and ordered 7/7/16 at DE 99.

        This Plan provides classes of claims; classes of priority claims, classes of secured claims, and classes
of unsecured claims and equity. Unsecured creditors holding allowed claims will receive distributions which the
proponent of this Plan has valued at dividend of 41% to 100% of total allowed claims accrued for up to 60
months and paid every six months with the first payment due in month 6, while undisputed unsecured claims
are paid 100% within two years of the petition date, or by 1/11/18.

        This Plan also provides for the payment of administrative claims. If payment is not in full on the
effective date of this Plan with respect to any such claim (to the extent permitted by the Code or the claimant’s
agreement), the paragraphs below will identify such claim and briefly summarize the proposed treatment.

        All creditors and equity security holders should refer to Articles III through VI of this Plan for
information regarding the precise treatment of their claim. A disclosure statement that provides more detailed
information regarding this Plan and the rights of creditors and equity security holders has been circulated with
this Plan. Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one. (If you do not have an attorney, you may wish to consult one.)


                                          ARTICLE II
                            CLASSIFICATION OF CLAIMS AND INTERESTS

2.01    This Plan includes a class of priority claims, classes of secured claims,
classes of unsecured claims., and a class of equity interests.
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                                           ARTICLE III
                        TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                          U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

        3.01    Unclassified Claims. Under section §1123(a)(1), administrative expense claims, [“gap” period claims in
an involuntary case allowed under §502(f) of the Code,] and priority tax claims are not in classes.

        3.02    Administrative Expense Claims. Each holder of an administrative expense claim allowed under §503 of
the Code, will be paid in full on the effective date of this Plan (as defined in Article VII), in cash, or upon such other
terms as may be agreed upon by the holder of the claim and the Debtor. Counsel for Debtor Geoffrey Aaronson and Joel
Aresty will be paid $ and outside plan and have agreed to such treatment.

       3.03    Priority Tax Claims. Each holder of a priority tax claim will be paid by terms of treatment consistent with
§1129(a)(9)(C) of the Code.

        3.04   United States Trustee Fees. All fees required to be paid by 28 U.S.C. §1930(a)(6)(U.S. Trustee Fees)
will accrue and be timely paid until the case is closed, dismissed, or converted to another chapter of the Code.
Any U.S. Trustee Fees owed on or before the effective date of this Plan will be paid on the effective date.

                                      ARTICLE IV
                    TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

4.01 Claims and interests shall be treated as follows under this Plan:


 Admin                 Description                           Treatment
                   Geoffrey Aaronson               paid as awarded or agreed
                       Joel Aresty                 paid as awarded or agreed
                       US Trustee                  paid in full at confirmation

                                                    Priority Claims

 Class #               Description                   Impairment                  Treatment
    1                       IRS                           yes          $49,663 including disputed
                          claim 3                                      $25,000 for 2015 return on
                                                                       extension – undisputed or
                                                                       allowed claim will be paid
                                                                       within five years of the
                                                                       petition date. Payments
                                                                       every 3 months to include
                                                                       interest on any unpaid
                                                                       claim amounts after the
                                                                       effective date of the plan at
                                                                       3%
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                                       Secured Claims
                                   Valencia Property

3           Chase Bank           no           yes       First Mortgage - Original note for
                                                        $3,825,000 signed 3/07 Washington
                                                        Mutual Bank. Chase Bank recently filed
                                                        an Assignment of mortgage on 5/26/16 ;
                                                        Debtor to continue state court litigation
                                                        regarding default, standing issues. If
                                                        State Court enters a final order finding
                                                        and determining the validity, amount
                                                        and enforceability of the mortgage and
                                                        the assignment thereof, Debtor shall
                                                        commence making payments of
                                                        principal and interest at note rate 2%
                                                        per annum amortization to original
                                                        maturity date commencing 30 days after
                                                        entry of the final order.

4     Selective Advisors Group   yes          yes       Selective Advisors Group is the rightful
                                                        assignee of the second mortgage holder
                                                        NLG’s promissory note, mortgage and
                                                        Judgment against Debtor in the amount
                                                        of $1,618,068.00 plus interest at 11%
                                                        per annum; recorded Satisfaction of
                                                        Mortgage and judgment against Debtor
                                                        and her property.
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5       6913 Valencia LLC      yes       yes     Third Secured Mortgage in the
                                                 amount of $2,000.000.00.

                                                 The Debtor does not contest the validity
                                                 or extent of claim. Notwithstanding, the
                                                 Secured Creditor shall record a
                                                 satisfaction of their lien upon Plan
                                                 Confirmation and receive an unsecured
                                                 claim.




6        Valencia Estates       no       yes     Claim of $195,072.14. Judge in state
       Community Assn, Inc                       court ordered that $128,677.14 was due,
             claim 10                            plus attorneys fees to be determined.
                                                 The Debtor disputes the amount of the
                                                 Claim, The Debtor will be filing an
                                                 appeal of the state court order by July
                                                 16, 2016. Debtor has substantial Claims
                                                 against Valencia Estates Homeowners
                                                 Association Inc which might offset all
                                                 their Claims.
                                                 Upon resolution of All State Court
                                                 Litigation Debtor will pay in the Plan at
                                                 4.75 judgment interest over 5 years.
7         Fisher Island         no       yes     $148,943.34 - Disputed "No Payment
       Community Ass'n, Inc                      thru Plan Fisher Island Community
                                                 Association, Inc. did not file a proof of
                                                 claim.
                                                 The Debtor disputes the amount of the
                                                 Claim,
                                                 No payment through Plan.


8      Miami-Dade Water and     no       yes      Claim 7 $1502.54 paid on the Effective
              Sewer                                           Date of Plan
             claim 7
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     9          IRS claim 3              no        yes      393,985.17 - Secured claim Shall be paid
                                                            over 60 months with interest Payments
                                                            every 3 months to include interest on any
                                                            unpaid claim amounts after the effective
                                                            date of the plan at 3%

                                         Other Disputed Claims

Class #         Description          Insider     Impaired                     Treatment

     10    Real Time Resolutions,        no        yes             claim 8 $322,846.72 is disputed
                    Inc                                             statute of limitations has run
                  claim 8                                   The Debtor disputes the amount of the Claim,
                                                            disputes the Debt and this claim is unsecured.
                                                            The Default occurred on June 2007,
                                                            The owner of this debt has accelerated
                                                            the loan in 2007, therefore this Claim
                                                            is barred by the Statute of Limitations.


Class #   Description               Insider      Impaired Treatment

11        Board of Managers         no           yes        The Debtor disputes the Claim.
          Spencer Condominium                               The parties in 2015 reached a confidential
          claim 14                                          settlement in New York that must be
                                                            enforced.

                                                            Debtor will agree to stay relief to enforce
                                                            the settlement in State Court in New York.
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                                                    Vehicle
                                         2007 Mercedes-Benz S550



 Class #          Description            Insider     Impaired                       Treatment

   12      Southeast Financial LLC          no          yes      Stipulation DE 98 approved DE 101
                                                                 vehicle owned by HTMG guaranteed by
                                                                 debtor
                                                                 secured claim allowed $17,000 value paid
                                                                 5.25% for 48 months payments $393 begin
                                                                 August 1, 2016

                                       Undisputed Unsecured Claims
           Allowed Undisputed Unsecured Claims will be paid within two years of petition date
               1/11/18 payments beginning month 6 after confirmation and every 6 months

 Class #          Description            Insider?    Impaired                     treatment
                                          (Yes or
                                            No)
   13               IRS claim 3             no              x                          1085
              American InfoSource           no              x                          1130
                 T Mobile claim 2
              American InfoSource           no              x                           461
                 Direct TV claim 9
                   FPL claim 11             no              x                        2906.93
              JMB Urban 900 Dev.            no             X                         275,000
                      claim 4*
                   Mount Sinai              no              x                          3,240
                   Mount Sinai              no              x                         295.91
              HSBC Bank USA NA              no              x                        1070.66
                Sterling Emerg Svc          no              x                        2445.30
               Bank of America NA           no              x                          3301
              Wells Fargo claim 12          no              x                         323.24
              6913 Valencia LLC**           yes            X                        2,000,000
                        total                                                     2,291,259.04
*claim 4 subject of adversary case 16-01188 AJC settlement pending at 41% of claim
convenience class of 100% for all other undisputed unsecured creditors
** insider claim will be subordinated and not paid until all other allowed claims
 but reserves right to vote for the plan
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                                   Disputed Unsecured Claims
                                not paid until and unless allowed
                          and then paid within 5 years after confirmation


14               Cross & Simon             no        yes     $11,023.83 Legal bill
                     claim 1                                 Legal work for Corporation
                                                             other than the Debtor.
                                                             Debtor is disputing this claim.



     15       Real Time Resolutions                          $188,416.67
                     claim 5                                 disputed
                                                             case 08-47664-CA01 dismissed
                                                             Complaint filed in 2008.
                                                             Case dismissed in 2009.
                                                             Claim barred by Statute of Limitations.




     16          S&S Collections                             $21,242 Half of Bill is invoiced against
                 Simon & Sigalos                             6913 Valencia LLC. Attorneys bill
                                                             disputed. Attorney failed to appear at
                    claim 13                                 hearing resulting in entry of default
                                                             judgment in NLG case 4/08.
                                                             Debtor has very substantial Claims
                                                             against Michael Simon Simon and his
                                                             firm Simon Sigalos P.A.


     17        Newman Ferrara LLP                            Disputed Proof of Claims filed after Bar
                    claim 15                                 date. $24,818.44 not allowed.
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                             Unsecured Scheduled Disputed and No Claim Filed
                                          Therefore Disallowed


Allied Collection                                 318
ATT Mobility                                      3919
First National Collection                         246.08
Focus Mgt                                         772
Marzec Law Firm                                   0
Mount Sinai Medical                               31414.15
Ray Garcia PA                                     7026.15
Verizon                                           1758
US Bank NA                                        0
Total                                             45453.38


                                                    Equity

                 Description                   Impairment         Treatment
 Class #
                 Equity Individual            no
                "Deeded  in 8/2011. interest
                                     Also, there                 retained
                                                 is a Settlement Agreement. Dispute."
 18              holder




                                         ARTICLE V
                            ALLOWANCE AND DISALLOWANCE OF CLAIMS

       5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a final
non-appealable order, and as to which either: (i) a proof of claim has been filed or deemed filed, and the Debtor
or another party in interest has filed an objection; or (ii) no proof of claim has been filed, and the Debtor has
scheduled such claim as disputed, contingent, or unliquidated.

       5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
disputed claim unless such claim is allowed by a final non-appealable order.

      5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to settle and
compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal Rules of
Bankruptcy Procedure.
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                                     ARTICLE VI
              PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       6.01    Assumed Executory Contracts and Unexpired Leases.

                (a)    The Debtor assumes the following executory contracts and/or unexpired leases effective
upon the date of the entry of the order confirming this Plan: none.
                (b)    The Debtor will be conclusively deemed to have rejected all executory contracts and/or
unexpired leases not expressly assumed under section 6.01(a) above, or before the date of the entry of the order
confirming this Plan. A proof of a claim arising from the rejection of an executory contract or unexpired lease
under this section must be filed no later than thirty (30) days after the date of the order confirming this Plan.


                                               ARTICLE VII
                                            GENERAL PROVISIONS

       7.01 Definitions and Rules of Construction. The definitions and rules of construction set forth in
§§101 and 102 of the Code shall apply when terms defined or construed in the Code are used in this Plan.

        7.02 Effective Date of Plan. The effective date of this Plan is the fourteenth business day following
the date of the entry of the order of confirmation. But if a stay of the confirmation order is in effect on that date,
the effective date will be the first business day after that date on which no stay of the confirmation order is in
effect, provided that the confirmation order has not been vacated.

        7.03 Severability. If any provision in this Plan is determined to be unenforceable, the determination
will in no way limit or affect the enforceability and operative effect of any other provision of this Plan.

       7.04 Binding Effect. The rights and obligations of any entity named or referred to in this Plan will be
binding upon, and will inure to the benefit of the successors or assigns of such entity.

        7.05 Captions. The headings contained in this Plan are for convenience of reference only and do not
affect the meaning or interpretation of this Plan.

        7.06 Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including the
Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Florida govern this Plan and any
agreements, documents, and instruments executed in connection with this Plan, except as otherwise provided in
this Plan.]
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                                                ARTICLE VIII
                                                DISCHARGE


       8.01.   Debtor is an individual.

        11 USC 1129(a)(15) provides: In a case in which the debtor is an individual and in which the holder of
an allowed unsecured claim objects to the confirmation of the plan—
(A) the value, as of the effective date of the plan, of the property to be distributed under the plan on account of
such claim is not less than the amount of such claim; or
(B) the value of the property to be distributed under the plan is not less than the projected disposable income
of the debtor (as defined in section 1325 (b)(2)) to be received during the 5-year period beginning on the date
that the first payment is due under the plan, or during the period for which the plan provides payments,
whichever is longer.

       In the case at bar Debtor has provided for payments not less than Projected disposable income of the
debtor during a five year period beginning with the first payment due under the plan.

        Discharge. In a case in which the debtor is an individual—
(A)unless after notice and a hearing the court orders otherwise for cause, confirmation of the plan
does not discharge any debt provided for in the plan until the court grants a discharge on completion
of all payments under the plan;
(B)at any time after the confirmation of the plan, and after notice and a hearing, the court may grant a
discharge to the debtor who has not completed payments under the plan if—
(i)the value, as of the effective date of the plan, of property actually distributed under the plan on
account of each allowed unsecured claim is not less than the amount that would have been paid on
such claim if the estate of the debtor had been liquidated under chapter 7 on such date;
(ii)modification of the plan under section 1127 is not practicable; and
(iii)subparagraph (C) permits the court to discharge; and
(C)(*)the court may grant a discharge if, after notice and a hearing held not more than 10 days before
the date of the entry of the order granting the discharge, the court finds that there is no reasonable
cause to believe that—
(i)section522(q)(1) may be applicable to the debtor; and
(ii)there is pending any proceeding in which the debtor may be found guilty of a felony of the kind
described in section 522(q)(1)(A) or liable for a debt of the kind described in section 522(q)(1)(B); and
if the requirements of subparagraph (A) or (B) are met.

         Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth herein,
upon completion all payments required under the Plan to Class 20 unsecured and deficiency
creditors. Upon the satisfaction of all payments required under the Plan to unsecured creditors, the
Reorganized Debtor shall file a Final Report of Estate and Motion for Final Decree Closing Case on
the Court approved local form.
       (a)   Notwithstanding the above, the Debtor may request that the Court close this bankruptcy
proceeding prior to the entry of an Order of Discharge, pursuant to the following procedures:
       (b)   The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to Entry of
Order of Discharge (the “Motion to Close”) after the following events have occurred: (I) payment of
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the Initial Payment (defined in the Plan) to unsecured creditors; (ii) payment of all outstanding
quarterly United States Trustee Fees as of the date of the Order approving the Motion to Temporarily
Close; and (iii) the filing of all outstanding federal income tax returns. The Motion to Close shall
certify that each of the above conditions have been met.
   (c) The Motion to Close (and Notice of Hearing thereto) shall be served to all creditors and
interested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. § 350(a), if each
of the above conditions have been met.
        (d)     During the time that this bankruptcy case is temporarily closed, the provisions of the
confirmation order shall remain in effect with respect to the
treatment of creditor claims that existed as of the bankruptcy petition date, that being 1/11/16, as long
as the Debtor continues to be in compliance
with the Plan and the Court’s Order Confirming Debtor’s Plan of Reorganization and Setting Bar Date
for Lease and Executory Contract Rejection
Claims (the “Confirmation Order”), and as long as the Debtor timely makes all of the payments to
unsecured creditors, as contemplated under the Plan.
        (e) Upon the satisfaction of all payments required under the Plan to unsecured creditors, the
Debtor may file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b). Any
Clerk of Court fees associated with filing of the motion to reopen shall be waived. The motion to
reopen shall be verified and served upon all creditors and parties in interest and shall demonstrate
that the Debtor has made all of the payments contemplated under the Plan to unsecured creditors.
        (f) Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file a Final
Report of Estate and Motion for Final Decree Closing Case on the Court-approved local form, which
shall certify that all payments required under the Plan to unsecured creditors have been made. The
Court may then grant the Debtor a discharge, pursuant to 11 U.S.C. § 1141(d)(5).




                                  Respectfully submitted, 7/11/16

                                  By: /s/ Liza Hazan
                                          The Plan Proponent
                                  By: /s/ Joel M. Aresty, Esq.
                                          Attorney for the Plan Proponent
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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov


         In re:                                           Case No: 16-10389 AJC
                                                          Chapter 11
  Liza Hazan
  Debtor.                   /


                                  DISCLOSURE STATEMENT


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  INTRODUCTION

         This is the disclosure statement (the “Disclosure Statement”) in the chapter 11 case of
  Liza Hazan (the “Debtor”). This Disclosure Statement contains information about the Debtor and
  describes the (the “Plan”) filed by the Debtor on same date. A full copy of the Plan is filed
  herewith. Your rights may be affected. You should read the Plan and this Disclosure
  Statement carefully and discuss them with your attorney. If you do not have an attorney,
  you may wish to consult one. This Plan provides classes of claims; classes of priority claims,
  classes of secured claims, and classes of unsecured claims and equity. Unsecured creditors
  holding allowed claims will receive distributions which the proponent of this Plan has valued at
  dividend of 41% to 100% of total allowed claims accrued for up to 60 months and paid every six
  months with the first payment due in month 6, while undisputed unsecured claims are paid
  100% within two years of the petition date, or by 1/11/18.

         A.     Purpose of This Document

         This Disclosure Statement describes:

                        The Debtor and significant events during the bankruptcy case,
                        How the Plan proposes to treat claims or equity interests of the type you
                hold (i.e.,what you will receive on your claim or equity interest if the plan is
                confirmed),
                        Who can vote on or object to the Plan,
                        What factors the Bankruptcy Court (the “Court”) will consider when
                deciding whether to confirm the Plan,
                        Why the Proponent believes the Plan is feasible, and how the treatment
                of your claim or equity interest under the Plan compares to what you would
                receive on your claim or equity interest in liquidation, and

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                        The effect of confirmation of the Plan.

       Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement describes the
Plan, but it is the Plan itself that will, if confirmed, establish your rights.

        B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

       The Court has not yet confirmed the Plan described in this Disclosure Statement. This section
describes the procedures pursuant to which the Plan will or will not be confirmed.

                1.      Time and Place of the Hearing to [Finally Approve This Disclosure
                        Statement and] Confirm the Plan

                2.      Deadline For Voting to Accept or Reject the Plan

          If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and return the ballot in
the enclosed envelope to Clerk Bankruptcy Court U.S. Courthouse C. Clyde Atkins United States Courthouse
301 North Miami Avenue, Room 150 Miami, FL 33128. See section IV.A. below for a discussion of voting
eligibility requirements.

        Your ballot must be received by the date indicated in the order of the court or it will not be counted.

                3.      Deadline For Objecting to the Adequacy of Disclosure and]
                        Confirmation of the Plan

       Objections to this Disclosure Statement or to the confirmation of the Plan must be filed with the Court
and served pursuant to orders served herewith.

                4.      Identity of Person to Contact for More Information

      If you want additional information about the Plan, you should contact Joel Aresty, counsel for Debtor,
305-904-1903 or email at Aresty@me.com.

        C.      Disclaimer

       The Court must approve this Disclosure Statement as containing adequate information to
enable parties affected by the Plan to make an informed judgment about its terms. The Court has not
yet determined whether the Plan meets the legal requirements for confirmation, and the fact that the
Court has approved this Disclosure Statement does not constitute an endorsement of the Plan by the
Court, or a recommendation that it be accepted.


II.     BACKGROUND

        A.      Description and History of the Debtor’s Business

        Debtor works as a business consultant specializing in identifying locations for high-end restaurants and
retailers around the world. She has always earned at least $350,000 a year.
        The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive, Fisher Island,
Florida (the “Property”) valued at $12 million.
        Additionally debtor has scheduled household furniture, dishes and china, household electronics and

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clothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.
        Debtor has the ability to rent her Fisher Island property for short periods at very high rental rates adding
up to $300,000 per year.
        Additionally the equity in Fisher Island would support a refinancing, which could also be used support
funding a plan if necessary.

       B.      Insiders of the Debtor

       Debtor is an individual and constitutes Debtor’s insiders as defined in §101(31) of the United States
Bankruptcy Code (the “Code”). For the past two years there has been no salaries paid except professional
earnings.

       C.      Management of the Debtor Before and During the Bankruptcy

       During the two years prior to the date on which the bankruptcy petition was filed, the officers, directors,
managers or other persons in control of the Debtor (collectively the “Managers”) were Debtor.
       The Managers of the Debtor during the Debtor’s chapter 11 case has been: Debtor.
       After the effective date of the order confirming the Plan, the directors, officers, and voting trustees of
the Debtor, any affiliate of the Debtor participating in a joint Plan with the Debtor, or successor of the Debtor
under the Plan (collectively the “Post Confirmation Managers”), will be: Debtor.

       D.      Events Leading to Chapter 11 Filing

       Debtor sought relief under Chapter 11 in order to end years of litigation between multiple creditors in
various disputes across the country, to bring all matters into a single forum, and to fashion a Plan of
Reorganization, which will resolve all disputes without needlessly jeopardizing the Debtor’s equity in her
various assets.
       In 2007 Debtor purchased the property located at 6913 Valencia Drive, Fisher Island, Florida (the
“Property”) now valued at $12 million for $5.1 million from NLG through its principal Chris Kosachuk. NLG
made an “equity contribution” of $1,275,000 on the closing statement but then obtained a note and mortgage for
that amount from Debtor.
        NLG sued within four months of the closing, and has pursued Debtor to this date in an attempt to get
the property back. The battles between the parties that have now spanned at least four states, multiple
courts and nearly a decade, and continue in this court, costing Debtor millions in legal fees, adversely affecting
her health and her career , and putting her in the financial position of having to seek relief in a chapter 11
reorganization.
        Presently NLG moved for stay relief in this court, but Selective Advisors Group, LLC, an affiliate of
Debtor’s husband, claims to own the claim through execution of a judgment against NLG.
        The Debtor intends to reorganize her debts and liabilities through a combination of: (a) negotiating
and/or litigating as may be necessary, resolutions with certain secured and unsecured creditors; and (b)
making distributions funded by her assets and income from her consulting work, and short term rental, or if
necessary refinancing.
        To date, the Debtor’s efforts have focused on negotiating resolutions with several creditors, litigating
with two other creditors, conferring with counsel to begin formulating the structure and terms of a proposed
Plan, and expanding her consulting income for the eventual benefit of her estate and creditors.




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E.     Significant Events During the Bankruptcy Case

       *        Date of Order for Relief under chapter 11 on 1/11/16

       *        Meeting of Creditors Chapter 11 held on 2/17/16 at 2PM
       *        Deadline for complaint re dischargeability was 4/18/16

       *        Professionals approved by the court
                Geoffrey Aaronson appointed 5/3/16 DE 85 nunc pro tunc to petition date
                Joel Aresty to be appointed counsel for Debtor in Possession

       *        Contested claim disallowance proceedings: pending; see claim treatments.

       *        Claims bar, proofs of claim due 5/17/16; For a governmental unit: 7/11/16

       *        Description of any steps taken to improve operations and profitability of the Debtors: Debtor has
                managed her affairs to enhance value. Post petition, the bankruptcy filing, has allowed Debtor to
                reorganize allowing Debtor to propose a plan for payment of creditors.

       F.       Projected Recovery of Avoidable Transfers

       The Debtor has completed her investigation with regard to prepetition transactions.

      11 USC 547(b) preferences limits the look back for an insider preference to one year. Florida statute
726.106(2) likewise has a one year limitation.

       11 USC 548 fraudulent transfers has a two year look back, and incorporates Florida Statute 726 which
has a four year look back, but only as to avoidance for intentional hinder delay or fraud, or lack of reasonable
equivalent value, which facts are not relevant to the plan in this case.


       G.       Claims Objections

       The Debtor has not completed claim objections but the current plan reflects the objections
contemplated.

       H.       Current and Historical Financial Conditions

        The identity and fair market value of the estate’s assets are listed in an Exhibit A and B to this
statement. Debtor is source of and Debtor’s experience with her assets is the basis of valuation.
        Debtor’s income based on consulting and periodic rental is not a regular monthly income which would
lend itself to making monthly payments. Paydays are further and farther between, so that payments should be
considered on between quarterly payments every three months and payments every six months.

       I. Taxes

       Debtor has tax liabilities as evidenced by priority claim in plan Class 1.



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III.     SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF CLAIMS AND EQUITY
         INTERESTS

         A.     What is the Purpose of the Plan of Reorganization?

        As required by the Code, the Plan places claims and equity interests in various classes and describes
the treatment each class will receive. The Plan also states whether each class of claims or equity interests is
impaired or unimpaired. If the Plan is confirmed, your recovery will be limited to the amount provided by the
Plan.

         B.     Unclassified Claims

       Certain types of claims are automatically entitled to specific treatment under the Code. They are not
considered impaired, and holders of such claims do not vote on the Plan. They may, however, object if, in their
view, their treatment under the Plan does not comply with that required by the Code. As such, the Plan
Proponent has not placed the following claims in any class:

                1.     Administrative Expenses

        Administrative expenses are costs or expenses of administering the Debtor’s chapter 11 case which
are allowed under §507(a)(2) of the Code. Administrative expenses also include the value of any goods sold to
the Debtor in the ordinary course of business and received within 20 days before the date of the bankruptcy
petition. The Code requires that all administrative expenses be paid on the effective date of the Plan, unless a
particular claimant agrees to a different treatment.

                2.     Priority Tax Claims

       Priority tax claims are unsecured income, employment, and other taxes described by §507(a)(8) of the
Code. Unless the holder of such a §507(a)(8) priority tax claim agrees otherwise, it must receive the present
value of such claim, in regular installments paid over a period not exceeding 5 years from the order of relief.

         See class 1 below

         C.     Classes of Claims and Equity Interests

       The following are the classes set forth in the Plan, and the proposed treatment that they will receive
under the Plan:

         Classes of Priority Unsecured Claims

        Certain priority claims that are referred to in §§507(a)(1), (4), (5), (6), and (7) of the Code are required
to be placed in classes. The Code requires that each holder of such a claim receive cash on the effective date
of the Plan equal to the allowed amount of such claim. However, a class of holders of such claims may vote to
accept different treatment.

      The following chart lists all classes containing claims under §§507(a)(1), (4), (5), (6), and (a)(7) of the
Code and their proposed treatment under the Plan:

         Classes of Secured Claims

         Allowed Secured Claims are claims secured by property of the Debtor’s bankruptcy estate (or that are

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subject to setoff) to the extent allowed as secured claims under §506 of the Code. If the value of the collateral
or setoffs securing the creditor’s claim is less than the amount of the creditor’s allowed claim, the deficiency will
[be classified as a general unsecured claim].

       The following chart lists all classes containing Debtor’s secured prepetition claims and their proposed
treatment under the Plan:

       General unsecured claims are not secured by property of the estate and are not entitled to priority
under §507(a) of the Code.

       The following chart identifies the Plan’s proposed treatment of Class contains general unsecured claims
against the Debtor:

        Class[es] of Equity Interest Holders

       Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in the Debtor.
With respect to an individual who is a debtor, the Debtor is the equity interest holder.




 Admin                Description                         Treatment
                  Geoffrey Aaronson              paid as awarded or agreed
                      Joel Aresty                paid as awarded or agreed
                      US Trustee                 paid in full at confirmation



                                                 Priority Claims

 Class #              Description                  Impairment                 Treatment
    1                      IRS                         yes          $49,663 including disputed
                         claim 3                                    $25,000 for 2015 return on
                                                                    extension – undisputed or
                                                                    allowed claim will be paid
                                                                    within five years of the
                                                                    petition date. Payments
                                                                    every 3 months to include
                                                                    interest on any unpaid
                                                                    claim amounts after the
                                                                    effective date of the plan at
                                                                    3%




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                                       Secured Claims
                                   Valencia Property

3           Chase Bank           no           yes       First Mortgage - Original note for
                                                        $3,825,000 signed 3/07 Washington
                                                        Mutual Bank. Chase Bank recently filed
                                                        an Assignment of mortgage on 5/26/16 ;
                                                        Debtor to continue state court litigation
                                                        regarding default, standing issues. If
                                                        State Court enters a final order finding
                                                        and determining the validity, amount
                                                        and enforceability of the mortgage and
                                                        the assignment thereof, Debtor shall
                                                        commence making payments of
                                                        principal and interest at note rate 2%
                                                        per annum amortization to original
                                                        maturity date commencing 30 days after
                                                        entry of the final order.

4     Selective Advisors Group   yes          yes       Selective Advisors Group is the rightful
                                                        assignee of the second mortgage holder
                                                        NLG’s promissory note, mortgage and
                                                        Judgment against Debtor in the amount
                                                        of $1,618,068.00 plus interest at 11%
                                                        per annum; recorded Satisfaction of
                                                        Mortgage and judgment against Debtor
                                                        and her property.




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  5        6913 Valencia LLC       yes         yes      Third Secured Mortgage in the
                                                        amount of $2,000.000.00.

                                                        The Debtor does not contest the validity
                                                        or extent of claim. Notwithstanding, the
                                                        Secured Creditor shall record a
                                                        satisfaction of their lien upon Plan
                                                        Confirmation and receive an unsecured
                                                        claim.




  6         Valencia Estates       no          yes      Claim of $195,072.14. Judge in state
          Community Assn, Inc                           court ordered that $128,677.14 was due,
                claim 10                                plus attorneys fees to be determined.
                                                        The Debtor disputes the amount of the
                                                        Claim, The Debtor will be filing an
                                                        appeal of the state court order by July
                                                        16, 2016. Debtor has substantial Claims
                                                        against Valencia Estates Homeowners
                                                        Association Inc which might offset all
                                                        their Claims.
                                                        Upon resolution of All State Court
                                                        Litigation Debtor will pay in the Plan at
                                                        4.75 judgment interest over 5 years.
Class #       Description        Insider?   Impaired                    treatment
                                  (Yes or
                                    No)

  7          Fisher Island         no          yes      $148,943.34 - Disputed "No Payment
          Community Ass'n, Inc                          thru Plan Fisher Island Community
                                                        Association, Inc. did not file a proof of
                                                        claim.
                                                        The Debtor disputes the amount of the
                                                        Claim,
                                                        No payment through Plan.



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     8      Miami-Dade Water and          no         yes        Claim 7 $1502.54 paid on the Effective
                   Sewer                                                    Date of Plan
                   claim 7
     9           IRS claim 3              no         yes       393,985.17 - Secured claim Shall be paid
                                                               over 60 months with interest Payments
                                                               every 3 months to include interest on any
                                                               unpaid claim amounts after the effective
                                                               date of the plan at 3%

                                          Other Disputed Claims

Class #          Description          Insider      Impaired                      Treatment

     10     Real Time Resolutions,        no         yes              claim 8 $322,846.72 is disputed
                     Inc                                               statute of limitations has run
                   claim 8                                     The Debtor disputes the amount of the Claim,
                                                               disputes the Debt and this claim is unsecured.
                                                               The Default occurred on June 2007,
                                                               The owner of this debt has accelerated
                                                               the loan in 2007, therefore this Claim
                                                               is barred by the Statute of Limitations.


Class #    Description               Insider       Impaired Treatment

11         Board of Managers         no            yes         The Debtor disputes the Claim.
           Spencer Condominium                                 The parties in 2015 reached a confidential
           claim 14                                            settlement in New York that must be
                                                               enforced.

                                                               Debtor will agree to stay relief to enforce
                                                               the settlement in State Court in New York.




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                                                    Vehicle
                                         2007 Mercedes-Benz S550



 Class #          Description            Insider     Impaired                       Treatment

   12      Southeast Financial LLC          no          yes      Stipulation DE 98 approved DE 101
                                                                 vehicle owned by HTMG guaranteed by
                                                                 debtor
                                                                 secured claim allowed $17,000 value paid
                                                                 5.25% for 48 months payments $393 begin
                                                                 August 1, 2016

                                       Undisputed Unsecured Claims
           Allowed Undisputed Unsecured Claims will be paid within two years of petition date
               1/11/18 payments beginning month 6 after confirmation and every 6 months

 Class #          Description            Insider?    Impaired                     treatment
                                          (Yes or
                                            No)
   13               IRS claim 3             no              x                          1085
   13         American InfoSource           no              x                          1130
                 T Mobile claim 2
    13        American InfoSource           no              x                           461
                 Direct TV claim 9
    13             FPL claim 11             no              x                        2906.93
    13        JMB Urban 900 Dev.            no             X                         275,000
                      claim 4*
    13             Mount Sinai              no              x                          3,240
    13             Mount Sinai              no              x                         295.91
    13        HSBC Bank USA NA              no              x                        1070.66
    13          Sterling Emerg Svc          no              x                        2445.30
    13         Bank of America NA           no              x                          3301
    13        Wells Fargo claim 12          no              x                         323.24
    13        6913 Valencia LLC**           yes            X                        2,000,000
                        total                                                     2,291,259.04
*claim 4 subject of adversary case 16-01188 AJC settlement pending at 41% of claim
convenience class of 100% for all other undisputed unsecured creditors
** insider claim will be subordinated and not paid until all other allowed claims
 but reserves right to vote for the plan




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                                   Disputed Unsecured Claims
                                not paid until and unless allowed
                          and then paid within 5 years after confirmation


14                Cross & Simon            no        yes     $11,023.83 Legal bill
                     claim 1                                 Legal work for Corporation
                                                             other than the Debtor.
                                                             Debtor is disputing this claim.



     15       Real Time Resolutions                          $188,416.67
                     claim 5                                 disputed
                                                             case 08-47664-CA01 dismissed
                                                             Complaint filed in 2008.
                                                             Case dismissed in 2009.
                                                             Claim barred by Statute of Limitations.




     16          S&S Collections                             $21,242 Half of Bill is invoiced against
                 Simon & Sigalos                             6913 Valencia LLC. Attorneys bill
                                                             disputed. Attorney failed to appear at
                    claim 13                                 hearing resulting in entry of default
                                                             judgment in NLG case 4/08.
                                                             Debtor has very substantial Claims
                                                             against Michael Simon Simon and his
                                                             firm Simon Sigalos P.A.


     17        Newman Ferrara LLP                            Disputed Proof of Claims filed after Bar
                    claim 15                                 date. $24,818.44 not allowed.




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                             Unsecured Scheduled Disputed and No Claim Filed
                                          Therefore Disallowed


Allied Collection                                  318
ATT Mobility                                       3919
First National Collection                          246.08
Focus Mgt                                          772
Marzec Law Firm                                    0
Mount Sinai Medical                                31414.15
Ray Garcia PA                                      7026.15
Verizon                                            1758
US Bank NA                                         0
Total                                              45453.38


                                                      Equity

                    Description                 Impairment          Treatment
 Class #
                 Equity Individual            no
                "Deeded  in 8/2011. interest
                                     Also, there                 retained
                                                 is a Settlement Agreement. Dispute."
 18                 holder




         D.    Means of Implementing the Plan

               1.    Source of Payments

        Debtor works as a business consultant specializing in identifying locations for high-end restaurants and
retailers around the world. She has always earned at least $350,000 a year.
        The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive, Fisher Island,
Florida (the “Property”) valued at $12 million.
        Additionally debtor has scheduled household furniture, dishes and china, household electronics and
clothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.
        Debtor has the ability to rent her Fisher Island property for short periods at very high rental rates adding
up to $300,000 per year.
        Additionally the equity in Fisher Island would support a refinancing, which could also be used support
funding a plan if necessary


2.       Post-confirmation Management

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The Post-Confirmation Managers of the Debtor, and their compensation, shall be as follows:

 Name                Affiliations         Insider (yes or     Position            Compensation
                                          no)?

 Liza Hazan          Debtor               yes                 Debtor              n/a

        E.     Risk Factors

        The proposed Plan has the following risks:

       Several risk factors exist that might affect the Debtor’s ability to make payments and other distributions
required under the Plan: Significant unforeseen changes or occurrences, such as further orders of Courts in
pending contested matters, including the NLG matter.

        F.     Executory Contracts and Unexpired Leases

         The Plan, in Article 6, lists all executory contracts and unexpired leases that the Debtor will assume
under the Plan. There are none. Assumption means that the Debtor has elected to continue to perform the
obligations under such contracts and unexpired leases, and to cure defaults of the type that must be cured
under the Code, if any. Article also lists how the Debtor will cure and compensate the other party to such
contract or lease for any such defaults.

        If you object to the assumption of your unexpired lease or executory contract, the proposed cure of any
defaults, or the adequacy of assurance of performance, you must file and serve your objection to the Plan
within the deadline for objecting to the confirmation of the Plan, unless the Court has set an earlier time.

       All executory contracts and unexpired leases that are not listed in Article 6 will be rejected under the
Plan. Consult your adviser or attorney for more specific information about particular contracts or leases.

        If you object to the rejection of your contract or lease, you must file and serve your objection to the Plan
within the deadline for objecting to the confirmation of the Plan.

        The Deadline for Filing a Proof of Claim Based on a Claim Arising from the Rejection of a Lease
or Contract is no later than thirty (30) days after the date of the order confirming this Plan. Any claim based on
the rejection of a contract or lease will be barred if the proof of claim is not timely filed, unless the Court orders
otherwise.


G.      Tax Consequences of Plan

        Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their Tax
Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

A summary description of certain United States (“U.S.”) federal income tax consequences of the Plan is provided
below. The description of tax consequences below is for informational purposes only and, due to lack of definitive
judicial or administrative authority or interpretation, substantial uncertainties exist with respect to various U.S.
federal income tax consequences of the Plan as discussed herein. Only the potential material U.S. federal income tax
consequences of the Plan to the Debtor and to a hypothetical investor typical of the holders of Claims and Interests

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who are entitled to vote to confirm or reject the Plan are described below. No opinion of counsel has been sought or
obtained with respect to any tax consequences of the Plan, and no tax opinion is being given in this Disclosure
Statement. No rulings or determinations of the Internal Revenue Service (the “IRS”) or any other tax authorities have
been obtained or sought with respect to any tax consequences of the Plan, and the discussion below is not binding
upon the IRS or such other authorities. No representations are being made regarding the particular tax consequences
of the confirmation and consummation of the Plan to the Debtor or to any holder of Claims in Impaired Classes or
Class 4 Equity Interests. No assurance can be given that the IRS would not assert, or that a court would not sustain, a
different position from any discussed herein.
The discussion of the U.S. federal income tax consequences below is based on the Internal Revenue Code of 1986,
as amended (the “Tax Code”), Treasury Regulations promulgated and proposed thereunder, judicial decisions, and
administrative rulings and pronouncements of the IRS and other applicable authorities, all as in effect on the date
hereof. Legislative, judicial or administrative changes or interpretations enacted or promulgated in the future could
alter or modify the analyses and conclusions set forth below. It cannot be predicted at this time whether any tax
legislation will be enacted or, if enacted, whether any tax law changes contained therein would affect the tax
consequences to the holders of Claims. Any such changes or interpretations may be retroactive and could
significantly affect the U.S. federal income tax consequences discussed below.

THIS DISCUSSION DOES NOT ADDRESS FOREIGN, STATE OR LOCAL TAX CONSEQUENCES OF
THE PLAN, NOR DOES IT PURPORT TO ADDRESS THE U.S. FEDERAL INCOME TAX
CONSEQUENCES OF THE PLAN TO SPECIAL CLASSES OF TAXPAYERS (SUCH AS FOREIGN
ENTITIES, NONRESIDENT ALIEN INDIVIDUALS, PASS-THROUGH ENTITIES SUCH AS
PARTNERSHIPS AND HOLDERS THROUGH SUCH PASS-THROUGH ENTITIES, S CORPORATIONS,
MUTUAL FUNDS, INSURANCE COMPANIES, FINANCIAL INSTITUTIONS, SMALL BUSINESS
INVESTMENT COMPANIES, REGULATED INVESTMENT COMPANIES, CERTAIN SECURITES
TRADERS, BROKER-DEALERS AND TAX-EXEMPT ORGANIZATIONS). FURTHERMORE, ESTATE
AND GIFT TAX ISSUES ARE NOT ADDRESSED HEREIN AND TAX CONSEQUENCES RELATING TO
THE ALTERNATIVE MINIMUM TAX ARE GENERALLY NOT DISCUSSED HEREIN.

NO REPRESENTATIONS ARE MADE REGARDING THE PARTICULAR TAX CONSEQUENCES OF
THE PLAN TO ANY HOLDER OF CLAIMS. EACH HOLDER OF A CLAIM IS STRONGLY URGED TO
CONSULT ITS OWN TAX ADVISOR REGARDING THE U.S. FEDERAL, STATE, LOCAL AND
FOREIGN TAX CONSEQUENCES OF THE TRANSACTIONS DESCRIBED HEREIN AND IN THE
PLAN.


IV.      CONFIRMATION REQUIREMENTS AND PROCEDURES

        To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the Code. These
include the requirements that: the Plan must be proposed in good faith; at least one impaired class of claims
must accept the plan, without counting votes of insiders; the Plan must distribute to each creditor and equity
interest holder at least as much as the creditor or equity interest holder would receive in a chapter 7 liquidation
case, unless the creditor or equity interest holder votes to accept the Plan; and the Plan must be feasible.
These requirements are not the only requirements listed in §1129, and they are not the only requirements for
confirmation.

        11 USC 1129(a)(15) provides: In a case in which the debtor is an individual and in which the holder of
an allowed unsecured claim objects to the confirmation of the plan—
(A) the value, as of the effective date of the plan, of the property to be distributed under the plan on account of
such claim is not less than the amount of such claim; or

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(B) the value of the property to be distributed under the plan is not less than the projected disposable income
of the debtor (as defined in section 1325 (b)(2)) to be received during the 5-year period beginning on the date
that the first payment is due under the plan, or during the period for which the plan provides payments,
whichever is longer.

       In the case at bar, Debtor has provided for payments not less than Projected disposable income of the
debtor during a five year period beginning with the first payment due under the plan.


A.      Who May Vote or Object

       Any party in interest may object to the confirmation of the Plan if the party believes that the
requirements for confirmation are not met.

        Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A creditor or
equity interest holder has a right to vote for or against the Plan only if that creditor or equity interest holder has
a claim or equity interest that is both (1) allowed or allowed for voting purposes and (2) impaired.

        In this case, the Plan Proponent believes that classes are impaired and that holders of claims in each of
these classes are therefore entitled to vote to accept or reject the Plan. The Plan Proponent believes that
classes are unimpaired and that holders of claims in each of these classes, therefore, do not have the right to
vote to accept or reject the Plan.


               1.   What Is an Allowed Claim or an Allowed Equity Interest?

         Only a creditor or equity interest holder with an allowed claim or an allowed equity interest has the right
to vote on the Plan. Generally, a claim or equity interest is allowed if either (1) the Debtor has scheduled the
claim on the Debtor’s schedules, unless the claim has been scheduled as disputed, contingent, or unliquidated,
or (2) the creditor has filed a proof of claim or equity interest, unless an objection has been filed to such proof
of claim or equity interest. When a claim or equity interest is not allowed, the creditor or equity interest holder
holding the claim or equity interest cannot vote unless the Court, after notice and hearing, either overrules the
objection or allows the claim or equity interest for voting purposes pursuant to Rule 3018(a) of the Federal
Rules of Bankruptcy Procedure.

      The deadline for filing a proof of claim in this case was 5/17/16 for claims and 7/16/16 for
government units.

               2.   What Is an Impaired Claim or Impaired Equity Interest?

        As noted above, the holder of an allowed claim or equity interest has the right to vote only if it is in a
class that is impaired under the Plan. As provided in §1124 of the Code, a class is considered impaired if the
Plan alters the legal, equitable, or contractual rights of the members of that class.

               3.   Who is Not Entitled to Vote

        The holders of the following five types of claims and equity interests are not entitled to vote:

        •      holders of claims and equity interests that have been disallowed by an order of the Court;
        •      holders of other claims or equity interests that are not “allowed claims” or “allowed equity
               interests” (as discussed above), unless they have been “allowed” for voting purposes.

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       •       holders of claims or equity interests in unimpaired classes;
       •       holders of claims entitled to priority pursuant to §§507(a)(2), (a)(3), and (a)(8) of the Code; and
       •       holders of claims or equity interests in classes that do not receive or retain any value under the
               Plan;
       •       administrative expenses.

Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the Confirmation of the
Plan [and to the Adequacy of the Disclosure Statement].

               4.   Who Can Vote in More Than One Class

       A creditor whose claim has been allowed in part as a secured claim and in part as an unsecured claim,
or who otherwise hold claims in multiple classes, is entitled to accept or reject a Plan in each capacity, and
should cast one ballot for each claim.

       B.      Votes Necessary to Confirm the Plan

        If impaired classes exist, the Court cannot confirm the Plan unless (1) at least one impaired class of
creditors has accepted the Plan without counting the votes of any insiders within that class, and (2) all impaired
classes have voted to accept the Plan, unless the Plan is eligible to be confirmed by “cram down” on non-
accepting classes, as discussed later in Section B.2.

A class of claims accepts the Plan if both of the following occur: (1) the holders of more than one-half (1/2) of
the allowed claims in the class, who vote, cast their votes to accept the Plan, and (2) the holders of at least
two-thirds (2/3) in dollar amount of the allowed claims in the class, who vote, cast their votes to accept the
Plan.

       A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in amount of the
allowed equity interests in the class, who vote, cast their votes to accept the Plan.

               2.   Treatment of Nonaccepting Classes

       Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm the Plan if the
nonaccepting classes are treated in the manner prescribed by §1129(b) of the Code. A plan that binds
nonaccepting classes is commonly referred to as a “cram down” plan. The Code allows the Plan to bind
nonaccepting classes of claims or equity interests if it meets all the requirements for consensual confirmation
except the voting requirements of §1129(a)(8) of the Code, does not “discriminate unfairly,” and is “fair and
equitable” toward each impaired class that has not voted to accept the Plan.

You should consult your own attorney if a “cramdown”confirmation will affect your claim or equity
interest, as the variations on this general rule are numerous and complex.

       C.      Liquidation Analysis

       To confirm the Plan, the Court must find that all creditors and equity interest holders who do not accept
the Plan will receive at least as much under the Plan as such claim and equity interest holders would receive in
a chapter 7 liquidation. A liquidation analysis is attached to this Disclosure Statement as exhibit B.

       D.      Feasibility

       The Court must find that confirmation of the Plan is not likely to be followed by the liquidation, or the

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need for further financial reorganization, of the Debtor or any successor to the Debtor, unless such liquidation
or reorganization is proposed in the Plan.

               1.   Ability to Initially Fund Plan

        The Plan Proponent believes that the Debtor will have enough cash on hand on the effective date of the
Plan to pay all the claims and expenses that are entitled to be paid on that date. Tables showing the amount of
cash on hand on the effective date of the Plan, and the sources of that cash are attached to this disclosure
statement as Exhibits C and D.

              2.    Ability to Make Future Plan Payments And Operate Without Further
Reorganization

       The Plan Proponent must also show that it will have enough cash over the life of the Plan to make the
required Plan payments.
       The Plan Proponent has provided projected financial information. Those projections are listed in Exhibit

      You Should Consult with Your Accountant or other Financial Advisor If You Have Any
Questions Pertaining to These Projections.

V.      EFFECT OF CONFIRMATION OF PLAN

        A.     DISCHARGE OF DEBTOR

        Discharge. In a case in which the debtor is an individual—
(A)unless after notice and a hearing the court orders otherwise for cause, confirmation of the plan
does not discharge any debt provided for in the plan until the court grants a discharge on completion
of all payments under the plan;
(B)at any time after the confirmation of the plan, and after notice and a hearing, the court may grant a
discharge to the debtor who has not completed payments under the plan if—
(i)the value, as of the effective date of the plan, of property actually distributed under the plan on
account of each allowed unsecured claim is not less than the amount that would have been paid on
such claim if the estate of the debtor had been liquidated under chapter 7 on such date;
(ii)modification of the plan under section 1127 is not practicable; and
(iii)subparagraph (C) permits the court to discharge; and
(C)(*)the court may grant a discharge if, after notice and a hearing held not more than 10 days before
the date of the entry of the order granting the discharge, the court finds that there is no reasonable
cause to believe that—
(i)section522(q)(1) may be applicable to the debtor; and
(ii)there is pending any proceeding in which the debtor may be found guilty of a felony of the kind
described in section 522(q)(1)(A) or liable for a debt of the kind described in section 522(q)(1)(B); and
if the requirements of subparagraph (A) or (B) are met.

          Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth herein,
upon completion all payments required under the Plan to unsecured and priority creditors. Upon the
satisfaction of all payments required under the Plan to unsecured and priority creditors, the
Reorganized Debtor shall file a Final Report of Estate and Motion for Final Decree Closing Case on

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the Court approved local form.
       (a)      Notwithstanding the above, the Debtor may request that the Court close this bankruptcy
proceeding prior to the entry of an Order of Discharge, pursuant to the following procedures:
       (b)      The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to Entry of
Order of Discharge (the “Motion to Close”) after the following events have occurred: (I) payment of
the Initial Payment (defined in the Plan) to unsecured and priority creditors; (ii) payment of all
outstanding quarterly United States Trustee Fees as of the date of the Order approving the Motion to
Temporarily Close; and (iii) the filing of all outstanding federal income tax returns. The Motion to
Close shall certify that each of the above conditions have been met.
   (c) The Motion to Close (and Notice of Hearing thereto) shall be served to all creditors and
interested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. § 350(a), if each
of the above conditions have been met.
       (d)      During the time that this bankruptcy case is temporarily closed, the provisions of the
confirmation order shall remain in effect with respect to the
treatment of creditor claims that existed as of the bankruptcy petition date, , as long as the Debtor
continues to be in compliance with the Plan and the Court’s Order Confirming Debtor’s Plan of
Reorganization (the “Confirmation Order”), and as long as the Debtor timely makes all of the
payments to unsecured and priority creditors, as contemplated under the Plan.
       (e) Upon the satisfaction of all payments required under the Plan to creditors, the Debtor
may file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b). Any Clerk of
Court fees associated with filing of the motion to reopen shall be waived. The motion to reopen shall
be verified and served upon all creditors and parties in interest and shall demonstrate that the Debtor
has made all of the payments contemplated under the Plan to creditors.
       (f) Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file a Final
Report of Estate and Motion for Final Decree Closing Case on the Court-approved local form, which
shall certify that all payments required under the Plan to creditors have been made. The Court may
then grant the Debtor a discharge, pursuant to 11 U.S.C. § 1141(d)(5).


       B.     Modification of Plan

       The Plan Proponent may modify the Plan at any time before confirmation of the Plan. However, the
Court may require a new disclosure statement and/or revoting on the Plan.

       The Plan Proponent may also seek to modify the Plan at any time after confirmation only if (1) the Plan
has not been substantially consummated and (2) the Court authorizes the proposed modifications after notice
and a hearing.




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       C.      Final Decree

       Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of
Bankruptcy Procedure, the Plan Proponent, or such other party as the Court shall designate in the Plan
Confirmation Order, shall file a motion with the Court to obtain a final decree to close the case. Alternatively,
the Court may enter such a final decree on its own motion.

7/11/16
                                      Respectfully submitted,

                                      By: /s/ Liza Hazan
                                              The Plan Proponent
                                      By: /s/ Joel M. Aresty, Esq.
                                              Attorney for the Plan Proponent




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      EXHIBITS
      Exhibit A Historical earnings and assets
      Exhibit B Liquidation Analysis
      Exhibit C Cash on hand on the effective date of the Plan
      Exhibit D Projections of Cash Flow and Earnings for Post-Confirmation Period Exhibit
      Exhibit E Ballot

                                               Exhibit A

                                   Historical Earnings and Assets

             Debtor’s educational background includes Academy Of Paris Brevet De
      Technicienne Superieure Informatique De Gestion 07/03/1992 Academy De Bordeaux
      06/28/1989 Baccalaureat De L'enseignement Du Second Degre Mathematiques &
      Sciences De La Nature, and University Of Montreal Law School 1995-1996 .
             Debtor works as a business consultant specializing in identifying locations for
      high-end restaurants and retailers around the world. She has always earned at least
      $400,000 a year.
             The Debtor’s primary asset is her homestead residence located at 6913 Valencia
      Drive, Fisher Island, Florida (the “Property”) valued at $12 million.
             Additionally debtor has scheduled household furniture, dishes and china,
      household electronics and clothing, shoes and accessories and jewelry, fixtures and art
      valued at $327,500.
             Debtor has the ability to rent her Fisher Island property at very high rental rates
      adding up to $420,000 per year.
             Additionally the equity in the Fisher Island homestead would support a
      refinancing, which could also be used support funding a plan if necessary.
             Debtor’s income based on consulting and is not a regular monthly income which
      would lend itself to making monthly payments. Paydays are further between, so that
      payments should be considered on between quarterly payments every three months and
      payments every six months.
             Debtor sought relief under Chapter 11 in order to end years of litigation between
      multiple creditors in various disputes across the country, to bring all matters into a single
      forum, and to fashion a Plan of Reorganization which will resolve all disputes without
      needlessly sacrificing the Debtor’s equity in her various assets.
             The Debtor intends to reorganize her debts and liabilities through a combination
      of: (a) negotiating and/or litigating as may be necessary, resolutions with certain secured
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      and unsecured creditors; and (b) making distributions funded by her assets and income
      from her consulting work and short term rental, or if necessary refinancing.
               To date, the Debtor’s efforts have focused on negotiating resolutions with several
      creditors, litigating with two other creditors, conferring with counsel to begin formulating
      the structure and terms of a proposed Plan, and expanding her consulting and rental
      income for the eventual benefit of her estate and creditors.
               Debtor is concentrating on maximizing both her consulting income and income
      from the future rental of her homestead, and she has never made less than $400,000
      from consulting.
               Exhibit D below is five year projections showing the feasibility of making the
      payments required under the plan if rental income is maximized along with consulting
      income, from projected net income of approximately $350,000 per year to $420,000.
               Receipts of consulting income are not regular monthly payments, which is why
      payments range from quarterly to every six months, or even less frequently, in the plan.



                                                  Exhibit B
                                             Liquidation Analysis


                      Plan Proponent’s Estimated Liquidation Value of Assets

      Assets

      a. Cash on hand      at the effective date                            $ 120,000

      b. Accounts receivable                                                $ 400,000

      c. Inventory     (personal property)                                  $ 327,000

      d. Office furniture & equipment (its included in personal property)

      e. Machinery & equipment       (its included in personal property)

      f. Automobiles                           S550                         $17,000

      g. Building & Land                               12,500 sf

      LAND ON FISHER ISLAND                                                 $ 12,000,000

      h. Customer list               none                                   $

      i. Investment property (such as stocks, bonds or other n/a            $
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      financial assets)      none

      j. Lawsuits or other claims against third-parties

      indeterminate claims against Chris Kosachuk

      and NLG

      claim against attorney Michael Simon and his firm Simon Sigalos

      k. Other intangibles (such as avoiding powers actions)            $0.00



              Total Assets at Liquidation Value                          $12,864,000

      Less:

      Secured creditors recoveries

      SE Financial                                                      ($17,000)

      Miami-Dade Tax                                                    ($57,649)

      Chase Bank                                                        ($3,825,000)

      Selective Advisors                                                ($0)

      6913 Valencia LLC                                                 ($2,000,000)

      Valencia Estates                                                  ($128,677.14)

      Fisher Island Com. Assoc.                                         ($148,944)

      IRS                                                               ($393,985)

      Less:

      Ch 7 liquidation expenses                                         ($400,000)

      real estate broker                                                ($600,000)

      Less:

      Chapter 11 administrative expenses -          Geoffrey Aaronson   ($150,000) disputed

                                                    Joel Aresty         ($50,000)
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      Less:

      Priority claims, excluding administrative expense claims   ($50,000)

      [Less:

      Debtor’s claimed exemptions]

      ($12,000,000) exemption not included here

      homestead exempt 6913 Valencia drive Miami fl 33109

      (1) Balance for unsecured claims

      (2) Total dollar amount of unsecured claims                ($2,600,000)*
      *from claims docket

      Total Exempt Secured, unsecured and admin expense          ($9,871,255.14)



      Sub total                                                  $2,992,744.86

      less homestead exemption – secured claims

      $12,000,000   - $1,533,152 = $5,445,745

      LIQUIDATION VALUE TOTAL                                    ($2,453,000.14)

      Plan provides 41% to 100% to allowed claims
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                                              Exhibit C
                             Cash on hand on the effective date of the Plan

      Cash on hand on effective date of the Plan:                                 $120,000

      Less --

                Amount of administrative expenses payable on effective date of           -
                the Plan TBD

                Amount of statutory costs and charges UST TBD                                      -

                Plan Payments due on effective date of the Plan: TBD

                Balance after paying these amounts...............                 $TBD

      The sources of the cash Debtor will have on hand by the effective date of the Plan are
      estimated
      as follows:

                $           Cash in Debtor’s bank account now
                            $20,178

                +           Additional cash Debtor will accumulate from
                            net earnings between now and effective date of the Plan [state the
                            basis for such projections]                                 $100,000
      $
                            (Basis for projection is anticipated income)   see exhibit D below

                +           Borrowing [separately state terms of repayment]

                +           Capital Contributions              w

                +           Other

                $           Total
                            $120,000
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                                      Exhibit D


               PROJECTED DISPOSABLE INCOME – FIVE
                 YEAR PLAN - MONTHLY CASH FLOW
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ELIZABETH	  HAZAN
NOVEMBER	  15,	  2016	  -­‐	  0CTOBER	  14,	  2017
                                                                      November      December    January    February    March     April      May       June      July      August     September   October
                                                           TOTAL        2016          2016        2017       2017      2017      2017       2017      2017      2017       2017         2017      2017

RECEIPTS
RENTAL	  INCOME	  -­‐	  FISHER	  ISLAND                 420,000      35,000        35,000     35,000      35,000    35,000    35,000     35,000    35,000    35,000     35,000      35,000     35,000
BUSINESS	  INCOME                                          348,000      29,000        29,000     29,000      29,000    29,000    29,000     29,000    29,000    29,000     29,000      29,000     29,000
OTHER                                                             0
TOTAL	                                                     768,000      64,000        64,000     64,000      64,000    64,000    64,000     64,000    64,000    64,000     64,000      64,000     64,000

DISBURSMENTS
HOUSEHOLD,	  FOOD	  &	  CLOTHING                          36,000       3,000         3,000      3,000       3,000     3,000     3,000      3,000     3,000     3,000      3,000       3,000      3,000
HOUSEHOLD,	  REPAIRS	  &	  MAINTENANCE                     3,600         300           300        300         300       300       300        300       300       300        300         300        300
INSURANCE	  (CAR)                                            3,300         275           275        275         275       275       275        275       275       275        275         275        275
TRAVEL	  AND	  ENTERTAINMENT                               18,000       1,500         1,500      1,500       1,500     1,500     1,500      1,500     1,500     1,500      1,500       1,500      1,500
VEHICLES	  EXPENSES                                          6,000         500           500        500         500       500       500        500       500       500        500         500        500
UTILITIES	  (ELECTRICITY	  AND	  WATER)                    8,400         700           700        700         700       700       700        700       700       700        700         700        700
RENTAL	  OF	  NEW	  HOUSING                               60,000       5,000         5,000      5,000       5,000     5,000     5,000      5,000     5,000     5,000      5,000       5,000      5,000
VALENCIA	  ESTATES	  COMMUNITY	  ASS                      13,452       1,121         1,121      1,121       1,121     1,121     1,121      1,121     1,121     1,121      1,121       1,121      1,121
FISHER	  ISLAND	  COMMUNITY	  ASS                         26,180           0             0      6,545           0               6,545          0         0     6,545          0           0      6,545
INSURANCE	  (FISHER	  ISLAND)                              17,093           0             0          0           0    17,093         0          0         0         0          0           0          0
TAXES	  (FISHER	  ISLAND)                                  57,000      57,000             0          0           0         0         0          0         0         0          0           0          0
INCOME	  TAXES	  ESTIMATED                                 30,540           0             0          0           0         0         0          0         0         0          0           0     30,540
TOTAL                                                       279,565      69,396        12,396     18,941      12,396    29,489    18,941     12,396    12,396    18,941     12,396      12,396     49,481

NET	  RESULT                                               488,435      -­‐5,396      51,604     45,059      51,604    34,511    45,059     51,604    51,604    45,059     51,604      51,604     14,519

SCHEDULED	  PAYMENTS	  OF	  CREDITORS

LIST                                                        111,930      11,786         9,104      9,104       9,104     9,104      9,104     9,104     9,104     9,104      9,104       9,104      9,104

NET                                                         376,505     -­‐17,182      42,500     35,955      42,500    25,407    35,955     42,500    42,500    35,955     42,500      42,500      5,415

CUMULATIVE	  NET	  AMOUNT                                 376,505     -­‐17,182      25,318     61,273     103,773   129,180   165,135    207,635   250,135   286,090    328,590     371,090    376,505
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                                                                                November     December     January       February       March       April       May        June       July       August       September    October
                                                                    TOTAL         2016         2016         2017          2017         2017        2017        2017       2017       2017        2017           2017       2017
LIST	  OF	  PAYMENTS	  TO	  CREDITORS
SECURISED
IRS	  -­‐	  393,985.17	  (60	  MONTHS)	  -­‐	  CLASS	  9        78,792        6,566        6,566       6,566          6,566        6,566       6,566       6,566      6,566      6,566       6,566         6,566       6,566
IRS	  	  24	  663	  CLASS	  1	  -­‐	  YEAR	  2014                   0
MIAMI-­‐DADE	  WATER	  AND	  SEWER	  1502.54                        1,503        1,503
VALENCIA	  ESTATE	  COMMUNITY	  128,677	  -­‐	  60	  M           25,740        2,145        2,145       2,145          2,145        2,145       2,145       2,145      2,145      2,145       2,145         2,145       2,145
SOUTH	  EAST	  FINANCIAL	  -­‐	  CAR	  48	  MONTHS                5,895        1,572          393         393            393          393         393         393        393        393         393           393         393


UNSECURED
JBM	  URBAN	  900	  	  	  275,000.00	  -­‐	  JAN	  2018             0           0            0              0              0           0           0          0          0          0            0           0              0
LIST	  OF	  UNSECURED	  CLAIMS	  16,	  259-­‐	  JAN	  2018           0           0            0              0              0           0           0          0          0          0            0           0              0


TOTAL                                                                 111,930       11,786        9,104       9,104          9,104        9,104       9,104       9,104      9,104      9,104       9,104         9,104       9,104
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ELIZABETH	  HAZAN
NOVEMBER	  15,	  2017	  -­‐	  0CTOBER	  14,	  2018
                                                                        November      December    January       February    March     April      May       June      July      August     September   October
                                                           TOTAL          2017          2017        2018          2018      2018      2018       2018      2018      2018       2018         2018      2018

RECEIPTS
RENTAL	  INCOME	  -­‐	  FISHER	  ISLAND                 441,000        36,750        36,750      36,750        36,750    36,750    36,750     36,750    36,750    36,750     36,750      36,750      36,750
BUSINESS	  INCOME                                          360,000        30,000        30,000      30,000        30,000    30,000    30,000     30,000    30,000    30,000     30,000      30,000      30,000
OTHER                                                             0
TOTAL	                                                     801,000        66,750        66,750      66,750        66,750    66,750    66,750     66,750    66,750    66,750     66,750      66,750      66,750

DISBURSMENTS
HOUSEHOLD,	  FOOD	  &	  CLOTHING                          36,000         3,000         3,000       3,000         3,000     3,000     3,000      3,000     3,000     3,000      3,000       3,000      3,000
HOUSEHOLD,	  REPAIRS	  &	  MAINTENANCE                     3,600           300           300         300           300       300       300        300       300       300        300         300        300
INSURANCE	  (CAR)                                            3,300           275           275         275           275       275       275        275       275       275        275         275        275
TRAVEL	  AND	  ENTERTAINMENT                               18,000         1,500         1,500       1,500         1,500     1,500     1,500      1,500     1,500     1,500      1,500       1,500      1,500
VEHICLES	  EXPENSES                                          6,000           500           500         500           500       500       500        500       500       500        500         500        500
UTILITIES	  (ELECTRICITY	  AND	  WATER)                    8,400           700           700         700           700       700       700        700       700       700        700         700        700
RENTAL	  OF	  NEW	  HOUSING                               60,000         5,000         5,000       5,000         5,000     5,000     5,000      5,000     5,000     5,000      5,000       5,000      5,000
VALENCIA	  ESTATES	  COMMUNITY	  ASS                      13,452         1,121         1,121       1,121         1,121     1,121     1,121      1,121     1,121     1,121      1,121       1,121      1,121
FISHER	  ISLAND	  COMMUNITY	  ASS                         26,180             0             0       6,545             0         0     6,545          0         0     6,545          0           0      6,545
INSURANCE	  (FISHER	  ISLAND)                              17,093             0             0           0             0    17,093         0          0         0         0          0           0          0
TAXES	  (FISHER	  ISLAND)                                  57,000        57,000             0           0             0         0         0          0         0         0          0           0          0
INCOME	  TAXES	  ESTIMATED                                162,000             0             0           0             0         0         0          0         0         0          0           0    162,000
TOTAL                                                       411,025        69,396        12,396      18,941        12,396    29,489    18,941     12,396    12,396    18,941     12,396      12,396    180,941

NET	  RESULT                                               389,975        -­‐2,646      54,354      47,809        54,354    37,261    47,809     54,354    54,354    47,809     54,354      54,354    -­‐114,191

SCHEDULED	  PAYMENTS	  OF	  CREDITORS

LIST                                                        425,170        33,767         9,104    300,363          9,104     9,104      9,104     9,104     9,104     9,104      9,104       9,104       9,104

NET                                                         -­‐35,195     -­‐36,413      45,250    -­‐252,554      45,250    28,157    38,705     45,250    45,250    38,705     45,250      45,250    -­‐123,295

CUMULATIVE	  NET	  AMOUNT                                 341,310       340,092       385,342    132,788        178,038   206,195   244,900    290,150   335,400   374,105    419,355     464,605    341,310
                                                    Case 1:22-cv-21485-RNS
                                                                  Case 16-10389-AJC
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LIST	  OF	  PAYMENTS	  TO	  CREDITORS
                                                                              November     December     January     February       March       April       May        June       July       August       September    October
                                                                  TOTAL         2017         2017         2018        2018         2018        2018        2018       2018       2018        2018           2018       2018
LIST	  OF	  PAYMENTS	  TO	  CREDITORS
SECURISED
IRS	  -­‐	  393,985.17	  (60	  MONTHS)	  -­‐	  CLASS	  9      78,792        6,566        6,566       6,566        6,566        6,566       6,566       6,566      6,566      6,566       6,566         6,566       6,566
IRS	  	  24	  663	  CLASS	  1	  -­‐	  YEAR	  2014            24,663       24,663
MIAMI-­‐DADE	  WATER	  AND	  SEWER	  1502.54                          0
VALENCIA	  ESTATE	  COMMUNITY	  128,677                           25,740        2,145        2,145       2,145        2,145        2,145       2,145       2,145      2,145      2,145       2,145         2,145       2,145
SOUTH	  EAST	  FINANCIAL	  -­‐	  CAR	  48	  MONTHS              4,716          393          393         393          393          393         393         393        393        393         393           393         393


UNSECURED
JBM	  URBAN	  900	  	  	  275,000.00	  -­‐	  JAN	  2018     275,000           0            0      275,000              0           0           0          0          0          0            0           0              0
LIST	  OF	  UNSECURED	  CLAIMS	  16,	  259                      16,259           0            0       16,259              0           0           0          0          0          0            0           0              0


TOTAL                                                               425,170       33,767        9,104     300,363        9,104        9,104       9,104       9,104      9,104      9,104       9,104         9,104       9,104
                                          Case 1:22-cv-21485-RNS
                                                        Case 16-10389-AJC
                                                                   DocumentDoc
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                                                                                         on07/11/16
                                                                                            FLSD Docket
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ELIZABETH	  HAZAN
NOVEMBER	  15,	  2018	  -­‐	  0CTOBER	  14,	  2019
                                                                      November      December    January    February    March     April      May       June      July      August     September   October
                                                           TOTAL        2018          2018        2019       2019      2019      2019       2019      2019      2019       2019         2019      2019

RECEIPTS
RENTAL	  INCOME	  -­‐	  FISHER	  ISLAND                 463,056      38,588        38,588     38,588      38,588    38,588    38,588     38,588    38,588    38,588     38,588      38,588      38,588
BUSINESS	  INCOME                                          375,000      31,250        31,250     31,250      31,250    31,250    31,250     31,250    31,250    31,250     31,250      31,250      31,250
OTHER                                                             0
TOTAL	                                                     838,056      69,838        69,838     69,838      69,838    69,838    69,838     69,838    69,838    69,838     69,838      69,838      69,838

DISBURSMENTS
HOUSEHOLD,	  FOOD	  &	  CLOTHING                          36,000       3,000         3,000      3,000       3,000     3,000     3,000      3,000     3,000     3,000      3,000       3,000      3,000
HOUSEHOLD,	  REPAIRS	  &	  MAINTENANCE                     3,600         300           300        300         300       300       300        300       300       300        300         300        300
INSURANCE	  (CAR)                                            3,300         275           275        275         275       275       275        275       275       275        275         275        275
TRAVEL	  AND	  ENTERTAINMENT                               18,000       1,500         1,500      1,500       1,500     1,500     1,500      1,500     1,500     1,500      1,500       1,500      1,500
VEHICLES	  EXPENSES                                          6,000         500           500        500         500       500       500        500       500       500        500         500        500
UTILITIES	  (ELECTRICITY	  AND	  WATER)                    8,400         700           700        700         700       700       700        700       700       700        700         700        700
RENTAL	  OF	  NEW	  HOUSING                               60,000       5,000         5,000      5,000       5,000     5,000     5,000      5,000     5,000     5,000      5,000       5,000      5,000
VALENCIA	  ESTATES	  COMMUNITY	  ASS                      13,452       1,121         1,121      1,121       1,121     1,121     1,121      1,121     1,121     1,121      1,121       1,121      1,121
FISHER	  ISLAND	  COMMUNITY	  ASS                         26,180           0             0      6,545           0         0     6,545          0         0     6,545          0           0      6,545
INSURANCE	  (FISHER	  ISLAND)                              17,093           0             0          0           0    17,093         0          0         0         0          0           0          0
TAXES	  (FISHER	  ISLAND)                                  57,000      57,000             0          0           0         0         0          0         0         0          0           0          0
INCOME	  TAXES	  ESTIMATED                                171,300           0             0          0           0         0         0          0         0         0          0           0    171,300
TOTAL                                                       420,325      69,396        12,396     18,941      12,396    29,489    18,941     12,396    12,396    18,941     12,396      12,396    190,241

NET	  RESULT                                               417,731         442        57,442     50,897      57,442    40,349    50,897     57,442    57,442    50,897     57,442      57,442    -­‐120,403

SCHEDULED	  PAYMENTS	  OF	  CREDITORS

LIST                                                        109,248       9,104         9,104      9,104       9,104     9,104      9,104     9,104     9,104     9,104      9,104       9,104       9,104

NET                                                         308,483      -­‐8,662      48,338     41,793      48,338    31,245    41,793     48,338    48,338    41,793     48,338      48,338    -­‐129,507

CUMULATIVE	  NET	  AMOUNT                                 649,793     332,648       380,986    422,779     471,117   502,362   544,155    592,493   640,831   682,624    730,962     779,300    649,793
                                                    Case 1:22-cv-21485-RNS
                                                                  Case 16-10389-AJC
                                                                             DocumentDoc
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                                                                                          Entered
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                                                                                                   on07/11/16
                                                                                                      FLSD Docket
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LIST	  OF	  PAYMENTS	  TO	  CREDITORS
                                                                              November     December     January       February       March       April       May        June       July       August       September    October
                                                                  TOTAL         2018         2018         2019          2019         2019        2019        2019       2019       2019        2019           2019       2019
SECURISED
IRS	  -­‐	  393,985.17	  (60	  MONTHS)	  -­‐	  CLASS	  9      78,792        6,566        6,566       6,566          6,566        6,566       6,566       6,566      6,566      6,566       6,566         6,566       6,566
IRS	  	  24	  663	  CLASS	  1	  -­‐	  YEAR	  2014                 0
MIAMI-­‐DADE	  WATER	  AND	  SEWER	  1502.54                          0
VALENCIA	  ESTATE	  COMMUNITY	  128,677                           25,740        2,145        2,145       2,145          2,145        2,145       2,145       2,145      2,145      2,145       2,145         2,145       2,145
SOUTH	  EAST	  FINANCIAL	  -­‐	  CAR	  48	  MONTHS              4,716          393          393         393            393          393         393         393        393        393         393           393         393


UNSECURED
JBM	  URBAN	  900	  	  	  275,000.00	  -­‐	  JAN	  2018           0           0            0              0              0           0           0          0          0          0            0           0              0
LIST	  OF	  UNSECURED	  CLAIMS	  16,	  259                           0           0            0              0              0           0           0          0          0          0            0           0              0


TOTAL                                                               109,248        9,104        9,104       9,104          9,104        9,104       9,104       9,104      9,104      9,104       9,104         9,104       9,104
                                          Case 1:22-cv-21485-RNS
                                                        Case 16-10389-AJC
                                                                   DocumentDoc
                                                                           8-3 103
                                                                                Entered
                                                                                     Filed
                                                                                         on07/11/16
                                                                                            FLSD Docket
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ELIZABETH	  HAZAN
NOVEMBER	  15,	  2019	  -­‐	  0CTOBER	  14,	  2020
                                                                      November      December    January    February    March     April      May       June       July       August      September    October
                                                           TOTAL        2019          2019        2020       2020      2020      2020       2020      2020       2020        2020          2020       2020

RECEIPTS
RENTAL	  INCOME	  -­‐	  FISHER	  ISLAND                 486,204      40,517        40,517     40,517      40,517    40,517    40,517     40,517    40,517     40,517      40,517       40,517       40,517
BUSINESS	  INCOME                                          390,000      32,500        32,500     32,500      32,500    32,500    32,500     32,500    32,500     32,500      32,500       32,500       32,500
OTHER                                                             0
TOTAL	                                                     876,204      73,017        73,017     73,017      73,017    73,017    73,017     73,017    73,017     73,017      73,017       73,017       73,017

DISBURSMENTS
HOUSEHOLD,	  FOOD	  &	  CLOTHING                          36,000       3,000         3,000      3,000       3,000     3,000     3,000      3,000     3,000      3,000       3,000        3,000       3,000
HOUSEHOLD,	  REPAIRS	  &	  MAINTENANCE                     3,600         300           300        300         300       300       300        300       300        300         300          300         300
INSURANCE	  (CAR)                                            3,300         275           275        275         275       275       275        275       275        275         275          275         275
TRAVEL	  AND	  ENTERTAINMENT                               18,000       1,500         1,500      1,500       1,500     1,500     1,500      1,500     1,500      1,500       1,500        1,500       1,500
VEHICLES	  EXPENSES                                          6,000         500           500        500         500       500       500        500       500        500         500          500         500
UTILITIES	  (ELECTRICITY	  AND	  WATER)                    8,400         700           700        700         700       700       700        700       700        700         700          700         700
RENTAL	  OF	  NEW	  HOUSING                               60,000       5,000         5,000      5,000       5,000     5,000     5,000      5,000     5,000      5,000       5,000        5,000       5,000
VALENCIA	  ESTATES	  COMMUNITY	  ASS                      13,452       1,121         1,121      1,121       1,121     1,121     1,121      1,121     1,121      1,121       1,121        1,121       1,121
FISHER	  ISLAND	  COMMUNITY	  ASS                         26,180           0             0      6,545           0         0     6,545          0         0      6,545           0            0       6,545
INSURANCE	  (FISHER	  ISLAND)                              17,093           0             0          0           0    17,093         0          0         0          0           0            0           0
TAXES	  (FISHER	  ISLAND)                                  57,000      57,000             0          0           0         0         0          0         0          0           0            0           0
INCOME	  TAXES	  ESTIMATED                                180,800           0             0          0           0         0         0          0         0          0           0            0     180,800
TOTAL                                                       429,825      69,396        12,396     18,941      12,396    29,489    18,941     12,396    12,396     18,941      12,396       12,396     199,741

NET	  RESULT                                               446,379       3,621        60,621     54,076      60,621    43,528    54,076     60,621    60,621     54,076      60,621       60,621     -­‐126,724

SCHEDULED	  PAYMENTS	  OF	  CREDITORS

LIST                                                        108,069       9,104         9,104      9,104       9,104     9,104      9,104     9,104     9,104      9,104       8,711        8,711        8,711

NET                                                         338,310      -­‐5,483      51,517     44,972      51,517    34,424    44,972     51,517    51,517     44,972      51,910       51,910     -­‐135,435

CUMULATIVE	  NET	  AMOUNT                                 988,103     644,310       695,827    740,799     792,316   826,740   871,712    923,229   974,746   1,019,718   1,071,628    1,123,538    988,103
                                                    Case 1:22-cv-21485-RNS
                                                                  Case 16-10389-AJC
                                                                             DocumentDoc
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                                                                                          Entered
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                                                                                                   on07/11/16
                                                                                                      FLSD Docket
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LIST	  OF	  PAYMENTS	  TO	  CREDITORS
                                                                              November     December     January       February       March       April       May        June       July       August       September    October
                                                                  TOTAL         2019         2019         2020          2020         2020        2020        2020       2020       2020        2020           2020       2020
SECURISED
IRS	  -­‐	  393,985.17	  (60	  MONTHS)	  -­‐	  CLASS	  9      78,792        6,566        6,566       6,566          6,566        6,566       6,566       6,566      6,566      6,566       6,566         6,566       6,566
IRS	  	  24	  663	  CLASS	  1	  -­‐	  YEAR	  2014                 0
MIAMI-­‐DADE	  WATER	  AND	  SEWER	  1502.54                          0
VALENCIA	  ESTATE	  COMMUNITY	  128,677                           25,740        2,145        2,145       2,145          2,145        2,145       2,145       2,145      2,145      2,145       2,145         2,145       2,145
SOUTH	  EAST	  FINANCIAL	  -­‐	  CAR	  48	  MONTHS              3,537          393          393         393            393          393         393         393        393        393


UNSECURED
JBM	  URBAN	  900	  	  	  275,000.00	  -­‐	  JAN	  2018           0           0            0              0              0           0           0          0          0          0            0           0              0
LIST	  OF	  UNSECURED	  CLAIMS	  16,	  259                           0           0            0              0              0           0           0          0          0          0            0           0              0


TOTAL                                                               108,069        9,104        9,104       9,104          9,104        9,104       9,104       9,104      9,104      9,104       8,711         8,711       8,711
                                          Case 1:22-cv-21485-RNS
                                                        Case 16-10389-AJC
                                                                   DocumentDoc
                                                                           8-3 103
                                                                                Entered
                                                                                     Filed
                                                                                         on07/11/16
                                                                                            FLSD Docket
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ELIZABETH	  HAZAN
NOVEMBER	  15,	  2020	  -­‐	  0CTOBER	  14,	  2021
                                                                      November      December     January     February    March        April       May         June        July       August      September    October
                                                           TOTAL        2020          2020         2021        2021      2021         2021        2021        2021        2021        2021          2021       2021

RECEIPTS
RENTAL	  INCOME	  -­‐	  FISHER	  ISLAND                 510,516      42,543        42,543      42,543       42,543     42,543      42,543      42,543      42,543      42,543      42,543       42,543       42,543
BUSINESS	  INCOME                                          399,960      33,330        33,330      33,330       33,330     33,330      33,330      33,330      33,330      33,330      33,330       33,330       33,330
OTHER                                                             0
TOTAL	                                                     910,476      75,873        75,873      75,873       75,873     75,873      75,873      75,873      75,873      75,873      75,873       75,873       75,873

DISBURSMENTS
HOUSEHOLD,	  FOOD	  &	  CLOTHING                          36,000       3,000         3,000       3,000        3,000      3,000       3,000       3,000       3,000       3,000       3,000        3,000       3,000
HOUSEHOLD,	  REPAIRS	  &	  MAINTENANCE                     3,600         300           300         300          300        300         300         300         300         300         300          300         300
INSURANCE	  (CAR)                                            3,300         275           275         275          275        275         275         275         275         275         275          275         275
TRAVEL	  AND	  ENTERTAINMENT                               18,000       1,500         1,500       1,500        1,500      1,500       1,500       1,500       1,500       1,500       1,500        1,500       1,500
VEHICLES	  EXPENSES                                          6,000         500           500         500          500        500         500         500         500         500         500          500         500
UTILITIES	  (ELECTRICITY	  AND	  WATER)                    8,400         700           700         700          700        700         700         700         700         700         700          700         700
RENTAL	  OF	  NEW	  HOUSING                               60,000       5,000         5,000       5,000        5,000      5,000       5,000       5,000       5,000       5,000       5,000        5,000       5,000
VALENCIA	  ESTATES	  COMMUNITY	  ASS                      13,452       1,121         1,121       1,121        1,121      1,121       1,121       1,121       1,121       1,121       1,121        1,121       1,121
FISHER	  ISLAND	  COMMUNITY	  ASS                         26,180           0             0       6,545            0          0       6,545           0           0       6,545           0            0       6,545
INSURANCE	  (FISHER	  ISLAND)                              17,093           0             0           0            0     17,093           0           0           0           0           0            0           0
TAXES	  (FISHER	  ISLAND)                                  57,000      57,000             0           0            0          0           0           0           0           0           0            0           0
INCOME	  TAXES	  ESTIMATED                                189,400           0             0           0            0          0           0           0           0           0           0            0     189,400
TOTAL                                                       438,425      69,396        12,396      18,941       12,396     29,489      18,941      12,396      12,396      18,941      12,396       12,396     208,341

NET	  RESULT                                               472,051       6,477        63,477      56,932       63,477     46,384      56,932      63,477      63,477      56,932      63,477       63,477     -­‐132,468

SCHEDULED	  PAYMENTS	  OF	  CREDITORS

LIST                                                        104,532       8,711         8,711       8,711        8,711      8,711        8,711      8,711       8,711       8,711       8,711        8,711        8,711

NET                                                         367,519      -­‐2,234      54,766      48,221       54,766     37,673      48,221      54,766      54,766      48,221      54,766       54,766     -­‐141,179

CUMULATIVE	  NET	  AMOUNT                            1,355,622        985,869      1,040,635   1,088,856   1,143,622   1,181,295   1,229,516   1,284,282   1,339,048   1,387,269   1,442,035    1,496,801   1,355,622
                                                    Case 1:22-cv-21485-RNS
                                                                  Case 16-10389-AJC
                                                                             DocumentDoc
                                                                                     8-3 103
                                                                                          Entered
                                                                                               Filed
                                                                                                   on07/11/16
                                                                                                      FLSD Docket
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LIST	  OF	  PAYMENTS	  TO	  CREDITORS
                                                                              November     December     January       February       March       April       May        June       July       August       September    October
                                                                  TOTAL         2020         2020         2021          2021         2021        2021        2021       2021       2021        2021           2021       2021
SECURISED
IRS	  -­‐	  393,985.17	  (60	  MONTHS)	  -­‐	  CLASS	  9      78,792        6,566        6,566       6,566          6,566        6,566       6,566       6,566      6,566      6,566       6,566         6,566       6,566
IRS	  	  24	  663	  CLASS	  1	  -­‐	  YEAR	  2014                 0           0            0              0              0           0           0          0          0          0            0           0              0
MIAMI-­‐DADE	  WATER	  AND	  SEWER	  1502.54                          0           0            0              0              0           0           0          0          0          0            0           0              0
VALENCIA	  ESTATE	  COMMUNITY	  128,677                           25,740        2,145        2,145       2,145          2,145        2,145       2,145       2,145      2,145      2,145       2,145         2,145       2,145
SOUTH	  EAST	  FINANCIAL	  -­‐	  CAR	  48	  MONTHS                  0            0            0           0              0            0           0           0          0          0           0             0           0


UNSECURED
JBM	  URBAN	  900	  	  	  275,000.00	  -­‐	  JAN	  2018           0           0            0              0              0           0           0          0          0          0            0           0              0
LIST	  OF	  UNSECURED	  CLAIMS	  16,	  259                           0           0            0              0              0           0           0          0          0          0            0           0              0


TOTAL                                                               104,532        8,711        8,711       8,711          8,711        8,711       8,711       8,711      8,711      8,711       8,711         8,711       8,711
Case 1:22-cv-21485-RNS
              Case 16-10389-AJC
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                                                                37 of 37 Page 220 of
                                       799



                                                      Exhibit E

                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                       www.flsb.uscourts.gov

       In re:                                                                    Case No: 16-10389 AJC
                                                                                 Chapter 11
      Liza Hazan
      Debtor.                          /

      BALLOT AND DEADLINE FOR FILING BALLOT ACCEPTING OR REJECTING PLAN

      TO HAVE YOUR VOTE COUNT YOU MUST COMPLETE AND RETURN THIS
      BALLOT BY THE DEADLINE (AS SET PURSUANT TO LOCAL RULE 3018-1)

      The plan filed by Debtor can be confirmed by the court and thereby made binding on you if it is accepted by
      the holders of two-thirds in amount and more than one-half in number of claims in each class and the
      holders of two-thirds in amount of equity security interests in each class voting on the plan. In the event the
      requisite acceptances are not obtained, the court may nevertheless confirm the plan if the court finds that
      the plan accords fair and equitable treatment to the class rejecting it.

      Creditor:                                                                                             for the
      following type of claim placed in the indicated class in the indicated amount:


              TYPE OF CLAIM                CLASS IN PLAN                           AMOUNT OF CLAIM
        Secured                                                        $
       Unsecured                                                       $
        Equity Security Holder                                         $

      The undersigned [Check One Box] __ Accepts                                         __ Rejects
      the plan for reorganization of the above-named debtor.

                Signed:
                Print Name:
                Address:
                Phone:
                Date:
                                     FILE THIS BALLOT ON OR BEFORE

      with:     Office of the Clerk C. Clyde Atkins United States Courthouse 301 North
                Miami Avenue, Room 150 Miami, FL 33128
                and JOEL ARESTY aresty@icloud.com

                If you have more than one type of claim against this debtor, separate ballots must
                be filed and you should receive a ballot for each type of claim eligible to vote.
                Contact the plan proponent regarding incorrect or insufficient ballot(s).
       Case 1:22-cv-21485-RNS
                      Case 16-10389-AJC
                                Document 8-3
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                                                                      06/14/2022
                                                                         1 of 4  Page 221 of
                                               799




           ORDERED in the Southern District of Florida on July 12, 2016.




                                                      A. Jay Cristol, Judge
                                                      United States Bankruptcy Court
_____________________________________________________________________________
Case 1:22-cv-21485-RNS
               Case 16-10389-AJC
                         Document 8-3
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                         UNITED STATES799BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
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       In re:                                               Case No: 16-10389 AJC
                                                            Chapter 11
   Liza Hazan
    Debtor.                               /


                   NOTICE OF FILING OF SUPPLEMENTAL AUTHORITY
                      RE NLG MOTION FOR STAY RELIEF ECF 66
   .
          There is presently before the court under advisement a Motion for Relief from
   Automatic Stay filed by NLG, LLC (hereinafter “NLG”) [ECF 66] (the “Motion”). Debtor
   LIZA HAZAN a/k/a ELIZABETH HAZAN (“Hazan” or “Debtor”) filed an Opposition
   Response [ECF 76]. Secured creditor Selective Advisors Group, LLC (“Selective”) filed
   an Opposition Response and Joinder in Debtor’s Opposition Response [ECF 77]. NLG
   filed a Reply to Debtor’s and Selective’s Responses [ECF 79], and the Debtor thereafter
   filed Supplemental Responses [ECF 81 and 82]. The Court heard argument on May 26,
   2016. Nearly a month after the hearing, on June 20, 2016, counsel for NLG filed an
   Affidavit in Support of NLG’s Motion for Relief from Automatic Stay [ECF 92 and 92-1].

        Subsequent to the filing of this case, NLG has apparently violated the stay (without
   getting relief from stay) and gone to the USDC in the SDNY in connection with the New
   York State Supreme Court determination that Quebec’s judgment (assigned to Selective,
   and thereafter satisfied) was valid. NLG sought yet again (this is about the sixth or
   seventh time, in addition to their effort in this Court) to invalidate the Quebec judgment
   against NLG.


        Debtor files as supplemental authority the ruling entered July 20, 2016 of the USDC
   SDNY, attached hereto as exhibit “A”, which includes an order to show cause why NLG’s
   attorney should not be personally sanctioned for filing an “utterly frivolous matter.”

        WHEREFORE, the debtor respectfully requests the court to consider the attached
   as supplemental authority in opposition to NLG’s motion under advisement.
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   Certificate Of Service


   I hereby certify that a true and correct copy of the foregoing was served upon all parties
   as indicated below, unless said party is a registered CM/ECF participant who has
   consented to electronic notice, and the notice of electronic filing indicates that notice was
   electronically mailed to said party.


   JOEL M. ARESTY, P.A.
   Joel M. Aresty
   309 1st Ave S
   Tierra Verde, FL 33715
   Fax: 305-899-9889
   Phone: (305) 899-9876
   Aresty@Mac.com
   By:/s/ Joel M. Aresty, Esq
   Fla. Bar No. 197483
Case 1:22-cv-21485-RNS
               Case 16-10389-AJC
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                         UNITED STATES799BANKRUPTCY COURT
                             THE SOUTHERN DISTRICT OF
                              FLORIDA MIAMI DIVISION
                                  www.flsb.uscourts.gov

       IN RE::                                                   Case      No:      16-10389      AJC

                                                                 Chapter 11
   Liza Hazan
   a/k/a ELIZABETH HAZAN

   DEBTOR.                     /


                         STIPULATION OF SETTLEMENT OF CLAIM 5


            Debtor-In-Possession, Liza Hazan (”Hazan” or “Debtor”) and Creditor Real Time
   Resolutions, Inc., as agent for The Bank of New York Mella FKA The Bank of New York, as
   Successor to JPMorgan Chase Bank, N.A., as Trustee for the Certificateholders of CWHEQ
   Revolving Home Equity Loan Trust, Series 2006-F (Proof of Claim # 5) (the “Creditor”)
   (collectively the “Parties”), by and through undersigned counsel, hereby agree to a stipulation as
   to the treatment of Creditor’s claim 5, as set forth below and respectfully represent the following
   to the court: By submission of this Stipulation for entry, the submitting counsel represents that
   the opposing party consents to its entry. Pursuant to this stipulation, the Parties agree as follows:

         1.    On 1/11/16 the debtor filed a voluntary petition under chapter 11 of the United States
   Bankruptcy Code.
        2.     On 3/19/16 Creditor filed claim #5 in the amount of $188,416.67 as an unsecured
   claim.

         3.    Parties agree claim 5 shall be paid in the amount of $12,000.00 on or before the
   effective date of the Chapter 11 Plan, creditor agrees to vote its $188,416.67 claim in favor of
   Debtor’s plan of reorganization with the stipulated treatment.

         4.    This stipulation shall be submitted to the court for ratification and approval.

   WHEREFORE, the debtor respectfully requests an order ratifying and approving this stipulation.

   Agreed to by

   s/s: Liza Hazan, Debtor
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                                        799
   /s/ Ashley Prager Popowitz, Esq.
   Managing Attorney, Florida Bankruptcy
   McCalla Raymer Pierce, LLC
   110 S.E. 6th Street, Suite 2400 Fort Lauderdale, FL 33301
   Office: (754) 263-1065 / Ext. 61065
   Ashley.Popowitz@mrpllc.com
   counsel for Creditor Real Time Resolutions, Inc.

   and

   /s/: Joel M. Aresty, Esq
   Joel M. Aresty, P.A.
   309 1st Ave S
   Tierra Verde, FL 33715
   Fax: 305-899-9889
   Phone: (305) 899-9876
   Aresty@Mac.com
   Fla. Bar No. 197483
   counsel for Debtor Liza Hasan



   Certificate Of Service


   I hereby certify that a true and correct copy of the foregoing was served upon all parties as
   indicated below, unless said party is a registered CM/ECF participant who has consented to
   electronic notice, and the notice of electronic filing indicates that notice was electronically
   mailed to said party.
 Case 1:22-cv-21485-RNS
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Form CGFCRD3 (12/1/15)

                             United States Bankruptcy Court
                                     Southern District of Florida
                                       www.flsb.uscourts.gov
                                                                                Case Number: 16−10389−AJC
                                                                                Chapter: 11

In re:
Liza Hazan
aka Elizabeth Hazan
6913 Valencia Drive
Miami Beach, FL 33109

SSN: xxx−xx−7473




                                     RENOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on September 1, 2016 at 10:30 AM at the
following location:

C. Clyde Atkins U.S. Courthouse
301 North Miami Avenue
Courtroom 7
Miami FL 33128

to consider the following:

Motion to Approve Stipulation of Settlement of Claim #5 Filed by Debtor Liza Hazan.


THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 8/5/16                                         CLERK OF COURT
                                                      By: Barbara Cargill
                                                      Courtroom Deputy
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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        www.flsb.uscourts.gov


       In re:                                                   Case No: 16-10389 AJC
                                                                Chapter 11
   Liza Hazan
    Debtor.                                  /



                                 Amended Motion to continue Hearing
                                      Re disclosure statement

          Debtor        moves to continue the disclosure statement hearing set for 8/17/16, and
   respectfully represents the following to the court:
          1.       Debtor requests a continuance of the disclosure hearing and more time to amend
   disclosure and plan and negotiate with remaining creditors
          2.       On 7/7/16 ECF 99 the court extended exclusivity to 7/11/16 and 1121(d) period to
   obtain acceptances was extended by 60 days to September 8, 2016. That date would have been
   insufficient in any event, since even if disclosure was approved 8/17/16 there would be
   insufficient time to solicit acceptances. Rule 2002 (b) requires 28 days notice. The order on
   disclosure statement ECF 107 set on August 17, 2016 for hearing and required objections by
   August 10.
          3.       Debtor has already settled JMB, Real Time Resolutions and Southeast financial
   claims for a total amount of claims exceeding the amount of $1,200,000 of unsecured claims.
          4.       Five objections to Debtor’s disclosure have been received.
                   a.       Valencia ECF 138 Valencia Estate Homeowners Association is in active
          negotiations with debtor regarding plan treatment, and settlement of their claim. Debtor
          has already paid the post petition amounts estimated in Valencia’s motion for adequate
          protection.
                   b.       NLG ECF 140 seeks disclosure of validity of its alleged second mortgage
          that was assigned and satisfied per the Final Order of Assignment of NLG’s Judgment
          against Debtor by Judge Peter Lopez. United States District Court Southern District of
          New York Chief Judge McMahon just issued a ruling on July 21, 2016 in the 6th or 7th
          NLG’s attempt to invalidate Selective Advisors Group’s Judgment against NLG that
          ruled that the Selective Advisors Group judgment against NLG is a good judgment and
Case 1:22-cv-21485-RNS
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         not a fraud as alleged by NLG. This matter
                                              799 is which is a contested matter before the court
         under advisement, since no proof of claim was filed, and NLG is not scheduled as a
          creditor of Debtor. NLG is not a party of interest or has standing in this case. Selective
          Advisors Group LLC scheduled as a creditor in Debtor’s schedules is the real party in
          interest and they are not interested to foreclose.
                  c.     Chase ECF 139 claims to be the secured first mortgage on Debtor’s
          Homestead property located on Fisher Island. Chase hired counsel the day objections
          were due, who then left for vacation for three weeks. Debtor is negotiating stay relief to
          determine amount and validity in state court and to treat allowed secured claim in the
          plan.
                  d.     Spencer ECF 136 NY condo claims to have an unsecured claim but in
          reality has an overly secured lien on a property in NY which is not property of the estate.
          Debtor is in active settlement negotiations with Spencer and the owner of the property,
          The NY property is the subject of active NY litigation over a confidential settlement
          agreement. Motions for stay relief, mandatory abstention, and to seal for in camera
          review the NY settlement matters are set for hearing September 1, 2016. A resolution will
          be reached very soon.
                  e.     Fuerst Ittleman David & Joseph, P.L. ECF 143 filed on 8/12/16
          Objection to exemption is not meritorious as Debtor’s property is the Homestead of the
          Debtor at the time of the filing of the petition. Moreover their objection to Debtor’s
          disclosure is late as it was due on 8/10. Their proof of claim was filed after the bar date
          which was May 17, 2016. Fuerst Ittleman David & Joseph, P.L. is apparently the
          assignee of David joseph PA who was the former attorney representing NLG in State
          Court proceedings. Fuerst Ittleman David & Joseph, P.L. claim appears to have a claim
          against NLG for unpaid legal fees but is not a creditor of the debtor.


          5.      Debtor has been actively negotiating with Chase, Valencia and Spencer as well
   as numerous other creditors in this case. Fuerst Ittleman David & Joseph, P.L. just filed a
   motion for late claim and NLG is already before the court under advisement.
          6.      Debtor requires more time to negotiate with creditors for a consensual plan and
   disclosure, and therefore respectfully requests that this Court, pursuant to section 1121(d) of the
   Bankruptcy Code, extend by 60 days the exclusive period for Debtor to solicit acceptances, to
   November 7, 2016.
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         7.     Section 1121(d) of the Bankruptcy799Code provides, in part, as follows: “…
  [O]n request of a party in interest made within the respective periods specified in subsections (b)
   and (c) of this section and after notice and a hearing, the court may for cause ... increase the
   120-day period ... referred to in this section.” 11 U.S.C. § 1121(d). Congress provides for
   exclusivity to afford a debtor a meaningful opportunity to develop and confirm a consensual plan
   of reorganization and reorganize under chapter 11. See In re Ames Dep’t Stores Inc., 1991 WL
   259036, at *3 (S.D.N.Y. Nov. 25, 1991) (“The purpose of the Bankruptcy Code’s exclusivity
   period is to allow the debtor flexibility to negotiate with its creditors”); H.R. REP. NO. 95-595,
   92 Cong. 2d. Sess. 232.




   Wherefore Debtor is respectfully asking for continuance




   Certificate Of Service


   I hereby certify that a true and correct copy of the foregoing was served upon all parties as
   indicated below, unless said party is a registered CM/ECF participant who has consented to
   electronic notice, and the notice of electronic filing indicates that notice was electronically
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   JOEL M. ARESTY, P.A.
   Joel M. Aresty
   309 1st Ave S
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   Fax: 305-899-9889
   Phone: (305) 899-9876
   Aresty@Mac.com
   By:/s/ Joel M. Aresty, Esq
   Fla. Bar No. 197483
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      www.flsb.uscourts.gov


       In re:                                                   Case No: 16-10389 AJC
                                                                Chapter 11
   Liza Hazan
    Debtor.                                  /


                         Amended Motion for extension of time re Exclusivity
                             to amend plan and disclosure statement

          Debtor moves for extension of time of exclusive period to amend plan and disclosure
   statement , and respectfully represents the following to the court:
          1.      Debtor requests more time to amend disclosure and plan and negotiate with
   remaining creditors
          2.      On 7/7/16 ECF 99 the court extended exclusivity to 7/11/16 and 1121(d) period to
   obtain acceptances was extended by 60 days to September 8, 2016. That date would have been
   insufficient in any event, since even if disclosure was approved 8/17/16 there would be
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          against Debtor by Judge Peter Lopez. United States District Court Southern District of
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          NLG’s attempt to invalidate Selective Advisors Group’s Judgment against NLG that
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          not a fraud as alleged by NLG. This matter is which is a contested matter before the court
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         under advisement, since no proof of 799
                                               claim was filed, and NLG is not scheduled as a
         creditor of Debtor. NLG is not a party of interest or has standing in this case. Selective
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          Debtor is in active settlement negotiations with Spencer and the owner of the property,
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   motion for late claim and NLG is already before the court under advisement.
          6.      Debtor requires more time to negotiate with creditors for a consensual plan and
   disclosure, and therefore respectfully requests that this Court, pursuant to section 1121(d) of the
   Bankruptcy Code, extend by 60 days the exclusive period for Debtor to solicit acceptances, to
   November 7, 2016.




          7.      Section 1121(d) of the Bankruptcy Code provides, in part, as follows: “…
Case 1:22-cv-21485-RNS
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  [O]n request of a party in interest made within799
                                                  the respective periods specified in subsections (b)
   and (c) of this section and after notice and a hearing, the court may for cause ... increase the
   120-day period ... referred to in this section.” 11 U.S.C. § 1121(d). Congress provides for
   exclusivity to afford a debtor a meaningful opportunity to develop and confirm a consensual plan
   of reorganization and reorganize under chapter 11. See In re Ames Dep’t Stores Inc., 1991 WL
   259036, at *3 (S.D.N.Y. Nov. 25, 1991) (“The purpose of the Bankruptcy Code’s exclusivity
   period is to allow the debtor flexibility to negotiate with its creditors”); H.R. REP. NO. 95-595,
   92 Cong. 2d. Sess. 232.




   Wherefore Debtor is respectfully asking for a 60 days extension of exclusivity to November 7,
   2016 within which to negotiate with creditors and amend plan and disclosure statement, and
   solicit acceptances.




   Certificate Of Service


   I hereby certify that a true and correct copy of the foregoing was served upon all parties as
   indicated below, unless said party is a registered CM/ECF participant who has consented to
   electronic notice, and the notice of electronic filing indicates that notice was electronically
   mailed to said party.


   JOEL M. ARESTY, P.A.
   Joel M. Aresty
   309 1st Ave S
   Tierra Verde, FL 33715
   Fax: 305-899-9889
   Phone: (305) 899-9876
   Aresty@Mac.com
   By:/s/ Joel M. Aresty, Esq
   Fla. Bar No. 197483
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                       UNITED STATES BANRUPTCY COURT FOR
                        THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                www.flsb.uscourts.gov

  IN RE:                                         CASE NO.: 16-10389-AJC

  LIZA HAZAN
  a/k/a ELIZABETH HAZAN                          CHAPTER 11

  DEBTOR
  ______________________/




    NOTICE OF FILING OF SUPPLEMENTAL FACTS AND AUTHORITY
                         ON BEHALF OF
                   SELECTIVE ADVISORS GROUP


         Selective Advisor’s Group (“Selective”), through its undersigned counsel,

   by way of this filing, respectfully states:

                                    DECLARATION

         1. Attached as Exhibit ‘1’ is the Supplemental Statement of Facts and

            Authority of Selective Advisors Group.

         2. Attached as Exhibit ‘2’ is the list of Exhibits to the Supplemental

            Statement of Facts and Authority of Selective Advisors Group.

         WHEREFORE, the NLG Motion for Stay Relief should be denied, and the

  Court should enter any other further relief it deems appropriate under these

  circumstances.



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                                                               Respectfully Submitted,

                                                    /s/             Sheleen G. Khan
                                                                    Sheleen G. Khan
                                                              13499 Biscayne Blvd #3
                                                              North Miami, FL 33181
                                                                      (305) 454-9126
                                                                                 And

        I hereby certify that the undersigned attorney is appearing pro hac vice in this
                                matter pursuant to court order dated 8/16/16 (ECF151)

                                                    /s/              Todd M. Mosser
                                                            Todd M. Mosser, Esquire
                                                      1500 JFK Boulevard, Suite 1723
                                                              Philadelphia, PA 19102
                                                                       215-567-1220




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                                   EXHIBIT ‘1’




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         SUPPLEMENTAL STATEMENT OF FACTS AND AUTHORITY ON

              BEHALF OF SELECTIVE ADVISORS GROUP, LLC



        1. NLG’s filings in this Bankruptcy case are verified by and through its

           alleged manager Chris Kosachuk (“Kosachuk”).

        2. Kosachuk has no standing to bring any pleadings on NLG’s behalf.

           Kosachuk has stated, in depositions, that: (1) he has no ownership interest

           in NLG, LLC (“NLG”); (2) the sole owner of NLG is an entity named

           Meridian Trust Company, LTD (“Meridian”); (3) he does not keep in

           regular contact with Meridian and cannot name the people he deals with at

           Meridian; (4) although he is the Manager of NLG his responsibilities are

           limited; and (5) he receives no salary or other payment for managing NLG

           and, in fact, did not receive payment for selling his interest in NLG to

           Meridian. Even in making these claims, Kosachuk’s story about who owns

           NLG is inconsistent. At one point he claimed, in a deposition taken under

           oath, he sold his interest in NLG to a company called Luxcom Financial

           (“Luxcom”) and was able to provide details about the business relationship

           with Luxcom. However, he later stated, again in a deposition, that Luxcom

           never owned membership units in NLG.



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        3. The relevant deposition transcripts are contained below:




              (Exhibit A. 56: 11-35.) Not only did Kosachuk state that Luxcom

           acquired 100% of the interest in NLG, he also provided specifics

           regarding the transfer. He   was asked about the person he dealt with at

           Luxcom and he gave the name “Alexia Kovalev”. (Id. at 57: 14-19.) He

           was asked how much he was paid for his interest in NLG and he stated,

           “Money was owed, so I used it to satisfy debts,” and he generally stated


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           that the debt was incurred on       improvements to a Florida property.

           (Id. at 58: 14-15; 68: 19-24.) Kosachuk also knew the date of the closing

           of the sale of his interest in NLG, stating that it took place in March 2007.

           (Id. at 67: 11-17.)

        4. However, when pressed about documentation regarding his relationship

           with Luxcom he claimed he did not retain any documents:




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        5. When asked how he communicated with Luxcom he answered

           “Telephone” but could not recall the number. (Id. at 75: 9-11.) This

           inability to recall important facts and retain key documents regarding a

           business relationship with the alleged owner of an LLC he is managing

           would be repeated in later sworn statements from Kosachuk.

        6. At one point during the 2010 deposition, Kosachuk was asked what gave

           him “[a]uthority to represent yourself as a manager for NLG” and he

           responded, “The Operating Agreement.” (Id. 82: 19-21.) Kosachuk was

           then shown a copy of NLG’s Operating Agreement and asked where, in

           the Operating Agreement, he was provided that authority:




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        7. Importantly, at no point did Kosachuk claim that the Operating Agreement

            he was shown was not the current Operating Agreement and, in fact, he

            continued answering questions based on the Operating Agreement.

        8. Later in the deposition, Kosachuk was directly asked whether Luxcom still

            (i.e., in 2010) owned 100% of NLG and he stated “I assume so.” (Id. at

            132: 20-22.) Kosachuk reiterated that his interest in NLG was transferred

            to Luxcom and not any other company:

            “Q. That’s it, no other designation, company or …

            A. Nope.”

           (Id. at 133: 1-9.)

            The April 12, 2012 Deposition

        9. On April 12, 2012, Kosachuk sat for a sworn deposition in the

            Pennsylvania Litigation. The transcript of the April 12, 2012 deposition is

            attached hereto as Exhibit B. During the Deposition, Kosachuk was shown

            an Amended Operating Agreement for NLG that had an effective date of

            June 1, 2007. The Amended Operating Agreement showed that Meridian

            – not Luxcom – owned 100% of NLG. Kosachuk could not state the name

            of the attorney who drafted the Amended Operating Agreement but, when

            he was asked when it was prepared (as opposed to its effective date) he

            answered “probably shortly there before, probably May 2007.” (Exhibit B



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           14: 17-21.) Kosachuk was then asked whether the Amended Operating

           Agreement was correct in its representation that he transferred 100% of his

           interest in NLG to Meridian:




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        10. Again, when asked to provide basic details on an important transaction

           pursuant to which he gave up 100% of his interest in a company, Kosachuk



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           could not provide answers. Incredibly, when he was asked whether he, as

           manager of NLG, contacted Meridian concerning the Charging Order – an

           order that effectively transferred control of NLG to Quebec – he stated that

           he had not. (Id. at 16: 4-15.)

        11. It is important to note that Kosachuk claimed (as he would in another

           deposition) that the Amended Operating Agreement was drafted in March

           2007. However, in the 2010 deposition, when he was shown a copy of the

           “Operating Agreement”, he was shown the version dated November 19,

           2002. We know that is the case because the section he cites to in the 2010

           deposition, Section 7.01, was amended in the Amended Operating

           Agreement. In the Amended Operating Agreement, Section 7.01 reads:

           “The Company shall be managed by one Manager, CHRIS KOSACHUK.

           The manager cannot be removed or replaced.” The Section 7.01 that was

           read aloud to Kosachuk in the 2010 deposition is from the 2002 Operating

           Agreement. At no point, when reviewing the Operating Agreement in

           2010, did Kosachuk state that the Operating Agreement was not the current

           operating agreement for the LLC; i.e., in 2012 he testified that the

           Amended Operating Agreement was drafted in 2007, yet he does not

           mention it during the 2010 deposition nor does it appear to be part of the




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             record.1 Furthermore, the date of the alleged transfer of interest to Luxcom

             or Meridian changes from March 2007 to June 2007. (Attached as Exhibit

             C is a copy of the NLG Operating Agreement and Attached as Exhibit D

             is a copy of the NLG Amended Operating Agreement).

         12. At a time when the transfer of his interest should have been clearer in his

             mind (i.e., 2010), Kosachuk was adamant that he transferred his interest in

             NLG to Luxcom. Two years later he had to explain the discrepancy

             between his two depositions. His response, when asked about this

             discrepancy, was to simply state, “Meridian owns Luxcom, and so the

             shares are actually transferred to Meridian.” (Id. at 24: 5-6.) However,

             when pressed on the issue he could not recall basic details of this

             ownership structure:




  1 If the Amended Operating Agreement actually existed in 2010, as Kosachuk claims it did, then
  it is puzzling as to why it was not referenced at all in the 2010 deposition. The Amended
  Operating Agreement shows Meridian as owner of all of the units of NLG and, as such, would
   have been helpful to Kosachuk (if it indeed existed) in getting his story straight about whether
  his interest was transferred to Luxcom or Meridian.

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        13. It was not only the name of the company that Kosachuk transferred the

           membership units to, but also the consideration he received in the

           transaction that changed. In 2010, Kosachuk stated that the consideration

           he received was the forgiveness of a debt. By 2012, Kosachuk’s story had

           changed:




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           The February 15, 2014 Deposition

        14. On February 25, 2014, Kosachuk sat for a sworn deposition in the case

           NLG, LLC v. Marzec, No. 2514 (Ct. Comm Pleas, Philadelphia Co. Pa.)

           (the “Philadelphia Litigation”). The transcript of the February 25, 2014

           deposition is attached hereto as Exhibit E. Again, Kosachuk’s story about

           the alleged transfer of his interest in NLG changed. Whereas, in 2012, he

           stated that he received $50,000.00 as consideration for his interest in NLG,

           in the 2014 deposition, his stated reason for transferring the units was

           different:



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         Q.   How is it that Meridian Trust Company Limited came to be a member
         of NLG?
         A.   I transferred my units to them.
         Q.   Why did you transfer your units to them?
         …
         A.   Estate planning.
         …
         Q.   Okay. Your personal estate planning?
         A.   No.
         Q.   Whose estate planning?
         A.   Family.
         Q.   Okay. And when you say “family,” who in the family?
         A.   Family.
         Q.   It was estate planning for somebody, Mr. Kosachuk, who?
         A.   I’m sorry?
         Q.   It was estate planning for some individual, who?
         A.   Family members.
         Q.   Who?
         A.   I don’t recall exactly.

         (Exhibit. E 20: 1-25; 21: 1.) As in previous depositions, Kosachuk could not

         provide details of the alleged transaction with Meridian, including the details

         of the estate planning, who, specifically, the estate planning benefitted, or

         the people at Meridian with whom he negotiated the membership unit

         transfer. When pressed to provide names of people he knew at Meridian he

         could only come up with “Bernie Dover” and “Kantesha Dawson”. (Id. at

         35: 12-17.) When asked “even though you have no ownership interest

         whatsoever in NLG,2 you have complete authority to do whatever you want



  2
   Kosachuk was asked whether he had any interest in Meridian, he stated that he did not. (Ex. C
  30: 7-10.) He also stated that he had no financial interest in Luxcom. (Id. at 65: 15-17.)

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        with regard to the assets of NLG?” he responded “Yes” but could not

        provide the name of anyone at Meridian who gave him that authority. (Id. at

        37: 6-22.) When asked whether anyone at Meridian authorized the filing of

        the Philadelphia Litigation he stated “I don’t recall.” (Id. at 43: 12-16.) He

        also did not recall communicating with Meridian regarding the Charging

        Order. (Id. at 44: 3.)

        15.    As in 2012, Kosachuk had to answer for his statement in 2010 that he

        transferred all of his interest in NLG to Luxcom. He was asked directly

        whether Luxcom had any ownership interest in NLG, he stated that it did

        not. (Id. at 65: 18-20.) Kosachuk was asked about his problematic 2010

        deposition:

        Q.    So you are telling me that under oath in a deposition you were mistaken
        about the entity to which you had transferred your entire interest in NLG?
        A.    That’s correct.

        (Id. at 67: 7-11.)

        16.    In 2012, Kosachuk claimed that he received $50,000.00 from

        Meridian for his interest in NLG. However, in the 2014 deposition, when

        asked about the consideration he received, Kosachuk stated that he did not

        receive any money.

        Q.      Why did you tell me in the underlying litigation that you got $50,000
        for it [i.e., his interest in NLG]?
        A.      Because I was wrong at the time.



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        (Id. at 106: 13-15.)

        Beyond the Depositions

        17.As the above exploration of Kosachuk’s depositions shows, Kosachuk is

           neither consistent nor, frankly, truthful when it comes to providing

           testimony under oath. This can be further shown by his careful selection

           of facts he chose to provide this Court in connection with NLG’s pleadings.

           Quebec has sued Kosachuk and NLG in Florida State Court. 9197-5904

           Quebec, Inc. v. Kosachuk, No.: 07-8365 CA-13 (Fla. Cir. Ct.) (the “Florida

           Litigation”). On March 17, 2014, the Court in the Florida Litigation

           ordered that sanctions be imposed upon Kosachuk for failure to comply

           with Court orders. As described in the order (attached hereto as Exhibit

           F):

                 This action was heard on March 12, 2014, on the Motion for
                 Sanctions against Defendant, Chris Kosachuk, for willfully failing to
                 comply with Orders of this Court of June 20, 2012, July 2, 2012 and
                 January 2, 2014, directing Defendant, Chris Kosachuk to produce
                 records, answer Interrogatories, deposit funds into the Court Registry
                 and appear before General Master, Elizabeth Schwabedissen on
                 January 28, 2014….

        (Ex. F 1.) The Court, in its order, found that Kosachuk willfully failed to

        comply with court orders and directed that a Writ of Bodily Attachment be

        issued against Kosachuk, “The Miami-Dade County Sheriff or any law

        enforcement agency is hereby directed, upon delivery to it of a duly certified



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         copy of this order, and a Writ of Bodily Attachment to take Chris Kosachuk

         into custody and be held in accordance with this order.” (Id.) A recent Writ

         of Bodily Attachment, dated May 15, 2014, is attached hereto as Exhibit G

         and shows, on its face, that Kosachuk has yet to comply with court orders in

         Florida.

         Kosachuk’s Interest in NLG

         18.     Kosachuk claims to be the manager of NLG. Not only that, he is –

         according to Section 7.01 of the Amended Operating Agreement3 -- the

         manager for life because, “The manager cannot be removed or replaced.” He

         is the manager for life but he receives no compensation for managing NLG.

         (See, e.g., Exhibit. B 18: 2-11; Ex. E 32: 1-9.)

         19.     Kosachuk allegedly transferred his interest in NLG to Meridian for no

         consideration other than keeping his job as manager – a manager that

         receives no compensation. With regard to his duties as manager, he has

         testified that he does not keep in contact with the owner and, in fact, is hard

         pressed to name anybody at Meridian that he speaks to. For example, he




  3
    It is important to note that Quebec, Hazan, NLG, Kosachuk and Selective have been involved in
  extensive litigation over at least three different states over the last decade or so; however, it was
  not until 2012 – five years after it was allegedly drafted – that the Amended Operating Agreement
  for NLG made its appearance in this litigation.

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        cannot recall whether he provided the judgment that was entered against

        NLG in the Pennsylvania Litigation to Meridian:

        Q.    Okay. Did you send to the owners of NLG a copy of that judgment?
        A.    I don’t recall if I did.
        Q.    Okay. Would you still have the documents that would memorialize any
        such communications?
        A.    No.
        Q.    Why not?
        A.    Several years ago. I don’t retain documents.

        (Ex. E 45: 2-11.) Kosachuk, although he is the manager for life of NLG,

        does not file tax returns for NLG and is not even aware if Meridian does. (Id.

        at 52-53.) He does not report to Meridian quarterly nor annually about the

        state of affairs of NLG, but rather reports to ownership “as-needed.” (Id. at

        53: 15-18.) When he does report to ownership, Kosachuk does not provide

        them with anything in writing. (Id. at 53: 19-24; 54: 1-11.)

        20.   Kosachuk claims that he transferred all of his interest in NLG to

        Meridian in 2007. However, in 2010, only three years after that alleged

        transaction, he stated, on the record, that he sold his interest to a company

        named Luxcom and was able to provide a few details regarding the

        transaction. A Google search of “Luxcom Financial” brings up nothing but

        references to litigation involving Quebec and Kosachuk in New York.

        Attached as Exhibit H is the result of a company search in the Russian

        Federation for “Luxcom Financial” that shows that there is no such company



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         registered in Russia. With regard to Meridian, as the Affidavit of Attorney

         Darius Marzec        (attached hereto as Exhibit I) shows, according to Ernie

         Dover (not “Bernie”, which is the name Kosachuk used in the 2014

         deposition), the Managing Director of Meridian, he has never heard of NLG.

         (Ex. I ¶).4

         21.    Given the foregoing, Kosachuck lacks standing to assert anything on

         behalf of NLG. See, Schilling v. Belcher, 582 F.2d 995, 999 (5th Cir. 1978),

         (explaining that derivative actions contains two discrete standing

         requirements: (1) the plaintiff must have owned stock in the defendant

         corporation at the time of the transaction of which he complains, the . . .

         'contemporaneous ownership' requirement, and (2) the plaintiff must be a

         shareholder of the defendant corporation at the time suit is brought."

         Under these requirements, "[o]nly a shareholder, by virtue of his 'proprietary

         interest in the corporate enterprise'" is permitted to "step into the

         corporation's shoes and . . . seek in its right the restitution he could not

         demand in his own." Id. (quoting Ashwander v. Tenn. Valley Auth., 297 U.S.

         288, 321 (1936); Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 548

         (1949)). The Schilling court noted that "the ownership requirement continues


  4
      Attorneys Cross & Simon who represented Quebec also contacted Mr. Dover regarding
  Meridian’s interest in NLG. We were told, “Unfortunately, the information you are seeking is not
  on the public record in Nevis, and as such, we can not assist.”

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        throughout the life of the suit and that the action will abate if the plaintiff

        ceases to be a shareholder before the litigation ends." Id.

        22. Moreover, based on Kosachuk’s ever changing stories, it appears that he

           comes to this Court with unclean hands.

        23. As such, NLG vis a vis Kosachuk should be denied relief as a function

           of Kosachuk’s unclean hands. Accord, Matter of Garfinkle, 672 F.2d

           1340, 1347 n.7 (11th Cir. 1982) ("The doctrine [of unclean hands] is

           applicable in a court of equity to deny a plaintiff the relief he seeks even

           though his claim might otherwise be meritorious. The principles of equity

           govern the exercise of a bankruptcy court's jurisdiction.").

        SELECTIVE IS THE OWNER OF NLG’S JUDGMENT AND
        MORTGAGE AGAINST DEBTOR.

         26. On August 20, 2014 Florida State Court Judge Peter Lopez assigned all

           NLG’s claims, Judgment and Mortgage and against Debtor to Selective

           Advisors Group (Exhibit J, Judge Lopez Order of Assignment). All of

           NLG’s attempts to set aside Judge Lopez’ final order were unsuccessful.

           For example, On November 10, 2015, Judge Lopez denied NLG’s last

           attempt to strike the assignment of NLG’s judgment against Debtor to

           Selective Advisors Group. Judge Lopez, New York state court Judges

           Barbara Jaffe and Shlomo Hagler, as well as Pennsylvania Judge Griffith,

           all concur that Selective Advisors Group’s Judgment against NLG is a

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            valid Judgment against NLG, and that all the steps taken by Selective to

            execute on its judgment against NLG were valid and proper. Thus, there

            ca be no real question that Selective is the rightful owner of NLG’s

            judgment and mortgage against Debtor Hazan. (Attached as Exhibit K are

            the multiple Orders). Kosachuk did convince Florida state court Judge

            Monica Gordo on October 3, 2015 that NLG would be successful in setting

            aside Selective Judgment. However, On July 21, 2016 Chief Judge

            Colleen McMahon of the Southern District of New York concluded that

            Selective’s judgment against NLG was not a fraud (despite NLG’s

            pleading to the contrary) but was a good, valid and final judgment against

            NLG entered years ago.

        NLG’S SPURIOUS ATTEMPTS TO ATTACK SELECTIVE’S
        JUDGMENT IN NEW YORK, PENNSYLVANIA AND FLORIDA
        AND ATTEMPTS TO SET ASIDE ASSIGNMENT OF JUDGMENT
        AGAINST DEBTOR TO SELECTIVE



         27. As demonstrated above, all of NLG’s attempts to attack Selective’s

             judgment that is the subject of this litigation had been

            soundly rebuffed by the Federal and State courts in New York, Florida

            and Pennsylvania.

        28. As detailed in Debtor’s July 21, 2016 Supplemental authority filing,

           Chief Judge McMahon of the United States District Court for the

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           Southern District of New York denied NLG’s attempt to attack the

            validity of Selective’s judgment against NLG, which effectively denied

            NLG’s attempt to set aside the assignment of NLG’s judgment and

            mortgage against Debtor Hazan. See, Exhibit L.

        29. NLG has violated the bankruptcy stay by filing a new action in the

           Southern District of New York in January 2016 after Debtor’s

           Bankruptcy filing.

        30. The reasons therefore are contained in the Debtor’s July 21, 2016

           filing, but it is worth noting, as the undersigned was present when it

           happened, that Chief Judge McMahon was furious that NLG had

           attempted to “remove” to the federal court the Selective Judgment against

           NLG, as the judgment had been satisfied and closed in the New York

           state courts years prior. NLG’s attempt to “remove” a closed matter was

           clearly frivolous and vexatious. As such, its 6th or 7th attempt to

           invalidate the Selective judgment failed, as it had countless times before

           in multiple forums. NLG’s complaint that Selective’s judgment is a

           “fraud” could have been litigated through appeal in the New York state

           courts, but, tellingly, NLG refused to do so. Thus, the notion that

           Selective’s judgment is a “fraud” is utter nonsense. Selective’s judgment

           is in fact a valid judgment. Her Honor contemplated imposing sanctions



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           on NLG’s counsel for his bogus attempt to revive the “fraud” argument for

           “wasting the court’s time.”

        31. Thus, in addition to Kosachuk having no legal standing to act on

           behalf of NLG, NLG’s efforts at opening the underlying judgment in

           this matter have been repeatedly rejected.

        32. As such, it is respectfully requested that NLG’s Motion for Stay

           Relief be denied.



                                                               Respectfully Submitted,

                                                    /s/               Sheleen G. Khan
                                                                      Sheleen G. Khan
                                                              13499 Biscayne Blvd #3
                                                               North Miami, FL 33181
                                                                        (305) 454-9126
                                                                                   And
        I hereby certify that the undersigned attorney is appearing pro hac vice in this
                                matter pursuant to court order dated 8/16/16 (ECF151)

                                                    /s/              Todd M. Mosser
                                                            Todd M. Mosser, Esquire
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                      UNITED STATES BANRUPTCY COURT FOR
                       THE SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION
                               www.flsb.uscourts.gov

  IN RE:                                     CASE NO.: 16-10389-AJC

  LIZA HAZAN
  a/k/a ELIZABETH HAZAN                      CHAPTER 11

  DEBTOR
  ______________________/


                            CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that true and correct copies of:

            NOTICE      OF     FILING     OF    SUPPLEMENTAL           FACTS      AND

            AUTHORITY ON BEHALF OF SELECTIVE ADVISORS GROUP

            was furnished to all parties in this case by CM/ECF on all electronic notice

            parties on the CM/ECF service list below on August 18, 2016.

                                                               Respectfully Submitted,
                                                    /s/               Sheleen G. Khan
                                                                      Sheleen G. Khan
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                                                               North Miami, FL 33181
                                                                        (305) 454-9126
                                                                                   And
        I hereby certify that the undersigned attorney is appearing pro hac vice in this
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

                                                                                       Case No. 16-10389-AJC
                                                                                       Chapter 11
   IN RE:

   Liza Hazan
   a/k/a Elizabeth Hazan,

         Debtor.
   _____________________/

              SECURED CREDITOR NLG, LLC’S REPLY TO NOTICE OF FILING OF
                      SUPPLEMENTAL FACTS AND AUTHORITY ON
                       BEHALF OF SELECTIVE ADVISORS GROUP

              COMES NOW Secured Creditor NLG, LLC (hereinafter “NLG”), by and through its

   undersigned counsel, and briefly replies to Selective Advisors Group’s (hereinafter “Selective”)

   Notice of Filing Supplemental Facts and Authority on Behalf of Selective Advisors Group [ECF

   No. 169] and states as follows:

              1.       On August 19, 2016, Selective filed, obviously at the behest of its principal’s wife

   the Debtor Liza Hazan a/k/a Elizabeth Hazan (hereinafter “Hazan”)1, supplemental facts and

   authority on its behalf and in opposition to NLG’s Stay Relief Motion.

              2.       In a fashion similar to Hazan, Selective alleges and raises arguments contesting

   NLG’s standing to enforce its Foreclosure Judgment that were previously submitted to and

   repeatedly rejected by the Third District Court of Appeals of Florida and, upon remand and

   mandate, by Judge Monica Gordo of the Circuit Court for the 11th Judicial Circuit in and for

   Miami-Dade County, Florida. See Exhibit “B” to NLG’s Stay Relief Motion [ECF No. 66-2] and

   Exhibit 1 to NLG’s Reply [ECF No. 79-2].



   1
       Selective’s principal is Hazan’s husband and, upon information and belief, resides in the subject property.
        LAW OFFICE OF ALEXIS GONZALEZ, P.A. * 3162 COMMODORE PLAZA * SUITE 3E * COCONUT GROVE, FL 33133
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           3.      In addition, and for the first time in these proceedings, Selective argues NLG’s

   manager Chris Kosachuk has no “standing to bring any pleadings on NLG’s behalf” and that he

   is not a proper representative of NLG. However, these allegations and arguments were likewise

   presented to and rejected almost two years ago by the Third District Court of Appeals which

   specifically stated:

           “Regarding Ms. Hazan's affirmative defenses to the effect that NLG and its representative
           at trial lacked standing because of an internal dispute among the members, the trial court
           explicitly stated in the January 2, 2013, transcript (incorporated by the final judgment)
           that NLG did have standing and that its representative (Mr. Kosachuk) was a
           proper representative of NLG.

   See NLG, LLC v. Hazan, 151 So. 3d 455, 457 (Fla. 3d DCA 2014) and Exhibit “B” to NLG’s

   Stay Relief Motion [ECF No. 66-2].

           4.      At hearings and via documents filed in these proceedings, that Hazan and now

   Selective have repeatedly presented arguments as to NLG’s standing which are merely attempts

   to re-litigate matters in this Court that have already been decided upon by state courts of

   competent jurisdiction, namely the Circuit Court and the Third District Court of Appeals, and

   that resulted in the entry of a Final Judgment of Mortgage Foreclosure in favor of NLG which, to

   this date, remains unsatisfied. See Exhibit “A” to NLG’s Stay Relief Motion [ECF No. 66-1].

           5.      The law on this issue is that “[f]ederal courts are required to give state records and

   judicial proceedings full faith and credit pursuant to 28 U.S.C. § 1738 and federal courts will

   not allow a matter to be relitigated in federal court after the state court has entered a

   foreclosure judgment. Collado v. Onewest Bank, FSB (In re Collado), 2010 Bankr. LEXIS

   2859 (Bankr. S.D. Fla. 2010); see United States v. Warford, 791 F.2d 1519 (11th Cir. 1986).

           6.      Despite the multitude of documents filed of record in these proceedings and

   knowing the current status of the law, Hazan, Selective, and their respective attorneys continue


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   to raise these already decided-upon matters in hopes of further delaying these proceedings as part

   of a collective campaign intended on delaying NLG’s ability to finalize the foreclosure of the

   subject property by way its foreclosure sale. Such efforts not only frustrate the objective of these

   bankruptcy proceedings to the detriment of the creditor body, they may constitute grounds for

   sanctions under Rule 9011 of the Federal Rules of Bankruptcy Procedure.

          WHEREFORE, NLG respectfully submits that this Court grant its Motion for Relief from

   Automatic Stay [ECF No. 66] for all of the reasons set forth in the records of these proceedings;

   reserve ruling on an issuance of sanctions pursuant to Rule 9011 of the Federal Rules of

   Bankruptcy Procedure to allow NLG an opportunity to file the appropriate motion(s); and grant

   any other and further relief this Court deems just and proper.

                  CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

          I hereby certify that I am admitted to the Bar of the United States District Court for the

   Southern District of Florida and I am in compliance with the additional qualifications to practice

   in this court set forth in Local Rules 2090-1(A).

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

   with the Clerk of Court using the CM/ECF system served on all parties on the attached service

   list on this 19th day of August, 2016.

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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     www.flsb.uscourts.gov

   In re:

   LIZA HAZAN                                                  Case No. 16-10389-AJC
   a/k/a ELIZABETH HAZAN,
                                                               Chapter 11

         Debtor.
   _________________________/

   SELECTIVE ADVISORS GROUP, LLC,
                                                               ADV. NO.:

            Plaintiffs,

   v.

   NLG, LLC, a Delaware limited liability
   company,


         Defendant.
   ________________________________/

                                             COMPLAINT

            Plaintiff SELECTIVE ADVISORS GROUP, LLC (“Plaintiff”), through undersigned

   counsel and pursuant to Rules 7001, et seq., of the Federal Rules of Bankruptcy Procedure, and

   11 U.S.C. §§ 105, 363, 541, 542 and 544, sues Defendant, NLG, LLC and states and alleges as

   follows:

                                I.      JURISDICTION AND VENUE

            1.      This is an adversary proceeding for declaratory relief, for determination of the

   validity, priority and extent of lien(s) asserted by NLG, LLC and to avoid said lien(s) pursuant to

   11 U.S.C. § 544.
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             2.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

   §§ 157(b) and 1334.

             3.    This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (K), and (O).

             4.    Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1409.

                                               II.     PARTIES

             5.    Selective Advisors Group, LLC (“Selective Advisors”) is a Delaware limited

   liability company.

             6.    NLG, LLC (“NLG”) is a Delaware limited liability company.

             7.    NLG is a wholly owned subsidiary of Meridian Trust Company, LTD, a Nevis

   Company with an address of Hunkins Plaza, Main Street, Suite 556, Charlestown, Nevis, West

   Indies.

                                        III.         BACKGROUND

             8.    Debtor Liza Hazan’s main asset is real property located at 6913 Valencia Drive,

   Miami Beach, FL 33109 (the “Property”).

             9.    NLG’s claim against the Debtor arises from an alleged promissory note and

   mortgage in the amount of $1,275,000 on the Property. The alleged note and mortgage in favor

   of NLG were the subject of lengthy state and federal court litigation, in multiple States. NLG

   obtained a Judgment of Foreclosure on December 4, 2015. The alleged note and mortgage in

   favor of NLG were judicially assigned to Selective.

             10.   Selective is the judicial owner of NLG’s Judgment of foreclosure.

             11.   On or about April 21, 2014, 9197-5904 Quebec Inc, as a judgment creditor of

   NLG, brought an action against NLG in Miami-Dade County Circuit Court, Case No. 14-10475,

   seeking to domesticate a final judgment entered in New York in favor of 9197-5904 Quebec, Inc.
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   in the amount of $5,000,225.00 plus statutory interest and against NLG and for proceedings

   supplementary to execute upon this foreign judgment.

          12.       On or about May 5, 2014, the lawfully acquired foreign judgment against NLG

   was assigned to Selective Advisors. The assignment was recorded in Official Records Book

   29137 at Pages 3128-3131 of the public Records of Miami-Dade County Florida. A copy of the

   Assignment of Judgment is attached hereto as Exhibit A.

          13.       On June 16, 2014, Judge Peter Lopez ordered NLG to post a bond in the amount

   of $5,450,000.

          14.       After no bond was posted, the State Court ordered execution on the $5,000,225.00

   plus interest and ordered that Selective Advisors has all rights to execute.

          15.       The state court inquired into all of the issues relating to said assignment including

   consideration therefor and made specific determinations that NLG would be credited against the

   amount of the New York Judgment with the sum of approximately $2,746,953.34 being the

   value and/or amount of a prior judgment and/or promissory note and mortgage NLG was

   claiming to hold against the Debtor in Miami-Dade County, Florida.

          16.       The State Court held in his final Order dated August 20, 2014 that: ”The Hazan

   final judgment held by NLG, LLC against Elizabeth Hazan and all of NLG, LLC’s rights, Claims

   and Benefits held against Elizabeth Hazan are hereby judicially assigned to the Plaintiff-

   Assignee Selective Advisors Group, LLC, a Delaware Limited Liability Company. Plaintiff-

   Assignee, Selective Advisors Group, LLC shall stand in the shoes of NLG, LLC with respect to

   all claims, rights and benefits held by NLG, LLC, so as to be entitled to recover all amounts

   attributable to said judgment against Elizabeth Hazan, with NLG, LLC receiving credit for all

   sums so received. Plaintiff, Selective Advisors Group, LLC, shall give a credit to Defendant

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   NLG, LLC in the sum of $2,746,953.34, which amount included principal and interest through

   August 31, 2014, at the 11% judgment rate without prejudice to Defendant establishing at further

   hearing why the credited amount should be greater.”

          17.    Numerous hearings were held by the state court and all parties were afforded an

   opportunity to present evidence on the subject of the Foreign Judgment and proceedings

   supplementary resulting in numerous orders being entered by the state court. Honorable Judge

   Peter Lopez specifically judicially assigned on August 20, 2014 the judgment, rights, claims and

   Benefits held by NLG against the Debtor to Selective Advisors. A copy of the Order granting

   Selective Advisors Motion for Proceedings Supplementary Proceedings is attached hereto as

   Exhibit B.

          18.     On or about August 20, 2014 Selective Advisors satisfied the NLG judgment,

   mortgage against the Debtor and released the Debtor from all NLG’S claims. Selective Advisors

   gave a credit of $2,746,953.34 to NLG as per Judge Lopez’s Court Order dated August 20, 2014.

          19.    On October 30, 2014, NY Judge Barbara Jaffee recognized the Judge Lopez

   Order of assignment of NLG's judgment and mortgage against Elizabeth Hazan and had all

   NLG’s judgments against the Debtor stricken of record and changed the caption in the action

   from NLG to Selective Advisors Group.On November 13, 2014, Judge Jaffee dismissed NLG's

   lis pendens and recognized the Selective Advisors’ satisfaction of judgment against Elizabeth

   Hazan recorded in FL by Selective Advisors Group

          20.    On or about September 30, 2015, Selective Advisors filed a Satisfaction of

   Judgment wherein Selective Advisors acknowledged partial payments by NLG, as per the order

   of the state court dated August 20, 2014, whereby all of NLG’s judgment, rights and benefits
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   against the Debtor to Selective Advisors were paid in full and satisfied.        A copy of the

   Satisfaction of Judgment is attached hereto as Exhibit C.

          21.     On October 1, 2105, NLG, LLC moved to vacate and cancel Foreign Judgment

   and close the case. Based on the pleadings on file and the arguments of counsel, Judge Lopez

   entered an Order essentially denying said motion thereby, once again, confirming the rights of

   Creditor Selective Advisors.

          22.     On October 26, 2015, NLG, LLC filed a motion to Reconsider or Rescind the

   Order Granting Selective Advisors’s Motion for Proceedings Supplementary, and Strike The

   assignment of NLG’s judgment against the Debtor to Selective Advisors once again, after notice,

   argument of counsel, and the State Court ruled on November 16, 2015 that “Defendant’s Motion

   to Re-Consider or Rescind Non-Final Order Granting Plaintiff’s Motion for Proceedings

   Supplementary and Order Impleading Supplementary and Order Impleading Third Party is

   hereby Denied. Plaintiff’s Motion to Strike Defendant’s Motion to Reconsider or Rescind Non-

   Final Order Granting Plaintiff’s Motion for Proceedings Supplementary and for Order

   Impleading Third Party for Lack of Jurisdiction is hereby moot”.

          23.     On December 21, 2015, NLG’s motion to restore its motion to vacate the

   Selective judgment was also denied.

          24.     On January 11, 2016 Debtor filed for Chapter 11 bankruptcy protection

          25.     On January 29, 2016, NLG violated the bankruptcy stay by filing a new action in

   United States Court New York Southern District Court to set aside for the 6th or 7th time the

   Selective lawful valid final judgment against NLG hoping to prevail in striking the assignment of

   NLG’s judgment and mortgage against Debtor Hazan to Selective.
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             26.   On July 21, 2016 Honorable Chief Judge Colleen McMahon ruled in favor of

   Selective and against NLG validating one more time Selective’s judgment against NLG and

   resolving all the fraud NLG’s allegations.

             27.    During the course of multi-state execution proceedings, it has become clear that

   Mr. Kosachuk has no authority to act on behalf of NLG, LLC.

             28.   Meridian Trust Company is the only proper party to bind NLG.

             29.   Kosachuk has no standing to represent NLG.

             30.   On July 20, 2016, the District Court for the Southern District of New York

   entered an Order “Remanding” Case and holding that the judgment properly held by Selective

   was satisfied and the case was over. The Court further held that the Defendant must show cause

   as to why it should not be sanctioned for wasting the Court’s time. A true and correct copy of

   the Order “Remanding” Case is attached hereto as Exhibit C.

                                    IV.     CAUSES OF ACTION

                     COUNT I – TO DETERMINE THE EXTENT, VALIDITY
                       AND PRIORITY OF NLG, LLC’S CLAIM OF LIEN

             31.   The Plaintiff incorporates and realleges paragraphs 1 through 30 of this

   Complaint as though fully set forth herein.

             32.   Plaintiff requests a determination by this Court of the amount, extent, validity,

   perfection, priority and enforceability of NLG, LLC’s lien right(s) on the Property.

             33.   A determination by this Court of the amount, extent, validity, perfection, priority

   and enforceability of the lien claimed by NLG is necessary for the proper administration of this

   estate.

             34.   All conditions precedent to bringing this action have been performed or have

   occurred.
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             WHEREFORE, Plaintiff respectfully requests this Honorable Court enter an Order:

             (a)   determining the extent, validity, perfection, priority, and enforceability of

   Defendant, NLG, LLC’s lien rights on the Property.

             (b)   determining that the Defendant, NLG, LLC holds no lien on the Property;

             (c)   determining,     alternatively, that the Defendant, NLG, LLC’s lien rights are

   inferior to Selective Advisors; and

             (d)   granting such other and further relief as this Honorable Court deems just and

   proper.

                          COUNT II – AVOIDANCE OF NLG, LLC’S
                      SECURITY INTEREST PURSUANT TO 11 U.S.C. § 544

             35.   Plaintiffs incorporates and realleges paragraphs 1 through 30 of this Complaint as

   though fully set forth herein.

             36.   Chris Kosachuk has no authority to bind NLG

             37.   NLG’s Final Judgment against the Debtor and all rights, claims and benefits held

   against the Debtor were judicially assigned to Selective Advisors by operation of law.

             38.   Selective Advisors stood in the shoes of NLG, LLC with respect to judgment, all

   claims, rights, and benefits held by NLG, LLC, so as to entitle it to recover all proceeds

   attributable to said judgment against Debtor.

             39.   On August 31, 2014, Selective Advisors gave a credit to NLG, LLC in the sum of

   $2,746,953.34.

             WHEREFORE, Plaintiff respectfully requests this Honorable Court enter an Order

   determining avoidance of NLG, LLC’s security interest pursuant to 11. U.S.C. § 544 and

   granting such other and further relief as this Honorable Court deems just and proper.
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                                       Respectfully submitted,

                                       MARSHALL SOCARRAS GRANT, P.L.
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                                       Email: jgrant@msglaw.com

                                       By:   /s/ Joe M. Grant
                                               JOE M. GRANT
                                               Florida Bar No. 137758
                                               ADAM D. MARSHALL
                                               Florida Bar No. 579823
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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov


   In re:
                                                               Chapter 11
   LIZA HAZAN
   a/k/a ELIZABETH HAZAN,                                      Case No. 16-10389-AJC

         Debtor,
   ___________________________________/

         CREDITOR SELECTIVE ADVISORS GROUP, LLC’S RESPONSE TO
        REPLY FILED BY NLG TO NOTICE OF FILING OF SUPPLEMENTAL
    FACTS AND AUTHORITY ON BEHALF OF SELECTIVE ADVISORS GROUP, LLC

            Creditor, Selective Advisors Group, LLC (“Selective”), by and through its undersigned

   counsel, by way of this filing, respectfully states:

            NLG, LLC does not and cannot deny that Chief Judge McMahon of the Southern District

   of New York, on July 21, 2016, has held that (i) the underlying Judgment against NLG, LLC was

   assigned on June 2014 to Selective Advisors Group, LLC and (ii) that the Selective judgment

   against NLG was a good, valid judgment and not a fraud as alleged by NLG. Neither does NLG

   deny (nor can it) that Chief Judge McMahon’s order reflects that all attempts made by NLG to

   vacate the Selective Judgment were denied. Attached hereto as Exhibit “A” is the Order

   “Remanding” Case. Moreover, NLG does not deny (and cannot deny) that NLG violated the

   bankruptcy stay by filing this action in the Southern District of New York, hoping to set aside the

   assignment of the NLG mortgage and Judgment against Debtor to Selective after Debtor’s

   bankruptcy filing without seeking relief from stay from this Honorable bankruptcy court. Thus,

   NLG should be held in contempt for violating the bankruptcy stay.
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                        SELECTIVE ADVISORS GROUP, LLC SATISFIED
                           THE NLG JUDGMENT AGAINST DEBTOR

           On August 20, 2014, Selective became the assignee of the NLG’s Judgment on the

   promissory note signed by debtor in 2007 also secured by a mortgage on debtor fisher island

   residence (“the Scola judgment”). All the NLG’s claims, benefits and rights against the debtor

   were also assigned to Debtor and Selective provided a credit of the Scola judgment entered on

   April 28, 2008 at 11% in a total amount of $2,746,953.34 to NLG. Selective satisfied the NLG’s

   judgment and mortgage against debtor. Attached as Exhibit “B” true and correct copies of the

   satisfactions of the judgment and mortgage filed of record by Selective of NLG’s judgment and

   mortgage against the debtor.

               SELECTIVE IS THE SCHEDULED SECURED CREDITOR ON
             DEBTOR’S SCHEDULES AND NLG IS MERELY A NOTICE PARTY

           NLG in its reply attempts to distract this Court by making arguments that have already

   been disclosed to this Court. The fact that Selective is owned by Debtor’s husband is totally

   irrelevant and has already been disclosed by both Debtor and Selective.

           NLG is not a scheduled creditor but was listed for notice purposes only. Selective is the

   secured creditor in this bankruptcy case and the balance is zero as Selective filed satisfactions of

   the Mortgage and the Judgment. NLG also did not file a proof of claim, is not an interested party

   and is not a creditor in this case.

           The moving party must have standing to seek relief from stay. It must be the “real party

   in interest.” Generally, the “real party in interest” is the one who, under the applicable

   substantive law, has the legal right which is sought to be enforced or is the party entitled to bring

   suit. Coe v. United States District Court for the District of Colorado, 676 F.2d 411, 415 (10th

   Cir.1982); see Lubbock Feed Lots, Inc. v. Iowa Beef Processors, Inc., 630 F.2d 250, 256-57 (5th

   Cir.1980); Virginia Electric & Power Co. v. Westinghouse Electric Corp., 485 F.2d 78, 83 (4th

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   Cir.1973), cert. denied, 415 U.S. 935, 94 S.Ct. 1450, 39 L.Ed.2d 493 (1974); Weniger v. Union

   Center Plaza Associates, 387 F.Supp. 849, 855 (S.D.N.Y.1974); seegenerally 3A J. Moore & J.

   Lucas, Moore's Federal Practice ¶ 17.07 (2d ed. 1979); 6 C. Wright & A. Miller, Federal

   Practice and Procedure §§ 1543-1544 (1971); In re Comcoach Corp., 698 F.2d 571, 573 (2d

   Cir. 1983). In this Court, assuming proper jurisdiction over the debtor, the issue of standing is

   one to be determined by this Court. See In re Miller, supra.

          NLG lacks standing in this case for various reasons. Its claim was judicially assigned by

   the Florida Circuit Court to Selective. Selective, not NLG, is the real party in interest, and all

   rights and interests in the NLG foreclosure action passed to Selective. The benefits of the NLG

   appeal, and the right to proceed to foreclose has been judicially assigned, and is now assigned, to

   Selective. Moreover, NLG is not a scheduled creditor of this case, and has not filed a claim

   against this estate, and therefore lacks standing as a “party in interest.” In re E.S. Bankest,

   L.C. 321 B.R. 590 (Bankr. S.D. Fla. 2005).

          Selective has satisfied the judgment and mortgage therefore the Debtor has equity in this

   property and needs the property to proceed with its reorganization. Courts have held that a

   defendant in an adversary proceeding, unscheduled, and without a proof of claim, does not have

   standing to participate in a bankruptcy proceeding. Forman v. Youngman, No. CIV. 13-5877,

   2014 WL 2763608, at *3 (D.N.J. June 17, 2014), appeal dismissed (Feb. 10, 2015); See In re

   FBN Food Servs., 1995 WL 230958 (N.D.Ill.1995) (holding that a defendant in an adversary

   proceeding does not have standing to object to a creditor's claim in the main case); In re

   MarketXT Holdings Corp., 336 B.R. 67 (Bankr.S.D.N.Y.2006) (“An entity's status as a

   defendant in an adversary proceeding does not make it a ‘party in interest’ entitled to intervene in

   other adversary proceedings....”); See also In re O'Brien Environmental Energy, Inc., 181 F.3d




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   527, 531 (3d Cir.1991) (finding that even prospective purchasers of property lack standing to

   object to a sale).

             NLG LACKS STANDING TO FILE ANY PLEADINGS IN THIS CASE

           NLG relies upon an Order dated September 3, 2014 in the Hazan/NLG legal proceedings

   (NOT SELECTIVE/NLG proceedings), that “Kosachuk is the proper NLG spokesman by citing

   the following: “NLG did have standing and that its representative (Mr. Kosachuk) was a proper

   representative of NLG”.

           This argument lacks candor. Those NLG/HAZAN proceedings cited by Kosachuk have

   nothing to do with Selective’s rights to pursue under their lawful judgment who the real owner of

   NLG is and to depose Chris Kosachuk and to pursue discovery available to it in judgment

   execution proceedings. NLG fails to disclose that Selective continued pursuing collection efforts

   in multiple states and served discovery requests to produce documents upon NLG’s counsel in

   Florida and New York in 2014 and 2015, as Kosachuk’s ever changing stories and lies about

   NLG’s ownership continued and remain unresolved. Selective served discovery requests upon

   NLG and its counsel to produce documents related to ownership of NLG in September, October

   and December 2014 and 2015 and also continued same in 2015 in the New York proceedings.

   Since 2009, Kosachuk never produced any responsive documents, when Quebec (judgment

   predecessor) then Selective started collection efforts in multiple states. Chris Kosachuk has

   never produced a shred of evidence in any court, which has led to him being held in contempt of

   courts. Kosachuk said he could not recall who he is talking to at NLG, he does not have a phone

   number at Meridian Trust Company (alleged owner of NLG) in Nevis, or Luxcom (another

   alleged owner of NLG) or some mysterious Companies in the British Virgin Islands. All the

   research and efforts made by Quebec and Selective to discover whether Luxcom, Merdian exist

   have revealed that Kosachuk has utterly fabricated NLG’s ownership history. Kosachuk also

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   testified that NLG does not file tax returns.

          WHEREFORE, the NLG Motion for Relief should be denied, and the Court should enter

   any other further relief it deems appropriate under these circumstances.

                                                   Respectfully submitted,

                                                   MARSHALL SOCARRAS GRANT, P.L.
                                                   Attorneys for Creditor,
                                                   Selective Advisors Group, LLC
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                                                   Boca Raton, Florida 33432
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                                                   Email: jgrant@msglaw.com


                                                   By: /s/ Joe M. Grant
                                                          JOE M. GRANT
                                                          Florida Bar No. 137758

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with

   the Clerk of Court using the CM/ECF system and served on all parties listed on the attached

   service list on this 22nd day of August, 2016.

                                                         /s/ Joe M. Grant
                                                           JOE M. GRANT




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   VIA U.S. MAIL

   All creditors and interested parties on the attached Court matrix




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           ORDERED in the Southern District of Florida on August 31, 2016.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov

          IN RE:                                                       Case No: 16-10389 AJC

          LIZA HAZAN                                                   Chapter 11
          a/k/a Elizabeth Hazan

                 Debtor.
                                        /

                   ORDER APPROVING STIPULATION OF SETTLEMENT OF CLAIM 8

                 THIS CAUSE came before the Court upon the Stipulation of Settlement between Debtor-In-

          Possession, Liza Hazan (”Hazan” or “Debtor”) and Real Time Resolutions, Inc. as agent for The

          Bank of New York Mellon FKA The Bank of New York, as Successor to JPMorgan Chase Bank,

          N.A/, as Trustee for the Certificateholders of CWHEQ Revolving Home Equity Loan Trust, Series

          2005-M (the “Creditor”) (collectively the “Parties”). By and through their counsel the Parties have

          agreed to the treatment of Creditor’s claim, as set forth below.

                 1. With regard to Claim No. 8 filed on April 25, 2016 in the amount of $322,846.72 as a

          secured claim on property at 1 E 62 St 1A New York, New York 10021, the Creditor shall have
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   relief from stay without further court order.

          2. Creditor is permitted to exercise its rights and/or to negotiate for loss mitigation or other

   relief with regard to Claim No. 8.

          3. Creditor has agreed to vote its $322,846.67 claim in favor of Debtor’s plan of

   reorganization with the stipulated treatment.

          The Court being fully advised, it is

          ORDERED:

          The stipulation is APPROVED.

                                                   ###
   Copy to:

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   Counsel for Debtor Liza Hasan
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  In re:

  LIZA HAZAN,                                           CASE NO.: 16-10389 AJC

        Debtor.                                         CHAPTER 11
  ________________________________/

                           AMENDED PLAN OF REORGANIZATION
                                             ARTICLE I
                                             SUMMARY
         This Amended Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy
  Code (the “Code”)proposes to pay creditors of Debtor (the “Debtor”) from sources of payment,
  such as equity in properties andfuture income.

         Debtor has an exclusive period during which only debtor may propose a plan. The
  exclusive period wasextended through July 11, 2016 by motion filed 5/10/16 at DE 63 and
  granted at hearing 5/26/16 withoutobjection and ordered 7/7/16 at DE 99, and again extended
  through November 7, 2016, by Order entered August 22, 2016 (DE 173).
           This Plan provides classes of claims; classes of priority claims, classes of secured claims,
  and classesof unsecured claims and equity. Unsecured creditors holding allowed claims will
  receive distributions which theproponent of this Plan has valued at a dividend of 41% to 100% of
  total allowed claims over up to 60months and paid every six months with the first payment due
  in month 6, while undisputed unsecured claimsare paid 100% within two years of the petition
  date, or by 1/11/18.
         This Plan also provides for the payment of administrative claims. If payment is not in full
  on theeffective date of this Plan with respect to any such claim (to the extent permitted by the
  Code or the claimant’sagreement), the paragraphs below will identify such claim and briefly
  summarize the proposed treatment.

          All creditors and equity security holders should refer to Articles III through VI of this
  Plan forinformation regarding the precise treatment of their claim. A disclosure statement that
  provides more detailedinformation regarding this Plan and the rights of creditors and equity
  security holders has been circulated withthis Plan. Your rights may be affected. You should
  read these papers carefully and discuss them with your attorney, if you have one. (If you do
  not have an attorney, you may wish to consult one.)
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                                            ARTICLE II
                      CLASSIFICATION OF CLAIMS AND INTERESTS
         2.01 This Plan includes a class of priority claims, classes of secured claims,classes of
  unsecured claims., and a class of equity interests.

                                    ARTICLE III
                 TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                   U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

         3.01 Unclassified Claims. Under section §1123(a)(1), administrative expense claims,
  [“gap” period claims inan involuntary case allowed under §502(f) of the Code,] and priority tax
  claims are not in classes.

          3.02 Administrative Expense Claims. Each holder of an administrative expense claim
  allowed under §503 ofthe Code, will be paid in full on the effective date of this Plan (as defined
  in Article VII), in cash, or upon such otherterms as may be agreed upon by the holder of the
  claim and the Debtor. Counsel for Debtor Geoffrey Aaronson, JoelArestyand David W. Langley
  will be paid outside of the plan and have agreed to such treatment.

         3.03 Priority Tax Claims. Each holder of a priority tax claim will be paid by terms of
  treatment consistent with§1129(a)(9)(C) of the Code.

          3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C.
  §1930(a)(6)(U.S. Trustee Fees)will accrue and be timely paid until the case is closed, dismissed,
  or converted to another chapter of the Code.Any U.S. Trustee Fees owed on or before the
  effective date of this Plan will be paid on the effective date.

                               ARTICLE IV
             TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

         4.01    Claims and interests shall be treated as follows under this Plan:



            Admin       Description                                Treatment
                        Geoffrey Aaronson                paid as awarded or agreed

                        Joel Aresty                      paid as awarded or agreed

                        David W. Langley                 Paid as awarded or agreed

                        US Trustee                       paid in full at confirmation


                                           Priority Claims
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   Class #        Description
                                      Impairment                    Treatment

                                                        The $24,663.00 priority tax claim
                                                                 (not including the
                                                        $25,000.00 placeholder claim for
                                                        not filing the 2015 return) will be
                     IRS                                   paidwithin five years of the
      1                                  yes                  petition date. Payments
                   Claim 3                                  every 6 months to include
                                                               interest on any unpaid
                                                             claim amounts after the
                                                           effective date of the plan at
                                                                         3%


                                  Secured Claims
                                 Valencia Property



                                                   Alleged First Mortgage –
                                                   The claims bar date has passed in this
                                                   case, and Chase has not filed a claim.
                                                   Chase had sufficient notice of these
                                                   proceedings to timely file a claim but
                                                   apparently chose not to do so.
                                                   Because Chase was scheduled as
                                                   disputed, contingent and unliquidated,
                                 no
                                                   and did not file a claim against this
                                                   estate, Chase lacks standing as a
                                                   “party in interest.” In re E.S. Bankest,
     2         Chase Bank                 yes      L.C. 321 B.R. 590 (Bankr. S.D. Fla.
                                                   2005).
                                                   Original note for $3,825,000 signed
                                                   3/07 Washington Mutual Bank.
                                                   Chase Bank recentlyfiled an
                                                   Assignment of mortgage on 5/26/16
                                                   alleging an interest in the loan.
                                                   Debtor is seeking stay relief to
                                                   continue state court litigation
                                                   regardingthe alleged default,
                                                   ownership of the loan and standing
                                                   issues. If the State Court enters a
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                                                final order finding and determining
                                                the validity, amount and
                                                enforceability of the mortgage and
                                                the assignment thereof, Debtor shall
                                                commence making payments of
                                                principal and interest on the
                                                balance found by a court of
                                                competent jurisdiction to be due
                                                and owing, at the modified note rate
                                                of 3% per annum amortized over
                                                the remaining original term of the
                                                loan (maturity date 2051)
                                                commencing 30 days after entry of
                                                the final order.
                                                Pending adjudication of Chase’s
                                                interest in the loan and the subject
                                                property it shall have adequate
                                                protection in the form of an equity
                                                cushion that exceeds the amount of
                                                the loan. See In re DiMaria, 202
                                                B.R. 634 (S.D. Fla 1996).

                                                   Selective Advisors Group is the
                                                     rightfulassignee of the second
                                                 mortgage holderNLG’s promissory
                                                           note, mortgage and
            Selective Advisors   yes                Judgment against Debtor in the
     3                                   yes
                  Group                         amountof $1,618,068.00 plus interest
                                                      at 11%per annum; recorded
                                                Satisfaction ofMortgage and judgment
                                                             against Debtor
                                                            and her property.
                                                      Third Mortgage on Debtor”s
                                 yes                   homestead in theamount of
                                                 $2,000.000.00 plus accrued interest
                                                         from March 14, 2012.

     4      6913 Valencia LLC            yes       The Debtor does not contest the
                                                       validityor extent of claim.
                                                Notwithstanding, theSecured Creditor
                                                 shall record asatisfaction of their lien
                                                upon PlanConfirmation and receive an
                                                            unsecuredclaim.
             Valencia Estates    no
     5     Community Assn, Inc           yes    Claim of $195,072.14. Treated in
                claim 10                        settlement:
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                                                1. Debtor paid $2,193.17 Aug 17 for
                                                due maintenance.
                                                2. Debtor pays 4 months $4,484 Sept
                                                15.
                                                3. Debtor pays assessment of $6250
                                                by 10/15/16
                                                4. Parties agree that Claim Number
                                                10 shall be paid in the amount of
                                                $195,000.00 with 3 .5% interest in
                                                the Chapter 11 Plan, over forty-
                                                eight (48) months, with one
                                                payment on the Effective Date of
                                                $4,062.00, and payments every five
                                                (5) months thereafter in the amount
                                                of $20,312.50 following the Effective
                                                Date until paid in full, with the
                                                interest payments to be made
                                                annually on the twelfth month.

                                 no             $148,943.34 - Disputed "No
                                                Payment thru Plan Fisher Island
                                                Community Association, Inc. did
                                                not file a proof of claim despite
                                                being scheduled as contingent
                                                unliquidated and disputed.

     6
             Fisher Island
                                         yes     The Debtor disputes the amount of
          Community Ass'n, Inc                  the Claim, , there is an issue as to
                                                whether Fisher Island lacks standing
                                                as a “party in interest.” In re E.S.
                                                Bankest, L.C. 321 B.R. 590 (Bankr.
                                                S.D. Fla. 2005).
                                                No payment through Plan.

          Miami-Dade Water and   no
                                                    Claim 7 $1502.54 paid on the
     7           Sewer                   yes
                                                        EffectiveDate of Plan
                claim 7
                                 no               393,985.17 - Secured claim shall be
                                                    paidover ten years with interest
                                                  paymentsevery 6 months to include
     8         IRS claim 3               yes
                                                 interest on anyunpaid claim amounts
                                                  after the effectivedate of the plan at
                                                                    3%
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                                    Other Disputed Claims

   Class #      Description
                                     Insider      Impairment           Treatment
                                                                  Claim 8 $322,846.72
                                       no                         secured is disputed.
                                                                  Creditor has agreed to
                Real Time                                         complete stay relief in
     9        Resolutions,Inc                         yes       settlement of this claim in
                 claim 8                                       this case (ECF 163) and has
                                                                agreed to support Debtor’s
                                                                      reorganization.



   Class #      Description
                                     Insider      Impairment           Treatment

                                       no                        The Debtor disputes the
                                                               Claim.The parties reached a
                                                                confidential settlement in
             Board of Managers
                                                                2015 in New York State
                  Spencer
     10                                               yes      Court that must beenforced.
               Condominium
                                                                The Debtor will seek stay
                 claim 14
                                                                   relief to enforce the
                                                               settlement in State Court in
                                                                        New York.


                                            Vehicle
                                   2007 Mercedes-Benz S550

   Class #      Description
                                     Insider      Impairment           Treatment

                                                               Stipulation DE 98 approved
                                                                         DE 101
                                                                vehicle owned by HTMG
                                                                      guaranteed by
             Southeast Financial       no                                 debtor
     11                                               yes
                   LLC                                            secured claim allowed
                                                                    $17,000 value paid
                                                                   5.25% for 48 months
                                                                  payments $393 begin
                                                                      August 1, 2016
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                    Convenience Class Undisputed Unsecured Small Claims
    Paid in full over 18 months beginning month 6 after confirmation with equal payments
                                          every 6 months

                                        Insider?
    Class #       Description
                                         (Yes or      Impairment             Treatment
                                           No)

      12           IRS claim 3             no              X                  1085.00
              American InfoSource          no
                                                           X                  1130.00
                T Mobile claim 2
              American InfoSource          no
                                                           X                   461.00
               Direct TV claim 9
                  FPL claim 11             no              X                  2906.93
                  Mount Sinai              no              X                  3,240.00
                  Mount Sinai              no              X                   295.91
                HSBC Bank USA              no
                                                           X                  1070.66
                        NA
               Sterling Emerg Svc          no              X                   2445.30
              Bank of America NA           no              X                   3301.00
              Wells Fargo claim 12         no              X                   323.24
                 Real Time Res.            no              X                  12,000.00
                       total                                                  28,259.04



                                     Settled Unsecured Claims
     Allowed Undisputed Unsecured Claims will be paid within two years of petition date
         1/11/18 payments beginning month 6 after confirmation and every 6 months

    Class #         Description            Insider?    Impaired                    treatment
                                            (Yes or
                                              No)
      13        JMB Urban 900 Dev.            no              X                     275,000.00
                        claim 4*
      14        6913 Valencia LLC**           yes             X                    2,000,000.00
                  (unsecured claim)
                          total                                                    2,275,000.00
  *claim 4 subject of adversary case 16-01188 AJC settlement pending at 41% of claim
  ** insider claim will subordinate and not be paid until all other allowed claims
   but reserves right to vote for the plan


                                     Disputed Unsecured Claims
                                  not paid until and unless allowed
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                         and then paid within 5 years after confirmation

                                                           $11,023.83 Legal bill Legal work for
              Cross & Simon            no                   Corporation other than the Debtor.
    15                                          yes
                 Claim 1                                      Debtor is disputing this claim.



                                                             $21,242 Half of Bill is invoiced
                                                                          against
                                                           6913 Valencia LLC. Attorneys bill
                                                          disputed. Attorney failed to appear at
               S&S Collections
                                                           hearing resulting in entry of default
     16        Simon &Sigalos
                                                               judgment in NLG case 4/08.
                  claim 13
                                                           Debtor has very substantial Claims
                                                          against Michael Simon Simon and his
                                                                 firm Simon Sigalos P.A.

                                                           Disputed Proof of Claims filed after
            Newman Ferrara LLP
     17                                                                   Bar Date
                claim 15
                                                              date. $24,818.44 not allowed.
                                                           Disputed Proof of Claims filed after
                                                            Bar Date. It is not a creditor of this
                FuerstItlleman
     18                                                    Debtor. Debtor has filed an objection
                  Claim 16
                                                                       to this claim.
                                                               No payment through plan


                        Unsecured Scheduled Disputed and No Claim Filed
                                     Therefore Disallowed

  Allied Collection                              318

  ATT Mobility                                   3919

  First National Collection                      246.08

  Focus Mgt                                      772

  Marzec Law Firm                                0

  Mount Sinai Medical                            31414.15

  Ray Garcia PA                                  7026.15

  Verizon                                        1758
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  US Bank NA                                         0

  Total                                              45453.38



                                                Equity

           Class #        Description
                                               Impairment                Treatment

                       Equity Individual
             19                                      no                    retained
                        interestholder


                                            ARTICLE V
                      ALLOWANCE AND DISALLOWANCE OF CLAIMS
          5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or
  disallowed by a finalnon-appealable order, and as to which either: (i) a proof of claim has been
  filed or deemed filed, and the Debtoror another party in interest has filed an objection; or (ii) no
  proof of claim has been filed, and the Debtor hasscheduled such claim as disputed, contingent, or
  unliquidated.

         5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on
  account of adisputed claim unless such claim is allowed by a final non-appealable order.
          5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to
  settle andcompromise a disputed claim with court approval and compliance with Rule 9019 of
  the Federal Rules ofBankruptcy Procedure.

                                            ARTICLE VI
          PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES
           6.01   Assumed Executory Contracts and Unexpired Leases.
                   (a)     The Debtor assumes the following executory contracts and/or unexpired
           leases effectiveupon the date of the entry of the order confirming this Plan: none.

                   (b)      The Debtor will be conclusively deemed to have rejected all executory
           contracts and/orunexpired leases not expressly assumed under section 6.01(a) above, or
           before the date of the entry of the orderconfirming this Plan. A proof of a claim arising
           from the rejection of an executory contract or unexpired leaseunder this section must be
           filed no later than thirty (30) days after the date of the order confirming this Plan.

                                           ARTICLE VII
                                     GENERAL PROVISIONS
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          7.01 Definitions and Rules of Construction. The definitions and rules of construction
  set forth in§§101 and 102 of the Code shall apply when terms defined or construed in the Code
  are used in this Plan.
          7.02 Effective Date of Plan. The effective date of this Plan is the fourteenth business
  day followingthe date of the entry of the order of confirmation. But if a stay of the confirmation
  order is in effect on that date,the effective date will be the first business day after that date on
  which no stay of the confirmation order is ineffect, provided that the confirmation order has not
  been vacated.
         7.03 Severability. If any provision in this Plan is determined to be unenforceable, the
  determinationwill in no way limit or affect the enforceability and operative effect of any other
  provision of this Plan.
          7.04 Binding Effect. The rights and obligations of any entity named or referred to in
  this Plan will bebinding upon, and will inure to the benefit of the successors or assigns of such
  entity.

         7.05 Captions. The headings contained in this Plan are for convenience of reference
  only and do notaffect the meaning or interpretation of this Plan.
          7.06 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
  (including theCode or the Federal Rules of Bankruptcy Procedure), the laws of the State of
  Florida govern this Plan and anyagreements, documents, and instruments executed in connection
  with this Plan, except as otherwise provided inthis Plan.]

                                           ARTICLE VIII
                                            DISCHARGE
         8.01. Debtor is an individual.
          11 USC 1129(a)(15) provides: In a case in which the debtor is an individual and in which
  the holder ofan allowed unsecured claim objects to the confirmation of the plan—
  (A) the value, as of the effective date of the plan, of the property to be distributed under the plan
  on account ofsuch claim is not less than the amount of such claim; or
  (B) the value of the property to be distributed under the plan is not less than the projected
  disposable incomeof the debtor (as defined in section 1325 (b)(2)) to be received during the 5-
  year period beginning on the datethat the first payment is due under the plan, or during the period
  for which the plan provides payments,whichever is longer.
  In the case at bar Debtor has provided for payments not less than Projected disposable income of
  thedebtor during a five year period beginning with the first payment due under the plan.
         Discharge. In a case in which the debtor is an individual—
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  (A)unless after notice and a hearing the court orders otherwise for cause, confirmation of the
  plandoes not discharge any debt provided for in the plan until the court grants a discharge on
  completionof all payments under the plan;
  (B)at any time after the confirmation of the plan, and after notice and a hearing, the court may
  grant adischarge to the debtor who has not completed payments under the plan if—
  (i)the value, as of the effective date of the plan, of property actually distributed under the plan
  onaccount of each allowed unsecured claim is not less than the amount that would have been
  paid onsuch claim if the estate of the debtor had been liquidated under chapter 7 on such date;
  (ii)modification of the plan under section 1127 is not practicable; and
  (iii)subparagraph (C) permits the court to discharge; and
  (C)(*)the court may grant a discharge if, after notice and a hearing held not more than 10 days
  beforethe date of the entry of the order granting the discharge, the court finds that there is no
  reasonablecause to believe that—
  (i)section522(q)(1) may be applicable to the debtor; and

  (ii)there is pending any proceeding in which the debtor may be found guilty of a felony of the
  kinddescribed in section 522(q)(1)(A) or liable for a debt of the kind described in section
  522(q)(1)(B); andif the requirements of subparagraph (A) or (B) are met.
          Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
  Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth
  herein,upon completion all payments required under the Plan to Class 20 unsecured and
  deficiencycreditors. Upon the satisfaction of all payments required under the Plan to unsecured
  creditors, theReorganized Debtor shall file a Final Report of Estate and Motion for Final Decree
  Closing Case onthe Court approved local form.
         (a) Notwithstanding the above, the Debtor may request that the Court close this
  bankruptcyproceeding prior to the entry of an Order of Discharge, pursuant to the following
  procedures:
  (b) The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to Entry ofOrder
  of Discharge (the “Motion to Close”) after the following events have occurred: (I) payment ofthe
  Initial Payment (defined in the Plan) to unsecured creditors; (ii) payment of all
  outstandingquarterly United States Trustee Fees as of the date of the Order approving the Motion
  to TemporarilyClose; and (iii) the filing of all outstanding federal income tax returns. The
  Motion to Close shallcertify that each of the above conditions have been met.
  (c) The Motion to Close (and Notice of Hearing thereto) shall be served to all creditors
  andinterested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. § 350(a),
  if eachof the above conditions have been met.
  (d) During the time that this bankruptcy case is temporarily closed, the provisions of
  theconfirmation order shall remain in effect with respect to thetreatment of creditor claims that
  existed as of the bankruptcy petition date, that being 1/11/16, as longas the Debtor continues to
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  be in compliancewith the Plan and the Court’s Order Confirming Debtor’s Plan of
  Reorganization and Setting Bar Datefor Lease and Executory Contract RejectionClaims (the
  “Confirmation Order”), and as long as the Debtor timely makes all of the payments tounsecured
  creditors, as contemplated under the Plan.

  (e) Upon the satisfaction of all payments required under the Plan to unsecured creditors,
  theDebtor may file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. §
  350(b). AnyClerk of Court fees associated with filing of the motion to reopen shall be waived.
  The motion toreopen shall be verified and served upon all creditors and parties in interest and
  shall demonstratethat the Debtor has made all of the payments contemplated under the Plan to
  unsecured creditors.
  (f) Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file a
  FinalReport of Estate and Motion for Final Decree Closing Case on the Court-approved local
  form, whichshall certify that all payments required under the Plan to unsecured creditors have
  been made. TheCourt may then grant the Debtor a discharge, pursuant to 11 U.S.C. § 1141(d)(5).


                                  Respectfully submitted, 9/6/16
                                        By: /s/ Liza Hazan
                                       The Plan Proponent


                                 By: /s/ David W. Langley, Esq.
                                     8551 W. Sunrise Blvd.
                                            Suite 303
                                      Plantation, FL 33322
                                      dave@flalawyer.com
                                     Phone 954—356-0450
                                    By: /s/David W. Langley
                                 Attorney for the Plan Proponent
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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                               MIAMI-DADE DIVISION
                                 www.flsb.uscourts.gov

  In re:
                                                CASE NO.: 16-10389-AJC
  LIZA HAZAN,
        Debtor.                                 CHAPTER 11
  ________________________________/

                          AMENDED DISCLOSURE STATEMENT

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  INTRODUCTION

          This is the amended disclosure statement (the “Disclosure Statement”) in the Chapter 11
  case ofLiza Hazan (the “Debtor”). This Disclosure Statement contains information about the
  Debtor anddescribes the Amended Plan of Reorganization (the “Plan”) filed by the Debtor on
  same date. A full copy of the Plan is filedherewith. Your rights may be affected. You should
  read the Plan and this DisclosureStatement carefully and discuss them with your attorney. If
  you do not have an attorney,you may wish to consult one. This Plan provides classes of claims;
  classes of priority claims,classes of secured claims, and classes of unsecured claims and equity.
  Unsecured creditorsholding allowed claims will receive distributions which the proponent of this
  Plan has valued atdividend of 41% to 100% of total allowed claims accrued for up to sixty
  months and paid every sixmonths with the first payment due in month 6, while undisputed
  unsecured claims are paid100% within two years of the petition date, or by 1/11/18.

         A.     Purpose of This Document

         This Disclosure Statement describes:

                        The Debtor and significant events during the bankruptcy case,
                        How the Plan proposes to treat claims or equity interests of the type you
                hold (i.e.,what you will receive on your claim or equity interest if the plan is
                confirmed),
                        Who can vote on or object to the Plan,
                        What factors the Bankruptcy Court (the “Court”) will consider when
                deciding whether to confirm the Plan,
                        Why the Proponent believes the Plan is feasible, and how the treatment
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                 of your claim or equity interest under the Plan compares to what you would
                 receive on your claim or equity interest in liquidation, and
                         The effect of confirmation of the Plan.

         Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement
  describes thePlan, but it is the Plan itself that will, if confirmed, establish your rights.

         B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

         The Court has not yet confirmed the Plan described in this Disclosure Statement. This
  sectiondescribes the procedures pursuant to which the Plan will or will not be confirmed.

                 1.      Time and Place of the Hearing to [Finally Approve This Disclosure
                         Statement and] Confirm the Plan

                 2.      Deadline For Voting to Accept or Reject the Plan

         If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot
  andreturn the ballot inthe enclosed envelope to Clerk Bankruptcy Court U.S. Courthouse C.
  ClydeAtkins United States Courthouse301 North Miami Avenue, Room 150 Miami, FL 33128.
  Seesection IV.A. below for a discussion of votingeligibility requirements.

         Your ballot must be received by the date indicated in the order of the court or it will not
  be counted.

                 3.      Deadline For Objecting to the Adequacy of Disclosure and
                         Confirmation of the Plan

         Objections to this Disclosure Statement or to the confirmation of the Plan must be filed
  with the Courtand served pursuant to orders served herewith.

                 4.      Identity of Person to Contact for More Information

         If you want additional information about the Plan, you should contact:

                                            David W. Langley
                                            counsel for Debtor
                                      8551 W. Sunrise Blvd., Suite 303
                                           Plantation, FL 33322
                                              954-356-0450
                                           dave@flalawyer.com

         C.      Disclaimer

         The Court must approve this Disclosure Statement as containing adequate information
  toenable parties affected by the Plan to make an informed judgment about its terms. TheCourt
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  has notyet determined whether the Plan meets the legal requirements for confirmation, and
  the fact that theCourt has approved this Disclosure Statement does not constitute an
  endorsement of the Plan by theCourt, or a recommendation that it be accepted.


  II.    BACKGROUND

         A.      Description and History of the Debtor’s Business

          Debtor works as a business consultant specializing in identifying locations for high-end
  restaurants andretailers around the world. She has historically earned in excess of $350,000 per
  year.
          The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
  Fisher Island,Florida (the “Property”) scheduled at $12,000,000.00.
          Additionally debtor has scheduled household furniture, dishes and china, household
  electronics andclothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.
          Debtor has the ability to rent her Fisher Island property for short periods at very high
  rental rates addingup to $300,000 per year.Additionally the equity in Fisher Island would support
  a refinancing, which could also be used supportfunding a plan if necessary.
          In addition to the foregoing, Debtor’s husband controls a corporation, Real Estate
  Holdings Group LDC which owns a condominium in New York City in the Spencer
  Condominium, Unit 1A of 1 East 62nd Street, New York, New York 10065. Real Estate Holdings
  Group LDC has committed to contribute funds fromthe proceeds of refinancing to Debtor’s
  estate to fund the plan in order to assure completion of the plan.

         B.      Insiders of the Debtor

         Debtor is an individual and constitutes Debtor’s insiders as defined in §101(31) of the
  United StatesBankruptcy Code (the “Code”). For the past two years there has been no salaries
  paid except professionalearnings.

         C.      Management of the Debtor Before and During the Bankruptcy

          During the two years prior to the date on which the bankruptcy petition was filed, the
  officers, directors,managers or other persons in control of the Debtor (collectively the
  “Managers”) were Debtor.
          The Managers of the Debtor during the Debtor’s Chapter 11 case has been: Debtor.
          After the effective date of the order confirming the Plan, the directors, officers, and
  voting trustees ofthe Debtor, any affiliate of the Debtor participating in a joint Plan with the
  Debtor, or successor of the Debtorunder the Plan (collectively the “Post Confirmation
  Managers”), will be: Debtor.

         D.      Events Leading to Chapter 11 Filing

          Debtor sought relief under Chapter 11 in order to end years of litigation between multiple
  creditors invarious disputes across the country, to bring all matters into a single forum, and to
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  fashion a Plan ofReorganization, which will resolve all disputes without needlessly jeopardizing
  the Debtor’s equity in hervarious assets.
          In 2007 Debtor purchased the property located at 6913 Valencia Drive, Fisher Island,
  Florida (the“Property”) now valued at $12 million for $5.1 million from NLG through its
  principal Chris Kosachuk


         Chase Bank

         In March 7, 2007 Debtor signed a first promissory note and mortgage with Washington
  Mutual. JP Morgan Chase Bank claims to own the Washington Mutual promissory note and
  mortgage signed by Debtor in March 7, 2007.

         Chase filed a foreclosure in August 2013, which remains pending as case 2013-CA-
  025902. Chase did not file an assignment of mortgage to itself until 5/26/16. The maturity date of
  the Loan is August 2051.

          Because Chase was scheduled as disputed, contingent and unliquidated, and did not file a
  claim against this estate, there is an issue as to whether Chase lacks standing as a “party in
  interest.” In re E.S. Bankest, L.C. 321 B.R. 590 (Bankr. S.D. Fla. 2005).

         NLG

           NLGclaims to have provided an “equity contribution” of $1,275,000 to the Debtor on the
  closing statement and a note and second mortgage on the Fisher Island property forthat amount
  from Debtor after Closing.
           NLG sued within four months of the closing in 2007, and has pursued Debtor to this date
  in an attempt to wrongfully obtain Debtor’s property. Litigation between the parties hasoccurred
  in four states, multiplecourts and has continued for nearly a decade, and continues in this court,
  costing Debtor millions in legal fees, adversely affectingher health and her career, and putting
  her in the financial position of having to seek relief in a Chapter 11reorganization.
  Chris Kosachuk asserts that he is the manager and representative of NLG. From prior to that
  purchase date, more than nine years ago, to today, the parties have had multiple disputes and
  have engaged in litigation in multiple courts in Florida, New York, Pennsylvania and Delaware.
  Final orders have been entered in various courts setting forth the rights of these parties. But the
  litigation nevertheless has continued, and is now in this Court.
  NLG moved for stay relief in this court (D.E. 66) but said relief was denied (D.E. 176).
  Selective Advisors Group, LLC, an affiliate of Debtor’s husband, ownsNLG’s claim through
  execution of a judgment against NLG.On August 23, 2016 the bankruptcy court entered its
  decision denying NLG’s motion for relief from the automatic stay. ECF 176. This Honorable
  Court ruled as follows:

                        First, NLG is not a scheduled creditor in this case. The Debtor
                 scheduled Selective as its secured creditor, relying on the judicial
                 assignment in the Proceedings Supplementary Order, pursuant to the
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              Scola judgment. NLG was listed solely as a notice party. and second
              The claims bar date has passed in this case, and NLG has not filed a
              claim. NLG indeed had sufficient notice of these proceedings to
              timely file a claim (both NLG’s counsel and Kosachuk himself
              appeared and questioned the Debtor at the 341 meeting), but
              apparently chose not to. Because NLG has not been scheduled and did
              not file a claim against this estate, there is an issue as to whether NLG
              lacks standing as a “party in interest.” In re E.S. Bankest, L.C. 321
              B.R. 590 (Bankr. S.D. Fla. 2005).

              …

              The Debtor’s Schedules indicate a disputed first mortgage on the
              property for $ 5.2 million dollars to Chase Bank N.A.; a mortgage for
              $2.0 million dollars to an entity owned by her mother that Debtor and
              her mother represented may be subordinated and/or satisfied in
              connection with a plan, and various other miscellaneous liens less than
              $300,000.The Debtor values the Selective lien at zero, because
              Selective, as judicial assignee of NLG, is owned by her husband and
              has filed a Satisfaction of Judgment and a Satisfaction of Mortgage.

              …

              The Debtor also asserts the Property is necessary to an effective
              reorganization. She resides on the Property with her husband and has
              declared the Property to be her homestead. The Debtor is a financial
              consultant who earns her income from consulting fees in connection
              with placing high-end retail and restaurant businesses in certain top-
              tier shopping locations. She entertainsprospects at home. She also
              asserts significant equity in the home sufficient to refinance and/or
              collateralize the payment of her unsecured debt”.

                        The Debtor has filed with the Court an appraisal of the
              Property for $9.5 million, and asserts: (1) that the Debtor is negotiating
              with Chase regarding various issues; (ii) that NLG’s right to foreclose
              was judicially assigned to Selective, which has satisfied the Hazan
              mortgage in partial satisfaction of its judgment against NLG; and (iii)
              that the mortgage held by Debtor’s mother’s company will be
              subordinated or satisfied as part a plan. The Court believes the Debtor
              has presumptively established the prospect of equity in the Property
              for the benefit of creditors, and further believes the Debtor has
              established the Property is necessary for an effective reorganization as
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                she uses the Property for business purposes and any plan filed in this
                case will be premised upon, at least in part, future business income.

         Reorganization

          The Debtor intends to reorganize her debts and liabilities through a combination of: (a)
  negotiating and/or litigating as may be necessary, resolutions with certain secured and unsecured
  creditors; and (b) making distributions funded by her assets and income from her
  consultingwork, and short term rental, or if necessary refinancing and contributions from her
  husband’s company.

          To date, the Debtor’s efforts have focused on negotiating resolutions with several
  creditors, litigatingwith two other creditors, conferring with counsel to begin formulating the
  structure and terms of a proposedPlan, and expanding her consulting income for the eventual
  benefit of her estate and creditors.

         E.     Significant Events During the Bankruptcy Case

                *       Date of Order for Relief under Chapter 11 on 1/11/16

                *       Meeting of Creditors Chapter 11 held on 2/17/16 at 2PM

                *       Deadline for complaint re dischargeability was 4/18/16

                *       Professionals approved by the court
                        Geoffrey Aaronson appointed 5/3/16 DE 85 nunc pro tunc to petition date
                        Joel Arestywas substituted as counsel for Debtor in Possession on
                        7/29/2016 (D.E. 126)
                        David W. Langley entered an appearance as counsel for the Debtor on
                        9/6/2016 and is awaiting approval by the Court

                *       Contested claim disallowance proceedings: pending; see claim treatments.

                *       Claims bar, proofs of claim due 5/17/16; For a governmental unit: 7/11/16

                *       Debtor hasmanaged her affairs to enhance the value of her assets. Post
                        petition, the bankruptcy filing, has allowed Debtor toreorganize allowing
                        Debtor to propose a plan for payment of creditors.

         F.     Projected Recovery of Avoidable Transfers

         The Debtor has completed her investigation with regard to prepetition transactions.

          11 USC 547(b) preferences limits the look back for an insider preference to one year.
  Florida statute726.106(2) likewise has a one year limitation.
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          11 USC 548 fraudulent transfers has a two year look back, and incorporates Florida
  Statute 726 whichhas a four year look back, but only as to avoidance for intentional hinder delay
  or fraud, or lack of reasonableequivalent value, which facts are not relevant to the plan in this
  case.

         G.      Claims Objections

          The Debtor has not completed claim objections but the current plan reflects the
  objectionscontemplated.

         H.      Current and Historical Financial Conditions

          The identity and fair market value of the estate’s assets are listed in an Exhibit A and B to
  thisstatement. Debtor is the source of this information and Debtor’s experience with her assets is
  the basis of valuation.
          Debtor’s income based on consulting and periodic rental is not a regular monthly income
  which wouldlend itself to making monthly payments. Debtor’s income, while significant, is
  sporadic, as a result of which payments are proposed on quarterly or bi-yearly basis.

         I. Taxes

  Debtor has tax liabilities as evidenced by priority claim in plan Class 1.

  III.   SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF
         CLAIMS AND EQUITYINTERESTS

         A.      What is the Purpose of the Plan of Reorganization?

          As required by the Code, the Plan places claims and equity interests in various classes
  and describesthe treatment each class will receive. The Plan also states whether each class of
  claims or equity interests isimpaired or unimpaired. If the Plan is confirmed, your recovery will
  be limited to the amount provided by thePlan.

         B.      Unclassified Claims

         Certain types of claims are automatically entitled to specific treatment under the Code.
  They are notconsidered impaired, and holders of such claims do not vote on the Plan. They may,
  however, object if, in theirview, their treatment under the Plan does not comply with that
  required by the Code. As such, the PlanProponent has not placed the following claims in any
  class:
                1.      Administrative Expenses

         Administrative expenses are costs or expenses of administering the Debtor’s Chapter 11
  case whichare allowed under §507(a)(2) of the Code. Administrative expenses also include the
  value of any goods sold tothe Debtor in the ordinary course of business and received within 20
  days before the date of the bankruptcypetition. The Code requires that all administrative
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  expenses be paid on the effective date of the Plan, unless aparticular claimant agrees to a
  different treatment.

                 2.      Priority Tax Claims

         Priority tax claims are unsecured income, employment, and other taxes described by
  §507(a)(8) of theCode. Unless the holder of such a §507(a)(8) priority tax claim agrees
  otherwise, it must receive the presentvalue of such claim, in regular installments paid over a
  period not exceeding 5 years from the order of relief.

         See class 1 below

         C.      Classes of Claims and Equity Interests

          The following are the classes set forth in the Plan, and the proposed treatment that they
  will receiveunder the Plan:

         Classes of Priority Unsecured Claims

         Certain priority claims that are referred to in §§507(a)(1), (4), (5), (6), and (7) of the
  Code are requiredto be placed in classes. The Code requires that each holder of such a claim
  receive cash on the effective dateof the Plan equal to the allowed amount of such claim.
  However, a class of holders of such claims may vote toaccept different treatment.

          The following chart lists all classes containing claims under §§507(a)(1), (4), (5), (6), and
  (a)(7) of theCode and their proposed treatment under the Plan:

         Classes of Secured Claims

          Allowed Secured Claims are claims secured by property of the Debtor’s bankruptcy
  estate (or that aresubject to setoff) to the extent allowed as secured claims under §506 of the
  Code. If the value of the collateralor setoffs securing the creditor’s claim is less than the amount
  of the creditor’s allowed claim, the deficiency will[be classified as a general unsecured claim].

          The following chart lists all classes containing Debtor’s secured prepetition claims and
  their proposedtreatment under the Plan:

          General unsecured claims are not secured by property of the estate and are not entitled to
  priorityunder §507(a) of the Code.

         The following chart identifies the Plan’s proposed treatment of Class contains general
  unsecured claimsagainst the Debtor:

         Class[es] of Equity Interest Holders
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         Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in
  the Debtor.With respect to an individual who is a debtor, the Debtor is the equity interest holder.




             Admin      Description                                  Treatment
                        Geoffrey Aaronson                 paid as awarded or agreed



                        Joel Aresty                       paid as awarded or agreed



                                                          paid as awarded or agreed
                        David W. Langley


                        US Trustee                        paid in full at confirmation



                                           Priority Claims

   Class #           Description
                                              Impairment                     Treatment

                                                                  The $24,663.00 priority tax claim
                                                                     not including the$25,000.00
                                                                 placeholder claim for not filing the
                         IRS                                     2015 return) will be paidwithin five
      1                                            yes                years of thepetition date.
                       Claim 3                                       Paymentsevery 6 months to
                                                                 includeinterest on any unpaidclaim
                                                                  amounts after theeffective date of
                                                                             the plan at3%



                                           Secured Claims
                                          Valencia Property
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                                                Alleged First Mortgage –
                                                The claims bar date has passed in this
                                                case, and Chase has not filed a claim.
                                  no
                                                Chase had sufficient notice of these
                                                proceedings to timely file a claim but
                                                apparently chose not to do so.
                                                Because Chase was scheduled as
                                                disputed, contingent and unliquidated,
                                                and did not file a claim against this
                                                estate, Chase lacks standing as a
                                                “party in interest.” In re E.S. Bankest,
                                                L.C. 321 B.R. 590 (Bankr. S.D. Fla.
                                                2005).

                                                Original note for $3,825,000.00
                                                signed 3/07 Washington Mutual
                                                Bank. Chase Bank recently filed an
                                                Assignment of mortgage on 5/26/16
     2         Chase Bank                 yes   alleging an interest in the loan.
                                                Debtor is seeking stay relief to
                                                continue state court litigation
                                                regarding the alleged default,
                                                ownership of the loan and standing
                                                issues. If the State Court enters a
                                                final order finding and determining
                                                the validity, amount and
                                                enforceability of the mortgage and
                                                the assignment thereof, Debtor shall
                                                commence making payments of
                                                principal and interest on the
                                                balance found by a court of
                                                competent jurisdiction to be due
                                                and owing, at the modified note rate
                                                of 3% per annum amortized over
                                                the remaining original term of the
                                                loan (maturity date 2051)
                                                commencing 30 days after entry of
                                                the final order.
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                                                Pending adjudication of Chase’s
                                                interest in the loan and the subject
                                                property it shall have adequate
                                                protection in the form of an equity
                                                cushion that exceeds the amount of
                                                the loan. See In re DiMaria, 202
                                                B.R. 634 (S.D. Fla 1996).


                                                   Selective Advisors Group is the
                                                    rightful assignee of the second
                                                 mortgage holder NLG’s promissory
                                                 note, mortgage andJudgment against
                                 yes
            Selective Advisors                         Debtor in the amount of
     3                                    yes
                  Group                         $1,618,068.00 plus interest at 11% per
                                                   annum; recorded Satisfaction of
                                                   Mortgage and judgment against
                                                       Debtorand her property.

                                                   Third Secured Mortgage in the
                                                 amount of $2,000.000.00plus accrued
                                                    interest from March 14, 2012.

                                 yes               The Debtor does not contest the
     4      6913 Valencia LLC             yes
                                                      validity or extent of claim.
                                                Notwithstanding, the Secured Creditor
                                                shall record a satisfaction of their lien
                                                 upon Plan Confirmation and receive
                                                         an unsecured claim.
                                                Claim of $195,072.14. Treated in
                                                settlement as follows:
                                                1. Debtor paid $2,193.17 Aug 17 for
                                                due maintenance.
             Valencia Estates     no            2. Debtor pays 4 months $4,484.00
     5     Community Assn, Inc            yes   Sept 15.
                claim 10
                                                3. Debtor pays assessment of
                                                $6250.00 by 10/15/16
                                                4. Parties agree that Claim Number 10
                                                shall be paid in the amount of
                                                $195,000.00 with 3 .5% interest in the
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                                                     Chapter 11 Plan, over forty-eight (48)
                                                     months, with one payment on the
                                                     Effective Date of $4,062.00, and
                                                     payments every five (5) months
                                                     thereafter in the amount of $20,312.50
                                                     following the Effective Date until paid
                                                     in full, with the interest payments to
                                                     be made annually on the twelfth
                                                     month.

                                                     $148,943.34 - Disputed "No Payment
                                                     thru Plan Fisher Island Community
                                      no             Association, Inc. did not file a proof
                                                     of claim despite being scheduled as
                                                     contingent unliquidated and disputed.
                Fisher Island                         The Debtor disputes the amount of
     6                                         yes
             Community Ass'n, Inc                    the Claim, there is an issue as to
                                                     whether Fisher Island lacks standing
                                                     as a “party in interest.” In re E.S.
                                                     Bankest, L.C. 321 B.R. 590 (Bankr.
                                                     S.D. Fla. 2005).
                                                     No payment through Plan.
             Miami-Dade Water and
                                                            Claim 7 $1502.54 paid on the
     7              Sewer             no       yes
                                                                EffectiveDate of Plan
                   claim 7
                                                      $393,985.17 - Secured claim Shall be
                                                         paidover ten years with interest
                                                       Paymentsevery 6 months to include
     8           IRS claim 3                   yes
                                                      interest on anyunpaid claim amounts
                                      no               after the effectivedate of the plan at
                                                                         3%




                                    Other Disputed Claims

   Class #        Description
                                     Insider     Impairment               Treatment
                                                                      Claim 8 $322,846.72
                  Real Time
     9                                               yes              secured is disputed.
                Resolutions, Inc
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                                                                   Alleged Creditor has agreed
                                                                     to complete stay relief in
              claim 8                    no                         settlement of this claim in
                                                                   this case (ECF 163) and has
                                                                    agreed to support Debtor’s
                                                                          reorganization


   Class #        Description
                                       Insider      Impairment             Treatment

                                                                     The Debtor disputes the
                                                                   Claim. The parties reached a
                                                                    confidential settlement in
               Board of Managers
                                                                     2015 in New York State
                    Spencer
     10                                  no             yes             Court that must be
                 Condominium
                                                                    enforced.Debtor will seek
                   claim 14
                                                                     stay relief to enforce the
                                                                   settlement in State Court in
                                                                            New York.


                                              Vehicle
                                     2007 Mercedes-Benz S550

   Class #        Description
                                       Insider      Impairment             Treatment

                                                                   Stipulation DE 98 approved
                                                                              DE 101
                                                                    vehicle owned by HTMG
                                                                           guaranteed by
               Southeast Financial
     11                                  no             yes             debtorsecured claim
                     LLC
                                                                      allowed $17,000 value
                                                                    paid5.25% for 48 months
                                                                       payments $393 begin
                                                                          August 1, 2016


                         Convenience Class Undisputed Unsecured Small Claims
               Paid in full over 18 months beginning month 6 after confirmation with equal
                                     payments every 6 months


    Class #        Description         Insider?
                                                    Impairment            Treatment
                                        (Yes or
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                                          No)

      12           IRS claim 3             no               X                    1085.00
              American InfoSource          no
                                                            X                    1130.00
                T Mobile claim 2
              American InfoSource          no
                                                            X                        461.00
               Direct TV claim 9
                  FPL claim 11             no               X                    2906.93
                  Mount Sinai              no               X                    3,240.00
                  Mount Sinai              no               X                     295.91
                HSBC Bank USA              no
                                                            X                    1070.66
                        NA
               Sterling Emerg Svc          no               X                    2445.30
              Bank of America NA           no               X                    3301.00
              Wells Fargo claim 12         no               X                    323.24
                    Real Time              no
                                                            X                   12,000.00
                 Resolutions #5
                       total                                                    28,259.04



                                     Settled Unsecured Claims
      Allowed Undisputed Unsecured Claims will be paid within two years of petition date
           1/11/18 payments beginning month 6 after confirmation and every 6 months



    Class #          Description            Insider?    Impaired                        treatment

                                            (Yes or

                                                No)

      13       JMB Urban 900 Dev.               no           X             $664,380.47 will be paid 41%
                                                                            or275,000.00 per settlement
                      claim 4*

      14       6913 Valencia LLC**              yes          X                         2,000,000.00

                        total                                                          2,275,000.00



  *claim 4 subject of adversary case 16-01188 AJC settlement pending at 41% of claim

  ** insider claim will subordinate and not be paid until all other allowed claims
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   but reserves right to vote for the plan




                                      Disputed Unsecured Claims
                                   not paid until and unless allowed
                           and then paid within 5 years after confirmation

                                                              $11,023.83 Legal bill Legal work for
               Cross & Simon                                   Corporation other than the Debtor.
    15                                             yes
                  Claim 1                    no                  Debtor is disputing this claim.




                                                                 $21,242 Half of Bill is invoiced
                                                             against6913 Valencia LLC. Attorneys
                                                             billdisputed. Attorney failed to appear
               S&S Collections
                                                              athearing resulting in entry of default
    16         Simon &Sigalos
                                                                  judgment in NLG case 4/08.
                  claim 13
                                                               Debtor has very substantial Claims
                                                             against Michael Simon Simon and his
                                                                     firm Simon Sigalos P.A.
            Newman Ferrara LLP                                 Disputed Proof of Claims filed after
    17
                claim 15                                        Bardate. $24,818.44 not allowed.
                                                               Disputed Proof of Claims filed after
                                                               Bar Date. It is not a creditor of this
                FuerstIttleman                               Debtor. Debtor has filed an objection to
    18                                                                      this claim.
                  Caim 16
                                                                   No payment through plan



                        Unsecured Scheduled Disputed and No Claim Filed
                                         Therefore Disallowed

  Allied Collection                                 318
  ATT Mobility                                      3919
  First National Collection                         246.08
  Focus Mgt                                         772
  Marzec Law Firm                                   0
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  Mount Sinai Medical                                 31414.15
  Ray Garcia PA                                       7026.15
  Verizon                                             1758
  US Bank NA                                          0
  Total                                               45453.38


                                                 Equity

         Class #           Description
                                                Impairment                  Treatment

                        Equity Individual
              19                                      no                     retained
                         interest holder



         D.        Means of Implementing the Plan

                   1.     Source of Payments

          Debtor works as a business consultant specializing in identifying locations for high-end
  restaurants andretailers around the world. She has always earned at least $350,000 per year.
          The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
  Fisher Island,Florida (the “Property”) valued at $12 million.
          Additionally debtor has scheduled household furniture, dishes and china, household
  electronics andclothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.
          Debtor has the ability to rent her Fisher Island property for short periods at very high
  rental rates addingup to $300,000 per year.
          Additionally the equity in Fisher Island would support a refinancing, which could also be
  used supportfunding a plan if necessary

                   2.     Post-confirmation Management

  The Post-Confirmation Managers of the Debtor, and their compensation, shall be as follows:

  Name                  Affiliations        Insider (yes or      Position           Compensation
                                            no)?
  Liza Hazan            Debtor              yes                  Debtor             n/a

         E.        Risk Factors

         Certain substantial risk factors are inherent in most plans of reorganization in Chapter 11
  cases. If such Plans are accepted, it is usually because they represent a greater return in
  dividends than in a liquidating Chapter 7 case. This Plan bears the risk that the Debtor’s income
  may be reduced or her expenses may increase, all of which may reduce the Debtor's ability to
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  make payments under this Plan. However, any distribution to unsecured creditors will be greater
  than what would be realized in liquidation.

       ALL THE RISK FACTORS INHERENT IN A PLAN OF REORGANIZATION
  UNDER CHAPTER 11 ARE PRESENT IN THIS CASE. CREDITORS ARE URGED TO
  CAREFULLY READ THIS DISCLOSURE STATEMENT AND THE ACCOMPANYING
  PLAN OF REORGANIZATION SO THAT AN INFORMED JUDGMENT CAN BE MADE
  WITH RESPECT TO VOTING ON THE PLAN.


         F.      Executory Contracts and Unexpired Leases

          The Plan, in Article 6, lists all executory contracts and unexpired leases that the Debtor
  will assumeunder the Plan. There are none. Assumption means that the Debtor has elected to
  continue to perform theobligations under such contracts and unexpired leases, and to cure
  defaults of the type that must be curedunder the Code, if any. Article also lists how the Debtor
  will cure and compensate the other party to suchcontract or lease for any such defaults.

          If you object to the assumption of your unexpired lease or executory contract, the
  proposed cure of anydefaults, or the adequacy of assurance of performance, you must file and
  serve your objection to the Planwithin the deadline for objecting to the confirmation of the Plan,
  unless the Court has set an earlier time.

  All executory contracts and unexpired leases that are not listed in Article 6 will be rejected under
  thePlan. Consult your adviser or attorney for more specific information about particular contracts
  or leases.

  If you object to the rejection of your contract or lease, you must file and serve your objection to
  the Planwithin the deadline for objecting to the confirmation of the Plan.

         The Deadline for Filing a Proof of Claim Based on a Claim Arising from the Rejection
  of a Leaseor Contract isno later than thirty (30) days after the date of the order confirming this
  Plan. Any claim based onthe rejection of a contract or lease will be barred if the proof of claim is
  not timely filed, unless the Court ordersotherwise.

         G.      Tax Consequences of Plan

        Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
  TaxLiability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

  A summary description of certain United States (“U.S.”) federal income tax consequences of the
  Plan is providedbelow. The description of tax consequences below is for informational purposes
  only and, due to lack of definitivejudicial or administrative authority or interpretation,substantial
  uncertainties exist with respect to various U.S.federal income tax consequences of the Plan as
  discussed herein. Only the potential material U.S. federal income taxconsequences of the Plan to
  the Debtor and to a hypothetical investor typical of the holders of Claims andInterestswho are
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  entitled to vote to confirm or reject the Plan are described below. No opinion of counsel has been
  sought orobtained with respect to any tax consequences of the Plan, and no tax opinion is being
  given in this DisclosureStatement. No rulings or determinations of the Internal Revenue Service
  (the “IRS”) or any other tax authorities havebeen obtained or sought with respect to any tax
  consequences of the Plan, and the discussion below is not bindingupon the IRS or such other
  authorities. No representations are being made regarding the particular tax consequencesof the
  confirmation and consummation of the Plan to the Debtor or to any holder of Claims in Impaired
  Classes orClass 4 Equity Interests. No assurance can be given that the IRS would not assert, or
  that a court would not sustain, adifferent position from any discussed herein.
  The discussion of the U.S. federal income tax consequences below is based on the
  InternalRevenue Code of 1986,as amended (the “Tax Code”), Treasury Regulations promulgated
  and proposed thereunder, judicial decisions, andadministrative rulings and pronouncements of
  the IRS and other applicable authorities, all as in effect on the datehereof. Legislative, judicial or
  administrative changes or interpretations enacted or promulgated in the future couldalter or
  modify the analyses and conclusions set forth below. It cannot be predicted at this time whether
  any taxlegislation will be enacted or, if enacted, whether any tax law changes contained therein
  would affect the taxconsequences to the holders of Claims. Any such changes or interpretations
  may be retroactive and couldsignificantly affect the U.S. federal income tax consequences
  discussed below.

  THIS DISCUSSION DOES NOT ADDRESS FOREIGN, STATE OR LOCAL
  TAXCONSEQUENCES OFTHE PLAN, NOR DOES IT PURPORT TO ADDRESS THE
  U.S. FEDERAL INCOME TAXCONSEQUENCES OF THE PLAN TO SPECIAL
  CLASSES OF TAXPAYERS (SUCH AS FOREIGNENTITIES, NONRESIDENT ALIEN
  INDIVIDUALS,   PASS-THROUGH    ENTITIES   SUCH    ASPARTNERSHIPS
  ANDHOLDERS     THROUGH     SUCH    PASS-THROUGH     ENTITIES,  S
  CORPORATIONS,MUTUAL FUNDS, INSURANCE COMPANIES, FINANCIAL
  INSTITUTIONS, SMALL BUSINESSINVESTMENT COMPANIES, REGULATED
  INVESTMENT COMPANIES, CERTAIN SECURITESTRADERS, BROKER-DEALERS
  AND TAX-EXEMPT ORGANIZATIONS). FURTHERMORE, ESTATEAND GIFT TAX
  ISSUES ARE NOT ADDRESSED HEREIN AND TAX CONSEQUENCES RELATING
  TOTHEALTERNATIVE MINIMUM TAX ARE GENERALLY NOT DISCUSSED
  HEREIN.

  NO REPRESENTATIONS ARE MADE REGARDING THE PARTICULAR TAX
  CONSEQUENCES OFTHE PLAN TO ANY HOLDER OF CLAIMS. EACH HOLDER
  OF A CLAIM IS STRONGLY URGED TOCONSULT ITS OWN TAX ADVISOR
  REGARDING   THE   U.S. FEDERAL,  STATE,  LOCAL    ANDFOREIGN
  TAXCONSEQUENCES OF THE TRANSACTIONS DESCRIBED HEREIN AND IN
  THE
  PLAN.

  IV.    CONFIRMATION REQUIREMENTS AND PROCEDURES

         To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the
  Code. Theseinclude the requirements that: the Plan must be proposed in good faith; at least one
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  impaired class of claimsmust accept the plan, without counting votes of insiders; the Plan must
  distribute to each creditor and equityinterest holder at least as much as the creditor or equity
  interest holder would receive in a chapter 7 liquidationcase, unless the creditor or equity interest
  holder votes to accept the Plan; and the Plan must be feasible.These requirements are not the
  only requirements listed in §1129, and they are not the only requirements forconfirmation.

          11 USC 1129(a)(15) provides: In a case in which the debtor is an individual and in which
  the holder ofan allowed unsecured claim objects to the confirmation of the plan—
  (A) the value, as of the effective date of the plan, of the property to be distributed under the plan
  on account ofsuch claim is not less than the amount of such claim; or
  (B) the value of the property to be distributed under the plan is not less than the projected
  disposable incomeof the debtor (as defined in section 1325 (b)(2)) to be received during the 5-
  year period beginning on the datethat the first payment is due under the plan, or during the period
  for which the plan provides payments,whichever is longer.

        In the case at bar, Debtor has provided for payments not less than projected disposable
  income of thedebtor during a five year period beginning with the first payment due under the
  plan.

  A.     Who May Vote or Object

         Any party in interest may object to the confirmation of the Plan if the party believes that
  therequirements for confirmation are not met.

          Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A
  creditor orequity interest holder has a right to vote for or against the Plan only if that creditor or
  equity interest holder hasa claim or equity interest that is both (1) allowed or allowed for voting
  purposes and (2) impaired.

         In this case, the Plan Proponent believes that classes are impaired and that holders of
  claims in each ofthese classes are therefore entitled to vote to accept or reject the Plan. The Plan
  Proponent believes thatclasses are unimpaired and that holders of claims in each of these classes,
  therefore, do not have the right tovote to accept or reject the Plan.

                 1. What Is an Allowed Claim or an Allowed Equity Interest?

          Only a creditor or equity interest holder with an allowed claim or an allowed equity
  interest has the rightto vote on the Plan. Generally, a claim or equity interest is allowed if either
  (1) the Debtor has scheduled theclaim on the Debtor’s schedules, unless the claim has been
  scheduled as disputed, contingent, or unliquidated,or (2) the creditor has filed a proof of claim or
  equity interest, unless an objection has been filed to such proofof claim or equity interest. When
  a claim or equity interest is not allowed, the creditor or equity interest holderholding the claim or
  equity interest cannot vote unless the Court, after notice and hearing, either overrules
  theobjection or allows the claim or equity interest for voting purposes pursuant to Rule 3018(a)
  of the FederalRules of Bankruptcy Procedure.
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         The deadline for filing a proof of claim in this case was 5/17/16 for claims and 7/16/16
  forgovernment units.

                 2. What Is an Impaired Claim or Impaired Equity Interest?

          As noted above, the holder of an allowed claim or equity interest has the right to vote
  only if it is in aclass that is impaired under the Plan. As provided in §1124 of the Code, a class is
  considered impaired if thePlan alters the legal, equitable, or contractual rights of the members of
  that class.

                 3. Who is Not Entitled to Vote

         The holders of the following five types of claims and equity interests are not entitled to
         vote:

         • holders of claims and equity interests that have been disallowed by an order of the
         Court;
         • holders of other claims or equity interests that are not “allowed claims” or “allowed
         equityinterests” (as discussed above), unless they have been “allowed” for voting
         purposes.
         • holders of claims or equity interests in unimpaired classes;
         • holders of claims entitled to priority pursuant to §§507(a)(2), (a)(3), and (a)(8) of the
         Code; and
         • holders of claims or equity interests in classes that do not receive or retain any value
         under thePlan;
         • administrative expenses.

  Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the
  Confirmation of thePlan [and to the Adequacy of the Disclosure Statement].

                 4. Who Can Vote in More Than One Class

          A creditor whose claim has been allowed in part as a secured claim and in part as an
  unsecured claim,or who otherwise hold claims in multiple classes, is entitled to accept or reject a
  Plan in each capacity, andshould cast one ballot for each claim.

         B.      Votes Necessary to Confirm the Plan

          If impaired classes exist, the Court cannot confirm the Plan unless (1) at least one
  impaired class ofcreditors has accepted the Plan without counting the votes of any insiders within
  that class, and (2) all impairedclasses have voted to accept the Plan, unless the Plan is eligible to
  be confirmed by “cram down” on nonacceptingclasses, as discussed later in Section B.2.

         A class of claims accepts the Plan if both of the following occur: (1) the holders of more
  than one-half (1/2) ofthe allowed claims in the class, who vote, cast their votes to accept the
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  Plan, and (2) the holders of at leasttwo-thirds (2/3) in dollar amount of the allowed claims in the
  class, who vote, cast their votes to accept thePlan.

        A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in
  amount of theallowed equity interests in the class, who vote, cast their votes to accept the Plan.

                 2. Treatment of Nonaccepting Classes

          Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm
  the Plan if thenonaccepting classes are treated in the manner prescribed by §1129(b) of the Code.
  A plan that bindsnonaccepting classes is commonly referred to as a “cram down” plan. The Code
  allows the Plan to bindnonaccepting classes of claims or equity interests if it meets all the
  requirements for consensual confirmationexcept the voting requirements of §1129(a)(8) of the
  Code, does not “discriminate unfairly,” and is “fair andequitable” toward each impaired class
  that has not voted to accept the Plan.

  You should consult your own attorney if a “cramdown”confirmation will affect your claim or
  equityinterest, as the variations on this general rule are numerous and complex.

         C.      Liquidation Analysis

          To confirm the Plan, the Court must find that all creditors and equity interest holders who
  do not acceptthe Plan will receive at least as much under the Plan as such claim and equity
  interest holders would receive ina chapter 7 liquidation. A liquidation analysis is attached to this
  Disclosure Statement as exhibit B.

         D.      Feasibility

          The Court must find that confirmation of the Plan is not likely to be followed by the
  liquidation, or theneed for further financial reorganization, of the Debtor or any successor to the
  Debtor, unless such liquidationor reorganization is proposed in the Plan.

                 1. Ability to Initially Fund Plan

          The Plan Proponent believes that the Debtor will have enough cash on hand on the
  effective date of thePlan to pay all the claims and expenses that are entitled to be paid on that
  date. Tables showing the amount ofcash on hand on the effective date of the Plan, and the
  sources of that cash are attached to this disclosurestatement as Exhibits C and D.

                 2. Ability to Make Future Plan Payments And Operate Without Further
                 Reorganization

           The Plan Proponent must also show that it will have enough cash over the life of the Plan
  to make therequired Plan payments.
           The Plan Proponent has provided projected financial information. Those projections are
  listed in Exhibit
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       You Should Consult with Your Accountant or other Financial Advisor If You Have
  AnyQuestions Pertaining to These Projections.

  V.     EFFECT OF CONFIRMATION OF PLAN

         A.      DISCHARGE OF DEBTOR

          Discharge. In a case in which the debtor is an individual—
  (A)unless after notice and a hearing the court orders otherwise for cause, confirmation of the
  plandoes not discharge any debt provided for in the plan until the court grants a discharge on
  completionof all payments under the plan;
  (B)at any time after the confirmation of the plan, and after notice and a hearing, the court may
  grant adischarge to the debtor who has not completed payments under the plan if—
  (i)the value, as of the effective date of the plan, of property actually distributed under the plan
  onaccount of each allowed unsecured claim is not less than the amount that would have been
  paid onsuch claim if the estate of the debtor had been liquidated under chapter 7 on such date;
  (ii)modification of the plan under section 1127 is not practicable; and
  (iii)subparagraph (C) permits the court to discharge; and
  (C)(*)the court may grant a discharge if, after notice and a hearing held not more than 10 days
  beforethe date of the entry of the order granting the discharge, the court finds that there is no
  reasonablecause to believe that—
  (i)section522(q)(1) may be applicable to the debtor; and
  (ii)there is pending any proceeding in which the debtor may be found guilty of a felony of the
  kinddescribed in section 522(q)(1)(A) or liable for a debt of the kind described in section
  522(q)(1)(B); andif the requirements of subparagraph (A) or (B) are met.

          Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
  Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth herein,
  upon completion all payments required under the Plan to unsecured and priority creditors. Upon
  thesatisfaction of all payments required under the Plan to unsecured and priority creditors, the
  Reorganized Debtor shall file a Final Report of Estate and Motion for Final Decree Closing Case
  onthe Court approved local form.
          (a)     Notwithstanding the above, the Debtor may request that the Court close this
  bankruptcyproceeding prior to the entry of an Order of Discharge, pursuant to the following
  procedures:
          (b)     The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to
  Entry ofOrder of Discharge (the “Motion to Close”) after the following events have occurred: (I)
  payment ofthe Initial Payment (defined in the Plan) to unsecured and priority creditors; (ii)
  payment of alloutstanding quarterly United States Trustee Fees as of the date of the Order
  approving the Motion toTemporarily Close; and (iii) the filing of all outstanding federal income
  tax returns. The Motion toClose shall certify that each of the above conditions have been met.
          (c)     The Motion to Close (and Notice of Hearing thereto) shall be served to all
  creditors andinterested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. §
  350(a), if eachof the above conditions have been met.
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          (d)     During the time that this bankruptcy case is temporarily closed, the provisions of
  theconfirmation order shall remain in effect with respect to thetreatment of creditor claims that
  existed as of the bankruptcy petition date, , as long as the Debtorcontinues to be in compliance
  with the Plan and the Court’s Order Confirming Debtor’s Plan ofReorganization (the
  “Confirmation Order”), and as long as the Debtor timely makes all of thepayments to unsecured
  and priority creditors, as contemplated under the Plan.
          (e)     Upon the satisfaction of all payments required under the Plan to creditors, the
  Debtormay file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b).
  Any Clerk ofCourt fees associated with filing of the motion to reopen shall be waived. The
  motion to reopen shallbe verified and served upon all creditors and parties in interest and shall
  demonstrate that the Debtorhas made all of the payments contemplated under the Plan to
  creditors.
          (f)     Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file
  a FinalReport of Estate and Motion for Final Decree Closing Case on the Court-approved local
  form, whichshall certify that all payments required under the Plan to creditors have been made.
  The Court maythen grant the Debtor a discharge, pursuant to 11 U.S.C. § 1141(d)(5).

         B.      Modification of Plan

       The Plan Proponent may modify the Plan at any time before confirmation of the Plan.
  However, theCourt may require a new disclosure statement and/or revoting on the Plan.

           The Plan Proponent may also seek to modify the Plan at any time after confirmation only
  if (1) the Planhas not been substantially consummated and (2) the Court authorizes the proposed
  modifications after noticeand a hearing.

         C.      Final Decree

          Once the estate has been fully administered, as provided in Rule 3022 of the Federal
  Rules ofBankruptcy Procedure, the Plan Proponent, or such other party as the Court shall
  designate in the PlanConfirmation Order, shall file a motion with the Court to obtain a final
  decree to close the case. Alternatively,the Court may enter such a final decree on its own motion.


                             Respectfully submitted September 6, 2016:

                                        By: /s/ Liza Hazan
                                        The Plan Proponent

                                     By: David W. Langley, Esq
                                       8551 W. Sunrise Blvd.
                                              Suite 303
                                        Plantation, FL 33322
                                        dave@flalawyer.com
                                       Phone 954—356-0450
                                      By: /s/David W. Langley
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                             Attorney for the Plan Proponent
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   EXHIBIT A: Historical Earnings and Assets

   Debtor’s educational background includes:

          07/03/1992-Academy Of Paris Brevet De Technicienne Superieure Informatique De Gestion
          06/28/1989-Academy De Bordeaux
          1995-1996-Baccalaureat De L'enseignement Du Second Degre Mathematiques & Sciences De La
           Nature, and University Of Montreal Law School

   Debtor works as a business consultant specializing in identifying locations for high-end restaurants and
   retailers around the world. She has always earned at least $400,000.00/year. As part of her consulting
   business, Debtor presently has an exclusive contract to place new locations for an international beauty
   and skin care company selling luxury brand products to high-end clientele.

   The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive, Fisher Island,
   Florida (the “Property”) with a scheduled value of $12,000,000.00. Additionally, Debtor has scheduled
   household furniture, dishes and china, household electronics and clothing, shoes and accessories and
   jewelry, fixtures and art valued at $327,500.

   Debtor has the ability to rent her Fisher Island property at very high rental rates adding up to
   $420,000.00/year based on comparable rental listings on the Island prepared for the Debtor by the
   primary real estate agency for the Island. Additionally, the equity in the Fisher Island homestead could
   support refinancing, which could be used in funding a plan if necessary.

   The Debtor earns significant income as a consultant. However, her receipt of funds is irregular. For this
   reason, proposed plan payments are scheduled every six (6) months.

   Debtor sought relief under Chapter 11 in order to end years of litigation between multiple creditors in
   various disputes across the country, to bring all matters into a single forum, and to fashion a Plan of
   Reorganization which will resolve all disputes without needlessly sacrificing the Debtor’s equity in her
   various assets. The Debtor intends to reorganize her debts and liabilities through a combination of:

          (a) negotiating and/or litigating as may be necessary, resolutions with certain secured creditors
   Case 16-10389-AJC Doc 103 Filed 07/11/16 Page 21 of 37, and unsecured creditors; and

           (b) making distributions funded by her assets and income from her consulting work and short
   term rental, or if necessary refinancing. To date, the Debtor’s efforts have focused on negotiating
   resolutions with several creditors, litigating with two (2) other creditors, conferring with counsel to
   begin formulating the structure and terms of a proposed Plan, and expanding her consulting and rental
   income for the eventual benefit of her estate and creditors. Debtor is concentrating on maximizing both
   her consulting income and income from the future rental of her homestead, and she has never made
   less than $400,000.00/year from consulting.

            Exhibit D below is a five (5) year projection showing the feasibility of making the payments
   required under the plan if rental income is maximized along with consulting income, from projected net
   income of approximately $350,000.00 to $420,000.00 per year. Receipts of consulting income are not
   regular monthly payments, which is why payments range from quarterly to every six (6) months, or even
   less frequently, in the plan.
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                                           Exhibit B Liquidation Analysis

   Plan Proponent’s Estimated Liquidation Value of Assets

   Assets

   a. Cash on hand at the effective date                                        $65,000.00

   b. Accounts receivable                                                       $400,000.00

   c. Personal property including office furniture & equipment                  $327,500.00

   d. Automobiles                                                               $17,000.00

   e. Real Estate – Homestead on Fisher Island – appraised at$ 9.500,000

            Non-exempt value                                                    $0

   f. Lawsuits or other claims against third-parties:

            Potential claims against Chris Kosachuk and NLG                     $ unknown

            Claim against attorney Michael Simon and Simon Sigalos              $ unknown

   k. Other intangibles (such as avoiding powers actions)                       $0.00



            Total Non-exempt Assets at Liquidation Value                                $809,500.00

   Less:

   IRS Priority claim                                                           ($24,663.00)

   SE Financial lien on vehicle(secured portion of 24,970.70 claim)             ($17,000.00)

   Chapter 7 estimated liquidation expenses                                     ($50,000.00)

   Costs of sale (auctioneer fees)                                              ($32,750.00)

   Chapter 11 administrative expenses - Geoffrey Aaronson (disputed)            ($150,000.00)

                                     Joel Aresty                                ($35,000.00)

                                     David W. Langley                           ($30,000.00)

   Amount available for distribution to unsecured creditors                     $470,087.00

   Percentage distribution to unsecured creditors

   (Total dollar amount of unsecured claims is $2,600,000 from claims docket)   18% Distribution

   The Amended Plan provides 41% to 100% distribution to allowed unsecured claims
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                            Exhibit C: Cash on hand on the effective date of the Plan

   Cash on hand on effective date of the Plan:                                              $65,178

   Less --
             Amount of administrative expenses payable on effective date of the Plan        TBD
             Amount of statutory costs and charges UST                                      TBD
             Plan Payments due on effective date of the Plan                                TBD

             Balance after paying these amounts                                             TBD

   The sources of the cash Debtor will have on hand by the effective date of the Plan are
   estimated as follows:

   Cash in Debtor’s bank account now                                                        $20,178
   + Additional cash Debtor will accumulate from net earnings between now
   and effective date of the Plan                                                           $45,000

   (Basis for projection in anticipated income) see Exhibit D

   Total                                                                                    $65,178
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                       UNITED STATES BANKRUPTCY
                                         799      COURT FOR THE
                                       SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov


   In re:

   LIZA HAZAN                                                 Case No. 16-10389-AJC
                                                              Chapter 11

                            Debtor                   /

                 BALLOT AND DEADLINE FOR FILING BALLOT ACCEPTING OR REJECTING PLAN

   TO HAVE YOUR VOTE COUNT YOU MUST COMPLETE AND RETURN THIS BALLOT BY THE
   DEADLINE INDICATED BELOW [AS SET PURSUANT TO LOCAL RULE 3018-1(B)]

   The plan filed by Liza Hazan on September 6, 2016 can be confirmed by the court and thereby made
   binding on you if it is accepted by the holders of two-thirds in amount and more than one-half in number of
   claims in each class and the holders of two-thirds in amount of equity security interests in each class voting
   on the plan. In the event the requisite acceptances are not obtained, the court may nevertheless confirm
   the plan if the court finds that the plan accords fair and equitable treatment to the class rejecting it.

   This ballot is for creditor ________________ for the following type of claim placed in the indicated class in
   the indicated amount:

            TYPE OF CLAIM              CLASS IN PLAN                       AMOUNT OF CLAIM

     ¨ General Secured                                         $


     ¨ General Unsecured                                       $


     ¨ Bond Holder                                           Amount of Bond/debenture $


     ¨ Equity Security Holder                                Number of Shares of Stock



   The undersigned [Check One Box]           ¨ Accepts                ¨ Rejects
   the plan for reorganization of the above-named debtor.

              Signed:

              Print Name:

              Address:

              Phone:

              Date:

              «««FILE THIS BALLOT ON OR BEFORE«««

   with:      Clerk of Bankruptcy Court
                  ü 301 N. Miami Ave., Room 150, Miami, FL 33128
              ¨ 299 E. Broward Blvd., Room 112, Ft. Lauderdale, FL 33301
              ¨ 1515 North Flagler Drive, Room 801, West Palm Beach, FL 33401

              If you have more than one type of claim against this debtor, separate ballots must be
              filed and you should receive a ballot for each type of claim eligible to vote. Contact
              the plan proponent regarding incorrect or insufficient ballot(s).

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           ORDERED in the Southern District of Florida on September 7, 2016.




                                                                    A. Jay Cristol, Judge
                                                                    United States Bankruptcy Court
_____________________________________________________________________________
                                        UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                               www.flsb.uscourts.gov


              In re:                                                      Case No: 16-10389 AJC
                                                                          Chapter 11
          Liza Hazan
          Debtor.                   /

                              AGREED ORDER APPROVING STIPULATION (ECF 128)
                                      Claim 5 Real Time Resolutions, Inc.

                THIS CAUSE came on before the court September 1, 2016 at 10:30 AM upon the
          stipulation of settlement of claim 5, (ECF 128), which is upon the agreement of the parties,
          debtor and Creditor Real Time Resolutions, Inc., it is therefore

              ORDERED that the stipulation is ratified and approved, and the parties are ordered to
          comply with its provisions.

                                                         ###
          Submitted by: Joel M. Aresty; Joel M. Aresty, Esq., is directed to serve a copy of this order on the
          parties.




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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI-DADE DIVISION
                                      www.flsb.uscourts.gov

   In re:
   LIZA HAZAN                                                     CASE NO.: 16-10389 AJC

         Debtor.                                                  CHAPTER 11
   ____________________________/

                              DEBTOR’S MOTION TO SELL ASSETS
                              AND APPROVE SALES PROCEDURES

          Debtor-in-possession, Liza Hazan, moves for authority to sell Debtor’s personal property

   pursuant to §363 of the Bankruptcy Code and for the entry of an Order establishing reasonable sales

   procedures, and says:

                                           I. BACKGROUND

      1) On January 11, 2016, Debtor filed a Voluntary Petition for Relief under Chapter 11 of the

   Bankruptcy Code.

      2) The Debtor is managing her affairs as Debtor-in-possession.

      3) No trustee, examiner or committee has been appointed.

      4) The Debtor filed an Amended Plan (D.E. 189) and Amended Disclosure Statement (D.E.

   190) on September 6, 2016

      5) The Debtor seeks to sell personal items such as jewelry, accessories, purses, designer shoes,

   designer and vintage haute couture clothing, furniture and antiques, in order to assist the Debtor in

   funding the Effective Date payments anticipated by her Amended Plan. (D.E. 189).

      6) The Debtor believes and represents that the sale of her personal property is in the best interest

   of the Debtor and all creditors as the sale will generate substantial funds that can be used to satisfy

   claims and make payments required under her Plan.
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                                 II. TERMS OF THE PROPOSED SALE

       7) Section 363 of the Bankruptcy Code provides that a Debtor-in-possession after notice and

   hearing may use, sale or lease, other than in the ordinary course of business, property of the estate.

   Section 363(f) authorizes the Debtor-in-possession to sell its property free and clear of all claims, liens

   and encumbrances.

       8) Although the Debtor does not believe that any of her personal property is subject to any liens

   of creditors, in abundance of caution, the Debtor seeks the Court’s approval of this proposed sale of

   personal property to recognized dealers, brokers, consigners and auctioneers and request that this

   Court approve specific sale procedures in order to obtain the highest and best offers for the assets and

   make certain the Debtor’s estate obtains the maximum benefit for the sale of the assets.

       9) All notice requirements of Bankruptcy Code § 363 and Bankruptcy Rules 2002, 6004 and

   9014 will be satisfied. The Debtors will give adequate notice of this proposed sale and the bidding and

   sales procedures in the manner specified by the Court to all creditors and interested parties.

       WHEREFORE, the Debtor-in-possession, Liza Hazan, respectfully requests the Court enter an

   Order authorizing the sale of assets of the Debtor free and clear of liens pursuant to § 363 of the

   Bankruptcy Code and establishing bidding and sales procedures as set forth above, and granting such

   other and further relief as the Court deems just and proper.
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                                         CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); and that a true copy of the above

   document was filed electronically and served electronically or by mail to: U.S. Trustee, and all

   interested parties on this 13th day of September, 2016.

                                                             DAVID W. LANGLEY
                                                             Attorney for Debtor-in-Possession
                                                             8551 W. Sunrise Blvd., Suite 303
                                                             Plantation, FL 33322
                                                             Tel: 954-356-0450
                                                             Fax: 954-356-0451
                                                             E-mail: dave@flalawyer.com
                                                             By: ___/s/_David W. Langley_______
                                                                     David W. Langley, Esq.
                                                                     Florida Bar Number: 348279
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Label Matrix for local noticing       Board of Managers of799
                                                           Spencer Condominium         Fisher Island Community Association, Inc.
113C-1                                        c/o Robert C. Furr Esq                        c/o PeytonBolin
Case 16-10389-AJC                             Furr and Cohen PA                             3343 West Commercial Blvd, Suite 100
Southern District of Florida                  2255 Glades Rd #337W                          Fort Lauderdale, FL 33309-3425
Miami                                         Boca Raton, FL 33431-7379
Tue Aug 30 15:56:38 EDT 2016
JMB/Urban 900 Development Partners, Ltd       JPMorgan Chase Bank, National Association     NLG, LLC
JMB/Urban 900 Development Partners, Ltd       Shapiro, Fishman & Gache, LLP                 c/o Alberto H Orizondo
900 North Michigan Ave                        c/o Kevin L Hing                              3162 Commodore Plaza #3E
Chicago, IL 60611-1542                        4630 Woodland Corporate Blvd.#100             Miami, FL 33133-5815
                                              Tampa, FL 33614-2429

Selective Advisors Group, LLC                 SouthEast Financial, LLC                      U.S. Bank National Association
c/o Marshall Socarras Grant, P.L.             Albertelli Law                                SHD Legal Group, P.A.
197 S. Federal Highway                        c/o Jeffrey S. Fraser                         PO BOX 19519
Suite 300                                     PO Box 23028                                  Fort Lauderdale, FL 33318-0519
Boca Raton, FL 33432-4946                     Tampa, FL 33623-2028

Valencia Estates Homeowners’ Associatio       6913 Valencia, LLC                            900 North Michigan, LLC
c/o Haber Slade, P.A.                         3839 NW Boca Raton Boulevard                  c/o W. Allen Woolley, Esq.
201 S. Biscayne Blvd.                         West Palm Beach, FL 33413                     Wildman Harrold Allens Dixon, LLP
Suite 201                                                                                   225 West Wacker Drive, Suite 3000
Miami, FL 33131-4324                                                                        Chicago, IL 60606-3007

ATT Mobility                                  Allied Collection Service                     American InfoSource LP as agent for
PO Box 536216                                 1607 Central Ave                              DIRECTV, LLC
Atlanta, GA 30353-6216                        Columbus, IN 47201-5370                       PO Box 5008
                                                                                            Carol Stream, IL 60197-5008


American InfoSource LP as agent for           Board of Managers of Spencer Condominium      Chase Bank, NA
T Mobile/T-Mobile USA Inc                     c/o Robert C. Furr Esq                        c/o Jennifer Kopf, Esq.
PO Box 248848                                 2255 Glades Rd #337W                          Shapiro, Fishman & Gashe, LLP
Oklahoma City, OK 73124-8848                  Boca Raton, FL 33431-7379                     2424 N. Federal Highway, Suite 360
                                                                                            Boca Raton, FL 33431-7701

Cross & Simon, LLC                            Cross & Simon, LLC                            David J. Fischer
c/o David Holmes, Esq.                        David G. Holmes, Esquire                      Locke Lord LLP
1105 North Market ST, Suite 901               1105 North Market Street                      111 South Wacker Drive
Wilmington, DE 19801-1202                     Suite 901                                     Chicago, IL 60606-4409
                                              Wilmington, DE 19801-1202

(p)DIRECTV LLC                                Enhanced Recovery Company                     First National Collection Bureau, Inc.
ATTN BANKRUPTCIES                             8014 Bayberry Rd                              610 Waltham Way
PO BOX 6550                                   Jacksonville, FL 32256-7412                   Sparks, NV 89434-6695
GREENWOOD VILLAGE CO 80155-6550


Fisher Island Community Association           Florida Power & Light                         Focus Management
c/o Danielle Schneider, Esq.                  ATTN: General Mailing Facility                10284 NW 47th St
Peyton Bolin, PL                              Miami, FL 33188-0001                          Fort Lauderdale, FL 33351-7967
4758 W. Commerical Boulevard
Fort Lauderdale, FL 33319-2877

Fuerst Ittleman David & Joseph, P.L.          HSBC Bank USA, NA                             Internal Revenue Service
c/o Robert P. Charbonneau, Esq.               PO Box 2013                                   P.O. Box 7317
501 Brickell Key Drive, Suite 300             Buffalo, NY 14240-2013                        Philadelphia, PA 19101-7317
Miami, FL 33131-2624
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Internal Revenue Service              JMB/Urban 900 Development
                                                         799 Partners, Ltd.         Marzec Law Firm
PO Box 7346                               David J. Fischer                         225 Broadway, Suite 3000
Philadelphia, PA 19101-7346               Locke Lord LLP                           New York, NY 10007-3067
                                          111 South Wacker Drive
                                          Chicago, IL 60606-4409

Miami Dade Water & Sewer Department       Miami-Dade County Tax Collector          Miami-Dade Water & Sewer Department
Attn: Collection Branch/Bankruptcy Unit   Attn: Paralegal Bankruptcy Unit          PO Box 026055
P.O. Box 149089 Coral Gables, FL 33114    200 NW 2 Ave, suite 430                  Miami, FL 33102-6055
                                          Miami, Fla 33128-1735


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                                          Miami, FL 33130-1614


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PO Box 364                                Dallas, Texas 75247-4029                 Suite 150
Belize City, Belize                                                                Dallas, TX 75247-4029


(c)S & S COLLECTIONS, INC.                Scott Paul Mackoff, Esq.                 Select Advisors Group, LLC
MICHAEL W. SIMON, ESQ.                    Mitofsky, Shapiro, Neville & Hazen LLP   6499 Powerline Road, Suite 304
3839 NW 2ND AVE STE 100                   152 Madison Avenue, 3rd Floor            Fort Lauderdale, FL 33309-2043
BOCA RATON FL 33431-5862                  New York, NY 10016-5424


(c)SIMON & SIGALOS                        Southeast Financial, LLC                 Spencer Condominium
C/O MICHAEL SIMON, ESQ.                   4000 N. Federal Highway, Suite 200       d/b/a Halstead Management Co., LLC
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Wells Fargo Bank                          Joel M. Aresty Esq.                      Liza Hazan
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Portland, OR 97208-5058                   Tierra Verde, FL 33715-2231              Miami Beach, FL 33109-0601
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Tamara D McKeown                                   799
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                                      Addresses marked (c) above for the following entity/entities were corrected
                                           as required by the USPS Locatable Address Conversion System (LACS).


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Simon & Sigalos, LLP                                  Michael W. Simon, Esq.                               c/o Michael Simon, Esq.
3839 NW Boca Raton Blvd., Suite 100                   3839 NW Boca Raton Blvd., Suite 100                  3839 NW Boca Raton Boulevard, Suite 100
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Fuerst, Ittleman David & Joseph, P.L.              (u)Real Time Resolutions, Inc.                       (u)Miami




(u)Car Southeast Financial, LLC                       (u)Cross Simon                                       (u)Halsted Management Company
Per DE#23                                             Per DE #23                                           Per DE #23




(u)Jacobs Keeley, PLLC                                (u)Mark D. Cohen, PA                                 (u)Mercedes Benz Financial Services
Per DE #23                                            Per DE #23                                           Per DE #23




(u)Newman Ferrara, LLP                                (d)Newman Ferrara, LLp                               (u)Presidential Auto Leasing & Sales
Per DE #23                                            1250 Broadway, 27th Floor                            Per DE #23
                                                      New York, NY 10001-3717
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(u)Robert P. Lithman P.A.             (u)Select Portfolio 799
                                                          Servicing, Inc.            End of Label Matrix
Per DE #23                                Per DE #23                               Mailable recipients   60
                                                                                   Bypassed recipients   14
                                                                                   Total                 74
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI-DADE DIVISION
                                      www.flsb.uscourts.gov

   In re:
                                                           CASE NO.: 16-10389 AJC
   LIZA HAZAN,
         Debtor.                                           CHAPTER 11
   ________________________________/

                          Debtor’s Motion for Extension of Exclusivity Period

                            [Hearing Requested Prior to November 7, 2016]

            Debtor, Liza Hazan, moves for an extension of the exclusivity period to file and confirm

   her Chapter 11 plan of reorganization, and in support thereof states:


       1. On August 16, 2016, Debtor filed an Amended Motion for Extension of Time re Exclusivity

            to amend plan and disclosure statement. The exclusivity period was continued to November

            7, 2016. (ECF 159).

       2. Debtor filed an Amended Disclosure Statement (ECF 190), and an Amended Plan (ECF

            189) on September 6, 2016.

       3. A disclosure hearing is scheduled for November 16, 2016.

       4. The confirmation hearing will take place at least forty-five (45) days after the disclosure

            hearing, or sometime in January, 2017.

       5. Debtor requires more time to negotiate with creditors for a consensual plan, and respectfully

            requests that this court extend the exclusivity period for Debtor to January 30, 2017.


            WHEREFORE, Debtor respectfully request an extension of the exclusivity period to

       January 30, 2017, and such other relief as the Court deems proper.
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); andthat a true copy of the above

   document was filed electronically and served electronically and by mail to all interested parties

   on attached service list on this 15th day of October, 2016.


                                                 LAW OFFICES OF DAVID W. LANGLEY
                                                 Attorney for Debtor
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                                                 Facsimile:     954-356-0451
                                                 E-mail: dave@flalawyer.com

                                                 By: ___/s/ David W. Langley _______
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                                                        Florida Bar Number: 348279


                                            SERVICE LIST

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   Robert P. Charbonneau, Esq. on behalf of Creditor Fuerst, Ittleman David & Joseph, P.L.
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   Ashley Prager Popowitz on behalf of Creditor Real Time Resolutions, Inc.
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           ORDERED in the Southern District of Florida on October 18, 2016.




                                                      A. Jay Cristol, Judge
                                                      United States Bankruptcy Court
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           ORDERED in the Southern District of Florida on November 17, 2016.




                                                            A. Jay Cristol, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                        THE SOUTHERN DISTRICT OF
                                         FLORIDA MIAMI DIVISION
                                            www.flsb.uscourts.gov

              IN RE:
                                                                 CaseNo:16-10389AJC
                                                                 Chapter 11
          Liza Hazan
          a/k/a ELIZABETH HAZAN

          DEBTOR.                                  /

            AGREED ORDER APPROVING STIPULATION OF SETTLEMENT OF CLAIM 10
                           Valencia Estates Homeowners Assn, Inc.

                 THIS CAUSE came before the Court upon the Stipulation of Settlement of Claim 10

          (Valencia Estates Homeowners Assn, Inc.) [attached as “Exhibit “A” to ECF 209] (hereinafter

          the “Stipulation”).   The Court has been advised of the agreement of the Parties and has
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   reviewed the terms of the Stipulation and being fully advised in the premises, it is hereby

   ORDERED as follows:

          1) The Stipulation (attached as Exhibit “A” to ECF 209) is approved and ratified by the
             Court.

          2) Valencia’s Motion for Adequate Protection [ECF 94] is granted in part, as set forth in
             the Stipulation at Paragraph 5.

          3) Valencia’s Claim #10 and Valencia’s Objection to Debtor’s Disclosure Statement
             [ECF 138] are considered resolved pursuant to the terms of the Stipulation.

          4) This Court shall retain jurisdiction to enforce the terms of this Order and the
             Stipulation.

          5) The Debtor hereby withdraws her Limited Objection to Motion to Compromise
             Controversy [ECF 239].

          6) Valencia hereby withdraws its Limited Objection to Debtor’s Amended Disclosure
             Statement [ECF 279].


                                              *   *   *

   Submitted by:
   Rebecca Newman Casamayor, Esq.
   HABER SLADE, P.A.
   Miami Center
   201 S. Biscayne Blvd. Suite 1205
   Miami, FL 33131
   T: 305-379-2400
   F: 305-379-1106
   dhaber@dhaberlaw.com
   counsel for Creditor Valencia

   Attorney Rebecca Newman Casasmayor, Esq. shall serve copies of this Order on all interested
   parties and file a Certificate of Service.
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI-DADE DIVISION
                                     www.flsb.uscourts.gov

   In re:
                                                           CASE NO.: 16-10389-AJC
   LIZA HAZAN,
         Debtor.                                           CHAPTER 11
   ________________________________/

    AGREED MOTION TO APPROVE STIPULATION OF SETTLEMENT OF CLAIM 13
                          S & S Collections, Inc.

            Debtor, Liza Hazan, by and through undersigned counsel, with the consent of opposing

   counsel, hereby files this Motion to Approve Stipulation entered into between the parties, Liza

   Hazan and S & S Collections, Inc., and in support thereof, states as follows:

            1. The Debtor, Liza Hazan, and S & S Collections, Inc. agreed to enter into a written

   stipulation resolving the disputes among the parties.

            2. The Stipulation, attached to this Motion as Exhibit “A,” was submitted for this Court’s

   approval on November 15, 2016, [ECF 293].

            3. A proposed agreed order approving the Stipulation is attached as Exhibit “B”.

            WHEREFORE, Debtor, requests that this Court approve the Stipulation and grant any

   other relief just and proper.



                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); and that a true copy of the above
Case 1:22-cv-21485-RNS
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   document was filed electronically and served via CM/ECF and by mail to attached service list to

   all parties of interest on this 23rd day of November, 2016.

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   USTPRegion21.MM.ECF@usdoj.gov

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   Ashley Prager Popowitz on behalf of Creditor Real Time Resolutions, Inc.
   Ashley.popowitz@mrpllc.com, flbkecf@mrpllc.com

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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI-DADE DIVISION
                                      www.flsb.uscourts.gov

   In re:
   LIZA HAZAN                                                      CASE NO.: 16-10389-AJC

         Debtor.                                                   CHAPTER 11
   ____________________________/

                           STIPULATION OF SETTLEMENT OF CLAIM 13

           Debtor-In-Possession, Liza Hazan (”Hazan” or “Debtor”) and S & S Collections, Inc. as

   agent for Michael Simon, Esq. (Proof of Claim # 13) (the “Creditor”) (collectively the “Parties”),

   by and through undersigned counsel, hereby agree to a stipulation as to the treatment of Creditor’s

   claim #13, as set forth below and respectfully represent the following to the court: By submission

   of this Stipulation for entry, the submitting counsel represents that the opposing party consents to

   its entry. Pursuant to this stipulation, the Parties agree as follows:

   1. On 1/11/16 the debtor filed a voluntary petition under chapter 11 of the United States

   Bankruptcy Code.

   2. On 5/16/16 Creditor filed claim #13 in the amount of $21,242.71 as an unsecured claim.

   3. The Debtor has disputed this claim but in an effort to avoid further litigation expense agrees to

   pay Creditor. Debtor now stipulates that Debtor is personally responsible for payment of all fees

   and costs asserted in Claim #13. Creditor agrees to accept, in full settlement of all claims presented

   or presentable by Creditor, the sum of $8,709.00 to be paid by Debtor on or before 18 months from

   the Petition Date. Full settlement is conditioned on Creditor’s receipt of payment full payment of

   $8709.00, on or before 18 months from the Petition Date.

   4. Creditor agrees to vote the full amount of its Proof of Claim in favor of Debtor’s plan of

   reorganization.
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   5. Debtor withdraws the allegations made in her Disclosure Statements and Plans, including but

   not limited to the allegations that Debtor has claims against Michael W. Simon and Simon &

   Sigalos, LLP, as amended regarding the treatment of Claim 13.

   6.    Creditor withdraws its objections to Debtor’s disclosure filed on 11/09/16 as ECF 283 and

   agrees to withdraw its objections to Debtor’s disclosure filed on 11/10/16 as ECF 284.

   7. This stipulation shall be submitted to the court for ratification and approval.

   WHEREFORE, the debtor respectfully requests an order ratifying and approving this stipulation.

   Agreed to by

   s/s: Liza Hazan, Debtor

   Simon & Sigalos, LLP
   c/o Michael Simon, Esq.
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   Boca Raton, FL 33431
   561.447.0017 – Phone
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   Email: msimon@simonsigalos.com
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   Attorneys for S & S Collections, Inc.
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   Florida Bar Number 348279


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

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   practice in this Court set forth in Local Rule 2090-1(A); and that a true copy of the above document

   was filed electronically and served via CM/ECF and by mail to attached service list to all parties

   of interest on this 15th day of November, 2016.

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                                                           David W. Langley, Esq.
                                                           Florida Bar Number 348279


                                             SERVICE LIST

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   Elizabeth J Campbell on behalf of Creditor JMB/Urban 900 Development Partners, Ltd
   ecampbell@lockelord.com, marian.scott@lockelord.com

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   ecampbell@lockelord.com, marian.scott@lockelord.com

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   nsocorro@ecclegal.com;bankruptcy@ecclegal.com;bankruptcy.ecc@ecf.courtdrive.com

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   adiaz@shdlegalgroup.com, southerndistrict@shdlegalgroup.com

   Jeffrey S Fraser on behalf of Creditor SouthEast Financial, LLC
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   Robert C Furr, Esq on behalf of Creditor Board of Managers of Spencer Condominium
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   Joe M. Grant, Esq. on behalf of Creditor Selective Advisors Group, LLC
   jgrant@msglaw.com, efile@msglaw.com;mg197ecfbox@gmail.com;sleary@msglaw.com
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   ROBERT.GUSRAE@GMAIL.COM

   David B. Haber, Esq. on behalf of Creditor Valencia Estates Homeowners' Association, Inc.
   dhaber@dhaberlaw.com,
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   tdmckeown@mckeownpa.com


   Tamara D McKeown on behalf of Defendant Liza Hazan
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   Alberto H Orizondo on behalf of NLG, LLC
   aorizondo@aglawpa.com, bfernandez@aglawpa.com

   Ashley Prager Popowitz on behalf of Creditor Real Time Resolutions, Inc.
   Ashley.popowitz@mrpllc.com, flbkecf@mrpllc.com

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                                  www.flsb.uscourts.gov


       INRE:                                                        Case No: 16-10389 AJC

                                                                         Chapter11
   Liza Hazan
   a/k/a ELIZABETH HAZAN

    DEBTOR.                                         /

                           STIPULATION OF SETTLEMENT OF CLAIMS

           Debtor-In-Possession, Liza Hazan (”Hazan” or “Debtor”) and Creditor US Bank

    (“Creditor”) (collectively the “Parties”), by and through undersigned counsel, hereby agree to

    a stipulation as to the relief from automatic stay asset forth below and respectfully represents

    the following to the court: By submission of this Stipulation for entry, the submitting counsel

    represents that the opposing party consents to its entry. Pursuant to this stipulation, the Parties

    agree as follows:

           1.      On January 11, 2016 the debtor filed a voluntary petition under chapter 11of the

   United States Bankruptcy Code.

           2.      Parties stipulate to complete stay relief for creditor to proceed in New York to

   exercise its alleged rights and/or to negotiate for loss mitigation or other relief, nunc pro tunc to

   January 2016.

                                                                    nd
           3.      Parties agree that the property at 1 East 62 Street York Apt 1A New York

   deeded to Real Estate Holdings Group, L.D.C. is not a property of the estate. This stipulation

   shall be submitted to the court for ratification and approval.

           WHEREFORE, the debtor respectfully requests an order ratifying and approving this

   stipulation.
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   Agreed to by

   s/s: Liza Hazan, Debtor

   s/s: Adam Alexander Diaz, Esq
   Managing Attorney, Florida Bankruptcy
   SHD LEGAL GROUP, P.A.
   Office:(954)564-0071/Ext.213
   adiaz@shdlegalgroup.com, counsel
   for Creditor US Bank

   and

  DAVID W. LANGLEY
  Attorney for Debtor
  8551 W. Sunrise Blvd. Ste303
  Plantation, Florida 33322
  Telephone: 954-356-0450
  Facsimile: 954-3560451
  Email:dave@flalawyer.com
  By:/s/_David W.Langley
  David W. Langley, Esq.
  Florida Bar Number: 348279


                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District

   Court for the Southern District of Florida, and I am in compliance with the additional

   qualifications to practice in this Court set forth in Local Rule 2090-1(A); and that a true

   copy of the above document was filed electronically and served via CM/ECF and by

   mail to attached service list to all parties of interest on this 15thday of December, 2016.

                                            DAVID W. LANGLEY
                                            Attorney for Debtor
                                             8551 W. Sunrise Blvd. Ste303
                                             Plantation, Florida 33322
                                             Telephone: 954-356-0450
                                             Facsimile: 954-3560451
                                             Email:dave@flalawyer.com
                                             By:    /s/_David W.Langley
                                                    David W. Langley, Esq.
                                                    Florida Bar Number: 348279
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                                    SERVICE LIST

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   bnasralla@furrcohen.com; atty_furrcohen@bluestylus.com


   Joe M. Grant, Esq. on behalf of Creditor Selective Advisors Group, LLC jgrant@msglaw.com;
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   Joe M. Grant, Esq. on behalf of Plaintiff Selective Advisors Group, LLC jgrant@msglaw.com;
   file@msglaw.com;mg197ecfbox@gmail.com;sleary@msglaw.com

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   David B. Haber, Esq. on behalf of Creditor Valencia Estates Homeowners' Association, Inc.
   dhaber@dhaberlaw.com,ngomez@dhaberlaw.com;rcasamayor@dhaberlaw.com;dbhpaservice@
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   Hazantdmckeown@mckeownpa.com

   Tamara D McKeown on behalf of Defendant Liza
   Hazantdmckeown@mckeownpa.com
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  USTPRegion21.MM.ECF@usdoj.gov

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   mfriedman@gjb-law.com, gjbecf@gjb-law.com;jsardina@gjb-law.com

   Ashley Prager Popowitz on behalf of Creditor Real Time Resolutions, Inc.
   Ashley.popowitz@mrpllc.com;flbkecf@mrpllc.com

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                             UNITED STATES BANKRUPTCY COURT
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   In re:
                                                         CASE NO.: 16-10389 AJC
   LIZA HAZAN,
         Debtor.                                         CHAPTER 11
   ________________________________/

                         Debtor’s Motion for Extension of Exclusivity Period

                            [Hearing Requested Prior to January 30, 2017]

            Debtor, Liza Hazan, moves for an extension of the exclusivity period to file and confirm

   her Chapter 11 plan of reorganization,and in support thereof states:


       1. On August 16, 2016, Debtor filed an Amended Motion for Extension of Time re Exclusivity

            to amend plan and disclosure statement. The exclusivity period was continued to November

            7, 2016. (ECF 159).

       2. Debtor filed an Amended Disclosure Statement (ECF 190), and an Amended Plan (ECF

            189)on September 6, 2016.

       3. A disclosure hearing was scheduled for November 16, 2016.

       4. The Debtor resolved all objections to the Disclosure Statement with the exception of that

            raised by NLG, LLC.

       5. By Order dated December 2, 2016, the Court set for hearing the objection to Disclosure

            Statement of NLG, LLC for December 7, 2016 (D.E. 242).

       6. At the hearing on December 7, 2016, the Court indicated that the issue of NLG’s standing

            must be resolved before the Court will consider other matters. A subsequent hearing on

            standing took place on December 21, 2016, and proposed orders are due January 20, 2017.
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      7. A further hearing on disclosure cannot take place until the Court rules on NLG’s standing

          sometime after January 20, 2017. The confirmation hearing will take place at least forty-five

          (45) days or, at the earliest, sometime in March, 2017.

      8. Debtor respectfully requests that this court extend the exclusivity period for Debtor to April

          30, 2017.


          WHEREFORE, Debtor respectfully request an extension of the exclusivity period to April

      30, 2017, and such other relief as the Court deems proper.




                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); andthat a true copy of the above

   document was filed electronically and served electronically and by mail to all interested parties

   on attached service list on this 6thday of January, 2017.


                                                 LAW OFFICES OF DAVID W. LANGLEY
                                                 Attorney for Debtor
                                                 8551 W. Sunrise Blvd., Suite 303
                                                 Plantation, Florida 33322
                                                 Telephone:     954-356-0450
                                                 Facsimile:     954-356-0451
                                                 E-mail: dave@flalawyer.com

                                                 By: ___/s/ David W. Langley _______
                                                        David W. Langley, Esq.
                                                        Florida Bar Number: 348279
Case 1:22-cv-21485-RNS
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   Tamara D McKeown on behalf of Defendant Liza Hazan
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   Michael A. Friedman, mfriedman@gjb-law.comon behalf of NLG, LLC

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   Ashley.popowitz@mrpllc.com, flbkecf@mrpllc.com

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          	   ORDERED in the Southern District of Florida on January 17, 2017.
          	  
          	  
          	  
          	  
          	                                           A. Jay Cristol, Judge
          	                                           United States Bankruptcy Court
_____________________________________________________________________________
          	  
          	  
          	  
          	  
          	  
                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI-DADE DIVISION
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           In re:
                                                                CASE NO.: 16-10389-AJC
           LIZA HAZAN,
                 Debtor.                                        CHAPTER 11
           ________________________________/

                AGREED ORDER APPROVING STIPULATION OF SETTLEMENT [D.E. 350]

                    THIS MATTER came before the Court upon the Agreed Motion to Approve Stipulation

           of Settlement [ECF 345] (the “Stipulation”). The Court has been advised of the agreement of the

           Parties and has reviewed the terms of the Stipulation and being fully advised in the premises, it is

           hereby

                    ORDERED as follows:

                    1. The Stipulation [ECF 345] is approved and ratified by the Court.
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          2. The Third Paragraph of the Stipulation [ECF 345] is not binding on any other

              creditor.

          3. This Court shall retain jurisdiction to enforce the terms of this Order and the

              Stipulation.

                                                  ###
   Submitted by:
         DAVID W. LANGLEY
         Attorney for Debtor
         8551 W. Sunrise Boulevard, Suite 303
         Plantation, Florida 33322
         Telephone:     954-356-0450
         Fax:           954-356-0451
         E-mail: dave@flalawyer.com
         Florida Bar Number 348279

   The party submitting this order shall serve a copy of the signed order on all parties listed below
   and file with the court a certificate of service conforming with Local Rule 2002-1(F).

   Copies to: Clerk, U.S. Bankruptcy Court, Office of the U.S. Trustee, all parties of interest



   	  
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           ORDERED in the Southern District of Florida on January 25, 2017.




                                                      A. Jay Cristol, Judge
                                                      United States Bankruptcy Court
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                         UNITED STATES BANKRUPTCY COURT
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  In re:
                                                          CASE NO.: 16-10389-AJC
  LIZA HAZAN,
        Debtor.                                           CHAPTER 11
  ________________________________/

                      THIRD AMENDED DISCLOSURE STATEMENT

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  INTRODUCTION

          This is the third amended disclosure statement (the “Disclosure Statement”) in the Chapter
  11 case of Liza Hazan (the “Debtor”). This Disclosure Statement contains information about the
  Debtor and describes the Second Amended Plan of Reorganization (the “Plan”) filed by the Debtor
  on same date. A full copy of the Plan is filed herewith. Your rights may be affected. You should
  read the Plan and this Disclosure Statement carefully and discuss them with your attorney. If
  you do not have an attorney, you may wish to consult one. This Plan provides classes of claims;
  classes of priority claims, classes of secured claims, and classes of unsecured claims and equity.
  Unsecured creditors holding allowed claims will receive distributions which the proponent of this
  Plan has valued at dividend of 41% to 100% of total allowed claims accrued for up to sixty months
  and paid every six months with the first payment due in month 6, while undisputed unsecured
  claims are paid 100% within two years of the petition date, or by 1/11/18.

         A.      Purpose of This Document

         This Disclosure Statement describes:

                        The Debtor and significant events during the bankruptcy case,
                        How the Plan proposes to treat claims or equity interests of the type you
                        hold (i.e., what you will receive on your claim or equity interest if the plan
                        is confirmed),
                        Who can vote on or object to the Plan,
                        What factors the Bankruptcy Court (the “Court”) will consider when
                        deciding whether to confirm the Plan,
                        Why the Proponent believes the Plan is feasible, and how the treatment



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                         of your claim or equity interest under the Plan compares to what you would
                         receive on your claim or equity interest in liquidation, and
                         The effect of confirmation of the Plan.

         Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement
  describes the Plan, but it is the Plan itself that will, if confirmed, establish your rights.

         B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

          The Court has not yet confirmed the Plan described in this Disclosure Statement. This
  section describes the procedures pursuant to which the Plan will or will not be confirmed.

                 1.      Time and Place of the Hearing to [Finally Approve This Disclosure
                         Statement and] Confirm the Plan

                 2.      Deadline For Voting to Accept or Reject the Plan

          If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and return
  the ballot in the enclosed envelope to Clerk Bankruptcy Court U.S. Courthouse C. Clyde Atkins
  United States Courthouse 301 North Miami Avenue, Room 150 Miami, FL 33128. See section
  IV.A. below for a discussion of voting eligibility requirements.

         Your ballot must be received by the date indicated in the order of the court or it will not be
  counted.

                 3.      Deadline For Objecting to the Adequacy of Disclosure and
                         Confirmation of the Plan

         Objections to this Disclosure Statement or to the confirmation of the Plan must be filed
  with the Court and served pursuant to orders served herewith.

                 4.      Identity of Person to Contact for More Information

         If you want additional information about the Plan, you should contact:

         David W. Langley
         Counsel for Debtor
         8551 W. Sunrise Blvd., Suite 303
         Plantation, FL 33322
         954-356-0450
         dave@flalawyer.com

         C.      Disclaimer

         The Court must approve this Disclosure Statement as containing adequate information
  to enable parties affected by the Plan to make an informed judgment about its terms. The Court



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  has not yet determined whether the Plan meets the legal requirements for confirmation, and the
  fact that the Court has approved this Disclosure Statement does not constitute an endorsement
  of the Plan by the Court, or a recommendation that it be accepted.


  II.    BACKGROUND

         A.      Description and History of the Debtor’s Business

          Debtor works as a business consultant specializing in identifying locations for high-end
  restaurants and retailers around the world. She has historically earned in excess of $350,000 per
  year. As part of her consulting business, Debtor presently has an exclusive contract to place new
  locations for an international beauty and skin care company selling luxury brand products to high-
  end clientele. The Debtor has several projects under contract that will provide sufficient income to
  confirm and fund her plan. The Debtor presently has closed contracts that will earn her significant
  funds (comparable to past earnings) in the next six months.
          Debtor works with other major hospitality brands, restaurants, lounges and nightclubs that
  will earn her millions of dollars of income in the near future.
          The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
  Fisher Island, Florida (the “Property”) scheduled at $12,000,000.00.
          Additionally debtor has scheduled household furniture, dishes and china, household
  electronics and clothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.
          The equity in the Fisher Island Property would support a refinancing, which could also be
  used to support funding a plan if necessary.
          In addition to the foregoing, Debtor’s husband controls a corporation, Real Estate Holdings
  Group, L.D.C. which owns a condominium in New York City in the Spencer Condominium, Unit
  1A at 1 East 62nd Street, New York, New York 10065. Real Estate Holdings Group, L.D.C. has
  committed to contribute funds from the proceeds of refinancing and ultimate sale of the
  condominium unit to Debtor’s estate to fund the plan in order to assure the Debtor’s successful
  reorganization and completion of the plan.

         B.      Insiders of the Debtor

         Debtor is an individual and constitutes Debtor’s insiders as defined in §101(31) of the
  United States Bankruptcy Code (the “Code”). For the past two years there has been no salaries
  paid except professional earnings.

         C.      Management of the Debtor Before and During the Bankruptcy

          During the two years prior to the date on which the bankruptcy petition was filed, the
  officers, directors, managers or other persons in control of the Debtor (collectively the
  “Managers”) were the Debtor.
          The Managers of the Debtor during the Debtor’s Chapter 11 case have been: The Debtor.
          After the effective date of the order confirming the Plan, the directors, officers, and voting
  trustees of the Debtor, any affiliate of the Debtor participating in a joint Plan with the Debtor, or




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  successor of the Debtor under the Plan (collectively the “Post Confirmation Managers”), will be:
  The Debtor.

          D.     Events Leading to Chapter 11 Filing

          Debtor sought relief under Chapter 11 in order to end years of litigation between multiple
  creditors in various disputes across the country, to bring all matters into a single forum, and to
  fashion a Plan of Reorganization, which will resolve all disputes without needlessly jeopardizing
  the Debtor’s equity in her various assets.

         In 2007 Debtor purchased the property located at 6913 Valencia Drive, Fisher Island,
  Florida (the “Property”) now scheduled at $12 million for $5.1 million from NLG, LLC (“NLG”)
  through its then claimed principal Chris Kosachuk. The Debtor has been involved in litigation with
  NLG and Kosachuk since that time as more fully described below.

          The NLG’s self titled manager Chris Kosachuk has signed a gift of equity letter stating that
  Debtor does not have to pay back the amount of $1,275,000. In the closing statement NLG
  provided a seller contribution in the amount of $1,275,000 to Debtor. Chris Kosachuk has
  thereafter testified that he transferred ownership of NLG in 2007 to Luxcom, a Russian company
  (that Debtor has determined does not exist) in 2010. In 2012 Chris Kosachuk testified that NLG is
  now owned by Meridian Trust Company located in the British Virgin Islands, but he could not
  recall who he reported to or which island in BVI is Meridian Trust Company located. In 2014
  Chris Kosachuk in a sworn deposition alleged that NLG is now owned by Meridian Trust Company
  located in Nevis and the owner of Meridian Trust Company is Ernie Dover.

          In October 2008, NLG, through Chris Kosachuk, broke into Debtor’s homestead property
  located on Fisher Island and resided in the Debtor’s home for two months. Debtor, who was out
  of the country, after learning of the incident, filed an emergency motion to vacate the fraudulent
  Sheriff’s deed obtained by NLG. Judge Scola granted Debtor’s emergency motion, finding Chris
  Kosachuk’s actions “unconscionable”. After Judge Scola ordered Chris Kosachuk and NLG to
  vacate the premises, Kosachuk refused to vacate Debtor’s home and moved for an enlargement of
  time. Judge Scola denied NLG’s motion and forced Chris Kosachuk to vacate the premises. Police
  reports of the incident document that Chris Kosachuk stole Debtor’s furniture and her seven
  plasma TVS. Judge Scola has ruled as follows:

     “The Sheriff's Sale is set aside and vacated and the Sheriff's Deed dated November 19, 2008,
    for the property is vacated and the Sheriff's Deed is hereby SET ASIDE. The title of
    Defendant, Elizabeth Hazan, to the following described real property in Miami-Dade County,
    Florida:
        Lot 7, Block 2, LINDISFARNE ON FISHER ISLAND SECTION 10, according
        to the Plat thereof, recorded in Plat Book 157, Page 64, of the Public Records of
        Miami-Dade County, Florida.


  is a good title against the claims or purported claims of Plaintiff, NLG, LLC, and all other parties
  claiming by through, under or against it and those claims or purported claims are cancelled and
  the title to the property is forever quieted to Elizabeth Hazan as to NLG, LLC.


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                   B.         NLG, LLC and Chris Kosachuck, and all parties having or claiming to
  have any rights of possession of the property through NLG, LLC or Chris Kosachuck and all those
  parties since the filing of the Notice of Lis Pendens in this cause are to vacate the property located
  at 6913 Valencia Drive, Fisher Island, Florida 33109 ("premises"), on or before noon on December
  21, 2008, and deliver the keys to Hazan or her agents, and leave the premises in good condition.
  The Clerk of this Court is directed to issue a Writ of Possession after December 21, 2008, to the
  Sheriff of Miami-Dade County, directing him to put Elizabeth Hazan in possession of the aforesaid
  premises after twenty-four hours notice has been conspicuously posted on said premises all for
  which let execution issue.


          Chris Kosachuk has stolen Debtor’s mail. Kosachuk has stalked the Debtor and harassed
  her and called her a ‘whore and a f_ _ _ ing Jew”. Chris Kosachuk has threatened Debtor’s lawyers.
  Chris Kosachuk pushed her New York attorney Darius Marzec’s to the ground and has emailed
  him “Soon you will find yourself square in the cross-hairs and won't be able to hide behind all of
  your lawyering bullshit”. Chris Kosachuk has impersonated Debtor and called her banks to find
  out personal information. Chris Kosachuk has intimidated Debtor’s previous clients, ruined her
  business and caused her millions of dollars of lost of income. Kosachuk has harassed her clients,
  has defamed her character and damaged her reputation, defaming her in numerous newspapers,
  calling her a zero and a loser and other names.

         NLG and Chris Kosachuk have caused the Debtor to suffer emotionally for over a decade
  and have caused her to lose income and to incur substantial attorneys’ fees to defend herself against
  Chris Kosachuk’s nefarious actions.

          Chris Kosachuk has sent Debtor an email stating “your days are numbered” and told her
  that he would burry her alive.

          Debtor filed numerous police reports and reports with Fisher island security who have
  physically removed Kosachuk from Debtor’s property. Chris Kosachuk has impersonated other
  residents and used their Fisher Island security code to access Fisher Island and has lied to Fisher
  Island security to gain access to Fisher Island to come to the Island, intimidate, stalk, harass and
  physically and emotionally harm the Debtor.

         Chase Bank

        In March 7, 2007 Debtor signed a first promissory note and mortgage with Washington
  Mutual Bank in the amount of $3,825,000. JP Morgan Chase Bank claims to now own the
  Washington Mutual Bank promissory note and mortgage signed by Debtor in March 7, 2007.

         Chase filed a foreclosure in August 2013, which remains pending as case 2013-CA-
  025902. Chase did not file an assignment of mortgage to itself until 5/26/16. The maturity date of
  the Loan is August 2051.

         NLG


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         NLG FL litigation

          NLG’s self titled manager Chris Kosachuk. provided a gift of equity or an “equity
  contribution” of $1,275,000 stating that Debtor does not have to pay back the amount of $1,275,00
  on the closing statement and also had Debtor execute a note and second mortgage on the Fisher
  Island property for that same amount from Debtor after Closing.

           NLG sued within four months of the closing in 2007, and has pursued Debtor to this date
  in an attempt to wrongfully obtain Debtor’s property. Litigation between the parties has occurred
  in four states, multiple courts and has continued for over a decade, and continues in this court,
  costing Debtor millions in legal fees, adversely affecting her health and her career, and putting her
  in the financial position of having to seek relief in a Chapter 11 reorganization.

  Chris Kosachuk asserts that he is the manager and representative of NLG. Kosachuk has testified
  that he transferred NLG in 2007 to Luxcom, a Russian company. In 2012 Chris Kosachuk testified
  that NLG is now owned by Meridian Trust Company located in BVI but he could not recall to
  whom he reported. In 2014 Chris Kosachuk testified in deposition that NLG is now owned by
  Meridian Trust Company located in Nevis and the owner of Meridian Trust Company is Ernie
  Dover. From prior to the purchase date, more than a decade ago, to today, the parties have had
  multiple disputes and have engaged in litigation in multiple courts in Florida, New York,
  Pennsylvania and Delaware. Final orders have been entered in various courts setting forth the
  rights of these parties. But the litigation nevertheless has continued, and is now in this Court.

  NLG obtained a judgment on the promissory note signed by Debtor on April 28, 2008. (“The Scola
  Judgment”). NLG also sued Debtor for foreclosure in 2011. In 2014, Judge Peter Lopez assigned
  NLG’s judgment against Debtor, the Scola Judgment along with all NLG’s rights, claims and
  benefits against Debtor to Selective Advisors Group, LLC. (“Selective”) and also ordered
  Selective to provide a partial credit in the amount of $2,746,953.34 which amount includes
  principal and interest through August 31, 2014 (representing the full amount of the Scola
  judgment) at the 11% interest per annum. Selective did so.

  NLG appeared in this case but failed to timely file a proof of claim. NLG is merely a notice party.
  NLG is not a secured creditor in this case. Selective is listed in Debtor’s schedule as her secured
  creditor. On May 13, 2016 NLG moved for stay relief in this court (D.E. 66) but said relief was
  denied (D.E. 176) on August 23, 2016. Selective Advisors Group, LLC, an affiliate of Debtor’s
  husband, owns NLG’s claim through execution on a judgment against NLG. On August 23, 2016
  the bankruptcy court entered its decision denying NLG’s motion for relief from the automatic stay.
  ECF 176. This Honorable Court ruled as follows:

                        First, NLG is not a scheduled creditor in this case. The Debtor
                 scheduled Selective as its secured creditor, relying on the judicial
                 assignment in the Proceedings Supplementary Order, pursuant to the
                 Scola judgment. NLG was listed solely as a notice party. The claims
                 bar date has passed in this case, and NLG has not filed a claim. NLG
                 indeed had sufficient notice of these proceedings to timely file a claim
                 (both NLG’s counsel and Kosachuk himself appeared and questioned


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              the Debtor at the 341 meeting), but apparently chose not to. Because
              NLG has not been scheduled and did not file a claim against this estate,
              there is an issue as to whether NLG lacks standing as a “party in
              interest.” In re E.S. Bankest, L.C. 321 B.R. 590 (Bankr. S.D. Fla. 2005).

              …

              The Debtor’s Schedules indicate a disputed first mortgage on the
              property for $ 5.2 million dollars to Chase Bank N.A.; a mortgage for
              $2.0 million dollars to an entity owned by her mother that Debtor and
              her mother represented may be subordinated and/or satisfied in
              connection with a plan, and various other miscellaneous liens less than
              $300,000. The Debtor values the Selective lien at zero, because
              Selective, as judicial assignee of NLG, is owned by her husband and has
              filed a Satisfaction of Judgment and a Satisfaction of Mortgage.

              …

              The Debtor also asserts the Property is necessary to an effective
              reorganization. She resides on the Property with her husband and has
              declared the Property to be her homestead. The Debtor is a financial
              consultant who earns her income from consulting fees in connection
              with placing high-end retail and restaurant businesses in certain top-tier
              shopping locations. She entertains prospects at home. She also asserts
              significant equity in the home sufficient to refinance and/or collateralize
              the payment of her unsecured debt”.

                         The Debtor has filed with the Court an appraisal (D.E. 82-1)
              of the Property for $9.5 million, and asserts: (1) that the Debtor is
              negotiating with Chase regarding various issues; (ii) that NLG’s right to
              foreclose was judicially assigned to Selective, which has satisfied the
              Hazan mortgage in partial satisfaction of its judgment against NLG; and
              (iii) that the mortgage held by Debtor’s mother’s company will be
              subordinated or satisfied as part a plan. The Court believes the Debtor
              has presumptively established the prospect of equity in the Property for
              the benefit of creditors, and further believes the Debtor has established
              the Property is necessary for an effective reorganization as she uses the
              Property for business purposes and any plan filed in this case will be
              premised upon, at least in part, future business income.

        NLG NY Litigation




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  NLG domesticated the judgment obtained against debtor on April 28, 2008 (“the Scola Judgment”)
  in New York in 2014. New York Supreme Court Judge Barbara Jaffee, having recognized the
  Miami-Dade Judge Peter Lopez Order of Assignment of the NLG’s Judgment (“The Scola
  Judgment”) against the Debtor to Selective Advisors Group, LLC (“Selective”) and having
  accepted the Selective’s Satisfaction of NLG’s Judgment against the Debtor Ordered on November
  5, 2014:
         “That the caption of the case, NLG, LLC vs Elizabeth Hazan, be changed to substitute
         Selective Advisors Group, LLC as Plaintiff in place of NLG and that the New York County
         Clerk is directed to accept for filing the Florida Court Order of assignment, judicially
         assigning the underlying Florida judgment from plaintiff to Selective; it is further
                 ORDERED, that the County Clerk is directed to reflect on the docket of this case
         that the Florida judgment between plaintiff against defendant, domesticated here, has been
         satisfied; it is further
                 ORDERED, that the County Clerk is directed to accept for filing the satisfaction of
         Judgment or other appropriate satisfaction piece; and it is further
                 ORDERED, that the County Clerk is directed to remove and strike any judgments
         of record in this action under Index No. 108020/08.”

         NLG also filed a lawsuit in New York alleging Debtor fraudulently transferred the New
  York condo (described below). On November 2014, Hon. Judge Barbara Jaffee dismissed both
  claims filed by NLG.

         Spencer Condominium

          Debtor bought a condominium in New York City on Fifth Avenue and 62nd Street on
  December 2005 in the Spencer Condominium, Unit 1A of 1 East 62nd Street, New York, New York
  10065 (“The New York Condominium”). Debtor transferred this NY condominium on August
  2011. The Board of Managers alleges that the transfer was made without the consent of Spencer
  Condominium. Debtor’s husband controls the corporation, Real Estate Holdings Group LDC
  which now owns the condominium. The Spencer Condominium Board of Managers has been
  involved with The Debtor and REHG in litigation since 2008 resulting in a confidential settlement
  agreement executed in March 2015. Spencer Condominium disputes that the Settlement
  Agreement is enforceable at this time, but Judge Singh of the New York Supreme Court has
  recently ordered the parties to comply with the Settlement Agreement; The settlement includes a
  resolution of the following lawsuits:
          Board of Managers of Spencer Condominium v. Elizabeth Hazen, et al;
                  No. 111644/09.
          Real Estate Holding Group, LDC v. Board of Managers of Spencer Condominium et al;
                  No. 154149/2012
          Real Estate Holdings Group, vs. Spencer Condominium
                  No. 159254/2013

         All three cases have been dismissed and settled and REHG is presently hiring a real estate
  broker to list the condominium unit for sale to pay off the settled reduced amounts of the first
  mortgage in favor of U.S. Bank and to satisfy the second mortgage in favor of Real Time




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  Resolutions (both alleged creditors of this Debtor) as well as to resolve the assessments allegedly
  due the Board of Managers. The unit will be listed for sale.

          On July 21, 2016 Debtor filed the following motions: Motion for Relief from Stay Spencer
  Condominium, (D.E. 115), Motion to Seal or for in Camera Review (D.E. 116) and Motion for
  Abstention (D.E. 117). All three Debtor’s Motions have been withdrawn without prejudice. On
  February 24, 2017 Debtor filed three new motions in this case: A Motion to Seal, D.E. 387, A
  Motion for Abstention D.E. 388, A Motion for Relief from Stay D.E. 389 and An Amended Motion
  for Stay relief Spencer Condominium litigation and request for expedited Hearing, D.E. 390.
  Debtor also filed an objection to Spencer’s Proof of Claim. On March 1, 2017, This Court granted
  the agreed Order granting Debtors’ Amended Motion for Order for Stay relief Spencer
  Condominium litigation and request for expedited Hearing, D.E. 392. The Court ruled as follows:
  “The Debtor’s Motion is granted. The automatic Stay is lifted solely for the purpose of permitting
  the New York Supreme Court to exercise jurisdiction over the litigation between the Debtor and
  Spencer Condominium and related parties and the stipulation for settlement therein. The 14 day
  Stay period pursuant to Bankruptcy Rule 4001(a)(3) is waived. No property of the estate will be
  affected by this Order”.

  In the case of Real Estate Holdings Group, vs. Spencer Condominium No. 159254/2013 on July
  27, 2016, Real Estate Holdings Group, L.D.C. (“REHG”) Owner of The New York Condominium
  filed an Order to Show Cause to enforce the confidential Stipulation of settlement executed by the
  parties on March 2015. On March 2, 2017, Honorable Judge Singh granted Plaintiff REHG’s
  Motion to enforce the Confidential Settlement with Spencer Condominium as the stay has been
  vacated and ordered the parties to comply with the terms of the settlement within 30 days of the
  Order. The matter is adjourned to April 25, 2017 (2:30 pm) to monitor compliance.

          In the case of Board of Managers of Spencer Condominium v. Elizabeth Hazan No.
  109083/2008 Spencer has obtained an award in the amount of $109,554.86. This award was never
  converted to a judgment entered or recorded in any court. However the parties have agreed that
  this amount of alleged money owed by the Debtor to Spencer prior to her transfer of ownership of
  the New York condo in 2011 almost 6 years ago shall be paid by REHG and not by the Debtor in
  the plan. Spencer has no standing to object to the Debtor’s plan or object to her confirmation and
  is bound by their in full force and effect confidential Stipulation of Settlement executed on March
  2015.

         Reorganization

          The Debtor intends to reorganize her debts and liabilities through a combination of: (a)
  negotiating and/or litigating as may be necessary, resolutions with certain secured and unsecured
  creditors; and (b) making distributions funded by her assets and income from her consulting work,
  or if necessary, refinancing and contributions from her husband’s companies.

           To date, the Debtor’s efforts have focused on negotiating resolutions with several creditors,
  litigating with two other creditors, conferring with counsel to begin formulating the structure and
  terms of a proposed Plan, and expanding her consulting income for the eventual benefit of her
  estate and creditors.


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         E.     Significant Events During the Bankruptcy Case

                *      Date of Order for Relief under Chapter 11 on 1/11/16.

                *      Meeting of Creditors Chapter 11 held on 2/17/16 at 2PM.

                *      Deadline for complaint re dischargeability was 4/18/16.

                *      Professionals approved by the court
                       Geoffrey Aaronson appointed 5/3/16 DE 85 nunc pro tunc to petition date.
                       Joel Aresty was substituted as counsel for Debtor in Possession on
                       7/29/2016 (D.E. 126).
                       David W. Langley entered an appearance as counsel for the Debtor on
                       9/6/2016 and was approved by the Court on October 19, 2016.

                *      Contested claim disallowance proceedings: pending; see claim treatments.

                *      Claims bar, proofs of claim due 5/17/16; For a governmental unit: 7/11/16

                *      Debtor has managed her affairs to enhance the value of her assets. Post
                       petition, the bankruptcy filing, has allowed Debtor to reorganize allowing
                       Debtor to propose a plan for payment of creditors.


        ADVERSARY PROCEEDINGS Selective Advisors and Elizabeth Hazan v. NLG, LLC,
  Adv. Case No. 16-1439-AJC

          On August 21, 2016 Selective filed an Adv. Case No. 16-1439-AJC D.E.1. On 10/21/2016
  Debtor moved to amend the Complaint to add Debtor, Liza Hazan as Plaintiff. On October 20,
  2016. D.E.8. NLG filed their answer and their counterclaims. D.E5 and D.E 6.
          On 11/08/16 Plaintiffs Selective and Hazan filed their motions to dismiss Count I and
  Count II of NLG’s counterclaims and Motion for Judgment on the pleading D.E. 11 and D.E. 12.
  On December 6, 2016 Plaintiffs Selective and Hazan filed their Motion for leave to file Amended
  Complaint against NLG to add a count under Florida Statute § 65.08 and Florida Statute §
  65.011for quieting title and a count for damages. D.E. 32. On December 19, 2016 This Court
  ordered the parties to submit Orders on Plaintiffs’ motions to dismiss NLG’s counterclaims and
  Plaintiffs’ motions for Judgment on the Pleadings. On December 23, 2016 Debtor Hazan amended
  her Complaint to add additional Counts D.E. 40. On 12/30/2016 This Court entered an Order
  granting Plaintiff’s Motion to amend and allowing Second Amended Complaint. On January 3,
  2017 Plaintiffs filed their Second Motion to Amend Complaint to add additional Tort claims, D.E
  47 and D.E 48, adding additional torts.
          On 01/13/17 NLG’s counsel, Michael Friedman, filed his expedited Motion to Withdraw
  as attorney of record for NLG citing irreconcilable differences D.E 54. On 01/23/17 this Court
  granted Michael Friedman’s Motion to Withdraw, D.E 61, and also granted Plaintiffs Selective
  and Hazan’s Second Motion to amend Complaint. D.E 62.



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          On 02/22/17 NLG’s third counsel filed his notice of appearance - James Miller, D.E.75.
  On 03/01/17 NLG’s third counsel filed his expedited motion to withdraw citing once again
  irreconcilable differences and also filed his motion to allow NLG to extend time to meet the
  Court’s deadlines. D.E. 76. On 03/03/2017 Plaintiffs Selective and Hazan filed their Motion for
  Default against NLG for failing to answer Plaintiffs’ Third Amended Complaint. D.E. 85. On
  03/10/17 this court denied NLG’s motion to extend time. D.E. 94.
          On 03/17/17 this Court granted in part Plaintiff’s Motion for Default against Defendant
  NLG and denied Plaintiffs’ motion for judgment on pleadings as moot because of the subsequent
  filings and amendments. This Court granted a Default in favor of Plaintiffs and against Defendant
  NLG and ruled as follows:

                 The Court also finds that the withdrawal and retention of multiple counsel by the
                 Defendant does not constitute “cause” or “excusable neglect” warranting an
                 extension of time to comply with filing requirements. The Court set deadlines in
                 this case for the filing of pleadings, specifically the filing of a responsive pleading
                 to the second amended complaint; but the Defendant did not meet those deadlines
                 and has failed to demonstrate sufficient cause exists to extend those deadlines.
                 Accordingly, the Court believes the Plaintiff is entitled to a default…”D.E 100.

  Valencia Estates Homeowners’ Association

         The Debtor has entered into a Stipulation for Settlement with Valencia Estates
  Homeowners’ Association, Inc. The Debtor has agreed to approval of the stipulation by this Court
  and the Association has agreed to support the Debtor’s reorganization.

         F.      Projected Recovery of Avoidable Transfers

         The Debtor has completed her investigation with regard to prepetition transactions.

         11 USC 547(b) preferences limits the look back for an insider preference to one year.
  Florida statute 726.106(2) likewise has a one year limitation.

          11 USC 548 fraudulent transfers has a two year look back, and incorporates Florida Statute
  726 which has a four year look back, but only as to avoidance for intentional hinder delay or fraud,
  or lack of reasonable equivalent value, which facts are not relevant to the plan in this case.

         G.      Claims Objections

        The Debtor has not completed claim objections but the current plan reflects the objections
  contemplated.

         H.      Current and Historical Financial Conditions

           The identity and fair market value of the estate’s assets are listed in an Exhibit A and B to
  this statement. Debtor is the source of this information and Debtor’s experience with her assets is
  the basis of valuation.



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           Debtor’s income based on consulting is not a regular monthly income which would lend
  itself to making monthly payments. Debtor’s income, while significant, is sporadic, as a result of
  which payments are proposed on quarterly or bi-yearly basis.

         I. Taxes

  Debtor has tax liabilities as evidenced by priority claim in plan Class 1.

  III.   SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF
         CLAIMS AND EQUITYINTERESTS

         A.      What is the Purpose of the Plan of Reorganization?

          As required by the Code, the Plan places claims and equity interests in various classes and
  describes the treatment each class will receive. The Plan also states whether each class of claims
  or equity interests is impaired or unimpaired. If the Plan is confirmed, your recovery will be limited
  to the amount provided by the Plan.

         B.      Unclassified Claims

         Certain types of claims are automatically entitled to specific treatment under the Code.
  They are not considered impaired, and holders of such claims do not vote on the Plan. They may,
  however, object if, in their view, their treatment under the Plan does not comply with that required
  by the Code. As such, the Plan Proponent has not placed the following claims in any class:
                1.        Administrative Expenses

          Administrative expenses are costs or expenses of administering the Debtor’s Chapter 11
  case which are allowed under §507(a)(2) of the Code. Administrative expenses also include the
  value of any goods sold to the Debtor in the ordinary course of business and received within 20
  days before the date of the bankruptcy petition. The Code requires that all administrative expenses
  be paid on the effective date of the Plan, unless a particular claimant agrees to a different treatment.

                 2.       Priority Tax Claims

         Priority tax claims are unsecured income, employment, and other taxes described by
  §507(a)(8) of the Code. Unless the holder of such a §507(a)(8) priority tax claim agrees otherwise,
  it must receive the present value of such claim, in regular installments paid over a period not
  exceeding 5 years from the order of relief.

         See class 1 below

         C.      Classes of Claims and Equity Interests

          The following are the classes set forth in the Plan, and the proposed treatment that they
  will receive under the Plan:




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         Classes of Priority Unsecured Claims

         Certain priority claims that are referred to in §§507(a)(1), (4), (5), (6), and (7) of the Code
  are required to be placed in classes. The Code requires that each holder of such a claim receive
  cash on the effective date of the Plan equal to the allowed amount of such claim. However, a class
  of holders of such claims may vote to accept different treatment.

          The following chart lists all classes containing claims under §§507(a)(1), (4), (5), (6), and
  (a)(7) of the Code and their proposed treatment under the Plan:

         Classes of Secured Claims

          Allowed Secured Claims are claims secured by property of the Debtor’s bankruptcy estate
  (or that are subject to setoff) to the extent allowed as secured claims under §506 of the Code. If
  the value of the collateral or setoffs securing the creditor’s claim is less than the amount of the
  creditor’s allowed claim, the deficiency will [be classified as a general unsecured claim].

          The following chart lists all classes containing Debtor’s secured prepetition claims and
  their proposed treatment under the Plan:

          General unsecured claims are not secured by property of the estate and are not entitled to
  priority under §507(a) of the Code.

         The following chart identifies the Plan’s proposed treatment of Class contains general
  unsecured claims against the Debtor:

         Class[es] of Equity Interest Holders

         Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in
  the Debtor. With respect to an individual who is a debtor, the Debtor is the equity interest holder.



    Admin     Description                                   Treatment
              Geoffrey Aaronson                  Mr. Aaronson has agreed to
                                                 accept payment in the amount of
                                                 $142,686.86 in fees and
                                                 $2,313.13          in       costs
                                                 reimbursement, from a third
                                                 party in full satisfaction of this
                                                 claim.

              Joel Aresty                        Mr. Aresty has agreed to accept
                                                 $35,000.00 in fees and



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                                           $1,500.00 in costs payable as
                                           follows: $3000 within 5 days of
                                           entry of Order Approving
                                           Settlement (submitted but not
                                           yet entered) followed by 19
                                           payments of $1500 starting May
                                           1, 2016 and an additional $5000
                                           at confirmation.

               David W. Langley            Paid as awarded or agreed.



               US Trustee                  paid in full at confirmation



                                       Priority Claims


                                        Priority Claims




     Class #          Description
                                           Impairment                     Treatment



                                                           The $24,663.00 priority tax claim

                            IRS                            will be paid within five years of the
                                                           petition date. Payments every six
       1                                       yes
                                                           months to include interest on any
                      Claim #3                             unpaid claim amounts after the

                                                           effective date of the plan at 3%



                                       Secured Claims
                      6913 Valencia Drive Property Fisher Island Florida




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                                                First Secured Mortgage –
                                                The claim bar date has passed in this
                                                case, and Chase has not filed a Proof
                                                Of Claim. Chase was scheduled as
                                                disputed, contingent and unliquidated.

                                                Original note in the amount of
                                                $3,825,000.00 signed by Debtor on
                                                March 2007 with Washington Mutual
                                                Bank. Chase Bank filed an Assignment
                                                of mortgage on 5/26/16 alleging an
                                                interest in the loan. Debtor has
                                                obtained stay relief on November 16,
                                                2016 to continue State Court litigation
                                                regarding     the    alleged    default,
                                                ownership of the loan and standing
                                  no
                                                issues. If the State Court enters a final
                                                order finding and determining the
                                                validity, amount and enforceability of
                                                the mortgage and the assignment
     2        Chase Bank                  yes   thereof, Debtor shall commence
                                                making payments of principal and
                                                interest on the balance found by a court
                                                of competent jurisdiction to be due and
                                                owing, at the interest rate provided in
                                                the loan documents amortized over the
                                                remaining original term of the loan
                                                (maturity date 2051) commencing 30
                                                days after the State Court Order
                                                becomes final.
                                                Pending adjudication of Chase’s
                                                alleged interest in the loan and the
                                                subject property Chase shall have
                                                adequate protection in the form of an
                                                equity cushion that exceeds the amount
                                                of the loan. See In re DiMaria, 202
                                                B.R. 634 (S.D. Fla 1996).
                                                Chase has agreed to withdraw all
                                                objection  to   this   Disclosure



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                                                Statement and the Debtor has
                                                agreed that any objections to
                                                confirmation are preserved.

                                                Selective Advisors Group, LLC
                                                (“Selective”) is the rightful assignee of
                                                the satisfied second mortgage
                                                previously held by NLG (“NLG”).
                                                Selective is the rightful assignee of the
                                                satisfied promissory Note, Mortgage
                                                and Judgment previously held by NLG
                                                gainst The Debtor in the amount of
                                                $1,618,068.00 plus interest at 11% per
                                                annum (“the Scola Judgment”) from
                                                April 28, 2008,

                                                Selective has recorded a Satisfaction of
                                 yes
                                                this Mortgage and Judgment against
                                                the Debtor and her property on August
                                                20, 2014 and August 21, 2014. per the
                                                Final Order of Assignment of Hon.
                                                Judge Peter Lopez entered on August
            Selective Advisors
     3                                    yes   20, 2014.
               Group, LLC
                                                NLG appeared in this case but failed to
                                                timely file a proof of claim. NLG is
                                                merely a notice party. NLG is not a
                                                scheduled creditor in this case.
                                                Selective is listed in Debtor’s schedule
                                                as her creditor. On May 13, 2016 NLG
                                                moved for stay relief in this court (D.E.
                                                66) but said relief was denied (D.E.
                                                176) on August 23, 2016. Selective, an
                                                affiliate of Debtor’s husband, owns
                                                NLG’s claim through execution on a
                                                judgment against NLG. On August 23,
                                                2016 the bankruptcy court entered
                                                its decision denying NLG’s motion
                                                for relief from the automatic stay.
                                                ECF 176.



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                                                        On August 21, 2016, Selective
                                                sued NLG in this bankruptcy Court
                                                ADVERSARY            PROCEEDINGS
                                                Selective Advisors and Elizabeth
                                                Hazan v. NLG, LLC, Adv. Case No.
                                                16-1439-AJC for avoidance of NLG’s
                                                alleged claimed lien on Debtor’s
                                                Homestead property on Valencia Drive
                                                Fisher Island Florida. On January 3,
                                                2016 Hazan, additional Plaintiff and
                                                Selective filed their Motion to amend
                                                their Complaint to add a count seeking
                                                to Quiet Title to the property, and a
                                                number of tort claims, which motion
                                                was granted on January 23, 2016.

                                                        On March 20, 2017 The
                                                Court awarded a default in favor of
                                                Plaintiffs Selective and Hazan and
                                                against Defendant NLG, LLC. (D.E.
                                                100.) The Court granted a Default in
                                                favor of Plaintiffs and against
                                                Defendant NLG, LLC and ruled as
                                                follows: “The Court also finds that the
                                                withdrawal and retention of multiple
                                                counsel by the Defendant does not
                                                constitute “cause” or “excusable
                                                neglect” warranting an extension of
                                                time to        comply with          filing
                                                requirements. The Court sets deadlines
                                                in this case for the filing of pleadings,
                                                specifically the filing of a responsive
                                                pleading to the second amended
                                                complaint; but the Defendant did not
                                                meet those deadlines and has failed to
                                                demonstrate sufficient cause exists to
                                                extend those deadlines. Accordingly,
                                                the Court believes the Plaintiff is
                                                entitled to a default…”D.E 100

                                                Second Secured Mortgage in the
                                                amount of $2,000.000.00 plus accrued
                                                interest from March 14, 2012.
     4     6913 Valencia LLC              yes
                                 Yes            The Debtor does not contest the
                                                validity or extent of 6913 Valencia


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                                                LLC’s Mortgage on her Homestead
                                                property claim.
                                                Valencia      Estates     Community
                                                Association’s (“Valencia”) Claim#10
                                                in the amount of $195,072.14. Treated
                                                in settlement as follows:
                                                1. Debtor paid $2,193.17 Aug 17, 2016
                                                for due maintenance.
                                                2. Debtor has paid 4 months in advance
                                                for September, October, November
                                                and December 2016 assessments for a
                                                total amount of $4,484.00 as per the
                                                Stipulation.
                                  no            3. Debtor has paid the 2016 special
                                                assessment in the amount of $6250.00
                                                as per the Stipulation.
                                                4. The Parties agreed that Claim
                                                Number 10 shall be paid in the amount
            Valencia Estates                    of $195,000.00 with 3.5% interest in
     5    Community Assn, Inc             yes   the Chapter 11 Plan, over forty-eight
               claim #10                        (48) months, with one payment on the
                                                Effective Date of $4,062.00, and
                                                payments every five (5) months
                                                thereafter in the amount of $20,312.50
                                                following the Effective Date until paid
                                                in full, with the interest payments to be
                                                made annually on the twelfth month.

                                                Valencia    Estates     Community
                                                Association, Inc withdrew its
                                                objections to Debtor’s disclosure
                                                and has agreed to vote for Debtor’s
                                                plan.

                                                            Claim settled.

                                                Agreed Order Approving Stipulation
                                                of Settlement of Claim 10 filed by
                                                Valencia    Estates   Homeowners’




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                                                Association entered on 11/18/16 D.E
                                                302.

                                                Late filed Proof Of Claim in the
                                                amount of $216,278.97 on 10/20/16 –
                                                Disputed by Debtor and Disallowed
                                                by this Court.


                                                The Debtor has filed an objection to the
                                                amount of the Claim challenging
                                                Fisher Island’s standing as a “party in
                                                interest.” In re E.S. Bankest, L.C. 321
                                                B.R. 590 (Bankr. S.D. Fla. 2005).
                                                Fisher Island Community Association,
                                  no            Inc. did not timely file a Proof Of
             Fisher Island
     6    Community Ass'n, Inc            yes   Claim and its Motion to Allow a Late
              Claim #18                         Filed Claim has been denied on
                                                November 16, 2016.


                                                Claimant 3343 West Commercial
                                                Blvd. 100 (Fisher Island Community
                                                Association).
                                                Order    granting  Fisher      Island
                                                Community Association, Inc.’s Motion
                                                for relief from Stay entered on
                                                11/23/16
                                                Claim Disallowed Claim by this
                                                Court. No payment through Plan.
           Miami-Dade Water
                  and
                                                Claim #7 $1502.54 to be paid on the
     7          Sewer             no      yes
                                                    Effective Date of The Plan
               claim #7

                                                $393,985.17 - Secured claim shall be
                                                paid over ten years with interest
                  IRS
                                  no            payments every 6 months to include
     8          claim #3                  yes
                                                interest on any unpaid claim amounts
                                                after the effective date of the plan at
                                                3%.



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                                                        $57649.47 Miami-Dade County Tax
              Miami-Dade County                           Collector Secured claim on 6913
                 Tax Collector                          Valencia Drive property Fisher Island
     9
                                     no        yes         FL 33109 has been paid in full.
                  Claim #6
                                                                 Claim #6 paid in full.



                                   Other Disputed Claims

                                    Insider
    Class #       Description                      Impairment       Treatment

                                                                    Claim 8 in the amount of
                                                                    $322,846.72        allegedly
                                                                    secured second mortgage
                                                                    Line of credit on property
                                                                    located at 1 East 62nd Street
                                                                    Apt 1 A NYC NY 10065 is
                                                                    disputed by Debtor.
                  Real Time                                         Alleged      Creditor   has
                Resolutions, Inc      no
                                                       yes          agreed to complete stay
      10           claim #8                                         relief in settlement of this
                                                                    claim in this case and has
                                                                    agreed to support Debtor’s
                                                                    plan of reorganization and
                                                                    vote the entire amount of its
                                                                    alleged claim in favor of
                                                                    Debtor’s plan. (ECF 163)

                                                                          Claim settled.




    Class #       Description
                                    Insider         Impairment              Treatment

                                                                    The Debtor disputes the
                                                                    Claim #14 filed by The
               Board of Managers                                    Board      of    Managers
                    Spencer                                         Spencer       Condominium
      11                                               yes
                 Condominium                                        (“Spencer”). The parties
                   claim #14                                        reached a Confidential
                                                                    Stipulation Of Settlement
                                                                    in March 2015 in New


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                                                         York. The Debtor is only
                                                         personally liable for the
                                                         amount of $109,554.86
                                                         representing the alleged
                                                         disputed        outstanding
                                                         maintenance fees owed by
                                                         Debtor prior to her transfer
                                                         of ownership of the
                                                         property located at 1 East
                                                         62nd Street Apt 1 A NYC
                                                         NY 10065. This amount
                                                         will be paid by Real Estate
                                   no                    Holdings Group, L.D.C.
                                                         (“REHG”), the owner of
                                                         the       New          York
                                                         condominium located at 1
                                                         East 62nd Street Apt 1A,
                                                         New York, NY 10065.
                                                         REHG, Spencer and Debtor
                                                         Hazan and other parties are
                                                         bound by the Confidential
                                                         Stipulation of Settlement
                                                         executed in March 2015
                                                         (“Settlement”). The vast
                                                         remaining portion of the
                                                         Spencer Condo Board of
                                                         Managers’ claim is to be
                                                         paid by the owner of the
                                                         unit, REHG, per the
                                                         Settlement executed in
                                                         March 2015 by the parties.

                                                         On March 1, 2017 this
                                                         Court granted Debtor’s
                                                         Motion for Stay relief,
                                                         allowing the New York
                                                         Court      to   exercise
                                                         jurisdiction over and
                                                         enforce the confidential
                                                         Settlement Agreement.

                                                         On March 2, 2017, New
                                                         York Supreme Court
                                                         Judge Singh granted
                                                         REHG’s     Motion     to
                                                         Enforce The Confidential



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                                                                  Stipulation entered in
                                                                  March 2015 between the
                                                                  parties.

                                                                  No payment through the
                                                                  plan. Claim settled.




                                              Vehicle
                                    2007 Mercedes-Benz S550




    Class #       Description         Insider                            Treatment
                                                     Impairment

                                                                  Stipulation Of Settlement
                                                                  DE 98 approved by this
                                                                  Court DE 101.

                                                                  Vehicle     owned       by
                                                                  Holdings             Trust
                                                                  Management Group LLC.
                                         no                       Southeast Financial LLC’s
                                                                  Secured Lien is guaranteed
              Southeast Financial                                 by the Debtor.
      12                                                yes
                    LLC
                                                                  Secured claim allowed
                                                                  $17,000 value to be paid at
                                                                  5.25% for 48 months
                                                                  payments in the amount of
                                                                  $393 began on August 1,
                                                                  2016 and are current.

                                                                        Claim settled.



                        Convenience Class Undisputed Unsecured Small Claims
              Paid in full over 18 months beginning month 6 after confirmation with equal
                                    payments every 6 months



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                                        Insider?
    Class #        Description
                                         (Yes or        Impairment           Treatment
                                           No)

      13           IRS Claim #3            no               X                 1085.00
               American InfoSource         no
                                                            X                 1130.00
                T Mobile Claim #2
               American InfoSource         no
                                                            X                  461.00
               Direct TV Claim # 9
                  FPL Claim #11            no               X                 2906.93
                    Mount Sinai            no               X                 3,240.00
                    Mount Sinai            no               X                  295.91
                 HSBC Bank USA             no
                                                            X                 1070.66
                        NA
                Sterling Emerg Svc         no               X                 2445.30
               Bank of America NA          no               X                 3301.00
                Wells Fargo Claim          no
                                                            X                  323.24
                        #12
                     Real Time             no
                                                            X                12,000.00
               Resolutions Claim #5
                       Total                                                 28,259.04



                                      Settled Unsecured Claims
      Allowed Undisputed Unsecured Claims will be paid within two years of petition date
            1/11/18 payments beginning month 6 after confirmation and every 6 months



     Class #          Description           Insider?      Impaired                  treatment

                                             (Yes or

                                                No)

       14        JMB Urban 900 Dev.             no           X       $664,380.47 will be paid 41% or
                                                                     275,000.00 per settlement 18 months from
                       claim #4*                                     the petition date. Adversary proceedings
                                                                     16-01188-AJC closed on 7/22/16 and
                                                                     Case settled 16-01188-AJC.



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                   S&S Collections              no            X        $21,242 Claim settled for 41% per
                   Simon & Sigalos                                     stipulation to be paid 18 months from
                      claim #13                                        petition date.

                                                                                      Claim settled


                Newman Ferrara LLP              no            X        $24,818.44 Legal bill Legal work for
                    claim #15                                          Corporation other than the Debtor.


                                                                            The Claim bar date has passed.
                                                                                  Unallowed claim.



  *claim 4 subject of adversary case 16-01188 AJC settlement at 41% of claim

  ** insider claim will subordinate and not be paid until all other allowed claims but reserves right
  to vote for the plan

                                    Disputed Unsecured Claims
                                 not paid until and unless allowed
                         and then paid within 5 years after confirmation

                                                                           $11,023.83
                                                              Legal Bill for corporation other than
                                                                             Debtor.
               Cross & Simon
     15                                  no          X                 Unallowed claim.
                 Claim #1
                                                                  No payment through Plan




                                                            Disputed Proof of Claim filed after
           Fuerst Ittleman David
                                                            Claim Bar Date. Fuerst Ittleman David
              & Joseph, P.L.
     16                                              X      & Joseph, P.L. is not a creditor of this
                  Claim #16                                 Debtor. Debtor has filed an objection
                                         no                 to this claim. Fuerst Ittleman David &



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                                                        Joseph, P.L. have agreed that they are
                                                        not a creditor of this estate.

                                                             No payment through plan.
                                                                 Unallowed Claim.



                       Unsecured Scheduled Disputed and No Claim Filed
                                    Therefore Disallowed

   Allied Collection                           318

   ATT Mobility                                3919

   First National Collection                   246.08

   Focus Mgt                                   772

   Marzec Law Firm                             0

   Mount Sinai Medical                         31414.15

   Ray Garcia PA                               7026.15

   Verizon                                     1758

   US Bank NA                                  Unknown
                                               The Debtor entered into a Stipulation of
                                               Settlement with US Bank NA (D.E. 345)
                                               granting the parties complete stay relief which
                                               was approved by the Court by Order dated
                                               1/18/2017, D.E. 371.

                                               US Bank did not file a proof of claim and will
                                               not be paid through the Plan. Claim settled.

   NLG, LLC                                    NLG, LLC did not timely file a proof of claim
                                               and NLG, LLC’s alleged Claim has been
                                               judicially assigned per The Final Order
                                               entered by Judge Peter Lopez on August 2014.
                                               NLG, LLC will not be paid through the
                                               Plan.




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                                            NLG, LLC has no standing in this case and is
                                            not a creditor of the Debtor’s Estate.
                                            NLG appeared in this case but failed to timely
                                            file a proof of claim. NLG, LLC is merely a
                                            notice party. NLG, LLC is not a secured
                                            creditor in this case. Selective Advisors Group,
                                            LLC (“Selective”), is listed in Debtor’s
                                            schedule as her creditor.

                                            On May 13, 2016 NLG, LLC moved for stay
                                            relief in this court (D.E. 66). Selective, an
                                            affiliate of Debtor’s husband, owns NLG’s
                                            claim through execution on a judgment against
                                            NLG, LLC. On August 23, 2016 the
                                            bankruptcy court entered its decision
                                            denying NLG, LLC’s motion for relief from
                                            the automatic stay. ECF 176
                                            On 03/17/17 this Court granted in part
                                            Plaintiff’s Motion for Default against
                                            Defendant NLG, LLC in the Adversary,
                                            Case No. 16-1439 Selective Advisors Group,
                                            LLC and Liza Hazan AKA Elizabeth Hazan
                                            Liza Hazan AKA Elizabeth Hazan V.
                                            Defendant NLG, LLC in the Adversary. See
                                            D.E. 100. This Court granted a Default in
                                            favor of Plaintiffs Selective Advisors Group,
                                            LLC and Debtor Liza Hazan AKA
                                            Elizabeth Hazan and against Defendant
                                            NLG, LLC

   Total                                    45453.38




                                         Equity

           Class #     Description       Impairment
                                                                 Treatment

                     Equity Individual
             17                              no                   retained
                      interest holder



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          D.     Means of Implementing the Plan

                 1.      Source of Payments

          Debtor works as a business consultant specializing in identifying locations for high-end
  restaurants and retailers around the world. She has always earned at least $350,000 per year and
  in 2014 a personal income of $420,000.
          Debtor has executed in the last quarter of 2016 contracts that have earned her income
  comparable to past years, to be paid in installments, and additional payments throughout the
  construction phase, and the last remaining portion upon opening of the clients for business.
          Debtor has contracts to expand a nationwide and worldwide very high end retail operator
  that has already over 50 existing stores and is planning to open over 100 new locations in the next
  five years.
          Debtor has also exclusive contracts with high end restaurants and is responsible for their
  expansion nationwide. Debtor is in charge of finding new locations and is also responsible of their
  construction, architectural plans etc all the way through their opening of their new locations.
          Debtor’s husband controls a company called Real Estate Holdings Group, L.D.C.
  (“REHG”) which owns a New York condominium on Fifth Avenue and 62nd street New York Apt
  1 A NYC NY 10065 appraised at $4,500,000.00 that has in excess of $2,500,000.00 in equity. The
  company, REHG, has agreed to refinance and also sell the condominium to fund the plan in order
  to assure successful reorganization and completion of the plan.
          The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
  Fisher Island, Florida (the “Property”) valued at $12 million.
          Additionally debtor has scheduled household furniture, dishes and china, household
  electronics and clothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.
          The equity in Fisher Island would also support a refinancing, which could also be used
  support funding a plan if necessary.

                 2.      Post-confirmation Management

  The Post-Confirmation Managers of the Debtor, and their compensation, shall be as follows:

   Name                Affiliations        Insider (yes or     Position            Compensation
                                           no)?
   Liza Hazan          Debtor              yes                 Debtor              n/a

          E.     Risk Factors

          Certain substantial risk factors are inherent in most plans of reorganization in Chapter 11
  cases. If such Plans are accepted, it is usually because they represent a greater return in dividends
  than in a liquidating Chapter 7 case. This Plan bears the risk that the Debtor’s income may be
  reduced or her expenses may increase, all of which may reduce the Debtor's ability to make
  payments under this Plan. However, any distribution to unsecured creditors will be greater than
  what would be realized in liquidation.



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       ALL THE RISK FACTORS INHERENT IN A PLAN OF REORGANIZATION UNDER
  CHAPTER 11 ARE PRESENT IN THIS CASE. CREDITORS ARE URGED TO CAREFULLY
  READ THIS DISCLOSURE STATEMENT AND THE ACCOMPANYING PLAN OF
  REORGANIZATION SO THAT AN INFORMED JUDGMENT CAN BE MADE WITH
  RESPECT TO VOTING ON THE PLAN.


         F.      Executory Contracts and Unexpired Leases

          The Plan, in Article 6, lists all executory contracts and unexpired leases that the Debtor
  will assume under the Plan. There are none. Assumption means that the Debtor has elected to
  continue to perform the obligations under such contracts and unexpired leases, and to cure defaults
  of the type that must be cured under the Code, if any. Article also lists how the Debtor will cure
  and compensate the other party to such contract or lease for any such defaults.

          If you object to the assumption of your unexpired lease or executory contract, the proposed
  cure of any defaults, or the adequacy of assurance of performance, you must file and serve your
  objection to the Plan within the deadline for objecting to the confirmation of the Plan, unless the
  Court has set an earlier time.

  All executory contracts and unexpired leases that are not listed in Article 6 will be rejected under
  the Plan. Consult your adviser or attorney for more specific information about particular contracts
  or leases.

  If you object to the rejection of your contract or lease, you must file and serve your objection to
  the Plan within the deadline for objecting to the confirmation of the Plan.

         The Deadline for Filing a Proof of Claim Based on a Claim Arising from the Rejection
  of a Lease or Contract is no later than thirty (30) days after the date of the order confirming this
  Plan. Any claim based on the rejection of a contract or lease will be barred if the proof of claim is
  not timely filed, unless the Court orders otherwise.

         G.      Tax Consequences of Plan

         Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
  Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

  A summary description of certain United States (“U.S.”) federal income tax consequences of the
  Plan is provided below. The description of tax consequences below is for informational purposes
  only and, due to lack of definitive judicial or administrative authority or interpretation, substantial
  uncertainties exist with respect to various U.S. federal income tax consequences of the Plan as
  discussed herein. Only the potential material U.S. federal income tax consequences of the Plan to
  the Debtor and to a hypothetical investor typical of the holders of Claims and Interests who are
  entitled to vote to confirm or reject the Plan are described below. No opinion of counsel has been
  sought or obtained with respect to any tax consequences of the Plan, and no tax opinion is being
  given in this Disclosure Statement. No rulings or determinations of the Internal Revenue Service


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  (the “IRS”) or any other tax authorities have been obtained or sought with respect to any tax
  consequences of the Plan, and the discussion below is not binding upon the IRS or such other
  authorities. No representations are being made regarding the particular tax consequences of the
  confirmation and consummation of the Plan to the Debtor or to any holder of Claims in Impaired
  Classes or Class 4 Equity Interests. No assurance can be given that the IRS would not assert, or
  that a court would not sustain, a different position from any discussed herein.
  The discussion of the U.S. federal income tax consequences below is based on the Internal
  Revenue Code of 1986, as amended (the “Tax Code”), Treasury Regulations promulgated and
  proposed thereunder, judicial decisions, and administrative rulings and pronouncements of the IRS
  and other applicable authorities, all as in effect on the date hereof. Legislative, judicial or
  administrative changes or interpretations enacted or promulgated in the future could alter or
  modify the analyses and conclusions set forth below. It cannot be predicted at this time whether
  any tax legislation will be enacted or, if enacted, whether any tax law changes contained therein
  would affect the tax consequences to the holders of Claims. Any such changes or interpretations
  may be retroactive and could significantly affect the U.S. federal income tax consequences
  discussed below.

  THIS DISCUSSION DOES NOT ADDRESS FOREIGN, STATE OR LOCAL TAX
  CONSEQUENCES OF THE PLAN, NOR DOES IT PURPORT TO ADDRESS THE U.S.
  FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN TO SPECIAL CLASSES
  OF TAXPAYERS (SUCH AS FOREIGN ENTITIES, NON RESIDENT ALIEN
  INDIVIDUALS, PASS-THROUGH ENTITIES SUCH AS PARTNERSHIPS AND
  HOLDERS THROUGH SUCH PASS-THROUGH ENTITIES, S CORPORATIONS,
  MUTUAL FUNDS, INSURANCE COMPANIES, FINANCIAL INSTITUTIONS, SMALL
  BUSINESS INVESTMENT COMPANIES, REGULATED INVESTMENT COMPANIES,
  CERTAIN SECURITES TRADERS, BROKER-DEALERS AND TAX-EXEMPT
  ORGANIZATIONS). FURTHERMORE, ESTATE AND GIFT TAX ISSUES ARE NOT
  ADDRESSED HEREIN AND TAX CONSEQUENCES RELATING TO THE
  ALTERNATIVE MINIMUM TAX ARE GENERALLY NOT DISCUSSED HEREIN.

  NO REPRESENTATIONS ARE MADE REGARDING THE PARTICULAR TAX
  CONSEQUENCES OF THE PLAN TO ANY HOLDER OF CLAIMS. EACH HOLDER OF
  A CLAIM IS STRONGLY URGED TO CONSULT ITS OWN TAX ADVISOR
  REGARDING THE U.S. FEDERAL, STATE, LOCAL AND FOREIGN TAX
  CONSEQUENCES OF THE TRANSACTIONS DESCRIBED HEREIN AND IN THE
  PLAN.

  IV.    CONFIRMATION REQUIREMENTS AND PROCEDURES

          To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the
  Code. These include the requirements that: the Plan must be proposed in good faith; at least one
  impaired class of claims must accept the plan, without counting votes of insiders; the Plan must
  distribute to each creditor and equity interest holder at least as much as the creditor or equity
  interest holder would receive in a chapter 7 liquidation case, unless the creditor or equity interest
  holder votes to accept the Plan; and the Plan must be feasible. These requirements are not the only
  requirements listed in §1129, and they are not the only requirements for confirmation.



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         11 USC 1129(a)(15) provides: In a case in which the debtor is an individual and in which
  the holder of an allowed unsecured claim objects to the confirmation of the plan—
  (A) the value, as of the effective date of the plan, of the property to be distributed under the plan
  on account of such claim is not less than the amount of such claim; or
  (B) the value of the property to be distributed under the plan is not less than the projected
  disposable income of the debtor (as defined in section 1325 (b)(2)) to be received during the 5-
  year period beginning on the date that the first payment is due under the plan, or during the period
  for which the plan provides payments, whichever is longer.

        In the case at bar, Debtor has provided for payments not less than projected disposable
  income of the debtor during a five year period beginning with the first payment due under the plan.

  A.      Who May Vote or Object

          Any party in interest may object to the confirmation of the Plan if the party believes that
  the requirements for confirmation are not met.

          Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A
  creditor or equity interest holder has a right to vote for or against the Plan only if that creditor or
  equity interest holder has a claim or equity interest that is both (1) allowed or allowed for voting
  purposes and (2) impaired.

          In this case, the Plan Proponent believes that classes are impaired and that holders of claims
  in each of these classes are therefore entitled to vote to accept or reject the Plan. The Plan
  Proponent believes that classes are unimpaired and that holders of claims in each of these classes,
  therefore, do not have the right to vote to accept or reject the Plan.

                  1. What Is an Allowed Claim or an Allowed Equity Interest?

          Only a creditor or equity interest holder with an allowed claim or an allowed equity interest
  has the right to vote on the Plan. Generally, a claim or equity interest is allowed if either (1) the
  Debtor has scheduled the claim on the Debtor’s schedules, unless the claim has been scheduled as
  disputed, contingent, or unliquidated, or (2) the creditor has filed a proof of claim or equity interest,
  unless an objection has been filed to such proof of claim or equity interest. When a claim or equity
  interest is not allowed, the creditor or equity interest holder holding the claim or equity interest
  cannot vote unless the Court, after notice and hearing, either overrules the objection or allows the
  claim or equity interest for voting purposes pursuant to Rule 3018(a) of the Federal Rules of
  Bankruptcy Procedure.

         The deadline for filing a proof of claim in this case was 5/17/16 for claims and 7/16/16
  for government units.

                  2. What Is an Impaired Claim or Impaired Equity Interest?




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           As noted above, the holder of an allowed claim or equity interest has the right to vote only
  if it is in a class that is impaired under the Plan. As provided in §1124 of the Code, a class is
  considered impaired if the Plan alters the legal, equitable, or contractual rights of the members of
  that class.

                 3. Who is Not Entitled to Vote

         The holders of the following five types of claims and equity interests are not entitled to
         vote:

         • holders of claims and equity interests that have been disallowed by an order of the Court;
         • holders of other claims or equity interests that are not “allowed claims” or “allowed equity
         interests” (as discussed above), unless they have been “allowed” for voting purposes.
         • holders of claims or equity interests in unimpaired classes;
         • holders of claims entitled to priority pursuant to §§507(a)(2), (a)(3), and (a)(8) of the
         Code; and
         • holders of claims or equity interests in classes that do not receive or retain any value under
         the Plan;
         • administrative expenses.

  Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the
  Confirmation of the Plan [and to the Adequacy of the Disclosure Statement].

                 4. Who Can Vote in More Than One Class

          A creditor whose claim has been allowed in part as a secured claim and in part as an
  unsecured claim, or who otherwise hold claims in multiple classes, is entitled to accept or reject a
  Plan in each capacity, and should cast one ballot for each claim.




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         B.      Votes Necessary to Confirm the Plan

          If impaired classes exist, the Court can not confirm the Plan unless (1) at least one impaired
  class of creditors has accepted the Plan without counting the votes of any insiders within that class,
  and (2) all impaired classes have voted to accept the Plan, unless the Plan is eligible to be
  confirmed by “cram down” on non accepting classes, as discussed later in Section B.2.

          A class of claims accepts the Plan if both of the following occur: (1) the holders of more
  than one-half (1/2) of the allowed claims in the class, who vote, cast their votes to accept the Plan,
  and (2) the holders of at least two-thirds (2/3) in dollar amount of the allowed claims in the class,
  who vote, cast their votes to accept the Plan.

        A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in
  amount of the allowed equity interests in the class, who vote, cast their votes to accept the Plan.

                 2. Treatment of Non accepting Classes

          Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm
  the Plan if the non accepting classes are treated in the manner prescribed by §1129(b) of the Code.
  A plan that binds non accepting classes is commonly referred to as a “cram down” plan. The Code
  allows the Plan to bind non accepting classes of claims or equity interests if it meets all the
  requirements for consensual confirmation except the voting requirements of §1129(a)(8) of the
  Code, does not “discriminate unfairly,” and is “fair and equitable” toward each impaired class that
  has not voted to accept the Plan.

  You should consult your own attorney if a “cramdown” confirmation will affect your claim or
  equity interest, as the variations on this general rule are numerous and complex.

         C.      Liquidation Analysis

          To confirm the Plan, the Court must find that all creditors and equity interest holders who
  do not accept the Plan will receive at least as much under the Plan as such claim and equity interest
  holders would receive in a chapter 7 liquidation. A liquidation analysis is attached to this
  Disclosure Statement as exhibit B.

         D.      Feasibility

          The Court must find that confirmation of the Plan is not likely to be followed by the
  liquidation, or the need for further financial reorganization, of the Debtor or any successor to the
  Debtor, unless such liquidation or reorganization is proposed in the Plan.

                 1. Ability to Initially Fund Plan

          The Plan Proponent believes that the Debtor will have enough cash on hand on the effective
  date of the Plan to pay all the claims and expenses that are entitled to be paid on that date. Tables




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  showing the amount of cash on hand on the effective date of the Plan, and the sources of that cash
  are attached to this disclosure statement as Exhibits C and D.

                 2. Ability to Make Future Plan Payments And Operate Without Further
                 Reorganization

           The Plan Proponent must also show that it will have enough cash over the life of the Plan
  to make the required Plan payments.
           The Plan Proponent has provided projected financial information. Those projections are
  listed in Exhibit D.

         You Should Consult with Your Accountant or other Financial Advisor If You Have Any
  Questions Pertaining to These Projections.


  V.     EFFECT OF CONFIRMATION OF PLAN

         A.      DISCHARGE OF DEBTOR

           Discharge. In a case in which the debtor is an individual—
  (A) unless after notice and a hearing the court orders otherwise for cause, confirmation of the plan
  does not discharge any debt provided for in the plan until the court grants a discharge on
  completion of all payments under the plan;
  (B) at any time after the confirmation of the plan, and after notice and a hearing, the court may
  grant a discharge to the debtor who has not completed payments under the plan if—
  (i)the value, as of the effective date of the plan, of property actually distributed under the plan on
  account of each allowed unsecured claim is not less than the amount that would have been paid on
  such claim if the estate of the debtor had been liquidated under chapter 7 on such date;
  (ii) modification of the plan under section 1127 is not practicable; and
  (iii) subparagraph (C) permits the court to discharge; and
  (C)(*) the court may grant a discharge if, after notice and a hearing held not more than 10 days
  before the date of the entry of the order granting the discharge, the court finds that there is no
  reasonable cause to believe that—
  (i) section 522(q)(1) may be applicable to the debtor; and
  (ii) there is pending any proceeding in which the debtor may be found guilty of a felony of the
  kind described in section 522(q)(1)(A) or liable for a debt of the kind described in section
  522(q)(1)(B); and if the requirements of subparagraph (A) or (B) are met.

          Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
  Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth herein,
  upon completion all payments required under the Plan to unsecured and priority creditors. Upon
  the satisfaction of all payments required under the Plan to unsecured and priority creditors, the
  Reorganized Debtor shall file a Final Report of Estate and Motion for Final Decree Closing Case
  on the Court approved local form.




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          (a)     Notwithstanding the above, the Debtor may request that the Court close this
  bankruptcy proceeding prior to the entry of an Order of Discharge, pursuant to the following
  procedures:
          (b)     The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to Entry
  of Order of Discharge (the “Motion to Close”) after the following events have occurred: (I)
  payment of the Initial Payment (defined in the Plan) to unsecured and priority creditors; (ii)
  payment of all outstanding quarterly United States Trustee Fees as of the date of the Order
  approving the Motion to Temporarily Close; and (iii) the filing of all outstanding federal income
  tax returns. The Motion to Close shall certify that each of the above conditions have been met.
          (c)     The Motion to Close (and Notice of Hearing thereto) shall be served to all creditors
  and interested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. § 350(a),
  if each of the above conditions have been met.
          (d)     During the time that this bankruptcy case is temporarily closed, the provisions of
  the confirmation order shall remain in effect with respect to the treatment of creditor claims that
  existed as of the bankruptcy petition date, as long as the Debtor continues to be in compliance with
  the Plan and the Court’s Order Confirming Debtor’s Plan of Reorganization (the “Confirmation
  Order”), and as long as the Debtor timely makes all of the payments to unsecured and priority
  creditors, as contemplated under the Plan.
          (e)     Upon the satisfaction of all payments required under the Plan to creditors, the
  Debtor may file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b).
  Any Clerk of Court fees associated with filing of the motion to reopen shall be waived. The motion
  to reopen shall be verified and served upon all creditors and parties in interest and shall
  demonstrate that the Debtor has made all of the payments contemplated under the Plan to creditors.
          (f)     Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file
  a Final Report of Estate and Motion for Final Decree Closing Case on the Court-approved local
  form, which shall certify that all payments required under the Plan to creditors have been made.
  The Court may then grant the Debtor a discharge, pursuant to 11 U.S.C. § 1141(d)(5).

         B.      Modification of Plan

       The Plan Proponent may modify the Plan at any time before confirmation of the Plan.
  However, the Court may require a new disclosure statement and/or revoting on the Plan.

           The Plan Proponent may also seek to modify the Plan at any time after confirmation only
  if (1) the Plan has not been substantially consummated and (2) the Court authorizes the proposed
  modifications after notice and a hearing.

         C.      Final Decree

          Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules
  of Bankruptcy Procedure, the Plan Proponent, or such other party as the Court shall designate in
  the Plan Confirmation Order, shall file a motion with the Court to obtain a final decree to close the
  case. Alternatively, the Court may enter such a final decree on its own motion.

                                Respectfully submitted March 27, 2017:




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                                  By: /s/ Liza Hazan
                                  The Plan Proponent

                               By: David W. Langley, Esq
                                 8551 W. Sunrise Blvd.
                                        Suite 303
                                  Plantation, FL 33322
                                  dave@flalawyer.com
                                 Phone 954—356-0450
                                By: /s/ David W. Langley

                             Attorney for the Plan Proponent




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      Exhibit A: Historical Earnings and assets

      EXHIBIT A: Historical Earnings and Assets

      Debtor’s educational background includes:

      - 07/03/1992-Academy Of Paris Brevet De Technicienne Superieure Informatique De
      Gestion

      - 06/28/1989-Academy De Bordeaux Baccalaureat De L'enseignement Du Second Degre
      Mathematiques & Sciences De La Nature

      -1995-1996- University Of Montreal Law School

      Debtor works as a business consultant specializing in identifying locations for high-end
      restaurants and retailers around the world. She has generally earned approximately
      $400,000.00 per year with the exception of the year preceding the filing of this Chapter 11
      case following a period of declined income due to temporary health issues. The Debtor is
      now again earning at rates comparable to previous years. As part of her consulting business,
      Debtor presently has an exclusive contract to place new locations for an international
      beauty and skin care company selling luxury brand products to high-end clientele.

      The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
      Fisher Island, Florida (the “Property”) with a scheduled value of $12,000,000.00.
      Additionally, Debtor has scheduled household furniture, dishes and china, household
      electronics and clothing, shoes and accessories and jewelry, fixtures and art valued at
      $327,500.

      Additionally, the equity in the Fisher Island homestead could support refinancing, which
      could be used in funding a plan if necessary.

      Debtor sought relief under Chapter 11 in order to end years of litigation between multiple
      creditors in various disputes across the country, to bring all matters into a single forum,
      and to fashion a Plan of Reorganization which will resolve all disputes without needlessly
      sacrificing the Debtor’s equity in her various assets. The Debtor intends to reorganize her
      debts and liabilities through a combination of:

      (a) negotiating and/or litigating as may be necessary, resolutions with certain secured
      creditors, and unsecured creditors; and

      (b) making distributions funded by her assets and income from her consulting work, or if
      necessary refinancing. To date, the Debtor’s efforts have focused on settling with all her
      legitimate creditors, obtaining Stay relief from this Court in order to have the New York
      Court enforce her Confidential Settlement with Spencer, conferring with counsel to begin
      formulating the structure and terms of a proposed Plan, and expanding her consulting
      income for the eventual benefit of her estate and creditors.
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      Exhibit D below is a projection showing the feasibility of making the payments required
      under the plan, from projected net income of approximately $450,000.00 to $650,000.00
      per year. Receipts of consulting income are not regular monthly payments, which is why
      payments range from quarterly to every six (6) months, or even less frequently, in the plan.

      She sought relief under Chapter 11 in order to end years of litigation between multiple
      creditors in various disputes across the country by bringing all matters into a single forum,
      and to fashion a Plan of Reorganization that will resolve all disputes without needlessly
      sacrificing the Debtor’s equity in her various assets.

      The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
      Fisher Island, Florida (the “Property”) valued at $12 million.

      Additionally debtor has scheduled household furniture, dishes and china, household
      electronics and clothing, shoes and accessories and jewelry, fixtures and art valued at
      $327,500.

      In addition to the foregoing, Debtor’s husband controls a corporation, Real Estate Holdings
      group, L.D.C. (“REHG”) which owns a condominium in New York City in the Spencer
      Condominium, Unit 1A at 1 East 62nd Street, New York, New York 10065. REHG has
      committed to contribute funds from the proceeds of refinancing and ultimate sale of the
      condominium unit to Debtor’s estate to fund the plan in order to assure the Debtor’s
      successful reorganization and completion of the plan.
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                                           Exhibit B Liquidation Analysis

   Plan Proponent’s Estimated Liquidation Value of Assets

   Assets

   a. Cash on hand at the effective date                                        $65,000.00

   b. Accounts receivable                                                       $400,000.00

   c. Personal property including office furniture & equipment                  $327,500.00

   d. Automobiles                                                               $17,000.00

   e. Real Estate – Homestead on Fisher Island – appraised at$ 9,500,000

            Non-exempt value                                                    $0

   f. Lawsuits or other claims against third-parties:

            Potential claims against NLG, LLC                                   $ unknown

   k. Other intangibles (such as avoiding powers actions)                       $0.00



            Total Non-exempt Assets at Liquidation Value                                $809,500.00

   Less:

   IRS Priority claim                                                           ($24,663.00)

   SE Financial lien on vehicle(secured portion of 24,970.70 claim)             ($17,000.00)

   Chapter 7 estimated liquidation expenses                                     ($50,000.00)

   Costs of sale (auctioneer fees)                                              ($32,750.00)

   Chapter 11 administrative expenses - Geoffrey Aaronson                       ($150,000.00)

                                     Joel Aresty                                ($35,000.00)

                                     David W. Langley                           ($30,000.00)

   Amount available for distribution to unsecured creditors                     $470,087.00

   Percentage distribution to unsecured creditors

   (Total dollar amount of unsecured claims is $2,600,000 from claims docket)   18% Distribution

   The Amended Plan provides 41% to 100% distribution to allowed unsecured claims
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                            Exhibit C: Cash on hand on the effective date of the Plan

   Cash on hand on effective date of the Plan:                                              $65,178

   Less --
             Amount of administrative expenses payable on effective date of the Plan        TBD
             Amount of statutory costs and charges UST                                      TBD
             Plan Payments due on effective date of the Plan                                TBD

             Balance after paying these amounts                                             TBD

   The sources of the cash Debtor will have on hand by the effective date of the Plan are
   estimated as follows:

   Cash in Debtor’s bank account now                                                        $20,178
   + Additional cash Debtor will accumulate from net earnings between now
   and effective date of the Plan                                                           $45,000

   (Basis for projection in anticipated income) see Exhibit D

   Total                                                                                    $65,178
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ELIZABETH HAZAN
MAY 1, 2017 ‐ APRIL 30,, 2018
                                                         May          june         July         August       September     October       November       December       January       February       March         April
                                                         2017         2017         2017          2017           2017        2017           2017           2017          2018           2018         2018          2018          total

RECEIPTS
BUSINESS INCOME                                          100,000       25,000      100,000        50,000        160,000       50,000        50,000         40,000         40,000        40,000        40,000       40,000       735,000

TOTAL                                                    100,000       25,000      100,000        50,000        160,000       50,000        50,000         40,000         40,000        40,000        40,000       40,000       735,000

DISBURSMENTS
HOUSEHOLD, FOOD & CLOTHING                                 3,000        3,000        3,000         3,000          3,000        3,000         3,000          3,000          3,000         3,000         3,000         3,000       36,000
HOUSEHOLD, REPAIRS & MAINTENANCE                             300          300          300           300            300          300           300            300            300           300           300           300        3,600
INSURANCE (CAR)                                              275          275          275           275            275          275           275            275            275           275           275           275        3,300
TRAVEL AND ENTERTAINMENT                                   1,500        1,500        1,500         1,500          1,500        1,500         1,500          1,500          1,500         1,500         1,500         1,500       18,000
VEHICLES EXPENSES                                            500          500          500           500            500          500           500            500            500           500           500           500        6,000
UTILITIES (ELECTRICITY AND WATER)                            700          700          700           700            700          700           700            700            700           700           700           700        8,400
VALENCIA ESTATES COMMUNITY ASS                             1,121        1,121        1,121         1,121          1,121        1,121         1,121          1,121          1,121         1,121         1,121         1,121       13,452
FISHER ISLAND COMMUNITY ASS                                    0        6,545            0             0          6,545            0             0          6,545              0             0         6,545             0       26,180
INSURANCE (FISHER ISLAND)                                      0            0            0             0              0        1,477         1,477          1,477          1,477         1,477         1,477         1,477       10,339
TAXES (FISHER ISLAND)                                          0            0            0             0              0            0             0              0              0        54,617             0             0       54,617
INCOME TAXES ESTIMATED                                         0            0            0             0              0            0             0         30,000              0             0             0             0       30,000
TOTAL                                                      7,396       13,941        7,396         7,396         13,941        8,873         8,873         45,418          8,873        63,490        15,418         8,873      209,888

NET RESULT                                                92,604       11,059       92,604        42,604        146,059       41,127        41,127         ‐5,418         31,127       ‐23,490        24,582       31,127       525,112

SCHEDULED PAYMENTS OF CREDITORS


LIST OF PAYMENTS TO CREDITORS                             22,955        1,893      276,893         1,893         10,602       22,205        35,645          1,893          1,893         6,609        22,205         1,893      406,579

NET RESULT                                                69,649        9,166      ‐184,289       40,711        135,457       18,922         5,482         ‐7,311         29,234       ‐30,099         2,377       29,234       118,533
BEGINNING OF THE YEAR                                                                                                                                                                                                                 0
CUMULATIVE NET AMOUNT                                     69,649       78,815      ‐105,474      ‐64,763         70,694       89,616        95,098         87,787       117,021         86,922        89,299      118,533       118,533




                                                         May          june         July         August       September     October       November       December       January       February       March         April
                                                         2017         2017         2017          2017           2017        2017           2017           2017          2018           2018         2018          2018          total
LIST OF PAYMENTS TO CREDITORS PRE‐PETITION
SECURISED
IRS ‐ 393,985.17 (120 months) with 3% interest CLAIM 3           0            0            0             0            0              0       22,948                0             0              0            0             0       22,948
IRS 24 663 ‐ YEAR 2014 ‐ Claim 3                                 0            0            0             0            0              0        2,674                0             0              0            0             0        2,674
VALENCIA ESTATES COMMUNITY 195,000 ‐ 48M CLAIM 10           4,062             0            0             0            0        20,312               0              0             0              0      20,312              0       44,686
VALENCIA ESTATES ‐ ANNUAL INTEREST                                                                                                                                                        4,716                                     4,716
SOUTHEAST FINANCIAL ‐ CAR 48 MONTHS                             393          393          393        393            393          393           393            393            393           393              393           393       4,716


UNSECURED
JBM URBAN 900 275,000.00 ‐ Janv 11, 2017                          0            0    275,000              0            0              0              0              0             0              0            0             0      275,000
S&S COLLECTIONS ‐ SIMON & SIGALOS CLAIM 13                                                                         8,709                                                                                                            8,709
LIST OF UNSECURED CLAIMS 28 259.04                         12,000             0            0             0            0              0        8,130                0             0              0            0             0       20,130


ADMINISTRATIVE CLAIM
JOEL ARESTY                                                 6,500        1,500        1,500         1,500          1,500        1,500         1,500          1,500          1,500         1,500         1,500         1,500        23,000


TOTAL                                                      22,955        1,893      276,893         1,893         10,602       22,205        35,645          1,893          1,893         6,609        22,205         1,893       406,579
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                       UNITED STATES BANKRUPTCY
                                         799      COURT FOR THE
                                       SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov


   In re:

   LIZA HAZAN                                                 Case No. 16-10389-AJC
                                                              Chapter 11

                            Debtor                   /

                 BALLOT AND DEADLINE FOR FILING BALLOT ACCEPTING OR REJECTING PLAN

   TO HAVE YOUR VOTE COUNT YOU MUST COMPLETE AND RETURN THIS BALLOT BY THE
   DEADLINE INDICATED BELOW [AS SET PURSUANT TO LOCAL RULE 3018-1(B)]

   The plan filed by Liza Hazan on September 6, 2016 can be confirmed by the court and thereby made
   binding on you if it is accepted by the holders of two-thirds in amount and more than one-half in number of
   claims in each class and the holders of two-thirds in amount of equity security interests in each class voting
   on the plan. In the event the requisite acceptances are not obtained, the court may nevertheless confirm
   the plan if the court finds that the plan accords fair and equitable treatment to the class rejecting it.

   This ballot is for creditor ________________ for the following type of claim placed in the indicated class in
   the indicated amount:

            TYPE OF CLAIM              CLASS IN PLAN                       AMOUNT OF CLAIM

     ® General Secured                                         $


     ® General Unsecured                                       $


     ® Bond Holder                                           Amount of Bond/debenture $


     ® Equity Security Holder                                Number of Shares of Stock



   The undersigned [Check One Box]           ® Accepts                ® Rejects
   the plan for reorganization of the above-named debtor.

              Signed:

              Print Name:

              Address:

              Phone:

              Date:

              ´´´FILE THIS BALLOT ON OR BEFORE´´´

   with:      Clerk of Bankruptcy Court
                  ¸ 301 N. Miami Ave., Room 150, Miami, FL 33128
              ® 299 E. Broward Blvd., Room 112, Ft. Lauderdale, FL 33301
              ® 1515 North Flagler Drive, Room 801, West Palm Beach, FL 33401

              If you have more than one type of claim against this debtor, separate ballots must be
              filed and you should receive a ballot for each type of claim eligible to vote. Contact
              the plan proponent regarding incorrect or insufficient ballot(s).

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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION
                                   www.flsb.uscourts.gov

  In re:

  LIZA HAZAN,                                           CASE NO.: 16-10389 AJC

        Debtor.                                         CHAPTER 11
  ________________________________/

                     SECOND AMENDED PLAN OF REORGANIZATION
                                              ARTICLE I
                                              SUMMARY
        This Second Amended Plan of Reorganization (the “Plan”) under chapter 11 of the
  Bankruptcy Code (the “Code”) proposes to pay creditors of Debtor (the “Debtor”) from sources of
  payment, such as equity in properties and future income.
         Debtor has an exclusive period during which only debtor may propose a plan. The
  exclusive period was extended through July 11, 2016 by motion filed on 5/10/16 at DE 63 and
  granted at hearing on 5/26/16 without objection and ordered on 7/7/16 at DE 99, and again
  extended through November 7, 2016, by Order entered on August 22, 2016 (DE 173), and again
  extended through April 30, 2017 by Order entered on January 26, 2017, D.E. 373.
           This Plan provides classes of claims; classes of priority claims, classes of secured claims,
  and classes of unsecured claims and equity. Unsecured creditors holding allowed claims will
  receive distributions which the proponent of this Plan has valued at a dividend of 41% to 100% of
  total allowed claims over up to 60 months and paid every six months with the first payment due in
  month 6, while undisputed unsecured claims are paid 100% within two years of the petition date,
  or by 1/11/18.
           This Plan also provides for the payment of administrative claims. If payment is not made
  in full on the effective date of this Plan with respect to any such claim (to the extent permitted by
  the Code or the claimant’s agreement), the paragraphs below will identify such claim and briefly
  summarize the proposed treatment.
          All creditors and equity security holders should refer to Articles III through VI of this Plan
  for information regarding the precise treatment of their claim. A disclosure statement that provides
  more detailed information regarding this Plan and the rights of creditors and equity security holders
  has been circulated with this Plan. Your rights may be affected. You should read these papers
  carefully and discuss them with your attorney, if you have one. (If you do not have an
  attorney, you may wish to consult one).
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                                            ARTICLE II
                      CLASSIFICATION OF CLAIMS AND INTERESTS
         2.01 This Plan includes a class of priority claims, classes of secured claims, classes of
  unsecured claims, and a class of equity interests.
                                    ARTICLE III
                 TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                   U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

         3.01 Unclassified Claims. Under section §1123(a)(1), administrative expense claims,
  [“gap” period claims in an involuntary case allowed under §502(f) of the Code,] and priority tax
  claims are not in classes.

          3.02 Administrative Expense Claims. Each holder of an administrative expense claim
  allowed under §503 of the Code, will be paid in full on the effective date of this Plan (as defined
  in Article VII), in cash, or upon such other terms as may be agreed upon by the holder of the claim
  and the Debtor. Counsels for Debtor Geoffrey Aaronson, Joel Aresty and David W. Langley will
  be paid outside of the plan and have agreed to such treatment.

         3.03 Priority Tax Claims. Each holder of a priority tax claim will be paid by terms of
  treatment consistent with §1129(a)(9)(C) of the Code.

          3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C.
  §1930(a)(6)(U.S. Trustee Fees) will accrue and be timely paid until the case is closed, dismissed,
  or converted to another chapter of the Code. Any U.S. Trustee Fees owed on or before the effective
  date of this Plan will be paid on the effective date.

                               ARTICLE IV
             TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

         4.01    Claims and interests shall be treated as follows under this Plan:



             Admin      Description                                 Treatment
                        Geoffrey Aaronson                Mr. Aaronson has agreed to
                                                         accept payment in the amount of
                                                         $142,686.86 in fees and
                                                         $2,313.13          in       costs
                                                         reimbursement, from a third
                                                         party in full satisfaction of this
                                                         claim.
                        Joel Aresty                      Mr. Aresty has agreed to accept
                                                         $35,000.00 in fees and
                                                         $1,500.00 in costs payable as



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                                                    follows: $3000 within 5 days of
                                                    entry of Order Approving
                                                    Settlement (submitted but not
                                                    yet entered) followed by 19
                                                    payments of $1500 starting May
                                                    1, 2016 and an additional $5000
                                                    at confirmation.
                    David W. Langley                Paid as awarded or agreed.



                    US Trustee                      Paid in full at confirmation


                                       Priority Claims

    Class #       Description
                                          Impairment                    Treatment

                                                            The $24,663.00 priority tax claim
                                                            will be paid within five years of the
                      IRS
                                                            petition date. Payments every six
         1                                    yes
                                                            months to include interest on any
                   Claim #3
                                                            unpaid claim amounts after the
                                                            effective date of the plan at 3%


                                     Secured Claims
                 6913 Valencia Drive Property Fisher Island , LLCFlorida


                                                         First Secured Mortgage –
                                                         The claim bar date has passed in this
                                                         case, and Chase has not filed a Proof
                                                         Of Claim. Chase was scheduled as
                                                         disputed, contingent and unliquidated.
                                                         Original note in the amount of
                                   no                    $3,825,000.00 signed by Debtor on
     2        Chase Bank                      yes
                                                         March 2007 with Washington Mutual
                                                         Bank. Chase Bank filed an Assignment
                                                         of mortgage on 5/26/16 alleging an
                                                         interest in the loan. Debtor has
                                                         obtained stay relief on November 16,
                                                         2016 to continue State Court litigation
                                                         regarding    the    alleged    default,


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                                                ownership of the loan and standing
                                                issues. If the State Court enters a final
                                                order finding and determining the
                                                validity, amount and enforceability of
                                                the mortgage and the assignment
                                                thereof, Debtor shall commence
                                                making payments of principal and
                                                interest on the balance found by a court
                                                of competent jurisdiction to be due and
                                                owing, at the interest rate provided in
                                                the loan documents amortized over the
                                                remaining original term of the loan
                                                (maturity date 2051) commencing 30
                                                days after the State Court Order
                                                becomes final.
                                                Pending adjudication of Chase’s
                                                alleged interest in the loan and the
                                                subject property, Chase shall have
                                                adequate protection in the form of an
                                                equity cushion that exceeds the amount
                                                of the loan. See In re DiMaria, 202
                                                B.R. 634 (S.D. Fla 1996).
                                                Chase has agreed to withdraw all
                                                objection     to    this    Disclosure
                                                Statement and the Debtor has
                                                agreed that any objections to
                                                confirmation are preserved.

                                                Selective Advisors Group, LLC
                                                (“Selective”) is the rightful assignee of
                                                the satisfied second mortgage
                                                previously held by NLG (“NLG”).
                                                Selective is the rightful assignee of the
                                                satisfied promissory Note, Mortgage
                                                and Judgment previously held by NLG
                                                against The Debtor in the amount of
            Selective Advisors
     3                           yes     yes    $1,618,068.00 plus interest at 11% per
               Group, LLC
                                                annum (“the Scola Judgment”) from
                                                April 28, 2008.

                                                Selective has recorded a Satisfaction of
                                                this Mortgage and Judgment against
                                                the Debtor and her property on August
                                                20, 2014 and August 21, 2014 per the
                                                Final Order of Assignment of Hon.



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                                                Judge Peter Lopez entered on August
                                                20, 2014.

                                                NLG appeared in this case but failed to
                                                timely file a proof of claim. NLG is
                                                merely a notice party. NLG is not a
                                                scheduled creditor in this case.
                                                Selective is listed in Debtor’s schedule
                                                as her creditor. On May 13, 2016 NLG
                                                moved for stay relief in this court (D.E.
                                                66) but said relief was denied (D.E.
                                                176) on August 23, 2016. Selective
                                                Advisors Group, LLC, an affiliate of
                                                Debtor’s husband, owns NLG’s claim
                                                through execution on a judgment
                                                against NLG. On August 23, 2016 the
                                                bankruptcy court entered its decision
                                                denying NLG’s motion for relief from
                                                the automatic stay. ECF 176.

                                                On August 21, 2016, Selective sued
                                                NLG in this bankruptcy Court
                                                ADVERSARY            PROCEEDINGS
                                                Selective Advisors and Elizabeth
                                                Hazan v. NLG, LLC, Adv. Case No.
                                                16-1439-AJC for avoidance of NLG’s
                                                alleged claim lien on Debtor’s
                                                Homestead property on Valencia Drive
                                                Fisher Island Florida On January 3,
                                                2016 Hazan, additional Plaintiff and
                                                Selective filed their Motion to amend
                                                their Complaint to add a count seeking
                                                to Quiet Title to the property, and a
                                                number of tort claims, which motion
                                                was granted on January 23, 2016.

                                                        On March 20,2017 The Court
                                                awarded a default in favor of
                                                Plaintiffs Selective and Hazan and
                                                against Defendant NLG, LLC. (D.E.
                                                100.) The Court granted a Default in
                                                favor of Plaintiffs and against
                                                Defendant NLG, LLC and ruled as
                                                follows: “The Court also finds that the
                                                withdrawal and retention of multiple
                                                counsel by the Defendant does not



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                                                constitute “cause” or “excusable
                                                neglect” warranting an extension of
                                                time to        comply with          filing
                                                requirements. The Court sets deadlines
                                                in this case for the filing of pleadings,
                                                specifically the filing of a responsive
                                                pleading to the second amended
                                                complaint; but the Defendant did not
                                                meet those deadlines and has failed to
                                                demonstrate sufficient cause exists to
                                                extend those deadlines. Accordingly,
                                                the Court believes the Plaintiff is
                                                entitled to a default…”D.E 100

                                                Second Secured Mortgage in the
                                                amount of $2,000.000.00 plus accrued
                                                interest from March 14, 2012.
     4     6913 Valencia LLC             yes
                                 yes            The Debtor does not contest the
                                                validity or extent of 6913 Valencia
                                                LLC’s Mortgage on her Homestead
                                                property.
                                                Valencia      Estates     Community
                                                Association (“Valencia”)’s Claim #10
                                                in the amount of $195,072.14. Treated
                                                in settlement as follows:
                                                1. Debtor paid $2,193.17 Aug 17, 2016
                                                for due maintenance.
                                                2. Debtor has paid 4 months in
                                                advance for September, October,
                                                November and December 2016
                                 no             assessments for a total amount of
            Valencia Estates                    $4,484.00 as per the Stipulation.
     5    Community Assn, Inc            yes
               claim #10                        3. Debtor has paid the 2016 special
                                                assessment in the amount of $6250.00
                                                as per the Stipulation.
                                                4. The Parties agreed that Claim
                                                Number 10 shall be paid in the amount
                                                of $195,000.00 with 3.5% interest in
                                                the Chapter 11 Plan, over forty-eight
                                                (48) months, with one payment on the
                                                Effective Date of $4,062.00, and
                                                payments every five (5) months
                                                thereafter in the amount of $20,312.50
                                                following the Effective Date until paid


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                                                in full, with the interest payments to be
                                                made annually on the twelfth month.

                                                Valencia     Estate     Community
                                                Association withdrew its objections
                                                to Debtor’s disclosure and has
                                                agreed to vote for Debtor’s plan.

                                                            Claim settled.

                                                Agreed Order Approving Stipulation
                                                of Settlement of Claim 10 filed by
                                                Valencia    Estates    Homeowners’
                                                Association entered on 11/18/16 D.E
                                                302.

                                                Late filed Proof Of Claim in the
                                                amount of $216,278.97 on 10/20/16 -
                                                Disputed by Debtor and disallowed
                                                by this court.


                                                The Debtor has filed an objection to the
                                                amount of the Claim challenging
                                                Fisher Island’s standing as a “party in
                                                interest.” In re E.S. Bankest, L.C. 321
                                                B.R. 590 (Bankr. S.D. Fla. 2005).
                                                Fisher Island Community Association,
             Fisher Island       no             Inc. did not timely file a Proof Of
     6    Community Ass'n, Inc           yes    Claim and its Motion to Allow a Late
              Claim #18                         Filed Claim has been denied on
                                                November 16, 2016.
                                                Claimant 3343 West Commercial
                                                Blvd. 100 (Fisher Island Community
                                                Association).
                                                Order    granting   Fisher     Island
                                                Community Association, Inc.’s Motion
                                                for relief from Stay entered on
                                                11/23/16
                                                 Claim Disallowed by this Court. No
                                                       payment through Plan.

           Miami-Dade Water
                                                Claim #7 $1502.54 to be paid on the
     7           and             no      yes
                                                    Effective Date of The Plan
                Sewer


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                   claim #7
                                                      393,985.17 - Secured claim shall be
                                                      paid over ten years with interest
                     IRS                              payments every 6 months to include
     8                                        yes
                   claim #3          no               interest on any unpaid claim amounts
                                                      after the effective date of the plan at
                                                      3%.

                                                      $57649.47 Miami-Dade County Tax
                                                      Collector Secured claim on 6913
              Miami-Dade County
                                     no               Valencia Drive property Fisher Island
     9           Tax Collector                yes
                                                      FL 33109 has been paid in full.
                   Claim #6
                                                               Claim #6 paid in full




                                   Other Disputed Claims




    Class #       Description       Insider
                                                  Impairment             Treatment

                                                                 Claim 8 in the amount of
                                                                 $322,846.72        allegedly
                                                                 secured second mortgage
                                                                 Line of credit on property
                                                                 located at 1 East 62nd Street
                                                                 Apt 1 A NYC NY 10065 is
                                                                 disputed by Debtor.
                                      no                         Alleged      Creditor   has
                  Real Time                                      agreed to complete stay
      10        Resolutions, Inc                     yes         relief in settlement of this
                   claim #8                                      claim in this case and has
                                                                 agreed to support Debtor’s
                                                                 plan of reorganization and
                                                                 vote the entire amount of its
                                                                 alleged claim in favor of
                                                                 Debtor’s plan. (ECF 163).


                                                                       Claim settled.


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    Class #      Description
                                  Insider       Impairment           Treatment

                                                             The Debtor disputes the
                                                             Claim #14 filed by The
                                                             Board       of    Managers
                                                             Spencer        Condominium
                                                             (“Spencer”). The parties
                                                             reached a Confidential
                                                             Stipulation Of Settlement
                                                             executed in March 2015 in
                                                             New York. The Debtor is
                                                             only personally liable for
                                                             the amount of $109,554.86
                                                             representing the alleged
                                                             disputed         outstanding
                                                             maintenance fees owed by
                                                             Debtor prior to her transfer
                                                             of ownership of the
                                                             property located at 1 East
                                    no                       62nd Street Apt 1 A NYC
              Board of Managers                              NY 10065. This amount
                   Spencer                                   will be paid by Real Estate
      11                                           yes
                Condominium                                  Holdings Group, L.D.C.
                  claim #14                                  (“REHG”), the owner of
                                                             the         New        York
                                                             condominium located at 1
                                                             East 62nd Street Apt 1A,
                                                             New York, NY 10065.
                                                             REHG, Spencer and Hazan
                                                             and other parties are bound
                                                             by      the     Confidential
                                                             Stipulation of Settlement
                                                             executed in March 15, 2015
                                                             (“Settlement”). The vast
                                                             remaining portion of the
                                                             Spencer Condo Board of
                                                             Managers’ claim is to be
                                                             paid by the owner of the
                                                             unit, REHG, per the
                                                             Settlement executed in
                                                             March 2015 by the parties.



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                                                                  On March 1, 2017 this
                                                                  Court granted Debtor’s
                                                                  Motion for Stay relief,
                                                                  allowing the New York
                                                                  Court      to   exercise
                                                                  jurisdiction over and
                                                                  enforce the confidential
                                                                  Settlement Agreement.

                                                                  On March 2, 2017, New
                                                                  York Supreme Court
                                                                  Judge Singh granted
                                                                  REHG’s      Motion    to
                                                                  Enforce The Confidential
                                                                  Stipulation entered in
                                                                  March 2015 between the
                                                                  parties.

                                                                  No payment through the
                                                                  plan. Claim settled.




                                              Vehicle
                                    2007 Mercedes-Benz S550

                                      Insider        Impairment
    Class #      Description                                             Treatment

                                                                  Stipulation Of Settlement
                                                                  DE 98 approved by this
                                                                  court DE 101.

                                                                  Vehicle     owned       by
                                                                  Holdings             Trust
                                         no                       Management Group LLC.
              Southeast Financial
      12                                                yes       Southeast Financial LLC’s
                    LLC
                                                                  Secured Lien is guaranteed
                                                                  by the Debtor.

                                                                  Secured claim allowed
                                                                  $17,000 value paid at
                                                                  5.25% for 48 months
                                                                  payments in the amount of



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                                                                    $393 began on August 1,
                                                                    2016 and are current.

                                                                         Claim settled



                    Convenience Class Undisputed Unsecured Small Claims

     Paid in full over 18 months beginning month 6 after confirmation with equal payments

                                         every 6 months


                                       Insider?
    Class #       Description
                                        (Yes or        Impairment         Treatment
                                          No)

      13          IRS claim #3            no               X                1085.00
              American InfoSource         no
                                                           X                1130.00
               T Mobile Claim #2
              American InfoSource         no
                                                           X                461.00
              Direct TV Claim #9
                 FPL Claim #11            no               X               2906.93
                  Mount Sinai             no               X               3,240.00
                  Mount Sinai             no               X                295.91
                HSBC Bank USA             no
                                                           X                1070.66
                       NA
               Sterling Emerg Svc         no               X                2445.30
              Bank of America NA          no               X                3301.00
               Wells Fargo Claim          no
                                                           X                323.24
                       #12
                    Real Time             no
                                                           X               12,000.00
              Resolution Claim #5.
                      Total                                                28,259.04



                                     Settled Unsecured Claims

      Allowed Undisputed Unsecured Claims will be paid within two years of petition date

           1/11/18 payments beginning month 6 after confirmation and every 6 months




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     Class #          Description              Insider?   Impaired                      treatment
                                                (Yes or
                                                  No)
       14        JMB Urban 900 Dev.               no          X        $664,380.47 will be paid 41% or
                                                                       275,000.00 per settlement 18 months from
                       claim #4*                                       the petition date. Adversary proceedings
                                                                       16-01188-AJC closed on 7/22/16 and
                                                                       Case settled 16-01188-AJC

                   S&S Collections               no           X        $21,242 claim settled for 41% per
                   Simon &Sigalos                                      stipulation to be paid 18 months from
                      claim #13                                        petition date.


                Newman Ferrara LLP               no           X        $24,818.44 Legal bill Legal work for
                    claim #15                                          Corporation other than the Debtor.


                                                                            The Claim bar date has passed.
                                                                                  Unallowed claim.



  *claim 4 subject of adversary case 16-01188 AJC settlement at 41% of claim

  ** insider claim will subordinate and not be paid until all other allowed claims but reserves right
  to vote for the plan


                                     Disputed Unsecured Claims
                                   not paid until and unless allowed
                         and then paid within 5 years after confirmation

                                                                         $11,023.83
                                                            Legal Bill for corporation other than
                                                            Debtor.
               Cross & Simon
     15                                   no          X              Unallowed claim.
                 Claim #1
                                                                  No payment through Plan



            Fuerst Ittleman David         no                Disputed Proof of Claim filed after
     16        & Joseph, P.L.                         X     Claim Bar Date. Fuerst Ittleman David
                 Claim #16                                  & Joseph, P.L. is not a creditor of this


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                                                        Debtor. Debtor has filed an objection
                                                        to this claim. Fuerst Ittleman David &
                                                        Joseph, P.L. has agreed that they are
                                                        not a creditor of this estate.

                                                             No payment through plan.
                                                                 Unallowed Claim




                       Unsecured Scheduled Disputed and No Claim Filed
                                    Therefore Disallowed

   Allied Collection                           318

   ATT Mobility                                3919

   First National Collection                   246.08

   Focus Mgt                                   772

   Marzec Law Firm                             0

   Mount Sinai Medical                         31414.15

   Ray Garcia PA                               7026.15

   Verizon                                     1758

   US Bank NA                                  Unknown
                                               The Debtor entered into a Stipulation of
                                               Settlement with US Bank NA (D.E. 345)
                                               granting the parties complete stay relief which
                                               was approved by the Court by Order dated
                                               1/18/2017, D.E. 371.
                                               US Bank did not file a proof of claim and will
                                               not be paid through the Plan. Claim settled.

   NLG, LLC                                    NLG, LLC did not timely file a proof of claim
                                               and NLG, LLC’s alleged Claim has been
                                               judicially assigned per The Final Order
                                               entered by Judge Peter Lopez on August 2014.
                                               NLG, LLC will not be paid through the
                                               Plan.


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                                           NLG, LLC has no standing in this case and is
                                           not a creditor of the Debtor’s Estate.
                                           NLG appeared in this case but failed to timely
                                           file a proof of claim. NLG is merely a notice
                                           party. NLG is not a scheduled creditor in this
                                           case. Selective is listed in Debtor’s schedule as
                                           her creditor.

                                           On May 13, 2016 NLG, LLC moved for stay
                                           relief in this court (D.E. 66). Selective
                                           Advisors Group, LLC, an affiliate of Debtor’s
                                           husband, owns NLG, LLC’s claim through
                                           execution on a judgment against NLG, LLC.
                                           On August 23, 2016 the bankruptcy court
                                           entered its decision denying NLG’s motion
                                           for relief from the automatic stay. ECF 176
                                           On 03/17/17 this Court granted in part
                                           Plaintiff’s Motion for Default against
                                           Defendant NLG, LLC in the Adversary,
                                           Case No. 16-1439 Selective Advisors Group,
                                           LLC and Liza Hazan AKA Elizabeth Hazan
                                           V. Defendant NLG, LLC. See D.E. 100. This
                                           Court granted a Default in favor of
                                           Plaintiffs Selective Advisors Group, LLC
                                           and Debtor Liza Hazan AKA Elizabeth
                                           Hazan and against Defendant NLG, LLC

   Total                                   45453.38



                                       Equity


           Class
                     Description       Impairment               Treatment
             #

                   Equity Individual
            17                             no                     retained
                    interest holder




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                                              ARTICLE V
                      ALLOWANCE AND DISALLOWANCE OF CLAIMS
          5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed
  by a final non-appealable order, and as to which either: (i) a proof of claim has been filed or deemed
  filed, and the Debtor or another party in interest has filed an objection; or (ii) no proof of claim
  has been filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.
          5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on account
  of a disputed claim unless such claim is allowed by a final non-appealable order.
          5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to
  settle and compromise a disputed claim with court approval and compliance with Rule 9019 of the
  Federal Rules of Bankruptcy Procedure.

                                              ARTICLE VI
        PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         6.01    Assumed Executory Contracts and Unexpired Leases.
                 (a)     The Debtor assumes the following executory contracts and/or unexpired
         leases effective upon the date of the entry of the order confirming this Plan: none.
                 (b)      The Debtor will be conclusively deemed to have rejected all executory
         contracts and/or unexpired leases not expressly assumed under section 6.01(a) above, or
         before the date of the entry of the order confirming this Plan. A proof of a claim arising
         from the rejection of an executory contract or unexpired lease under this section must be
         filed no later than thirty (30) days after the date of the order confirming this Plan.

                                             ARTICLE VII
                                      GENERAL PROVISIONS
          7.01 Definitions and Rules of Construction. The definitions and rules of construction set
  forth in §§101 and 102 of the Code shall apply when terms defined or construed in the Code are
  used in this Plan.
           7.02 Effective Date of Plan. The effective date of this Plan is the fourteenth business day
  following the date of the entry of the order of confirmation. But if a stay of the confirmation order
  is in effect on that date, the effective date will be the first business day after that date on which no
  stay of the confirmation order is in effect, provided that the confirmation order has not been
  vacated.
         7.03 Severability. If any provision in this Plan is determined to be unenforceable, the
  determination will in no way limit or affect the enforceability and operative effect of any other
  provision of this Plan.
         7.04 Binding Effect. The rights and obligations of any entity named or referred to in this
  Plan will be binding upon, and will inure to the benefit of the successors or assigns of such entity.


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         7.05    Captions. The headings contained in this Plan are for convenience of reference
  only and do not affect the meaning or interpretation of this Plan.
          7.06 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
  (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Florida
  govern this Plan and any agreements, documents, and instruments executed in connection with this
  Plan, except as otherwise provided in this Plan.

                                            ARTICLE VIII
                                             DISCHARGE
         8.01.   Debtor is an individual.
         11 USC 1129(a)(15) provides: In a case in which the debtor is an individual and in which
  the holder of an allowed unsecured claim objects to the confirmation of the plan—
  (A) the value, as of the effective date of the plan, of the property to be distributed under the plan
  on account of such claim is not less than the amount of such claim; or
  (B) the value of the property to be distributed under the plan is not less than the projected
  disposable income of the debtor (as defined in section 1325 (b)(2)) to be received during the 5-
  year period beginning on the date that the first payment is due under the plan, or during the period
  for which the plan provides payments, whichever is longer.
  In this case the Debtor has provided for payments not less than Projected disposable income of the
  debtor during a five year period beginning with the first payment due under the plan.
         Discharge. In a case in which the debtor is an individual—
  (A)unless after notice and a hearing the court orders otherwise for cause, confirmation of the plan
  does not discharge any debt provided for in the plan until the court grants a discharge on
  completion of all payments under the plan;
  (B)at any time after the confirmation of the plan, and after notice and a hearing, the court may
  grant a discharge to the debtor who has not completed payments under the plan if—
  (i)the value, as of the effective date of the plan, of property actually distributed under the plan on
  account of each allowed unsecured claim is not less than the amount that would have been paid on
  such claim if the estate of the debtor had been liquidated under chapter 7 on such date;
  (ii)modification of the plan under section 1127 is not practicable; and
  (iii)subparagraph (C) permits the court to discharge; and
  (C)(*)the court may grant a discharge if, after notice and a hearing held not more than 10 days
  before the date of the entry of the order granting the discharge, the court finds that there is no
  reasonable cause to believe that—
  (i)section522(q)(1) may be applicable to the debtor; and



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  (ii)there is pending any proceeding in which the debtor may be found guilty of a felony of the kind
  described in section 522(q)(1)(A) or liable for a debt of the kind described in section 522(q)(1)(B);
  and if the requirements of subparagraph (A) or (B) are met.
          Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
  Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth herein,
  upon completion all payments required under the Plan to all unsecured and deficiency creditors.
  Upon payment of all required Plan payments the Debtor shall be discharged of all allowed
  and disallowed claims. Upon the satisfaction of all payments required under the Plan to unsecured
  creditors, the Reorganized Debtor shall file a Final Report of Estate and Motion for Final Decree
  Closing Case on the Court approved local form.
         (a) Notwithstanding the above, the Debtor may request that the Court close this bankruptcy
  proceeding prior to the entry of an Order of Discharge, pursuant to the following procedures:
  (b) The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to Entry of Order
  of Discharge (the “Motion to Close”) after the following events have occurred: (I) payment of the
  Initial Payment (defined in the Plan) to unsecured creditors; (ii) payment of all outstanding
  quarterly United States Trustee Fees as of the date of the Order approving the Motion to
  Temporarily Close; and (iii) the filing of all outstanding federal income tax returns. The Motion
  to Close shall certify that each of the above conditions have been met.
  (c) The Motion to Close (and Notice of Hearing thereto) shall be served to all creditors and
  interested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. § 350(a), if
  each of the above conditions have been met.
  (d) During the time that this bankruptcy case is temporarily closed, the provisions of the
  confirmation order shall remain in effect with respect to the treatment of creditor claims that
  existed as of the bankruptcy petition date, that being 1/11/16, as long as the Debtor continues to
  be in compliance with the Plan and the Court’s Order Confirming Debtor’s Plan of Reorganization
  and Setting Bar Date for Lease and Executory Contract Rejection Claims (the “Confirmation
  Order”), and as long as the Debtor timely makes all of the payments to unsecured creditors, as
  contemplated under the Plan.
  (e) Upon the satisfaction of all payments required under the Plan to unsecured creditors, the Debtor
  may file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b). Any Clerk
  of Court fees associated with filing of the motion to reopen shall be waived. The motion to reopen
  shall be verified and served upon all creditors and parties in interest and shall demonstrate that the
  Debtor has made all of the payments contemplated under the Plan to unsecured creditors.
  (f) Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file a Final
  Report of Estate and Motion for Final Decree Closing Case on the Court-approved local form,
  which shall certify that all payments required under the Plan to unsecured creditors have been
  made. The Court may then grant the Debtor a discharge, pursuant to 11 U.S.C. § 1141(d)(5).


                                    Respectfully submitted, 3/27/17



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                                   By: /s/ Liza Hazan
                                  The Plan Proponent
                             By: /s/ David W. Langley, Esq.
                                 8551 W. Sunrise Blvd.
                                        Suite 303
                                  Plantation, FL 33322
                                  dave@flalawyer.com
                                 Phone 954—356-0450
                                By: /s/ David W. Langley
                             Attorney for the Plan Proponent




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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI-DADE DIVISION
                                     www.flsb.uscourts.gov

   In re:
   LIZA HAZAN                                                  CASE NO.: 16-10389 AJC

         Debtor.                                               CHAPTER 11
   ____________________________/

                          NOTICE OF FILING OF SUPPLEMENTAL EXHIBITS

          PLEASE TAKE NOTICE that the Debtor, Liza Hazan, hereby files the attached

   Supplemental Exhibits, in support of Debtor’s Third Amended Disclosure Statement [DE 416]:

          1. Attached as Exhibit ‘A’ is Supplemental Projections of Cash Flow and Earnings for

   Post-Confirmation Period.

                                         CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); and that a true copy of the above

   document was filed electronically and served electronically or by mail to: U.S. Trustee, and all

   interested parties on this 28th day of March, 2017.

                                                         DAVID W. LANGLEY
                                                         Attorney for Debtor-in-Possession
                                                         8551 W. Sunrise Blvd., Suite 303
                                                         Plantation, FL 33322
                                                         Tel: 954-356-0450
                                                         Fax: 954-356-0451
                                                         E-mail: dave@flalawyer.com
                                                         By: ___/s/_David W. Langley_______
                                                                 David W. Langley, Esq.
                                                                 Florida Bar Number: 348279
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                                          SERVICE LIST

   16-10389-AJC Notice will be electronically mailed to:

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   aresty@mac.com

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   USTPRegion21.MM.ECF@usdoj.gov

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   Michael W Simon on behalf of Creditor S&S Collections, Inc.
   kkorey@simonsigalos.com, dgasser@simonsigalos.com

   Andrew D. Zaron, Esq. on behalf of Creditor JPMorgan Chase Bank, National Association
   azaron@leoncosgrove.com, jgomez@leoncosgrove.com

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           ORDERED in the Southern District of Florida on March 30, 2017.




                                                      A. Jay Cristol, Judge
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI-DADE DIVISION
                                     www.flsb.uscourts.gov

   In re:
                                                         CASE NO.: 16-10389 AJC
   LIZA HAZAN,
         Debtor.                                         CHAPTER 11
   ________________________________/

                         Debtor’s Motion for Extension of Exclusivity Period

                             [Hearing Requested Prior to April 30, 2017]

            Debtor, Liza Hazan, moves for an extension of the exclusivity period to file and confirm

   her Chapter 11 plan of reorganization,and in support thereof states:


       1. On August 16, 2016, Debtor filed an Amended Motion for Extension of Time re Exclusivity

            to amend plan and disclosure statement. The exclusivity period was continued to November

            7, 2016. (ECF 159).

       2. Debtor filed an Amended Disclosure Statement (ECF 190), and an Amended Plan (ECF

            189)on September 6, 2016.

       3. A disclosure hearing was scheduled for November 16, 2016.

       4. The Debtor resolved all objections to the Disclosure Statement with the exception of that

            raised by NLG, LLC.

       5. By Order dated December 2, 2016, the Court set for hearing the objection to Disclosure

            Statement of NLG, LLC for December 7, 2016 (D.E. 242).

       6. At the hearing on December 7, 2016, the Court indicated that the issue of NLG’s standing

            must be resolved before the Court will consider other matters. A subsequent hearing on
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          standing took place on December 21, 2016, and proposed orders were originally due

          January 20, 2017.

      7. On prior motion [D.E. 364] the exclusivity period was extended through April 30, 2017.

      8. A further hearing on disclosure has been set for May 4, 2017. The confirmation hearing will

          take place at least forty-five (45) days or, at the earliest, sometime in June, 2017.

      9. Debtor respectfully requests that this court extend the exclusivity period for Debtor to July

          30, 2017.


          WHEREFORE, Debtor respectfully request an extension of the exclusivity period to July

      30, 2017, and such other relief as the Court deems proper.


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); andthat a true copy of the above

   document was filed electronically and served electronically and by mail to all interested parties

   on attached service list on this 10th day of April, 2017.


                                                  LAW OFFICES OF DAVID W. LANGLEY
                                                  Attorney for Debtor
                                                  8551 W. Sunrise Blvd., Suite 303
                                                  Plantation, Florida 33322
                                                  Telephone:     954-356-0450
                                                  Facsimile:     954-356-0451
                                                  E-mail: dave@flalawyer.com

                                                  By: ___/s/ David W. Langley _______
                                                         David W. Langley, Esq.
                                                         Florida Bar Number: 348279
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                                          SERVICE LIST

   16-10389-AJC Notice will be electronically mailed to:

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   aresty@mac.com

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   Jeffrey S Fraser on behalf of Creditor SouthEast Financial, LLC
   bkfl@albertellilaw.com


   Robert C Furr, Esq on behalf of Creditor Board of Managers of Spencer Condominium
   bnasralla@furrcohen.com, atty_furrcohen@bluestylus.com

   Joe M. Grant, Esq. on behalf of Creditor Selective Advisors Group, LLC
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   Robert A Gusrae on behalf of Creditor Fisher Island Community Association, Inc.
   ROBERT.GUSRAE@GMAIL.COM

   David B. Haber, Esq. on behalf of Creditor Valencia Estates Homeowners' Association, Inc.
   dhaber@dhaberlaw.com,
   ngomez@dhaberlaw.com;rcasamayor@dhaberlaw.com;dbhpaservice@dhaberlaw.com

   Kevin L Hing on behalf of Creditor JPMorgan Chase Bank, National Association
   khing@logs.com, electronicbankruptcynotices@logs.com
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   Tamara D McKeown on behalf of Debtor Liza Hazan
   tdmckeown@mckeownpa.com


   Tamara D McKeown on behalf of Defendant Liza Hazan
   tdmckeown@mckeownpa.com

   Office of the US Trustee
   USTPRegion21.MM.ECF@usdoj.gov

   Michael A. Friedman, mfriedman@gjb-law.comon behalf of NLG, LLC

   Ashley Prager Popowitz on behalf of Creditor Real Time Resolutions, Inc.
   Ashley.popowitz@mrpllc.com, flbkecf@mrpllc.com

   16-10389-AJC Notice will not be electronically mailed to:
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                             United States Bankruptcy Court
                                     Southern District of Florida
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                                                                                Case Number: 16−10389−AJC
                                                                                Chapter: 11

In re:
Liza Hazan
aka Elizabeth Hazan
6913 Valencia Drive
Miami Beach, FL 33109

SSN: xxx−xx−7473




                                       NOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on April 26, 2017 at 11:30 AM at the following
location:

C. Clyde Atkins U.S. Courthouse
301 North Miami Avenue
Courtroom 7
Miami FL 33128

to consider the following:

Motion to Extend Exclusivity Period for Filing a Chapter 11 Plan and Disclosure Statement Filed by
Debtor Liza Hazan


THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 4/11/17                                        CLERK OF COURT
                                                      By: Barbara Cargill
                                                      Courtroom Deputy
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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  In re                                                       Case No. 16-10389-AJC

  LIZA HAZAN a/k/a
  ELIZABETH HAZAN                                             Chapter 11
  _______________________/

                          SECURED CREDITOR NLG, LLG’s
               OBJECTION TO THIRD AMENDED DISCLOSURE STATEMENT

          Secured Creditor, NLG, LLC (“NLG”), through undersigned counsel, objects to the Third

  Amended Disclosure Statement [ECF 416] (the “Third Amended Disclosure Statement”) filed by

  Elizabeth Hazan (the “Debtor”) on March 27, 2017, and states as follows:

                                          BACKGROUND

          1.     The Debtor filed her Chapter 11 Petition on January 11, 2016 (the “Petition

  Date”), the day before the Miami-Dade County Clerk was set to auction the Debtor’s Property

  pursuant to NLG’s Foreclosure Judgment. Fifteen months later, as of March 31, 2017, the

  Debtor had only $19,143 in cash on hand per her monthly operating report. [ECF 422]. Although

  the Debtor claims in the Third Amended Disclosure Statement that she earns between $350,000

  and $400,000 per year, she earned only a fraction of that (about $125,000) through the calendar

  year of 2016. Id. Incredibly the Debtor claims projected income of $735,000 in the financial

  projections attached to the Third Amended Disclosure Statement.

          2.     The Debtor’s primary asset is her residence located at 6913 Valencia Drive,

  Fisher Island, Florida (the “Property”). The Debtor has filed an appraisal in this case valuing the

  Property at $9.5 million, and has scheduled claims secured by the Property, including NLG’s

  claim, totaling over $12 million. [ECF 20, 81-1].




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           3.    The Debtor and her husband’s solely-owned company, Selective Advisors Group,

  LLC (“Selective”), have filed an adversary proceeding challenging NLG’s secured claim (the

  “NLG Adversary”), 1 but each and every issue raised in the NLG Adversary was decided in

  NLG’s favor pre-petition in Miami-Dade Circuit Court, NLG, LLC v. Elizabeth Hazan, et al.,

  Case No. 2011-42770-CA-01 (02) (the “Foreclosure Action”). The Foreclosure Action resulted

  in NLG obtaining a Final Judgment of Foreclosure with respect to the Property in the amount of

  $4,876,654.29 (the “Foreclosure Judgment”) on December 2, 2015. [See ECF 66-1]. The tort

  claims raised in the adversary were previously dismissed with prejudice by the Debtor in 2008 in

  Miami-Dade Circuit Court, Elizabeth Hazan v. Christopher Kosachuk and NLG, LLC., Case No.

  08-31557 CA (22). [See Case No. 16-1439-AJC- ECF 99].

           4.    The Foreclosure Judgment is final, no longer subject to appeal, and conclusively

  determinative of NLG’s rights in the Property.

           5.    The Third Amended Disclosure Statement fails to mention the Foreclosure

  Action, the Foreclosure Judgment, the pending NLG Adversary, or a host of other issues material

  to this case. Indeed, the Third Amended Disclosure Statement fails to remedy any of the defects

  that resulted in the Court denying the Debtor’s initial disclosure statement on August 22, 2016

  [ECF 173]. The Court should deny the Debtor’s Third Amended Disclosure Statement for all the

  reasons it denied the Debtor’s prior disclosure statements,2 and for the reasons discussed in detail

  below.

                                             ARGUMENT

           6.    Section 1125(b) of the Bankruptcy Code requires a disclosure statement to

  provide “adequate information,” that is, “information of a kind, and in sufficient detail, as far as

  1
   Hazan, et al. v. NLG, LLC, Adv. No. 16-1439-AJC.
  2
    NLG incorporates herein the objections to the Debtor’s initial disclosure and amended statements. See
  [ECFs 136, 138, 139, 140, 143, 278, 279, 281, 282, 283 and 284].
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  is reasonably practicable in light of the nature and history of the debtor and the condition of

  debtor’s books and records … that would enable such a hypothetical investor of the relevant

  class to make an informed judgment about the plan.” 11 U.S.C. § 1125(b). Mere allegations or

  opinions unsupported by factual information do not meet the “adequate information” standard of

  Section 1125. In re Civitella, 15 B.R. 206, 208 (Bankr. E.D. Pa. 1981). The Debtor’s Third

  Amended Disclosure Statement falls well short of this standard and must be denied.

                                Inadequate Disclosures Concerning
                       the Debtor’s Income and other Sources of Plan Funding

          7.      First, the Third Amended Disclosure Statement fails to provide any meaningful

  information about the income with which the Debtor intends to fund her plan. See In re Newkirk,

  2012 WL 830552, *3 (Bankr. E.D.N.C. March 9, 2012) (disclosure statement must provide

  adequate information of the debtor’s ability to fund and maintain a proposed plan). The Debtor

  states that she intends to fund a plan through (a) her income as a “business consultant

  specializing in identifying locations for high-end restaurants and retailers round the world,” and

  (b) refinancing the Property and refinancing the New York Condo. [ECF 416 p. 37]. These

  claims are dubious at best. Specifically the Debtor has no ability to refinance either property

  because of her insufficient income, bad credit and debts to creditors already secured by those

  properties. Even her phantom $735,000 per year of income as outlined in the Third Amended

  Disclosure Statement is insufficient to support the multi-million dollar refinancing needed to pay

  off her creditors.

          8.      With respect to her consulting income, the Debtor claims variously and

  inconsistently in the Third Amended Disclosure Statement that she either earns “in excess of

  $350,000 per year,” that she “has always earned at least $400,000/year,” and that she “has

  always earned at least $350,000 per year” [ECF 416 pp. 4, 28]. The financial projections

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  attached to the Third Amended Disclosure Statement project $735,000 in annual income [ECF

  416 p. 41]. Meanwhile, as noted above, the Debtor earned roughly $125,000 through the

  calendar year of 2016 [ECF 374]. The Debtor makes no effort at all to explain this inconsistency

  between the claims concerning her income in the Third Amended Disclosure Statement and the

  reality that she has earned only a fraction of that amount in 2016. Further, the Debtor has

  provided no records, such as tax returns, evidencing her alleged high-income earning potential.

  The Debtor needs to demonstrate her significant earning capacity has some basis in reality if she

  proposes to fund a plan with it.

         9.      The disparity between the Third Amended Disclosure Statement and the income

  disclosed in the Debtor’s monthly operating reports is particularly troubling considering that

  according to the Debtor, she intends to begin contributing between $25,000 and $150,000 per

  month—consistently, every month—to plan payments starting May 2017 (i.e., less than 10 days

  from now). That projection is totally detached from reality in light of the Debtor’s monthly

  operating reports, but if the Debtor intends to fund her plan using this income, she needs to

  disclose, for example, what clients the Debtor currently has that she believes will yield income of

  $25,000 to $150,000 per month starting less than 10 days from now.

         10.     Additionally, the Debtor has indicated that Real Estate Holdings Group LDC, an

  entity controlled by the Debtor’s husband, has committed to contribute funds from the proceeds

  of refinancing of a condominium in New York to Debtor’s estate in order to fund a plan. [ECF

  416 p. 4]. Yet the Debtor offers no real information whatsoever concerning this source of plan

  funding: how much has the Debtor’s husband (through an entity he controls) “committed” to

  contributing? What is the nature of that commitment—a note? A mortgage? What is the value of

  the condo that is being refinanced? Is the refinancing already in place or is this source of funding


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  contingent on the ability to find a lender? Is there a financing commitment for a lender already in

  place? None of this necessary information is included in the Amended Disclosure Statement.

           Inadequate Disclosures Concerning the Litigation Regarding the Property

         11.     The Third Amended Disclosure Statement should be denied because it fails to

  provide adequate information concerning the NLG Adversary and other actions that will impact

  the equity in the Property and the Debtor’s ability to use the Property to confirm a plan. See In re

  Fierman, 21 B.R. 314, 315 (Bankr. E.D. Pa. 1982) (a disclosure statement must provide a factual

  basis to support any valuations of real property and must disclose the existence of any litigation

  and explain the possible effect these lawsuits may have on the feasibility of a plan).

         12.     As noted above, the Third Amended Disclosure Statement does not discuss the

  NLG Adversary at all nor its potential impact on the Property. Yet, if NLG prevails in that

  action, then according to the Debtor’s own appraisal, the Property will be significantly

  underwater.3 This is critical, among other reasons, because the Debtor proposes to fund a plan, if

  necessary, by refinancing and using the equity from the Property. Simply put, there is no equity

  in the Property. The Third Amended Disclosure Statement mentions none of this.

         13.     The Third Amended Disclosure Statement does not discuss JP Morgan Chase’s

  pending foreclosure action which this Court granted stay relief to JP Morgan to pursue a final

  judgment of foreclosure [ECF 315] and to NLG to defend itself in that foreclosure action. If JP

  Morgan is successful in its foreclosure action then there is no equity at all in the Property and

  such a judgment would decimate the entire proposed plan of reorganization. The Third Amended

  Disclosure Statement mentions none of this.


  3
   The Debtor claims throughout the Third Amended Disclosure Statement that the Property is worth $12
  million even though her own appraisal of record in this bankruptcy case values the Property at $9.5
  million. The Debtor fails to acknowledge or explain this discrepancy in the Third Amended Disclosure
  Statement.
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                    Inadequate Disclosures Concerning NLG’s Secured Claim

         14.     The Third Amended Disclosure Statement also fails to discuss the treatment of

  NLG’s $4,876,654.29 secured claim (claim number 17-1) which is based on the Foreclosure

  Judgment. The Third Amended Disclosure Statement needs to explain how the Debtor will pay

  will pay NLG the full amount due under the non-appealable Foreclosure Judgment. The Third

  Amended Disclosure Statement completely ignores NLG’s Foreclosure Judgment and wants to

  dupe this Court into believing that it simply does not exist or that the Foreclosure Judgment was

  assigned to Selective Advisors. There is no assignment of NLG’s Foreclosure Judgment to

  Selective Advisors and there is no satisfaction of NLG’s Foreclosure Judgment either. There is

  no assignment of NLG’s Mortgage to Selective Advisors contrary to the Debtor’s self-serving

  misrepresentations. This Court must sanction the Debtor and her counsel for these blatant

  misrepresentations to the Court.

         15.     Section 1123(b)(5) of the Bankruptcy Code states that an individual chapter 11

  debtor may not modify a claim secured by a security interest in real property that is the debtor’s

  principal residence (which is precisely what this Debtor is trying to do to both NLG and JP

  Morgan). In turn, section 1129(a)(1) provides that for a plan to be confirmed, it must comply

  with the provisions of the Bankruptcy Code.

         16.     Because the Plan on its face violates section 1123(b)(5), it cannot be confirmed

  under section 1129(a)(1). On this basis alone, the Court should deny approval of the Disclosure

  Statement. In In re Dakota Rail, Inc., 104 B.R. 138 (Bankr. D. Minn. 1989), for instance, the

  bankruptcy court denied approval of the disclosure statement, reasoning that “[w]here the

  disclosure statement on its face relates to a plan that cannot be confirmed . . . the court [has] an

  obligation not to subject the estate to the expense of soliciting votes and seeking confirmation of


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  the plan … Allowing a facially non-confirmable plan to accompany a disclosure statement is

  both inadequate disclosure and a misrepresentation.

          17.     It should also be noted that, even if NLG does not have standing to object to the

  Plan (and NLG does have standing), the Court would have an independent duty to determine that

  the Plan complies with all of the provisions of the Bankruptcy Code in order for the Plan to be

  confirmed. See, 11 U.S.C. §1129(a)(1); Ala. Dep't of Econ. &Cmty. Affairs v. Ball Healthcare–

  Dallas, LLC (In re Lett), 632 F.3d 1216, 1229 (11th Cir.2011) (“Importantly, the Bankruptcy

  Code envisions a bankruptcy court exercising an independent duty to ensure that the strictures of

  §1129(b) are met with regard to impaired dissenting classes of creditors in a Chapter 11 cram

  down.”) Because the Plan as drafted cannot be confirmed, the Court should deny approval of the

  Third Amended Disclosure Statement.

                                 The Debtor’s Undisclosed Asset and Transfer

          18.     Prior to August 15, 2011, the Debtor owned a residential condo unit located at

  1East 62nd Street No. 1A, New York, New York (the “New York Condo”). On August 15, 2011,

  the Debtor transferred the New York Condo out of her name and into the name of an individual

  named Raymond Houle for no consideration (the “New York Condo Transfer”).4 See Deed [ECF

  290 pages 15 – 23] Mr. Houle eventually transferred the condo to Real Estate Holding Group,

  LDC, an entity controlled by the Debtor’s husband, Sean Meehan. See Deed and Affidavit by

  Mr. Meehan [ECF 290 pages 24 – 37], respectively.

          19.     The New York Condo Transfer occurred just a little over four years prior to the

  Petition Date. Although that is outside the four-year statute of limitations under Chapter 726 of


  4
   Mr. Houle is the same individual that obtained a fraudulent judgment against NLG in New York state
  court as part of the Debtor’s efforts to frustrate NLG’s attempts to exercise its lien rights in certain
  property owned by the Debtor. See NLG’s Counterclaim [ECF 5] in Selective Advisors Group, LLC v.
  NLG, LLC, Adv. No. 16-1439-AJC
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  the Florida Statutes, it is well within the six-year statute of limitations period applicable to

  fraudulent transfers under the law of New York, where the transfer occurred.5 Also, the Debtor

  owes substantial tax liability to the IRS (about $374,526) that was incurred before the New York

  Condo Transfer. See [ECF 21 p. 13]. In addition to being actionable under New York law, the

  New York Condo Transfer may also be avoidable under Florida law and Section 544(b) under

  the holding of In re Kipnis, 555 B.R. 877 (Bankr. S.D. Fla. 2016), which holds that a trustee may

  stand in the shoes of the IRS to avoid a transfer that occurred outside of the four-year look back

  period under Florida law.

         20.      Although the Debtor claims in the Third Amended Disclosure Statement that she

  has completed her investigation into potentially avoidable transfers, the New York Condo

  Transfer is not mentioned at all in her Third Amended Disclosure Statement or in her bankruptcy

  schedules or amended schedules. [ECF 190 p. 8 and ECFs 21, 90].

                                    Other Inadequate Disclosures

         21.      The exhibits that the Debtor has provided in support of the Third Amended

  Disclosure Statement reflect a variety of defects that must be explained before the document can

  be considered for approval:

              The Debtor had about $19,143 in cash on hand at the end of February 2017, but her

               Disclosure Statement states that she will have $65,000 on hand on the effective date

               of the Plan. What will be the source of those funds?

              The Debtor is on her third bankruptcy attorney since she filed this case 15 months ago

               in January 2016, and has accumulated well over $200,000 in unpaid attorney’s fees

               according to the Third Amended Disclosure Statement—far more than the $65,000


  5
   See In re Bernard L. Madoff Inv. Sec. LLC, 445 B.R. 206, 229-30 (Bankr. S.D.N.Y. 2011) (citing
  NYCPLR § 213).
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            that the Debtor claims she will have on hand on the effective date. [ECF 416-2]. How

            does she propose to pay those administrative claims as required to confirm a plan?

           The Debtor lists as assets two “potential” claims against NLG and other defendants of

            an “unknown” value. Id. What is the nature of those claims, how will the Debtor

            prosecute them if at all, and why can she offer no estimate of their potential value?

           The Debtor’s plan refuses to pay various creditors who filed proofs of claim without

            any ruling from the Court on those same claims. [See Claims 1-1, 3-1, 14-1 and 17-

            1].

           The Debtor discloses a $400,000 account receivable without explanation. What is the

            nature of that receivable and what is the Debtor doing to collect it? The Debtor

            disclosed this same $400,000 account receivable in her original plan filed on July 11,

            2016 [ECF 103 p. 22] and nine months later has still not collected a penny of this

            receivable. It is obvious that this $400,000 account receivable is pure fantasy and a

            blatant misrepresentation to this Court and all the creditors.

           The Debtor proposes to make payments under the plan in a “range” of monthly to

            every six months to “even less frequently.” How much less frequently? Further, this

            statement cannot be reconciled with the projections in the Third Amended Disclosure

            Statement indicating that the Debtor will make plan payments of about $60,000 every

            month, as opposed to every quarter or six months as the Debtor claims elsewhere in

            the Third Amended Disclosure Statement.

           According to the Debtor’s own projections, the plan is negative to the tune of

            $105,000 in July 2017. So just three months into the proposed reorganization, the

            Debtor won’t be able to make payments to the Creditors as proposed in her own plan.


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               The plan also projects December 2017 to be negative as well [ECF 416 p. 41].

               Negative cash projections simply mean that creditors won’t be paid even though the

               plan calls for the payments, rendering the plan patently unconfirmable on its face.

             This Disclosure Statement should be Denied and this Case should be
         Dismissed or Converted because the Debtor’s Plan is Patently Unconfirmable

         22.      For the reasons explained in NLG’s objections to the Debtor’s prior disclosure

  statements as well as all the other objections raised to the previous disclosure statements by other

  creditors, the Third Disclosure Statement should be denied because it was not filed in good faith

  and is patently unconfirmable. See [ECF 140 pp. 9-12]. The inadequacies of the Third Amended

  Disclosure Statement demonstrate that the Debtor plainly has no realistic ability or intent to

  propose a confirmable plan in this bankruptcy case.

         23.      A plan accompanying a disclosure statement which clearly does not meet the

  requirements of 11 U.S.C. § 1129 should not proceed to certain defeat at confirmation. Instead,

  courts may consider confirmation issues at the hearing on approval of the disclosure statement if

  “the plan is so fatally and obviously flawed that confirmation is impossible.” In re Mahoney

  Hawkes, LLP, 289 B.R. 285, 294 (Bankr. D. Mass. 2002) (citation omitted); see also In re Am.

  Capital Equip., LLC, 688 F.3d 145 (3d Cir. 2012) (bankruptcy court may address confirmability

  at disclosure statement stage if it is patently obvious that the plan described by the disclosure

  statement cannot be confirmed.); In re Valrico Square Ltd. P’ship, 113 B.R. 794, 796 (Bankr.

  S.D. Fla. 1990) (“Soliciting votes and seeking court approval on a clearly fruitless venture is a

  waste of the time of the Court and the parties.”).

         24.      A plan is not confirmable if it is not feasible, which requires the Court to consider

  “whether the things to be done under the plan can be done as a practical matter under the facts.”

  In re M & S Assocs., Ltd., 138 B.R. 845, 848 (Bankr. W.D. Tex. 1992) (citations omitted).

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  Additionally, in considering feasibility, “a bankruptcy court must evaluate the possible impact of

  the debtor’s ongoing civil litigation,” and a “plan will not be feasible if its success hinges on

  future litigation that is uncertain and speculative, because success in such cases is only possible,

  not reasonably likely.” Am. Capital Equip., 688 F.3d at 156 (citations omitted).

         25.     Here, the plan is infeasible and unconfirmable on its face: it is premised on a

  regular stream of consecutive $25,000 to $150,000 monthly payments totaling over $735,000 per

  year, yet the Debtor has disclosed that she is incapable of making consistent monthly payments

  because her income is irregular. Further, the Debtor has earned only a fraction (about $125,000)

  through all of 2016 of the roughly $735,000 that she purportedly intends to contribute towards

  the plan on annual basis. Very simply, the Debtor’s plan is premised on a high six-figure income

  that the Debtor has admitted (through her filings in this case) does not actually exist.

         26.     Further, the Debtor’s plan hinges on her success in the NLG Foreclosure (where

  NLG already has a Foreclosure Judgment) and the JP Morgan Foreclosure: if she loses the JP

  Morgan foreclosure then there is no equity in the Property according to the Debtor’s own

  appraisal. That means that there will be no equity for the Debtor to borrow against to fund the

  plan, and no basis to deny NLG relief from the automatic stay to continue its foreclosure sale

  under the Foreclosure Judgment. The Debtor’s plan, premised entirely on her success in pending

  litigation, is not confirmable, and so the Third Amended Disclosure Statement should be denied.

         27.     NLG incorporates its pending Motion to Dismiss [ECF 290] as if fully rewritten

  herein and does hereby request that the Court dismiss this bankruptcy with prejudice as to NLG.

      The Disclosure Statement and Plan were not submitted in good faith as required by
                                   11 U.S.C. § 1129(a)(3).

         28.     In order to be confirmed, a Chapter 11 reorganization plan must be submitted in

  good faith and not by any means forbidden by law. 11 U.S.C. § 1129(a)(3). “While the

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  Bankruptcy Code does not define the term, courts have interpreted ‘good faith’ as requiring that

  there is a reasonable likelihood that the plan will achieve a result consistent with the objectives

  and purposes of the Code.” In re McCormick, 49 F.3d 1524, 1526 (11th Cir.1995).

         29.      Where the plan is proposed with the legitimate and honest purpose to reorganize

  and has a reasonable hope of success, the good faith requirements of section 1129(a)(3) are

  satisfied. Kane v. Johns-Manville Corp., 843 F.2d 636, 649 (2nd Cir.1988); In re Sun Country

  Development, Inc., 764 F.2d 406, 408 (5th Cir.1985); In re Mulberry Phosphates, Inc., 149 B.R.

  702, 707 (Bankr.M.D.Fla.1993).

         30.      The focus of a court's inquiry is the plan itself, and courts must look to the totality

  of the circumstances surrounding the plan, Block Shim, 939 F.2d at 292; Madison Hotel, 749

  F.2d at 425, keeping in mind the purpose of the Bankruptcy Code is to give debtors a reasonable

  opportunity to make a fresh start. Sun Country, 764 F.2d at 408.

         31.      To be in good faith, a plan must have "a true purpose and fact-based hope of

  either `preserving [a] going concern' or `maximizing property available to satisfy creditors.'" S.

  Beach Sec., 606 F.3d at 376 (quoting Bank of Am. Nat'l Trust & Sav. Ass'n v. 203 N. LaSalle St.

  P'ship, 526 U.S. 434, 453, 119 S. Ct. 1411, 143 L. Ed. 2d 607 (1999)). To find that a plan does

  not comply with § 1129(a)(3) generally requires "misconduct in bankruptcy proceedings, such as

  fraudulent misrepresentation or serious nondisclosures of material facts to the court." In

  re *342 River    Vill.   Assocs., 161   B.R.   127,    140   (Bankr.E.D.Pa.1993), aff'd, 181      B.R.

  795 (E.D.Pa.1995).

         32.      The Debtor has committed just this type of misconduct in this bankruptcy

  proceeding by misrepresenting numerous facts to this Court in regards to NLG’s Foreclosure




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  Judgment and is impermissibly seeking that this Court vacate NLG’s Foreclosure Judgment as

  detailed herein.

         33.     The Debtor has concealed her second most significant asset, that being the New

  York Condo with an approximate value of $3.4 million. [See ECF 384]. This asset concealment

  alone is reason enough to deny the Third Amended Disclosure Statement.

         34.     Clearly the Third Amended Disclosure Statement and Plan were not submitted in

  good faith as they seek to ignore NLG’s Foreclosure Judgment (which this Court has no

  authority or jurisdiction to do), modify a security interest in the debtor’s principal residence

  (which is specifically prohibited by the Bankruptcy Code), not pay back any creditor what they

  are actually owed and conceal a multi-million dollar apartment beneficially owned by the

  Debtor.

         35.     The Debtor is seeking to defraud this Court the same way that she has defrauded

  other courts over the years of litigation with her creditors.

         The Third Amended Disclosure Statement and Plan were submitted in bad faith


         36.     Bad faith exists if there is no realistic possibility of reorganization and the debtor

  seeks merely to delay or frustrate efforts of secured creditors.” Id. SE Property Holdings, LLC v.

  Seaside Engineering & Surveying, Inc. (citing In re Seaside Engineering & Surveying, Inc.), No.

  14-11590 (11th Cir. March 12, 2015) (citing In re Albany Partners, Ltd., 749 F.2d 670, 674

  (11th Cir .1984)).

         37.     This bankruptcy was filed the day before the foreclosure sale of the Debtor’s

  Property pursuant to NLG’s Foreclosure Judgment. It is very clear that the sole purpose of this

  bankruptcy has been to delay and frustrate secured creditor NLG’s efforts to foreclosure on its

  collateral; the Property.

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         38.     None of the filed disclosure statements and plans put forth even a remotely

  feasible plan of reorganization nor were they proposed in good faith as required by the Code.

  Quite frankly they were all proposed in bad faith. The income to fund the plan is suspect at best

  and more accurately a blatant misrepresentation to the Court as detailed herein. The financial

  projections are hogwash and not supported by any document in the record.              This entire

  bankruptcy and the related adversary manifest the extreme bad faith of the Debtor and her

  counsel.

                                           CONCLUSION

         39.     For the reasons explained above, the Court should deny the Third Amended

  Disclosure Statement and dismiss or convert this case.

  Dated: April 24, 2017.

                                                Respectfully submitted,

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                 CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

         I hereby certify that I am admitted to the Bar of the United States District Court for the

  Southern District of Florida and I am in compliance with the additional qualifications to practice

  in this court set forth in Local Rules 2090-1(A).




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with

  the Clerk of Court using the CM/ECF system on this 24th day of April, 2017. I also certify that

  the foregoing was served on this day by either U.S. Mail or Electronic mail via the CM/ECF

  system to the parties on the attached service list.

                                                         /s/Nicholas B. Bangos
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       In re:                                                     Case No: 16-10389 AJC
                                                                  Chapter 11
   LIZA HAZAN;
    Debtor. /


    DEBTOR’S RESPONSE TO NLG, LLC’S OBJECTION TO DEBTOR’S MOTION FOR
                EXTENSION OF EXCLUSIVITY PERIOD [D.E. 432]

          Debtor, Liza Hazan, responds to NLG, LLC’s (NLG) Objection to Debtor’s Motion for

   Extension of Exclusivity Period (D.E. 432), and respectfully represents:

        1.      On 1/11/16 the debtor filed a voluntary petition under chapter 11 of the United States

   Bankruptcy Code.

        2.      On prior motion [D.E. 364] the Debtor’s exclusivity period was extended through April

   30, 2017.

        3.      The basis for the Debtor to again seek an extension of the exclusivity period was the

   Court’s ruling at the hearing on disclosure on December 7, 2016, that the issue of NLG’s standing

   must be resolved before the Court will consider other matters.

        4.      The Court resolved the issue of NLG’s standing by entering a default against NLG in

   the related Adversary Proceeding (Case No. 16-1439), Docket Entry 100, in which the Court ruled:

          ORDERED AND ADJUDGED that:
          1. The Motion to Dismiss and Motion for Judgment on the Pleadings [D.E. 12] is DENIED as
          moot.

          2. The Plaintiffs’ Motion for Entry of Default Final Judgment [D.E. 85] is GRANTED IN
          PART and the Court enters DEFAULT in favor of the Plaintiffs and against the Defendant
          NLG, LLC. The request for a default final judgment is DENIED WITHOUT PREJUDICE,
          pending further proceedings.


          5.     “A “defendant, by his default, admits the plaintiff's well-pleaded allegations of fact, is

   concluded on those facts by the judgment, and is barred from contesting on appeal the facts thus

   established.” Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc., 561 F.2d 1298 (11th Cir. 2009),
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  citing Nishimatsu Const. Co. v. Houston Nat'l Bank,
                                                 799 515 F.2d 1200, 1206 (5th Cir.1975); Buchanan
   v. Bowman, 820 F.2d at 361. See also Ohio Central Railroad Company v. Central Trust Company

   of New York, 1889, 133 U.S. 83, 10 S.Ct. 235, 33 L.Ed. 561; Thomson v. Wooster, 1884, 114 U.S.

   104, 5 S.Ct. 788, 29 L.Ed. 105; Trans World Airlines, Inc. v. Hughes, 2 Cir. 1971, 449 F.2d 51, 63-

   64, rev'd on other grounds, 1973, 409 U.S. 363, 93 S.Ct. 647, 34 L.Ed 577.4

         6.    Based on the well pleaded allegations in Counts I, II and III of the Third Amended

   Complaint NLG has no lien on the Debtor’s property, no claim in this Chapter 11 proceeding and

   no standing to object to the requested extension of Exclusivity.

         7.    This Court addressed a similar issue in In re Bankest, L.C., 321 B.R. 590 (Bankr.
   S.D.Fla. 2005), where the Court stated:
         Because there is no precise definition of the phrase party-in-interest, courts are to make this
         determination on a case by case basis. In re Amatex, 755 F.2d 1034, 1042 (3d Cir.1985). “An
         entity may be [a] real party in interest and have standing in one respect while he may lack
         standing in another respect.” In re Ofty Corp., 44 B.R. 479, 481 (Bankr.D.Del.1984); see
         also In re Rimsat, Ltd., 193 B.R. 499, 503 (Bankr.N.D.Ind.1996) (“...the right to appear and
         be heard is not the same as standing and § 1109(b) does not necessarily mean that every party
         in interest can seek relief on every issue.”). “The determination [of] whether an entity
         qualifies as a party in interest should be made within the specific reorganization process
         context for which the determination is sought.” In re River Bend–Oxford Assocs., 114 B.R.
         111, 113 (Bankr.D.Md.1990). In that regard, it is appropriate for a court to examine the
         motivation of the party asserting party-in-interest standing. Peachtree Lane Assocs., Ltd v.
         Granader (In re Peachtree Lane Assocs., Ltd.), 188 B.R. 815, 827 (N.D.Ill.1995). The
         Bankruptcy Code is replete with examples where a creditor may not have standing to object.
         For example, creditors whose rights are unimpaired under a plan have no right to vote on the
         plan, 11 U.S.C. § 1126(f), and lack standing to object to a chapter 11 confirmation process.
         In re Orlando Invs., L.P., 103 B.R. 593, 596 (Bankr.E.D.Pa.1989). Moreover, creditors lack
         standing to challenge those portions of a reorganization plan that do not affect their direct
         interests. Id. at 596–97.
         8.    NLG lacks standing to object to Debtor’s Chapter 11 proceeding or to her request to
   extend exclusivity. It has no claim against this Debtor.
         9.    Ironically, now that the question of NLG’s standing has been resolved and the case can
   proceed to confirmation, NLG objects to the extension of time the Debtor is required to request as
   a result of NLG’s prior wrongful actions.
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        10. The Debtor has stated a valid basis  799 to extend the exclusivity period and NLG’s
  objection to the extension should be overruled.


         WHEREFORE, the debtor respectfully requests the Court grant the Motion for Extension of

   the exclusivity period and grant such other relief as is proper.

                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); andthat a true copy of the above document

   was filed electronically and served via CM/ECF and by mail to attached service list to all parties

   of interest on this 25th day of April, 2017.

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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        www.flsb.uscourts.gov


   In re:

   LIZA HAZAN                                                Case No. 16-10389-AJC
   a/k/a ELIZABETH HAZAN,
                                                             Chapter 11
   Debtor.
   ____________________________________/


   PLAINTIFFS’ MOTION TO STRIKE NLG, LLC’S OBJECTION TO THIRD AMENDED
                     DISCLOSURE STATEMENT [D.E. 431]
                                   And
                    REQUEST FOR EXPEDITED HEARING


                   BASIS FOR REQUEST FOR EXPEDITED HEARING

            Debtor, Liza Hazan’s Third Amended Disclosure Statement is presently set for
            hearing on May 4, 2017 at 11:30 am. NLG has been defaulted in Adversary
            Proceeding 16-1439-AJC. It has objected to the Disclosure Statement yet has no
            standing to do so. The Debtor does not want the hearing on her Disclosure
            Statement delayed by NLG’s arguments and respectfully requests a hearing on this
            Motion prior to May 4, 2017.


            Debtor, LIZA HAZAN (Hazan), by and through her undersigned attorney, moves to strike

   NLG, LLC’s (NLG) Objection to Third Amended Disclosure Statement (D.E. 431), and in support

   thereof states as follows:

       1) The Court entered a default against NLG in Adversary Proceeding 16-1439-AJC on March

   20, 2017, Docket Entry 100, in which the Court ruled:

                   ORDERED AND ADJUDGED that:

                   1. The Motion to Dismiss and Motion for Judgment on the Pleadings [D.E. 12] is

                   DENIED as moot.




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                   2. The Plaintiffs’ Motion for Entry of Default Final Judgment [D.E. 85] is GRANTED

                   IN PART and the Court enters DEFAULT in favor of the Plaintiffs and against the

                   Defendant NLG, LLC. The request for a default final judgment is DENIED

                   WITHOUT PREJUDICE, pending further proceedings.

       2) The Default was entered because “the Defendant did not meet those deadlines and has failed

   to demonstrate sufficient cause exists to extend those deadlines.”

       3) NLG moved to vacate the default (D.E. 104) but that relief was denied. (D.E. 112).

       4) As stated in Taylor v. City of Ballwin, 859 F.2d 1330 (8th Cir. 1988), “By choosing not to

   respond, [Defendant] Brouk Ziegler will not now be heard to deny this claim; nor will they be allowed

   to raise a counterclaim for set-off.

       5) NLG has no defense to the relief sought in the Third Amended Complaint, including

   Plaintiffs’ request for a determination that NLG has no claim in this case and no standing in this case,

   as “Attempts by a defendant to escape the effects of his default should be strictly circumscribed; he

   should not be given the opportunity to litigate what has already been considered admitted in law.

   Nishimatsu Const. Co. v. Houston Nat'l Bank, 515 F.2d 1200, 1206 (5th Cir.1975) citing Trans World

   Airlines, Inc. v. Hughes, S.D.N.Y., 38 F.R.D. 499, 501, aff'd 2 Cir., 449 F.2d 51, rev'd on other

   grounds 405 U.S. 915, 92 S.Ct. 960, 30 L.Ed.2d 785.

       6) NLG’s Objection to Disclosure Statement is improper as the Court has already determined

   that NLG has no remaining claim in this case.

       7) The Objection to Third Amended Disclosure statement (D.E. 431) should be stricken.

   WHEREFORE, Debtor Liza Hazan Advisors, requests that this Court strike NLG’s Objection to

   Third Amended Disclosure statement (D.E. 431) and grant such other and further relief as this

   Court deems just and proper.




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                                     CERTIFICATE OF SERVICE

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   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); andthat a true copy of the above document

   was filed electronically and served via CM/ECF and by mail to attached service list to all parties

   of interest on this 28th day of April, 2017.

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           ORDERED in the Southern District of Florida on May 1, 2017.




                                                                  A. Jay Cristol, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________




                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI-DADE DIVISION

          In re:
                                                                CASE NO.: 16-10389-AJC
          LIZA HAZAN,
                Debtor.                                         CHAPTER 11
          ________________________________/

             ORDER GRANTING DEBTOR’S MOTION FOR EXTENSION OF EXCLUSIVITY
                                   PERIOD [D.E. 428]

                   THIS MATTER came before the Court for hearing on April 26, 2017 at 11:30 AM upon

          Debtor’s Motion for Extension of Exclusivity Period [D.E. 428]. The Court having reviewed the

          motion, having heard the proffers and representations of counsel, and having considered the

          record in the case, it is

                   ORDERED AND ADJUDGED that the Debtor’s Motion is GRANTED, and the

          exclusivity period for the Debtor to file a plan is extended to July 30, 2017.

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   Submitted by:
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   The party submitting this order shall serve a copy of the signed order on all parties listed below
   and file with the court a certificate of service conforming with Local Rule 2002-1(F).

   Copies to: Clerk, U.S. Bankruptcy Court, Office of the U.S. Trustee, all parties of interest
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                             UNITED STATES BANKRUPTCY COURT
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                                   MIAMI-DADE DIVISION
                                     www.flsb.uscourts.gov

   In re:
   LIZA HAZAN                                                  CASE NO.: 16-10389 AJC

         Debtor.                                               CHAPTER 11
   ____________________________/

                                              NOTICE OF FILING

          PLEASE TAKE NOTICE that the Debtor, Liza Hazan, hereby files the attached:

          1. Attached as Exhibit ‘A’ is the Order dated 04/25/17 in the Real Estate Holdings Group

   vs. Board of Managers of Spencer Condominium case filed in the Supreme Court of the state of

   New York, New York County.

                                         CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

   for the Southern District of Florida, and I am in compliance with the additional qualifications to

   practice in this Court set forth in Local Rule 2090-1(A); and that a true copy of the above

   document was filed electronically and served electronically or by mail to: U.S. Trustee, and all

   interested parties on this 2nd day of May, 2017.

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Label Matrix for local noticing       Aaronson Schantz Beiley
                                                         799P.A.                  Board of Managers of Spencer Condominium
113C-1                                       c/o Geoffrey S. Aaronson                    c/o Robert C. Furr Esq
Case 16-10389-AJC                            100 SE 2nd Street 27th Floor                Furr and Cohen PA
Southern District of Florida                 Miami, FL 33131-2122                        2255 Glades Rd #337W
Miami                                                                                    Boca Raton, FL 33431-7379
Fri Mar 31 12:04:18 EDT 2017
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225 West Wacker Drive, Suite 3000
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610 Waltham Way                              c/o Danielle Schneider, Esq.                ATTN: General Mailing Facility
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                                             4758 W. Commerical Boulevard
                                             Fort Lauderdale, FL 33319-2877
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                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


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                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).


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Suite 100                                            Boca Raton, FL 33431                                 Boca Raton, FL 33431
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Simon & Sigalos
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Fuerst, Ittleman David & Joseph, P.L.             (u)Real Time Resolutions, Inc.                       (u)Miami




(u)Car Southeast Financial, LLC                      (u)Cross Simon                                       (u)Halsted Management Company
Per DE#23                                            Per DE #23                                           Per DE #23
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(u)Jacobs Keeley, PLLC                (u)Mark D. Cohen, PA799                    (u)Mercedes Benz Financial Services
Per DE #23                                  Per DE #23                                 Per DE #23




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Total                    79
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  In re                                                 Case No. 16-10389-AJC

  LIZA HAZAN a/k/a
  ELIZABETH HAZAN                                       Chapter 11
  _______________________/

                     SECURED CREDITOR NLG, LLG’s
     OBJECTION TO THIRD AMENDED DISCLOSURE STATEMENT AS REVISED

          Secured Creditor, NLG, LLC (“NLG”), through undersigned counsel, objects to the Third

  Amended Disclosure Statement as Revised [but not docketed] (the “Revised Statement”) emailed

  by counsel for Elizabeth Hazan (the “Debtor”) on May 5, 2017, and states as follows:

                                         BACKGROUND

          1.     NLG incorporates its Objection to the Third Amended Disclosure Statement [ECF

  431] as if fully rewritten herein.

          2.     At the disclosure statement hearing on May 4, 2017, the Court instructed the

  Debtor to amend the Third Amended Disclosure Statement to include further information about

  NLG’s Final Judgment of Foreclosure (the “Foreclosure Judgment”) and NLG’s Counterclaim,

  the Spencer Condo conveyance and the Income of the Debtor.

          3.     On May 5, 2017, counsel for the Debtor emailed counsel for NLG a copy of a

  Revised Statement with a date of May 9, 2017 and attached hereto as Exhibit 1.

               NLG’S FORECLOSURE JUDGMENT AND COUNTERCLAIMS

          4.     The Revised Statement again fails to address NLG’s Foreclosure Judgment. In

  fact, it does not even mention the words. The Debtor just wants to ignore the Foreclosure

  Judgment and pretend that it simply does not exist.




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         5.     On pages 11 and 12 of the Revised Statement, the Debtor mentions the word

  “Counterclaims” but fails to provide any meaningful information about NLG’s Counterclaims

  which are wholly based on its final and non-appealable Foreclosure Judgment.

         6.     The Court also was concerned whether Selective Advisors (“Selective”) had an

  opportunity to be heard in the underlying state court foreclosure action. Indeed Selective was

  heard at numerous hearings before Judge Gordo over the period of approximately one year. In

  fact, Selective was heard over NLG’s objection that it lacked standing, as it had not moved to

  intervene. Nevertheless, both Judge Gordo and Judge Lopez allowed Selective to make its

  arguments. The Foreclosure Judgment was finally entered after multiple hearings and filings by

  Selective wherein Judge Gordo carefully considered Selective’s arguments and position. Judge

  Gordo rejected all of them as a matter of law leaving both Selective and the Debtor with

  appellate remedies if they chose to pursue them.

         7.     Selective failed to file an appeal of Judge Gordo’s Foreclosure Judgment and

  Debtor Hazan filed an appeal but voluntarily dismissed it.         Accordingly Judge Gordo’s

  Foreclosure Judgment is now the “law of the case.”

         8.     Attached hereto as Exhibit 2, is Judge Gordo’s Order Granting Foreclosure (the

  “Foreclosure Order”).

         9.      Contrary to the Debtor and Selective’s sanctionable misrepresentations to this

  Court, NLG’s Foreclosure Judgment was never assigned to Selective and Judge Gordo

  confirmed this in her Foreclosure Order. [See Exhibit 2 page 7 to 10].

         10.    Selective was represented by attorneys Mark Cohen, Esq. (who was also

  representing Debtor Hazan simultaneously in the NLG Foreclosure Action as well as in the




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  Appeal before the Third District 1) [See Exhibit 2 page 4], Bruce Jacobs, Esq. (who was also

  representing Debtor Hazan simultaneously in the NLG Foreclosure Action) and Daniel Milian,

  Esq. in the Foreclosure Action pending before Judge Gordo. These same attorneys also appeared

  before Judge Lopez representing the Debtor and Selective.

           11.      In the Foreclosure Order Judge Gordo dedicated pages 4 to 14 addressing

  Selective’s claims, why they were meritless and why she rejected them all. To further support

  her ruling, Judge Gordo attached Exhibits A and B from pages 16 to 46.

           12.      As can be seen from a reading of the Foreclosure Order, Judge Gordo fully

  adjudicated the Foreclosure as well as the Debtor’s and Selective’s arguments which are now

  unassailable law of the case.

      The SPENCER CONDO FRAUDULENT CONVEYANCE AND CONCEALMENT

           13.      The Debtor did add language about the fraudulent conveyance of the Spencer

  Condo to an offshore entity controlled by the Debtor’s husband but again fails to explain that it

  was a fraudulent conveyance, subject to recovery in by the bankruptcy estate and being

  concealed from this bankruptcy under the guise of being owned by the Debtor’s husband.

           14.      The Debtor knows full well that the Spencer Condo was conveyed to her husband

  for zero consideration which is a hallmark of a fraudulent conveyance.

           15.      The Board of Managers of the Spencer Condo has also expressed a concern about

  the Spencer Condo being concealed from this bankruptcy in its Motion to Convert [ECF 384].

           16.      The Motion to Convert states in paragraph 1:

                    Cause exists to convert this Chapter 11 Case to a case under Chapter 7 of the
                    Bankruptcy Code, pursuant to Section 1112(b) of the Bankruptcy Code, or, in the

  1
   If Selective were really an independent third party with legitimate rights of a creditor of the Debtor and not the
  husband of the Debtor trying to thwart NLG’s Foreclosure Judgment, the same attorney could not represent both
  parties because of an obvious conflict of interest. See Florida Bar Rule 4-1.7(a).
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                 alternative appoint a Chapter 11 trustee pursuant to section 1104(a) of the
                 Bankruptcy Code due to the fraud and dishonesty of Liza Hazan a/k/a
                 Elizabeth Hazan (the “Debtor” or “Hazan”)



         17.     The Motion to Convert states in paragraph 2:

                 The need for conversion or the appointment of a Chapter 11 trustee is exemplified
                 by the numerous, material misstatements - detailed herein - in the Debtor’s
                 petition and schedules and the debtor’s fraudulent concealment of her interest
                 in a valuable condominium in New York City’s Upper East Side, Lenox Hill
                 Neighborhood. The various misstatements and concealment clearly demonstrate
                 that the Debtor cannot be trusted to faithfully carry out the statutory duties of a
                 Chapter 11 debtor in possession.
         18.     Accordingly it is both NLG and the Board of Managers of the Spencer Condo

  who are concerned about the fraudulent concealment of a $4.25 million asset.

                                     THE DEBTOR’S INCOME

         19.     As for the Debtor’s Income, the Court instructed the Debtor to include an

  addendum with the nature of the contracts generating her income and information about them.

  The Debtor has failed to include this addendum.

         20.     Additionally a review of the Debtor’s most recently filed Monthly Operating

  Report [ECF 437] shows total monthly income of $847. Id.

         21.     It is impossible to approve the Debtor’s Third Amended Disclosure Statement as

  Revised because it puts forth a plan which is wholly inadequate in disclosure and promotes a

  plan that is unfeasible and surely poised to fail.

                                            CONCLUSION

         22.     For the reasons explained above, the Court should deny the Third Amended

  Disclosure Statement as Revised and dismiss or convert this case.

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  Dated: May 8, 2017

                                                 Respectfully submitted,

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                                                 astridgabbe@gmail.com
                                                 Attorneys for NLG, LLC



                  CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

          I hereby certify that I am admitted to the Bar of the United States District Court for the

  Southern District of Florida and I am in compliance with the additional qualifications to practice

  in this court set forth in Local Rules 2090-1(A).



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with

  the Clerk of Court using the CM/ECF system on this 8th day of May 2017. I also certify that the

  foregoing was served on this day by either U.S. Mail or Electronic mail via the CM/ECF system

  to the parties on the attached service list.

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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                               MIAMI-DADE DIVISION
                                 www.flsb.uscourts.gov

  In re:
                                                          CASE NO.: 16-10389-AJC
  LIZA HAZAN,
        Debtor.                                           CHAPTER 11
  ________________________________/

                 THIRD AMENDED DISCLOSURE STATEMENT as Revised

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  IV.      CONFIRMATION REQUIREMENTS AND PROCEDURES                       page 27
           A.   Who May Vote or Object



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         B.   Votes Necessary to Confirm the Plan
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  EXHIBITS
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  Exhibit C Cash on hand on the effective date of the Plan
  Exhibit D Projections of Cash Flow and Earnings for Post-Confirmation Period
  Exhibit E Ballot

  INTRODUCTION

          This is the third amended disclosure statement (the “Disclosure Statement”) in the Chapter
  11 case of Liza Hazan (the “Debtor”). This Disclosure Statement contains information about the
  Debtor and describes the Second Amended Plan of Reorganization (the “Plan”) filed by the Debtor
  on March 27, 2017. A full copy of the Plan is filed herewith. Your rights may be affected. You
  should read the Plan and this Disclosure Statement carefully and discuss them with your
  attorney. If you do not have an attorney, you may wish to consult one. This Plan provides classes
  of claims; classes of priority claims, classes of secured claims, and classes of unsecured claims
  and equity. Unsecured creditors holding allowed claims will receive distributions which the
  proponent of this Plan has valued at dividend of 41% to 100% of total allowed claims accrued for
  up to sixty months and paid every six months with the first payment due in month 6, while
  undisputed unsecured claims are paid 100% within two years of the petition date, or by 1/11/18.

         A.      Purpose of This Document

         This Disclosure Statement describes:

                        The Debtor and significant events during the bankruptcy case,
                        How the Plan proposes to treat claims or equity interests of the type you
                        hold (i.e., what you will receive on your claim or equity interest if the plan
                        is confirmed),
                        Who can vote on or object to the Plan,
                        What factors the Bankruptcy Court (the “Court”) will consider when
                        deciding whether to confirm the Plan,
                        Why the Proponent believes the Plan is feasible, and how the treatment



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                         of your claim or equity interest under the Plan compares to what you would
                         receive on your claim or equity interest in liquidation, and
                         The effect of confirmation of the Plan.

         Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement
  describes the Plan, but it is the Plan itself that will, if confirmed, establish your rights.

         B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

          The Court has not yet confirmed the Plan described in this Disclosure Statement. This
  section describes the procedures pursuant to which the Plan will or will not be confirmed.

                 1.      Time and Place of the Hearing to [Finally Approve This Disclosure
                         Statement and] Confirm the Plan

                 2.      Deadline For Voting to Accept or Reject the Plan

          If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and return
  the ballot in the enclosed envelope to Clerk Bankruptcy Court U.S. Courthouse C. Clyde Atkins
  United States Courthouse 301 North Miami Avenue, Room 150 Miami, FL 33128. See section
  IV.A. below for a discussion of voting eligibility requirements.

         Your ballot must be received by the date indicated in the order of the court or it will not be
  counted.

                 3.      Deadline For Objecting to the Adequacy of Disclosure and
                         Confirmation of the Plan

         Objections to this Disclosure Statement or to the confirmation of the Plan must be filed
  with the Court and served pursuant to orders served herewith.

                 4.      Identity of Person to Contact for More Information

         If you want additional information about the Plan, you should contact:

         David W. Langley
         Counsel for Debtor
         8551 W. Sunrise Blvd., Suite 303
         Plantation, FL 33322
         954-356-0450
         dave@flalawyer.com

         C.      Disclaimer

         The Court must approve this Disclosure Statement as containing adequate information
  to enable parties affected by the Plan to make an informed judgment about its terms. The Court



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  has not yet determined whether the Plan meets the legal requirements for confirmation, and the
  fact that the Court has approved this Disclosure Statement does not constitute an endorsement
  of the Plan by the Court, or a recommendation that it be accepted.


  II.    BACKGROUND

         A.      Description and History of the Debtor’s Business

          Debtor works as a business consultant specializing in identifying locations for high-end
  restaurants and retailers around the world. She has historically earned in excess of $350,000 per
  year. As part of her consulting business, Debtor presently has an exclusive contract to place new
  locations for an international beauty and skin care company selling luxury brand products to high-
  end clientele. The Debtor has several projects under contract that will provide sufficient income to
  confirm and fund her plan. The Debtor presently has closed contracts that will earn her significant
  funds (comparable to past earnings) in the next six months.
          Debtor works with other major hospitality brands, restaurants, lounges and nightclubs that
  will earn her millions of dollars of income in the near future.
          The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
  Fisher Island, Florida (the “Property”) scheduled at $12,000,000.00.
          Additionally debtor has scheduled household furniture, dishes and china, household
  electronics and clothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.
          The equity in the Fisher Island Property would support a refinancing, which could also be
  used to support funding a plan if necessary.
          In addition to the foregoing, Debtor’s husband controls a corporation, Real Estate Holdings
  Group, L.D.C. which owns a condominium in New York City in the Spencer Condominium, Unit
  1A at 1 East 62nd Street, New York, New York 10065. Real Estate Holdings Group, L.D.C. has
  committed to contribute funds from the proceeds of refinancing and ultimate sale of the
  condominium unit to Debtor’s estate to fund the plan in order to assure the Debtor’s successful
  reorganization and completion of the plan. The New York Condominium is presently listed for
  sale for $4,250,000 and is being actively marketed and shown to prospective buyers.


         B.      Insiders of the Debtor

         Debtor is an individual and constitutes Debtor’s insiders as defined in §101(31) of the
  United States Bankruptcy Code (the “Code”). For the past two years there has been no salaries
  paid except professional earnings.

         C.      Management of the Debtor Before and During the Bankruptcy

          During the two years prior to the date on which the bankruptcy petition was filed, the
  officers, directors, managers or other persons in control of the Debtor (collectively the
  “Managers”) were the Debtor.
          The Managers of the Debtor during the Debtor’s Chapter 11 case have been: The Debtor.




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          After the effective date of the order confirming the Plan, the directors, officers, and voting
  trustees of the Debtor, any affiliate of the Debtor participating in a joint Plan with the Debtor, or
  successor of the Debtor under the Plan (collectively the “Post Confirmation Managers”), will be:
  The Debtor.

          D.      Events Leading to Chapter 11 Filing

          Debtor sought relief under Chapter 11 in order to end years of litigation between multiple
  creditors in various disputes across the country, to bring all matters into a single forum, and to
  fashion a Plan of Reorganization, which will resolve all disputes without needlessly jeopardizing
  the Debtor’s equity in her various assets.

         In 2007 Debtor purchased the property located at 6913 Valencia Drive, Fisher Island,
  Florida (the “Property”) now scheduled at $12 million for $5.1 million from NLG, LLC (“NLG”)
  through its then claimed principal Chris Kosachuk. The Debtor has been involved in litigation with
  NLG and Kosachuk since that time as more fully described below.

          The NLG’s self titled manager Chris Kosachuk has signed a gift of equity letter stating that
  Debtor does not have to pay back the amount of $1,275,000. In the closing statement NLG
  provided a seller contribution in the amount of $1,275,000 to Debtor. Chris Kosachuk has
  thereafter testified that he transferred ownership of NLG in 2007 to Luxcom, a Russian company
  (that Debtor has determined does not exist) in 2010. In 2012 Chris Kosachuk testified that NLG is
  now owned by Meridian Trust Company located in the British Virgin Islands, but he could not
  recall who he reported to or which island in BVI is Meridian Trust Company located. In 2014
  Chris Kosachuk in a sworn deposition alleged that NLG is now owned by Meridian Trust Company
  located in Nevis and the owner of Meridian Trust Company is Ernie Dover.

          In October 2008, NLG, through Chris Kosachuk, broke into Debtor’s homestead property
  located on Fisher Island and resided in the Debtor’s home for two months. Debtor, who was out
  of the country, after learning of the incident, filed an emergency motion to vacate the fraudulent
  Sheriff’s deed obtained by NLG. Judge Scola granted Debtor’s emergency motion, finding Chris
  Kosachuk’s actions “unconscionable”. After Judge Scola ordered Chris Kosachuk and NLG to
  vacate the premises, Kosachuk refused to vacate Debtor’s home and moved for an enlargement of
  time. Judge Scola denied NLG’s motion and forced Chris Kosachuk to vacate the premises. Police
  reports of the incident document that Chris Kosachuk stole Debtor’s furniture and her seven
  plasma TVS. Judge Scola has ruled as follows:

     “The Sheriff's Sale is set aside and vacated and the Sheriff's Deed dated November 19, 2008,
    for the property is vacated and the Sheriff's Deed is hereby SET ASIDE. The title of
    Defendant, Elizabeth Hazan, to the following described real property in Miami-Dade County,
    Florida:
        Lot 7, Block 2, LINDISFARNE ON FISHER ISLAND SECTION 10, according
        to the Plat thereof, recorded in Plat Book 157, Page 64, of the Public Records of
        Miami-Dade County, Florida.


   is a good title against the claims or purported claims of Plaintiff, NLG, LLC, and all other parties


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  claiming by through, under or against it and those claims or purported claims are cancelled and
  the title to the property is forever quieted to Elizabeth Hazan as to NLG, LLC.

                   B.         NLG, LLC and Chris Kosachuck, and all parties having or claiming to
  have any rights of possession of the property through NLG, LLC or Chris Kosachuck and all those
  parties since the filing of the Notice of Lis Pendens in this cause are to vacate the property located
  at 6913 Valencia Drive, Fisher Island, Florida 33109 ("premises"), on or before noon on December
  21, 2008, and deliver the keys to Hazan or her agents, and leave the premises in good condition.
  The Clerk of this Court is directed to issue a Writ of Possession after December 21, 2008, to the
  Sheriff of Miami-Dade County, directing him to put Elizabeth Hazan in possession of the aforesaid
  premises after twenty-four hours notice has been conspicuously posted on said premises all for
  which let execution issue.


          Chris Kosachuk has stolen Debtor’s mail. Kosachuk has stalked the Debtor and harassed
  her and called her a ‘whore and a f_ _ _ ing Jew”. Chris Kosachuk has threatened Debtor’s lawyers.
  Chris Kosachuk pushed her New York attorney Darius Marzec’s to the ground and has emailed
  him “Soon you will find yourself square in the cross-hairs and won't be able to hide behind all of
  your lawyering bullshit”. Chris Kosachuk has impersonated Debtor and called her banks to find
  out personal information. Chris Kosachuk has intimidated Debtor’s previous clients, ruined her
  business and caused her millions of dollars of lost of income. Kosachuk has harassed her clients,
  has defamed her character and damaged her reputation, defaming her in numerous newspapers,
  calling her a zero and a loser and other names.

         NLG and Chris Kosachuk have caused the Debtor to suffer emotionally for over a decade
  and have caused her to lose income and to incur substantial attorneys’ fees to defend herself against
  Chris Kosachuk’s nefarious actions.

          Chris Kosachuk has sent Debtor an email stating “your days are numbered” and told her
  that he would burry her alive.

          Debtor filed numerous police reports and reports with Fisher island security who have
  physically removed Kosachuk from Debtor’s property. Chris Kosachuk has impersonated other
  residents and used their Fisher Island security code to access Fisher Island and has lied to Fisher
  Island security to gain access to Fisher Island to come to the Island, intimidate, stalk, harass and
  physically and emotionally harm the Debtor.

         Chase Bank

        In March 7, 2007 Debtor signed a first promissory note and mortgage with Washington
  Mutual Bank in the amount of $3,825,000. JP Morgan Chase Bank claims to now own the
  Washington Mutual Bank promissory note and mortgage signed by Debtor in March 7, 2007.

         Chase filed a foreclosure in August 2013, which remains pending as case 2013-CA-
  025902. Chase did not file an assignment of mortgage to itself until 5/26/16. The maturity date of
  the Loan is August 2051.


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         NLG

         NLG FL litigation

          NLG’s self titled manager Chris Kosachuk. provided a gift of equity or an “equity
  contribution” of $1,275,000 stating that Debtor does not have to pay back the amount of $1,275,00
  on the closing statement and also had Debtor execute a note and second mortgage on the Fisher
  Island property for that same amount from Debtor after Closing.

           NLG sued within four months of the closing in 2007, and has pursued Debtor to this date
  in an attempt to wrongfully obtain Debtor’s property. Litigation between the parties has occurred
  in four states, multiple courts and has continued for over a decade, and continues in this court,
  costing Debtor millions in legal fees, adversely affecting her health and her career, and putting her
  in the financial position of having to seek relief in a Chapter 11 reorganization.

  Chris Kosachuk asserts that he is the manager and representative of NLG. Kosachuk has testified
  that he transferred NLG in 2007 to Luxcom, a Russian company. In 2012 Chris Kosachuk testified
  that NLG is now owned by Meridian Trust Company located in BVI but he could not recall to
  whom he reported. In 2014 Chris Kosachuk testified in deposition that NLG is now owned by
  Meridian Trust Company located in Nevis and the owner of Meridian Trust Company is Ernie
  Dover. From prior to the purchase date, more than a decade ago, to today, the parties have had
  multiple disputes and have engaged in litigation in multiple courts in Florida, New York,
  Pennsylvania and Delaware. Final orders have been entered in various courts setting forth the
  rights of these parties. But the litigation nevertheless has continued, and is now in this Court.

  NLG obtained a judgment on the promissory note signed by Debtor on April 28, 2008. (“The Scola
  Judgment”). NLG also sued Debtor for foreclosure in 2011. In 2014, Judge Peter Lopez assigned
  NLG’s judgment against Debtor, the Scola Judgment along with all NLG’s rights, claims and
  benefits against Debtor to Selective Advisors Group, LLC. (“Selective”) and also ordered
  Selective to provide a partial credit in the amount of $2,746,953.34 which amount includes
  principal and interest through August 31, 2014 (representing the full amount of the Scola
  judgment) at the 11% interest per annum. Selective did so.

  NLG appeared in this case but failed to timely file a proof of claim. NLG is merely a notice party.
  NLG is not a secured creditor in this case. Selective is listed in Debtor’s schedule as her secured
  creditor. On May 13, 2016 NLG moved for stay relief in this court (D.E. 66) but said relief was
  denied (D.E. 176) on August 23, 2016. Selective Advisors Group, LLC, an affiliate of Debtor’s
  husband, owns NLG’s claim through execution on a judgment against NLG. On August 23, 2016
  the bankruptcy court entered its decision denying NLG’s motion for relief from the automatic stay.
  ECF 176. This Honorable Court ruled as follows:

                        First, NLG is not a scheduled creditor in this case. The Debtor
                 scheduled Selective as its secured creditor, relying on the judicial
                 assignment in the Proceedings Supplementary Order, pursuant to the
                 Scola judgment. NLG was listed solely as a notice party. The claims
                 bar date has passed in this case, and NLG has not filed a claim. NLG


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              indeed had sufficient notice of these proceedings to timely file a claim
              (both NLG’s counsel and Kosachuk himself appeared and questioned
              the Debtor at the 341 meeting), but apparently chose not to. Because
              NLG has not been scheduled and did not file a claim against this estate,
              there is an issue as to whether NLG lacks standing as a “party in
              interest.” In re E.S. Bankest, L.C. 321 B.R. 590 (Bankr. S.D. Fla. 2005).

              …

              The Debtor’s Schedules indicate a disputed first mortgage on the
              property for $ 5.2 million dollars to Chase Bank N.A.; a mortgage for
              $2.0 million dollars to an entity owned by her mother that Debtor and
              her mother represented may be subordinated and/or satisfied in
              connection with a plan, and various other miscellaneous liens less than
              $300,000. The Debtor values the Selective lien at zero, because
              Selective, as judicial assignee of NLG, is owned by her husband and has
              filed a Satisfaction of Judgment and a Satisfaction of Mortgage.

              …

              The Debtor also asserts the Property is necessary to an effective
              reorganization. She resides on the Property with her husband and has
              declared the Property to be her homestead. The Debtor is a financial
              consultant who earns her income from consulting fees in connection
              with placing high-end retail and restaurant businesses in certain top-tier
              shopping locations. She entertains prospects at home. She also asserts
              significant equity in the home sufficient to refinance and/or collateralize
              the payment of her unsecured debt”.

                         The Debtor has filed with the Court an appraisal (D.E. 82-1)
              of the Property for $9.5 million, and asserts: (1) that the Debtor is
              negotiating with Chase regarding various issues; (ii) that NLG’s right to
              foreclose was judicially assigned to Selective, which has satisfied the
              Hazan mortgage in partial satisfaction of its judgment against NLG; and
              (iii) that the mortgage held by Debtor’s mother’s company will be
              subordinated or satisfied as part a plan. The Court believes the Debtor
              has presumptively established the prospect of equity in the Property for
              the benefit of creditors, and further believes the Debtor has established
              the Property is necessary for an effective reorganization as she uses the
              Property for business purposes and any plan filed in this case will be
              premised upon, at least in part, future business income.

        NLG NY Litigation


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  NLG domesticated the judgment obtained against debtor on April 28, 2008 (“the Scola Judgment”)
  in New York in 2014. New York Supreme Court Judge Barbara Jaffee, having recognized the
  Miami-Dade Judge Peter Lopez Order of Assignment of the NLG’s Judgment (“The Scola
  Judgment”) against the Debtor to Selective Advisors Group, LLC (“Selective”) and having
  accepted the Selective’s Satisfaction of NLG’s Judgment against the Debtor Ordered on November
  5, 2014:
         “That the caption of the case, NLG, LLC vs Elizabeth Hazan, be changed to substitute
         Selective Advisors Group, LLC as Plaintiff in place of NLG and that the New York County
         Clerk is directed to accept for filing the Florida Court Order of assignment, judicially
         assigning the underlying Florida judgment from plaintiff to Selective; it is further
                 ORDERED, that the County Clerk is directed to reflect on the docket of this case
         that the Florida judgment between plaintiff against defendant, domesticated here, has been
         satisfied; it is further
                 ORDERED, that the County Clerk is directed to accept for filing the satisfaction of
         Judgment or other appropriate satisfaction piece; and it is further
                 ORDERED, that the County Clerk is directed to remove and strike any judgments
         of record in this action under Index No. 108020/08.”

         NLG also filed a lawsuit in New York alleging Debtor fraudulently transferred the New
  York condo (described below). On November 2014, Hon. Judge Barbara Jaffee dismissed both
  claims filed by NLG.

         Spencer Condominium

          Debtor bought a condominium in New York City on Fifth Avenue and 62nd Street on
  December 2005 in the Spencer Condominium, Unit 1A of 1 East 62nd Street, New York, New York
  10065 (“The New York Condominium”).
          Debtor transferred this New York Condominium on August 2011. The Board of
  Managers alleges that the transfer was made without the consent of Spencer Condominium.
  The Board of Managers has agreed to the approval of this Disclosure Statement. The
  Internal Revenue Service has filed a Proof of Claim in this case. The statute of limitations
  for the IRS to contest the transfer has not yet run, but IRS has taken no such position and
  has not appeared in the case other than the filing of a Proof of Claim. The New York
  Condominium had no equity at the time of the transfer.
          Debtor’s husband controls the corporation, Real Estate Holdings Group LDC which now
  owns the condominium. The Spencer Condominium Board of Managers has been involved with
  The Debtor and REHG in litigation since 2008 resulting in a confidential settlement agreement
  executed in March 2015. Spencer Condominium disputes that the Settlement Agreement is
  enforceable at this time, but Judge Singh of the New York Supreme Court has recently ordered the
  parties to comply with the Settlement Agreement; The settlement includes a resolution of the
  following lawsuits:
          Board of Managers of Spencer Condominium v. Elizabeth Hazen, et al;
                  No. 111644/09.
          Real Estate Holding Group, LDC v. Board of Managers of Spencer Condominium et al;
                  No. 154149/2012



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         Real Estate Holdings Group, vs. Spencer Condominium
                No. 159254/2013

         All three cases have been dismissed and settled and REHG is presently hiring a real estate
  broker to list the condominium unit for sale to pay off the settled reduced amounts of the first
  mortgage in favor of U.S. Bank and to satisfy the second mortgage in favor of Real Time
  Resolutions (both alleged creditors of this Debtor) as well as to resolve the assessments allegedly
  due the Board of Managers. The unit will be listed for sale.

          On July 21, 2016 Debtor filed the following motions: Motion for Relief from Stay Spencer
  Condominium, (D.E. 115), Motion to Seal or for in Camera Review (D.E. 116) and Motion for
  Abstention (D.E. 117). All three Debtor’s Motions have been withdrawn without prejudice. On
  February 24, 2017 Debtor filed three new motions in this case: A Motion to Seal, D.E. 387, A
  Motion for Abstention D.E. 388, A Motion for Relief from Stay D.E. 389 and An Amended Motion
  for Stay relief Spencer Condominium litigation and request for expedited Hearing, D.E. 390.
  Debtor also filed an objection to Spencer’s Proof of Claim. On March 1, 2017, This Court granted
  the agreed Order granting Debtors’ Amended Motion for Order for Stay relief Spencer
  Condominium litigation and request for expedited Hearing, D.E. 392. The Court ruled as follows:
  “The Debtor’s Motion is granted. The automatic Stay is lifted solely for the purpose of permitting
  the New York Supreme Court to exercise jurisdiction over the litigation between the Debtor and
  Spencer Condominium and related parties and the stipulation for settlement therein. The 14 day
  Stay period pursuant to Bankruptcy Rule 4001(a)(3) is waived. No property of the estate will be
  affected by this Order”.

  In the case of Real Estate Holdings Group, vs. Spencer Condominium No. 159254/2013 on July
  27, 2016, Real Estate Holdings Group, L.D.C. (“REHG”) Owner of The New York Condominium
  filed an Order to Show Cause to enforce the confidential Stipulation of settlement executed by the
  parties on March 2015. On March 2, 2017, Honorable Judge Singh granted Plaintiff REHG’s
  Motion to enforce the Confidential Settlement with Spencer Condominium as the stay has been
  vacated and ordered the parties to comply with the terms of the settlement within 30 days of the
  Order. The matter is adjourned to April 25, 2017 (2:30 pm) to monitor compliance.

          In the case of Board of Managers of Spencer Condominium v. Elizabeth Hazan No.
  109083/2008 Spencer has obtained an award in the amount of $109,554.86. This award was never
  converted to a judgment entered or recorded in any court. However the parties have agreed that
  this amount of alleged money owed by the Debtor to Spencer prior to her transfer of ownership of
  the New York condo in 2011 almost 6 years ago shall be paid by REHG and not by the Debtor in
  the plan. Spencer has no standing to object to the Debtor’s plan or object to her confirmation and
  is bound by their in full force and effect confidential Stipulation of Settlement executed on March
  2015.

         The New York Condominium is presently listed for sale for $4,250,000.00 and is being
  actively marketed and shown to prospective buyers.

  Reorganization




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          The Debtor intends to reorganize her debts and liabilities through a combination of: (a)
  negotiating and/or litigating as may be necessary, resolutions with certain secured and unsecured
  creditors; and (b) making distributions funded by her assets and income from her consulting work,
  or if necessary, refinancing and contributions from her husband’s companies.

           To date, the Debtor’s efforts have focused on negotiating resolutions with several creditors,
  litigating with two other creditors, conferring with counsel to begin formulating the structure and
  terms of a proposed Plan, and expanding her consulting income for the eventual benefit of her
  estate and creditors.

         E.      Significant Events During the Bankruptcy Case

                 *       Date of Order for Relief under Chapter 11 on 1/11/16.

                 *       Meeting of Creditors Chapter 11 held on 2/17/16 at 2PM.

                 *       Deadline for complaint re dischargeability was 4/18/16.

                 *       Professionals approved by the court
                         Geoffrey Aaronson appointed 5/3/16 DE 85 nunc pro tunc to petition date.
                         Joel Aresty was substituted as counsel for Debtor in Possession on
                         7/29/2016 (D.E. 126).
                         David W. Langley entered an appearance as counsel for the Debtor on
                         9/6/2016 and was approved by the Court on October 19, 2016.

                 *       Contested claim disallowance proceedings: pending; see claim treatments.

                 *       Claims bar, proofs of claim due 5/17/16; For a governmental unit: 7/11/16

                 *       Debtor has managed her affairs to enhance the value of her assets. Post
                         petition, the bankruptcy filing, has allowed Debtor to reorganize allowing
                         Debtor to propose a plan for payment of creditors.

                 *       The Debtor obtained a Default against NLG, LLC in Adversary Case
                         No. 16-1439-AJC on March 17, 2017.


        ADVERSARY PROCEEDINGS Selective Advisors and Elizabeth Hazan v. NLG, LLC,
  Adv. Case No. 16-1439-AJC

         On August 21, 2016 Selective filed an Adv. Case No. 16-1439-AJC D.E.1. On 10/21/2016
  Debtor moved to amend the Complaint to add Debtor, Liza Hazan as Plaintiff. On October 20,
  2016. D.E.8. NLG filed their answer and their counterclaims. D.E5 and D.E 6.
         On 11/08/16 Plaintiffs Selective and Hazan filed their motions to dismiss Count I and
  Count II of NLG’s counterclaims and Motion for Judgment on the pleading D.E. 11 and D.E. 12.
  On December 6, 2016 Plaintiffs Selective and Hazan filed their Motion for leave to file Amended


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  Complaint against NLG to add a count under Florida Statute § 65.08 and Florida Statute §
  65.011for quieting title and a count for damages. D.E. 32. On December 19, 2016 This Court
  ordered the parties to submit Orders on Plaintiffs’ motions to dismiss NLG’s counterclaims and
  Plaintiffs’ motions for Judgment on the Pleadings. On December 23, 2016 Debtor Hazan amended
  her Complaint to add additional Counts D.E. 40. On 12/30/2016 This Court entered an Order
  granting Plaintiff’s Motion to amend and allowing Second Amended Complaint. On January 3,
  2017 Plaintiffs filed their Second Motion to Amend Complaint to add additional Tort claims, D.E
  47 and D.E 48, adding additional torts.
          On 01/13/17 NLG’s counsel, Michael Friedman, filed his expedited Motion to Withdraw
  as attorney of record for NLG citing irreconcilable differences D.E 54. On 01/23/17 this Court
  granted Michael Friedman’s Motion to Withdraw, D.E 61, and also granted Plaintiffs Selective
  and Hazan’s Second Motion to amend Complaint. D.E 62.
          On 02/22/17 NLG’s third counsel filed his notice of appearance - James Miller, D.E.75.
  On 03/01/17 NLG’s third counsel filed his expedited motion to withdraw citing once again
  irreconcilable differences and also filed his motion to allow NLG to extend time to meet the
  Court’s deadlines. D.E. 76. On 03/03/2017 Plaintiffs Selective and Hazan filed their Motion for
  Default against NLG for failing to answer Plaintiffs’ Third Amended Complaint. D.E. 85. On
  03/10/17 this court denied NLG’s motion to extend time. D.E. 94.
          On 03/17/17 this Court granted in part Plaintiff’s Motion for Default against Defendant
  NLG and denied Plaintiffs’ motion for judgment on pleadings as moot because of the subsequent
  filings and amendments. This Court granted a Default in favor of Plaintiffs and against Defendant
  NLG and ruled as follows:

                The Court also finds that the withdrawal and retention of multiple counsel by the
                Defendant does not constitute “cause” or “excusable neglect” warranting an
                extension of time to comply with filing requirements. The Court set deadlines in
                this case for the filing of pleadings, specifically the filing of a responsive pleading
                to the second amended complaint; but the Defendant did not meet those deadlines
                and has failed to demonstrate sufficient cause exists to extend those deadlines.
                Accordingly, the Court believes the Plaintiff is entitled to a default…”D.E 100.

         NLG moved to vacate the default on March 24, 2017 (D.E. 104). The Court denied the
  Motion on April 20, 2017 (D.E. 112).
         Present counsel for NLG (its fourth) filed an Expedited Motion to Withdraw on May
  4, 2017. This follows an expedited Motion to Withdraw filed by prior counsel, James Miller,
  on March 1, 2017 which followed an Expedited Motion to Withdraw filed by the Genovese
  firm on January 12, 2017. NLG’s initial counsel moved to withdraw in the main case on
  September 12, 2016.

  Valencia Estates Homeowners’ Association

         The Debtor has entered into a Stipulation for Settlement with Valencia Estates
  Homeowners’ Association, Inc. The Debtor has agreed to approval of the stipulation by this Court
  and the Association has agreed to support the Debtor’s reorganization.

         F.     Projected Recovery of Avoidable Transfers



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         The Debtor has completed her investigation with regard to prepetition transactions.

         11 USC 547(b) preferences limits the look back for an insider preference to one year.
  Florida statute 726.106(2) likewise has a one year limitation.

          11 USC 548 fraudulent transfers has a two year look back, and incorporates Florida Statute
  726 which has a four year look back, but only as to avoidance for intentional hinder delay or fraud,
  or lack of reasonable equivalent value, which facts are not relevant to the plan in this case.

          The Internal Revenue Service has filed a Proof of Claim in this case. The statute of
  limitations for the IRS to contest a transfer is ten years and has not yet run. IRS has not
  challenged any transfers in this case and has not appeared in the case other than to file of a
  Proof of Claim. Debtor transferred the New York Condominium on August 2011. The
  Debtor contends that the New York Condominium had no equity at the time of the transfer.


         G.      Claims Objections

        The Debtor has not completed claim objections but the current plan reflects the objections
  contemplated.

         H.      Current and Historical Financial Conditions

           The identity and fair market value of the estate’s assets are listed in an Exhibit A and B to
  this statement. Debtor is the source of this information and Debtor’s experience with her assets is
  the basis of valuation.
           Debtor’s income based on consulting is not a regular monthly income which would lend
  itself to making monthly payments. Debtor’s income, while significant, is sporadic, as a result of
  which payments are proposed on quarterly or bi-yearly basis.

         I. Taxes

  Debtor has tax liabilities as evidenced by priority claim in plan Class 1.

  III.   SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF
         CLAIMS AND EQUITYINTERESTS

         A.      What is the Purpose of the Plan of Reorganization?

          As required by the Code, the Plan places claims and equity interests in various classes and
  describes the treatment each class will receive. The Plan also states whether each class of claims
  or equity interests is impaired or unimpaired. If the Plan is confirmed, your recovery will be limited
  to the amount provided by the Plan.

         B.      Unclassified Claims



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         Certain types of claims are automatically entitled to specific treatment under the Code.
  They are not considered impaired, and holders of such claims do not vote on the Plan. They may,
  however, object if, in their view, their treatment under the Plan does not comply with that required
  by the Code. As such, the Plan Proponent has not placed the following claims in any class:
                1.        Administrative Expenses

          Administrative expenses are costs or expenses of administering the Debtor’s Chapter 11
  case which are allowed under §507(a)(2) of the Code. Administrative expenses also include the
  value of any goods sold to the Debtor in the ordinary course of business and received within 20
  days before the date of the bankruptcy petition. The Code requires that all administrative expenses
  be paid on the effective date of the Plan, unless a particular claimant agrees to a different treatment.

                 2.      Priority Tax Claims

         Priority tax claims are unsecured income, employment, and other taxes described by
  §507(a)(8) of the Code. Unless the holder of such a §507(a)(8) priority tax claim agrees otherwise,
  it must receive the present value of such claim, in regular installments paid over a period not
  exceeding 5 years from the order of relief.

         See class 1 below

         C.      Classes of Claims and Equity Interests

          The following are the classes set forth in the Plan, and the proposed treatment that they
  will receive under the Plan:

         Classes of Priority Unsecured Claims

         Certain priority claims that are referred to in §§507(a)(1), (4), (5), (6), and (7) of the Code
  are required to be placed in classes. The Code requires that each holder of such a claim receive
  cash on the effective date of the Plan equal to the allowed amount of such claim. However, a class
  of holders of such claims may vote to accept different treatment.

          The following chart lists all classes containing claims under §§507(a)(1), (4), (5), (6), and
  (a)(7) of the Code and their proposed treatment under the Plan:

         Classes of Secured Claims

          Allowed Secured Claims are claims secured by property of the Debtor’s bankruptcy estate
  (or that are subject to setoff) to the extent allowed as secured claims under §506 of the Code. If
  the value of the collateral or setoffs securing the creditor’s claim is less than the amount of the
  creditor’s allowed claim, the deficiency will [be classified as a general unsecured claim].

          The following chart lists all classes containing Debtor’s secured prepetition claims and
  their proposed treatment under the Plan:



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          General unsecured claims are not secured by property of the estate and are not entitled to
  priority under §507(a) of the Code.

         The following chart identifies the Plan’s proposed treatment of Class contains general
  unsecured claims against the Debtor:

         Class[es] of Equity Interest Holders

         Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in
  the Debtor. With respect to an individual who is a debtor, the Debtor is the equity interest holder.



    Admin     Description                                 Treatment
              Geoffrey Aaronson                 Mr. Aaronson has agreed to
                                                accept payment in the amount of
                                                $142,686.86 in fees and
                                                $2,313.13          in       costs
                                                reimbursement, from a third
                                                party in full satisfaction of this
                                                claim.

              Joel Aresty                       Mr. Aresty has agreed to accept
                                                $35,000.00 in fees and
                                                $1,500.00 in costs payable as
                                                follows: $3000 within 5 days of
                                                entry of Order Approving
                                                Settlement (submitted but not
                                                yet entered) followed by 19
                                                payments of $1500 starting May
                                                1, 2016 and an additional $5000
                                                at confirmation.

              David W. Langley                  Paid as awarded or agreed.



              US Trustee                        paid in full at confirmation



                                           Priority Claims



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                                        Priority Claims




     Class #       Description
                                           Impairment                      Treatment



                                                              The $24,663.00 priority tax claim

                      IRS                                     will be paid within five years of the
                                                              petition date. Payments every six
         1                                     yes
                                                              months to include interest on any
                   Claim #3                                   unpaid claim amounts after the

                                                              effective date of the plan at 3%



                                    Secured Claims
                   6913 Valencia Drive Property Fisher Island Florida


                                                          First Secured Mortgage –
                                                          The claim bar date has passed in this
                                                          case, and Chase has not filed a Proof
                                                          Of Claim. Chase was scheduled as
                                                          disputed, contingent and unliquidated.

                                                          Original note in the amount of
                                                          $3,825,000.00 signed by Debtor on
                                                          March 2007 with Washington Mutual
     2         Chase Bank                      yes        Bank. Chase Bank filed an Assignment
                                                          of mortgage on 5/26/16 alleging an
                                                          interest in the loan. Debtor has
                                                          obtained stay relief on November 16,
                                                          2016 to continue State Court litigation
                                                          regarding     the    alleged    default,
                                                          ownership of the loan and standing
                                   no
                                                          issues. If the State Court enters a final
                                                          order finding and determining the


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                                                validity, amount and enforceability of
                                                the mortgage and the assignment
                                                thereof, Debtor shall commence
                                                making payments of principal and
                                                interest on the balance found by a court
                                                of competent jurisdiction to be due and
                                                owing, at the interest rate provided in
                                                the loan documents amortized over the
                                                remaining original term of the loan
                                                (maturity date 2051) commencing 30
                                                days after the State Court Order
                                                becomes final.
                                                Pending adjudication of Chase’s
                                                alleged interest in the loan and the
                                                subject property Chase shall have
                                                adequate protection in the form of an
                                                equity cushion that exceeds the amount
                                                of the loan. See In re DiMaria, 202
                                                B.R. 634 (S.D. Fla 1996).
                                                Chase has agreed to withdraw all
                                                objection   to    this   Disclosure
                                                Statement and the Debtor has
                                                agreed that any objections to
                                                confirmation are preserved.


                                                Selective Advisors Group, LLC
                                                (“Selective”) is the rightful assignee of
                                                the satisfied second mortgage
                                                previously held by NLG (“NLG”).
                                                Selective is the rightful assignee of the
                                                satisfied promissory Note, Mortgage
                                                and Judgment previously held by NLG
            Selective Advisors
     3                                    yes   gainst The Debtor in the amount of
               Group, LLC
                                                $1,618,068.00 plus interest at 11% per
                                                annum (“the Scola Judgment”) from
                                                April 28, 2008,

                                                Selective has recorded a Satisfaction of
                                 yes
                                                this Mortgage and Judgment against
                                                the Debtor and her property on August


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                                                20, 2014 and August 21, 2014. per the
                                                Final Order of Assignment of Hon.
                                                Judge Peter Lopez entered on August
                                                20, 2014.

                                                NLG appeared in this case but failed to
                                                timely file a proof of claim. NLG is
                                                merely a notice party. NLG is not a
                                                scheduled creditor in this case.
                                                Selective is listed in Debtor’s schedule
                                                as her creditor. On May 13, 2016 NLG
                                                moved for stay relief in this court (D.E.
                                                66) but said relief was denied (D.E.
                                                176) on August 23, 2016. Selective, an
                                                affiliate of Debtor’s husband, owns
                                                NLG’s claim through execution on a
                                                judgment against NLG. On August 23,
                                                2016 the bankruptcy court entered
                                                its decision denying NLG’s motion
                                                for relief from the automatic stay.
                                                ECF 176.

                                                        On August 21, 2016, Selective
                                                sued NLG in this bankruptcy Court
                                                ADVERSARY            PROCEEDINGS
                                                Selective Advisors and Elizabeth
                                                Hazan v. NLG, LLC, Adv. Case No.
                                                16-1439-AJC for avoidance of NLG’s
                                                alleged claimed lien on Debtor’s
                                                Homestead property on Valencia Drive
                                                Fisher Island Florida. On January 3,
                                                2016 Hazan, additional Plaintiff and
                                                Selective filed their Motion to amend
                                                their Complaint to add a count seeking
                                                to Quiet Title to the property, and a
                                                number of tort claims, which motion
                                                was granted on January 23, 2016.

                                                        On March 20, 2017 The
                                                Court awarded a default in favor of
                                                Plaintiffs Selective and Hazan and
                                                against Defendant NLG, LLC. (D.E.
                                                100.) The Court granted a Default in
                                                favor of Plaintiffs and against


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                                                Defendant NLG, LLC and ruled as
                                                follows: “The Court also finds that the
                                                withdrawal and retention of multiple
                                                counsel by the Defendant does not
                                                constitute “cause” or “excusable
                                                neglect” warranting an extension of
                                                time to        comply with          filing
                                                requirements. The Court sets deadlines
                                                in this case for the filing of pleadings,
                                                specifically the filing of a responsive
                                                pleading to the second amended
                                                complaint; but the Defendant did not
                                                meet those deadlines and has failed to
                                                demonstrate sufficient cause exists to
                                                extend those deadlines. Accordingly,
                                                the Court believes the Plaintiff is
                                                entitled to a default…”D.E 100

                                                Second Secured Mortgage in the
                                                amount of $2,000.000.00 plus accrued
                                                interest from March 14, 2012.
     4     6913 Valencia LLC              yes
                                 Yes            The Debtor does not contest the
                                                validity or extent of 6913 Valencia
                                                LLC’s Mortgage on her Homestead
                                                property claim.
                                                Valencia      Estates     Community
                                                Association’s (“Valencia”) Claim#10
                                                in the amount of $195,072.14. Treated
                                                in settlement as follows:
                                                1. Debtor paid $2,193.17 Aug 17, 2016
                                                for due maintenance.
                                                2. Debtor has paid 4 months in advance
            Valencia Estates
     5    Community Assn, Inc             yes   for September, October, November
               claim #10                        and December 2016 assessments for a
                                                total amount of $4,484.00 as per the
                                                Stipulation.
                                  no            3. Debtor has paid the 2016 special
                                                assessment in the amount of $6250.00
                                                as per the Stipulation.
                                                4. The Parties agreed that Claim
                                                Number 10 shall be paid in the amount



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                                                of $195,000.00 with 3.5% interest in
                                                the Chapter 11 Plan, over forty-eight
                                                (48) months, with one payment on the
                                                Effective Date of $4,062.00, and
                                                payments every five (5) months
                                                thereafter in the amount of $20,312.50
                                                following the Effective Date until paid
                                                in full, with the interest payments to be
                                                made annually on the twelfth month.

                                                Valencia    Estates     Community
                                                Association, Inc withdrew its
                                                objections to Debtor’s disclosure
                                                and has agreed to vote for Debtor’s
                                                plan.

                                                            Claim settled.

                                                Agreed Order Approving Stipulation
                                                of Settlement of Claim 10 filed by
                                                Valencia    Estates    Homeowners’
                                                Association entered on 11/18/16 D.E
                                                302.

                                                Late filed Proof Of Claim in the
                                                amount of $216,278.97 on 10/20/16 –
                                                Disputed by Debtor and Disallowed
                                                by this Court.


                                                The Debtor has filed an objection to the
                                                amount of the Claim challenging
             Fisher Island
     6    Community Ass'n, Inc            yes   Fisher Island’s standing as a “party in
              Claim #18                         interest.” In re E.S. Bankest, L.C. 321
                                                B.R. 590 (Bankr. S.D. Fla. 2005).
                                                Fisher Island Community Association,
                                  no            Inc. did not timely file a Proof Of
                                                Claim and its Motion to Allow a Late
                                                Filed Claim has been denied on
                                                November 16, 2016.




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                                                        Claimant 3343 West Commercial
                                                        Blvd. 100 (Fisher Island Community
                                                        Association).
                                                        Order    granting  Fisher      Island
                                                        Community Association, Inc.’s Motion
                                                        for relief from Stay entered on
                                                        11/23/16
                                                        Claim Disallowed Claim by this
                                                        Court. No payment through Plan.
              Miami-Dade Water
                     and
                                                        Claim #7 $1502.54 to be paid on the
     7             Sewer             no        yes
                                                            Effective Date of The Plan
                  claim #7

                                                        $393,985.17 - Secured claim shall be
                                                        paid over ten years with interest
                     IRS
                                     no                 payments every 6 months to include
     8             claim #3                    yes
                                                        interest on any unpaid claim amounts
                                                        after the effective date of the plan at
                                                        3%.
                                                         $57649.47 Miami-Dade County Tax
              Miami-Dade County                            Collector Secured claim on 6913
                 Tax Collector                           Valencia Drive property Fisher Island
     9
                                     no        yes          FL 33109 has been paid in full.
                  Claim #6
                                                                Claim #6 paid in full.



                                   Other Disputed Claims

                                    Insider
    Class #       Description                      Impairment      Treatment

                                                                   Claim 8 in the amount of
                                                                   $322,846.72        allegedly
                                                                   secured second mortgage
                  Real Time                                        Line of credit on property
                Resolutions, Inc                                   located at 1 East 62nd Street
                                                       yes
      10           claim #8                                        Apt 1 A NYC NY 10065 is
                                                                   disputed by Debtor.
                                      no                           Alleged      Creditor   has
                                                                   agreed to complete stay
                                                                   relief in settlement of this


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                                                              claim in this case and has
                                                              agreed to support Debtor’s
                                                              plan of reorganization and
                                                              vote the entire amount of its
                                                              alleged claim in favor of
                                                              Debtor’s plan. (ECF 163)

                                                                    Claim settled.




    Class #      Description
                                  Insider        Impairment           Treatment

                                                              The Debtor disputes the
                                                              Claim #14 filed by The
                                                              Board      of    Managers
                                                              Spencer       Condominium
                                                              (“Spencer”). The parties
                                                              reached a Confidential
                                                              Stipulation Of Settlement
                                                              in March 2015 in New
                                                              York. The Debtor is only
                                                              personally liable for the
                                                              amount of $109,554.86
                                                              representing the alleged
                                                              disputed        outstanding
                                                              maintenance fees owed by
              Board of Managers                               Debtor prior to her transfer
                   Spencer                                    of ownership of the
      11                                            yes
                Condominium                                   property located at 1 East
                  claim #14                                   62nd Street Apt 1 A NYC
                                                              NY 10065. This amount
                                                              will be paid by Real Estate
                                    no                        Holdings Group, L.D.C.
                                                              (“REHG”), the owner of
                                                              the       New          York
                                                              condominium located at 1
                                                              East 62nd Street Apt 1A,
                                                              New York, NY 10065.
                                                              REHG, Spencer and Debtor
                                                              Hazan and other parties are
                                                              bound by the Confidential
                                                              Stipulation of Settlement
                                                              executed in March 2015
                                                              (“Settlement”). The vast



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                                                                  remaining portion of the
                                                                  Spencer Condo Board of
                                                                  Managers’ claim is to be
                                                                  paid by the owner of the
                                                                  unit, REHG, per the
                                                                  Settlement executed in
                                                                  March 2015 by the parties.

                                                                  On March 1, 2017 this
                                                                  Court granted Debtor’s
                                                                  Motion for Stay relief,
                                                                  allowing the New York
                                                                  Court      to   exercise
                                                                  jurisdiction over and
                                                                  enforce the confidential
                                                                  Settlement Agreement.

                                                                  On March 2, 2017, New
                                                                  York Supreme Court
                                                                  Judge Singh granted
                                                                  REHG’s      Motion    to
                                                                  Enforce The Confidential
                                                                  Stipulation entered in
                                                                  March 2015 between the
                                                                  parties.

                                                                  No payment through the
                                                                  plan. Claim settled.




                                            Vehicle
                                    2007 Mercedes-Benz S550




    Class #      Description          Insider                            Treatment
                                                     Impairment


                                                                  Stipulation Of Settlement
              Southeast Financial                                 DE 98 approved by this
      12                                                yes
                    LLC                                           Court DE 101.




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                                                                    Vehicle     owned       by
                                                                    Holdings             Trust
                                         no                         Management Group LLC.
                                                                    Southeast Financial LLC’s
                                                                    Secured Lien is guaranteed
                                                                    by the Debtor.

                                                                    Secured claim allowed
                                                                    $17,000 value to be paid at
                                                                    5.25% for 48 months
                                                                    payments in the amount of
                                                                    $393 began on August 1,
                                                                    2016 and are current.

                                                                          Claim settled.



                        Convenience Class Undisputed Unsecured Small Claims
              Paid in full over 18 months beginning month 6 after confirmation with equal
                                     payments every 6 months




                                       Insider?
    Class #       Description
                                        (Yes or        Impairment          Treatment
                                          No)

      13          IRS Claim #3           no                X                 1085.00
              American InfoSource        no
                                                           X                 1130.00
               T Mobile Claim #2
              American InfoSource        no
                                                           X                  461.00
              Direct TV Claim # 9
                 FPL Claim #11           no                X                 2906.93
                   Mount Sinai           no                X                 3,240.00
                   Mount Sinai           no                X                  295.91
                HSBC Bank USA            no
                                                           X                 1070.66
                       NA
               Sterling Emerg Svc        no                X                 2445.30
              Bank of America NA         no                X                 3301.00
               Wells Fargo Claim         no
                                                           X                  323.24
                       #12
                    Real Time            no
                                                           X                12,000.00
              Resolutions Claim #5


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                      Total                                                      28,259.04



                                      Settled Unsecured Claims
      Allowed Undisputed Unsecured Claims will be paid within two years of petition date
            1/11/18 payments beginning month 6 after confirmation and every 6 months



     Class #          Description            Insider?     Impaired                      treatment

                                              (Yes or

                                                No)

       14        JMB Urban 900 Dev.             no            X        $664,380.47 will be paid 41% or
                                                                       275,000.00 per settlement 18 months from
                       claim #4*                                       the petition date. Adversary proceedings
                                                                       16-01188-AJC closed on 7/22/16 and
                                                                       Case settled 16-01188-AJC.

                   S&S Collections              no            X        $21,242 Claim settled for 41% per
                   Simon & Sigalos                                     stipulation to be paid 18 months from
                      claim #13                                        petition date.

                                                                                      Claim settled


                 Newman Ferrara LLP             no            X        $24,818.44 Legal bill Legal work for
                     claim #15                                         Corporation other than the Debtor.


                                                                            The Claim bar date has passed.
                                                                                  Unallowed claim.



  *claim 4 subject of adversary case 16-01188 AJC settlement at 41% of claim

  ** insider claim will subordinate and not be paid until all other allowed claims but reserves right
  to vote for the plan

                                     Disputed Unsecured Claims
                                   not paid until and unless allowed


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                         and then paid within 5 years after confirmation

                                                                        $11,023.83
                                                           Legal Bill for corporation other than
                                                                          Debtor.
               Cross & Simon
     15                                no        X                  Unallowed claim.
                 Claim #1
                                                               No payment through Plan




                                                          Disputed Proof of Claim filed after
                                                          Claim Bar Date. Fuerst Ittleman David
                                                          & Joseph, P.L. is not a creditor of this
           Fuerst Ittleman David                          Debtor. Debtor has filed an objection
              & Joseph, P.L.           no                 to this claim. Fuerst Ittleman David &
     16                                          X        Joseph, P.L. have agreed that they are
                  Claim #16                               not a creditor of this estate.

                                                               No payment through plan.
                                                                   Unallowed Claim.



                       Unsecured Scheduled Disputed and No Claim Filed
                                     Therefore Disallowed

   Allied Collection                             318

   ATT Mobility                                  3919

   First National Collection                     246.08

   Focus Mgt                                     772

   Marzec Law Firm                               0

   Mount Sinai Medical                           31414.15

   Ray Garcia PA                                 7026.15


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   Verizon                                1758

   US Bank NA                             Unknown
                                          The Debtor entered into a Stipulation of
                                          Settlement with US Bank NA (D.E. 345)
                                          granting the parties complete stay relief which
                                          was approved by the Court by Order dated
                                          1/18/2017, D.E. 371.

                                          US Bank did not file a proof of claim and will
                                          not be paid through the Plan. Claim settled.

   NLG, LLC                               NLG, LLC did not timely file a proof of claim
                                          and NLG, LLC’s alleged Claim has been
                                          judicially assigned per The Final Order
                                          entered by Judge Peter Lopez on August 2014.
                                          NLG, LLC will not be paid through the
                                          Plan.
                                          NLG, LLC has no standing in this case and is
                                          not a creditor of the Debtor’s Estate.
                                          NLG appeared in this case but failed to timely
                                          file a proof of claim. NLG, LLC is merely a
                                          notice party. NLG, LLC is not a secured
                                          creditor in this case. Selective Advisors Group,
                                          LLC (“Selective”), is listed in Debtor’s
                                          schedule as her creditor.

                                          On May 13, 2016 NLG, LLC moved for stay
                                          relief in this court (D.E. 66). Selective, an
                                          affiliate of Debtor’s husband, owns NLG’s
                                          claim through execution on a judgment against
                                          NLG, LLC. On August 23, 2016 the
                                          bankruptcy court entered its decision
                                          denying NLG, LLC’s motion for relief from
                                          the automatic stay. ECF 176
                                          On 03/17/17 this Court granted in part
                                          Plaintiff’s Motion for Default against
                                          Defendant NLG, LLC in the Adversary,
                                          Case No. 16-1439 Selective Advisors Group,
                                          LLC and Liza Hazan AKA Elizabeth Hazan
                                          Liza Hazan AKA Elizabeth Hazan V.
                                          Defendant NLG, LLC in the Adversary. See
                                          D.E. 100. This Court granted a Default in


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                                                      favor of Plaintiffs Selective Advisors Group,
                                                      LLC and Debtor Liza Hazan AKA
                                                      Elizabeth Hazan and against Defendant
                                                      NLG, LLC

   Total                                              45453.38




                                                Equity

           Class #          Description         Impairment
                                                                         Treatment

                          Equity Individual
                17                                    no                   retained
                           interest holder



           D.        Means of Implementing the Plan

                     1.    Source of Payments

          Debtor works as a business consultant specializing in identifying locations for high-end
  restaurants and retailers around the world. She has always earned at least $350,000 per year and
  in 2014 a personal income of $420,000.
          Debtor has executed in the last quarter of 2016 contracts that have earned her income
  comparable to past years, to be paid in installments, and additional payments throughout the
  construction phase, and the last remaining portion upon opening of the clients for business.
          Debtor has contracts to expand a nationwide and worldwide very high end retail operator
  that has already over 50 existing stores and is planning to open over 100 new locations in the next
  five years.
          Debtor has also exclusive contracts with high end restaurants and is responsible for their
  expansion nationwide. Debtor is in charge of finding new locations and is also responsible of their
  construction, architectural plans etc all the way through their opening of their new locations.
          Debtor’s husband controls a company called Real Estate Holdings Group, L.D.C.
  (“REHG”) which owns a New York condominium on Fifth Avenue and 62nd street New York Apt
  1 A NYC NY 10065 appraised at $4,500,000.00 that has in excess of $2,500,000.00 in equity. The
  company, REHG, has agreed to refinance and also sell the condominium to fund the plan in order
  to assure successful reorganization and completion of the plan.
          The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
  Fisher Island, Florida (the “Property”) valued at $12 million.
          Additionally debtor has scheduled household furniture, dishes and china, household
  electronics and clothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.


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         The equity in Fisher Island would also support a refinancing, which could also be used
  support funding a plan if necessary.

                 2.      Post-confirmation Management

  The Post-Confirmation Managers of the Debtor, and their compensation, shall be as follows:

   Name                Affiliations        Insider (yes or     Position            Compensation
                                           no)?
   Liza Hazan          Debtor              yes                 Debtor              n/a

          E.     Risk Factors

          Certain substantial risk factors are inherent in most plans of reorganization in Chapter 11
  cases. If such Plans are accepted, it is usually because they represent a greater return in dividends
  than in a liquidating Chapter 7 case. This Plan bears the risk that the Debtor’s income may be
  reduced or her expenses may increase, all of which may reduce the Debtor's ability to make
  payments under this Plan. However, any distribution to unsecured creditors will be greater than
  what would be realized in liquidation.

       ALL THE RISK FACTORS INHERENT IN A PLAN OF REORGANIZATION UNDER
  CHAPTER 11 ARE PRESENT IN THIS CASE. CREDITORS ARE URGED TO CAREFULLY
  READ THIS DISCLOSURE STATEMENT AND THE ACCOMPANYING PLAN OF
  REORGANIZATION SO THAT AN INFORMED JUDGMENT CAN BE MADE WITH
  RESPECT TO VOTING ON THE PLAN.


          F.     Executory Contracts and Unexpired Leases

          The Plan, in Article 6, lists all executory contracts and unexpired leases that the Debtor
  will assume under the Plan. There are none. Assumption means that the Debtor has elected to
  continue to perform the obligations under such contracts and unexpired leases, and to cure defaults
  of the type that must be cured under the Code, if any. Article also lists how the Debtor will cure
  and compensate the other party to such contract or lease for any such defaults.

          If you object to the assumption of your unexpired lease or executory contract, the proposed
  cure of any defaults, or the adequacy of assurance of performance, you must file and serve your
  objection to the Plan within the deadline for objecting to the confirmation of the Plan, unless the
  Court has set an earlier time.

  All executory contracts and unexpired leases that are not listed in Article 6 will be rejected under
  the Plan. Consult your adviser or attorney for more specific information about particular contracts
  or leases.




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  If you object to the rejection of your contract or lease, you must file and serve your objection to
  the Plan within the deadline for objecting to the confirmation of the Plan.

         The Deadline for Filing a Proof of Claim Based on a Claim Arising from the Rejection
  of a Lease or Contract is no later than thirty (30) days after the date of the order confirming this
  Plan. Any claim based on the rejection of a contract or lease will be barred if the proof of claim is
  not timely filed, unless the Court orders otherwise.

         G.      Tax Consequences of Plan

         Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
  Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

  A summary description of certain United States (“U.S.”) federal income tax consequences of the
  Plan is provided below. The description of tax consequences below is for informational purposes
  only and, due to lack of definitive judicial or administrative authority or interpretation, substantial
  uncertainties exist with respect to various U.S. federal income tax consequences of the Plan as
  discussed herein. Only the potential material U.S. federal income tax consequences of the Plan to
  the Debtor and to a hypothetical investor typical of the holders of Claims and Interests who are
  entitled to vote to confirm or reject the Plan are described below. No opinion of counsel has been
  sought or obtained with respect to any tax consequences of the Plan, and no tax opinion is being
  given in this Disclosure Statement. No rulings or determinations of the Internal Revenue Service
  (the “IRS”) or any other tax authorities have been obtained or sought with respect to any tax
  consequences of the Plan, and the discussion below is not binding upon the IRS or such other
  authorities. No representations are being made regarding the particular tax consequences of the
  confirmation and consummation of the Plan to the Debtor or to any holder of Claims in Impaired
  Classes or Class 4 Equity Interests. No assurance can be given that the IRS would not assert, or
  that a court would not sustain, a different position from any discussed herein.
  The discussion of the U.S. federal income tax consequences below is based on the Internal
  Revenue Code of 1986, as amended (the “Tax Code”), Treasury Regulations promulgated and
  proposed thereunder, judicial decisions, and administrative rulings and pronouncements of the IRS
  and other applicable authorities, all as in effect on the date hereof. Legislative, judicial or
  administrative changes or interpretations enacted or promulgated in the future could alter or
  modify the analyses and conclusions set forth below. It cannot be predicted at this time whether
  any tax legislation will be enacted or, if enacted, whether any tax law changes contained therein
  would affect the tax consequences to the holders of Claims. Any such changes or interpretations
  may be retroactive and could significantly affect the U.S. federal income tax consequences
  discussed below.

  THIS DISCUSSION DOES NOT ADDRESS FOREIGN, STATE OR LOCAL TAX
  CONSEQUENCES OF THE PLAN, NOR DOES IT PURPORT TO ADDRESS THE U.S.
  FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN TO SPECIAL CLASSES
  OF TAXPAYERS (SUCH AS FOREIGN ENTITIES, NON RESIDENT ALIEN
  INDIVIDUALS, PASS-THROUGH ENTITIES SUCH AS PARTNERSHIPS AND
  HOLDERS THROUGH SUCH PASS-THROUGH ENTITIES, S CORPORATIONS,
  MUTUAL FUNDS, INSURANCE COMPANIES, FINANCIAL INSTITUTIONS, SMALL



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  BUSINESS INVESTMENT COMPANIES, REGULATED INVESTMENT COMPANIES,
  CERTAIN SECURITES TRADERS, BROKER-DEALERS AND TAX-EXEMPT
  ORGANIZATIONS). FURTHERMORE, ESTATE AND GIFT TAX ISSUES ARE NOT
  ADDRESSED HEREIN AND TAX CONSEQUENCES RELATING TO THE
  ALTERNATIVE MINIMUM TAX ARE GENERALLY NOT DISCUSSED HEREIN.

  NO REPRESENTATIONS ARE MADE REGARDING THE PARTICULAR TAX
  CONSEQUENCES OF THE PLAN TO ANY HOLDER OF CLAIMS. EACH HOLDER OF
  A CLAIM IS STRONGLY URGED TO CONSULT ITS OWN TAX ADVISOR
  REGARDING THE U.S. FEDERAL, STATE, LOCAL AND FOREIGN TAX
  CONSEQUENCES OF THE TRANSACTIONS DESCRIBED HEREIN AND IN THE
  PLAN.

  IV.    CONFIRMATION REQUIREMENTS AND PROCEDURES

          To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the
  Code. These include the requirements that: the Plan must be proposed in good faith; at least one
  impaired class of claims must accept the plan, without counting votes of insiders; the Plan must
  distribute to each creditor and equity interest holder at least as much as the creditor or equity
  interest holder would receive in a chapter 7 liquidation case, unless the creditor or equity interest
  holder votes to accept the Plan; and the Plan must be feasible. These requirements are not the only
  requirements listed in §1129, and they are not the only requirements for confirmation.

         11 USC 1129(a)(15) provides: In a case in which the debtor is an individual and in which
  the holder of an allowed unsecured claim objects to the confirmation of the plan—
  (A) the value, as of the effective date of the plan, of the property to be distributed under the plan
  on account of such claim is not less than the amount of such claim; or
  (B) the value of the property to be distributed under the plan is not less than the projected
  disposable income of the debtor (as defined in section 1325 (b)(2)) to be received during the 5-
  year period beginning on the date that the first payment is due under the plan, or during the period
  for which the plan provides payments, whichever is longer.

        In the case at bar, Debtor has provided for payments not less than projected disposable
  income of the debtor during a five year period beginning with the first payment due under the plan.

  A.     Who May Vote or Object

          Any party in interest may object to the confirmation of the Plan if the party believes that
  the requirements for confirmation are not met.

          Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A
  creditor or equity interest holder has a right to vote for or against the Plan only if that creditor or
  equity interest holder has a claim or equity interest that is both (1) allowed or allowed for voting
  purposes and (2) impaired.




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          In this case, the Plan Proponent believes that classes are impaired and that holders of claims
  in each of these classes are therefore entitled to vote to accept or reject the Plan. The Plan
  Proponent believes that classes are unimpaired and that holders of claims in each of these classes,
  therefore, do not have the right to vote to accept or reject the Plan.

                  1. What Is an Allowed Claim or an Allowed Equity Interest?

          Only a creditor or equity interest holder with an allowed claim or an allowed equity interest
  has the right to vote on the Plan. Generally, a claim or equity interest is allowed if either (1) the
  Debtor has scheduled the claim on the Debtor’s schedules, unless the claim has been scheduled as
  disputed, contingent, or unliquidated, or (2) the creditor has filed a proof of claim or equity interest,
  unless an objection has been filed to such proof of claim or equity interest. When a claim or equity
  interest is not allowed, the creditor or equity interest holder holding the claim or equity interest
  cannot vote unless the Court, after notice and hearing, either overrules the objection or allows the
  claim or equity interest for voting purposes pursuant to Rule 3018(a) of the Federal Rules of
  Bankruptcy Procedure.

         The deadline for filing a proof of claim in this case was 5/17/16 for claims and 7/16/16
  for government units.

                  2. What Is an Impaired Claim or Impaired Equity Interest?

           As noted above, the holder of an allowed claim or equity interest has the right to vote only
  if it is in a class that is impaired under the Plan. As provided in §1124 of the Code, a class is
  considered impaired if the Plan alters the legal, equitable, or contractual rights of the members of
  that class.

                  3. Who is Not Entitled to Vote

          The holders of the following five types of claims and equity interests are not entitled to
          vote:

          • holders of claims and equity interests that have been disallowed by an order of the Court;
          • holders of other claims or equity interests that are not “allowed claims” or “allowed equity
          interests” (as discussed above), unless they have been “allowed” for voting purposes.
          • holders of claims or equity interests in unimpaired classes;
          • holders of claims entitled to priority pursuant to §§507(a)(2), (a)(3), and (a)(8) of the
          Code; and
          • holders of claims or equity interests in classes that do not receive or retain any value under
          the Plan;
          • administrative expenses.

  Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the
  Confirmation of the Plan [and to the Adequacy of the Disclosure Statement].

                  4. Who Can Vote in More Than One Class



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          A creditor whose claim has been allowed in part as a secured claim and in part as an
  unsecured claim, or who otherwise hold claims in multiple classes, is entitled to accept or reject a
  Plan in each capacity, and should cast one ballot for each claim.

         B.      Votes Necessary to Confirm the Plan

          If impaired classes exist, the Court can not confirm the Plan unless (1) at least one impaired
  class of creditors has accepted the Plan without counting the votes of any insiders within that class,
  and (2) all impaired classes have voted to accept the Plan, unless the Plan is eligible to be
  confirmed by “cram down” on non accepting classes, as discussed later in Section B.2.

          A class of claims accepts the Plan if both of the following occur: (1) the holders of more
  than one-half (1/2) of the allowed claims in the class, who vote, cast their votes to accept the Plan,
  and (2) the holders of at least two-thirds (2/3) in dollar amount of the allowed claims in the class,
  who vote, cast their votes to accept the Plan.

        A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in
  amount of the allowed equity interests in the class, who vote, cast their votes to accept the Plan.

                 2. Treatment of Non accepting Classes

          Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm
  the Plan if the non accepting classes are treated in the manner prescribed by §1129(b) of the Code.
  A plan that binds non accepting classes is commonly referred to as a “cram down” plan. The Code
  allows the Plan to bind non accepting classes of claims or equity interests if it meets all the
  requirements for consensual confirmation except the voting requirements of §1129(a)(8) of the
  Code, does not “discriminate unfairly,” and is “fair and equitable” toward each impaired class that
  has not voted to accept the Plan.

  You should consult your own attorney if a “cramdown” confirmation will affect your claim or
  equity interest, as the variations on this general rule are numerous and complex.



         C.      Liquidation Analysis

          To confirm the Plan, the Court must find that all creditors and equity interest holders who
  do not accept the Plan will receive at least as much under the Plan as such claim and equity interest
  holders would receive in a chapter 7 liquidation. A liquidation analysis is attached to this
  Disclosure Statement as exhibit B.

         D.      Feasibility




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          The Court must find that confirmation of the Plan is not likely to be followed by the
  liquidation, or the need for further financial reorganization, of the Debtor or any successor to the
  Debtor, unless such liquidation or reorganization is proposed in the Plan.

                 1. Ability to Initially Fund Plan

          The Plan Proponent believes that the Debtor will have enough cash on hand on the effective
  date of the Plan to pay all the claims and expenses that are entitled to be paid on that date. Tables
  showing the amount of cash on hand on the effective date of the Plan, and the sources of that cash
  are attached to this disclosure statement as Exhibits C and D.

                 2. Ability to Make Future Plan Payments And Operate Without Further
                 Reorganization

           The Plan Proponent must also show that it will have enough cash over the life of the Plan
  to make the required Plan payments.
           The Plan Proponent has provided projected financial information. Those projections are
  listed in Exhibit D.

         You Should Consult with Your Accountant or other Financial Advisor If You Have Any
  Questions Pertaining to These Projections.


  V.     EFFECT OF CONFIRMATION OF PLAN

         A.      DISCHARGE OF DEBTOR

           Discharge. In a case in which the debtor is an individual—
  (A) unless after notice and a hearing the court orders otherwise for cause, confirmation of the plan
  does not discharge any debt provided for in the plan until the court grants a discharge on
  completion of all payments under the plan;
  (B) at any time after the confirmation of the plan, and after notice and a hearing, the court may
  grant a discharge to the debtor who has not completed payments under the plan if—
  (i)the value, as of the effective date of the plan, of property actually distributed under the plan on
  account of each allowed unsecured claim is not less than the amount that would have been paid on
  such claim if the estate of the debtor had been liquidated under chapter 7 on such date;
  (ii) modification of the plan under section 1127 is not practicable; and
  (iii) subparagraph (C) permits the court to discharge; and
  (C)(*) the court may grant a discharge if, after notice and a hearing held not more than 10 days
  before the date of the entry of the order granting the discharge, the court finds that there is no
  reasonable cause to believe that—
  (i) section 522(q)(1) may be applicable to the debtor; and
  (ii) there is pending any proceeding in which the debtor may be found guilty of a felony of the
  kind described in section 522(q)(1)(A) or liable for a debt of the kind described in section
  522(q)(1)(B); and if the requirements of subparagraph (A) or (B) are met.




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          Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
  Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth herein,
  upon completion all payments required under the Plan to unsecured and priority creditors. Upon
  the satisfaction of all payments required under the Plan to unsecured and priority creditors, the
  Reorganized Debtor shall file a Final Report of Estate and Motion for Final Decree Closing Case
  on the Court approved local form.
          (a)     Notwithstanding the above, the Debtor may request that the Court close this
  bankruptcy proceeding prior to the entry of an Order of Discharge, pursuant to the following
  procedures:
          (b)     The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to Entry
  of Order of Discharge (the “Motion to Close”) after the following events have occurred: (I)
  payment of the Initial Payment (defined in the Plan) to unsecured and priority creditors; (ii)
  payment of all outstanding quarterly United States Trustee Fees as of the date of the Order
  approving the Motion to Temporarily Close; and (iii) the filing of all outstanding federal income
  tax returns. The Motion to Close shall certify that each of the above conditions have been met.
          (c)     The Motion to Close (and Notice of Hearing thereto) shall be served to all creditors
  and interested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. § 350(a),
  if each of the above conditions have been met.
          (d)     During the time that this bankruptcy case is temporarily closed, the provisions of
  the confirmation order shall remain in effect with respect to the treatment of creditor claims that
  existed as of the bankruptcy petition date, as long as the Debtor continues to be in compliance with
  the Plan and the Court’s Order Confirming Debtor’s Plan of Reorganization (the “Confirmation
  Order”), and as long as the Debtor timely makes all of the payments to unsecured and priority
  creditors, as contemplated under the Plan.
          (e)     Upon the satisfaction of all payments required under the Plan to creditors, the
  Debtor may file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b).
  Any Clerk of Court fees associated with filing of the motion to reopen shall be waived. The motion
  to reopen shall be verified and served upon all creditors and parties in interest and shall
  demonstrate that the Debtor has made all of the payments contemplated under the Plan to creditors.
          (f)     Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file
  a Final Report of Estate and Motion for Final Decree Closing Case on the Court-approved local
  form, which shall certify that all payments required under the Plan to creditors have been made.
  The Court may then grant the Debtor a discharge, pursuant to 11 U.S.C. § 1141(d)(5).




         B.      Modification of Plan

       The Plan Proponent may modify the Plan at any time before confirmation of the Plan.
  However, the Court may require a new disclosure statement and/or revoting on the Plan.

           The Plan Proponent may also seek to modify the Plan at any time after confirmation only
  if (1) the Plan has not been substantially consummated and (2) the Court authorizes the proposed
  modifications after notice and a hearing.




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         C.      Final Decree

          Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules
  of Bankruptcy Procedure, the Plan Proponent, or such other party as the Court shall designate in
  the Plan Confirmation Order, shall file a motion with the Court to obtain a final decree to close the
  case. Alternatively, the Court may enter such a final decree on its own motion.

                                 Respectfully submitted May 9, 2017:

                                          By: /s/ Liza Hazan
                                          The Plan Proponent

                                      By: David W. Langley, Esq
                                        8551 W. Sunrise Blvd.
                                               Suite 303
                                         Plantation, FL 33322
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                                   Attorney for the Plan Proponent




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                                            IN THE CIRCUIT COURT OF THE 11TH
                                            JUDICIAL CIRCUIT IN AND FOR
                                            MIAMI-DADE COUNTY, FLORIDA

                                            CIRCUIT CIVIL DIVISION

                                            CASE NO.: 11-42770-CA 02



   NLG, LLC,

          Plaintiff,
   v.

   ELIZABETH HAZAN; an individual;
   UNKNOWN SPOUSE OF ELIZABETH HAZAN;
   an individual; 6913 VALENCIA, LLC,
   a Florida Limited Liability Corporation;
   J.P. MORGAN CHASE BANK, N.A.;
   a foreign Corporation, FISHER ISLAND
   COMMUNITY ASSOCIATION, INC.; a Florida
   Non Profit Corporation; VALENCIA ESTATES
   HOMEOWNERS ASSOCIATION, INC., a Florida
   Non Profit Corporation; and JOHN DOE and
   JANE DOE, individually, as unknown Tenants
   in possession of the Subject Property

          Defendants




                                ORDER GRANTING FORECLOSURE

          THIS ACTION came before the Court on October 14, 2015, on Plaintiff's Second

   Amended Motion for Judgment of Foreclosure and pursuant to the Florida Rules of Civil

   Procedure and the opinion of the Third District Court of Appeal, the Court hereby FINDS,

   ORDERS AND ADJUDGES as follows:
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          The history of the litigation between the parties was set out in detail when the matter

   went up on appeal to the Third District. The facts and procedural history recited in the opinion

   constitute the law of the case. In its opinion, the Third District stated as follows:

          Facts and Procedural Background

           It is undisputed that NLG sold a home on Fisher Island to Ms. Hazan in 2007 for
   $5,100,000.00, receiving a purchase money note and mortgage on the residence from Ms.
   Hazan for $1,275,000.00 of that amount. The note and mortgage required an instalment
   payment of $300,000.00 one month after the sale, and the note was to mature six months after
   the sale.

           When the required payments were not forthcoming, NLG filed a lawsuit for the
   collection of the promissory note in the Miami-Dade circuit court. A settlement agreement was
   entered into, but required payments again were not made. In April 2008, and in accordance
   with the settlement agreement, a default final judgment on the promissory note was entered
   against Ms. Hazan and in favor of NLG for $1,618,071.29, plus post-judgment interest. That
   judgment was recorded on May 2, 2008. The final judgment was affirmed by this Court. Hazan
   v. NLG, LLC, 995 So. 2d 504 (Fla. 3d DCA 2008}. Ms. Hazan then obtained new counsel and
   moved to vacate the judgment on the promissory note. The motion was denied and Ms.
   Hazan's further appeal was dismissed by this Court. Hazan v. NLG, LLC, 19 So. 3d 319 (Fla. 3d
   DCA 2009}.

           NLG sought and obtained a sheriff's deed to the Fisher Island property by enforcing its
   judgment. Ms. Hazan moved to vacate that deed, however, on the grounds that the property
   was her homestead. The then-assigned circuit judge entered an order in December 2008
   "quieting title," although Ms. Hazan's motion and the record establish that the order merely
   extinguished the sheriff's deed. Later, and in this appeal as well, Ms. Hazan argued that the
   quiet title order also extinguished the lien of NLG's mortgage.

          The parties nevertheless entered into a second settlement agreement, and Ms. Hazan
   made three of the specified payments before defaulting again in February 2009. After
   additional settlement negotiations were unavailing, NLG filed a complaint to foreclose its
   mortgage on the Fisher Island home in 2011. In 2012, NLG amended its complaint to add as a
   defendant the holder of a recorded junior mortgage for $2,000,000.00. NLG alleges that this
   mortgage was given by Ms. Hazan to a sham Florida limited liability company established by her
   mother.

          The foreclosure case proceeded to non-jury trial, and the trial court entered a final
   judgment in favor of Ms. Hazan, incorporating the transcript of his post-trial ruling (January 2,
   2013} into the final judgment "as though set forth herein." This appeal followed.


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   NLG, LLC v. Hazan, 151 So. 3d 455, 455-456 (Fla. 3d DCA 2014)

             The Third District issued its mandate on November 25, 2014.

             Status of the Pleadings After Mandate

             Since the mandate issued, Defendant Hazan has been trying to reopen the case to

   amend her answer and affirmative defenses, starting on December 2, 2014, with the filing by a

   non-party, Sean Neil Meehan, Hazan's husband, of a Satisfaction of Mortgage. NLG filed it

   Motion for Entry of Judgment of Foreclosure on January 6, 2015.            On January 12, 2015,

   Attorney Ray Garcia entered an appearance for Hazan, and proceeded to file eleven Notices of

   Filing.   He followed this with a 65-page Verified Motion to Dismiss and a 64-page Verified

   Memorandum in Opposition to Plaintiff Motion for Entry of Final Judgment. On March 3, 2015,

   this Court denied Hazan's Motion to Dismiss.

             Mr. Garcia then filed a 21-page Motion to Take Judicial Notice of Court Orders, a 64-

   page Motion for Summary Judgment, followed by 17 Notices of Filing. On April 8, 2015, Mr.

   Garcia filed Hazan's Motion for Leave to File Amended Answer, seeking to raise seventeen (17)

   affirmative defenses.

             On May 1, 2015, this Court denied Hazan's Motion to Amend. Thus, as the pleadings

   stand, there is no legal reason to deny NLG a judgment pursuant to the mandate of the Third

   District. In fact, it would be error to do otherwise. See Bank of Am., N.A. v. Lukas, 166 So. 3d

   965, 966 (Fla. 4th DCA 2015), citing Feltus v. U.S. Bank Nat'/ Ass'n, 80 So. 3d 375, 376 (Fla. 2d

   DCA 2012) ("A pleading filed in violation of rule 1.190(a) is a nullity, and the controversy should

   be determined based on the properly filed pleadings.").




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          At that same hearing on May 1, 2015, Attorney Mark Cohen appeared and argued to the

   Court on behalf of Selective Advisors Group, LLC, even though that entity had never moved to

   intervene. Although Mr. Cohen represented to this Court that he did not know what the

   relationship was between Hazan and Selective Advisors, it is undisputed that the sole Managing

   Member of Selective Advisors, Sean Neil Meehan, is Hazan' s husband. After this Court denied

   Hazan's motion to amend, Selective still did not move to intervene. It was not until October 7,

   2015, that Selective Advisors first moved to intervene.       A comparison of the Motion to

   Intervene with Hazan's Proposed Answer and Affirmative Defenses reveals that the Motion is

   trying to inject the very same issues and arguments that this Court ruled could not be

   presented by Hazan.     Nothing happened after May 1, 2015, that would change Selective's

   alleged rights to intervene, other than the fact that they filed a Satisfaction of Judgment of the

   New York Judgment by Confession discussed below. The motion may be rejected as a matter of

   law.

          Intervention

          Under Florida Rule of Civil Procedure 1.230, a motion to intervene may be granted to

   "[a]nyone claiming an interest in pending litigation." Selective Advisors' motion fails to set

   forth what interest it is claiming in the pending litigation.      The ability to intervene is a

   permissive right granted in the trial court's discretion. De Sousa v. JP Morgan Chase, N.A., 170

   So. 3d 928, 929 (Fla. 4th DCA 2015); Andresix Corp. v. Peoples Downtown Nat'/ Bank, 419 So. 2d

   1107, 1107 (Fla. 3d DCA 1982) ("We affirm the trial court's order denying the motion to

   intervene filed by Andresix Corporation upon a holding that Andresix, as a purchaser of




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   property which was then the subject of a mortgage foreclosure action and accompanying lis

   pendens by Peoples Downtown National Bank, was not entitled to intervene in such action.").

          The Florida Supreme Court long ago explained the requirements for intervention. In

   Union Cent. Life Ins. Co. v. Carlisle, 593 So. 2d 505 (Fla. 1992), the Court stated that "[t]he test

   to determine what interest entitles a party to intervene is set forth in Morgareidge v. Howey,

   75 Fla. 234, 238-39, 78 So. 14, 15 (1918):

                 [T]he interest which will entitle a person to intervene ... must be in the
          matter in litigation, and of such a direct and immediate character that the
          intervenor will either gain or lose by the direct legal operation and effect of the
          judgment. In other words, the interest must be that created by a claim to the
          demand in suit or some part thereof, or a claim to, or lien upon, the property or
          some part thereof, which is the subject of litigation."

   Carlisle, 593 So. 2d at 507.

          A careful review of the motion to intervene does not disclose that Selective has any

   interest in the litigation. The Wherefore Clause merely requests intervention. But if Selective is

   trying to collect on the Judgment by Confession, it is undisputed that the judgment has been

   satisfied. Selective's efforts to intervene are a transparent attempt by Hazan's husband, not to

   assert its rights, but to obstruct the foreclosure of his wife's property. To allow intervention by

   Selective would be an abuse of the intervention rule.

           Furthermore, intervention would not achieve such an obstruction. As the Third District

   recently stated in State v. Fla. Workers' Advocates, 167 So. 3d 500 (Fla. 3d DCA 2015), even if

   Selective were allowed to intervene, they would take "the procedural posture of the case as it

   stood when they were allowed to intervene." Id. at 505, citing Omni Nat'/ Bank v. Ga. Banking

   Co., 951 So. 2d 1006 (Fla. 3d DCA 2007). Its intervention would be in "subordination to the

   then-existing claims in the lawsuit." The court then quotes from Envtl. Confed'n of Sw. Fla. Inc.

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   v. IMC Phosphates, Inc., 857 So. 2d 207, 211 (Fla. 1st DCA 2003): "Intervention is a dependent

   remedy in the sense that an intervenor may not inject a new issue into the case . . . .

   Furthermore, the rights of an intervenor are conditional in that they exist only so long as the

   litigation continues between the parties ... "   Fla. Workers' Advocates, 167 So. 3d at 505.

   (emphasis added).

          Moreover, courts are very reluctant to grant intervention after a final judgment has

   been entered. The narrow exception to the rule prohibiting post-judgment intervention arises

   when the interests of justice so require. De Sousa, 170 So. 3d at 930, citing Wags Transp. Sys.,

   Inc. v. City of Miami Beach, 88 So. 2d 751, 752 (Fla. 1956). In De Sousa, the court stated that the

   case did not align with the circumstances in Wags to meet the narrow exception to the general

   rule prohibiting post-judgment intervention, in part because Wags involved the subject matter

   of zoning, not foreclosure. Id.

          Substitution

          The motion to intervene also requests to substitute the party plaintiff based on an

   alleged judicial assignment of a judgment in Case No. 07-19532 that dates back to a non-final

   order entered by Judge Peter Lopez (the "Lopez Order") on August 20, 2014.              As will be

   discussed later, that judgment was judicially assigned while its enforceability was pending in an

   appeal of this case. It is significant that Selective waited over a year since the opinion of the

   Third District was announced to claim that NLG's interest in the litigation had been transferred

   and it was entitled to be substituted under Florida Rule of Civil Procedure 1.260(c).

          This effort suffers from the same infirmity as Selective's efforts to intervene, as it is

   undisputed that there is no outstanding judgment against NLG. Nothing prevented Selective


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   from filing its motion after August 20, .2014, other than Mr. Meehan hoping that his wife would

   prevail in the pending appeal. The only new developments since August 20, 2014, are (1) the

   opinion reversing this case and the subsequent mandate, and (2) the Consent Judgment from

   the New York State Court that was domesticated in Miami-Dade County under Case No. 14-

   10475, which has been dismissed as the underlying judgment has been satisfied.

          Selective Advisors' Arguments

          Even though Selective Advisors should be denied leave to intervene as a matter of law,

   this Court will discuss the arguments raised by it. In a nutshell, Selective's motion seeks to

   argue that this action cannot proceed because NLG has lost all its rights against Hazan.

          First, the motion seeks to have Selective substituted as party plaintiff, based on the

   Lopez Order" in Case No. 14-10475. Selective argues that this order allows it to stand in the

   shoes of NLG ostensibly to collect on a New York Judgment by Confession that had been

   domesticated in that case. However, on October 1, 2015, the case was dismissed by Judge

   Lopez, stating: "It appearing the judgment has been satisfied of record, this cause is dismissed

   & no further proceeding will be taken." Because it is undisputed that the underlying judgment

   has been satisfied and the Florida case domesticating that judgment has been dismissed,

   Selective's right to stand in the shoes of NLG have been likewise extinguished.

          Next Selective argues that a judgment entered in Case No. 07-19532 CA 11 was assigned

   to it in the Lopez Order. NLG had obtained a Default Final Judgment on April 28, 2008, in the

   amount of $1,618,071.29, against Hazan ("Default Judgment"). In the foreclosure action filed

   on December 21, 2011-long before the 2014 Judge Lopez domestication action-NLG sought

   to foreclose on the money due under the Default Judgment in both the initial complaint and the


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   amended complaint. In Paragraph 10 of the Amended Complaint that was tried on December

   26 and 27, 2012, NLG pleaded the Default Judgment. In her Answer, Hazan's second and third

   affirmative defenses asserted that the Default Judgment was not owned by NLG. The sixth

   affirmative defense alleged that NLG improperly split its causes of action by obtaining a Default

   Judgment on the promissory note without pursuing a foreclosure at that time. The seventh

   affirmative defense was that NLG was forum shopping by filing a new action instead of

   proceeding under the same case in which it had obtained the Default Judgment. The eighth

   affirmative defense was that after obtaining the Default Judgment, NLG entered into a

   settlement agreement with Hazan that did not reserve the right to foreclose and now its only

   remedy was under the Default Judgment. The ninth affirmative defense was that NLG was

   limited to enforcing the Default Judgment in the division in which it was obtained.

               The case went to trial on December 26 and 27, 2012, at the end of which Judge Eig

   entered judgment in favor of Hazan by way of a "Final Judgment for Defendant Elizabeth

   Hazan" dated February 8, 2013. That was the judgment which was appealed to the Third

   District.     The District Court heard oral argument on July 14, 2014, and issued its opinion

   reversing the final judgment on September 3, 2014. It subsequently issued its mandate on

   November 25, 2014.

           As can be seen from this chronology, at the time of the entry of the Lopez Order, there

   was no Default Judgment that could have been assigned, as that judgment had been subsumed

   into the final judgment in favor of Hazan. See Geico Gen. Ins. Co. v. Paton, 150 So. 3d 804, 808

   (Fla. 4th DCA 2014) (stating that the final judgment subsumed an earlier order).




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          Even if the Default Judgment survived the Final Judgment in favor of Hazan, the issue of

   its enforceability was an integral part of the litigation and trial in this case, not a collateral

   matter. In fact, in its Answer Brief to the Third District, it was Hazan's first argument-that the

   trial court correctly found that NLG was limited to the remedy of its existing money judgment

   because of the doctrine of election of remedies.        Clearly the enforceability of the Default

   Judgment was the central issue before the Third District after the filing of the Notice of Appeal

   on March 11, 2013.    In fact, in its Analysis, this is the first issue discussed in the district court

   opinion: "First, NLG's prior suit on the promissory note and recordation of a judgment on the

   note was not an election of remedies precluding the later enforcement of the mortgage." NLG,

   LLC v. Hazan, 151 So. 3d 455, 456 (Fla. 3d DCA 2014}.

          It is well established that while an appeal is pending, the lower court may not enter

   orders that will deprive the appellate court of jurisdiction. During the appeal, the lower court's

   jurisdiction is limited to enforcing the judgment. See Wassman v. Travelers Cas. & Sur. Co., 797

   So. 2d 626, 631 (Fla. 5th DCA 2001} ("It is also clear that 'when a case has merged into a final

   judgment and an appeal has been perfected therefrom ... jurisdiction in the trial court

   terminates, except as to enforcement of the judgment."'), citing State ex rel. American Home

   Ins. Co. v. Seay, 355 So. 2d 822, 824 (Fla. 4th DCA 1978). See also Waltham A. Condominium

   Asso. v. Village Management, Inc., 330 So. 2d 227, 229 (Fla. 4th DCA 1976} (stating that "the

   trial court is without power to finally dispose of the cause by dismissal or otherwise so as to in

   form or effect interfere with the power and authority of the appellate court."); see also State ex

   rel. Schwartz v. Lantz, 440 So. 2d 446, 448-449          (Fla. 3d DCA 1983} (stating that "Since

   Waltham, every district court in this state has, at least once, vacated a trial court order because


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   it altered a judgment on appeal.") (citing numerous cases). And see Fulton v. Poston Bridge &

   Iron, Inc., 122 So. 2d 240, 242 (Fla. 3d DCA 1960) (quoting from Corpus Juris Secundum that

   "the lower court has no jurisdiction, pending an appeal by amendment of the record or

   proceedings or otherwise, to change the status of the case or to interfere with the rights of

   parties under the judgment or order."); Fritz v. Sroczyk, 202 So. 2d 796, 798 (Fla. 1st DCA 1967)

   ("Upon the filing of the notice of appeal the trial court lost jurisdiction to take any further

   ac t .ion...") .

              It is axiomatic that this Court in whose division the foreclosure action had been filed

   since 2011, had no jurisdiction to judicially assign the Default Judgment during the appeal, as

   the validity and enforceability of the judgment was pending before the Third District. Thus,

   while the foreclosure suit was pending before the Third District, the only proper remedy for

   Selective to pursue would have been to seek leave from the appellate court to relinquish

   jurisdiction for the purpose of judicially assigning the judgment. Selective chose not to elect

   that remedy.

              The "New York Judgment by Confession"

              The foreclosure action in this case was tried by Judge Eig on December 26 and 27, 2012.

   None of the nine affirmative defenses mentioned the New York Judgment by Confession.

   Hazan made a strategic decision not to try this issue.

              It was not until April, 2014, that Quebec, Selective and Hazan started their efforts to

   enforce the aforementioned Consent Judgment from the New York State Court that was

   domesticated in Miami-Dade County under Case No. 14-10475. It is undisputed that that the

   Domesticated New York Judgment has been dismissed as the underlying judgment has been


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   satisfied.   On April 4, 2014, Selective Advisors Group LLC was incorporated in Delaware.

   Quebec filed the New York Judgment by Confession in Miami-Dade County on April 21, 2014.

   Shortly thereafter, on April 30, 2014, Quebec assigned the judgment to Selective.

           On July 14, 2014, the Third District held oral argument where the issue of whether the

   mortgage was wiped out by NLG obtaining its Default Judgment entered on April 28, 2008,

   played a prominent part. Instead of moving the Third District to relinquish jurisdiction to assert

   the New York Judgment by Confession, or seeking to intervene in the foreclosure case, which

   was the older case in this division, Selective instead obtained the domestication Order on

   August 20, 2014.

           The docket sheet in the New York Judgment by Confession case shows that NLG had

   already moved to vacate the judgment and had a hearing scheduled for August 6, 2014. The

   matter was adjourned to September 29, 2014; November 10, 2014; December 1, 2014; January

   12, 2015; March 16, 2015; and to May 18, 2015. This court had repeatedly stayed ruling on this

   matter in order to allow the parties a chance to argue the Motion to Vacate the Judgment

   before the New York Court. On this last court setting, Selective, the judgment creditor, filed a

   bankruptcy petition two hours before the scheduled time, in the U.S. Bankruptcy Court for the

   Eastern District of New York, apparently using the bankruptcy stay to avoid the vacatur hearing

   before the New York State Court Judge on the Judgment by Confession. ·The bankruptcy

   petition was signed by the manager of Selective, Sean N. Meehan (Ms. Hazan's husband). The

   Court appointed Marc Pergament as Trustee for the Estate.




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            On July 1, 2015, the Trustee conducted an examination under oath of Mr. Meehan.

   The sole creditor listed was Selective's prior attorney, Joseph Nierman, who was alleged to be

   owed $3,500. The sole asset was the Judgment by Confession, premised on an Affidavit signed

   by Raymond Houle who claimed to be president of Quebec while simultaneously acting as

   manager of NLG. "The Affidavit of Confession did not provide any additional information to

   substantiate the basis for the Judgment." (Affirmation, Par. 9). Mr. Meehan was placed under

   oath and he testified "that he had no knowledge of the underlying basis for the Judgment and

   that he claimed that no money was paid to Quebec for the Assignment of the Judgment, except

   there was an unspecified "deal' whereby [Selective] would pay a certain amount to the Assignor

   upon collection of the Judgment." (Affirmation, Par. 10).

            Mr. Meehan also testified about the pending foreclosure of 6913 Valencia Drive, Fisher

   Island, Florida, which is also his residence. He disclosed that title is held by his wife, Elizabeth

   Hazan.    The Trustee then stated in Paragraph 17:              "As Mr. Meehan's testimony was not

   plausible with respect to the entry of the Order and Judgment [signed by Judge Jean K.

   FitzSimon in the Pennsylvania bankruptcy] nor with respect to the underlying Judgment [the

   Judgment by Confession], I believe that dismissal of this case with prejudice is appropriate ..."

   The Trustee also found the excuse for the filing of the bankruptcy - the claim of Mr. Nierman

   for fees - to be "suspicious." (Affirmation, Par. 19).

            In its motion to intervene, Selective states in Par. 27: "With respect to New York, NLG

   has failed to re-file or restore its motion to vacate Selective's Judgment, after Selective's



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    The Trustee submitted an Affirmation in Support of a dismissal with prejudice in Case No. 815-72153-A736 which
   was the subject of a motion by NLG to take judicial notice and Hazan having filed no objection, the motion is
   hereby granted and the Affirmation is attached as Exhibit "A."

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   bankruptcy was dismissed on August 28, 2015, even though two months have elapsed from

   that date." What Selective leaves out is that NLG did indeed attempt to schedule once again on

   September 3, 2015, its motion to vacate the Judgment by Confession by way of letter to the

   presiding judge. This prompted a letter dated September 4, 2015, to the presiding judge from

   Selective's New York lawyer, James F. Vlahadamis. The letter stated that plaintiff had accepted

   payment in full satisfaction of the judgment, making it "unsuitable for this Court to entertain

   any application of NLG, LLC (such as one filed by letter on September 3, 2015) seeking to

   restore the motion to vacate the judgment as there currently exists no judgment to vacate and

   the matter remains moot." 2 At the hearing on NLG's motion for entry of a judgment based on

   the mandate of the Third District, Selective offered no explanation as to why it took from

   August 20, 2014, to September 4, 2015, for the judgment to be satisfied.

              The New York Judgment by Confession may have been entitled to full faith and credit

   while it was an outstanding judgment. The judgment, however, has been satisfied. There is no

   judgment entitled to deference by the courts of Florida.

              But even if the judgment was still outstanding, the U.S. Supreme Court has stated that

   "[a] judgment rendered in violation of due process is void in the rendering State and is not

   entitled to full faith and credit elsewhere." World-Wide Volkswagen Corp. v. Woodson, 444 U.S.

   286, 291, 100 S. Ct. 559, 62 L. Ed. 2d 490 {1980). As the Trustee stated after conducting an

   examination under oath of Mr. Meehan, the Judgment by Confession was entered with Mr.

   Houle acting for both the plaintiff and the defendant. The records submitted by Selective in its

   motion to intervene shows that NLG received no notice or opportunity to be heard because


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       The letter is attached as Exhibit "B."

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   Houle was acting for both Quebec and NLG. Without notice, a foreign court lacks personal

  jurisdiction, and the "foreign judgment need not be recognized." Williams v. Cadlerock Joint

   Venture, L.P., 980 So. 2d 1241, 1243 {Fla. 4th DCA 2008).

          By continuously postponing the hearing on NLG's motion to vacate before the New York

   court, NLG has never had a full and fair opportunity to litigate the issue of personal jurisdiction

   in the foreign court. See Whipple v. JSZ Fin. Co., Inc., 885 So. 2d 933, 936 {Fla. 4th DCA 2004);

   Williams, 980 So. 2d at 1243; see also Stoll v. Gottlieb, 305 U.S. 165, 172-73, 59 S. Ct. 134, 83 L.

   Ed. 104 (1938) ("After a party has his day in court, with opportunity to present his evidence and

   his view of the law" as to jurisdiction, "a former judgment in a state court is conclusive" and not

   subject to collateral attack).

           If a defendant has not had "the opportunity to contest jurisdiction, he may raise the

   issue subsequently in a proceeding brought to enforce the judgment." Williams, 980 So. 2d at

   1243 (citation omitted). See also Riskin v. Miklos, 569 So. 2d 940, 941 (Fla. 3d DCA 1990)

   ("[W]here the jurisdictional issue is not fairly litigated in the initial court, the defendants are

   free to raise the question de novo in the jurisdiction in which enforcement of the judgment is

   attempted.").




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          Conclusion

          For the foregoing reasons, the Second Amended Motion for Judgment of Foreclosure is

   hereby GRANTED. The Court will hereafter enter a Final Judgment of Foreclosure upon the

   presentation of updated affidavits.




                                                                   1
          ORDERED at Miami, Miami-Dade Cou.nty, Florida, on this 1' day of December, 2015.




                                             Circuit Court Judge

   Judgment Prepared by:
   Plaintiffs Counsel:                              MONICA GORDO
   Juan Ramirez, Jr                              CIRCUIT COURT JUDGE
   Diaz, Reus & Targ, LLP
   100 SE 2nd Street, Suite 3400
   Miami, Florida 33131

   Copies Furnished to:

   Roger Slade, Esq.
   Jonathan S. Goldstein, Esq.
   Matthew David Glachman, Esq.
   Mark Cohen, Esq.
   Daniel A. Milian, Esq.
   Bruce Jacobs, Esq.




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(      UNITED STA TES BANKRUPTCY COURT
       EASTERN DISTRICT OF NEW YORK
       --------------------------------------------------------)(
       In Re:                                                         Chapter 7

       Selective Advisors Group LLC,                                  Case No. 815-72153-A 736

                         Debtor.                                      Affirmation in Supp011

       --------------------------------------------------------)(

                         Marc A. Pergament, duly affirms under the penalties ofpe1ju1y as follows:

                         1.        I am an attorney admitted to practice law in the United States Court of

       Appeals for the Second Circuit and the United States District Court for the Eastern and Southern

       Districts of New York and am a member of Weinberg, Gross & Pergament LLP, attorneys for

       the Trustee.

                         2.        I am also the Trustee of this Estate and am familiar with the facts and
(
       circumstances set forth herein.

                         3.        This Affirmation is submitted in support of my request that the Court

        scheduling a hearing on shortened notice: (a) approving the dismissal of this bankruptcy case

       with prejudice; (b) authorizing the Debtor to pay Weinberg, Gross & Pergament LLP the sum of

        $6,500.00 for services rendered; and (c) such other and forther relief that this Court deems just

        and proper.

                         4.        On May 18, 2015, the Debtor filed a voluntary petition for relief under

        Chapter 7 of the Bankruptcy Code. The initial bankruptcy filing was a bare bones petition filed

        by the Debtor. The manager who signed the petition was Sean N. Meehan. Mr. Meehan failed

        to appear at the§ 34l(a) meeting scheduled for June 24, 2015. The Debtor's counsel appeared

        on that date and requested an adjomnment of the 341 (a) meeting.

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(                     5.     I directed the Debtor to file all necessary schedules and a Statement of

       Financial Affairs by June 30, 2015 and appear for an examination pursuant to§ 34l(a) on July 1,

       2015. A further request for an adjournment of the § 341 (a) meeting was declined.

                      6.     On July l, 2015, Mr. Meehan appeared for an examination with Debtor's

       counsel after the Debtor had filed the schedules and Statement of Financial Affairs, which were

       filed on June 30, 2015.

                      7.     My review of the file, schedules and documents that had been previously

       provided to me indicated that there arc many facts that questioned the good faith filing by the

       Debtor in this Chapter 7 case.

                      8.     Specifically, the schedules revealed that the sole creditor of the Debtor

       was its former attorney, Joseph Nierman, and he was alleged to be owed the sum of $3,500.00.

       The Debtor's Schedule F indicated that it was a disputed claim.
(
                      9.     The Debtor's counsel disclosed that the Debtor was formed in August

       2014 and its sole asset was a Judgment that it held by way of Affidavit of Confession of

       Judgment against NLG LLC in the sum of$5,000,000.00, plus interest. The Judgment, however,

       was based on an Assignment by 9197-5904 Quebec Inc. to· the Debtor of a Judgment that it had

        obtained against NLG LLC, which had been filed in the New York County Clerk's office on

        February 22, 2012. A copy of the Assignment of Judgment is annexed hereto as Exhibit "A."

        However, that Judgment was premised on an Affidavit signed by Raymond Houle who claimed

        to be the president of 9197-5904 Quebec, Inc., and was also the manager of NLG LLC. The

        Affidavit of Confession did not provide any additional information to substantiate the basis for

        the Judgment. A copy of the Affidavit of Confession of Judgment ofNLG LLC and Affidavit of

        Raymond Houle is annexed hereto as Exhibit "B."

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(                     10.    After applying the oath, I questioned Mr. Meehan at his § 341 (a) meeting

       concerning the Judgment and he advised me that he had no knowledge as to the underlying basis

       for the Judgment and that he claimed that no money was paid by the Debtor to 9197-5904

       Quebec, Inc. for the Assignment of the Judgment, except that there was an unspecified "deal"

       whereby the Debtor would pay a certain amount to the Assignor upon collection of the

       Judgment.

                      11.    As I questioned Mr. Meehan in depth at the§ 34l(a) meeting, it became

       apparent that the Judgment was the subject of a contentious dispute with NLG LLC. I reviewed

       certain public records and certain information which indicated that there is a pending foreclosure

        lawsuit in the State of Florida with respect to the real property known as 6913 Valencia Drive,

        Miami, Florida ("Miami Residence") and the Miami Residence was also Mr. Meehan's

       residence.   Mr. Meehan disclosed that title to the Miami Residence was held by his wife,
(
        Elizabeth Hazan, and that she was in a dispute with NLG LLC concerning foreclosure of the

        Miami Residence.

                      12.    Mr. Meehan testified that he filed bankruptcy in the United States

        Bankruptcy Court for the Eastern DislTict of New York because the place of business of this

        Debtor was 103 West Tano Road, Hampton Bays, New York ("Hampton Bays Residence"),

        which is the residence of Mr. Meehan's parents and he claims that he sometimes spends the

        summers at the Hampton Bays Residence, although he does not presently reside there.

                      13.    Thus, there is a question as to the validity of the venue selected by

        Mr. Meehan for this bankruptcy case.

                      14.     I was in communication with NLG LLC's counsel and he provided me

        with substantial information and documents, including documentation indicating that the United


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(      States Bankruptcy Court for the Eastern District of Pennsylvania had previously determined that

       an involuntary bankruptcy proceeding that had been filed against Christopher Kosachuk was a

       bad faith filing and that Court determined that an award of monetary sanctions of$190,173.71 in

       favor of Mr. Kosaclmk and against 9197-5904 Quebec, Inc. was warranted. A copy of that Order

       and Judgment of the Honorable Jean K. FitzSimon is annexed hereto as Exhibit "C,"

                      15.    Judge FitzSimon's Judgment also awarded sanctions against 9197-5904

       Quebec, Inc. in the sum of $960,968.55.

                      16.    The dispute with respect to the Judgment is evident.

                      17.    As Mr. Meehan's testimony was not plausible with respect to the entry of

       the Order and Judgment nor with respect to the underlying Judgment, I believe that dismissal of

       this case with prejudice is appropriate so the Debtor and NLG LLC can continue their litigation

       in other forums.
(
                      18.    NLG LLC had moved by order to show cause to vacate the Judgment that

       had been filed by 9197-5904 Quebec, Inc. and the bankruptcy was filed a couple of hours before

       the hearing to be heard by the Supreme Court of the State of New York, County of New York,

       on May 18, 2015 for the vacating of the Judgment as NLG LLC had not learned of that Judgment

       until 2015.

                      19.    I inquired of Mr. Meehan as to the claim of Mr. Nierman and he explained

       that there was a dispute as to the amount owed and that reason for the bankrnptcy filing was that

       Mr. Nierman was refusing to turnover his litigation file concerning the dispute with NLG LLC. I

        found that claim to be S\Jspicious as the Debtor already had obtained an Assignment of Judgment

        of 9197-5904 Quebec, Inc. against NLG LLC and thus, the litigation file was of no import. Mr.

        Meehan was unable to provide any explanation.

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(                       20.        For these reasons, I negotiated a resolution whereby this case is dismissed

       with prejudice and my firm is paid for services rendered. A copy of the Stipulation is annexed

       ~hereto   as Exhibit "D."

                         21.       I have requested a hearing on shortened notice as the Debtor would be

        benefited by a lengthy delay.

                        22.        It is also requested that this Court waive the requirement of the filing of a

       memorandum of law as no novel issu(;) of law is present with respect to the issues herein.

                        23.        No prior application has been made to this or any other Court for the r(;)Iief

       requested herein.

                        WHEREFORE, it is respectfully requested that this Honorable Court grant the

       Trustee's motion in its entirety and such other and further relief that this Court deems just and

       proper.
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       Dated: Garden City, New York
              August 6, 2015




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                                     EXHIBIT A

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       I.




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        SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF NEW YORK                                                                Index No. 10187512012
        -----------·--·------···--··-----·---·-------··-----------···-·X
        9197 ·5904 QUEBEC INC
         Plaintiff,


                                  -against-


            NLG LLC
                                               Defendant


                                              ASSIGNMENT OF JUDGMENT
                                                                                                                       ..
                                                                                                                      .i=-
                                                                                                                      -1:""
                                                                                                                      N
            This indenture made the 30th day of April 2014, between 9197-5904 Quebec inc a Canadian Corporation located
            at 5552 Queen Mary Road Suite #4, City of Hampstead, State of Quebec, Canada H3X 1V9 party of the first part.
            and Selective Advisors Group, LLC, located at 16192 Coastal Highway Lewes. Delaware 19958 County of·
            Sussex, party of the second part,



            WHEREAS, on lhe 22"" day of February,2012 a judgment was entered In the Supreme Court, County of NY, in
            favor of 9197-5904 Quebec Inc , and against NLG LLC, a Delaware Limited Llabllily Company located at 854
            Pheasant .Run Road, West Chester, PA in the sum of $5,000,000.00 plus Interest from February 22"" 2012 plus
            costs of $225.00, and said judgment was duly entered in the office of the Clerk of the Co(1nty of New York State,
            NY on the 22"" day of February 2012.   .
(

            NOW THIS INDENTURE Vl/ITNESSETH, that the said party of the first part, in consideration Of $10 and other
            valuable consideration to them duly paid has sold, and by these presents does assign, transfer and set over, unto
            the said party of the second part, Selective Advisors Group, LLC, its executors, administrators, and assigns, the
            said judgment and all sum or sums of money that may be had or obtained by means thereof, or on any
            proceedings to be had thereupon.



            Also, the said party of the first part does hereby constitute and appoint the said party of the second part, its
            executors, administrators, and assigns, their true and lawful attorney irrevocable, with power of substitution and
            revocation, for the use and at the proper costs and charges of t11e said party of the second part, to ask, demand,
            and receive, and to obtain executions, and take all lawful ways for the recovery of the money due or to become
            due on said judgment and on payment to acknowledge satisfaction, or to discharge the same; and attorneys one
            or more under them for the purpose aforesaid, to make and substitute, and at pleasure to revoke; hereby ratifying
            and confirming all that their said attorney or substitule shall lawfully do In the premises. Also, the said party of the
            first part does covenant, that that they will not coll~ct or receive the full payment of the judgment, or any part
            thereof, nor release or discharge the said judgment but will allow all lawful proceedings therein lo be taken by the
            said party of the second ·part, saving the ~aid party of the fist part harmless of and from any costs in the
            premises.. This assignment is made without recourse to the party of Iha first part in any event whatsoever.




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(           IN WITNESS WHEREOF, the par1y of the first part has hereunto set his hand and seal the day and
            year first above written.

                                                                      On behalf of 9197-5904 QUEBEC INC:


                                                                           «~Mcf ~
                                                                           RAYMOND HOULE, president




                                               ACKNOWLEGEMENT



            9~
            Slate-of

            County of   :D'\:Kc~ ~\cG&r
            On the       ~ day of         dl),JR,,     in the year20J1L.  before me, Raymond Houle, personally
            appeared, personally known to me or proved to me on the basis of satisfactory evidence to be the
            Individual whose name is subscribed to the within instrument and acknowledged to me that he
            executed the same in his capacity and that by his signature on the instrument, the individual, or the
            person upon behalf of which the individual acted, executed the instrument
(




                                            CERTIFICATE OF CONFQBMITY

            l~l\.Q ttJ2,,,:\a f ~;.f, a duly licensed notary public in the Province of Quebec, Canada, affirm
            under penalty of perjury and ce11ify that I witnessed the signature of Raymond Houle as applied to the
            docwnenl annexed to this certificate, which was signed and dated on Junc_M 2014. The matter in which
            was signed was, and is, in accordance with, and confonns to, the laws for laking oaths at
            acknowledgments, in the Province of Quebec, Canada.

            Dated:
                       d1u~1'-/()014~5~
                                             NOTARY PUBLIC
                                             NAME:
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                         SUPREME COURT OF THE STATE OF NEW YORK
                         COUNTY O.F NEW YORK
                                                                                   •                       Address of Plaintiff:
                                                                                                           3765 Saint-Kevin, Ste 9
                                                                                                           Montreal, Quebee H3T !HS
                                                                                                           Canada

                         9197-5904 Quebec, Inc,                                                            Index No.:
                                                                      Plnlntlff,
                                                                                                           JUDGMENT BY
                                                                                                           CONFESSION
                                   against

                         NLG, LLC, a Delaware Limited Liability Company,
                                                                                                                    12101875
                                                                      Defend1mt.



                            Amount Confessed                           $5,000,000.00
                                   Interest                            $0,00                               $ 5,000,000,00

                            Costs by Statute             $15,00----
                            Tra11script _ _- _-_-
                                                _-_-_-_-___     _ __
                            Fees on Execution
                                              ----~-------
                            Satisfaction
                                         ~-------------
                            Fi Ii ng Fee_ _ _ _ _ _ _ _$210,00_ _ __                                       $ 5,000,225,00

                                   The undersigned, Attorney at Law of the State of New York, affinns that he is the

                            attorney of record for the Plaintiff herein and states that the disbursements specified are correct

                            and true and have been or will necessarily be made or incurred herein and are reasonable in

                            amount and affirms this statement to be true under the penalties of perjury.

                            Dated: February 16, 2012
                                                                                       MARZEC LAW JilRM, PC

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                                                                      itd.
                                  JUDGMENT entered the           22      day of~· 200                             ·
                                  On the foregoing affidavit of Confession of Judgment n@e by the defendant herein,

                       sworn to the on the 16th day of February 2012,



                                  NOW, ON MOTION OF MARZEC LAW FIRM, PC, attorney for plaintiff, it is



                                  ADJUDGED that 9197-5904 Quebec, Inc, Plaintiff, with the address of 3765 Saint-

                       Kevin, Suite 9, Monteal, Quebec H3T IH8, Canada, do recover ofNL6> LLcfbefendant, with

                       the address of 6499 North Powerline Road, Suite 304, Fort Lauderdale, Florida 33309, the sum

                       of $5,000,000.00 with interest of $0.00, making a total sum of $5,000,000.00 together with

                     t~    ,o()    ·costs and dis b11rseu1ents, (\$ tAteJ bg -tke. c\eltK   amounting in all to the sum of

                       $5,000,225.00 and that the plaintiff have execution therefor.
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                                                                     v
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(
                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NEW YORK
                                                                           ••                                                    '


                 9197-5904 Quebec, Inc.,
                                                              Plaintiff,                                AFFIDAVIT OF
                                                                                                        CONFESSION OF
                         against                                                                        JUDGMENT
                 NLG, LLC, ft"" Oe ("'"'t-'.{ l1 rt• Tii'D                      r
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                                                              /
                                                                Defendant.            fF ILE D ·
                 STATE OF NEW YORK                                                           FE:8 22 ~812
                 COUNTY OF NEW YORK                           ss.:                  COUNTY~ rn:r.....
                                                                                       New VO!M<:- .. 11'¢
                                                                                    lh..
                          Raymond Houle, being duly sworn, deposes and says; that deponent is the Manager and

                 duly authorized agent of the defendant Limited Liability Company Md is duly authorized to

                 make this Affidavit on behalf of the LLC defendant herein.

(                         The defendant hereby confesses judgment herein and authorizes entry thereof against

                 defendant in the sum of$5,000,000.00.

                          Defendant's address is 6499 North Powerline Road, Suite 304, Fort Lauderdale, Florida

                 33309; Defendant authorizes entry of judgment in New York County, New York, if said

                 residence address is not in New York State,

                          This confession of judgment is for a debt justly due to the plaintiff arising from the

                 following facts: Fraud and Abuse of Process.

                        This affidavit, if made in connection with all agreement for the purchase for
                 $1,500.00 01· less of any commoditiell for any use other than a commercial or business use
                 upon any plan of deferred payments whereby the price 01· cost is payable in two or more
                 Installments, was executed, subsequent to the time a default occurred in the payment of an
                 Installment thereunder.                                        --;                     '       /

                                                                                ~~~W:~
                                                                                                              /
                 Sworn to before me this                           ....
                  i.h. day of :F,;t!,,,,.,_._ • 2012               9197-5901 Quobe<, Inc. byllayinond Hoo le, M•n•g<r '
                                ~                                    M; "'l'r6-P/2t f1/t,,6- (;" c_.
                                                                                                Darius A. Mar?.60
                                                                                       Notary Public State of New York
(                                                                                            No. 02MA6186309
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               SUPREME COURT Olt' THE STATE OF NEW YORK
               COUNTY OF NEW YORK                                                            Index No. ( cJ..   '(;7r:/ ~
               9197·5904 Quebec, Inc.,
                                                              Plaintiff,                AFFIDA VJT OF
                                                                                        RAYMOND HOULE
                        against                                                         REGARDING FACTS
                                                                                        SUPPORTING
                                                                                        JUDGMENT
               NLG, LLC,

                                                              Defendant.

               STATE OF NEW YORK

               COUNTY OF NEW YORK                             ss.:

                         Raymond Houle, being duly sworn, deposes and says; that deponent is the Manager and

               duly authorized agent of the defendant Limited Liability Company and is duly authori1,ed to

                make this Affidavit on behalf of the LLC defendant herein.
(
                        This confession of judgment is for a debt justly due to the plaintiff arising from the

                following facts: Defendant has consistently abused its legal position by filing frivolous litigation

                documents, affidavits, pleadings, and motions, in and without the state, misrepresenting the truth

                concerning key facts regarding the mode of operation, personnel, employees, corporate

                documents and status of defendant; Defendant has failed to abide by rules of court with respect

                to discovery, disclosures and subpoena power of the court and counsel, and has made litigation

                process difficult, wasteful, and expensive to adversary/ies. All actions of Defendant constitute

                abuse of process and fraud upon the court and parties iiwolved, who were unduly damaged by

                such fraudulent conduct and abuse of process by Defendant The conduct of Defendant was

                intentional and malicious and calculated to cause additional expense, delay and harassment to

                defendant's adversaries; such conduct was illegal, improper, unethical and unnecessary to the .

                administration of justice and process in these matters, giving Plaintiff a cause of action.
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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NEW YORK                     index No.

                 9197-5904 Quebec, Inc.,
                                                                 Plaintiff,

                            against

                 NLG, LLC., .(\-           01£ Ut '-<tr f, t
                                         l Of.".Pf'.vi1
                                                                  Defendant.



                                                     JUDGMENT BY CONFESSION
                                               AFFIDAVIT OF JUDGMENT BY CONFESSION


                                                          ATTORNEYS FOR PLAINTIFF
                                                             Marzec Law Firm, P,C,                                           FILED AND
                                                                 Darius A. Marzec, Esq.                                      OOt~K~T~D
                                                                225 Broadway, Suite 3000                                         f EB 2 2 2014/l
(                                                                 New York, NY 10007
                                                                     212-267-0200                                          AT      (D'.dSrl                M
                                                                                                                           N,Y., 00, C~ OfAClii
                                                                   CERTIFICATION

                            Pursuant to Section 130-1. l, the following documents are hereby ce11ified;


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                                                ~~By: ~oritts A. ci::2;£sq.
                                                                                                                                   .
                                                                                                              MARZEC LAW FIRM PC
                                                                                                              Attorneys for Plaintiff
                                                                                                              225 Broadway, Ste. 3000
                                                                                                              New York, NY 10007
                                                                                                              (212) 267-0200




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA

            In re:                                             DISMISSED CHAPTER 7 INVOLUNTARY

                                                               CASE NO. 12-16438(JKF) *SEALED*
            CHRISTOPHER   KOSACHUK,                 a.k.a.
            CHRIS KOSACHUK



                                         ORDER AND FINAL JUDGMENT


                     Upon consideration of the Motion of Christopher Kosachuk to Declare this Involuntary

            Bankruptcy Petition a Bad Faith Filing, for Costs, Compensatory and Punitive Damages, to Seal

            the Records and Sanctions (the "Motion") with respect to 9197-5904 Quebec, Inc. and the

            arguments of counsel and evidence admitted at the trial conducted before this Court on March

            18, 2015, it is ORDERED, ADJUDGED AND DECREED:
(
                     I.     The Motion is GRANTED as to 9197-5904 Quebec, Inc. without effect on the

            Motion as to the claims asserted and relief sought in the Motion against Daril)s A. Marzec, Esq.


                     2.     Final Judgment for monetary sanctions in the amount of$192,173.71 pursuant to

             11 U.S.C. §§ 1OS(a) and 303(i)(l), representing the reasonable costs and attorneys' fees incurred

            by Mr. Kosachuk in this matter, is awarded to Chris Kosachuk against 9197-5904 Quebec, Inc.,

            plus prejudgment interest and post judgment i.nterest at the federal judgment rate of interest.
                                                                                               . !§'
                     3.     Final Jµdgment for monetary sanctions in the amount    or[}!/Jfli1l.. JiUrsuant to
             11 U.S.C. § 303(i)(2)(B) and this Court's inherent powers, representing punitive damages, is

             awarded to Chris Kosachuk against 9197-5904 Quebec, Inc., plus prejudgment interest and post

            judgment interest at the federal judgment rate.


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                    4.     Final Judgment pursuant to I I U.S.C. § 1OS( a) and this Court's inherent powers,

            is awarded to Chris Kosachuk that the indebtedness of Chris Kosachuk with respect to that

            certain judgment issued by the Supreme Court, County of New York, under Index No.

            103896/2004 in favor of Eugenia Lorret and against Chris Kosachuk in the sum of$150,732.45

            accounting for $108,293.54, plus interest of$41,388.91 from November 25, 2002, plus costs of

            $1,050, and which judgment was thereafter modified and reduced on May 12, 2008 to the sum

            amount of$48,293.54, plus costs of$1,050, plus interest from November 25, 2002, and which

            judgment was assigned to 9197-5904 Quebec, Inc. on December 15, 2009 by Assignment of

            Judgment, and which judgment was further assigned to SRS Techonologies Professionals, LLC

            by Assignment of Judgment, dated February 10, 2014, Index No. 103896/2004, and Corrected

            Assignment of Judgment, dated February    !(),   2014, is hereby cancelled nunc pro tune to July 6,

            2012.
(
                     5.    This Final Judgment may be recorded as a matter of public record.

                     6.    This Final Judgment is effective immediately upon entry and this Court shall

            retain jurisdiction to, among other things, interpret, implement, and enforce the terms and

            provisions of this Order and Final Judgment.

                     7.    Chris Kosachuk shall be entitled to writs of execution and all other legal process

            to enforce this Final Judgment permitted by Federal Rules of Bankruptcy P           ure, the Federal

            Rules of Civil Procedure and applicable law.

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(         UNITED STATES BANKRUPTCY COURT
          EASTERN DISTRICT OF.NEW YORK
          ----------------------------------------------~----·-----:X:
          In Re:                                                          Chapter7

          Selective Advisors Group LLC,                                   Case No. 815-72.153-A736

                            Debtor.                                       Stipulation of Settlement

          ---------·----~---------------------------·--------------:X:
                            Whereas, the Debtor having filed a voluntary petition fort'eliefunder Chaptel' 7 of

          the Bankruptcy Code,

                            Whereas, the Debtor having appeared for examination pursuant to§ 34I(a) of the

           Bankruptcy Code,

                             Whereas, the Trustee having raised issues as to whether this filing was a good

           faith baiikruptcy filing by the Debtor,
(
                             Whereas, there is an issue concerning whether the Debtor hiis any creditors in this

           bankruptcy case,

                           . Whereas, the Trnstee' s attorneys, Weinberg, Gross & Pergament LLP having

           expended substantial time and.effo1t in trying to understand this bankruptcy ciise and all of the

           1·elated litigation between the Debtor and.NLG LLC,

                             It is hereby Stipulated and Agreed as follows:

                             1.       This bankruptcy case is dismissed with prejudice.

                             2. ·     The Debtor shall pay the sum of $6,500.00 to Weinberg, Gross &

            Pergruneut LLP for the attorneys! fees and costs incurred in investigating tlie claims asserted by

            the Debtor in the bankruptcy petition and related State Court lawsuits.



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                          3.    This Stipulation represents the entire agreement between the pruties ru1d

          may not be modified unless in writing signed by the parties and is subject to approval by the

          Bankruptcy Court.

                          4.    The parties acknowledge that the United States Bankruptcy Court for the

          Eastern .District of New York shall retain jurisdiction with respect to the interpretation and

          enforcement of this Stipulation of Settlement and the terms herein ..

          Dated: Garden City, New York
                 July 23, 201 S

                                                        Weinberg, Gross & Pergrunent LLP
                                                        AtteV Trustee
                                                By:
                                                        Mar<:Ai'ergrunent
                                                        400 Garden City Plaza, Suite 403
                                                        Garden City, New York 11530
                                                         (516) 877-2424
(
                                                         Vlahadamis & Hillen, LLP
                                                         Attorneys for Debtor

                                                By:          ·~
                                                      · · Evans M. Hillen
                                                          148 East Montauk Highway, Suite 3
                                                          Hampton Bays, New York 11946
                                                         (631) 655-4115

           "So Ordered"




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                               VLAHADAMIS & HILLEN LLP
                                             Attorneys and Counselors at Law
(       8 E. Montauk Highway, Suite 3                                                       Telephone: 631.594.5400
     tlampton Bays, NY 11946                                                                      Fax: 631.594.5401
                                                                                                  www.vhlawny.com

    *JAMES F. VLAHADAMIS                                                                         EVANS M. HILLEN
    james@vhlawny .corn                                                                          evans@vhlawny.com
    *Admitted in NY & NJ


                                                                 September 4, 2015

        Via FedEx
        Hon. Shlomo S. Hagler
         c/o Meshulum Bulls
        Supreme Court, Civil Term
        New York County
       · 60 Centre Street
         Room335
        New York, New York 10013


                           RE: 9197-5904 QUEBEC, INC. (Selective Advisors Group. LLC, Judgment Assignee)
                               v.NLG,LLC
                               Index No.: 101875/2012
(
        Hon. Judge Hagler, .

                    Please be advised that my finn represents the Selective Advisors Group LLC, plaintiff judgment
            creditor herein. This correspondence shall constitute a courtesy notification that plaintiff accepted
            payment in full satisfaction of the judgment outstanding against NLG, LLC and has caused the annexed
            Satisfaction of Judgment to be recorded with the county clerk's office.

                    Given the foregoing, it would be unsuitable for this Court to entertain any application ofNLG,
            LLC (such as one filed by letter on September 3, 201 S) seeking to restore the motion to vacate the
            judgment as there currently exists no judgment to vacate and the matter remains moot. Thank you for
            your attention to this matter.




        CC:
        ARI MOR, Esq. (Attorney for NLG, LLC)
(       JONATHAN BORG, Esq. (Attorney for ADR Miami, LLC, nonparty movant)
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                       JONATHAN M. BORG B.EbELL & FORMAN LLP
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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  In re                                                 Case No. 16-10389-AJC

  LIZA HAZAN a/k/a
  ELIZABETH HAZAN                                       Chapter 11
  _______________________/

                     SECURED CREDITOR NLG, LLG’s
     OBJECTION TO THIRD AMENDED DISCLOSURE STATEMENT AS REVISED

          Secured Creditor, NLG, LLC (“NLG”), through undersigned counsel, objects to the Third

  Amended Disclosure Statement as Revised [but not docketed] (the “Revised Statement”) emailed

  by counsel for Elizabeth Hazan (the “Debtor”) on May 5, 2017, and states as follows:

                                         BACKGROUND

          1.     NLG incorporates by reference its Objection to the Third Amended Disclosure

  Statement [ECF 431] as if fully rewritten herein.

          2.     At the disclosure statement hearing on May 4, 2017, the Court instructed the

  Debtor to amend the Third Amended Disclosure Statement to include further information about

  NLG’s Final Judgment of Foreclosure (the “Foreclosure Judgment”) and NLG’s Counterclaim,

  the Spencer Condo conveyance and the Income of the Debtor.

          3.     On May 5, 2017, counsel for the Debtor emailed counsel for NLG a copy of a

  Revised Statement with a date of May 9, 2017 and attached hereto as Exhibit 1, pages 8 to 43.

               NLG’S FORECLOSURE JUDGMENT AND COUNTERCLAIMS

          4.     The Revised Statement again fails to address NLG’s Foreclosure Judgment. In

  fact, it does not even mention the words. The Debtor just wants to ignore the Foreclosure

  Judgment and pretend that it simply does not exist.
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         5.     On pages 18 and 19 herein of the Revised Statement, the Debtor mentions the

  word “Counterclaims” but fails to provide any meaningful information about NLG’s

  Counterclaims which are wholly based on its final and non-appealable Foreclosure Judgment.

         6.     The Court also was concerned whether Selective Advisors (“Selective”) had an

  opportunity to be heard in the underlying state court foreclosure action. Indeed Selective was

  heard at numerous hearings before Judge Gordo over the period of approximately one year. In

  fact, Selective was heard over NLG’s objection that it lacked standing, as it had not moved to

  intervene. Nevertheless, both Judge Gordo and Judge Lopez allowed Selective to make its

  arguments. The Foreclosure Judgment was finally entered after multiple hearings and filings by

  Selective wherein Judge Gordo carefully considered Selective’s arguments and position. Judge

  Gordo rejected all of them as a matter of law leaving both Selective and the Debtor with

  appellate remedies if they chose to pursue them.

         7.     Selective failed to file an appeal of Judge Gordo’s Foreclosure Judgment and

  Debtor Hazan filed an appeal but voluntarily dismissed it.         Accordingly Judge Gordo’s

  Foreclosure Judgment is now the “law of the case.”

         8.     Attached hereto as Exhibit 2, is Judge Gordo’s Order Granting Foreclosure (the

  “Foreclosure Order”) pages 44 to 89 herein.

         9.      Contrary to the Debtor and Selective’s sanctionable misrepresentations to this

  Court, NLG’s Foreclosure Judgment was never assigned to Selective and Judge Gordo

  confirmed this in her Foreclosure Order. [See Exhibit 2 pages 50 to 53 herein].

         10.    Selective was represented by attorneys Mark Cohen, Esq. (who was also

  representing Debtor Hazan simultaneously in the NLG Foreclosure Action as well as in the
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  Appeal before the Third District 1) [See Exhibit 2 page 47 herein], Bruce Jacobs, Esq. (who was

  also representing Debtor Hazan simultaneously in the NLG Foreclosure Action) and Daniel

  Milian, Esq. in the Foreclosure Action pending before Judge Gordo. These same attorneys also

  appeared before Judge Lopez representing the Debtor and Selective.

           11.      In the Foreclosure Order Judge Gordo dedicated pages 47 to 57 herein addressing

  Selective’s claims, why they were meritless and why she rejected them all. To further support

  her ruling, Judge Gordo attached Exhibits A and B from pages 59 to 89 herein.

           12.      As can be seen from a reading of the Foreclosure Order, Judge Gordo fully

  adjudicated the Foreclosure as well as the Debtor’s and Selective’s arguments which are now

  unassailable law of the case.

      The SPENCER CONDO FRAUDULENT CONVEYANCE AND CONCEALMENT

           13.      The Debtor did add language about the fraudulent conveyance of the Spencer

  Condo to an offshore entity controlled by the Debtor’s husband but again fails to explain that it

  was a fraudulent conveyance, subject to recovery in by the bankruptcy estate and being

  concealed from this bankruptcy under the guise of being owned by the Debtor’s husband.

           14.      The Debtor knows full well that the Spencer Condo was conveyed to her husband

  for zero consideration which is a hallmark of a fraudulent conveyance.

           15.      The Board of Managers of the Spencer Condo has also expressed a concern about

  the Spencer Condo being concealed from this bankruptcy in its Motion to Convert [ECF 384].

           16.      The Motion to Convert states in paragraph 1:

                    Cause exists to convert this Chapter 11 Case to a case under Chapter 7 of the
                    Bankruptcy Code, pursuant to Section 1112(b) of the Bankruptcy Code, or, in the

  1
   If Selective were really an independent third party with legitimate rights of a creditor of the Debtor and not the
  husband of the Debtor trying to thwart NLG’s Foreclosure Judgment, the same attorney could not represent both
  parties because of an obvious conflict of interest. See Florida Bar Rule 4-1.7(a).
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                 alternative appoint a Chapter 11 trustee pursuant to section 1104(a) of the
                 Bankruptcy Code due to the fraud and dishonesty of Liza Hazan a/k/a
                 Elizabeth Hazan (the “Debtor” or “Hazan”)



         17.     The Motion to Convert states in paragraph 2:

                 The need for conversion or the appointment of a Chapter 11 trustee is exemplified
                 by the numerous, material misstatements - detailed herein - in the Debtor’s
                 petition and schedules and the debtor’s fraudulent concealment of her interest
                 in a valuable condominium in New York City’s Upper East Side, Lenox Hill
                 Neighborhood. The various misstatements and concealment clearly demonstrate
                 that the Debtor cannot be trusted to faithfully carry out the statutory duties of a
                 Chapter 11 debtor in possession.
         18.     Accordingly it is both NLG and the Board of Managers of the Spencer Condo

  who are concerned about the fraudulent concealment of a $4.25 million asset.

                                     THE DEBTOR’S INCOME

         19.     As for the Debtor’s Income, the Court instructed the Debtor to include an

  addendum with the nature of the contracts generating her income and information about them.

  The Debtor has failed to include this addendum.

         20.     Additionally a review of the Debtor’s most recently filed Monthly Operating

  Report [ECF 437] shows total monthly income of $847. Id.

         21.     It is impossible to approve the Debtor’s Third Amended Disclosure Statement as

  Revised because it puts forth a plan which is wholly inadequate in disclosure and promotes a

  plan that is unfeasible and surely poised to fail.

                                            CONCLUSION

         22.     For the reasons explained above, the Court should deny the Third Amended

  Disclosure Statement as Revised and dismiss or convert this case.
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  Dated: May 8, 2017

                                                 Respectfully submitted,

                                                 /s/ Astrid E. Gabbe
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                                                 Attorneys for NLG, LLC



                  CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

          I hereby certify that I am admitted to the Bar of the United States District Court for the

  Southern District of Florida and I am in compliance with the additional qualifications to practice

  in this court set forth in Local Rules 2090-1(A).



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with

  the Clerk of Court using the CM/ECF system on this 8th day of May 2017. I also certify that the

  foregoing was served on this day by either U.S. Mail or Electronic mail via the CM/ECF system

  to the parties on the attached service list.

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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                               MIAMI-DADE DIVISION
                                 www.flsb.uscourts.gov

  In re:
                                                          CASE NO.: 16-10389-AJC
  LIZA HAZAN,
        Debtor.                                           CHAPTER 11
  ________________________________/

                 THIRD AMENDED DISCLOSURE STATEMENT as Revised

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  INTRODUCTION

          This is the third amended disclosure statement (the “Disclosure Statement”) in the Chapter
  11 case of Liza Hazan (the “Debtor”). This Disclosure Statement contains information about the
  Debtor and describes the Second Amended Plan of Reorganization (the “Plan”) filed by the Debtor
  on March 27, 2017. A full copy of the Plan is filed herewith. Your rights may be affected. You
  should read the Plan and this Disclosure Statement carefully and discuss them with your
  attorney. If you do not have an attorney, you may wish to consult one. This Plan provides classes
  of claims; classes of priority claims, classes of secured claims, and classes of unsecured claims
  and equity. Unsecured creditors holding allowed claims will receive distributions which the
  proponent of this Plan has valued at dividend of 41% to 100% of total allowed claims accrued for
  up to sixty months and paid every six months with the first payment due in month 6, while
  undisputed unsecured claims are paid 100% within two years of the petition date, or by 1/11/18.

         A.      Purpose of This Document

         This Disclosure Statement describes:

                        The Debtor and significant events during the bankruptcy case,
                        How the Plan proposes to treat claims or equity interests of the type you
                        hold (i.e., what you will receive on your claim or equity interest if the plan
                        is confirmed),
                        Who can vote on or object to the Plan,
                        What factors the Bankruptcy Court (the “Court”) will consider when
                        deciding whether to confirm the Plan,
                        Why the Proponent believes the Plan is feasible, and how the treatment



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                         of your claim or equity interest under the Plan compares to what you would
                         receive on your claim or equity interest in liquidation, and
                         The effect of confirmation of the Plan.

         Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement
  describes the Plan, but it is the Plan itself that will, if confirmed, establish your rights.

         B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

          The Court has not yet confirmed the Plan described in this Disclosure Statement. This
  section describes the procedures pursuant to which the Plan will or will not be confirmed.

                 1.      Time and Place of the Hearing to [Finally Approve This Disclosure
                         Statement and] Confirm the Plan

                 2.      Deadline For Voting to Accept or Reject the Plan

          If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and return
  the ballot in the enclosed envelope to Clerk Bankruptcy Court U.S. Courthouse C. Clyde Atkins
  United States Courthouse 301 North Miami Avenue, Room 150 Miami, FL 33128. See section
  IV.A. below for a discussion of voting eligibility requirements.

         Your ballot must be received by the date indicated in the order of the court or it will not be
  counted.

                 3.      Deadline For Objecting to the Adequacy of Disclosure and
                         Confirmation of the Plan

         Objections to this Disclosure Statement or to the confirmation of the Plan must be filed
  with the Court and served pursuant to orders served herewith.

                 4.      Identity of Person to Contact for More Information

         If you want additional information about the Plan, you should contact:

         David W. Langley
         Counsel for Debtor
         8551 W. Sunrise Blvd., Suite 303
         Plantation, FL 33322
         954-356-0450
         dave@flalawyer.com

         C.      Disclaimer

         The Court must approve this Disclosure Statement as containing adequate information
  to enable parties affected by the Plan to make an informed judgment about its terms. The Court



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  has not yet determined whether the Plan meets the legal requirements for confirmation, and the
  fact that the Court has approved this Disclosure Statement does not constitute an endorsement
  of the Plan by the Court, or a recommendation that it be accepted.


  II.    BACKGROUND

         A.      Description and History of the Debtor’s Business

          Debtor works as a business consultant specializing in identifying locations for high-end
  restaurants and retailers around the world. She has historically earned in excess of $350,000 per
  year. As part of her consulting business, Debtor presently has an exclusive contract to place new
  locations for an international beauty and skin care company selling luxury brand products to high-
  end clientele. The Debtor has several projects under contract that will provide sufficient income to
  confirm and fund her plan. The Debtor presently has closed contracts that will earn her significant
  funds (comparable to past earnings) in the next six months.
          Debtor works with other major hospitality brands, restaurants, lounges and nightclubs that
  will earn her millions of dollars of income in the near future.
          The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
  Fisher Island, Florida (the “Property”) scheduled at $12,000,000.00.
          Additionally debtor has scheduled household furniture, dishes and china, household
  electronics and clothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.
          The equity in the Fisher Island Property would support a refinancing, which could also be
  used to support funding a plan if necessary.
          In addition to the foregoing, Debtor’s husband controls a corporation, Real Estate Holdings
  Group, L.D.C. which owns a condominium in New York City in the Spencer Condominium, Unit
  1A at 1 East 62nd Street, New York, New York 10065. Real Estate Holdings Group, L.D.C. has
  committed to contribute funds from the proceeds of refinancing and ultimate sale of the
  condominium unit to Debtor’s estate to fund the plan in order to assure the Debtor’s successful
  reorganization and completion of the plan. The New York Condominium is presently listed for
  sale for $4,250,000 and is being actively marketed and shown to prospective buyers.


         B.      Insiders of the Debtor

         Debtor is an individual and constitutes Debtor’s insiders as defined in §101(31) of the
  United States Bankruptcy Code (the “Code”). For the past two years there has been no salaries
  paid except professional earnings.

         C.      Management of the Debtor Before and During the Bankruptcy

          During the two years prior to the date on which the bankruptcy petition was filed, the
  officers, directors, managers or other persons in control of the Debtor (collectively the
  “Managers”) were the Debtor.
          The Managers of the Debtor during the Debtor’s Chapter 11 case have been: The Debtor.




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          After the effective date of the order confirming the Plan, the directors, officers, and voting
  trustees of the Debtor, any affiliate of the Debtor participating in a joint Plan with the Debtor, or
  successor of the Debtor under the Plan (collectively the “Post Confirmation Managers”), will be:
  The Debtor.

          D.      Events Leading to Chapter 11 Filing

          Debtor sought relief under Chapter 11 in order to end years of litigation between multiple
  creditors in various disputes across the country, to bring all matters into a single forum, and to
  fashion a Plan of Reorganization, which will resolve all disputes without needlessly jeopardizing
  the Debtor’s equity in her various assets.

         In 2007 Debtor purchased the property located at 6913 Valencia Drive, Fisher Island,
  Florida (the “Property”) now scheduled at $12 million for $5.1 million from NLG, LLC (“NLG”)
  through its then claimed principal Chris Kosachuk. The Debtor has been involved in litigation with
  NLG and Kosachuk since that time as more fully described below.

          The NLG’s self titled manager Chris Kosachuk has signed a gift of equity letter stating that
  Debtor does not have to pay back the amount of $1,275,000. In the closing statement NLG
  provided a seller contribution in the amount of $1,275,000 to Debtor. Chris Kosachuk has
  thereafter testified that he transferred ownership of NLG in 2007 to Luxcom, a Russian company
  (that Debtor has determined does not exist) in 2010. In 2012 Chris Kosachuk testified that NLG is
  now owned by Meridian Trust Company located in the British Virgin Islands, but he could not
  recall who he reported to or which island in BVI is Meridian Trust Company located. In 2014
  Chris Kosachuk in a sworn deposition alleged that NLG is now owned by Meridian Trust Company
  located in Nevis and the owner of Meridian Trust Company is Ernie Dover.

          In October 2008, NLG, through Chris Kosachuk, broke into Debtor’s homestead property
  located on Fisher Island and resided in the Debtor’s home for two months. Debtor, who was out
  of the country, after learning of the incident, filed an emergency motion to vacate the fraudulent
  Sheriff’s deed obtained by NLG. Judge Scola granted Debtor’s emergency motion, finding Chris
  Kosachuk’s actions “unconscionable”. After Judge Scola ordered Chris Kosachuk and NLG to
  vacate the premises, Kosachuk refused to vacate Debtor’s home and moved for an enlargement of
  time. Judge Scola denied NLG’s motion and forced Chris Kosachuk to vacate the premises. Police
  reports of the incident document that Chris Kosachuk stole Debtor’s furniture and her seven
  plasma TVS. Judge Scola has ruled as follows:

     “The Sheriff's Sale is set aside and vacated and the Sheriff's Deed dated November 19, 2008,
    for the property is vacated and the Sheriff's Deed is hereby SET ASIDE. The title of
    Defendant, Elizabeth Hazan, to the following described real property in Miami-Dade County,
    Florida:
        Lot 7, Block 2, LINDISFARNE ON FISHER ISLAND SECTION 10, according
        to the Plat thereof, recorded in Plat Book 157, Page 64, of the Public Records of
        Miami-Dade County, Florida.


   is a good title against the claims or purported claims of Plaintiff, NLG, LLC, and all other parties


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  claiming by through, under or against it and those claims or purported claims are cancelled and
  the title to the property is forever quieted to Elizabeth Hazan as to NLG, LLC.

                   B.         NLG, LLC and Chris Kosachuck, and all parties having or claiming to
  have any rights of possession of the property through NLG, LLC or Chris Kosachuck and all those
  parties since the filing of the Notice of Lis Pendens in this cause are to vacate the property located
  at 6913 Valencia Drive, Fisher Island, Florida 33109 ("premises"), on or before noon on December
  21, 2008, and deliver the keys to Hazan or her agents, and leave the premises in good condition.
  The Clerk of this Court is directed to issue a Writ of Possession after December 21, 2008, to the
  Sheriff of Miami-Dade County, directing him to put Elizabeth Hazan in possession of the aforesaid
  premises after twenty-four hours notice has been conspicuously posted on said premises all for
  which let execution issue.


          Chris Kosachuk has stolen Debtor’s mail. Kosachuk has stalked the Debtor and harassed
  her and called her a ‘whore and a f_ _ _ ing Jew”. Chris Kosachuk has threatened Debtor’s lawyers.
  Chris Kosachuk pushed her New York attorney Darius Marzec’s to the ground and has emailed
  him “Soon you will find yourself square in the cross-hairs and won't be able to hide behind all of
  your lawyering bullshit”. Chris Kosachuk has impersonated Debtor and called her banks to find
  out personal information. Chris Kosachuk has intimidated Debtor’s previous clients, ruined her
  business and caused her millions of dollars of lost of income. Kosachuk has harassed her clients,
  has defamed her character and damaged her reputation, defaming her in numerous newspapers,
  calling her a zero and a loser and other names.

         NLG and Chris Kosachuk have caused the Debtor to suffer emotionally for over a decade
  and have caused her to lose income and to incur substantial attorneys’ fees to defend herself against
  Chris Kosachuk’s nefarious actions.

          Chris Kosachuk has sent Debtor an email stating “your days are numbered” and told her
  that he would burry her alive.

          Debtor filed numerous police reports and reports with Fisher island security who have
  physically removed Kosachuk from Debtor’s property. Chris Kosachuk has impersonated other
  residents and used their Fisher Island security code to access Fisher Island and has lied to Fisher
  Island security to gain access to Fisher Island to come to the Island, intimidate, stalk, harass and
  physically and emotionally harm the Debtor.

         Chase Bank

        In March 7, 2007 Debtor signed a first promissory note and mortgage with Washington
  Mutual Bank in the amount of $3,825,000. JP Morgan Chase Bank claims to now own the
  Washington Mutual Bank promissory note and mortgage signed by Debtor in March 7, 2007.

         Chase filed a foreclosure in August 2013, which remains pending as case 2013-CA-
  025902. Chase did not file an assignment of mortgage to itself until 5/26/16. The maturity date of
  the Loan is August 2051.


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         NLG

         NLG FL litigation

          NLG’s self titled manager Chris Kosachuk. provided a gift of equity or an “equity
  contribution” of $1,275,000 stating that Debtor does not have to pay back the amount of $1,275,00
  on the closing statement and also had Debtor execute a note and second mortgage on the Fisher
  Island property for that same amount from Debtor after Closing.

           NLG sued within four months of the closing in 2007, and has pursued Debtor to this date
  in an attempt to wrongfully obtain Debtor’s property. Litigation between the parties has occurred
  in four states, multiple courts and has continued for over a decade, and continues in this court,
  costing Debtor millions in legal fees, adversely affecting her health and her career, and putting her
  in the financial position of having to seek relief in a Chapter 11 reorganization.

  Chris Kosachuk asserts that he is the manager and representative of NLG. Kosachuk has testified
  that he transferred NLG in 2007 to Luxcom, a Russian company. In 2012 Chris Kosachuk testified
  that NLG is now owned by Meridian Trust Company located in BVI but he could not recall to
  whom he reported. In 2014 Chris Kosachuk testified in deposition that NLG is now owned by
  Meridian Trust Company located in Nevis and the owner of Meridian Trust Company is Ernie
  Dover. From prior to the purchase date, more than a decade ago, to today, the parties have had
  multiple disputes and have engaged in litigation in multiple courts in Florida, New York,
  Pennsylvania and Delaware. Final orders have been entered in various courts setting forth the
  rights of these parties. But the litigation nevertheless has continued, and is now in this Court.

  NLG obtained a judgment on the promissory note signed by Debtor on April 28, 2008. (“The Scola
  Judgment”). NLG also sued Debtor for foreclosure in 2011. In 2014, Judge Peter Lopez assigned
  NLG’s judgment against Debtor, the Scola Judgment along with all NLG’s rights, claims and
  benefits against Debtor to Selective Advisors Group, LLC. (“Selective”) and also ordered
  Selective to provide a partial credit in the amount of $2,746,953.34 which amount includes
  principal and interest through August 31, 2014 (representing the full amount of the Scola
  judgment) at the 11% interest per annum. Selective did so.

  NLG appeared in this case but failed to timely file a proof of claim. NLG is merely a notice party.
  NLG is not a secured creditor in this case. Selective is listed in Debtor’s schedule as her secured
  creditor. On May 13, 2016 NLG moved for stay relief in this court (D.E. 66) but said relief was
  denied (D.E. 176) on August 23, 2016. Selective Advisors Group, LLC, an affiliate of Debtor’s
  husband, owns NLG’s claim through execution on a judgment against NLG. On August 23, 2016
  the bankruptcy court entered its decision denying NLG’s motion for relief from the automatic stay.
  ECF 176. This Honorable Court ruled as follows:

                        First, NLG is not a scheduled creditor in this case. The Debtor
                 scheduled Selective as its secured creditor, relying on the judicial
                 assignment in the Proceedings Supplementary Order, pursuant to the
                 Scola judgment. NLG was listed solely as a notice party. The claims
                 bar date has passed in this case, and NLG has not filed a claim. NLG


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              indeed had sufficient notice of these proceedings to timely file a claim
              (both NLG’s counsel and Kosachuk himself appeared and questioned
              the Debtor at the 341 meeting), but apparently chose not to. Because
              NLG has not been scheduled and did not file a claim against this estate,
              there is an issue as to whether NLG lacks standing as a “party in
              interest.” In re E.S. Bankest, L.C. 321 B.R. 590 (Bankr. S.D. Fla. 2005).

              …

              The Debtor’s Schedules indicate a disputed first mortgage on the
              property for $ 5.2 million dollars to Chase Bank N.A.; a mortgage for
              $2.0 million dollars to an entity owned by her mother that Debtor and
              her mother represented may be subordinated and/or satisfied in
              connection with a plan, and various other miscellaneous liens less than
              $300,000. The Debtor values the Selective lien at zero, because
              Selective, as judicial assignee of NLG, is owned by her husband and has
              filed a Satisfaction of Judgment and a Satisfaction of Mortgage.

              …

              The Debtor also asserts the Property is necessary to an effective
              reorganization. She resides on the Property with her husband and has
              declared the Property to be her homestead. The Debtor is a financial
              consultant who earns her income from consulting fees in connection
              with placing high-end retail and restaurant businesses in certain top-tier
              shopping locations. She entertains prospects at home. She also asserts
              significant equity in the home sufficient to refinance and/or collateralize
              the payment of her unsecured debt”.

                         The Debtor has filed with the Court an appraisal (D.E. 82-1)
              of the Property for $9.5 million, and asserts: (1) that the Debtor is
              negotiating with Chase regarding various issues; (ii) that NLG’s right to
              foreclose was judicially assigned to Selective, which has satisfied the
              Hazan mortgage in partial satisfaction of its judgment against NLG; and
              (iii) that the mortgage held by Debtor’s mother’s company will be
              subordinated or satisfied as part a plan. The Court believes the Debtor
              has presumptively established the prospect of equity in the Property for
              the benefit of creditors, and further believes the Debtor has established
              the Property is necessary for an effective reorganization as she uses the
              Property for business purposes and any plan filed in this case will be
              premised upon, at least in part, future business income.

        NLG NY Litigation


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  NLG domesticated the judgment obtained against debtor on April 28, 2008 (“the Scola Judgment”)
  in New York in 2014. New York Supreme Court Judge Barbara Jaffee, having recognized the
  Miami-Dade Judge Peter Lopez Order of Assignment of the NLG’s Judgment (“The Scola
  Judgment”) against the Debtor to Selective Advisors Group, LLC (“Selective”) and having
  accepted the Selective’s Satisfaction of NLG’s Judgment against the Debtor Ordered on November
  5, 2014:
         “That the caption of the case, NLG, LLC vs Elizabeth Hazan, be changed to substitute
         Selective Advisors Group, LLC as Plaintiff in place of NLG and that the New York County
         Clerk is directed to accept for filing the Florida Court Order of assignment, judicially
         assigning the underlying Florida judgment from plaintiff to Selective; it is further
                 ORDERED, that the County Clerk is directed to reflect on the docket of this case
         that the Florida judgment between plaintiff against defendant, domesticated here, has been
         satisfied; it is further
                 ORDERED, that the County Clerk is directed to accept for filing the satisfaction of
         Judgment or other appropriate satisfaction piece; and it is further
                 ORDERED, that the County Clerk is directed to remove and strike any judgments
         of record in this action under Index No. 108020/08.”

         NLG also filed a lawsuit in New York alleging Debtor fraudulently transferred the New
  York condo (described below). On November 2014, Hon. Judge Barbara Jaffee dismissed both
  claims filed by NLG.

         Spencer Condominium

          Debtor bought a condominium in New York City on Fifth Avenue and 62nd Street on
  December 2005 in the Spencer Condominium, Unit 1A of 1 East 62nd Street, New York, New York
  10065 (“The New York Condominium”).
          Debtor transferred this New York Condominium on August 2011. The Board of
  Managers alleges that the transfer was made without the consent of Spencer Condominium.
  The Board of Managers has agreed to the approval of this Disclosure Statement. The
  Internal Revenue Service has filed a Proof of Claim in this case. The statute of limitations
  for the IRS to contest the transfer has not yet run, but IRS has taken no such position and
  has not appeared in the case other than the filing of a Proof of Claim. The New York
  Condominium had no equity at the time of the transfer.
          Debtor’s husband controls the corporation, Real Estate Holdings Group LDC which now
  owns the condominium. The Spencer Condominium Board of Managers has been involved with
  The Debtor and REHG in litigation since 2008 resulting in a confidential settlement agreement
  executed in March 2015. Spencer Condominium disputes that the Settlement Agreement is
  enforceable at this time, but Judge Singh of the New York Supreme Court has recently ordered the
  parties to comply with the Settlement Agreement; The settlement includes a resolution of the
  following lawsuits:
          Board of Managers of Spencer Condominium v. Elizabeth Hazen, et al;
                  No. 111644/09.
          Real Estate Holding Group, LDC v. Board of Managers of Spencer Condominium et al;
                  No. 154149/2012



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         Real Estate Holdings Group, vs. Spencer Condominium
                No. 159254/2013

         All three cases have been dismissed and settled and REHG is presently hiring a real estate
  broker to list the condominium unit for sale to pay off the settled reduced amounts of the first
  mortgage in favor of U.S. Bank and to satisfy the second mortgage in favor of Real Time
  Resolutions (both alleged creditors of this Debtor) as well as to resolve the assessments allegedly
  due the Board of Managers. The unit will be listed for sale.

          On July 21, 2016 Debtor filed the following motions: Motion for Relief from Stay Spencer
  Condominium, (D.E. 115), Motion to Seal or for in Camera Review (D.E. 116) and Motion for
  Abstention (D.E. 117). All three Debtor’s Motions have been withdrawn without prejudice. On
  February 24, 2017 Debtor filed three new motions in this case: A Motion to Seal, D.E. 387, A
  Motion for Abstention D.E. 388, A Motion for Relief from Stay D.E. 389 and An Amended Motion
  for Stay relief Spencer Condominium litigation and request for expedited Hearing, D.E. 390.
  Debtor also filed an objection to Spencer’s Proof of Claim. On March 1, 2017, This Court granted
  the agreed Order granting Debtors’ Amended Motion for Order for Stay relief Spencer
  Condominium litigation and request for expedited Hearing, D.E. 392. The Court ruled as follows:
  “The Debtor’s Motion is granted. The automatic Stay is lifted solely for the purpose of permitting
  the New York Supreme Court to exercise jurisdiction over the litigation between the Debtor and
  Spencer Condominium and related parties and the stipulation for settlement therein. The 14 day
  Stay period pursuant to Bankruptcy Rule 4001(a)(3) is waived. No property of the estate will be
  affected by this Order”.

  In the case of Real Estate Holdings Group, vs. Spencer Condominium No. 159254/2013 on July
  27, 2016, Real Estate Holdings Group, L.D.C. (“REHG”) Owner of The New York Condominium
  filed an Order to Show Cause to enforce the confidential Stipulation of settlement executed by the
  parties on March 2015. On March 2, 2017, Honorable Judge Singh granted Plaintiff REHG’s
  Motion to enforce the Confidential Settlement with Spencer Condominium as the stay has been
  vacated and ordered the parties to comply with the terms of the settlement within 30 days of the
  Order. The matter is adjourned to April 25, 2017 (2:30 pm) to monitor compliance.

          In the case of Board of Managers of Spencer Condominium v. Elizabeth Hazan No.
  109083/2008 Spencer has obtained an award in the amount of $109,554.86. This award was never
  converted to a judgment entered or recorded in any court. However the parties have agreed that
  this amount of alleged money owed by the Debtor to Spencer prior to her transfer of ownership of
  the New York condo in 2011 almost 6 years ago shall be paid by REHG and not by the Debtor in
  the plan. Spencer has no standing to object to the Debtor’s plan or object to her confirmation and
  is bound by their in full force and effect confidential Stipulation of Settlement executed on March
  2015.

         The New York Condominium is presently listed for sale for $4,250,000.00 and is being
  actively marketed and shown to prospective buyers.

  Reorganization




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          The Debtor intends to reorganize her debts and liabilities through a combination of: (a)
  negotiating and/or litigating as may be necessary, resolutions with certain secured and unsecured
  creditors; and (b) making distributions funded by her assets and income from her consulting work,
  or if necessary, refinancing and contributions from her husband’s companies.

           To date, the Debtor’s efforts have focused on negotiating resolutions with several creditors,
  litigating with two other creditors, conferring with counsel to begin formulating the structure and
  terms of a proposed Plan, and expanding her consulting income for the eventual benefit of her
  estate and creditors.

         E.      Significant Events During the Bankruptcy Case

                 *       Date of Order for Relief under Chapter 11 on 1/11/16.

                 *       Meeting of Creditors Chapter 11 held on 2/17/16 at 2PM.

                 *       Deadline for complaint re dischargeability was 4/18/16.

                 *       Professionals approved by the court
                         Geoffrey Aaronson appointed 5/3/16 DE 85 nunc pro tunc to petition date.
                         Joel Aresty was substituted as counsel for Debtor in Possession on
                         7/29/2016 (D.E. 126).
                         David W. Langley entered an appearance as counsel for the Debtor on
                         9/6/2016 and was approved by the Court on October 19, 2016.

                 *       Contested claim disallowance proceedings: pending; see claim treatments.

                 *       Claims bar, proofs of claim due 5/17/16; For a governmental unit: 7/11/16

                 *       Debtor has managed her affairs to enhance the value of her assets. Post
                         petition, the bankruptcy filing, has allowed Debtor to reorganize allowing
                         Debtor to propose a plan for payment of creditors.

                 *       The Debtor obtained a Default against NLG, LLC in Adversary Case
                         No. 16-1439-AJC on March 17, 2017.


        ADVERSARY PROCEEDINGS Selective Advisors and Elizabeth Hazan v. NLG, LLC,
  Adv. Case No. 16-1439-AJC

         On August 21, 2016 Selective filed an Adv. Case No. 16-1439-AJC D.E.1. On 10/21/2016
  Debtor moved to amend the Complaint to add Debtor, Liza Hazan as Plaintiff. On October 20,
  2016. D.E.8. NLG filed their answer and their counterclaims. D.E5 and D.E 6.
         On 11/08/16 Plaintiffs Selective and Hazan filed their motions to dismiss Count I and
  Count II of NLG’s counterclaims and Motion for Judgment on the pleading D.E. 11 and D.E. 12.
  On December 6, 2016 Plaintiffs Selective and Hazan filed their Motion for leave to file Amended


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  Complaint against NLG to add a count under Florida Statute § 65.08 and Florida Statute §
  65.011for quieting title and a count for damages. D.E. 32. On December 19, 2016 This Court
  ordered the parties to submit Orders on Plaintiffs’ motions to dismiss NLG’s counterclaims and
  Plaintiffs’ motions for Judgment on the Pleadings. On December 23, 2016 Debtor Hazan amended
  her Complaint to add additional Counts D.E. 40. On 12/30/2016 This Court entered an Order
  granting Plaintiff’s Motion to amend and allowing Second Amended Complaint. On January 3,
  2017 Plaintiffs filed their Second Motion to Amend Complaint to add additional Tort claims, D.E
  47 and D.E 48, adding additional torts.
          On 01/13/17 NLG’s counsel, Michael Friedman, filed his expedited Motion to Withdraw
  as attorney of record for NLG citing irreconcilable differences D.E 54. On 01/23/17 this Court
  granted Michael Friedman’s Motion to Withdraw, D.E 61, and also granted Plaintiffs Selective
  and Hazan’s Second Motion to amend Complaint. D.E 62.
          On 02/22/17 NLG’s third counsel filed his notice of appearance - James Miller, D.E.75.
  On 03/01/17 NLG’s third counsel filed his expedited motion to withdraw citing once again
  irreconcilable differences and also filed his motion to allow NLG to extend time to meet the
  Court’s deadlines. D.E. 76. On 03/03/2017 Plaintiffs Selective and Hazan filed their Motion for
  Default against NLG for failing to answer Plaintiffs’ Third Amended Complaint. D.E. 85. On
  03/10/17 this court denied NLG’s motion to extend time. D.E. 94.
          On 03/17/17 this Court granted in part Plaintiff’s Motion for Default against Defendant
  NLG and denied Plaintiffs’ motion for judgment on pleadings as moot because of the subsequent
  filings and amendments. This Court granted a Default in favor of Plaintiffs and against Defendant
  NLG and ruled as follows:

                The Court also finds that the withdrawal and retention of multiple counsel by the
                Defendant does not constitute “cause” or “excusable neglect” warranting an
                extension of time to comply with filing requirements. The Court set deadlines in
                this case for the filing of pleadings, specifically the filing of a responsive pleading
                to the second amended complaint; but the Defendant did not meet those deadlines
                and has failed to demonstrate sufficient cause exists to extend those deadlines.
                Accordingly, the Court believes the Plaintiff is entitled to a default…”D.E 100.

         NLG moved to vacate the default on March 24, 2017 (D.E. 104). The Court denied the
  Motion on April 20, 2017 (D.E. 112).
         Present counsel for NLG (its fourth) filed an Expedited Motion to Withdraw on May
  4, 2017. This follows an expedited Motion to Withdraw filed by prior counsel, James Miller,
  on March 1, 2017 which followed an Expedited Motion to Withdraw filed by the Genovese
  firm on January 12, 2017. NLG’s initial counsel moved to withdraw in the main case on
  September 12, 2016.

  Valencia Estates Homeowners’ Association

         The Debtor has entered into a Stipulation for Settlement with Valencia Estates
  Homeowners’ Association, Inc. The Debtor has agreed to approval of the stipulation by this Court
  and the Association has agreed to support the Debtor’s reorganization.

         F.     Projected Recovery of Avoidable Transfers



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         The Debtor has completed her investigation with regard to prepetition transactions.

         11 USC 547(b) preferences limits the look back for an insider preference to one year.
  Florida statute 726.106(2) likewise has a one year limitation.

          11 USC 548 fraudulent transfers has a two year look back, and incorporates Florida Statute
  726 which has a four year look back, but only as to avoidance for intentional hinder delay or fraud,
  or lack of reasonable equivalent value, which facts are not relevant to the plan in this case.

          The Internal Revenue Service has filed a Proof of Claim in this case. The statute of
  limitations for the IRS to contest a transfer is ten years and has not yet run. IRS has not
  challenged any transfers in this case and has not appeared in the case other than to file of a
  Proof of Claim. Debtor transferred the New York Condominium on August 2011. The
  Debtor contends that the New York Condominium had no equity at the time of the transfer.


         G.      Claims Objections

        The Debtor has not completed claim objections but the current plan reflects the objections
  contemplated.

         H.      Current and Historical Financial Conditions

           The identity and fair market value of the estate’s assets are listed in an Exhibit A and B to
  this statement. Debtor is the source of this information and Debtor’s experience with her assets is
  the basis of valuation.
           Debtor’s income based on consulting is not a regular monthly income which would lend
  itself to making monthly payments. Debtor’s income, while significant, is sporadic, as a result of
  which payments are proposed on quarterly or bi-yearly basis.

         I. Taxes

  Debtor has tax liabilities as evidenced by priority claim in plan Class 1.

  III.   SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF
         CLAIMS AND EQUITYINTERESTS

         A.      What is the Purpose of the Plan of Reorganization?

          As required by the Code, the Plan places claims and equity interests in various classes and
  describes the treatment each class will receive. The Plan also states whether each class of claims
  or equity interests is impaired or unimpaired. If the Plan is confirmed, your recovery will be limited
  to the amount provided by the Plan.

         B.      Unclassified Claims



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         Certain types of claims are automatically entitled to specific treatment under the Code.
  They are not considered impaired, and holders of such claims do not vote on the Plan. They may,
  however, object if, in their view, their treatment under the Plan does not comply with that required
  by the Code. As such, the Plan Proponent has not placed the following claims in any class:
                1.        Administrative Expenses

          Administrative expenses are costs or expenses of administering the Debtor’s Chapter 11
  case which are allowed under §507(a)(2) of the Code. Administrative expenses also include the
  value of any goods sold to the Debtor in the ordinary course of business and received within 20
  days before the date of the bankruptcy petition. The Code requires that all administrative expenses
  be paid on the effective date of the Plan, unless a particular claimant agrees to a different treatment.

                 2.      Priority Tax Claims

         Priority tax claims are unsecured income, employment, and other taxes described by
  §507(a)(8) of the Code. Unless the holder of such a §507(a)(8) priority tax claim agrees otherwise,
  it must receive the present value of such claim, in regular installments paid over a period not
  exceeding 5 years from the order of relief.

         See class 1 below

         C.      Classes of Claims and Equity Interests

          The following are the classes set forth in the Plan, and the proposed treatment that they
  will receive under the Plan:

         Classes of Priority Unsecured Claims

         Certain priority claims that are referred to in §§507(a)(1), (4), (5), (6), and (7) of the Code
  are required to be placed in classes. The Code requires that each holder of such a claim receive
  cash on the effective date of the Plan equal to the allowed amount of such claim. However, a class
  of holders of such claims may vote to accept different treatment.

          The following chart lists all classes containing claims under §§507(a)(1), (4), (5), (6), and
  (a)(7) of the Code and their proposed treatment under the Plan:

         Classes of Secured Claims

          Allowed Secured Claims are claims secured by property of the Debtor’s bankruptcy estate
  (or that are subject to setoff) to the extent allowed as secured claims under §506 of the Code. If
  the value of the collateral or setoffs securing the creditor’s claim is less than the amount of the
  creditor’s allowed claim, the deficiency will [be classified as a general unsecured claim].

          The following chart lists all classes containing Debtor’s secured prepetition claims and
  their proposed treatment under the Plan:



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          General unsecured claims are not secured by property of the estate and are not entitled to
  priority under §507(a) of the Code.

         The following chart identifies the Plan’s proposed treatment of Class contains general
  unsecured claims against the Debtor:

         Class[es] of Equity Interest Holders

         Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in
  the Debtor. With respect to an individual who is a debtor, the Debtor is the equity interest holder.



    Admin     Description                                 Treatment
              Geoffrey Aaronson                 Mr. Aaronson has agreed to
                                                accept payment in the amount of
                                                $142,686.86 in fees and
                                                $2,313.13          in       costs
                                                reimbursement, from a third
                                                party in full satisfaction of this
                                                claim.

              Joel Aresty                       Mr. Aresty has agreed to accept
                                                $35,000.00 in fees and
                                                $1,500.00 in costs payable as
                                                follows: $3000 within 5 days of
                                                entry of Order Approving
                                                Settlement (submitted but not
                                                yet entered) followed by 19
                                                payments of $1500 starting May
                                                1, 2016 and an additional $5000
                                                at confirmation.

              David W. Langley                  Paid as awarded or agreed.



              US Trustee                        paid in full at confirmation



                                           Priority Claims



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                                        Priority Claims




     Class #       Description
                                           Impairment                      Treatment



                                                              The $24,663.00 priority tax claim

                      IRS                                     will be paid within five years of the
                                                              petition date. Payments every six
         1                                     yes
                                                              months to include interest on any
                   Claim #3                                   unpaid claim amounts after the

                                                              effective date of the plan at 3%



                                    Secured Claims
                   6913 Valencia Drive Property Fisher Island Florida


                                                          First Secured Mortgage –
                                                          The claim bar date has passed in this
                                                          case, and Chase has not filed a Proof
                                                          Of Claim. Chase was scheduled as
                                                          disputed, contingent and unliquidated.

                                                          Original note in the amount of
                                                          $3,825,000.00 signed by Debtor on
                                                          March 2007 with Washington Mutual
     2         Chase Bank                      yes        Bank. Chase Bank filed an Assignment
                                                          of mortgage on 5/26/16 alleging an
                                                          interest in the loan. Debtor has
                                                          obtained stay relief on November 16,
                                                          2016 to continue State Court litigation
                                                          regarding     the    alleged    default,
                                                          ownership of the loan and standing
                                   no
                                                          issues. If the State Court enters a final
                                                          order finding and determining the


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                                                validity, amount and enforceability of
                                                the mortgage and the assignment
                                                thereof, Debtor shall commence
                                                making payments of principal and
                                                interest on the balance found by a court
                                                of competent jurisdiction to be due and
                                                owing, at the interest rate provided in
                                                the loan documents amortized over the
                                                remaining original term of the loan
                                                (maturity date 2051) commencing 30
                                                days after the State Court Order
                                                becomes final.
                                                Pending adjudication of Chase’s
                                                alleged interest in the loan and the
                                                subject property Chase shall have
                                                adequate protection in the form of an
                                                equity cushion that exceeds the amount
                                                of the loan. See In re DiMaria, 202
                                                B.R. 634 (S.D. Fla 1996).
                                                Chase has agreed to withdraw all
                                                objection   to    this   Disclosure
                                                Statement and the Debtor has
                                                agreed that any objections to
                                                confirmation are preserved.


                                                Selective Advisors Group, LLC
                                                (“Selective”) is the rightful assignee of
                                                the satisfied second mortgage
                                                previously held by NLG (“NLG”).
                                                Selective is the rightful assignee of the
                                                satisfied promissory Note, Mortgage
                                                and Judgment previously held by NLG
            Selective Advisors
     3                                    yes   gainst The Debtor in the amount of
               Group, LLC
                                                $1,618,068.00 plus interest at 11% per
                                                annum (“the Scola Judgment”) from
                                                April 28, 2008,

                                                Selective has recorded a Satisfaction of
                                 yes
                                                this Mortgage and Judgment against
                                                the Debtor and her property on August


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                                                20, 2014 and August 21, 2014. per the
                                                Final Order of Assignment of Hon.
                                                Judge Peter Lopez entered on August
                                                20, 2014.

                                                NLG appeared in this case but failed to
                                                timely file a proof of claim. NLG is
                                                merely a notice party. NLG is not a
                                                scheduled creditor in this case.
                                                Selective is listed in Debtor’s schedule
                                                as her creditor. On May 13, 2016 NLG
                                                moved for stay relief in this court (D.E.
                                                66) but said relief was denied (D.E.
                                                176) on August 23, 2016. Selective, an
                                                affiliate of Debtor’s husband, owns
                                                NLG’s claim through execution on a
                                                judgment against NLG. On August 23,
                                                2016 the bankruptcy court entered
                                                its decision denying NLG’s motion
                                                for relief from the automatic stay.
                                                ECF 176.

                                                        On August 21, 2016, Selective
                                                sued NLG in this bankruptcy Court
                                                ADVERSARY            PROCEEDINGS
                                                Selective Advisors and Elizabeth
                                                Hazan v. NLG, LLC, Adv. Case No.
                                                16-1439-AJC for avoidance of NLG’s
                                                alleged claimed lien on Debtor’s
                                                Homestead property on Valencia Drive
                                                Fisher Island Florida. On January 3,
                                                2016 Hazan, additional Plaintiff and
                                                Selective filed their Motion to amend
                                                their Complaint to add a count seeking
                                                to Quiet Title to the property, and a
                                                number of tort claims, which motion
                                                was granted on January 23, 2016.

                                                        On March 20, 2017 The
                                                Court awarded a default in favor of
                                                Plaintiffs Selective and Hazan and
                                                against Defendant NLG, LLC. (D.E.
                                                100.) The Court granted a Default in
                                                favor of Plaintiffs and against


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                                                Defendant NLG, LLC and ruled as
                                                follows: “The Court also finds that the
                                                withdrawal and retention of multiple
                                                counsel by the Defendant does not
                                                constitute “cause” or “excusable
                                                neglect” warranting an extension of
                                                time to        comply with          filing
                                                requirements. The Court sets deadlines
                                                in this case for the filing of pleadings,
                                                specifically the filing of a responsive
                                                pleading to the second amended
                                                complaint; but the Defendant did not
                                                meet those deadlines and has failed to
                                                demonstrate sufficient cause exists to
                                                extend those deadlines. Accordingly,
                                                the Court believes the Plaintiff is
                                                entitled to a default…”D.E 100

                                                Second Secured Mortgage in the
                                                amount of $2,000.000.00 plus accrued
                                                interest from March 14, 2012.
     4     6913 Valencia LLC              yes
                                 Yes            The Debtor does not contest the
                                                validity or extent of 6913 Valencia
                                                LLC’s Mortgage on her Homestead
                                                property claim.
                                                Valencia      Estates     Community
                                                Association’s (“Valencia”) Claim#10
                                                in the amount of $195,072.14. Treated
                                                in settlement as follows:
                                                1. Debtor paid $2,193.17 Aug 17, 2016
                                                for due maintenance.
                                                2. Debtor has paid 4 months in advance
            Valencia Estates
     5    Community Assn, Inc             yes   for September, October, November
               claim #10                        and December 2016 assessments for a
                                                total amount of $4,484.00 as per the
                                                Stipulation.
                                  no            3. Debtor has paid the 2016 special
                                                assessment in the amount of $6250.00
                                                as per the Stipulation.
                                                4. The Parties agreed that Claim
                                                Number 10 shall be paid in the amount



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                                                of $195,000.00 with 3.5% interest in
                                                the Chapter 11 Plan, over forty-eight
                                                (48) months, with one payment on the
                                                Effective Date of $4,062.00, and
                                                payments every five (5) months
                                                thereafter in the amount of $20,312.50
                                                following the Effective Date until paid
                                                in full, with the interest payments to be
                                                made annually on the twelfth month.

                                                Valencia    Estates     Community
                                                Association, Inc withdrew its
                                                objections to Debtor’s disclosure
                                                and has agreed to vote for Debtor’s
                                                plan.

                                                            Claim settled.

                                                Agreed Order Approving Stipulation
                                                of Settlement of Claim 10 filed by
                                                Valencia    Estates    Homeowners’
                                                Association entered on 11/18/16 D.E
                                                302.

                                                Late filed Proof Of Claim in the
                                                amount of $216,278.97 on 10/20/16 –
                                                Disputed by Debtor and Disallowed
                                                by this Court.


                                                The Debtor has filed an objection to the
                                                amount of the Claim challenging
             Fisher Island
     6    Community Ass'n, Inc            yes   Fisher Island’s standing as a “party in
              Claim #18                         interest.” In re E.S. Bankest, L.C. 321
                                                B.R. 590 (Bankr. S.D. Fla. 2005).
                                                Fisher Island Community Association,
                                  no            Inc. did not timely file a Proof Of
                                                Claim and its Motion to Allow a Late
                                                Filed Claim has been denied on
                                                November 16, 2016.




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                                                        Claimant 3343 West Commercial
                                                        Blvd. 100 (Fisher Island Community
                                                        Association).
                                                        Order    granting  Fisher      Island
                                                        Community Association, Inc.’s Motion
                                                        for relief from Stay entered on
                                                        11/23/16
                                                        Claim Disallowed Claim by this
                                                        Court. No payment through Plan.
              Miami-Dade Water
                     and
                                                        Claim #7 $1502.54 to be paid on the
     7             Sewer             no        yes
                                                            Effective Date of The Plan
                  claim #7

                                                        $393,985.17 - Secured claim shall be
                                                        paid over ten years with interest
                     IRS
                                     no                 payments every 6 months to include
     8             claim #3                    yes
                                                        interest on any unpaid claim amounts
                                                        after the effective date of the plan at
                                                        3%.
                                                         $57649.47 Miami-Dade County Tax
              Miami-Dade County                            Collector Secured claim on 6913
                 Tax Collector                           Valencia Drive property Fisher Island
     9
                                     no        yes          FL 33109 has been paid in full.
                  Claim #6
                                                                Claim #6 paid in full.



                                   Other Disputed Claims

                                    Insider
    Class #       Description                      Impairment      Treatment

                                                                   Claim 8 in the amount of
                                                                   $322,846.72        allegedly
                                                                   secured second mortgage
                  Real Time                                        Line of credit on property
                Resolutions, Inc                                   located at 1 East 62nd Street
                                                       yes
      10           claim #8                                        Apt 1 A NYC NY 10065 is
                                                                   disputed by Debtor.
                                      no                           Alleged      Creditor   has
                                                                   agreed to complete stay
                                                                   relief in settlement of this


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                                                              claim in this case and has
                                                              agreed to support Debtor’s
                                                              plan of reorganization and
                                                              vote the entire amount of its
                                                              alleged claim in favor of
                                                              Debtor’s plan. (ECF 163)

                                                                    Claim settled.




    Class #      Description
                                  Insider        Impairment           Treatment

                                                              The Debtor disputes the
                                                              Claim #14 filed by The
                                                              Board      of    Managers
                                                              Spencer       Condominium
                                                              (“Spencer”). The parties
                                                              reached a Confidential
                                                              Stipulation Of Settlement
                                                              in March 2015 in New
                                                              York. The Debtor is only
                                                              personally liable for the
                                                              amount of $109,554.86
                                                              representing the alleged
                                                              disputed        outstanding
                                                              maintenance fees owed by
              Board of Managers                               Debtor prior to her transfer
                   Spencer                                    of ownership of the
      11                                            yes
                Condominium                                   property located at 1 East
                  claim #14                                   62nd Street Apt 1 A NYC
                                                              NY 10065. This amount
                                                              will be paid by Real Estate
                                    no                        Holdings Group, L.D.C.
                                                              (“REHG”), the owner of
                                                              the       New          York
                                                              condominium located at 1
                                                              East 62nd Street Apt 1A,
                                                              New York, NY 10065.
                                                              REHG, Spencer and Debtor
                                                              Hazan and other parties are
                                                              bound by the Confidential
                                                              Stipulation of Settlement
                                                              executed in March 2015
                                                              (“Settlement”). The vast



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                                                                  remaining portion of the
                                                                  Spencer Condo Board of
                                                                  Managers’ claim is to be
                                                                  paid by the owner of the
                                                                  unit, REHG, per the
                                                                  Settlement executed in
                                                                  March 2015 by the parties.

                                                                  On March 1, 2017 this
                                                                  Court granted Debtor’s
                                                                  Motion for Stay relief,
                                                                  allowing the New York
                                                                  Court      to   exercise
                                                                  jurisdiction over and
                                                                  enforce the confidential
                                                                  Settlement Agreement.

                                                                  On March 2, 2017, New
                                                                  York Supreme Court
                                                                  Judge Singh granted
                                                                  REHG’s      Motion    to
                                                                  Enforce The Confidential
                                                                  Stipulation entered in
                                                                  March 2015 between the
                                                                  parties.

                                                                  No payment through the
                                                                  plan. Claim settled.




                                            Vehicle
                                    2007 Mercedes-Benz S550




    Class #      Description          Insider                            Treatment
                                                     Impairment


                                                                  Stipulation Of Settlement
              Southeast Financial                                 DE 98 approved by this
      12                                                yes
                    LLC                                           Court DE 101.




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                                                                    Vehicle     owned       by
                                                                    Holdings             Trust
                                         no                         Management Group LLC.
                                                                    Southeast Financial LLC’s
                                                                    Secured Lien is guaranteed
                                                                    by the Debtor.

                                                                    Secured claim allowed
                                                                    $17,000 value to be paid at
                                                                    5.25% for 48 months
                                                                    payments in the amount of
                                                                    $393 began on August 1,
                                                                    2016 and are current.

                                                                          Claim settled.



                        Convenience Class Undisputed Unsecured Small Claims
              Paid in full over 18 months beginning month 6 after confirmation with equal
                                     payments every 6 months




                                       Insider?
    Class #       Description
                                        (Yes or        Impairment          Treatment
                                          No)

      13          IRS Claim #3           no                X                 1085.00
              American InfoSource        no
                                                           X                 1130.00
               T Mobile Claim #2
              American InfoSource        no
                                                           X                  461.00
              Direct TV Claim # 9
                 FPL Claim #11           no                X                 2906.93
                   Mount Sinai           no                X                 3,240.00
                   Mount Sinai           no                X                  295.91
                HSBC Bank USA            no
                                                           X                 1070.66
                       NA
               Sterling Emerg Svc        no                X                 2445.30
              Bank of America NA         no                X                 3301.00
               Wells Fargo Claim         no
                                                           X                  323.24
                       #12
                    Real Time            no
                                                           X                12,000.00
              Resolutions Claim #5


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                      Total                                                      28,259.04



                                      Settled Unsecured Claims
      Allowed Undisputed Unsecured Claims will be paid within two years of petition date
            1/11/18 payments beginning month 6 after confirmation and every 6 months



     Class #          Description            Insider?     Impaired                      treatment

                                              (Yes or

                                                No)

       14        JMB Urban 900 Dev.             no            X        $664,380.47 will be paid 41% or
                                                                       275,000.00 per settlement 18 months from
                       claim #4*                                       the petition date. Adversary proceedings
                                                                       16-01188-AJC closed on 7/22/16 and
                                                                       Case settled 16-01188-AJC.

                   S&S Collections              no            X        $21,242 Claim settled for 41% per
                   Simon & Sigalos                                     stipulation to be paid 18 months from
                      claim #13                                        petition date.

                                                                                      Claim settled


                 Newman Ferrara LLP             no            X        $24,818.44 Legal bill Legal work for
                     claim #15                                         Corporation other than the Debtor.


                                                                            The Claim bar date has passed.
                                                                                  Unallowed claim.



  *claim 4 subject of adversary case 16-01188 AJC settlement at 41% of claim

  ** insider claim will subordinate and not be paid until all other allowed claims but reserves right
  to vote for the plan

                                     Disputed Unsecured Claims
                                   not paid until and unless allowed


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                         and then paid within 5 years after confirmation

                                                                        $11,023.83
                                                           Legal Bill for corporation other than
                                                                          Debtor.
               Cross & Simon
     15                                no        X                  Unallowed claim.
                 Claim #1
                                                               No payment through Plan




                                                          Disputed Proof of Claim filed after
                                                          Claim Bar Date. Fuerst Ittleman David
                                                          & Joseph, P.L. is not a creditor of this
           Fuerst Ittleman David                          Debtor. Debtor has filed an objection
              & Joseph, P.L.           no                 to this claim. Fuerst Ittleman David &
     16                                          X        Joseph, P.L. have agreed that they are
                  Claim #16                               not a creditor of this estate.

                                                               No payment through plan.
                                                                   Unallowed Claim.



                       Unsecured Scheduled Disputed and No Claim Filed
                                     Therefore Disallowed
   Allied Collection                             318

   ATT Mobility                                  3919

   First National Collection                     246.08

   Focus Mgt                                     772

   Marzec Law Firm                               0

   Mount Sinai Medical                           31414.15

   Ray Garcia PA                                 7026.15


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   Verizon                                1758

   US Bank NA                             Unknown
                                          The Debtor entered into a Stipulation of
                                          Settlement with US Bank NA (D.E. 345)
                                          granting the parties complete stay relief which
                                          was approved by the Court by Order dated
                                          1/18/2017, D.E. 371.

                                          US Bank did not file a proof of claim and will
                                          not be paid through the Plan. Claim settled.

   NLG, LLC                               NLG, LLC did not timely file a proof of claim
                                          and NLG, LLC’s alleged Claim has been
                                          judicially assigned per The Final Order
                                          entered by Judge Peter Lopez on August 2014.
                                          NLG, LLC will not be paid through the
                                          Plan.
                                          NLG, LLC has no standing in this case and is
                                          not a creditor of the Debtor’s Estate.
                                          NLG appeared in this case but failed to timely
                                          file a proof of claim. NLG, LLC is merely a
                                          notice party. NLG, LLC is not a secured
                                          creditor in this case. Selective Advisors Group,
                                          LLC (“Selective”), is listed in Debtor’s
                                          schedule as her creditor.

                                          On May 13, 2016 NLG, LLC moved for stay
                                          relief in this court (D.E. 66). Selective, an
                                          affiliate of Debtor’s husband, owns NLG’s
                                          claim through execution on a judgment against
                                          NLG, LLC. On August 23, 2016 the
                                          bankruptcy court entered its decision
                                          denying NLG, LLC’s motion for relief from
                                          the automatic stay. ECF 176
                                          On 03/17/17 this Court granted in part
                                          Plaintiff’s Motion for Default against
                                          Defendant NLG, LLC in the Adversary,
                                          Case No. 16-1439 Selective Advisors Group,
                                          LLC and Liza Hazan AKA Elizabeth Hazan
                                          Liza Hazan AKA Elizabeth Hazan V.
                                          Defendant NLG, LLC in the Adversary. See
                                          D.E. 100. This Court granted a Default in


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                                                      favor of Plaintiffs Selective Advisors Group,
                                                      LLC and Debtor Liza Hazan AKA
                                                      Elizabeth Hazan and against Defendant
                                                      NLG, LLC

   Total                                              45453.38




                                                Equity

           Class #          Description         Impairment
                                                                         Treatment

                          Equity Individual
                17                                    no                   retained
                           interest holder



           D.        Means of Implementing the Plan

                     1.    Source of Payments

          Debtor works as a business consultant specializing in identifying locations for high-end
  restaurants and retailers around the world. She has always earned at least $350,000 per year and
  in 2014 a personal income of $420,000.
          Debtor has executed in the last quarter of 2016 contracts that have earned her income
  comparable to past years, to be paid in installments, and additional payments throughout the
  construction phase, and the last remaining portion upon opening of the clients for business.
          Debtor has contracts to expand a nationwide and worldwide very high end retail operator
  that has already over 50 existing stores and is planning to open over 100 new locations in the next
  five years.
          Debtor has also exclusive contracts with high end restaurants and is responsible for their
  expansion nationwide. Debtor is in charge of finding new locations and is also responsible of their
  construction, architectural plans etc all the way through their opening of their new locations.
          Debtor’s husband controls a company called Real Estate Holdings Group, L.D.C.
  (“REHG”) which owns a New York condominium on Fifth Avenue and 62nd street New York Apt
  1 A NYC NY 10065 appraised at $4,500,000.00 that has in excess of $2,500,000.00 in equity. The
  company, REHG, has agreed to refinance and also sell the condominium to fund the plan in order
  to assure successful reorganization and completion of the plan.
          The Debtor’s primary asset is her homestead residence located at 6913 Valencia Drive,
  Fisher Island, Florida (the “Property”) valued at $12 million.
          Additionally debtor has scheduled household furniture, dishes and china, household
  electronics and clothing, shoes and accessories and jewelry, fixtures and art valued at $327,500.


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         The equity in Fisher Island would also support a refinancing, which could also be used
  support funding a plan if necessary.

                 2.      Post-confirmation Management

  The Post-Confirmation Managers of the Debtor, and their compensation, shall be as follows:

   Name                Affiliations        Insider (yes or     Position            Compensation
                                           no)?
   Liza Hazan          Debtor              yes                 Debtor              n/a

          E.     Risk Factors

          Certain substantial risk factors are inherent in most plans of reorganization in Chapter 11
  cases. If such Plans are accepted, it is usually because they represent a greater return in dividends
  than in a liquidating Chapter 7 case. This Plan bears the risk that the Debtor’s income may be
  reduced or her expenses may increase, all of which may reduce the Debtor's ability to make
  payments under this Plan. However, any distribution to unsecured creditors will be greater than
  what would be realized in liquidation.

       ALL THE RISK FACTORS INHERENT IN A PLAN OF REORGANIZATION UNDER
  CHAPTER 11 ARE PRESENT IN THIS CASE. CREDITORS ARE URGED TO CAREFULLY
  READ THIS DISCLOSURE STATEMENT AND THE ACCOMPANYING PLAN OF
  REORGANIZATION SO THAT AN INFORMED JUDGMENT CAN BE MADE WITH
  RESPECT TO VOTING ON THE PLAN.


          F.     Executory Contracts and Unexpired Leases

          The Plan, in Article 6, lists all executory contracts and unexpired leases that the Debtor
  will assume under the Plan. There are none. Assumption means that the Debtor has elected to
  continue to perform the obligations under such contracts and unexpired leases, and to cure defaults
  of the type that must be cured under the Code, if any. Article also lists how the Debtor will cure
  and compensate the other party to such contract or lease for any such defaults.

          If you object to the assumption of your unexpired lease or executory contract, the proposed
  cure of any defaults, or the adequacy of assurance of performance, you must file and serve your
  objection to the Plan within the deadline for objecting to the confirmation of the Plan, unless the
  Court has set an earlier time.

  All executory contracts and unexpired leases that are not listed in Article 6 will be rejected under
  the Plan. Consult your adviser or attorney for more specific information about particular contracts
  or leases.




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  If you object to the rejection of your contract or lease, you must file and serve your objection to
  the Plan within the deadline for objecting to the confirmation of the Plan.

         The Deadline for Filing a Proof of Claim Based on a Claim Arising from the Rejection
  of a Lease or Contract is no later than thirty (30) days after the date of the order confirming this
  Plan. Any claim based on the rejection of a contract or lease will be barred if the proof of claim is
  not timely filed, unless the Court orders otherwise.

         G.      Tax Consequences of Plan

         Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
  Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

  A summary description of certain United States (“U.S.”) federal income tax consequences of the
  Plan is provided below. The description of tax consequences below is for informational purposes
  only and, due to lack of definitive judicial or administrative authority or interpretation, substantial
  uncertainties exist with respect to various U.S. federal income tax consequences of the Plan as
  discussed herein. Only the potential material U.S. federal income tax consequences of the Plan to
  the Debtor and to a hypothetical investor typical of the holders of Claims and Interests who are
  entitled to vote to confirm or reject the Plan are described below. No opinion of counsel has been
  sought or obtained with respect to any tax consequences of the Plan, and no tax opinion is being
  given in this Disclosure Statement. No rulings or determinations of the Internal Revenue Service
  (the “IRS”) or any other tax authorities have been obtained or sought with respect to any tax
  consequences of the Plan, and the discussion below is not binding upon the IRS or such other
  authorities. No representations are being made regarding the particular tax consequences of the
  confirmation and consummation of the Plan to the Debtor or to any holder of Claims in Impaired
  Classes or Class 4 Equity Interests. No assurance can be given that the IRS would not assert, or
  that a court would not sustain, a different position from any discussed herein.
  The discussion of the U.S. federal income tax consequences below is based on the Internal
  Revenue Code of 1986, as amended (the “Tax Code”), Treasury Regulations promulgated and
  proposed thereunder, judicial decisions, and administrative rulings and pronouncements of the IRS
  and other applicable authorities, all as in effect on the date hereof. Legislative, judicial or
  administrative changes or interpretations enacted or promulgated in the future could alter or
  modify the analyses and conclusions set forth below. It cannot be predicted at this time whether
  any tax legislation will be enacted or, if enacted, whether any tax law changes contained therein
  would affect the tax consequences to the holders of Claims. Any such changes or interpretations
  may be retroactive and could significantly affect the U.S. federal income tax consequences
  discussed below.

  THIS DISCUSSION DOES NOT ADDRESS FOREIGN, STATE OR LOCAL TAX
  CONSEQUENCES OF THE PLAN, NOR DOES IT PURPORT TO ADDRESS THE U.S.
  FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN TO SPECIAL CLASSES
  OF TAXPAYERS (SUCH AS FOREIGN ENTITIES, NON RESIDENT ALIEN
  INDIVIDUALS, PASS-THROUGH ENTITIES SUCH AS PARTNERSHIPS AND
  HOLDERS THROUGH SUCH PASS-THROUGH ENTITIES, S CORPORATIONS,
  MUTUAL FUNDS, INSURANCE COMPANIES, FINANCIAL INSTITUTIONS, SMALL



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  BUSINESS INVESTMENT COMPANIES, REGULATED INVESTMENT COMPANIES,
  CERTAIN SECURITES TRADERS, BROKER-DEALERS AND TAX-EXEMPT
  ORGANIZATIONS). FURTHERMORE, ESTATE AND GIFT TAX ISSUES ARE NOT
  ADDRESSED HEREIN AND TAX CONSEQUENCES RELATING TO THE
  ALTERNATIVE MINIMUM TAX ARE GENERALLY NOT DISCUSSED HEREIN.

  NO REPRESENTATIONS ARE MADE REGARDING THE PARTICULAR TAX
  CONSEQUENCES OF THE PLAN TO ANY HOLDER OF CLAIMS. EACH HOLDER OF
  A CLAIM IS STRONGLY URGED TO CONSULT ITS OWN TAX ADVISOR
  REGARDING THE U.S. FEDERAL, STATE, LOCAL AND FOREIGN TAX
  CONSEQUENCES OF THE TRANSACTIONS DESCRIBED HEREIN AND IN THE
  PLAN.

  IV.    CONFIRMATION REQUIREMENTS AND PROCEDURES

          To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the
  Code. These include the requirements that: the Plan must be proposed in good faith; at least one
  impaired class of claims must accept the plan, without counting votes of insiders; the Plan must
  distribute to each creditor and equity interest holder at least as much as the creditor or equity
  interest holder would receive in a chapter 7 liquidation case, unless the creditor or equity interest
  holder votes to accept the Plan; and the Plan must be feasible. These requirements are not the only
  requirements listed in §1129, and they are not the only requirements for confirmation.

         11 USC 1129(a)(15) provides: In a case in which the debtor is an individual and in which
  the holder of an allowed unsecured claim objects to the confirmation of the plan—
  (A) the value, as of the effective date of the plan, of the property to be distributed under the plan
  on account of such claim is not less than the amount of such claim; or
  (B) the value of the property to be distributed under the plan is not less than the projected
  disposable income of the debtor (as defined in section 1325 (b)(2)) to be received during the 5-
  year period beginning on the date that the first payment is due under the plan, or during the period
  for which the plan provides payments, whichever is longer.

        In the case at bar, Debtor has provided for payments not less than projected disposable
  income of the debtor during a five year period beginning with the first payment due under the plan.

  A.     Who May Vote or Object

          Any party in interest may object to the confirmation of the Plan if the party believes that
  the requirements for confirmation are not met.

          Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A
  creditor or equity interest holder has a right to vote for or against the Plan only if that creditor or
  equity interest holder has a claim or equity interest that is both (1) allowed or allowed for voting
  purposes and (2) impaired.




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          In this case, the Plan Proponent believes that classes are impaired and that holders of claims
  in each of these classes are therefore entitled to vote to accept or reject the Plan. The Plan
  Proponent believes that classes are unimpaired and that holders of claims in each of these classes,
  therefore, do not have the right to vote to accept or reject the Plan.

                  1. What Is an Allowed Claim or an Allowed Equity Interest?

          Only a creditor or equity interest holder with an allowed claim or an allowed equity interest
  has the right to vote on the Plan. Generally, a claim or equity interest is allowed if either (1) the
  Debtor has scheduled the claim on the Debtor’s schedules, unless the claim has been scheduled as
  disputed, contingent, or unliquidated, or (2) the creditor has filed a proof of claim or equity interest,
  unless an objection has been filed to such proof of claim or equity interest. When a claim or equity
  interest is not allowed, the creditor or equity interest holder holding the claim or equity interest
  cannot vote unless the Court, after notice and hearing, either overrules the objection or allows the
  claim or equity interest for voting purposes pursuant to Rule 3018(a) of the Federal Rules of
  Bankruptcy Procedure.

         The deadline for filing a proof of claim in this case was 5/17/16 for claims and 7/16/16
  for government units.

                  2. What Is an Impaired Claim or Impaired Equity Interest?

           As noted above, the holder of an allowed claim or equity interest has the right to vote only
  if it is in a class that is impaired under the Plan. As provided in §1124 of the Code, a class is
  considered impaired if the Plan alters the legal, equitable, or contractual rights of the members of
  that class.

                  3. Who is Not Entitled to Vote

          The holders of the following five types of claims and equity interests are not entitled to
          vote:

          • holders of claims and equity interests that have been disallowed by an order of the Court;
          • holders of other claims or equity interests that are not “allowed claims” or “allowed equity
          interests” (as discussed above), unless they have been “allowed” for voting purposes.
          • holders of claims or equity interests in unimpaired classes;
          • holders of claims entitled to priority pursuant to §§507(a)(2), (a)(3), and (a)(8) of the
          Code; and
          • holders of claims or equity interests in classes that do not receive or retain any value under
          the Plan;
          • administrative expenses.

  Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the
  Confirmation of the Plan [and to the Adequacy of the Disclosure Statement].

                  4. Who Can Vote in More Than One Class



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          A creditor whose claim has been allowed in part as a secured claim and in part as an
  unsecured claim, or who otherwise hold claims in multiple classes, is entitled to accept or reject a
  Plan in each capacity, and should cast one ballot for each claim.

         B.      Votes Necessary to Confirm the Plan

          If impaired classes exist, the Court can not confirm the Plan unless (1) at least one impaired
  class of creditors has accepted the Plan without counting the votes of any insiders within that class,
  and (2) all impaired classes have voted to accept the Plan, unless the Plan is eligible to be
  confirmed by “cram down” on non accepting classes, as discussed later in Section B.2.

          A class of claims accepts the Plan if both of the following occur: (1) the holders of more
  than one-half (1/2) of the allowed claims in the class, who vote, cast their votes to accept the Plan,
  and (2) the holders of at least two-thirds (2/3) in dollar amount of the allowed claims in the class,
  who vote, cast their votes to accept the Plan.

        A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in
  amount of the allowed equity interests in the class, who vote, cast their votes to accept the Plan.

                 2. Treatment of Non accepting Classes

          Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm
  the Plan if the non accepting classes are treated in the manner prescribed by §1129(b) of the Code.
  A plan that binds non accepting classes is commonly referred to as a “cram down” plan. The Code
  allows the Plan to bind non accepting classes of claims or equity interests if it meets all the
  requirements for consensual confirmation except the voting requirements of §1129(a)(8) of the
  Code, does not “discriminate unfairly,” and is “fair and equitable” toward each impaired class that
  has not voted to accept the Plan.

  You should consult your own attorney if a “cramdown” confirmation will affect your claim or
  equity interest, as the variations on this general rule are numerous and complex.



         C.      Liquidation Analysis

          To confirm the Plan, the Court must find that all creditors and equity interest holders who
  do not accept the Plan will receive at least as much under the Plan as such claim and equity interest
  holders would receive in a chapter 7 liquidation. A liquidation analysis is attached to this
  Disclosure Statement as exhibit B.

         D.      Feasibility




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          The Court must find that confirmation of the Plan is not likely to be followed by the
  liquidation, or the need for further financial reorganization, of the Debtor or any successor to the
  Debtor, unless such liquidation or reorganization is proposed in the Plan.

                 1. Ability to Initially Fund Plan

          The Plan Proponent believes that the Debtor will have enough cash on hand on the effective
  date of the Plan to pay all the claims and expenses that are entitled to be paid on that date. Tables
  showing the amount of cash on hand on the effective date of the Plan, and the sources of that cash
  are attached to this disclosure statement as Exhibits C and D.

                 2. Ability to Make Future Plan Payments And Operate Without Further
                 Reorganization

           The Plan Proponent must also show that it will have enough cash over the life of the Plan
  to make the required Plan payments.
           The Plan Proponent has provided projected financial information. Those projections are
  listed in Exhibit D.

         You Should Consult with Your Accountant or other Financial Advisor If You Have Any
  Questions Pertaining to These Projections.


  V.     EFFECT OF CONFIRMATION OF PLAN

         A.      DISCHARGE OF DEBTOR

           Discharge. In a case in which the debtor is an individual—
  (A) unless after notice and a hearing the court orders otherwise for cause, confirmation of the plan
  does not discharge any debt provided for in the plan until the court grants a discharge on
  completion of all payments under the plan;
  (B) at any time after the confirmation of the plan, and after notice and a hearing, the court may
  grant a discharge to the debtor who has not completed payments under the plan if—
  (i)the value, as of the effective date of the plan, of property actually distributed under the plan on
  account of each allowed unsecured claim is not less than the amount that would have been paid on
  such claim if the estate of the debtor had been liquidated under chapter 7 on such date;
  (ii) modification of the plan under section 1127 is not practicable; and
  (iii) subparagraph (C) permits the court to discharge; and
  (C)(*) the court may grant a discharge if, after notice and a hearing held not more than 10 days
  before the date of the entry of the order granting the discharge, the court finds that there is no
  reasonable cause to believe that—
  (i) section 522(q)(1) may be applicable to the debtor; and
  (ii) there is pending any proceeding in which the debtor may be found guilty of a felony of the
  kind described in section 522(q)(1)(A) or liable for a debt of the kind described in section
  522(q)(1)(B); and if the requirements of subparagraph (A) or (B) are met.




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          Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
  Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth herein,
  upon completion all payments required under the Plan to unsecured and priority creditors. Upon
  the satisfaction of all payments required under the Plan to unsecured and priority creditors, the
  Reorganized Debtor shall file a Final Report of Estate and Motion for Final Decree Closing Case
  on the Court approved local form.
          (a)     Notwithstanding the above, the Debtor may request that the Court close this
  bankruptcy proceeding prior to the entry of an Order of Discharge, pursuant to the following
  procedures:
          (b)     The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to Entry
  of Order of Discharge (the “Motion to Close”) after the following events have occurred: (I)
  payment of the Initial Payment (defined in the Plan) to unsecured and priority creditors; (ii)
  payment of all outstanding quarterly United States Trustee Fees as of the date of the Order
  approving the Motion to Temporarily Close; and (iii) the filing of all outstanding federal income
  tax returns. The Motion to Close shall certify that each of the above conditions have been met.
          (c)     The Motion to Close (and Notice of Hearing thereto) shall be served to all creditors
  and interested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. § 350(a),
  if each of the above conditions have been met.
          (d)     During the time that this bankruptcy case is temporarily closed, the provisions of
  the confirmation order shall remain in effect with respect to the treatment of creditor claims that
  existed as of the bankruptcy petition date, as long as the Debtor continues to be in compliance with
  the Plan and the Court’s Order Confirming Debtor’s Plan of Reorganization (the “Confirmation
  Order”), and as long as the Debtor timely makes all of the payments to unsecured and priority
  creditors, as contemplated under the Plan.
          (e)     Upon the satisfaction of all payments required under the Plan to creditors, the
  Debtor may file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b).
  Any Clerk of Court fees associated with filing of the motion to reopen shall be waived. The motion
  to reopen shall be verified and served upon all creditors and parties in interest and shall
  demonstrate that the Debtor has made all of the payments contemplated under the Plan to creditors.
          (f)     Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file
  a Final Report of Estate and Motion for Final Decree Closing Case on the Court-approved local
  form, which shall certify that all payments required under the Plan to creditors have been made.
  The Court may then grant the Debtor a discharge, pursuant to 11 U.S.C. § 1141(d)(5).




         B.      Modification of Plan

       The Plan Proponent may modify the Plan at any time before confirmation of the Plan.
  However, the Court may require a new disclosure statement and/or revoting on the Plan.

           The Plan Proponent may also seek to modify the Plan at any time after confirmation only
  if (1) the Plan has not been substantially consummated and (2) the Court authorizes the proposed
  modifications after notice and a hearing.




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         C.      Final Decree

          Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules
  of Bankruptcy Procedure, the Plan Proponent, or such other party as the Court shall designate in
  the Plan Confirmation Order, shall file a motion with the Court to obtain a final decree to close the
  case. Alternatively, the Court may enter such a final decree on its own motion.

                                 Respectfully submitted May 9, 2017:

                                          By: /s/ Liza Hazan
                                          The Plan Proponent

                                      By: David W. Langley, Esq
                                        8551 W. Sunrise Blvd.
                                               Suite 303
                                         Plantation, FL 33322
                                         dave@flalawyer.com
                                        Phone 954—356-0450
                                       By: /s/ David W. Langley

                                   Attorney for the Plan Proponent




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                                            IN THE CIRCUIT COURT OF THE 11TH
                                            JUDICIAL CIRCUIT IN AND FOR
                                            MIAMI-DADE COUNTY, FLORIDA

                                            CIRCUIT CIVIL DIVISION

                                            CASE NO.: 11-42770-CA 02



   NLG, LLC,

          Plaintiff,
   v.

   ELIZABETH HAZAN; an individual;
   UNKNOWN SPOUSE OF ELIZABETH HAZAN;
   an individual; 6913 VALENCIA, LLC,
   a Florida Limited Liability Corporation;
   J.P. MORGAN CHASE BANK, N.A.;
   a foreign Corporation, FISHER ISLAND
   COMMUNITY ASSOCIATION, INC.; a Florida
   Non Profit Corporation; VALENCIA ESTATES
   HOMEOWNERS ASSOCIATION, INC., a Florida
   Non Profit Corporation; and JOHN DOE and
   JANE DOE, individually, as unknown Tenants
   in possession of the Subject Property

          Defendants




                                ORDER GRANTING FORECLOSURE

          THIS ACTION came before the Court on October 14, 2015, on Plaintiff's Second

   Amended Motion for Judgment of Foreclosure and pursuant to the Florida Rules of Civil

   Procedure and the opinion of the Third District Court of Appeal, the Court hereby FINDS,

   ORDERS AND ADJUDGES as follows:




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          The history of the litigation between the parties was set out in detail when the matter

   went up on appeal to the Third District. The facts and procedural history recited in the opinion

   constitute the law of the case. In its opinion, the Third District stated as follows:

          Facts and Procedural Background

           It is undisputed that NLG sold a home on Fisher Island to Ms. Hazan in 2007 for
   $5,100,000.00, receiving a purchase money note and mortgage on the residence from Ms.
   Hazan for $1,275,000.00 of that amount. The note and mortgage required an instalment
   payment of $300,000.00 one month after the sale, and the note was to mature six months after
   the sale.

           When the required payments were not forthcoming, NLG filed a lawsuit for the
   collection of the promissory note in the Miami-Dade circuit court. A settlement agreement was
   entered into, but required payments again were not made. In April 2008, and in accordance
   with the settlement agreement, a default final judgment on the promissory note was entered
   against Ms. Hazan and in favor of NLG for $1,618,071.29, plus post-judgment interest. That
   judgment was recorded on May 2, 2008. The final judgment was affirmed by this Court. Hazan
   v. NLG, LLC, 995 So. 2d 504 (Fla. 3d DCA 2008}. Ms. Hazan then obtained new counsel and
   moved to vacate the judgment on the promissory note. The motion was denied and Ms.
   Hazan's further appeal was dismissed by this Court. Hazan v. NLG, LLC, 19 So. 3d 319 (Fla. 3d
   DCA 2009}.

           NLG sought and obtained a sheriff's deed to the Fisher Island property by enforcing its
   judgment. Ms. Hazan moved to vacate that deed, however, on the grounds that the property
   was her homestead. The then-assigned circuit judge entered an order in December 2008
   "quieting title," although Ms. Hazan's motion and the record establish that the order merely
   extinguished the sheriff's deed. Later, and in this appeal as well, Ms. Hazan argued that the
   quiet title order also extinguished the lien of NLG's mortgage.

          The parties nevertheless entered into a second settlement agreement, and Ms. Hazan
   made three of the specified payments before defaulting again in February 2009. After
   additional settlement negotiations were unavailing, NLG filed a complaint to foreclose its
   mortgage on the Fisher Island home in 2011. In 2012, NLG amended its complaint to add as a
   defendant the holder of a recorded junior mortgage for $2,000,000.00. NLG alleges that this
   mortgage was given by Ms. Hazan to a sham Florida limited liability company established by her
   mother.

          The foreclosure case proceeded to non-jury trial, and the trial court entered a final
   judgment in favor of Ms. Hazan, incorporating the transcript of his post-trial ruling (January 2,
   2013} into the final judgment "as though set forth herein." This appeal followed.


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   NLG, LLC v. Hazan, 151 So. 3d 455, 455-456 (Fla. 3d DCA 2014)

             The Third District issued its mandate on November 25, 2014.

             Status of the Pleadings After Mandate

             Since the mandate issued, Defendant Hazan has been trying to reopen the case to

   amend her answer and affirmative defenses, starting on December 2, 2014, with the filing by a

   non-party, Sean Neil Meehan, Hazan's husband, of a Satisfaction of Mortgage. NLG filed it

   Motion for Entry of Judgment of Foreclosure on January 6, 2015.            On January 12, 2015,

   Attorney Ray Garcia entered an appearance for Hazan, and proceeded to file eleven Notices of

   Filing.   He followed this with a 65-page Verified Motion to Dismiss and a 64-page Verified

   Memorandum in Opposition to Plaintiff Motion for Entry of Final Judgment. On March 3, 2015,

   this Court denied Hazan's Motion to Dismiss.

             Mr. Garcia then filed a 21-page Motion to Take Judicial Notice of Court Orders, a 64-

   page Motion for Summary Judgment, followed by 17 Notices of Filing. On April 8, 2015, Mr.

   Garcia filed Hazan's Motion for Leave to File Amended Answer, seeking to raise seventeen (17)

   affirmative defenses.

             On May 1, 2015, this Court denied Hazan's Motion to Amend. Thus, as the pleadings

   stand, there is no legal reason to deny NLG a judgment pursuant to the mandate of the Third

   District. In fact, it would be error to do otherwise. See Bank of Am., N.A. v. Lukas, 166 So. 3d

   965, 966 (Fla. 4th DCA 2015), citing Feltus v. U.S. Bank Nat'/ Ass'n, 80 So. 3d 375, 376 (Fla. 2d

   DCA 2012) ("A pleading filed in violation of rule 1.190(a) is a nullity, and the controversy should

   be determined based on the properly filed pleadings.").




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          At that same hearing on May 1, 2015, Attorney Mark Cohen appeared and argued to the

   Court on behalf of Selective Advisors Group, LLC, even though that entity had never moved to

   intervene. Although Mr. Cohen represented to this Court that he did not know what the

   relationship was between Hazan and Selective Advisors, it is undisputed that the sole Managing

   Member of Selective Advisors, Sean Neil Meehan, is Hazan' s husband. After this Court denied

   Hazan's motion to amend, Selective still did not move to intervene. It was not until October 7,

   2015, that Selective Advisors first moved to intervene.       A comparison of the Motion to

   Intervene with Hazan's Proposed Answer and Affirmative Defenses reveals that the Motion is

   trying to inject the very same issues and arguments that this Court ruled could not be

   presented by Hazan.     Nothing happened after May 1, 2015, that would change Selective's

   alleged rights to intervene, other than the fact that they filed a Satisfaction of Judgment of the

   New York Judgment by Confession discussed below. The motion may be rejected as a matter of

   law.

          Intervention

          Under Florida Rule of Civil Procedure 1.230, a motion to intervene may be granted to

   "[a]nyone claiming an interest in pending litigation." Selective Advisors' motion fails to set

   forth what interest it is claiming in the pending litigation.      The ability to intervene is a

   permissive right granted in the trial court's discretion. De Sousa v. JP Morgan Chase, N.A., 170

   So. 3d 928, 929 (Fla. 4th DCA 2015); Andresix Corp. v. Peoples Downtown Nat'/ Bank, 419 So. 2d

   1107, 1107 (Fla. 3d DCA 1982) ("We affirm the trial court's order denying the motion to

   intervene filed by Andresix Corporation upon a holding that Andresix, as a purchaser of




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   property which was then the subject of a mortgage foreclosure action and accompanying lis

   pendens by Peoples Downtown National Bank, was not entitled to intervene in such action.").

          The Florida Supreme Court long ago explained the requirements for intervention. In

   Union Cent. Life Ins. Co. v. Carlisle, 593 So. 2d 505 (Fla. 1992), the Court stated that "[t]he test

   to determine what interest entitles a party to intervene is set forth in Morgareidge v. Howey,

   75 Fla. 234, 238-39, 78 So. 14, 15 (1918):

                 [T]he interest which will entitle a person to intervene ... must be in the
          matter in litigation, and of such a direct and immediate character that the
          intervenor will either gain or lose by the direct legal operation and effect of the
          judgment. In other words, the interest must be that created by a claim to the
          demand in suit or some part thereof, or a claim to, or lien upon, the property or
          some part thereof, which is the subject of litigation."

   Carlisle, 593 So. 2d at 507.

          A careful review of the motion to intervene does not disclose that Selective has any

   interest in the litigation. The Wherefore Clause merely requests intervention. But if Selective is

   trying to collect on the Judgment by Confession, it is undisputed that the judgment has been

   satisfied. Selective's efforts to intervene are a transparent attempt by Hazan's husband, not to

   assert its rights, but to obstruct the foreclosure of his wife's property. To allow intervention by

   Selective would be an abuse of the intervention rule.

           Furthermore, intervention would not achieve such an obstruction. As the Third District

   recently stated in State v. Fla. Workers' Advocates, 167 So. 3d 500 (Fla. 3d DCA 2015), even if

   Selective were allowed to intervene, they would take "the procedural posture of the case as it

   stood when they were allowed to intervene." Id. at 505, citing Omni Nat'/ Bank v. Ga. Banking

   Co., 951 So. 2d 1006 (Fla. 3d DCA 2007). Its intervention would be in "subordination to the

   then-existing claims in the lawsuit." The court then quotes from Envtl. Confed'n of Sw. Fla. Inc.

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   v. IMC Phosphates, Inc., 857 So. 2d 207, 211 (Fla. 1st DCA 2003): "Intervention is a dependent

   remedy in the sense that an intervenor may not inject a new issue into the case . . . .

   Furthermore, the rights of an intervenor are conditional in that they exist only so long as the

   litigation continues between the parties ... "   Fla. Workers' Advocates, 167 So. 3d at 505.

   (emphasis added).

          Moreover, courts are very reluctant to grant intervention after a final judgment has

   been entered. The narrow exception to the rule prohibiting post-judgment intervention arises

   when the interests of justice so require. De Sousa, 170 So. 3d at 930, citing Wags Transp. Sys.,

   Inc. v. City of Miami Beach, 88 So. 2d 751, 752 (Fla. 1956). In De Sousa, the court stated that the

   case did not align with the circumstances in Wags to meet the narrow exception to the general

   rule prohibiting post-judgment intervention, in part because Wags involved the subject matter

   of zoning, not foreclosure. Id.

          Substitution

          The motion to intervene also requests to substitute the party plaintiff based on an

   alleged judicial assignment of a judgment in Case No. 07-19532 that dates back to a non-final

   order entered by Judge Peter Lopez (the "Lopez Order") on August 20, 2014.              As will be

   discussed later, that judgment was judicially assigned while its enforceability was pending in an

   appeal of this case. It is significant that Selective waited over a year since the opinion of the

   Third District was announced to claim that NLG's interest in the litigation had been transferred

   and it was entitled to be substituted under Florida Rule of Civil Procedure 1.260(c).

          This effort suffers from the same infirmity as Selective's efforts to intervene, as it is

   undisputed that there is no outstanding judgment against NLG. Nothing prevented Selective


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   from filing its motion after August 20, .2014, other than Mr. Meehan hoping that his wife would

   prevail in the pending appeal. The only new developments since August 20, 2014, are (1) the

   opinion reversing this case and the subsequent mandate, and (2) the Consent Judgment from

   the New York State Court that was domesticated in Miami-Dade County under Case No. 14-

   10475, which has been dismissed as the underlying judgment has been satisfied.

          Selective Advisors' Arguments

          Even though Selective Advisors should be denied leave to intervene as a matter of law,

   this Court will discuss the arguments raised by it. In a nutshell, Selective's motion seeks to

   argue that this action cannot proceed because NLG has lost all its rights against Hazan.

          First, the motion seeks to have Selective substituted as party plaintiff, based on the

   Lopez Order" in Case No. 14-10475. Selective argues that this order allows it to stand in the

   shoes of NLG ostensibly to collect on a New York Judgment by Confession that had been

   domesticated in that case. However, on October 1, 2015, the case was dismissed by Judge

   Lopez, stating: "It appearing the judgment has been satisfied of record, this cause is dismissed

   & no further proceeding will be taken." Because it is undisputed that the underlying judgment

   has been satisfied and the Florida case domesticating that judgment has been dismissed,

   Selective's right to stand in the shoes of NLG have been likewise extinguished.

          Next Selective argues that a judgment entered in Case No. 07-19532 CA 11 was assigned

   to it in the Lopez Order. NLG had obtained a Default Final Judgment on April 28, 2008, in the

   amount of $1,618,071.29, against Hazan ("Default Judgment"). In the foreclosure action filed

   on December 21, 2011-long before the 2014 Judge Lopez domestication action-NLG sought

   to foreclose on the money due under the Default Judgment in both the initial complaint and the


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   amended complaint. In Paragraph 10 of the Amended Complaint that was tried on December

   26 and 27, 2012, NLG pleaded the Default Judgment. In her Answer, Hazan's second and third

   affirmative defenses asserted that the Default Judgment was not owned by NLG. The sixth

   affirmative defense alleged that NLG improperly split its causes of action by obtaining a Default

   Judgment on the promissory note without pursuing a foreclosure at that time. The seventh

   affirmative defense was that NLG was forum shopping by filing a new action instead of

   proceeding under the same case in which it had obtained the Default Judgment. The eighth

   affirmative defense was that after obtaining the Default Judgment, NLG entered into a

   settlement agreement with Hazan that did not reserve the right to foreclose and now its only

   remedy was under the Default Judgment. The ninth affirmative defense was that NLG was

   limited to enforcing the Default Judgment in the division in which it was obtained.

               The case went to trial on December 26 and 27, 2012, at the end of which Judge Eig

   entered judgment in favor of Hazan by way of a "Final Judgment for Defendant Elizabeth

   Hazan" dated February 8, 2013. That was the judgment which was appealed to the Third

   District.     The District Court heard oral argument on July 14, 2014, and issued its opinion

   reversing the final judgment on September 3, 2014. It subsequently issued its mandate on

   November 25, 2014.

           As can be seen from this chronology, at the time of the entry of the Lopez Order, there

   was no Default Judgment that could have been assigned, as that judgment had been subsumed

   into the final judgment in favor of Hazan. See Geico Gen. Ins. Co. v. Paton, 150 So. 3d 804, 808

   (Fla. 4th DCA 2014) (stating that the final judgment subsumed an earlier order).




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          Even if the Default Judgment survived the Final Judgment in favor of Hazan, the issue of

   its enforceability was an integral part of the litigation and trial in this case, not a collateral

   matter. In fact, in its Answer Brief to the Third District, it was Hazan's first argument-that the

   trial court correctly found that NLG was limited to the remedy of its existing money judgment

   because of the doctrine of election of remedies.        Clearly the enforceability of the Default

   Judgment was the central issue before the Third District after the filing of the Notice of Appeal

   on March 11, 2013.    In fact, in its Analysis, this is the first issue discussed in the district court

   opinion: "First, NLG's prior suit on the promissory note and recordation of a judgment on the

   note was not an election of remedies precluding the later enforcement of the mortgage." NLG,

   LLC v. Hazan, 151 So. 3d 455, 456 (Fla. 3d DCA 2014}.

          It is well established that while an appeal is pending, the lower court may not enter

   orders that will deprive the appellate court of jurisdiction. During the appeal, the lower court's

   jurisdiction is limited to enforcing the judgment. See Wassman v. Travelers Cas. & Sur. Co., 797

   So. 2d 626, 631 (Fla. 5th DCA 2001} ("It is also clear that 'when a case has merged into a final

   judgment and an appeal has been perfected therefrom ... jurisdiction in the trial court

   terminates, except as to enforcement of the judgment."'), citing State ex rel. American Home

   Ins. Co. v. Seay, 355 So. 2d 822, 824 (Fla. 4th DCA 1978). See also Waltham A. Condominium

   Asso. v. Village Management, Inc., 330 So. 2d 227, 229 (Fla. 4th DCA 1976} (stating that "the

   trial court is without power to finally dispose of the cause by dismissal or otherwise so as to in

   form or effect interfere with the power and authority of the appellate court."); see also State ex

   rel. Schwartz v. Lantz, 440 So. 2d 446, 448-449          (Fla. 3d DCA 1983} (stating that "Since

   Waltham, every district court in this state has, at least once, vacated a trial court order because


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   it altered a judgment on appeal.") (citing numerous cases). And see Fulton v. Poston Bridge &

   Iron, Inc., 122 So. 2d 240, 242 (Fla. 3d DCA 1960) (quoting from Corpus Juris Secundum that

   "the lower court has no jurisdiction, pending an appeal by amendment of the record or

   proceedings or otherwise, to change the status of the case or to interfere with the rights of

   parties under the judgment or order."); Fritz v. Sroczyk, 202 So. 2d 796, 798 (Fla. 1st DCA 1967)

   ("Upon the filing of the notice of appeal the trial court lost jurisdiction to take any further

   ac t .ion...") .

              It is axiomatic that this Court in whose division the foreclosure action had been filed

   since 2011, had no jurisdiction to judicially assign the Default Judgment during the appeal, as

   the validity and enforceability of the judgment was pending before the Third District. Thus,

   while the foreclosure suit was pending before the Third District, the only proper remedy for

   Selective to pursue would have been to seek leave from the appellate court to relinquish

   jurisdiction for the purpose of judicially assigning the judgment. Selective chose not to elect

   that remedy.

              The "New York Judgment by Confession"

              The foreclosure action in this case was tried by Judge Eig on December 26 and 27, 2012.

   None of the nine affirmative defenses mentioned the New York Judgment by Confession.

   Hazan made a strategic decision not to try this issue.

              It was not until April, 2014, that Quebec, Selective and Hazan started their efforts to

   enforce the aforementioned Consent Judgment from the New York State Court that was

   domesticated in Miami-Dade County under Case No. 14-10475. It is undisputed that that the

   Domesticated New York Judgment has been dismissed as the underlying judgment has been


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   satisfied.   On April 4, 2014, Selective Advisors Group LLC was incorporated in Delaware.

   Quebec filed the New York Judgment by Confession in Miami-Dade County on April 21, 2014.

   Shortly thereafter, on April 30, 2014, Quebec assigned the judgment to Selective.

           On July 14, 2014, the Third District held oral argument where the issue of whether the

   mortgage was wiped out by NLG obtaining its Default Judgment entered on April 28, 2008,

   played a prominent part. Instead of moving the Third District to relinquish jurisdiction to assert

   the New York Judgment by Confession, or seeking to intervene in the foreclosure case, which

   was the older case in this division, Selective instead obtained the domestication Order on

   August 20, 2014.

           The docket sheet in the New York Judgment by Confession case shows that NLG had

   already moved to vacate the judgment and had a hearing scheduled for August 6, 2014. The

   matter was adjourned to September 29, 2014; November 10, 2014; December 1, 2014; January

   12, 2015; March 16, 2015; and to May 18, 2015. This court had repeatedly stayed ruling on this

   matter in order to allow the parties a chance to argue the Motion to Vacate the Judgment

   before the New York Court. On this last court setting, Selective, the judgment creditor, filed a

   bankruptcy petition two hours before the scheduled time, in the U.S. Bankruptcy Court for the

   Eastern District of New York, apparently using the bankruptcy stay to avoid the vacatur hearing

   before the New York State Court Judge on the Judgment by Confession. ·The bankruptcy

   petition was signed by the manager of Selective, Sean N. Meehan (Ms. Hazan's husband). The

   Court appointed Marc Pergament as Trustee for the Estate.




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            On July 1, 2015, the Trustee conducted an examination under oath of Mr. Meehan.

   The sole creditor listed was Selective's prior attorney, Joseph Nierman, who was alleged to be

   owed $3,500. The sole asset was the Judgment by Confession, premised on an Affidavit signed

   by Raymond Houle who claimed to be president of Quebec while simultaneously acting as

   manager of NLG. "The Affidavit of Confession did not provide any additional information to

   substantiate the basis for the Judgment." (Affirmation, Par. 9). Mr. Meehan was placed under

   oath and he testified "that he had no knowledge of the underlying basis for the Judgment and

   that he claimed that no money was paid to Quebec for the Assignment of the Judgment, except

   there was an unspecified "deal' whereby [Selective] would pay a certain amount to the Assignor

   upon collection of the Judgment." (Affirmation, Par. 10).

            Mr. Meehan also testified about the pending foreclosure of 6913 Valencia Drive, Fisher

   Island, Florida, which is also his residence. He disclosed that title is held by his wife, Elizabeth

   Hazan.    The Trustee then stated in Paragraph 17:              "As Mr. Meehan's testimony was not

   plausible with respect to the entry of the Order and Judgment [signed by Judge Jean K.

   FitzSimon in the Pennsylvania bankruptcy] nor with respect to the underlying Judgment [the

   Judgment by Confession], I believe that dismissal of this case with prejudice is appropriate ..."

   The Trustee also found the excuse for the filing of the bankruptcy - the claim of Mr. Nierman

   for fees - to be "suspicious." (Affirmation, Par. 19).

            In its motion to intervene, Selective states in Par. 27: "With respect to New York, NLG

   has failed to re-file or restore its motion to vacate Selective's Judgment, after Selective's



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    The Trustee submitted an Affirmation in Support of a dismissal with prejudice in Case No. 815-72153-A736 which
   was the subject of a motion by NLG to take judicial notice and Hazan having filed no objection, the motion is
   hereby granted and the Affirmation is attached as Exhibit "A."

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   bankruptcy was dismissed on August 28, 2015, even though two months have elapsed from

   that date." What Selective leaves out is that NLG did indeed attempt to schedule once again on

   September 3, 2015, its motion to vacate the Judgment by Confession by way of letter to the

   presiding judge. This prompted a letter dated September 4, 2015, to the presiding judge from

   Selective's New York lawyer, James F. Vlahadamis. The letter stated that plaintiff had accepted

   payment in full satisfaction of the judgment, making it "unsuitable for this Court to entertain

   any application of NLG, LLC (such as one filed by letter on September 3, 2015) seeking to

   restore the motion to vacate the judgment as there currently exists no judgment to vacate and

   the matter remains moot." 2 At the hearing on NLG's motion for entry of a judgment based on

   the mandate of the Third District, Selective offered no explanation as to why it took from

   August 20, 2014, to September 4, 2015, for the judgment to be satisfied.

              The New York Judgment by Confession may have been entitled to full faith and credit

   while it was an outstanding judgment. The judgment, however, has been satisfied. There is no

   judgment entitled to deference by the courts of Florida.

              But even if the judgment was still outstanding, the U.S. Supreme Court has stated that

   "[a] judgment rendered in violation of due process is void in the rendering State and is not

   entitled to full faith and credit elsewhere." World-Wide Volkswagen Corp. v. Woodson, 444 U.S.

   286, 291, 100 S. Ct. 559, 62 L. Ed. 2d 490 {1980). As the Trustee stated after conducting an

   examination under oath of Mr. Meehan, the Judgment by Confession was entered with Mr.

   Houle acting for both the plaintiff and the defendant. The records submitted by Selective in its

   motion to intervene shows that NLG received no notice or opportunity to be heard because


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       The letter is attached as Exhibit "B."

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   Houle was acting for both Quebec and NLG. Without notice, a foreign court lacks personal

  jurisdiction, and the "foreign judgment need not be recognized." Williams v. Cadlerock Joint

   Venture, L.P., 980 So. 2d 1241, 1243 {Fla. 4th DCA 2008).

          By continuously postponing the hearing on NLG's motion to vacate before the New York

   court, NLG has never had a full and fair opportunity to litigate the issue of personal jurisdiction

   in the foreign court. See Whipple v. JSZ Fin. Co., Inc., 885 So. 2d 933, 936 {Fla. 4th DCA 2004);

   Williams, 980 So. 2d at 1243; see also Stoll v. Gottlieb, 305 U.S. 165, 172-73, 59 S. Ct. 134, 83 L.

   Ed. 104 (1938) ("After a party has his day in court, with opportunity to present his evidence and

   his view of the law" as to jurisdiction, "a former judgment in a state court is conclusive" and not

   subject to collateral attack).

           If a defendant has not had "the opportunity to contest jurisdiction, he may raise the

   issue subsequently in a proceeding brought to enforce the judgment." Williams, 980 So. 2d at

   1243 (citation omitted). See also Riskin v. Miklos, 569 So. 2d 940, 941 (Fla. 3d DCA 1990)

   ("[W]here the jurisdictional issue is not fairly litigated in the initial court, the defendants are

   free to raise the question de novo in the jurisdiction in which enforcement of the judgment is

   attempted.").




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          Conclusion

          For the foregoing reasons, the Second Amended Motion for Judgment of Foreclosure is

   hereby GRANTED. The Court will hereafter enter a Final Judgment of Foreclosure upon the

   presentation of updated affidavits.




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          ORDERED at Miami, Miami-Dade Cou.nty, Florida, on this 1' day of December, 2015.




                                             Circuit Court Judge

   Judgment Prepared by:
   Plaintiffs Counsel:                              MONICA GORDO
   Juan Ramirez, Jr                              CIRCUIT COURT JUDGE
   Diaz, Reus & Targ, LLP
   100 SE 2nd Street, Suite 3400
   Miami, Florida 33131

   Copies Furnished to:

   Roger Slade, Esq.
   Jonathan S. Goldstein, Esq.
   Matthew David Glachman, Esq.
   Mark Cohen, Esq.
   Daniel A. Milian, Esq.
   Bruce Jacobs, Esq.




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(      UNITED STA TES BANKRUPTCY COURT
       EASTERN DISTRICT OF NEW YORK
       --------------------------------------------------------)(
       In Re:                                                         Chapter 7

       Selective Advisors Group LLC,                                  Case No. 815-72153-A 736

                         Debtor.                                      Affirmation in Supp011

       --------------------------------------------------------)(

                         Marc A. Pergament, duly affirms under the penalties ofpe1ju1y as follows:

                         1.        I am an attorney admitted to practice law in the United States Court of

       Appeals for the Second Circuit and the United States District Court for the Eastern and Southern

       Districts of New York and am a member of Weinberg, Gross & Pergament LLP, attorneys for

       the Trustee.

                         2.        I am also the Trustee of this Estate and am familiar with the facts and
(
       circumstances set forth herein.

                         3.        This Affirmation is submitted in support of my request that the Court

        scheduling a hearing on shortened notice: (a) approving the dismissal of this bankruptcy case

       with prejudice; (b) authorizing the Debtor to pay Weinberg, Gross & Pergament LLP the sum of

        $6,500.00 for services rendered; and (c) such other and forther relief that this Court deems just

        and proper.

                         4.        On May 18, 2015, the Debtor filed a voluntary petition for relief under

        Chapter 7 of the Bankruptcy Code. The initial bankruptcy filing was a bare bones petition filed

        by the Debtor. The manager who signed the petition was Sean N. Meehan. Mr. Meehan failed

        to appear at the§ 34l(a) meeting scheduled for June 24, 2015. The Debtor's counsel appeared

        on that date and requested an adjomnment of the 341 (a) meeting.

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(                     5.     I directed the Debtor to file all necessary schedules and a Statement of

       Financial Affairs by June 30, 2015 and appear for an examination pursuant to§ 34l(a) on July 1,

       2015. A further request for an adjournment of the § 341 (a) meeting was declined.

                      6.     On July l, 2015, Mr. Meehan appeared for an examination with Debtor's

       counsel after the Debtor had filed the schedules and Statement of Financial Affairs, which were

       filed on June 30, 2015.

                      7.     My review of the file, schedules and documents that had been previously

       provided to me indicated that there arc many facts that questioned the good faith filing by the

       Debtor in this Chapter 7 case.

                      8.     Specifically, the schedules revealed that the sole creditor of the Debtor

       was its former attorney, Joseph Nierman, and he was alleged to be owed the sum of $3,500.00.

       The Debtor's Schedule F indicated that it was a disputed claim.
(
                      9.     The Debtor's counsel disclosed that the Debtor was formed in August

       2014 and its sole asset was a Judgment that it held by way of Affidavit of Confession of

       Judgment against NLG LLC in the sum of$5,000,000.00, plus interest. The Judgment, however,

       was based on an Assignment by 9197-5904 Quebec Inc. to· the Debtor of a Judgment that it had

        obtained against NLG LLC, which had been filed in the New York County Clerk's office on

        February 22, 2012. A copy of the Assignment of Judgment is annexed hereto as Exhibit "A."

        However, that Judgment was premised on an Affidavit signed by Raymond Houle who claimed

        to be the president of 9197-5904 Quebec, Inc., and was also the manager of NLG LLC. The

        Affidavit of Confession did not provide any additional information to substantiate the basis for

        the Judgment. A copy of the Affidavit of Confession of Judgment ofNLG LLC and Affidavit of

        Raymond Houle is annexed hereto as Exhibit "B."

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(                     10.    After applying the oath, I questioned Mr. Meehan at his § 341 (a) meeting

       concerning the Judgment and he advised me that he had no knowledge as to the underlying basis

       for the Judgment and that he claimed that no money was paid by the Debtor to 9197-5904

       Quebec, Inc. for the Assignment of the Judgment, except that there was an unspecified "deal"

       whereby the Debtor would pay a certain amount to the Assignor upon collection of the

       Judgment.

                      11.    As I questioned Mr. Meehan in depth at the§ 34l(a) meeting, it became

       apparent that the Judgment was the subject of a contentious dispute with NLG LLC. I reviewed

       certain public records and certain information which indicated that there is a pending foreclosure

        lawsuit in the State of Florida with respect to the real property known as 6913 Valencia Drive,

        Miami, Florida ("Miami Residence") and the Miami Residence was also Mr. Meehan's

       residence.   Mr. Meehan disclosed that title to the Miami Residence was held by his wife,
(
        Elizabeth Hazan, and that she was in a dispute with NLG LLC concerning foreclosure of the

        Miami Residence.

                      12.    Mr. Meehan testified that he filed bankruptcy in the United States

        Bankruptcy Court for the Eastern DislTict of New York because the place of business of this

        Debtor was 103 West Tano Road, Hampton Bays, New York ("Hampton Bays Residence"),

        which is the residence of Mr. Meehan's parents and he claims that he sometimes spends the

        summers at the Hampton Bays Residence, although he does not presently reside there.

                      13.    Thus, there is a question as to the validity of the venue selected by

        Mr. Meehan for this bankruptcy case.

                      14.     I was in communication with NLG LLC's counsel and he provided me

        with substantial information and documents, including documentation indicating that the United


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(      States Bankruptcy Court for the Eastern District of Pennsylvania had previously determined that

       an involuntary bankruptcy proceeding that had been filed against Christopher Kosachuk was a

       bad faith filing and that Court determined that an award of monetary sanctions of$190,173.71 in

       favor of Mr. Kosaclmk and against 9197-5904 Quebec, Inc. was warranted. A copy of that Order

       and Judgment of the Honorable Jean K. FitzSimon is annexed hereto as Exhibit "C,"

                      15.    Judge FitzSimon's Judgment also awarded sanctions against 9197-5904

       Quebec, Inc. in the sum of $960,968.55.

                      16.    The dispute with respect to the Judgment is evident.

                      17.    As Mr. Meehan's testimony was not plausible with respect to the entry of

       the Order and Judgment nor with respect to the underlying Judgment, I believe that dismissal of

       this case with prejudice is appropriate so the Debtor and NLG LLC can continue their litigation

       in other forums.
(
                      18.    NLG LLC had moved by order to show cause to vacate the Judgment that

       had been filed by 9197-5904 Quebec, Inc. and the bankruptcy was filed a couple of hours before

       the hearing to be heard by the Supreme Court of the State of New York, County of New York,

       on May 18, 2015 for the vacating of the Judgment as NLG LLC had not learned of that Judgment

       until 2015.

                      19.    I inquired of Mr. Meehan as to the claim of Mr. Nierman and he explained

       that there was a dispute as to the amount owed and that reason for the bankrnptcy filing was that

       Mr. Nierman was refusing to turnover his litigation file concerning the dispute with NLG LLC. I

        found that claim to be S\Jspicious as the Debtor already had obtained an Assignment of Judgment

        of 9197-5904 Quebec, Inc. against NLG LLC and thus, the litigation file was of no import. Mr.

        Meehan was unable to provide any explanation.

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(                       20.        For these reasons, I negotiated a resolution whereby this case is dismissed

       with prejudice and my firm is paid for services rendered. A copy of the Stipulation is annexed

       ~hereto   as Exhibit "D."

                         21.       I have requested a hearing on shortened notice as the Debtor would be

        benefited by a lengthy delay.

                        22.        It is also requested that this Court waive the requirement of the filing of a

       memorandum of law as no novel issu(;) of law is present with respect to the issues herein.

                        23.        No prior application has been made to this or any other Court for the r(;)Iief

       requested herein.

                        WHEREFORE, it is respectfully requested that this Honorable Court grant the

       Trustee's motion in its entirety and such other and further relief that this Court deems just and

       proper.
(
       Dated: Garden City, New York
              August 6, 2015




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                                     EXHIBIT A

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       I.




(
        SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF NEW YORK                                                                Index No. 10187512012
        -----------·--·------···--··-----·---·-------··-----------···-·X
        9197 ·5904 QUEBEC INC
         Plaintiff,


                                  -against-


            NLG LLC
                                               Defendant


                                              ASSIGNMENT OF JUDGMENT
                                                                                                                       ..
                                                                                                                      .i=-
                                                                                                                      -1:""
                                                                                                                      N
            This indenture made the 30th day of April 2014, between 9197-5904 Quebec inc a Canadian Corporation located
            at 5552 Queen Mary Road Suite #4, City of Hampstead, State of Quebec, Canada H3X 1V9 party of the first part.
            and Selective Advisors Group, LLC, located at 16192 Coastal Highway Lewes. Delaware 19958 County of·
            Sussex, party of the second part,



            WHEREAS, on lhe 22"" day of February,2012 a judgment was entered In the Supreme Court, County of NY, in
            favor of 9197-5904 Quebec Inc , and against NLG LLC, a Delaware Limited Llabllily Company located at 854
            Pheasant .Run Road, West Chester, PA in the sum of $5,000,000.00 plus Interest from February 22"" 2012 plus
            costs of $225.00, and said judgment was duly entered in the office of the Clerk of the Co(1nty of New York State,
            NY on the 22"" day of February 2012.   .
(

            NOW THIS INDENTURE Vl/ITNESSETH, that the said party of the first part, in consideration Of $10 and other
            valuable consideration to them duly paid has sold, and by these presents does assign, transfer and set over, unto
            the said party of the second part, Selective Advisors Group, LLC, its executors, administrators, and assigns, the
            said judgment and all sum or sums of money that may be had or obtained by means thereof, or on any
            proceedings to be had thereupon.



            Also, the said party of the first part does hereby constitute and appoint the said party of the second part, its
            executors, administrators, and assigns, their true and lawful attorney irrevocable, with power of substitution and
            revocation, for the use and at the proper costs and charges of t11e said party of the second part, to ask, demand,
            and receive, and to obtain executions, and take all lawful ways for the recovery of the money due or to become
            due on said judgment and on payment to acknowledge satisfaction, or to discharge the same; and attorneys one
            or more under them for the purpose aforesaid, to make and substitute, and at pleasure to revoke; hereby ratifying
            and confirming all that their said attorney or substitule shall lawfully do In the premises. Also, the said party of the
            first part does covenant, that that they will not coll~ct or receive the full payment of the judgment, or any part
            thereof, nor release or discharge the said judgment but will allow all lawful proceedings therein lo be taken by the
            said party of the second ·part, saving the ~aid party of the fist part harmless of and from any costs in the
            premises.. This assignment is made without recourse to the party of Iha first part in any event whatsoever.




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(           IN WITNESS WHEREOF, the par1y of the first part has hereunto set his hand and seal the day and
            year first above written.

                                                                      On behalf of 9197-5904 QUEBEC INC:


                                                                           «~Mcf ~
                                                                           RAYMOND HOULE, president




                                               ACKNOWLEGEMENT



            9~
            Slate-of

            County of   :D'\:Kc~ ~\cG&r
            On the       ~ day of         dl),JR,,     in the year20J1L.  before me, Raymond Houle, personally
            appeared, personally known to me or proved to me on the basis of satisfactory evidence to be the
            Individual whose name is subscribed to the within instrument and acknowledged to me that he
            executed the same in his capacity and that by his signature on the instrument, the individual, or the
            person upon behalf of which the individual acted, executed the instrument
(




                                            CERTIFICATE OF CONFQBMITY

            l~l\.Q ttJ2,,,:\a f ~;.f, a duly licensed notary public in the Province of Quebec, Canada, affirm
            under penalty of perjury and ce11ify that I witnessed the signature of Raymond Houle as applied to the
            docwnenl annexed to this certificate, which was signed and dated on Junc_M 2014. The matter in which
            was signed was, and is, in accordance with, and confonns to, the laws for laking oaths at
            acknowledgments, in the Province of Quebec, Canada.

            Dated:
                       d1u~1'-/()014~5~
                                             NOTARY PUBLIC
                                             NAME:
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                         SUPREME COURT OF THE STATE OF NEW YORK
                         COUNTY O.F NEW YORK
                                                                                   •                       Address of Plaintiff:
                                                                                                           3765 Saint-Kevin, Ste 9
                                                                                                           Montreal, Quebee H3T !HS
                                                                                                           Canada

                         9197-5904 Quebec, Inc,                                                            Index No.:
                                                                      Plnlntlff,
                                                                                                           JUDGMENT BY
                                                                                                           CONFESSION
                                   against

                         NLG, LLC, a Delaware Limited Liability Company,
                                                                                                                    12101875
                                                                      Defend1mt.



                            Amount Confessed                           $5,000,000.00
                                   Interest                            $0,00                               $ 5,000,000,00

                            Costs by Statute             $15,00----
                            Tra11script _ _- _-_-
                                                _-_-_-_-___     _ __
                            Fees on Execution
                                              ----~-------
                            Satisfaction
                                         ~-------------
                            Fi Ii ng Fee_ _ _ _ _ _ _ _$210,00_ _ __                                       $ 5,000,225,00

                                   The undersigned, Attorney at Law of the State of New York, affinns that he is the

                            attorney of record for the Plaintiff herein and states that the disbursements specified are correct

                            and true and have been or will necessarily be made or incurred herein and are reasonable in

                            amount and affirms this statement to be true under the penalties of perjury.

                            Dated: February 16, 2012
                                                                                       MARZEC LAW JilRM, PC

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                                                                      itd.
                                  JUDGMENT entered the           22      day of~· 200                             ·
                                  On the foregoing affidavit of Confession of Judgment n@e by the defendant herein,

                       sworn to the on the 16th day of February 2012,



                                  NOW, ON MOTION OF MARZEC LAW FIRM, PC, attorney for plaintiff, it is



                                  ADJUDGED that 9197-5904 Quebec, Inc, Plaintiff, with the address of 3765 Saint-

                       Kevin, Suite 9, Monteal, Quebec H3T IH8, Canada, do recover ofNL6> LLcfbefendant, with

                       the address of 6499 North Powerline Road, Suite 304, Fort Lauderdale, Florida 33309, the sum

                       of $5,000,000.00 with interest of $0.00, making a total sum of $5,000,000.00 together with

                     t~    ,o()    ·costs and dis b11rseu1ents, (\$ tAteJ bg -tke. c\eltK   amounting in all to the sum of

                       $5,000,225.00 and that the plaintiff have execution therefor.
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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NEW YORK
                                                                           ••                                                    '


                 9197-5904 Quebec, Inc.,
                                                              Plaintiff,                                AFFIDAVIT OF
                                                                                                        CONFESSION OF
                         against                                                                        JUDGMENT
                 NLG, LLC, ft"" Oe ("'"'t-'.{ l1 rt• Tii'D                      r
                    t,.1 (\ f">I /,.I f '( l/I>"'"' f ft 1-.;t(
                                                              /
                                                                Defendant.            fF ILE D ·
                 STATE OF NEW YORK                                                           FE:8 22 ~812
                 COUNTY OF NEW YORK                           ss.:                  COUNTY~ rn:r.....
                                                                                       New VO!M<:- .. 11'¢
                                                                                    lh..
                          Raymond Houle, being duly sworn, deposes and says; that deponent is the Manager and

                 duly authorized agent of the defendant Limited Liability Company Md is duly authorized to

                 make this Affidavit on behalf of the LLC defendant herein.

(                         The defendant hereby confesses judgment herein and authorizes entry thereof against

                 defendant in the sum of$5,000,000.00.

                          Defendant's address is 6499 North Powerline Road, Suite 304, Fort Lauderdale, Florida

                 33309; Defendant authorizes entry of judgment in New York County, New York, if said

                 residence address is not in New York State,

                          This confession of judgment is for a debt justly due to the plaintiff arising from the

                 following facts: Fraud and Abuse of Process.

                        This affidavit, if made in connection with all agreement for the purchase for
                 $1,500.00 01· less of any commoditiell for any use other than a commercial or business use
                 upon any plan of deferred payments whereby the price 01· cost is payable in two or more
                 Installments, was executed, subsequent to the time a default occurred in the payment of an
                 Installment thereunder.                                        --;                     '       /

                                                                                ~~~W:~
                                                                                                              /
                 Sworn to before me this                           ....
                  i.h. day of :F,;t!,,,,.,_._ • 2012               9197-5901 Quobe<, Inc. byllayinond Hoo le, M•n•g<r '
                                ~                                    M; "'l'r6-P/2t f1/t,,6- (;" c_.
                                                                                                Darius A. Mar?.60
                                                                                       Notary Public State of New York
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               SUPREME COURT Olt' THE STATE OF NEW YORK
               COUNTY OF NEW YORK                                                            Index No. ( cJ..   '(;7r:/ ~
               9197·5904 Quebec, Inc.,
                                                              Plaintiff,                AFFIDA VJT OF
                                                                                        RAYMOND HOULE
                        against                                                         REGARDING FACTS
                                                                                        SUPPORTING
                                                                                        JUDGMENT
               NLG, LLC,

                                                              Defendant.

               STATE OF NEW YORK

               COUNTY OF NEW YORK                             ss.:

                         Raymond Houle, being duly sworn, deposes and says; that deponent is the Manager and

               duly authorized agent of the defendant Limited Liability Company and is duly authori1,ed to

                make this Affidavit on behalf of the LLC defendant herein.
(
                        This confession of judgment is for a debt justly due to the plaintiff arising from the

                following facts: Defendant has consistently abused its legal position by filing frivolous litigation

                documents, affidavits, pleadings, and motions, in and without the state, misrepresenting the truth

                concerning key facts regarding the mode of operation, personnel, employees, corporate

                documents and status of defendant; Defendant has failed to abide by rules of court with respect

                to discovery, disclosures and subpoena power of the court and counsel, and has made litigation

                process difficult, wasteful, and expensive to adversary/ies. All actions of Defendant constitute

                abuse of process and fraud upon the court and parties iiwolved, who were unduly damaged by

                such fraudulent conduct and abuse of process by Defendant The conduct of Defendant was

                intentional and malicious and calculated to cause additional expense, delay and harassment to

                defendant's adversaries; such conduct was illegal, improper, unethical and unnecessary to the .

                administration of justice and process in these matters, giving Plaintiff a cause of action.
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                                                                                                       RAYMOND HOULE
                             Sworn to befor(j me o11 the dJ_ day of    f'eb,=-v .20J.l..
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                       ~~P~u~bl~ic"".":'===)~=-~~~--,



                                                                                                             Dariu$ A. Marzec
                                                                                                      No1ary Publ!c State of Nel'/ York .
                                                                                                            No. 02MA6186309
                                                                                                        Qualified In Queens County
                                                                                                     commission Expires 04/28/2Q..i.2...




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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NEW YORK                     index No.

                 9197-5904 Quebec, Inc.,
                                                                 Plaintiff,

                            against

                 NLG, LLC., .(\-           01£ Ut '-<tr f, t
                                         l Of.".Pf'.vi1
                                                                  Defendant.



                                                     JUDGMENT BY CONFESSION
                                               AFFIDAVIT OF JUDGMENT BY CONFESSION


                                                          ATTORNEYS FOR PLAINTIFF
                                                             Marzec Law Firm, P,C,                                           FILED AND
                                                                 Darius A. Marzec, Esq.                                      OOt~K~T~D
                                                                225 Broadway, Suite 3000                                         f EB 2 2 2014/l
(                                                                 New York, NY 10007
                                                                     212-267-0200                                          AT      (D'.dSrl                M
                                                                                                                           N,Y., 00, C~ OfAClii
                                                                   CERTIFICATION

                            Pursuant to Section 130-1. l, the following documents are hereby ce11ified;


                                                                --------------=--
                                                ~~By: ~oritts A. ci::2;£sq.
                                                                                                                                   .
                                                                                                              MARZEC LAW FIRM PC
                                                                                                              Attorneys for Plaintiff
                                                                                                              225 Broadway, Ste. 3000
                                                                                                              New York, NY 10007
                                                                                                              (212) 267-0200




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           Case 12-16438-jkf*SEALED*          Doc 211 *SEALED* Filed 03124/15              Entered 03/24/15
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA

            In re:                                             DISMISSED CHAPTER 7 INVOLUNTARY

                                                               CASE NO. 12-16438(JKF) *SEALED*
            CHRISTOPHER   KOSACHUK,                 a.k.a.
            CHRIS KOSACHUK



                                         ORDER AND FINAL JUDGMENT


                     Upon consideration of the Motion of Christopher Kosachuk to Declare this Involuntary

            Bankruptcy Petition a Bad Faith Filing, for Costs, Compensatory and Punitive Damages, to Seal

            the Records and Sanctions (the "Motion") with respect to 9197-5904 Quebec, Inc. and the

            arguments of counsel and evidence admitted at the trial conducted before this Court on March

            18, 2015, it is ORDERED, ADJUDGED AND DECREED:
(
                     I.     The Motion is GRANTED as to 9197-5904 Quebec, Inc. without effect on the

            Motion as to the claims asserted and relief sought in the Motion against Daril)s A. Marzec, Esq.


                     2.     Final Judgment for monetary sanctions in the amount of$192,173.71 pursuant to

             11 U.S.C. §§ 1OS(a) and 303(i)(l), representing the reasonable costs and attorneys' fees incurred

            by Mr. Kosachuk in this matter, is awarded to Chris Kosachuk against 9197-5904 Quebec, Inc.,

            plus prejudgment interest and post judgment i.nterest at the federal judgment rate of interest.
                                                                                               . !§'
                     3.     Final Jµdgment for monetary sanctions in the amount    or[}!/Jfli1l.. JiUrsuant to
             11 U.S.C. § 303(i)(2)(B) and this Court's inherent powers, representing punitive damages, is

             awarded to Chris Kosachuk against 9197-5904 Quebec, Inc., plus prejudgment interest and post

            judgment interest at the federal judgment rate.


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           Case 12-16438-jkf*SEALED*          Doc 211 *SEALED* Filed 03/24/15 Entered 03/24/15
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(
                    4.     Final Judgment pursuant to I I U.S.C. § 1OS( a) and this Court's inherent powers,

            is awarded to Chris Kosachuk that the indebtedness of Chris Kosachuk with respect to that

            certain judgment issued by the Supreme Court, County of New York, under Index No.

            103896/2004 in favor of Eugenia Lorret and against Chris Kosachuk in the sum of$150,732.45

            accounting for $108,293.54, plus interest of$41,388.91 from November 25, 2002, plus costs of

            $1,050, and which judgment was thereafter modified and reduced on May 12, 2008 to the sum

            amount of$48,293.54, plus costs of$1,050, plus interest from November 25, 2002, and which

            judgment was assigned to 9197-5904 Quebec, Inc. on December 15, 2009 by Assignment of

            Judgment, and which judgment was further assigned to SRS Techonologies Professionals, LLC

            by Assignment of Judgment, dated February 10, 2014, Index No. 103896/2004, and Corrected

            Assignment of Judgment, dated February    !(),   2014, is hereby cancelled nunc pro tune to July 6,

            2012.
(
                     5.    This Final Judgment may be recorded as a matter of public record.

                     6.    This Final Judgment is effective immediately upon entry and this Court shall

            retain jurisdiction to, among other things, interpret, implement, and enforce the terms and

            provisions of this Order and Final Judgment.

                     7.    Chris Kosachuk shall be entitled to writs of execution and all other legal process

            to enforce this Final Judgment permitted by Federal Rules of Bankruptcy P           ure, the Federal

            Rules of Civil Procedure and applicable law.

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(         UNITED STATES BANKRUPTCY COURT
          EASTERN DISTRICT OF.NEW YORK
          ----------------------------------------------~----·-----:X:
          In Re:                                                          Chapter7

          Selective Advisors Group LLC,                                   Case No. 815-72.153-A736

                            Debtor.                                       Stipulation of Settlement

          ---------·----~---------------------------·--------------:X:
                            Whereas, the Debtor having filed a voluntary petition fort'eliefunder Chaptel' 7 of

          the Bankruptcy Code,

                            Whereas, the Debtor having appeared for examination pursuant to§ 34I(a) of the

           Bankruptcy Code,

                             Whereas, the Trustee having raised issues as to whether this filing was a good

           faith baiikruptcy filing by the Debtor,
(
                             Whereas, there is an issue concerning whether the Debtor hiis any creditors in this

           bankruptcy case,

                           . Whereas, the Trnstee' s attorneys, Weinberg, Gross & Pergament LLP having

           expended substantial time and.effo1t in trying to understand this bankruptcy ciise and all of the

           1·elated litigation between the Debtor and.NLG LLC,

                             It is hereby Stipulated and Agreed as follows:

                             1.       This bankruptcy case is dismissed with prejudice.

                             2. ·     The Debtor shall pay the sum of $6,500.00 to Weinberg, Gross &

            Pergruneut LLP for the attorneys! fees and costs incurred in investigating tlie claims asserted by

            the Debtor in the bankruptcy petition and related State Court lawsuits.



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                          3.    This Stipulation represents the entire agreement between the pruties ru1d

          may not be modified unless in writing signed by the parties and is subject to approval by the

          Bankruptcy Court.

                          4.    The parties acknowledge that the United States Bankruptcy Court for the

          Eastern .District of New York shall retain jurisdiction with respect to the interpretation and

          enforcement of this Stipulation of Settlement and the terms herein ..

          Dated: Garden City, New York
                 July 23, 201 S

                                                        Weinberg, Gross & Pergrunent LLP
                                                        AtteV Trustee
                                                By:
                                                        Mar<:Ai'ergrunent
                                                        400 Garden City Plaza, Suite 403
                                                        Garden City, New York 11530
                                                         (516) 877-2424
(
                                                         Vlahadamis & Hillen, LLP
                                                         Attorneys for Debtor

                                                By:          ·~
                                                      · · Evans M. Hillen
                                                          148 East Montauk Highway, Suite 3
                                                          Hampton Bays, New York 11946
                                                         (631) 655-4115

           "So Ordered"




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                               VLAHADAMIS & HILLEN LLP
                                             Attorneys and Counselors at Law
(       8 E. Montauk Highway, Suite 3                                                       Telephone: 631.594.5400
     tlampton Bays, NY 11946                                                                      Fax: 631.594.5401
                                                                                                  www.vhlawny.com

    *JAMES F. VLAHADAMIS                                                                         EVANS M. HILLEN
    james@vhlawny .corn                                                                          evans@vhlawny.com
    *Admitted in NY & NJ


                                                                 September 4, 2015

        Via FedEx
        Hon. Shlomo S. Hagler
         c/o Meshulum Bulls
        Supreme Court, Civil Term
        New York County
       · 60 Centre Street
         Room335
        New York, New York 10013


                           RE: 9197-5904 QUEBEC, INC. (Selective Advisors Group. LLC, Judgment Assignee)
                               v.NLG,LLC
                               Index No.: 101875/2012
(
        Hon. Judge Hagler, .

                    Please be advised that my finn represents the Selective Advisors Group LLC, plaintiff judgment
            creditor herein. This correspondence shall constitute a courtesy notification that plaintiff accepted
            payment in full satisfaction of the judgment outstanding against NLG, LLC and has caused the annexed
            Satisfaction of Judgment to be recorded with the county clerk's office.

                    Given the foregoing, it would be unsuitable for this Court to entertain any application ofNLG,
            LLC (such as one filed by letter on September 3, 201 S) seeking to restore the motion to vacate the
            judgment as there currently exists no judgment to vacate and the matter remains moot. Thank you for
            your attention to this matter.




        CC:
        ARI MOR, Esq. (Attorney for NLG, LLC)
(       JONATHAN BORG, Esq. (Attorney for ADR Miami, LLC, nonparty movant)



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